Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 1 of 366 PageID:
                                  75356




                     Exhibit 101
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 2 of 366 PageID:
                                  75357

                    Arch I. "Chip"      Carson, M.D., Ph.D.

                                                                       Page 1
                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NEW JERSEY

            ------------------------ )
            IN RE JOHNSON & JOHNSON )
            TALCUM POWDER PRODUCTS   )
            MARKETING, SALES         )         MDL NO.
            PRACTICES, AND PRODUCTS )          16-2738 (FLW) (LHG)
            LIABILITY LITIGATION     )
                                     )
            ------------------------ )
                                     )
            THIS DOCUMENT RELATES TO )
            ALL CASES                )
                                     )
            ------------------------
                                    __ __ __
                          Saturday, January 19, 2019
                                  __ __ __

                     Videotaped Deposition of ARCH I. "CHIP"
             CARSON, M.D., Ph.D., held at the Marriott
             Houston Medical Center, 6580 Fannin Street,
             Houston, Texas, commencing at 9:02 a.m., on
             the above date, before Michael E. Miller,
             Fellow of the Academy of Professional
             Reporters, Certified Court Reporter,
             Registered Diplomate Reporter, Certified
             Realtime Reporter and Notary Public.
                                    __ __ __
                         GOLKOW LITIGATION SERVICES
                      877.370.DEPS | fax 917.591.5672
                              deps@golkow.com

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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 3 of 366 PageID:
                                  75358

                                 Arch I. "Chip"           Carson, M.D., Ph.D.
                                                     Page 2                                                           Page 4
       1   A P P E A R A N C E S:                              1                INDEX
       2     BEASLEY ALLEN, PC                                 2
             BY: P LEIGH O'DELL, ESQUIRE
       3        leigh odell@beasleyallen com
                                                                   APPEARANCES                              2
                MARGARET M THOMPSON, ESQUIRE                   3
       4        margaret thompson@beasleyallen com                 PROCEEDINGS                             8
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                (334) 269-2343
       6     Counsel for Plaintiffs' Steering
                                                                   EXAMINATION OF ARCH I "CHIP" CARSON, M D , Ph D :
             Committee                                         6
       7                                                               BY MR ZELLERS                        9
       8     BURNS CHAREST LLP                                 7
             BY: AMANDA KLEVORN, ESQUIRE                               BY MS BOCKUS                        284
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      10     Suite 1170                                                BY MS APPEL                     343
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      11     (504) 799-2845                                   10
             Counsel for Plaintiffs                                CERTIFICATE                         364
      12
      13     TUCKER ELLIS LLP
                                                              11
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      15     42nd Floor                                       13
             Los Angeles, California 90071
      16     (213) 430-3400                                        LAWYER'S NOTES                           368
             Counsel for Johnson & Johnson                    14
      17     Defendants                                       15
      18                                                      16
      19     DRINKER BIDDLE & REATH, LLP                      17
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      22     Counsel for Johnson & Johnson                    22
             Defendants
      23                                                      23
      24                                                      24


                                                     Page 3                                                           Page 5
       1   A P P E A R A N C E S:                              1             DEPOSITION EXHIBITS
       2     DYKEMA GOSSETT PLLC                                        ARCH I "CHIP" CARSON, M D , Ph D
             BY: JANE E BOCKUS, ESQUIRE                        2             January 19, 2019
       3        jbockus@dykema com                             3   NUMBER            DESCRIPTION     PAGE
             112 East Pecan Street                             4   Exhibit 1 Notice of Deposition   10
       4     Suite 1800                                        5   Exhibit 2 11/16/18 Carson Expert  15
             San Antonio, Texas 78205                                      Report
       5     (210) 554-5500                                    6
             Counsel for Imerys Talc America                       Exhibit 3 Carson Curriculum Vitae             21
       6                                                       7
       7     COUGHLIN DUFFY LLP                                    Exhibit 4 Listing of Literature         21
             BY: JONATHAN F DONATH, ESQUIRE                    8           Reviewed
       8        jdonath@coughlinduffy com                      9   Exhibit 5 2019 Longo et al              26
             350 Mount Kemble Avenue                                       Publication
       9     Morristown, New Jersey 07962                     10
             (973) 267-0058                                        Exhibit 6 2019 Fletcher et al           26
      10     Counsel for Imerys Talc America                  11           Publication
      11                                                      12   Exhibit 7 Undated Taher et al           26
      12     TUCKER ELLIS LLP
                                                                           Publication
             BY: CAROLINE M TINSLEY, ESQUIRE                  13
      13        caroline tinsley@tuckerellis com
                                                                   Exhibit 8 1952 Graham et al         29
             100 South Fourth Street, Suite 600
      14     St Louis, MO 63102
                                                              14           Publication
             (216) 696-3675
                                                              15   Exhibit 9 12/18 Health Canada Draft    30
      15     Counsel for PTI Royston LLC and PTI                           Screening Assessment
             Union LLC                                        16
      16                                                           Exhibit 10 1/1/14 FDA Letter to             31
      17     SEYFARTH SHAW, LLP                               17           Epstein
             BY: RENEE B APPEL, ESQUIRE                       18   Exhibit 11 1991 Blount et al            32
      18        rappel@seyfarth com                                        Publication
             975 F Street, N W                                19
      19     Washington, D C 20004-1454                            Exhibit 12 1974 Parmley et al            32
             (202) 463-2400                                   20           Publication
      20     Counsel for Personal Care Products               21   Exhibit 13 USB Drive Containing               36
      21                                                                   Materials Reviewed
      22   VIDEOGRAPHER:                                      22
      23      DOUG OVERSTREET,                                     Exhibit 14 8/1/00 Health Canada              98
              Golkow Litigation Services                      23           Decision-Making Framework
      24                                                      24


                                                                                          2 (Pages 2 to 5)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 4 of 366 PageID:
                                  75359

                              Arch I. "Chip"                           Carson, M.D., Ph.D.
                                                                  Page 6                                         Page 8
       1          DEPOSITION EXHIBITS                                       1              PROCEEDINGS
       2
           Exhibit 15 Handwritten List of               124                 2          (January 19, 2019 at 9:02 a m.)
       3           Materials Reviewed by                                    3           THE VIDEOGRAPHER: We are now
                   Dr. Carson
       4                                                                    4      on the record. My name is Doug
           Exhibit 16 1979 Chappell et al        130                        5      Overstreet. I'm the videographer for
       5           Publication
       6   Exhibit 17 2011 Reid et al Publication 159
                                                                            6      Golkow Litigation Services. Today is
       7   Exhibit 18 2011 Camargo et al          163                       7      January 19th, 2019. The time is
                   Publication                                              8      9:02 a m.
       8
           Exhibit 19 2013 Terry et al                 192                  9          This video deposition is being
       9           Publication                                             10      held in Houston, Texas in the matter
      10   Exhibit 20 2016 Cramer et al                 195
                   Publication                                             11      of Talcum Powder Litigation MDL
      11                                                                   12      No. 2738.
           Exhibit 21 IARC Classification Groups 225
      12           Document                                                13          The deponent is Dr. Chip
      13   Exhibit 22 2017 Berge et al        243                          14      Carson.
                   Publication
      14
                                                                           15          Will counsel please identify
           Exhibit 23 2007 Langseth et al               247                16      themselves for the record.
      15           Publication                                             17           MS. O'DELL: Leigh O'Dell,
      16   Exhibit 24 2016 Schildkraut et al            271
                   Publication                                             18      Beasley Allen, for the plaintiffs.
      17                                                                   19           DR. THOMPSON: Margaret
           Exhibit 25 Excerpt from IARC                  289
      18           Monograph 93                                            20      Thompson, Beasley Allen, for the
      19                                                                   21      plaintiffs.
      20
      21                                                                   22          MS. KLEVORN: Amanda Klevorn,
      22                                                                   23      Burns Charest, for the plaintiffs.
      23
      24                                                                   24           MR. ZELLERS: Michael Zellers

                                                                  Page 7                                         Page 9
       1                    REFERENCED EXHIBITS                             1       for the Johnson & Johnson defendants.
       2                                                                    2            MS. McBETH: Katherine McBeth,
             NUMBER                                           PAGE          3       Drinker Biddle & Reath, for the
       3
                                                                            4       Johnson & Johnson defendants as well.
             Exhibit    ......................           148
       4     Hopkins-28                                                     5            MS. BOCKUS: Jane Bockus for
       5     Exhibit    ......................           148                6       Imerys.
             Pier-47                                                        7            MR. DONATH: Jonathan Donath
       6                                                                    8       from Coughlin Duffy for Imerys.
             Exhibit          ......................         28             9            MS. APPEL: Renée Appel from
       7     P-346
       8
                                                                           10       Seyfarth Shaw for Personal Care
       9                   --o0o--                                         11       Products.
      10                                                                   12            MS. TINSLEY: Caroline Tinsley,
      11                                                                   13       Tucker Ellis, for PTI Union, LLC and
      12                                                                   14       PTI Royston, LLC.
      13                                                                   15            THE VIDEOGRAPHER: The court
      14
      15
                                                                           16       reporter today is Mr. Mike Miller, and
      16                                                                   17       he will now swear in the witness.
      17                                                                   18      ARCH I. "CHIP" CARSON, M.D., Ph.D.,
      18                                                                   19          having been duly sworn,
      19                                                                   20          testified as follows:
      20                                                                   21              EXAMINATION
      21
      22
                                                                           22   BY MR. ZELLERS:
      23                                                                   23       Q. Can you state your name,
      24                                                                   24   please.


                                                                                             3 (Pages 6 to 9)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 5 of 366 PageID:
                                  75360

                        Arch I. "Chip"                  Carson, M.D., Ph.D.
                                              Page 10                                             Page 12
       1        A. Arch Carson.                              1   BY MR. ZELLERS:
       2        Q. You are a physician; is that              2       Q. As best we can, let me finish
       3    right?                                           3   my question before you start to give your
       4        A. I am.                                     4   answer. I'll do the same and allow you to
       5        Q. A medical toxicologist?                   5   finish your answer before I ask you another
       6        A. Yes.                                      6   question so our court reporter can take down
       7        Q. We are here today to take your            7   what each of us say.
       8    deposition in the talc MDL litigation            8            Can you do that?
       9    proceedings; is that right?                      9       A. Yes.
      10        A. As far as I know, yes.                   10       Q. In response to the notice of
      11        Q. You are an expert witness for            11   deposition, which we've marked as Exhibit 1,
      12    the plaintiffs in that litigation; is that      12   have you brought with you certain documents
      13    right?                                          13   here today?
      14        A. Yes.                                     14       A. I have a collection of
      15        Q. Did you receive a notice of              15   documents that in part respond to these
      16    deposition, which we'll mark as Exhibit 1, to   16   requests, yes.
      17    appear here today?                              17       Q. Do you have any documents in
      18             (Carson Deposition Exhibit 1           18   your possession that are responsive to the
      19        marked.)                                    19   notice of deposition, Exhibit 1, that you
      20        A. Yes, I received a copy of this           20   have not brought here today?
      21    document.                                       21       A. I would have to go through
      22             MS. O'DELL: And, Michael, just         22   these things one by one, but --
      23        for the record, we just reassert all        23       Q. You didn't do that before we
      24        our previously served objections to         24   came here today?

                                              Page 11                                             Page 13
       1        the notice.                                  1       A. I did, but the plaintiffs'
       2             MR. ZELLERS: Thank you.                 2   attorneys --
       3    BY MR. ZELLERS:                                  3             MS. O'DELL: Let me just stop
       4        Q. You have given deposition                 4       you, Dr. Carson, just because
       5    testimony in the past; is that right?            5       discussing what we've discussed is not
       6        A. I have.                                   6       within the purview of this deposition.
       7        Q. On how many occasions?                    7       That's privileged. Let me just say --
       8        A. Probably 30, 35.                          8             THE WITNESS: All right.
       9        Q. You are familiar with the                 9             MS. O'DELL: -- Dr. Carson, in
      10    procedures we're going to follow today?         10       response to the notice, has brought
      11        A. More or less, I think.                   11       with him copies of the cited materials
      12        Q. If at any time I ask you a               12       in his report, and that's in the
      13    question and you don't understand it, tell me   13       binder that is to his left.
      14    you don't understand it and I'll repeat it or   14             He's brought with him copies of
      15    rephrase it to try to make it clear to you.     15       certain documents that were listed on
      16             Can you do that?                       16       his materials considered list. He
      17        A. Yes.                                     17       doesn't have a physical copy of
      18        Q. If you answer a question that I          18       everything on his materials considered
      19    ask or that any of the counsel ask, we're       19       list.
      20    going to assume that you understood it; is      20             I brought today a thumb drive
      21    that fair?                                      21       that has a copy of all the items on
      22             MS. O'DELL: Object to form.            22       his materials considered list. If you
      23        A. That's fair.                             23       would like access to that, it's
      24             ///                                    24       available to you.

                                                                          4 (Pages 10 to 13)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 6 of 366 PageID:
                                  75361

                        Arch I. "Chip"                  Carson, M.D., Ph.D.
                                              Page 14                                              Page 16
       1            And then in addition, he has             1        Q. I'll ask you about the
       2       brought some additional materials that        2   attachments in a moment.
       3       he has reviewed since the service of          3             Does this report,
       4       his report.                                   4   Deposition Exhibit 2, contain all of the
       5            The only other item, as I                5   opinions that you intend to offer at any
       6       recall, on the notice of deposition           6   trial or hearing of this matter?
       7       request for documents that has not            7        A. In general, it contains all of
       8       been brought to the deposition is             8   my opinions. I expect to expand on those
       9       copies of invoices and Dr. Carson has         9   opinions possibly in this deposition or in
      10       not sent us an invoice. That's why we        10   the future.
      11       don't have a copy.                           11        Q. Today's my opportunity to ask
      12            So to try to short-circuit              12   you what your opinions are in this matter.
      13       this, just to make sure since we made        13             As of today, are the opinions
      14       decisions about what's produced and          14   that you expressed to us set forth at any
      15       what's not, I'll just say all that for       15   trial or hearing in this matter, are they
      16       the record. And if you'd like that,          16   contained in your report, Exhibit 2?
      17       you're welcome to it.                        17        A. I have seen information that
      18    BY MR. ZELLERS:                                 18   has become available recently that I did not
      19       Q. Dr. Carson, you heard                     19   have at that time this report was finalized,
      20    Ms. O'Dell describe what you brought here       20   and I have modified my opinions very slightly
      21    today. Is all of that accurate?                 21   as a result of that information.
      22       A. It is.                                    22        Q. How have you modified your
      23       Q. Are you aware of there being              23   opinions?
      24    any documents or materials that are             24        A. My opinions have essentially

                                              Page 15                                              Page 17
       1    responsive to the deposition notice that you     1   been strengthened as they relate to the
       2    have not brought with you here today?            2   causation question between perineal talcum
       3        A. No.                                       3   powder use and the occurrence of ovarian
       4        Q. I'm trying to understand what             4   cancers.
       5    counsel for plaintiffs, Ms. O'Dell, has said,    5       Q. Other than you believing that
       6    so let me ask you some questions.                6   your opinions are strengthened with respect
       7             You have brought with you today         7   to the association between perineal talcum
       8    in a binder some of the cited materials in       8   powder use and ovarian cancer, have your
       9    your report; is that right?                      9   opinions changed at all since you prepared
      10        A. Yes. This is intended to be a            10   your report, Exhibit 2?
      11    complete set of the cited references, with      11       A. No.
      12    one exception.                                  12       Q. Are there any new or additional
      13        Q. When you say cited                       13   opinions as of today that you expect to
      14    references --                                   14   testify to at trial or any hearing of this
      15        A. From my report.                          15   matter other than your report, Exhibit 2, and
      16        Q. Your expert report, we will              16   as you have qualified that report by stating
      17    mark as Exhibit 2.                              17   that your opinions on association are
      18             (Carson Deposition Exhibit 2           18   stronger today?
      19        marked.)                                    19       A. No.
      20    BY MR. ZELLERS:                                 20            MS. O'DELL: Object to the
      21        Q. Is Deposition Exhibit 2 your             21       form.
      22    report in this matter?                          22   BY MR. ZELLERS:
      23        A. It is. It also has                       23       Q. Okay. Your report has a list
      24    attachments.                                    24   of references that begin on page 11.


                                                                           5 (Pages 14 to 17)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 7 of 366 PageID:
                                  75362

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                              Page 18                                              Page 20
       1              Do you see that?                       1            I produced a report that I
       2         A. Yes.                                     2   thought was responsive to the question that
       3         Q. What are the references? What            3   was given to me by the plaintiffs' attorneys,
       4    do they relate to? And by that, I mean --        4   and within that report I felt it necessary to
       5    I'm just trying to understand what this list     5   cite specific key references that contributed
       6    is.                                              6   to items in that report.
       7         A. This is a list of references             7   BY MR. ZELLERS:
       8    from which I gleaned information that were       8        Q. And those are --
       9    important to my forming opinions regarding       9            MS. O'DELL: Excuse me, sir.
      10    the question that was given to me, and they     10        Are you finished, Dr. Carson?
      11    contribute to pieces of the report in various   11            THE WITNESS: Yes.
      12    ways.                                           12            MS. O'DELL: Okay. Sorry.
      13              They don't represent a complete       13   BY MR. ZELLERS:
      14    review that I made in preparing my report,      14        Q. Those are the items that you've
      15    but all are important in some way in terms of   15   listed under References; is that right?
      16    coming to my conclusions.                       16        A. Yes.
      17         Q. Are the references that you             17        Q. Literature are other materials
      18    list in your report from page 11 up and         18   that you have reviewed but didn't rise to the
      19    through page 16, are those the materials that   19   level of you citing them as a reference for
      20    you are relying on in terms of your opinions    20   your report, correct?
      21    that you're expressing in your report?          21        A. That is correct, but they do
      22              MS. O'DELL: Objection to form.        22   contribute information that I utilize in
      23         A. Yes.                                    23   terms of the whole to formulate my opinions.
      24              ///                                   24        Q. Let me mark several of the

                                              Page 19                                              Page 21
       1    BY MR. ZELLERS:                                  1   attachments to your report as separate
       2         Q. What, then, is the difference            2   exhibits.
       3    between the references to your report and        3            (Carson Deposition Exhibit 3
       4    Exhibit B, which has a caption, Literature?      4        marked.)
       5         A. The Exhibit B represents a               5   BY MR. ZELLERS:
       6    larger set of documents, including scientific    6        Q. Exhibit 3 is your curriculum
       7    literature, technical reports, and so forth      7   vitae that was attached to your report; is
       8    that I reviewed in preparation of my report      8   that right?
       9    and the formation of my opinions; but they       9        A. Yes.
      10    did not contain information that I felt         10            (Carson Deposition Exhibit 4
      11    necessary to cite in my report.                 11        marked.)
      12         Q. The literature that you cite to         12   BY MR. ZELLERS:
      13    as Appendix B of your report are materials      13        Q. Exhibit 4 is a copy of your
      14    that you reviewed but are not the materials     14   literature list that we just discussed that
      15    that you're specifically relying on. The        15   is in your report; is that right?
      16    materials that you're specifically relying on   16        A. Yes.
      17    are set forth in your references list; is       17            MS. O'DELL: Thank you.
      18    that right?                                     18   BY MR. ZELLERS:
      19              MS. O'DELL: Excuse me. Object         19        Q. The one difference with
      20         to the form, misstates his testimony.      20   Exhibit 4, your literature list that's
      21         A. My opinions are based on my             21   attached to your report as Appendix B is not
      22    total review of the literature as well as my    22   numbered. I've gone ahead and numbered the
      23    training, my professional experience and many   23   pages on Exhibit 4, your literature list, in
      24    other factors.                                  24   case we want to refer to a specific page.


                                                                           6 (Pages 18 to 21)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 8 of 366 PageID:
                                  75363

                        Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 22                                              Page 24
       1            Today, when I refer to                  1   binder of materials; is that right?
       2   products, talc products, baby powder or          2        A. Yes.
       3   Shower to Shower, I'm referring to the baby      3        Q. The binder of materials, did
       4   powder product manufactured by Johnson &         4   you prepare that, or was it prepared for you?
       5   Johnson Consumer Products Inc. and the Shower    5        A. Well, I uploaded documents to a
       6   to Shower product formerly manufactured by       6   share file, and the plaintiffs' attorneys
       7   Johnson & Johnson Consumer Products Inc.         7   were kind enough to print those for me and
       8            Do you understand that?                 8   assemble them in the binder.
       9        A. Yes.                                     9        Q. In addition, you have brought
      10        Q. Is your report, Exhibit 2,              10   with you a stack of eight or so additional
      11   accurate?                                       11   references that you have on the table in
      12        A. I believe so.                           12   front of you; is that right?
      13        Q. Do you believe it's complete?           13        A. Yes.
      14        A. In terms of its focus, yes.             14        Q. Are those materials that were
      15        Q. What do you mean in terms of            15   cited either as references in your report or
      16   its focus?                                      16   in the literature section of your report?
      17        A. It covers specific aspects of a         17        A. I think they're all included in
      18   larger question, and regarding those specific   18   one or the other of those lists.
      19   aspects, I believe it is complete.              19        Q. Your testimony under oath is
      20        Q. It covers the aspects of the            20   that all of the additional materials you
      21   question that you intend to offer opinions      21   brought here today are referred to either in
      22   on, correct?                                    22   your reference list, which is -- begins at
      23        A. That is correct.                        23   page 11 of your report, or your literature
      24        Q. What is the question that was           24   list, which we've marked as Exhibit 4 and is

                                             Page 23                                              Page 25
       1    given to you by counsel for plaintiffs in       1   Exhibit B to your report; is that right?
       2    this litigation?                                2            MS. O'DELL: Objection to the
       3         A. The question is do the -- does          3        form.
       4    the habitual use of talcum powder products      4            Go ahead.
       5    cause ovarian cancer.                           5        A. There are a couple of new
       6         Q. Were you given any other                6   articles here that were not available at the
       7    questions to answer or opine on in this         7   time that I submitted my report, and I
       8    litigation?                                     8   believe the literature list was also created.
       9         A. Not specifically.                       9   BY MR. ZELLERS:
      10         Q. What do you understand habitual        10        Q. Were those new materials
      11    use of talcum powder to refer to?              11   provided to you by plaintiffs' counsel or are
      12         A. It means routine use, periodic         12   those materials that you did some type of
      13    use.                                           13   literature search and found?
      14         Q. Over any period of time?               14        A. One of them was provided to me
      15         A. Over an extended period of             15   by plaintiffs' counsel, but I was aware that
      16    time.                                          16   it was coming. And -- actually, two of them
      17         Q. What is an extended period of          17   were provided by plaintiffs' counsel.
      18    time?                                          18        Q. All right. The two additional
      19         A. Months or years.                       19   documents that were provided to you by
      20         Q. Any other definition that you          20   plaintiffs' counsel, can you show those to
      21    have of habitual use?                          21   me?
      22         A. No.                                    22        A. Okay. One is the Longo report.
      23         Q. Today, in response to the              23        Q. We will mark as
      24    notice of deposition, you did bring the        24   Deposition Exhibit 5 the Longo report dated


                                                                          7 (Pages 22 to 25)
                Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 9 of 366 PageID:
                                  75364

                        Arch I. "Chip"                  Carson, M.D., Ph.D.
                                              Page 26                                              Page 28
       1    January 15th of 2009 [sic].                      1   Ph.D.; is that right?
       2             (Carson Deposition Exhibit 5            2       A. Yes.
       3        marked.)                                     3       Q. What additional articles have
       4        A. The other is the recent                   4   you brought here with you today separate and
       5    Fletcher, et al article.                         5   apart from your binder of materials?
       6             (Carson Deposition Exhibit 6            6       A. There's a copy of the IARC
       7        marked.)                                     7   monographs preamble.
       8    BY MR. ZELLERS:                                  8       Q. For what purpose did you bring
       9        Q. The Fletcher article dated                9   that article?
      10    January 3rd of 2019 we'll mark as Exhibit 6.    10       A. This discusses the general
      11    This is an article from Reproductive            11   process that IARC uses in approaching a
      12    Sciences; is that right?                        12   putative carcinogenic material.
      13        A. Yes. And I actually have a               13       Q. That has previously been marked
      14    third.                                          14   as Plaintiff Exhibit P-346 in another
      15        Q. All right. You have a third              15   proceeding; is that right?
      16    article that was provided to you by             16       A. I don't know.
      17    plaintiffs' counsel?                            17       Q. Well, the document we're
      18        A. Yes.                                     18   looking at has that exhibit sticker on it; is
      19             (Carson Deposition Exhibit 7           19   that right?
      20        marked.)                                    20       A. It does.
      21    BY MR. ZELLERS:                                 21       Q. What else have you brought here
      22        Q. Let's mark that as                       22   with you today?
      23    Deposition Exhibit 7. Can you tell us what      23       A. This is an article from
      24    article that is?                                24   The Lancet from 1952 titled Value of Modified

                                              Page 27                                              Page 29
       1         A. This is a meta-analysis.                 1   Starch as a Substitute for Talc, and the
       2    It's -- the title is Systematic Review and       2   first author is J.D.P. Graham.
       3    Meta-Analysis of the Association Between         3        Q. Why did you bring that article?
       4    Perineal Use of Talc and Risk of Ovarian         4        A. This is an older article that
       5    Cancer. The lead author is Mohamed Taher.        5   discusses the suitability of substituting
       6         Q. The Taher paper we have marked           6   cornstarch materials for talc due to
       7    as Exhibit 7; is that right?                     7   perceived issues with talc.
       8         A. Yes.                                     8        Q. Is this an article that you had
       9         Q. This is something that you were          9   cited previously, either in your references
      10    provided by plaintiffs' counsel; is that        10   or your list of literature?
      11    right?                                          11        A. I did not cite it in my report.
      12         A. Yes.                                    12   I don't know -- I don't recall if it's in the
      13         Q. Exhibit 6, Reproductive                 13   literature list or not.
      14    Sciences, are you familiar with that journal?   14            (Carson Deposition Exhibit 8
      15         A. I'm aware that it exists.               15        marked.)
      16         Q. Do you review that journal on a         16   BY MR. ZELLERS:
      17    regular basis as a part of your clinical and    17        Q. Why did you decide to bring
      18    research activities?                            18   that with you here today?
      19         A. No, I don't.                            19        A. It is in the literature list.
      20         Q. Is Reproductive Sciences a              20            I ran across it last night, and
      21    peer-reviewed journal?                          21   I thought I might need to refer to it during
      22         A. I believe it is.                        22   the deposition.
      23         Q. The Exhibit 6 has as a                  23        Q. What other documents or
      24    corresponding author, Dr. Saed, S-A-E-D, a      24   materials have you brought other than your

                                                                           8 (Pages 26 to 29)
                Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 10 of 366 PageID:
                                  75365

                         Arch I. "Chip"                     Carson, M.D., Ph.D.
                                              Page 30                                                Page 32
        1   binder of materials?                                1   talcum powder and ovarian cancer, is
        2       A. I have here a copy of the                    2   something that you undertook when you were
        3   recent Canadian position on the safety of           3   retained by plaintiffs' counsel and asked to
        4   talcum powder and its relationship to ovarian       4   address the question they gave to you?
        5   cancer.                                             5       A. Yes, it is.
        6       Q. When did you review that                     6       Q. We will mark the article by
        7   document?                                           7   Blount as Exhibit 11.
        8       A. A couple weeks ago, I think.                 8            (Carson Deposition Exhibit 11
        9       Q. Is that a document that you                  9       marked.)
       10   were provided by plaintiffs' counsel?              10   BY MR. ZELLERS:
       11       A. It was.                                     11       Q. And you have one more; is that
       12       Q. Can I see the document, please?             12   right?
       13   We'll mark the draft screening assessment          13       A. Yes, one more, which is -- this
       14   from Health Canada dated December 18th of          14   is an article from the American Journal of
       15   2018 as Exhibit 9.                                 15   Obstetrics and Gynecology from 1974 titled
       16            (Carson Deposition Exhibit 9              16   The Ovarian Mesothelioma. It's authored by
       17       marked.)                                       17   Parmley and Woodruff.
       18   BY MR. ZELLERS:                                    18       Q. We'll mark that as Exhibit 12.
       19       Q. Any other documents?                        19            (Carson Deposition Exhibit 12
       20       A. I have a copy of the letter                 20       marked.)
       21   from the FDA from April 1st, 2014 responding       21   BY MR. ZELLERS:
       22   to positions -- petitions for labeling.            22       Q. Exhibit 12, is this an article
       23       Q. This is a letter that has a                 23   that was cited previously by you in either
       24   stamp on it on the first page, April 1st,          24   your references or your literature list?

                                              Page 31                                                Page 33
        1   2014, from -- or strike that -- to                  1      A.      Yes.
        2   Dr. Epstein from the FDA; is that right?            2      Q.      For what -- strike that.
        3       A. Yes.                                         3             Is this a document that you
        4       Q. Let's mark that as Exhibit 10.               4   chose to bring today or were you provided it
        5             (Carson Deposition Exhibit 10             5   by plaintiffs' counsel?
        6       marked.)                                        6        A. This is another one I ran
        7   BY MR. ZELLERS:                                     7   across last night and decided to bring along
        8       Q. What else?                                   8   to the depo.
        9       A. I have an article authored by                9        Q. Same questions with respect to
       10   A.M. Blount which is titled Amphibole Content      10   the Blount article, Exhibit 11: Is this an
       11   of Cosmetic and Pharmaceutical Talcs that was      11   article you cite in your references or
       12   published in Environmental Health                  12   literature?
       13   Perspectives in 1991.                              13        A. In the literature, yes.
       14       Q. Is that a journal that you                  14        Q. For what purpose have you
       15   review on a regular basis as part of either        15   brought this with you today?
       16   your clinical practice or your research            16        A. I thought I might want to refer
       17   activities?                                        17   to it in response to questions here.
       18       A. That one I do look at pretty                18        Q. Exhibit 10, the letter from the
       19   much.                                              19   FDA to Dr. Epstein, April of 2014, for what
       20       Q. Is this an article you were                 20   purpose have you brought that here with you
       21   aware of back in 1991?                             21   today?
       22       A. No. At least I don't recall.                22        A. I thought I might want to refer
       23       Q. Is it fair that your review of              23   to it in response to questioning.
       24   this literature, the literature relating to        24        Q. The documents that you have


                                                                             9 (Pages 30 to 33)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 11 of 366 PageID:
                                  75366

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                              Page 34                                              Page 36
        1   brought here with you today are documents        1   wouldn't be able to tell you for sure. I'm
        2   that you wanted to have available to try to      2   sure I ran across these in my own literature
        3   respond to the questions that I may ask you?     3   search.
        4        A. Yes.                                     4         Q. Deposition Exhibit 13, we will
        5        Q. These documents you all                  5   mark the thumb drive that plaintiffs' counsel
        6   believe -- strike that.                          6   has brought here today.
        7            The documents that you've               7            (Carson Deposition Exhibit 13
        8   identified and you've brought with you --        8         marked.)
        9   have brought with you today, you believe         9   BY MR. ZELLERS:
       10   those are supportive of the opinions that you   10         Q. Do you, Dr. Carson, have an
       11   are rendering in this matter; is that right?    11   understanding of what's on the thumb drive
       12        A. Yes.                                    12   we've marked as Exhibit 13?
       13        Q. The documents on your                   13         A. My understanding is this is
       14   literature list, what we have marked as         14   copies of the documents on the literature
       15   Exhibit 4, are those documents that were        15   list.
       16   provided to you by plaintiffs' counsel?         16         Q. When were you first retained by
       17        A. Some were.                              17   anyone regarding the talc/ovarian cancer
       18        Q. The documents on this list that         18   litigation?
       19   were not provided by plaintiffs' counsel, did   19         A. In October of 2018.
       20   you find those through a literature search?     20         Q. Who contacted you?
       21        A. Yes.                                    21         A. I was contacted by an attorney
       22        Q. Are you able to distinguish for         22   named Russ Abney.
       23   us which documents on your literature list,     23         Q. Who is Mr. Abney, if you know?
       24   Exhibit 4, came from plaintiffs' counsel and    24         A. Mr. Abney is a lawyer who used

                                              Page 35                                              Page 37
        1    which items on the literature list you came     1   to work in the Houston area and with whom I
        2    up with?                                        2   had some dealings years ago; and since that
        3         A. To some extent.                         3   time he has become involved in this talc
        4         Q. So if we went through item by           4   litigation in some way, was aware of me as a
        5    item, you believe you could distinguish         5   potential expert witness, and contacted me
        6    between what was provided to you by             6   regarding my interest and availability.
        7    plaintiffs and what you found on your own?      7        Q. What matters have you worked on
        8         A. For some, but not all of them.          8   with Mr. Abney in the past?
        9         Q. Have you reviewed all of the            9        A. I think it would have been back
       10    materials that are listed on your literature   10   in the 1990s, and I frankly don't recall what
       11    list?                                          11   cases we worked on, but there were one or
       12         A. I have reviewed all of them,           12   maybe two cases.
       13    yes.                                           13        Q. When in October of 2018 were
       14         Q. Have you reviewed all of the           14   you contacted by Mr. Abney?
       15    materials that are on your reference list?     15            MS. O'DELL: Object to the
       16         A. Yes.                                   16        form.
       17         Q. The materials on your reference        17        A. I believe it was either the
       18    list, is it the same that some were provided   18   14th or 15th of October.
       19    to you by plaintiffs' counsel and some you     19   BY MR. ZELLERS:
       20    found on your own?                             20        Q. How do you remember with that
       21         A. I think there may be one or two        21   precision?
       22    references that I didn't have before I saw     22        A. I have an e-mail that relates
       23    them in the share file that may have been      23   to a phone call which was our initial
       24    provided by plaintiffs' counsel, but I         24   contact.


                                                                         10 (Pages 34 to 37)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 12 of 366 PageID:
                                  75367

                         Arch I. "Chip"                     Carson, M.D., Ph.D.
                                              Page 38                                                Page 40
        1       Q. Mr. Abney at some point asked               1   doing a review? What does that mean?
        2   you to address the question that you told us       2       A. Well, I felt that I was hired
        3   before: Does the habitual use of talcum            3   as a witness at that point and that's when I
        4   powder cause ovarian cancer?                       4   would begin my billable hours on this case.
        5            Is that right?                            5       Q. When was that? Sometime in
        6            MS. O'DELL: Object to the                 6   later October of -- late October of 2018?
        7       form.                                          7       A. It was within a few days after
        8       A. Well, he talked to me generally             8   our first meeting, still in October.
        9   about the case that was proceeding, and I          9       Q. What did you do to answer the
       10   discussed with him what my understanding of       10   question? What was your methodology?
       11   those things was and what the kind of             11       A. Well, initially I decided to do
       12   opinions I would be able to render would be.      12   a general literature search on the question
       13   And he suggested that he set up a meeting         13   to see what research had been performed, what
       14   between me and members of plaintiffs'             14   reports had been written, what the quality of
       15   counsel.                                          15   that research was.
       16   BY MR. ZELLERS:                                   16       Q. When did you start that?
       17       Q. When Mr. Abney called you                  17       A. Immediately. I was curious.
       18   middle of October of 2018, talcum powder and      18              I began to assemble the
       19   any relationship or association that it may       19   available literature and review it on a
       20   have to ovarian cancer had not been a focus       20   piecemeal basis through the subsequent time
       21   of your research or study; is that right?         21   period; the next couple of weeks I reviewed a
       22       A. That's right.                              22   lot of it.
       23       Q. It had not been a part of your             23       Q. What did you search for when
       24   clinical practice, right?                         24   you did this general literature search?

                                              Page 39                                                Page 41
        1       A. That's correct.                             1        A. I searched under various search
        2       Q. When did you meet with the                  2   terms, including "talc," including "ovarian
        3   larger group of plaintiffs' counsel?               3   cancer," the relationship between the two.
        4       A. I believe we had a telephone                4   As I became more familiar with the
        5   meeting on the 16th of October. I'm not            5   literature, I expanded that search into other
        6   sure. I have to --                                 6   topics.
        7       Q. That's -- right now I just want             7            As I became -- I was already
        8   estimates.                                         8   aware of issues related to the inclusion of
        9       A. Okay.                                       9   asbestos in talc deposits, and so I expanded
       10       Q. And so I don't -- as long as               10   my search into that part of the literature
       11   you're reasonably comfortable that it was in      11   that relates to asbestos in talc or asbestos
       12   that time frame.                                  12   in ovarian cancer.
       13       A. It was mid October.                        13            As I felt my opinions would
       14       Q. That's fine.                               14   need to extend into cancer and carcinogenesis
       15            When were you asked the                  15   in general, I did some search into ovarian
       16   question that the plaintiffs' lawyers wanted      16   cancer specifically and general
       17   you to try to answer in this litigation?          17   carcinogenesis to see what the current state
       18       A. Well, after the meeting we                 18   of the art was regarding that in the
       19   parted ways and then made contact again a few     19   literature.
       20   days later, and I was told that they were         20            I looked at some issues of
       21   interested in me going ahead and doing a          21   mining practices.
       22   review and starting to establish opinions.        22            I looked at the Johnson &
       23       Q. What do you mean by they                   23   Johnson website. There's a webpage regarding
       24   authorized you or were comfortable with you       24   talc and ovarian cancer that I looked at.


                                                                           11 (Pages 38 to 41)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 13 of 366 PageID:
                                  75368

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                              Page 42                                              Page 44
        1            I looked through old notes and          1   review of draft versions of my report and
        2   lecture files that I had for information that    2   comments, in particular --
        3   I've used or accessed previously in my           3        Q. Don't tell me about the
        4   professional capacity for information that       4   comments.
        5   was pertinent.                                   5        A. Okay.
        6            Just a very dendritic kind of           6        Q. I don't want to know what the
        7   extensive search.                                7   lawyers may have told you.
        8        Q. You reviewed these materials             8            Did the comments come from the
        9   that you have told us about and then did you     9   lawyers for plaintiffs or did they come from
       10   prepare your report?                            10   other people?
       11        A. At that point I -- well, the            11        A. They came from the lawyers.
       12   literature review took several stages.          12   They also came from a few of my colleagues.
       13   Typically when you perform a review like        13        Q. Did you share your report with
       14   this, you end up with a -- I do a very          14   some of your colleagues?
       15   general sort of approach to a review, so I      15        A. I let a few people read it and
       16   get much more than will be pertinent to my      16   I talked to them about it.
       17   review eventually.                              17        Q. Are the opinions your opinions?
       18            I find that a valuable approach        18        A. Yes, they are.
       19   because it allows me to find things I           19        Q. Have you told me, you know,
       20   wouldn't otherwise find or look for or know     20   generally what you have done to formulate
       21   to look for.                                    21   your opinions in this matter?
       22            And then I'm able to cull              22        A. Yes, I think so.
       23   through that information and discard pieces     23        Q. You did all of this over a
       24   of the search materials that are not relevant   24   30-day period; is that right?

                                              Page 43                                              Page 45
        1   or interesting to me and then refine my          1       A. Yes.
        2   search and redo it, extending it into            2       Q. All right. You have no
        3   different areas that have now become             3   invoices, correct?
        4   pertinent in my opinion, until I satisfy         4       A. That's correct.
        5   myself that I have pretty much covered the       5       Q. Is it typical that you'll work
        6   waterfront so to speak in terms of a             6   on a matter for some number of months and not
        7   literature review.                               7   generate any invoices?
        8        Q. You did your literature review.          8       A. Yes.
        9   You reviewed the Johnson & Johnson website       9       Q. You are billing your time at
       10   and the other materials that you have told us   10   what rate?
       11   about.                                          11       A. $450 per hour.
       12            Did you then formulate your            12       Q. Can you estimate for us the
       13   opinions and set them down in your report       13   number of hours that you have spent doing
       14   which we marked as Exhibit 2?                   14   your literature review, formulating your
       15        A. I did. I began writing as I             15   opinions, and writing your report?
       16   reviewed the literature and continued to take   16       A. There's still some tallying I
       17   notes which, through a continuous editing       17   need to do from my calendar, but it's between
       18   process, eventually became my report.           18   150 and 180 hours.
       19        Q. Did you prepare your report?            19       Q. Does that include your meetings
       20        A. I did.                                  20   and communications with plaintiffs' counsel?
       21        Q. Did anyone assist you in the            21       A. Yes, that's up until today.
       22   preparation of your report?                     22       Q. Other than meeting with
       23        A. No one assisted me in the               23   Mr. Abney or talking with Mr. Abney -- did
       24   preparation of my report. I did receive         24   you ever meet with Mr. Abney face-to-face?


                                                                         12 (Pages 42 to 45)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 14 of 366 PageID:
                                  75369

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                              Page 46                                              Page 48
        1        A. No.                                      1        A. I have not had any discussions
        2        Q. What other plaintiff lawyers             2   with Dr. Dydek. We may have met previously,
        3   have you met with or talked with as part of      3   but I don't recall.
        4   your formulating your opinions and doing your    4        Q. Any previous meeting with
        5   literature review?                               5   Dr. Dydek, did it relate to this litigation?
        6        A. We've had a number of                    6        A. No.
        7   conference calls where there were several of     7        Q. Did it relate to expert witness
        8   these attorneys' colleagues on the line, but     8   work that you were doing?
        9   in terms of in-person meetings, those have       9        A. No.
       10   been with Ms. O'Dell and Ms. Thompson,          10        Q. Do you know what the
       11   Dr. Thompson.                                   11   relationship is, if any, between Dr. Thompson
       12        Q. How many meetings have you had          12   and Dr. Dydek?
       13   with Ms. O'Dell?                                13        A. I don't know of any
       14        A. Three.                                  14   relationship outside of his work as an expert
       15        Q. How many meetings have you had          15   witness in related litigation.
       16   with Dr. Thompson?                              16        Q. Dr. Crowley, do you know
       17        A. Three.                                  17   Michael Crowley?
       18        Q. Did you know Dr. Thompson               18        A. I know of Dr. Crowley.
       19   before you were retained in this matter?        19        Q. Did you know of Dr. Crowley
       20        A. I did not.                              20   before you were retained in the talcum powder
       21        Q. Any other plaintiff lawyers in          21   litigation?
       22   this litigation that you are aware of --        22        A. No.
       23   strike that.                                    23        Q. Have you ever met with
       24             Any other plaintiff lawyers in        24   Dr. Crowley?

                                              Page 47                                              Page 49
        1   this matter that you've had communications       1       A. I have not.
        2   with other than what you have told us?           2       Q. Ever talked with Dr. Crowley?
        3       A. No.                                       3       A. I have not.
        4       Q. Do you have any social                    4       Q. You reviewed his report as part
        5   relationship with any of the plaintiffs'         5   of your review in this matter; is that right?
        6   counsel?                                         6       A. That's correct.
        7       A. No.                                       7       Q. Do you know who any of the
        8       Q. Your relationship with                    8   other experts are in this litigation for
        9   Dr. Thompson is just the three meetings that     9   plaintiffs?
       10   you have been involved in with her?             10       A. Well, I know there are a number
       11       A. Well, we've exchanged e-mail             11   of people who have generated reports that I
       12   communications, but other than that, no.        12   have also reviewed.
       13       Q. Have you met with or talked              13       Q. What reports have you reviewed
       14   with any other expert witness for plaintiffs?   14   from plaintiffs' other experts?
       15       A. No, I have not.                          15       A. Well, I've reviewed several
       16       Q. Do you know who Thomas Dydek             16   reports from Dr. Longo, who's done work on
       17   is?                                             17   the presence of asbestos in talc products and
       18       A. Yes.                                     18   related things. I think he's the only other
       19       Q. Who is Thomas Dydek?                     19   expert that I'm aware of at this point.
       20       A. He is a toxicologist.                    20       Q. Well, you're aware of
       21       Q. Where does he practice?                  21   Dr. Crowley?
       22       A. I don't recall.                          22       A. Well, Dr. Crowley, Dr. Longo,
       23       Q. Have you had any discussions             23   and Dr. Dydek that you mentioned before.
       24   with Dr. Dydek?                                 24       Q. Have you reviewed any reports


                                                                         13 (Pages 46 to 49)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 15 of 366 PageID:
                                  75370

                         Arch I. "Chip"                     Carson, M.D., Ph.D.
                                              Page 50                                                 Page 52
        1   or transcripts from Dr. Dydek?                      1   that you're aware of?
        2       A. Yes, I reviewed an expert                    2        A. No.
        3   report that he provided before I got involved       3        Q. Are you aware of any of the
        4   in this case.                                       4   experts for defendants in the talcum powder
        5       Q. Did you review that report                   5   litigation?
        6   before you prepared your report?                    6        A. No.
        7       A. Yes.                                         7        Q. Have you reviewed any reports
        8       Q. Did you review Dr. Crowley's                 8   from any of the experts in the talcum powder
        9   report before you prepared your report?             9   litigation?
       10       A. Yes.                                        10        A. I have not.
       11       Q. And you reviewed Dr. Longo's                11        Q. Have you reviewed any of the
       12   report before you prepared your report; is         12   transcripts of defense experts in the talcum
       13   that right?                                        13   powder litigation?
       14       A. I've reviewed one report.                   14        A. I've reviewed some deposition
       15   There was another one that became available        15   transcripts of various witnesses.
       16   after.                                             16        Q. Those witnesses are all listed
       17       Q. The second report is what you               17   in either your references or your literature;
       18   brought here with you today and we marked as       18   is that right?
       19   Exhibit 5; is that right?                          19        A. Yes.
       20       A. Yes.                                        20        Q. Did you review the entire
       21       Q. Any other plaintiff experts                 21   transcripts of the witnesses that you've
       22   that you're aware of?                              22   identified?
       23       A. Not that I can think of, no.                23        A. I think for the most part I
       24       Q. Any other reports from                      24   would say yes.

                                              Page 51                                                 Page 53
        1   plaintiffs' experts that you have reviewed?         1       Q. Did you review the exhibits to
        2        A. Well, there's a -- there is an              2   those depositions?
        3   article that's been submitted for publication       3       A. Yes. If they were provided to
        4   which I consider a piece of the scientific          4   me, I did, yes.
        5   literature. You mentioned Dr. Saed earlier,         5       Q. Did you believe that it was
        6   and I know that he has a relationship with          6   your job to do an independent assessment as
        7   this case as well.                                  7   to whether or not the habitual use of talcum
        8        Q. What is his relationship with               8   powder causes or can cause ovarian cancer?
        9   this case, Dr. Saed?                                9            MS. O'DELL: Object to the
       10        A. He's provided some work at the             10       form.
       11   request of the attorneys here.                     11       A. Could you repeat the question,
       12        Q. Have you reviewed that work?               12   please.
       13        A. That's the subject of several              13   BY MR. ZELLERS:
       14   articles he's published previously, he and         14       Q. Sure.
       15   his colleagues, as well as the additional one      15            Plaintiffs asked you to --
       16   that I brought today.                              16   strike that.
       17        Q. Other than the articles that               17            Plaintiffs' counsel asked you
       18   you have listed on your reference and              18   to answer that question; is that right?
       19   literature list and the Saed article that you      19       A. Yes.
       20   brought with you today, are you aware of any       20       Q. You understood that they were
       21   other work that Dr. Saed has done in this          21   looking to develop an association or a causal
       22   matter?                                            22   relationship between the habitual use of
       23        A. No.                                        23   talcum powder and ovarian cancer, correct?
       24        Q. Any other plaintiff experts                24       A. Yes.


                                                                            14 (Pages 50 to 53)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 16 of 366 PageID:
                                  75371

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                              Page 54                                              Page 56
        1            MS. O'DELL: Object to the               1        A. Probably 5%.
        2       form.                                        2        Q. What percent of your income
        3            Excuse me, I'm sorry,                   3   comes from the work that you do as a
        4       gentlemen. Give me just one second to        4   consultant?
        5       object if I need to.                         5        A. Of course it varies quite a bit
        6            THE WITNESS: Sure.                      6   from moment to moment, but it would be less
        7            MS. O'DELL: Thank you.                  7   than 10%.
        8   BY MR. ZELLERS:                                  8        Q. Have you ever testified at
        9       Q. Did you consider the literature           9   trial?
       10   and the sources that refuted that association   10        A. Yes.
       11   or causal relationship?                         11        Q. On how many occasions?
       12       A. I tried to consider all the              12        A. Probably ten.
       13   available literature.                           13        Q. The 30 to 35 depositions that
       14       Q. When you wrote your report               14   you've given previously, those have been in
       15   setting forth your opinions, did you set        15   the context of you providing litigation
       16   forth the sources that refuted the              16   consulting services; is that right?
       17   propositions you were making?                   17        A. In terms of expert testimony,
       18       A. I cited several sources that on          18   yes.
       19   the surface might seem to refute my opinions.   19        Q. The trial appearances that
       20       Q. And you believe that is                  20   you've made, are those also in your capacity
       21   contained in your report which we marked as     21   as an expert witness?
       22   Exhibit 2; is that right?                       22        A. Yes.
       23       A. Yes.                                     23        Q. Have you been involved in other
       24       Q. Have you been involved in any            24   litigations?

                                              Page 55                                              Page 57
        1   other talcum powder litigation other than        1       A. Yes.
        2   this talc MDL matter that Mr. Abney talked to    2       Q. What other litigations have you
        3   you about?                                       3   been involved in as an expert?
        4        A. No, I haven't.                           4       A. Well, I've been asked to
        5        Q. In the 30 to 35 occasions that           5   provide opinions and testify in a number of
        6   you've testified in the past, have any of        6   cases, most of which involved personal injury
        7   those been on issues relating to talcum          7   in the occupational setting or environmental
        8   powder and any association between talcum        8   exposures.
        9   powder and ovarian cancer?                       9       Q. Has the majority of your expert
       10        A. No.                                     10   work in the occupational setting and for
       11        Q. You are not an expert in                11   environmental exposures been on behalf of
       12   asbestos, correct?                              12   plaintiffs?
       13             MS. O'DELL: Object to the             13       A. No, it's been split about
       14        form.                                      14   50/50, plaintiff and defense.
       15        A. I'm an occupational medicine            15       Q. Have you ever been retained in
       16   physician, and I have a significant amount of   16   a case involving cosmetic products?
       17   awareness and training regarding asbestos as    17       A. No.
       18   it relates to occupational exposures and        18       Q. Your curriculum vitae that we
       19   general environmental exposures, but I don't    19   marked as Exhibit 3, is it correct and up to
       20   consider myself an asbestos expert.             20   date?
       21   BY MR. ZELLERS:                                 21       A. It was up to date at the time
       22        Q. What percentage of your time do         22   of submission of my report in the end of
       23   you spend working as a consultant? And I'm      23   2018.
       24   talking about your professional time.           24       Q. What additions need to be made


                                                                         15 (Pages 54 to 57)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 17 of 366 PageID:
                                  75372

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                              Page 58                                              Page 60
        1   or corrections need to be made to your CV,       1   is that right?
        2   Exhibit 3, to bring it up to date?               2        A. Yes.
        3       A. Well, I've terminated a                   3        Q. What percentage of your time is
        4   relationship with the University of Texas        4   spent in the clinical practice of medicine?
        5   Medical Branch in Galveston where I was          5        A. Currently I see patients
        6   their -- the medical director of their           6   one-half day a week and work as a supervisor
        7   Employee Health Services Clinic. I continue      7   of the occupational medicine residents for
        8   to be -- serve as an assistant clinical          8   additional time during the week, so clinical
        9   professor of preventive medicine and family      9   activities would be about probably 12 hours a
       10   medicine at that institution.                   10   week.
       11             I have terminated my                  11        Q. Do you see or treat women for
       12   relationship with the Enbridge Corporation as   12   gynecologic cancer?
       13   their medical director.                         13        A. I do not.
       14             The Spectra Energy entry, which       14        Q. You have never worked for a
       15   is about the seventh on the list of             15   company that manufactures cosmetic products,
       16   professional activities, is also terminated     16   correct?
       17   as that was a company that was merged and       17        A. That's correct.
       18   became Enbridge.                                18        Q. You're not a gynecologist or an
       19       Q. Any other corrections or                 19   oncologist, correct?
       20   updates to your curriculum vitae that we've     20        A. That's correct.
       21   marked as Exhibit 3?                            21        Q. You're not a cancer biologist?
       22       A. No.                                      22             MS. O'DELL: Object to the
       23       Q. Why are you no longer serving            23        form.
       24   as medical director, Employee Health Services   24        A. That's correct.

                                              Page 59                                              Page 61
        1   with the University of Texas?                    1   BY MR. ZELLERS:
        2             MS. O'DELL: Objection to form.         2       Q. You are not a geologist,
        3       A. That was a contract that I had            3   mineralogist or microscopist?
        4   through the University of Texas Houston          4       A. That's correct.
        5   College of Nursing that provided those           5       Q. You're not an epidemiologist?
        6   services to UTMB, and UTMB decided to make a     6       A. Well, I may be considered an
        7   change and go with another contractor.           7   epidemiologist simply by my appointment as an
        8   BY MR. ZELLERS:                                  8   associate professor in the Department of
        9       Q. Why are you no longer serving             9   Epidemiology at the School of Public Health
       10   as medical director for Spectra Energy          10   here in Houston.
       11   Corporation and Enbridge Corporation?           11       Q. Do you have any professional
       12       A. Well, Spectra Energy no longer           12   education in the field -- well, strike that.
       13   exists; it became Enbridge Corporation. And     13            Have you ever published or
       14   in October of 2018, I determined that I did     14   conducted a meta-analysis?
       15   not -- I no longer had sufficient time to       15       A. I have conducted meta-analyses.
       16   provide that service.                           16   I've not published them.
       17       Q. Your undergraduate degree was            17       Q. You did not do any type of
       18   in biologic sciences with a concentration in    18   fellowship in epidemiology, correct?
       19   engineering; is that right?                     19       A. That's correct.
       20       A. Yes.                                     20       Q. You're not board certified in
       21       Q. You received a Ph.D. in                  21   epidemiology; is that right?
       22   toxicology; is that right?                      22       A. I don't believe there is a
       23       A. Yes.                                     23   board certification in epidemiology.
       24       Q. And then later an M.D. degree;           24       Q. You're not a biostatistician or


                                                                         16 (Pages 58 to 61)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 18 of 366 PageID:
                                  75373

                         Arch I. "Chip"                  Carson, M.D., Ph.D.
                                               Page 62                                              Page 64
        1   a pulmonologist?                                  1       A. I think I had opinions about
        2        A. That's correct.                           2   talcum powder and its constituents, but if
        3        Q. You're not a material                     3   you could be more specific, I might be able
        4   scientist?                                        4   to give you a more specific answer.
        5        A. That's correct.                           5   BY MR. ZELLERS:
        6        Q. Nor are you a pathologist?                6       Q. Did you ever, before getting
        7        A. Correct.                                  7   involved in this litigation in October of
        8        Q. You've never been involved in             8   2018, do research -- strike that.
        9   any pathological exam or research relating to     9            You've never published on
       10   ovarian cancer; is that right?                   10   talcum powder, correct?
       11            MS. O'DELL: Object to the               11       A. That's correct.
       12        form.                                       12       Q. You have never published on the
       13        A. I'm not sure exactly what you            13   constituent components of talcum powder,
       14   mean by your question.                           14   correct?
       15   BY MR. ZELLERS:                                  15       A. That may not be the case. I've
       16        Q. Sure. Let me withdraw that.              16   done work in some other minerals which have
       17            You've never been involved in           17   resulted in publications, for example,
       18   terms of the research relating to ovarian        18   vermiculite, which have touched on the issues
       19   cancer, correct?                                 19   of asbestos, association with talc,
       20        A. Not specifically, no.                    20   association with other minerals, but never
       21        Q. You've never authored any                21   specifically regarding talc.
       22   literature or publications relating to talcum    22       Q. Are those publications on your
       23   powder?                                          23   CV?
       24        A. No.                                      24       A. They are.

                                               Page 63                                              Page 65
        1         Q. Or relating to ovarian cancer,           1       Q. That we marked as Exhibit 3?
        2    correct?                                         2       A. Yes.
        3         A. No.                                      3       Q. Okay. Have you ever
        4         Q. Okay. What journals -- well,             4   communicated with the FDA regarding talcum
        5    strike that.                                     5   powder?
        6             You have never published on             6       A. I've not.
        7    fragrance chemicals; is that right?              7       Q. Have you ever communicated with
        8             MS. O'DELL: Object to the               8   Health Canada regarding talcum powder?
        9         form.                                       9       A. No.
       10         A. That's correct.                         10       Q. When did you first start
       11    BY MR. ZELLERS:                                 11   preparing your report which we've marked as
       12         Q. Never done any research on              12   Exhibit 2?
       13    fragrance chemicals, correct?                   13       A. Well, I began a literature
       14         A. I've done some work with                14   review immediately after talking to
       15    fragrance chemicals and health effects that     15   Mr. Abney.
       16    are associated with them, but I have not -- I   16       Q. My question, I guess, is: When
       17    would not classify that as research or          17   did you start writing your report?
       18    publication.                                    18       A. Well, technically I started
       19         Q. You had no opinions regarding           19   writing my report after I was retained by
       20    talcum powder or any of its constituent         20   plaintiffs' counsel.
       21    components before getting involved in this      21       Q. Late October, early
       22    litigation; is that right?                      22   November 2018?
       23             MS. O'DELL: Object to the              23            MS. O'DELL: Object to the
       24         form.                                      24       form, misstates his prior testimony.


                                                                          17 (Pages 62 to 65)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 19 of 366 PageID:
                                  75374

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                              Page 66                                              Page 68
        1        A. In October of 2018.                      1   and bolts of what goes on legally in this
        2   BY MR. ZELLERS:                                  2   case. I know there are multiple lawsuits,
        3        Q. Have you reviewed any of the             3   and I'm not sure which ones those -- these
        4   deposition transcripts of any of the experts     4   are pertinent to.
        5   that have been deposed in this litigation?       5   BY MR. ZELLERS:
        6        A. Yes.                                     6        Q. My question is a little
        7        Q. What deposition transcripts of           7   different and I hope pretty simple: In
        8   experts have you reviewed?                       8   addition to the depositions, transcripts and
        9        A. Oh, of experts? No, I have not           9   reports that you have listed on pages 27 and
       10   reviewed -- well, I've reviewed -- I've         10   28 of Exhibit 4, your literature list, are
       11   reviewed expert depositions, but I don't know   11   there any additional depositions or
       12   what case they were deposed in, but it          12   transcripts that you've reviewed?
       13   relates to talcum powder and ovarian cancer     13        A. Pardon me for a moment while I
       14   issue.                                          14   review this.
       15        Q. What expert depositions have            15            (Document review.)
       16   you reviewed?                                   16        A. No, I'm not aware that there
       17        A. They're all cited in the                17   are.
       18   literature exhibit.                             18   BY MR. ZELLERS:
       19        Q. All of the deposition                   19        Q. Your testimony earlier was that
       20   transcripts that you've reviewed are cited in   20   you have reviewed each of those depositions
       21   Exhibit 4?                                      21   in their entirety; is that right?
       22        A. I think any of the transcripts          22        A. Yes.
       23   that I review are -- reviewed are probably      23        Q. You have also reviewed the
       24   included in here.                               24   exhibits to those depositions; is that right?

                                              Page 67                                              Page 69
        1        Q. Are you aware of reviewing any           1       A. If they were made available to
        2   transcripts that you did not include in your     2   me, I've looked at all those exhibits as
        3   literature statement?                            3   well.
        4        A. I'm not aware, but I can't tell          4       Q. On page 27 of Exhibit 4, who is
        5   you as I'm sitting here right now whether all    5   Annie Yessaian?
        6   of those are included in this literature         6       A. On page 24?
        7   statement or not.                                7       Q. Strike that. I'm sorry. On
        8        Q. You -- looking at page --                8   page 27 of Exhibit 4 --
        9             MS. O'DELL: I'm sorry. Go              9       A. I see.
       10        ahead.                                     10       Q. -- at the bottom, who is Annie
       11   BY MR. ZELLERS:                                 11   Yessaian?
       12        Q. Are there any that you believe          12       A. I don't recall.
       13   you have reviewed that are not included in      13       Q. You reviewed her entire
       14   the literature statement?                       14   transcript and you don't recall who she is?
       15        A. Well, let me just see here.             15       A. I don't.
       16             There are --                          16       Q. Well, go to the next page. Who
       17             MS. O'DELL: I think they're at        17   is Pat Downey?
       18        the end, Dr. Carson.                       18       A. I believe Pat Downey is an
       19             THE WITNESS: At the very end.         19   operative of the Imerys company.
       20        A. Beginning on page 27 is a list          20       Q. Do you know what Mr. Downey's
       21   of the depositions, transcripts and reports     21   position is?
       22   that I've reviewed, which include some of the   22       A. It's a supervisory position
       23   expert witnesses, but again, I would have to    23   regarding -- regarding quality of the talc
       24   say I'm -- I'm sort of unaware of the nuts      24   product.

                                                                         18 (Pages 66 to 69)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 20 of 366 PageID:
                                  75375

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                              Page 70                                              Page 72
        1       Q. Who is John Hopkins?                      1   BY MR. ZELLERS:
        2       A. John Hopkins is an official, I            2       Q. Once you looked at these
        3   believe, of -- I'm not sure -- of Johnson &      3   documents, the Imerys documents and the
        4   Johnson, I believe, who has some oversight of    4   documents produced by the Johnson & Johnson
        5   talc quality as well.                            5   companies, did you ask plaintiffs' counsel
        6       Q. Susan Nicholson, who is she?              6   for any additional documents?
        7       A. I don't recall.                           7       A. I did not. My understanding is
        8       Q. Who is Julie Pier?                        8   that most of these are reports, testing
        9       A. Julie Pier is another scientist           9   reports, and most of them are positive
       10   who works for Imerys, who is responsible for    10   results regarding the presence of asbestos or
       11   testing and quality.                            11   fibers in the product. And I know that there
       12       Q. In your clinical and academic            12   were many others that may not have shown
       13   practice, do you typically rely upon            13   positive results that I did not look at.
       14   depositions of company witnesses or experts?    14       Q. Did you ask the plaintiff
       15            MS. O'DELL: Object to the              15   attorneys to show you or provide you with the
       16       form.                                       16   testing documentation that showed an absence
       17       A. If there's pertinent                     17   of asbestos or asbestos fibers in the talcum
       18   information in there that leads me to other     18   powder?
       19   areas or helps me formulate my opinions, then   19       A. Regarding the test results that
       20   yes.                                            20   are equivalent to these that were negative,
       21   BY MR. ZELLERS:                                 21   no, I did not request those.
       22       Q. In the papers and publications           22       Q. Did you review documents
       23   that you have identified in your curriculum     23   relating to any fragrance chemicals that are
       24   vitae, Exhibit 3, do you ever recall citing     24   contained in or that you believe are


                                              Page 71                                              Page 73
        1    to company witness deposition testimony?        1   contained in the talcum powder?
        2        A. I don't typically cite                   2       A. Yes. I did review some lists
        3    deposition testimonies in published papers.     3   and, of course, Dr. Crowley's report.
        4        Q. You cite to various company              4       Q. Do you have any idea or
        5    documents. This is on pages 29 to 30 of         5   understanding as to the amount or amounts of
        6    Exhibit 4, your list of literature; is that     6   the fragrance chemicals that are contained in
        7    right?                                          7   the talcum powder in either the Johnson &
        8        A. Yes.                                     8   Johnson Consumer company talcum powder that's
        9        Q. Did you rely on these documents          9   involved in this litigation?
       10    in formulating your opinions?                  10             MS. O'DELL: Object to the
       11        A. Yes.                                    11       form.
       12        Q. Were these documents selected           12            MR. ZELLERS: Let me withdraw
       13    for you by plaintiffs' counsel?                13       that.
       14        A. Yes, they were.                         14   BY MR. ZELLERS:
       15        Q. Are you able to identify what           15       Q. Do you know or have any
       16    each of the documents are?                     16   understanding as to the amounts of fragrance
       17             MS. O'DELL: Based on the Bates        17   chemicals that are in the talcum powder?
       18        number?                                    18       A. I do not have the specific
       19             MR. ZELLERS: Based on the             19   formulation or quantities of those substances
       20        Bates numbers.                             20   that contributed to the products.
       21        A. No, I am not. I would have to           21       Q. Do --
       22    look at each individual document to refresh    22             MS. O'DELL: Excuse me.
       23    my memory as to what it contains.              23            MR. ZELLERS: Ms. O'Dell,
       24             ///                                   24       please, I'm going to let the doctor


                                                                         19 (Pages 70 to 73)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 21 of 366 PageID:
                                  75376

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                              Page 74                                              Page 76
        1       finish.                                      1   understanding of business practices and these
        2             MS. O'DELL: In that instance,          2   types of industries, I've reviewed an
        3       I don't know that he was, and so if he       3   extremely small percentage of those.
        4       was, my apologies.                           4        Q. Is it your practice in your
        5             MR. ZELLERS: It's okay.                5   academic work or your clinical research work
        6             MS. O'DELL: I've been on my            6   to rely on internal company documents?
        7       best behavior today, as you know,            7        A. Yes, it is.
        8       so -- but I don't want the witness to        8        Q. Do you rely on internal company
        9       feel as if they're being cut off, and        9   documents when you publish papers?
       10       because Dr. Carson is a very polite         10        A. In some cases.
       11       gentlemen, he would let you interrupt       11        Q. Can you tell me in what cases
       12       him.                                        12   or instances you have relied on internal
       13             MR. ZELLERS: Of course.               13   company documents in your publications?
       14             MS. O'DELL: And I don't think         14        A. Well, for example, I did -- I
       15       that's fair.                                15   was involved in some research work in
       16             So, Dr. Carson, if you're             16   conjunction with NIOSH at the O.M. Scott
       17       finished, great. If you're not, you         17   Company at Marysville, Ohio, where we did
       18       may continue.                               18   a -- we performed a research in the company
       19       A. Well, I was going to say that            19   and relied on some internal documents in
       20    my opinion is that there are very small        20   terms of gauging concentrations, industrial
       21    quantities of those substances that            21   hygiene records and so forth, in order to
       22    contribute to the fragrance component.         22   draw conclusions that were pertinent to those
       23    BY MR. ZELLERS:                                23   publications.
       24       Q. Do you know how those                    24        Q. Was that data or were those

                                              Page 75                                              Page 77
        1   quantities of fragrance chemicals may have       1   internal communications that you relied on?
        2   changed over the years?                          2        A. They were both.
        3        A. My understanding is they have            3        Q. What is the publication on your
        4   not changed dramatically, but there have been    4   CV where you relied on those materials?
        5   certain substitutions over time.                 5        A. Well, let me see here. I think
        6        Q. Do you agree that to the extent          6   the first author -- looking back here -- the
        7   that you have reviewed internal documents,       7   first author would be Jim Lockey.
        8   either of Imerys or from Johnson & Johnson       8        Q. Looking at page 6?
        9   companies, that you have only reviewed the       9        A. It's on page 6, and the --
       10   documents that were hand-selected by the        10   there are two publications there. One is
       11   plaintiff lawyers for you to review?            11   Pulmonary Changes After Exposure to
       12            MS. O'DELL: Object to the              12   Vermiculite Contaminated With Fibrous
       13        form.                                      13   Tremolite that appeared in the American
       14        A. I agree that the only documents         14   Review of Respiratory Disease in 1984.
       15   that I've reviewed regarding the internal       15             There's another publication
       16   products of Johnson & Johnson or Imerys are     16   which is a book chapter called Pulmonary
       17   the ones that were provided by the              17   Hazards From Vermiculite that appeared in a
       18   plaintiffs' attorneys.                          18   book titled Health Issues Related to Metal
       19   BY MR. ZELLERS:                                 19   and Nonmetallic Mining.
       20        Q. Do you know what percentage of          20        Q. Do you agree that when you have
       21   the documents that have been produced in this   21   been provided only a small subset of the
       22   litigation by the Johnson & Johnson companies   22   documents of a company relating to a
       23   and by Imerys you have reviewed?                23   particular product, that those documents can
       24        A. Well, based on my general               24   potentially be misleading?


                                                                         20 (Pages 74 to 77)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 22 of 366 PageID:
                                  75377

                        Arch I. "Chip"                  Carson, M.D., Ph.D.
                                              Page 78                                              Page 80
        1             MS. O'DELL: Object to the              1   department?
        2       form.                                        2       A. She's in my department, yes.
        3       A. I don't agree that that's the             3       Q. You understand she's a
        4   case because I am capable of understanding       4   lawyer -- strike that.
        5   that it's a subset of available information,     5            You understand she's an expert
        6   and I can make a reliable determination on       6   for the plaintiffs in this litigation?
        7   the pertinence of that material regardless.      7       A. I didn't know that.
        8   BY MR. ZELLERS:                                  8       Q. Dr. Ness never told you that
        9       Q. Without looking at any other              9   she was an expert witness for plaintiffs in
       10   documents or any documents that may put the     10   this matter?
       11   documents you were provided in context?         11       A. No, we didn't discuss this
       12             MS. O'DELL: Object to the             12   case. We only discussed the issue.
       13       form.                                       13       Q. Any other colleagues that you
       14       A. It depends on the specific               14   discussed your report and opinions with?
       15   case, but I would say in most cases, yes.       15            MS. O'DELL: Object to the
       16   BY MR. ZELLERS:                                 16       form.
       17       Q. In this case, it was not                 17       A. I think I shared some of my
       18   necessary for you to look at any documents      18   thinking with the occupational medicine
       19   other than those specific documents the         19   residents as a group and asked them to
       20   plaintiffs provided to you; is that your        20   consider certain issues in the case.
       21   testimony?                                      21   BY MR. ZELLERS:
       22             MS. O'DELL: Object to the             22       Q. Did they contribute to your
       23       form.                                       23   review and analysis and opinions?
       24       A. Regarding the contribution to            24       A. We had an interesting

                                              Page 79                                              Page 81
        1   my opinions, I would say, yes, it was not        1   discussion, but I don't think that changed my
        2   necessary.                                       2   opinions in any way.
        3   BY MR. ZELLERS:                                  3       Q. The opinions that you're
        4        Q. Did you do any independent               4   expressing in this case are your opinions; is
        5   investigation to reach your opinions, other      5   that right?
        6   than the literature search and review of         6       A. That's correct.
        7   websites that you told us about earlier?         7       Q. Your opinions you set forth in
        8        A. Other than just general                  8   your report beginning on page 7; is that
        9   discussion with colleagues, no.                  9   right?
       10        Q. Did any of the colleagues that          10       A. Let me refer to my report, if
       11   you spoke with provide you with any             11   you don't mind.
       12   substantive support for your opinions?          12            MS. O'DELL: Object to the
       13        A. Not that I can recall. It was           13       form.
       14   mostly just helpful feedback.                   14       A. I would say -- I would say in
       15        Q. The colleagues that you spoke           15   answer to that question that, yes, my
       16   with were who?                                  16   opinions do begin on page 7 of the report.
       17        A. Various colleagues in my                17   BY MR. ZELLERS:
       18   department or in the School of Public Health.   18       Q. Your first opinion set forth on
       19        Q. Who?                                    19   page 7 is that talcum powder is immunogenic
       20        A. Well, Dr. George Delclos, who           20   and carcinogenic; is that right?
       21   is a pulmonologist; Dr. Brett Perkison, who     21       A. Yes.
       22   is an occupational medicine physician;          22            MS. O'DELL: Excuse me.
       23   Roberta Ness, who is an epidemiologist.         23   BY MR. ZELLERS:
       24        Q. Roberta Ness is in your                 24       Q. Your second opinion is that


                                                                         21 (Pages 78 to 81)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 23 of 366 PageID:
                                  75378

                         Arch I. "Chip"                     Carson, M.D., Ph.D.
                                              Page 82                                                 Page 84
        1   perineal use of talcum powder results in           1             MS. O'DELL: Object to the
        2   direct exposure to the ovaries either via          2        form.
        3   inhalation or migration through the female         3        A. It's an anatomical fact. The
        4   reproductive tract, correct?                       4    physiology of the reproductive system does
        5       A. I would not phrase the opinion              5    not provide the ovaries with the kind of
        6   in that way, but in general, that is my            6    clearance system that, for example, the lungs
        7   opinion, yes.                                      7    would have for inhaled exposures.
        8       Q. How would you phrase your                   8    BY MR. ZELLERS:
        9   second opinion?                                    9        Q. The words "no intrinsic
       10       A. I think my second opinion                  10    elimination system," are those your words or
       11   relates mostly to the direct exposure to the      11    are those words that you've seen reported in
       12   reproductive tract that perineal use of           12    another study or another paper?
       13   talcum powder produces.                           13        A. I think that's a fairly generic
       14       Q. Are you opining as to                      14    description, that those are my words.
       15   inhalation as an exposure of talcum powder to     15        Q. Your fourth opinion is that you
       16   women's ovaries?                                  16    believe that the epidemiological studies on
       17            MS. O'DELL: Object to the                17    talcum powder and ovarian cancer show about a
       18       form.                                         18    30% increased risk; is that right?
       19       A. Only as a secondary route of               19        A. Correct.
       20   exposure.                                         20             MS. O'DELL: Object to the
       21   BY MR. ZELLERS:                                   21        form.
       22       Q. Is it part of your opinions or             22    BY MR. ZELLERS:
       23   do you defer to other experts on inhalation?      23        Q. As you told us at the outset,
       24       A. I would include that as my                 24    those are all still your opinions, although


                                              Page 83                                                 Page 85
        1   opinion.                                            1   you do believe even stronger that there is a
        2       Q. So you're testifying here today              2   causal association between talcum powder and
        3   that the perineal use of talcum powder              3   ovarian cancer; is that right?
        4   results in direct exposure to the ovaries           4        A. That's correct.
        5   through migration through the female                5        Q. Have you published on your
        6   reproductive tract and that inhalation also         6   theory that baby powder causes ovarian
        7   results in exposure of talcum powder to the         7   cancer?
        8   ovaries; is that right?                             8        A. No.
        9       A. That is correct, but my basic                9        Q. Do you have plans to do that?
       10   opinion is that perineal use of talcum powder      10        A. Not presently.
       11   exposes the entire reproductive tract,             11        Q. Have you conducted any tests or
       12   including the pelvic cavity. So it's a bit         12   experiments to confirm your theory that talc
       13   more extensive than your phrasing.                 13   migrates to the ovaries?
       14       Q. Your third opinion is very                  14            MS. O'DELL: Object to the
       15   similar to your first opinion, except that         15        form.
       16   here you add that it's your opinion that the       16        A. These are conclusions that I
       17   ovaries are particularly susceptible to the        17   have drawn based on published literature. I
       18   carcinogenicity of talcum powder because they      18   wouldn't characterize them as a theory. I
       19   have, in your words, "no intrinsic                 19   think they're pretty much established fact.
       20   elimination system"; is that right?                20   BY MR. ZELLERS:
       21       A. That's correct.                             21        Q. I'm going to ask you about all
       22       Q. Is that something you came up               22   these opinions, and so we'll go through the
       23   with on your own, no intrinsic elimination         23   literature and determine -- or at least I'll
       24   system?                                            24   ask you questions about why you think that


                                                                            22 (Pages 82 to 85)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 24 of 366 PageID:
                                  75379

                        Arch I. "Chip"                  Carson, M.D., Ph.D.
                                              Page 86                                              Page 88
        1   some of these matters are established fact.      1   you aware of any article that identifies
        2            My question is: Did you do any          2   inflammation in a woman's reproductive tract
        3   tests or experiments as part of your review      3   resulting from external genital talc
        4   and analysis in this matter?                     4   application?
        5       A. I did not.                                5            MS. O'DELL: Object to the
        6       Q. Did you do any tests or                   6       form.
        7   experiments relating to your opinion that        7       A. I would say that the studies
        8   talc causes cancer via inflammation?             8   which have looked at that have relied on the
        9       A. I did not.                                9   result of internal application to show
       10       Q. Can you identify any article             10   migration. There have been studies that have
       11   that identifies inflammation anywhere in a      11   shown inflammation as the result of talc, and
       12   woman's reproductive tract that results from    12   in my opinion, external application is the
       13   external genital talc application?              13   same as internal application in the
       14            MS. O'DELL: Object to the              14   reproductive tract.
       15       form.                                       15   BY MR. ZELLERS:
       16       A. I think there are a number of            16       Q. I don't mean to be
       17   published articles that allude to that          17   argumentative, and I don't want to be, but
       18   relationship and draw a fairly strong           18   can you name me an article that identifies
       19   conclusion that it exists.                      19   inflammation in a woman's reproductive tract
       20            MS. O'DELL: Mike, excuse me,           20   resulting from external genital talc
       21       and I'm sorry to interrupt. We've           21   application?
       22       been going over an hour and a half.         22            MS. O'DELL: Objection, asked
       23       Are you at a point where we can take        23       and answered.
       24       just a short break for...                   24       A. I can't specifically.

                                              Page 87                                              Page 89
        1            MR. ZELLERS: Sure, we can.              1            MR. ZELLERS: Let's take a
        2       Let me just ask these couple of              2       break.
        3       questions, and then we'll take a             3            THE VIDEOGRAPHER: We're off
        4       break.                                       4       the record, 10:37, end of Tape 1.
        5            MS. O'DELL: Sure.                       5            (Recess taken, 10:37 a m. to
        6   BY MR. ZELLERS:                                  6       10:55 a m.)
        7       Q. So please identify for me any             7            THE VIDEOGRAPHER: We're on the
        8   articles that you have reviewed that identify    8       record at 10:55, beginning of Tape 2.
        9   inflammation anywhere in a woman's               9   BY MR. ZELLERS:
       10   reproductive tract resulting from external      10       Q. Dr. Carson, two of the things
       11   genital talc application.                       11   that you have reviewed since authoring your
       12            MS. O'DELL: Objection to form.         12   report in November of 2018 that you believe
       13       A. I think -- I think the research          13   support your conclusions in this matter and
       14   evidence that includes the epidemiology         14   your opinions in this matter are the draft
       15   piece, which is limited to external             15   screening assessment from Health Canada,
       16   application of talcum powder, has significant   16   which we marked as Exhibit 9, and the Taher
       17   enough correspondence with the biological       17   paper, which has been marked as Exhibit 7; is
       18   experimentation literature that it allows us    18   that right?
       19   to draw those conclusions.                      19       A. Yes.
       20   BY MR. ZELLERS:                                 20       Q. Have you looked into what other
       21       Q. I understand you've drawn some           21   public health authorities, other than
       22   conclusions here, and I'm going to ask you      22   Health Canada, have had to say about talc and
       23   about these conclusions.                        23   ovarian cancer?
       24            But what my question is: Are           24       A. Yes, I have.


                                                                         23 (Pages 86 to 89)
                Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 25 of 366 PageID:
                                  75380

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                              Page 90                                              Page 92
        1       Q.    Did you -- strike that.                1            MR. ZELLERS: I'm asking the
        2            Are you familiar with the               2       doctor a question.
        3   Center for Disease Control in the United         3            MS. O'DELL: Okay.
        4   States?                                          4            MR. ZELLERS: So --
        5       A. Yes.                                      5            MS. O'DELL: That's specific
        6       Q. Did you review the CDC and its            6       language, and if you have specific
        7   position on any relationship between talcum      7       language that you're reading from the
        8   powder and ovarian cancer?                       8       report or you've taken from the
        9       A. That may have been part of my             9       report, I would just ask that you show
       10   review, but I don't specifically recall now     10       the doctor.
       11   what the CDC has on that issue.                 11            MR. ZELLERS: Ms. O'Dell, I
       12       Q. CDC does not list talc or                12       have my question. I'm asking my
       13   talcum powder as a risk factor for ovarian      13       question. The doctor can either
       14   cancer, correct?                                14       answer my question or not answer my
       15       A. It's quite possible.                     15       question. I'm not reading from a
       16       Q. Mayo Clinic and a number of              16       document. I'm reading from my notes.
       17   medical centers do not list talc as a risk      17            MS. O'DELL: I object to the
       18   factor for ovarian cancer, correct?             18       form of the question. I think it's
       19       A. That may be true.                        19       unfair.
       20       Q. Did you consider, or are you             20            MR. ZELLERS: Can you answer
       21   familiar with the National Cancer Institute?    21       that question, Doctor?
       22       A. I am.                                    22       A. I would agree that that
       23       Q. National Cancer Institute is a           23   restates the general opinion of the NCI as
       24   leading health authority in the United          24   published, but in order to verify the

                                              Page 91                                              Page 93
        1   States; is that right?                           1   specific wording, I would need to look at the
        2        A. Yes.                                     2   document.
        3        Q. Particularly in the area of              3   BY MR. ZELLERS:
        4   cancer and materials that may or may not be      4       Q. Why would you rely on
        5   carcinogenic; is that right?                     5   Health Canada but not these other public
        6        A. Well, the National Cancer                6   health organizations, including Center for
        7   Institute is responsible for guiding national    7   Disease Control and the National Cancer
        8   research policies as it relates to cancers,      8   Institute?
        9   and that's one of their considerations is        9       A. Well, there are a number of
       10   substances that may be related to cancer.       10   reasons. There are lots of public health
       11        Q. When you reviewed what the              11   organizations. Many of them have different
       12   National Cancer Institute has determined with   12   interests and different approaches in the way
       13   respect to talcum powder and whether or not     13   that they address problems. For example,
       14   it is a risk factor for ovarian cancer, what    14   discussing the National Cancer Institute, its
       15   did you find?                                   15   primary focus is on research and treatments
       16        A. The most recent publication             16   regarding cancers, not necessarily causes,
       17   that I viewed discounts the relationship.       17   but it is a funder of basic research in the
       18        Q. In fact, the National Cancer            18   United States.
       19   Institute has concluded that the weight of      19             Health Canada is an
       20   the evidence does not support an association    20   organization whose charge is to -- is to
       21   between perineal talc exposure and increased    21   synthesize public health-related positions
       22   risk of ovarian cancer; is that right?          22   based on evidence and disseminate those to
       23              MS. O'DELL: Are you reading a        23   public -- the public through various
       24        quote from the document?                   24   healthcare organizations or agencies. And


                                                                         24 (Pages 90 to 93)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 26 of 366 PageID:
                                  75381

                         Arch I. "Chip"                     Carson, M.D., Ph.D.
                                              Page 94                                                 Page 96
        1   for that reason, I think it's important to          1   very beginning of the public comment period,
        2   look at the different focus.                        2   correct?
        3             Also, the Health Canada report            3       A. Yes.
        4   is a more contemporaneous report, which has         4       Q. You agree that Health Canada
        5   been based on more recent science than has          5   can take up to two years to either take
        6   been considered either by the NCI or some of        6   action or no action at all; is that right?
        7   the other public health organizations.              7       A. I don't know that to be the
        8        Q. The NCI's most recent update to             8   case, but it very well could be.
        9   its publication was January of 2019; is that        9       Q. How did you come to learn of
       10   right?                                             10   the Health Canada risk assessment?
       11             MS. O'DELL: Object to the                11       A. I believe the attorneys let me
       12        form.                                         12   know about it.
       13        A. It's current in terms of its               13       Q. The attorneys for plaintiffs in
       14   publication. I don't know that it's January        14   this matter that retained you?
       15   of '19; it may be. But it's still not based        15       A. Yes.
       16   on the most recently available literature.         16       Q. Were you involved in the Health
       17   BY MR. ZELLERS:                                    17   Canada risk assessment prior to its
       18        Q. But Health Canada is; is that              18   publication?
       19   right?                                             19       A. No.
       20        A. Health Canada is based on more             20       Q. Have you submitted any comments
       21   recent literature than the NCI position.           21   to Health Canada?
       22        Q. Health Canada and its                      22       A. Not yet.
       23   assessment is based upon the meta-analysis by      23       Q. Do you intend to submit
       24   Taher that we've marked as Exhibit 7; is that      24   comments to Health Canada?

                                              Page 95                                                 Page 97
        1   right?                                              1       A. I might.
        2       A.     It is.                                   2       Q. What comments do you intend to
        3             MS. O'DELL: Object to the                 3   submit to Health Canada?
        4       form.                                           4       A. I haven't formulated them yet.
        5   BY MR. ZELLERS:                                     5       Q. Outside of litigation, do you
        6       Q. You have reviewed that paper                 6   generally rely on draft assessments by
        7   and you believe it supports and strengthens         7   regulatory agencies?
        8   your opinions in this case; is that right?          8            MS. O'DELL: Object to the
        9       A. Yes.                                         9       form.
       10       Q. Does the National Cancer                    10       A. Yes.
       11   Institute review the peer-reviewed literature      11   BY MR. ZELLERS:
       12   as it relates to risk factors for ovarian          12       Q. Are you familiar with the
       13   cancer?                                            13   precautionary principle?
       14       A. They have a number of                       14       A. I am.
       15   committees that are set up for that purpose,       15       Q. What is the precautionary
       16   and it is -- it's a committee approach which       16   principle?
       17   is handled by a committee chairperson. The         17       A. The precautionary principle
       18   National Cancer Institute itself has some          18   states that changes should take place in the
       19   oversight of that process, but they defer to       19   face of a potential hazard until that hazard
       20   the committee chairs.                              20   is proved not to exist. It's a general
       21       Q. You understand that the Health              21   precept that's used in the EU, for example,
       22   Canada assessment is a draft; is that right?       22   and very different from the one that operates
       23       A. Yes.                                        23   in this country.
       24       Q. You understand that it's at the             24       Q. The principle in this country


                                                                            25 (Pages 94 to 97)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 27 of 366 PageID:
                                  75382

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                              Page 98                                            Page 100
        1   is that there needs to be scientific evidence    1            Did I read that correctly?
        2   in order to take action; is that right?          2        A. You did.
        3             MS. O'DELL: Object to the              3        Q. Is that your understanding of
        4        form.                                       4   what a precautionary approach is?
        5        A. Yes, that's correct.                     5        A. Yes. In general, the
        6   BY MR. ZELLERS:                                  6   precautionary principle can be restated that
        7        Q. The precautionary principle              7   an ounce of prevention is worth a pound of
        8   says even before there's full or complete        8   cure.
        9   scientific demonstration of cause and effect,    9        Q. Health Canada does not require
       10   it is appropriate to take a precautionary       10   a finding of causation such as required in
       11   approach; is that right?                        11   litigation matters in this country, the
       12        A. That's right.                           12   United States; is that right?
       13        Q. The Health Canada follows --            13        A. In order to adopt a document
       14   strike that.                                    14   that has a significant effect on general
       15             Health Canada follows and has         15   public health practices, no, it does not.
       16   adopted a precautionary approach; is that       16        Q. The Taher paper, that's another
       17   right?                                          17   paper that you have reviewed since you
       18        A. Yes.                                    18   published your report; is that right?
       19        Q. Please review                           19        A. Which paper? I'm sorry.
       20   Deposition Exhibit 14.                          20        Q. This is what we've marked as
       21             (Carson Deposition Exhibit 14         21   Exhibit 7. You brought it with you here
       22        marked.)                                   22   today?
       23   BY MR. ZELLERS:                                 23        A. Okay. Yes.
       24        Q. Deposition Exhibit 14 is the            24        Q. You've read the Taher 2018

                                              Page 99                                            Page 101
        1   Health Canada Decision-Making Framework for      1   manuscript; is that right?
        2   Identifying, Assessing and Managing Health       2        A. Yes.
        3   Risk.                                            3        Q. Where did you obtain that
        4            Do you see that?                        4   manuscript from?
        5       A. Yes.                                      5        A. This was obtained directly from
        6       Q. If you go to page 5 of                    6   one of the coauthors on this study to the
        7   Exhibit 14 --                                    7   plaintiffs' attorneys, who passed it along to
        8            MS. O'DELL: Feel free to                8   me.
        9       take -- review the document if you're        9        Q. So one of the coauthors on this
       10       not familiar with it, Dr. Carson.           10   study gave it to the plaintiffs' counsel, who
       11   BY MR. ZELLERS:                                 11   then gave it to you; is that right?
       12       Q. One of the underlying                    12        A. That's correct.
       13   principles in the Health Canada                 13        Q. Who was the author of this
       14   decision-making framework is use a              14   publication, Exhibit 7, that provided the
       15   precautionary approach; is that right?          15   paper to plaintiffs' counsel, if you know?
       16       A. That's right.                            16        A. I don't recall.
       17       Q. If we go to page 8, Health               17        Q. But one of these authors; is
       18   Canada defines the use of a precautionary       18   that right?
       19   approach, and looking at the second sentence:   19        A. It would -- yes.
       20   A precautionary approach to decision-making     20        Q. Why did you not include this
       21   emphasizes the need to take timely and          21   paper on either your reliance list or your
       22   appropriate preventative action, even in the    22   literature list?
       23   absence of a full scientific demonstration of   23        A. I didn't have it at the time
       24   cause and effect.                               24   that those were formulated.

                                                                      26 (Pages 98 to 101)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 28 of 366 PageID:
                                  75383

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 102                                             Page 104
        1       Q. Did you have access to the                1       A. Yes, I have.
        2   appendices and supplemental tables that are      2       Q. Do you know any of the authors
        3   referred to in the Taher 2018 publication        3   of this paper, Exhibit 7?
        4   which we've marked as Exhibit 7?                 4       A. No, I don't.
        5       A. The ones that are not in                  5       Q. Do you know the source of
        6   this -- in this document or --                   6   funding for this paper?
        7       Q. Yes.                                      7       A. I -- I think the sources of
        8       A. Those -- I have not thoroughly            8   funding are mentioned in here.
        9   examined those, but I do have access to them.    9       Q. Other than what's mentioned in
       10       Q. How do you have access to those          10   the paper, Exhibit 7, do you have any
       11   appendices and supplemental tables?             11   knowledge as to the sources of funding?
       12       A. They were also provided to me            12       A. There's a combination of
       13   by plaintiffs' counsel.                         13   sources. In part, this work is funded
       14       Q. Has the Taher publication,               14   through the plaintiffs' attorneys.
       15   which we've marked as Exhibit 7, been peer      15       Q. Have you communicated with any
       16   reviewed?                                       16   of the authors of this paper?
       17       A. It's in the process. This is a           17       A. No.
       18   manuscript that's just been accepted for        18       Q. Do you know the credentials of
       19   publication, so it has gone through peer        19   any of the authors of this paper?
       20   review.                                         20       A. I haven't investigated that.
       21       Q. It has gone through peer                 21       Q. In your epidemiological work
       22   review --                                       22   outside of litigation, do you rely on
       23       A. That's my understanding.                 23   articles that are funded at least in part by
       24       Q. -- and Exhibit 7 is the article          24   plaintiffs' counsel in litigation?

                                            Page 103                                             Page 105
        1    that you believe will be published; is that     1       A. If the articles represent good
        2    right?                                          2   science, I don't really pay much attention or
        3        A. This is a -- this is a working           3   worry about the funding source.
        4    manuscript which has gone through at least      4       Q. Do you know what conflicts of
        5    part of the peer-review process. There may      5   interest any of the authors have?
        6    be minor edits that occur to this, but this     6       A. I don't know specifically. I
        7    is substantially the final article.             7   can't recall if they're outlined in here.
        8        Q. How do you know that?                    8   But the -- those are also evaluated based on
        9        A. That's the general process of            9   the peer-review process.
       10    submitting publications to peer-reviewed       10       Q. Do you know whether some of the
       11    article -- journals.                           11   authors are serving as consultants to
       12        Q. How do you know -- I'm sorry,           12   plaintiffs' counsel in this litigation?
       13    did you finish?                                13       A. I know that -- no, I don't know
       14        A. I'm finished.                           14   that. Excuse me, I gave an incorrect answer.
       15        Q. How did you know the status of          15       Q. Sure. Correct it, please.
       16    the peer-review process with respect to        16       A. I mentioned that part of the
       17    Exhibit 7?                                     17   funding for this research came from
       18        A. Because it's been accepted for          18   plaintiffs' counsel, and I'm not -- I don't
       19    publication.                                   19   know that that's the case. I was thinking of
       20        Q. How do you know that?                   20   another research report when I said that.
       21        A. That, I was told by the                 21       Q. Do you know whether or not, at
       22    plaintiffs' attorneys.                         22   least in part, funding for this paper, the
       23        Q. And you've accepted that; is            23   Taher paper, came from plaintiffs' counsel?
       24    that right?                                    24       A. No, I don't.


                                                                     27 (Pages 102 to 105)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 29 of 366 PageID:
                                  75384

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 106                                             Page 108
        1        Q. Taher, this paper, Exhibit 7,            1   factors is consistency; is that right?
        2    concludes that asbestos contamination does      2        A. Yes.
        3    not explain ovarian cancer, correct?            3        Q. You, in fact, are opining in
        4        A. It does come to that general             4   this case that there is consistency among the
        5    conclusion.                                     5   talcum powder ovarian cancer studies and
        6        Q. That's a different conclusion            6   publications; is that right?
        7    than you have formulated in this matter; is     7        A. Yes.
        8    that right?                                     8        Q. The authors of the Taher paper
        9        A. No, it's not.                            9   disagree with that conclusion; is that right?
       10        Q. You agree that asbestos                 10            MS. O'DELL: Object to the
       11    contamination does not explain ovarian         11        form.
       12    cancer; is that right?                         12        A. I don't think they disagree
       13        A. It doesn't completely explain           13   with that.
       14    ovarian cancer.                                14   BY MR. ZELLERS:
       15        Q. Does it explain ovarian cancer?         15        Q. Turn to page 25, Table 2. This
       16             MS. O'DELL: Objection, asked          16   is, again, something that you have reviewed
       17        and answered.                              17   in preparation for your deposition; is that
       18        A. I -- I don't believe it                 18   right?
       19    completely explains ovarian cancer, no.        19        A. Well, I didn't review it in
       20    BY MR. ZELLERS:                                20   preparation for the deposition, but I've
       21        Q. Turn to page 41 of Exhibit 7.           21   reviewed it recently.
       22    Look at the last three lines of the paper.     22        Q. At the request of plaintiffs'
       23    The authors of the Taher publication state:    23   counsel, correct?
       24    The similarity of findings between studies     24        A. Yes.

                                            Page 107                                             Page 109
        1   published prior to and after this point          1       Q. Table 2 is a summary of
        2   suggest asbestos contamination does not          2   evidence for each of the Hill criteria of
        3   explain the positive association between         3   causation as applied to perineal application
        4   perineal use of talc powder and the risk of      4   of talc and ovarian cancer.
        5   ovarian cancer.                                  5             Do you see that?
        6            Did I correctly state their             6       A. Yes.
        7   conclusion?                                      7       Q. Under Consistency, they state
        8       A. Well, there was a final clause            8   that 15 out of 30 studies reported positive
        9   of the sentence, but yes, you correctly read     9   and significant associations; is that right?
       10   that.                                           10       A. Yes.
       11       Q. The Taher authors also                   11       Q. 15 out of 30, that's 50%,
       12   discussed the lack of consistency among the     12   right?
       13   various talcum powder studies; is that right?   13       A. Yes.
       14            MS. O'DELL: Object to the              14       Q. 50% is no better than a coin
       15       form.                                       15   toss; is that right?
       16       A. I'm sorry, could you repeat              16             MS. O'DELL: Object to the
       17   that question?                                  17       form.
       18   BY MR. ZELLERS:                                 18       A. Well, I would have to also
       19       Q. Sure.                                    19   mention that the majority of those 30 studies
       20            You looked at the Bradford Hill        20   found positive associations. These are the
       21   factors in formulating your opinion; is that    21   ones that showed positive associations that
       22   right?                                          22   rose to the level of statistical
       23       A. Yes.                                     23   significance.
       24       Q. One of the Bradford Hill                 24             ///


                                                                     28 (Pages 106 to 109)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 30 of 366 PageID:
                                  75385

                        Arch I. "Chip"                  Carson, M.D., Ph.D.
                                            Page 110                                             Page 112
        1   BY MR. ZELLERS:                                  1   studies that have shown a biological gradient
        2        Q. If an association is not                 2   at -- especially in relation to some of the
        3   statistically significant, then it can be due    3   subtypes of ovarian cancer.
        4   to chance; is that right?                        4   BY MR. ZELLERS:
        5        A. But if it's due to chance over           5        Q. And I'm going to ask you about
        6   and over and over again, and you keep getting    6   those questions, but right now I'm just
        7   a positive association, that argues very         7   asking you about the Taher paper.
        8   strongly against the chance as being the only    8        A. Well, I'm trying to just
        9   factor.                                          9   completely answer your question.
       10        Q. Can you answer my question: A           10        Q. I'm asking you about the Taher
       11   lack of a statistically significant             11   paper. You understand?
       12   association is consistent with or can be        12        A. Yes. This is all from the
       13   consistent with no risk, correct?               13   Taher paper that I read you.
       14            MS. O'DELL: Objection to form,         14        Q. Section 3.3.1 talks about
       15        asked and answered.                        15   evidence from human studies. That's on
       16        A. If you're referring to an               16   page 20; is that right?
       17   individual study, that might be the case;       17        A. Yes.
       18   however, when considering the Bradford Hill     18        Q. This section talks about
       19   criterion of consistency, you look at the       19   whether or not there is a consistent
       20   overall body of the literature and what it      20   dose-response found in those studies; is that
       21   tells you.                                      21   right?
       22            There's an obvious statistical         22            MS. O'DELL: What sentence are
       23   trend toward positive connection between        23        you pointing to?
       24   talcum powder perineal application and the      24            MR. ZELLERS: I'm asking the

                                            Page 111                                             Page 113
        1   occurrence of ovarian cancer, and the more       1       doctor questions based upon his review
        2   evidence that mounts, the more strongly that     2       of the paper, Ms. O'Dell.
        3   association is proven.                           3            MS. O'DELL: Okay. Feel free
        4   BY MR. ZELLERS:                                  4       to review it, Doctor, if you need to.
        5       Q. Would you say that 15 out of 30           5            THE WITNESS: I'm just taking a
        6   means there are consistent results across        6       look at this section.
        7   studies?                                         7   BY MR. ZELLERS:
        8       A. I think I've just explained to            8       Q. And if it helps you, look on
        9   you how I believe there are consistent           9   page 21, lines 174 through 177.
       10   results across studies.                         10            (Document review.)
       11       Q. The authors of the Taher paper           11   BY MR. ZELLERS:
       12   also conclude that they do not find a           12       Q. I only want to ask you about
       13   consistent dose-response in the papers that     13   two sentences. Are you ready for me to ask
       14   look at perineal application of talc and        14   you my question?
       15   ovarian cancer; is that right?                  15       A. Just one moment, please.
       16            MS. O'DELL: Object to the              16       Q. Sure.
       17       form.                                       17            (Document review.)
       18       A. Well, what they actually say is          18            THE WITNESS: All right, I'm
       19   that about half of the epidemiological          19       ready for your question.
       20   studies assess only one level of talc           20   BY MR. ZELLERS:
       21   exposure, ever versus never. So it's not        21       Q. The Taher paper states that
       22   possible from those studies to establish a      22   many of the studies only reported on the
       23   biological gradient.                            23   ovarian cancer risk assessing one exposure
       24            However, there are a number of         24   category and that exposure response analyses


                                                                     29 (Pages 110 to 113)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 31 of 366 PageID:
                                  75386

                         Arch I. "Chip"                  Carson, M.D., Ph.D.
                                             Page 114                                             Page 116
        1   were not done in all studies; is that right?      1   inflammation in the tissues in which it
        2        A. Yes.                                      2   sequesters; is that right?
        3        Q. When conducted, findings from             3        A. Yes.
        4   trend analyses were not consistent; is that       4        Q. Assuming for the moment that
        5   correct?                                          5   talc can reach the ovaries, is it your
        6             MS. O'DELL: Object to the               6   opinion that talc produces chronic
        7        form.                                        7   inflammation in the ovaries and that this
        8        A. Yes.                                      8   somehow leads to ovarian cancer?
        9   BY MR. ZELLERS:                                   9        A. It is my opinion that talc
       10        Q. All right. With respect -- I'm           10   produces chronic inflammation in the
       11   done with that paper.                            11   epithelial tissues of the ovaries and
       12             You discuss your opinion               12   surrounding epithelial tissues and leads to
       13   number 1 on page 7 of your report; is that       13   both carcinogenesis initiation and promotion.
       14   right?                                           14        Q. There are no reports in the
       15        A. Yes.                                     15   literature of externally applied talc leading
       16        Q. You first state on page 7 that           16   to inflammation, granulomas, fibrosis or
       17   you believe talcum powder is immunogenic and     17   adhesions anywhere along a woman's
       18   produces chronic inflammation in the tissues;    18   reproductive tract, correct?
       19   is that right?                                   19            MS. O'DELL: Object to the
       20        A. Yes.                                     20        form, asked and answered.
       21        Q. You state that other components          21        A. Well, that's similar to the
       22   in talcum powder, including mineral fibers,      22   question that you asked earlier, and although
       23   asbestos, fibrous talc, carcinogenic metals      23   I'm not aware of experimental reports that
       24   and other chemicals intensify the                24   specifically jive with that condition,

                                             Page 115                                             Page 117
        1    inflammatory response and stimulate cell         1   certainly there are a lot of theoretical
        2    growth and proliferation; is that right?         2   reports that have been published.
        3        A. Yes.                                      3            For example, Dr. Ness' article
        4        Q. Other than asbestos, what                 4   from '99 lays out the theory of inflammation
        5    mineral fibers in talc intensify the             5   and relates that to talc exposure from
        6    inflammatory response?                           6   perineal application.
        7        A. Well, the endogenous fibrous              7   BY MR. ZELLERS:
        8    talc fibers also intensify the response.         8       Q. This is your colleague,
        9        Q. Other than asbestos and fibrous           9   Dr. Ness; is that right?
       10    talc fibers, what mineral fibers in talc do     10       A. Ness, and Coussens, when she
       11    you believe intensify the inflammatory          11   was at Pittsburgh.
       12    response?                                       12       Q. Dr. Ness, you showed her your
       13        A. I'm not really able to answer            13   report and asked for her comments; is that
       14    that question because I don't have a specific   14   right?
       15    opinion about it. I'm not a geologist.          15       A. I didn't show her the report.
       16        Q. Are the other chemicals that             16       Q. Well, you talked to her about
       17    you refer to in this section fragrance          17   and showed her your conclusions and your
       18    chemicals?                                      18   opinions; is that right?
       19        A. Yes.                                     19       A. No, I talked to her about the
       20        Q. Any others?                              20   paper.
       21        A. None that are intentionally              21       Q. Her paper?
       22    added.                                          22       A. Yes.
       23        Q. You claim, again on page 7,              23       Q. Did you share with her that you
       24    that talcum powder produces chronic             24   were going to be an expert for the plaintiffs


                                                                      30 (Pages 114 to 117)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 32 of 366 PageID:
                                  75387

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 118                                             Page 120
        1   in this litigation?                              1   talc relating to that, and to my knowledge,
        2       A. No, I didn't.                             2   there are no experimental reports or case
        3       Q. Did she wonder or ask why it              3   reports that can document that at the current
        4   was that you were researching or looking into    4   time.
        5   this issue?                                      5        Q. Granulomas, fibrosis and
        6       A. She -- I think she may have,              6   adhesions do not cause ovarian cancer,
        7   yeah.                                            7   correct?
        8       Q. And what did you tell her?                8            MS. O'DELL: Object to the
        9       A. I told her I had been recently            9        form.
       10   asked to look into it.                          10        A. The inflammatory process that
       11       Q. Did you tell her that you'd              11   is intimately connected with granuloma
       12   been asked to look into it by counsel for       12   formation may well be the same process that
       13   plaintiffs in the talc litigation?              13   results in mutation and promotion of ovarian
       14       A. No, I didn't.                            14   cancer. So I -- I could not agree completely
       15       Q. And that never came up; is that          15   with your statement.
       16   right?                                          16   BY MR. ZELLERS:
       17       A. It didn't.                               17        Q. Is there a good scientific
       18       Q. And she never talked to you or           18   basis today to opine that granulomas,
       19   told you about her experience and her work as   19   fibrosis or adhesions cause ovarian cancer?
       20   counsel -- strike that, as an expert for        20            MS. O'DELL: Object to the
       21   plaintiffs; is that your testimony?             21        form.
       22       A. Yes. It was a very brief                 22        A. No, I don't think they cause
       23   conversation.                                   23   ovarian cancer.
       24       Q. If up to 50% of all U.S. women           24            ///

                                            Page 119                                             Page 121
        1    have used genital talc, shouldn't there be      1   BY MR. ZELLERS:
        2    studies which have shown inflammation,          2        Q. Would you agree that not all
        3    granulomas, fibrosis or adhesions in a          3   inflammatory conditions lead to cancer?
        4    woman's reproductive tract?                     4        A. Yes.
        5             MS. O'DELL: Object to the              5        Q. It's true that all of us
        6        form.                                       6   experience inflammatory reactions of one sort
        7        A. Well, there are studies that             7   or another, including chronic conditions,
        8    show those things.                              8   that do not lead to cancer, correct?
        9    BY MR. ZELLERS:                                 9        A. That's correct. Although there
       10        Q. Please, tell me the published           10   is a strong relationship between inflammatory
       11    studies that demonstrate inflammation,         11   processes and the occurrence of cancers, and
       12    granulomas, fibrosis or adhesions in a         12   some of those inflammatory diseases that
       13    woman's reproductive tract from externally     13   you're referring to also have associations
       14    applied talc?                                  14   with increased rates of cancers.
       15        A. Well, you're adding a new               15            MR. ZELLERS: Move to strike as
       16    condition now.                                 16        nonresponsive.
       17        Q. I'm sorry if I didn't add that          17   BY MR. ZELLERS:
       18    before.                                        18        Q. Rheumatoid arthritis is an
       19        A. There are multiple studies that         19   inflammatory condition; is that right?
       20    show inflammation and other inflammatory       20        A. Yes, it is.
       21    reactions in connection with the occurrence    21        Q. Does it increase the risk of
       22    of ovarian cancer.                             22   ovarian cancer?
       23             The piece that you're now             23        A. I think I -- it does -- it's
       24    asking for is the external application of      24   not associated with ovarian cancer, but I


                                                                     31 (Pages 118 to 121)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 33 of 366 PageID:
                                  75388

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 122                                             Page 124
        1   think it may be associated with other            1       A. This is a list that I've put
        2   cancers.                                         2   together of some of the studies I've
        3       Q. Does -- strike that.                      3   considered and how they relate to things I
        4            Is psoriasis an inflammatory            4   might testify to today.
        5   condition?                                       5       Q. Why did you not tell me about
        6       A. Generally, it is.                         6   your list that you brought with you today
        7       Q. Is it associated with an                  7   before now?
        8   increased risk of ovarian cancer?                8       A. Well, I'm telling you about it
        9       A. Not that I'm aware.                       9   now.
       10       Q. In your report you state that            10       Q. My question is why did you not,
       11   inflammation is a normal body process that      11   when I asked you what you brought to the
       12   leads to the thwarting of infection and rapid   12   deposition today, not take the list out and
       13   healing; is that right?                         13   show us the list?
       14       A. That's correct.                          14       A. I didn't think of it.
       15       Q. If your inflammation theory is           15       Q. Okay. We'll mark your list as
       16   correct, why doesn't inflammation generally,    16   Deposition Exhibit 15.
       17   such as in pelvic inflammatory disease, cause   17            (Carson Deposition Exhibit 15
       18   ovarian cancer?                                 18       marked.)
       19       A. It may do so.                            19   BY MR. ZELLERS:
       20       Q. You are opining under oath here          20       Q. These are a number of notes,
       21   that pelvic inflammatory disease causes         21   four pages of notes. Are these all your
       22   ovarian cancer?                                 22   notes?
       23       A. I think there are experts who            23       A. Yes.
       24   have concluded that.                            24       Q. First page has got a section of

                                            Page 123                                             Page 125
        1        Q. What study are you relying on            1   articles on asbestos and ovarian cancer; is
        2    for that opinion or statement?                  2   that right?
        3        A. That's not part of the opinions          3       A. Yes.
        4    that I've been asked to consider in this --     4       Q. It also has inflammation and
        5    in this case.                                   5   cancer and a number of studies; is that
        6        Q. As you sit here, can you cite            6   right?
        7    me a publication or a study that finds that     7       A. Yes.
        8    pelvic inflammatory disease causes ovarian      8       Q. Second page has got cohort,
        9    cancer?                                         9   where you've listed out the four cohort
       10             MS. O'DELL: Object to the             10   studies; is that right?
       11        form.                                      11       A. Yes.
       12        A. Well, I have -- I have a list           12       Q. Beneath that are the
       13    of studies that relate inflammation to         13   meta-analyses where you've listed those out
       14    ovarian cancer and other cancers.              14   and made some notes on those, correct?
       15    BY MR. ZELLERS:                                15       A. Yes.
       16        Q. Can you name me a study or a            16       Q. The back page of the second
       17    publication?                                   17   page has got a listing of a number of the
       18        A. Okay. I think I have my list            18   case-control studies, correct?
       19    here.                                          19       A. Yes. Those are duplicated on
       20        Q. You brought other materials             20   another page.
       21    with you?                                      21       Q. The third page has got a
       22        A. I brought this list.                    22   section on migration and studies that you're
       23        Q. All right. Well, what list are          23   looking at for that proposition, correct?
       24    you pulling out of your pocket?                24       A. Correct.


                                                                    32 (Pages 122 to 125)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 34 of 366 PageID:
                                  75389

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 126                                            Page 128
        1       Q. Underneath that, ovarian cancer           1    authors conclude that pelvic inflammatory
        2   risk; is that right?                             2    disease causes ovarian cancer? Do you
        3       A. Yes.                                      3    believe each of the authors in the studies
        4       Q. Underneath that, talc and other           4    that you've identified, that their studies
        5   cancer; is that right?                           5    stand for that proposition?
        6       A. Yes.                                      6              MS. O'DELL: Object to form,
        7       Q. And then on the last page,                7        asked and answered.
        8   page 4, is a listing of the case-control         8        A. I think all of the studies that
        9   studies with the odds ratios and confidence      9    I've identified for this question do allude
       10   intervals; is that right?                       10    to that, yes.
       11       A. For the most part, yes.                  11    BY MR. ZELLERS:
       12       Q. All right. So looking now at             12        Q. That pelvic inflammatory
       13   your list of studies that you have prepared,    13    disease causes ovarian cancer, correct?
       14   which study demonstrates or supports the        14        A. That it is a -- it's a factor,
       15   proposition that pelvic inflammatory disease    15    yes.
       16   causes ovarian cancer?                          16        Q. It's a cause. That's what they
       17       A. Looking through here, I don't            17    state in those papers, right?
       18   have that item specifically in my notes, but    18              MS. O'DELL: Object to the
       19   I'm just using my notes to refresh my memory    19        form.
       20   about the individual research report. I         20    BY MR. ZELLERS:
       21   think the Coussens and Werb paper from 2010     21        Q. That's your testimony?
       22   talks about general mechanisms of               22              MS. O'DELL: Excuse me,
       23   inflammation in relation to the occurrence of   23        misstates his testimony. Object to
       24   ovarian cancer.                                 24        the form.

                                             Page 127                                            Page 129
        1            And there's the Ness and                1       A. I would say it's a factor and
        2   Cottreau paper from '99.                         2   leave it at that.
        3            Okada has discussed it in the           3   BY MR. ZELLERS:
        4   2007 paper. And there's a paper from 2001        4       Q. All right. Are you familiar
        5   which is Balkwill and Mantovani which            5   with pleurodesis?
        6   discusses the relationship between talc and      6       A. I am.
        7   ovarian cancer and also discusses the            7       Q. Does a pleurodesis cause
        8   relationship to other sources of                 8   cancer?
        9   inflammation.                                    9       A. It is not known to, although it
       10       Q. Each of those papers that                10   might.
       11   you've identified you believe state that        11       Q. Are you familiar with the
       12   pelvic inflammatory disease is a cause of       12   study, 1979, A survey of the long-term
       13   ovarian cancer, correct?                        13   effects of talc and kaolin pleurodesis?
       14            MS. O'DELL: Object to the              14       A. Can tell me who the author of
       15       form.                                       15   that was?
       16       A. Well, I don't think they state           16       Q. Sure. The author is -- this is
       17   that in so many words, but if you read the      17   from the Research Committee of the British
       18   paper and you understand that -- what pelvic    18   Thoracic Association. The members of the
       19   inflammatory disease is and its relationship    19   subcommittee were Chappell, Johnson, Charles,
       20   to inflammatory processes in general, yes,      20   Wagner, Seal, Berry and Nicholson.
       21   that's what they're saying.                     21            Are you familiar with that
       22   BY MR. ZELLERS:                                 22   paper?
       23       Q. Doctor, my question to you was:          23       A. I'm not familiar with the
       24   Are you aware of any papers in which the        24   paper. I may have looked at it in the past.


                                                                     33 (Pages 126 to 129)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 35 of 366 PageID:
                                  75390

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 130                                             Page 132
        1       Q. We'll take a look at it. We'll            1       form.
        2   mark it as Deposition Exhibit 16.                2       A. I think that was the hypothesis
        3           (Carson Deposition Exhibit 16            3   of those research reports.
        4       marked.)                                     4   BY MR. ZELLERS:
        5       A. Thank you.                                5       Q. And, in fact, the NSAID studies
        6           MS. O'DELL: Thank you.                   6   do not find a consistent causal reduction in
        7   BY MR. ZELLERS:                                  7   the risk of ovarian cancer; is that right?
        8       Q. This was a study that looked at           8       A. I think that's correct.
        9   the association between pleurodesis and lung     9       Q. In your report you also state
       10   cancer; is that right?                          10   that studies show that use of cornstarch
       11       A. Yes.                                     11   instead of talcum powder reduces the risk of
       12       Q. It's a study that you cite on            12   ovarian cancer; is that right?
       13   page 1 of your literature list; is that         13       A. Yes.
       14   right?                                          14       Q. If inflammation causes cancer,
       15       A. Okay. Yes.                               15   why would cornstarch be a superior
       16       Q. So you've read it; is that               16   alternative to talc?
       17   right?                                          17       A. The reason is that cornstarch,
       18       A. I have.                                  18   being a biological product, is much -- it
       19       Q. You've considered it; is that            19   does have a rapid clearance from the body,
       20   right?                                          20   even when sequestered, in comparison with a
       21       A. Yes.                                     21   mineral substance like talc.
       22       Q. They looked at 210 patients              22       Q. Well, in fact, cornstarch
       23   that underwent a pleurodesis with talc or       23   causes or increases the risk of inflammation,
       24   kaolin 14 to 40 years before; is that right?    24   granulomas, fibrosis and adhesions, correct?

                                            Page 131                                             Page 133
        1       A. That's correct.                           1         A. It may, yes.
        2       Q. And they found that there was             2         Q. Just like you claim talcum
        3   no increased incidence of lung cancer and no     3   powder increases the risk of inflammation,
        4   cases of mesothelioma; is that right?            4   granulomas, fibrosis and adhesions; is that
        5       A. That's correct.                           5   right?
        6       Q. Why don't -- well, strike that.           6             MS. O'DELL: Object to the
        7            You're aware of the studies             7         form.
        8   that have looked at antiinflammatory drugs       8         A. I think you are -- you're
        9   and aspirin use with respect to whether or       9   parsing terms here. That list of things were
       10   not they're associated with -- let me           10   your words. I was agreeing with the
       11   withdraw that.                                  11   relationship between talc and inflammation in
       12            Are you familiar with the NSAID        12   ovarian epithelial tissue and the production
       13   and aspirin use studies relating to the         13   or granulomas. I did not discuss the
       14   incidence of ovarian cancer in chronic users?   14   relationship between talc and adhesions or
       15       A. I'm familiar with some of                15   fibrosis. There was one other thing on your
       16   those, yes.                                     16   list.
       17       Q. If your theory is correct that           17   BY MR. ZELLERS:
       18   inflammation causes ovarian cancer, then you    18         Q. Well, in fact, the FDA has
       19   would expect that the studies of NSAIDs and     19   banned the use of cornstarch as a powder for
       20   aspirin use, antiinflammatory drugs that        20   lubricating surgical gloves; is that right?
       21   reduce inflammation, would consistently         21         A. It has, but that's not the
       22   reduce the incidence of ovarian cancer,         22   reason.
       23   correct?                                        23         Q. Well, the reason that they
       24           MS. O'DELL: Object to the               24   banned the use of cornstarch is because it


                                                                     34 (Pages 130 to 133)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 36 of 366 PageID:
                                  75391

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 134                                            Page 136
        1    presented an unreasonable and substantial       1        Q. Why do you have to have a
        2    risk of illness or injury and that that risk    2   special definition of "oxidative stress"?
        3    cannot be corrected or eliminated by            3   I'm asking simply: Is there a publication or
        4    labeling, correct?                              4   a study which documents that oxidative stress
        5        A. I don't know the specific                5   is involved in the development of ovarian
        6    language. It looks like you're reading from     6   cancer?
        7    a Federal Register document.                    7            MS. O'DELL: Object to the
        8             The main reason that cornstarch        8        form.
        9    has been banned as a lubricant in gloves is     9        A. Sure.
       10    because of the potential for transmission of   10   BY MR. ZELLERS:
       11    primarily respiratory problems through         11        Q. And what paper are you going to
       12    inhalation, mostly by co-workers, not by       12   point me to?
       13    patients.                                      13        A. Well, I'll point you to the
       14        Q. You do agree that cornstarch            14   Ness paper to begin with, because it was one
       15    has been banned by the FDA for use in          15   of the earlier papers that related oxidative
       16    surgical gloves; is that right?                16   stress from talc to the occurrence of ovarian
       17        A. All powdered gloves have been           17   cancer. But the relationship between
       18    essentially banned from hospitals and          18   inflammation, which essentially is the source
       19    operating rooms now.                           19   of the oxidative stress, and cancer goes all
       20        Q. You also talk about                     20   the way back into the 19th Century in terms
       21    inflammation and oxidative stress; is that     21   of its proposal as a rationale.
       22    right?                                         22        Q. Is oxidative stress a variation
       23        A. Yes.                                    23   of inflammation as you're using that term
       24        Q. Does the presence of oxidative          24   relating to a potential cause of ovarian

                                             Page 135                                            Page 137
        1   stress in a tissue indicate that cancer will     1   cancer?
        2   develop in that tissue?                          2       A. It's a component of
        3       A. No.                                       3   inflammation.
        4       Q. If exposure to a substance                4       Q. As a toxicologist, how would
        5   causes oxidative stress in certain tissue,       5   you define fibrous talc?
        6   does that mean exposure of all other tissues     6       A. Fibrous talc is a form of talc
        7   to that substance will cause oxidative stress    7   that is conformed into elongated structures
        8   in those tissues?                                8   that have an aspect ratio of length greater
        9       A. Not necessarily.                          9   than width that is different from the
       10       Q. Does the body have protective            10   majority of talc which is the platy form.
       11   mechanisms that can limit tissue damage from    11       Q. Do you consider yourself to be
       12   oxidative stress?                               12   an expert on fibrous talc?
       13       A. Yes.                                     13       A. No, I don't.
       14       Q. Do all substances that cause             14       Q. Do you consider yourself to be
       15   oxidative stress also cause cancer?             15   an expert on oxidative stress?
       16       A. I'm not sure the answer to that          16       A. I have dealt a lot with issues
       17   question is known.                              17   of oxidative stress and health effects
       18       Q. Are there any studies or                 18   resulting from it.
       19   publications that indicate that oxidative       19       Q. Do you consider yourself to be
       20   stress is involved in the development of        20   an expert in oxidative stress?
       21   ovarian cancer?                                 21            MS. O'DELL: Objection, asked
       22       A. If I can define the term                 22       and answered.
       23   "oxidative stress," I could give you an         23       A. I'm not a specific expert in
       24   answer to that, that question.                  24   oxidative stress, but I can -- I can opine

                                                                     35 (Pages 134 to 137)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 37 of 366 PageID:
                                  75392

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 138                                            Page 140
        1   regarding my professional understanding and      1   reports, the epidemiology first, is looking
        2   training.                                        2   at the relationship between perineal use of
        3   BY MR. ZELLERS:                                  3   dusting powders, talcum powders and ovarian
        4       Q. You've never been involved in             4   cancer.
        5   terms of any research or publication on the      5             Although there have been
        6   subject of oxidative stress and any              6   efforts in some of those studies to
        7   association with ovarian cancer, correct?        7   characterize the proportion or the
        8       A. Not in terms of ovarian cancer,           8   ingredients that would be either asbestos or
        9   no.                                              9   fibers, that's not done in all cases, and
       10       Q. You have not been involved in            10   it's not ruled out in any cases.
       11   any research or publication relating to the     11             The -- also, the research
       12   subject of inflammation and its association     12   studies that have been performed, the
       13   with ovarian cancer, correct?                   13   testing, for example, of the products
       14       A. No. All right. Yes, correct.             14   themselves are replete with reports of
       15       Q. Yes, it is correct? Okay.                15   components of these powders that are fibrous
       16            You claim that the presence of         16   in nature.
       17   asbestos and fibrous talc further intensifies   17             MR. ZELLERS: Move to strike as
       18   the carcinogenic effect of talc; is that        18        nonresponsive.
       19   right?                                          19   BY MR. ZELLERS:
       20       A. Yes.                                     20        Q. Do you believe that all talcum
       21       Q. Is that statement different              21   powder products that are on the market
       22   from the statement directly above where you     22   contain asbestos?
       23   allege that asbestos and mineral fibers         23             MS. O'DELL: Object to the
       24   intensify the inflammatory response and         24        form.

                                             Page 139                                            Page 141
        1   stimulate the cell growth and proliferation?     1       A. I don't know.
        2       A. It's not different, no.                   2   BY MR. ZELLERS:
        3       Q. Are your opinions dependent on            3       Q. Does it matter to your opinion
        4   talc containing carcinogenic asbestos and/or     4   as to whether or not the talcum powder
        5   fibrous talc?                                    5   products, and particularly the talcum powder
        6       A. No.                                       6   products involved in this case, contain
        7       Q. Do you believe that talcum                7   asbestos?
        8   powder without asbestos causes ovarian           8       A. I wouldn't have a way to be
        9   cancer?                                          9   able to answer that yes or no.
       10       A. I believe talcum powder causes           10       Q. Do you -- strike that.
       11   ovarian cancer. I have not seen any research    11            Have you reached a conclusion
       12   done on talcum powder that has been shown not   12   as to whether or not the talcum powder
       13   to contain asbestos.                            13   products involved in this case contain
       14       Q. Your assumption that you have            14   fibrous talc?
       15   made in formulating your opinions here is       15       A. I think that most of them do.
       16   that talcum powder contains asbestos; is that   16       Q. Does all of the talcum powder
       17   right?                                          17   contain fibrous talc or just some of it?
       18       A. No.                                      18       A. Certainly a lot of it does.
       19       Q. What assumption have you made            19       Q. The basis for your conclusion
       20   as to whether or not talcum powder contains     20   that the talcum powder at issue in this case
       21   either asbestos or fibrous talc?                21   contains fibrous talc is the testing reports
       22            MS. O'DELL: Object to the              22   that plaintiffs' attorneys gave you?
       23       form.                                       23            MS. O'DELL: Object to the
       24       A. Looking at the research                  24       form.


                                                                     36 (Pages 138 to 141)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 38 of 366 PageID:
                                  75393

                         Arch I. "Chip"                  Carson, M.D., Ph.D.
                                             Page 142                                              Page 144
        1         A. Yes. Also Longo's publications           1            MS. O'DELL: Object to the
        2    and reports.                                     2        form.
        3    BY MR. ZELLERS:                                  3        A. That wasn't my charge. I defer
        4         Q. You have reviewed the Longo              4   to the other experts in this case.
        5    reports; is that right?                          5   BY MR. ZELLERS:
        6         A. Yes.                                     6        Q. Do you have an opinion on what
        7         Q. Have you ever met with him?              7   type of asbestos you believe is in the talcum
        8         A. No.                                      8   powder products at issue in this case?
        9         Q. Do you know his qualifications?          9        A. Well, there have been various
       10         A. I looked at his qualifications          10   types shown, but I think for the most part
       11    at one point, but I don't recall exactly what   11   it's tremolite and anthophyllite.
       12    it is at this stage.                            12        Q. Are you familiar with
       13         Q. Ever hear of him before this            13   crocidolite?
       14    lawsuit, your getting involved in the talc      14        A. Yes.
       15    litigation back in October of 2018?             15        Q. Is crocidolite found in talcum
       16         A. No.                                     16   powder or baby powder?
       17         Q. Have you reviewed any of                17        A. It's not commonly found in it.
       18    Longo's testing where he did not find           18        Q. You believe that the
       19    asbestos?                                       19   asbestos -- types of asbestos that may be in
       20         A. I -- the only thing I've                20   the talcum powder at issue in this case is
       21    reviewed are what's present in those reports    21   tremolite and acidolite [sic]?
       22    that I cited.                                   22            MS. O'DELL: Objection.
       23         Q. Were you provided by counsel            23        A. Anthophyllite. There are
       24    for plaintiffs with any testing reports from    24   others found, but you asked for most common.

                                             Page 143                                              Page 145
        1   Longo where he did not find asbestos?             1   BY MR. ZELLERS:
        2       A. There are some of those listed             2       Q. Most common you believe are
        3   in his reports.                                   3   tremolite and anthophyllite?
        4       Q. Have you reviewed the FDA's                4       A. Anthophyllite.
        5   testing of talcum powder products?                5       Q. Anthophyllite. Those two; is
        6       A. The FDA didn't really do much              6   that right?
        7   testing of talcum powder products.                7       A. Yes.
        8       Q. Have you reviewed the FDA's                8       Q. What types of asbestos are
        9   testing of talcum powder products?                9   associated with ovarian cancer?
       10            MS. O'DELL: Objection, vague.           10       A. Well, I'll go back to my list
       11       A. The only FDA testing that I               11   again. Crocidolite is associated with
       12   looked at was the -- I have it referenced in     12   ovarian cancer in the Acheson report from
       13   my list, but the FDA, based on a                 13   1982, which was from female gas mask
       14   recommendation, requested samples from           14   manufacturers in England who made gas masks
       15   various companies, I think nine different        15   during the period of the Second World War,
       16   sources of talc. They received four and          16   and crocidolite is associated with that with
       17   tested those. And based on their test method     17   a fairly high relative risk of 2.96.
       18   determined that there was not a -- not           18   Chrysotile asbestos had also a positive
       19   evidence of a significant hazard.                19   relative risk of 1.74.
       20   BY MR. ZELLERS:                                  20            There was a study of factory
       21       Q. Have you made any effort to               21   workers and pipe laggers in east London,
       22   quantify the amount of any alleged               22   which is the Berry report from 2000, that
       23   contaminant in the Johnson & Johnson Consumer    23   showed a relative risk of 2.53, and those
       24   talcum powder?                                   24   workers were exposed to primarily asbestos


                                                                      37 (Pages 142 to 145)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 39 of 366 PageID:
                                  75394

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 146                                            Page 148
        1   cement products and plasters, so the --          1            But based on my current
        2        Q. What type of asbestos, if you            2   understanding, I don't believe they've ever
        3   know?                                            3   been totally successful in doing so.
        4        A. That would have been primarily           4           So in answer to your question,
        5   amphibole asbestos types, which would include    5   which I think was, was there ever a point in
        6   crocidolite and tremolite and anthophyllite,     6   time where you believe the talcum powder
        7   amosite is in that category.                     7   products involved in this case were not
        8             Bertolotti in 2008 published a         8   contaminated with asbestos, no.
        9   report -- actually, there were several           9   BY MR. ZELLERS:
       10   reports that resulted from the Eternit          10      Q. You cite in your report,
       11   factory studies in Casale Monferrato in         11   page 5, to two exhibits to the depositions of
       12   Italy, which was a plant that manufactured      12   John Hopkins and Julie Pier in support of
       13   cement sheet and corrugated tubing, and there   13   your opinion that talcum powder products
       14   were a number of studies that showed elevated   14   contain asbestos; is that right?
       15   relative risks in persons exposed to asbestos   15      A. That's correct.
       16   in that work, and that would also have been     16      Q. Looking at page 5, footnote 1,
       17   amphibole asbestos types.                       17   you cite to Exhibit Hopkins-28 in the Hopkins
       18        Q. The studies that you've recited         18   deposition and Exhibit Pier-47 in the Pier
       19   for us, those are all occupational studies;     19   deposition; is that right?
       20   is that right?                                  20      A. That's correct.
       21        A. Yes. I've got a lot more.               21      Q. Are you aware that those
       22        Q. Well, and it's on your list,            22   exhibits were created by plaintiffs' counsel?
       23   which we marked as Exhibit 15; is that right?   23           MS. O'DELL: Objection to form.
       24        A. That's correct.                         24      A. I didn't -- I -- I don't know

                                             Page 147                                            Page 149
        1       Q. All right. Those studies did              1   that and doesn't matter to me.
        2   not involve the perineal application of          2   BY MR. ZELLERS:
        3   talcum powder products; is that right?           3        Q. Do you know where the data in
        4           MS. O'DELL: Object to the                4   those exhibits come from?
        5       form.                                        5         A. Well, they come from the two
        6       A. It was not a factor in the                6   persons who are testifying who have produced
        7   study.                                           7   them from their -- mostly from their business
        8   BY MR. ZELLERS:                                  8   records.
        9       Q. Crocidolite and chrysotile                9         Q. Okay. So you believe that
       10   asbestos has generally not been found in        10   Exhibit Hopkins-28 to the Hopkins deposition
       11   talcum powder products, correct?                11   and Exhibit Pier-47 to the Pier deposition
       12       A. In general, that's the case.             12   come from the business records of the
       13       Q. Was there ever a point in time           13   Johnson & Johnson Company and Imerys?
       14   where you believe that the talcum powder        14         A. From the most part, there was
       15   products involved in this case were not         15   a -- there was a table that was constructed
       16   contaminated with asbestos?                     16   during the deposition which was sort of a
       17           MS. O'DELL: Objection to form,          17   piece of summary information. I don't know
       18       vague as to time.                           18   if it's an exhibit to the deposition or if
       19       A. My understanding is that Imerys          19   it's something separate from that, but it
       20   and their predecessors and Johnson & Johnson    20   would not have been from business records,
       21   made significant efforts to reduce components   21   but occurred at the deposition itself.
       22   of asbestos in their talc products over a       22             MS. O'DELL: Excuse me,
       23   number of years and made step-wise progress     23         Dr. Carson, would you like to see a
       24   in doing that.                                  24        copy of exhibit -- of the Hopkins


                                                                     38 (Pages 146 to 149)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 40 of 366 PageID:
                                  75395

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 150                                             Page 152
        1       Exhibit Hopkins-28 and Pier                  1   exhibits you're looking at,
        2       Exhibit Pier-47 in answering these           2   Exhibit Hopkins-28 and Exhibit Pier-47, were
        3       questions?                                   3   included in talcum powder product sold by J&J
        4            THE WITNESS: If that's easy to          4   Consumer Products?
        5       do, yes.                                     5            MS. O'DELL: Objection to the
        6            MS. O'DELL: It's very easy to           6       form, asked and answered.
        7       do. This is a copy of                        7       A. No, I don't.
        8       Exhibit Hopkins-28 of the Hopkins            8   BY MR. ZELLERS:
        9       deposition and Exhibit Pier-47 of the        9       Q. Have you confirmed -- strike
       10       Pier deposition.                            10   that.
       11            THE WITNESS: Okay.                     11            What amount of asbestos
       12   BY MR. ZELLERS:                                 12   exposure is associated with ovarian cancer?
       13       Q. Dr. Carson?                              13       A. Any.
       14       A. Yes, sir.                                14       Q. Your testimony under oath is
       15       Q. Did you make any effort to               15   that any asbestos exposure is associated with
       16   investigate the alternative explanations for    16   ovarian cancer?
       17   the data that's contained in those two          17       A. Any asbestos exposure and any
       18   exhibits, Exhibit Hopkins-28 and                18   perineal application of talcum powder is
       19   Exhibit Pier-47?                                19   associated with an increased risk for ovarian
       20       A. Alternative explanations, I'm            20   cancer.
       21   not sure what you mean by that.                 21       Q. The amount of asbestos
       22       Q. If the Johnson & Johnson                 22   contained -- or allegedly contained within
       23   company -- companies' scientists and Imerys'    23   the baby powder is of no consequence,
       24   scientists opined that those tests don't        24   correct?

                                            Page 151                                             Page 153
        1   actually show asbestos, you have no expertise    1            MS. O'DELL: Object to the
        2   to dispute that, do you?                         2       form.
        3            MS. O'DELL: Object to the               3       A. No, it is of consequence, and a
        4       form.                                        4   larger dose would be a greater hazard. But
        5       A. No, I don't have any personal             5   that doesn't mean that a low dose is not a
        6   expertise to dispute that.                       6   hazard.
        7   BY MR. ZELLERS:                                  7   BY MR. ZELLERS:
        8       Q. Do you know whether or not any            8       Q. My question is: Do you know
        9   of the talc product that is identified on        9   the amount of alleged asbestos exposure
       10   Exhibit Hopkins-28 and Exhibit Pier-47 was      10   that's associated with ovarian cancer?
       11   actually used in the talcum powder products     11       A. No.
       12   that were sold by the Johnson & Johnson         12       Q. Do you know the type of ovarian
       13   Consumer Products company?                      13   cancer that asbestos is associated with?
       14            MS. O'DELL: Objection to form.         14            MS. O'DELL: Object to the
       15       A. I -- it's my understanding that          15       form.
       16   some of these results, at least -- in           16       A. It's associated mostly with the
       17   particular from the Pier deposition, that       17   collection of epithelial ovarian cancers --
       18   some of these results were from testing that    18   BY MR. ZELLERS:
       19   was done on material that had already been      19       Q. What --
       20   shipped and probably incorporated into          20       A. -- primarily serous.
       21   products.                                       21       Q. Does the type of ovarian cancer
       22   BY MR. ZELLERS:                                 22   vary based upon the type of asbestos?
       23       Q. Do you know whether or not any           23       A. Not that I'm aware of.
       24   of the talc that is referred to on the two      24       Q. You believe that all types of

                                                                     39 (Pages 150 to 153)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 41 of 366 PageID:
                                  75396

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 154                                            Page 156
        1   asbestos can produce all types of ovarian        1       A. That's background information
        2   cancer; is that correct?                         2   and my personal knowledge.
        3            MS. O'DELL: Object to the               3       Q. You are not going to give an
        4       form.                                        4   opinion on mines, mining or milling in this
        5       A. I suspect that some forms of              5   case; is that right?
        6   asbestos are much more carcinogenic than         6       A. Depends on the questions.
        7   others, and that would be true for the           7       Q. Well, as you sit here today, do
        8   ovaries as well as other structures in the       8   you intend to give opinions on talc mining,
        9   body.                                            9   mines or milling?
       10   BY MR. ZELLERS:                                 10       A. It wasn't my intention, but if
       11       Q. Are you able to distinguish for          11   asked a question that I think I'm qualified
       12   us what types of asbestos cause or are          12   to answer, I'll try to do it.
       13   associated with what types of ovarian cancer?   13       Q. Are you an expert on talc
       14       A. I don't think I'm able to make           14   mining and milling?
       15   those distinctions, but the studies I just      15       A. I'm an expert on industrial
       16   read to you regarding the relationship          16   processes in general, and if -- I have some
       17   between asbestos and ovarian cancer and the     17   personal understanding of talc mining and
       18   others on my list do indicate that there are,   18   milling.
       19   for example, in the Acheson study, there        19       Q. Have you been personally
       20   were -- there was a positive relationship       20   involved in talc mining and milling?
       21   between both crocidolite and chrysotile         21       A. I haven't been involved in it;
       22   exposure, and the crocidolite had a greater     22   I've observed it.
       23   effect on ovarian cancer than the chrysotile,   23       Q. Do you consider yourself to be
       24   but did not have -- they were both positive.    24   an expert in talc mining and milling?

                                            Page 155                                            Page 157
        1        Q. What type of ovarian cancer?             1            MS. O'DELL: Objection, asked
        2        A. That, I don't know at the                2       and answered.
        3   moment. I could look in the paper and see if     3       A. No, I don't.
        4   it's listed.                                     4   BY MR. ZELLERS:
        5        Q. There are a number of different          5       Q. You have no independent basis
        6   types of ovarian cancer; is that right?          6   to say that cosmetic talc contains asbestos,
        7        A. That's correct.                          7   correct?
        8        Q. You are not familiar with J&J            8            MS. O'DELL: Object to the
        9   Consumer Products' procedures for milling or     9       form.
       10   mining; is that right?                          10       A. What do you mean by independent
       11             MS. O'DELL: Object to the             11   basis?
       12        form.                                      12   BY MR. ZELLERS:
       13        A. I'm familiar with some of their         13       Q. You have not done any testing
       14   procedures, yes.                                14   of talcum powder to determine whether it
       15   BY MR. ZELLERS:                                 15   contains asbestos or not; is that right?
       16        Q. Are you familiar with their             16       A. No. All of my understanding is
       17   testing of source mines?                        17   based on other sources.
       18        A. To some extent.                         18       Q. And those other sources would
       19             MS. O'DELL: Object to the             19   be, in part, the testing that was done by
       20        form.                                      20   Longo; is that right?
       21   BY MR. ZELLERS:                                 21       A. Yes, as well as the testing
       22        Q. Is it set forth in your report,         22   that's reported in the -- in the literature
       23   or is that just background information that     23   section as the Imerys test results and
       24   you looked at?                                  24   quality control materials.


                                                                    40 (Pages 154 to 157)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 42 of 366 PageID:
                                  75397

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                            Page 158                                             Page 160
        1       Q. You're looking now back at the           1   BY MR. ZELLERS:
        2   Pier Exhibit Pier-47 and the Hopkins            2       Q. The Reid paper that I've handed
        3   Exhibit Hopkins-28; is that right?              3   you, what we've marked as Exhibit 17, looks
        4       A. I was actually referring to the          4   at the issue: Does exposure to asbestos
        5   Imerys documents that are referenced toward     5   cause ovarian cancer.
        6   the end of the literature exhibit to my         6            Is that right?
        7   report, but certainly the Exhibit Pier-47       7        A. Yes.
        8   would be included there.                        8       Q. They talk about in terms of
        9       Q. You have no independent basis            9   limitations on the first page, right-hand
       10   to say that cosmetic talcum powder contains    10   column, they say: Studies that have examined
       11   fibrous talc, correct?                         11   this issue have been limited for two major
       12            MS. O'DELL: Object to the             12   reasons.
       13       form.                                      13            Is that right?
       14       A. I have no independent basis,            14        A. Yes.
       15   no.                                            15       Q. Number one, small number of
       16   BY MR. ZELLERS:                                16   cases, much fewer women than men have been
       17       Q. You're familiar with the                17   exposed to asbestos, particularly in more
       18   limitations of the research on a potential     18   heavily exposed occupational settings where
       19   link between asbestos and ovarian cancer; is   19   relative risks are higher; is that right?
       20   that right?                                    20        A. Yes.
       21            MS. O'DELL: Object to the             21       Q. How many of these studies --
       22       form.                                      22   well, strike that.
       23       A. I'm familiar with some research         23            Would you agree that the
       24   limitations in that question, yes.             24   studies in this area have been primarily

                                            Page 159                                             Page 161
        1   BY MR. ZELLERS:                                 1   related to occupational exposure?
        2        Q. You agree that research on the          2       A. Primarily, yes.
        3   potential relationship between asbestos and     3       Q. How many total women have been
        4   ovarian cancer has only considered a small      4   studied?
        5   number of cases; is that right?                 5            MS. O'DELL: Object to the
        6            MS. O'DELL: Object to the              6       form. In this study, in this paper,
        7        form.                                      7       or are you talking about in general?
        8        A. Well, it's considered thousands         8            MR. ZELLERS: In general.
        9   of cases. Certainly in terms of the number      9       A. I don't know the answer to
       10   of women who have experienced ovarian cancer   10   that.
       11   it's small, but it's significant, and that's   11   BY MR. ZELLERS:
       12   where we get research from that answers        12       Q. How many women have been
       13   important questions.                           13   studied in nonoccupational studies?
       14   BY MR. ZELLERS:                                14       A. Well, very few in comparison to
       15        Q. Are you familiar with the Reid         15   the occupational studies.
       16   paper, 2011?                                   16       Q. Are you aware of the
       17        A. Yes, but it's been a while             17   difficulties that have existed over time in
       18   since I've looked at it.                       18   distinguishing between peritoneal
       19        Q. Well, I'll hand you a copy.            19   mesothelioma and ovarian cancer?
       20   We'll mark it as Exhibit 17.                   20       A. Yes.
       21            (Carson Deposition Exhibit 17         21       Q. What are those difficulties?
       22        marked.)                                  22       A. There is a potential
       23            MS. O'DELL: Thank you.                23   misclassification of one as the other because
       24            ///                                   24   they have very common habits. They look very


                                                                    41 (Pages 158 to 161)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 43 of 366 PageID:
                                  75398

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 162                                            Page 164
        1    similar under light microscopy, and they're     1       take a minute to refresh yourself on
        2    often difficult to distinguish, even by a       2       the page --
        3    pathologist, unless special tests are used.     3             MR. ZELLERS: I'm looking under
        4             Often these cases occur in             4       Discussion.
        5    places where they don't have the access to      5             MS. O'DELL: -- please feel
        6    special test equipment that can definitively    6       free to do that.
        7    distinguish, and so they are classified and     7             Excuse me, sir, I was talking.
        8    we move on.                                     8       If you need to review the paper,
        9        Q. Another limitation of any                9       Dr. Carson, please feel free to do
       10    studies in this area relate to the inability   10       that.
       11    to account for nonoccupational risk factors    11             MR. ZELLERS: This doctor has
       12    for ovarian cancer other than age; is that     12       given 35 depositions. He is perfectly
       13    right?                                         13       capable of handling himself. He does
       14             MS. O'DELL: Object to the             14       not need your advice as we go along.
       15        form.                                      15             MS. O'DELL: Nor do I, Michael.
       16        A. Are you reading also from this          16       So I'm going to deal with this witness
       17    paper or --                                    17       in the way I choose, which is
       18    BY MR. ZELLERS:                                18       perfectly appropriate. If Dr. Carson
       19        Q. I was looking now at the                19       needs to review the paper, he's going
       20    Camargo paper. Are you familiar with the       20       to review the paper. You may ask him
       21    Camargo paper?                                 21       questions, he'll be happy to respond.
       22        A. If you have a copy of that, I'd         22             MR. ZELLERS: Your job is not
       23    like to look at it, if I'm going to answer     23       to coach the witness; your job is to
       24    questions about it.                            24       make objections as to form or

                                             Page 163                                            Page 165
        1       Q. All right. This is a paper in             1       foundation, not to make speaking
        2   2011. We'll mark it as Exhibit 18.               2       objections and coaching of the
        3            (Carson Deposition Exhibit 18           3       witness.
        4       marked.)                                     4           MS. O'DELL: If you have a
        5   BY MR. ZELLERS:                                  5       question, I'm sure Dr. Carson would be
        6       Q. Here the authors also looked at           6       happy to address it.
        7   the issue of occupational exposure to            7            MR. ZELLERS: I've asked him
        8   asbestos and ovarian cancer; is that right?      8       the question.
        9       A. Yes.                                      9           MS. O'DELL: Would you mind
       10       Q. If you turn to page 216 -- I'm           10       repeating the question, please?
       11   sorry, 1216, second-to-last paragraph before    11            MR. ZELLERS: Sure.
       12   the conclusion: A further limitation of our     12            THE WITNESS: I don't remember
       13   analysis was its inability to account for       13       the question.
       14   nonoccupational risk factors for ovarian        14            MR. ZELLERS: Okay. I'll be
       15   cancer other than age.                          15       happy to repeat it.
       16            Is that identified by the              16   BY MR. ZELLERS:
       17   authors as a limitation?                        17       Q. Dr. Carson, you've looked at
       18       A. Yes, it is.                              18   this Camargo paper; is that right?
       19       Q. Under -- if you go a page back,          19       A. Yes.
       20   1215, under Discussion, in the second           20       Q. In their discussion, they talk
       21   paragraph, the authors talk about other         21   about other research, including research done
       22   studies that have been done in this area,       22   by Edelman; is that right?
       23   including Edelman; is that right?               23       A. Are you at the top of the
       24            MS. O'DELL: If you need to             24   middle column on --


                                                                     42 (Pages 162 to 165)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 44 of 366 PageID:
                                  75399

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 166                                            Page 168
        1       Q. I'm looking under Discussion.             1   BY MR. ZELLERS:
        2       A. Yes.                                      2       Q. -- if your theory is correct?
        3       Q. The first -- well, the second             3            MS. O'DELL: Object to the
        4   paragraph.                                       4       form.
        5       A. Second paragraph, yes.                    5       A. There may have been higher
        6       Q. The magnitude of the pooled               6   rates of ovarian cancers, but you have to
        7   estimate is similar to that reported by          7   also understand that the latency period for
        8   Edelman; is that right?                          8   ovarian cancer is pretty long. It's greater
        9       A. Correct. Correct.                         9   than 20 years, often as long as 40 years.
       10       Q. Then they state: They                    10   And so we're still dealing with cancers that
       11   concluded, however, that despite the positive   11   may have started back in the '70s.
       12   and significant association, there was          12   BY MR. ZELLERS:
       13   insufficient information to infer that          13       Q. Would you agree that exposure
       14   ovarian cancers were caused by occupational     14   to asbestos through a perineal cosmetic talc
       15   exposure to asbestos because of concerns        15   use is different from the heavy occupational
       16   about tumor misclassification, inappropriate    16   exposure that has primarily been researched?
       17   comparison populations and the failure to       17            MS. O'DELL: Objection to form.
       18   take into account for known risk factors.       18       A. Yes. I agree with that.
       19            Did I read that --                     19   BY MR. ZELLERS:
       20       A. You read that correctly.                 20       Q. Are you an expert and
       21       Q. All right. Are women who use             21   knowledgeable about cleavage fragments?
       22   talc perineally at greater risk of              22       A. I'm not.
       23   mesothelioma?                                   23       Q. If I went through a series of
       24       A. I can't say that they are, but           24   questions and asked you to differentiate

                                             Page 167                                            Page 169
        1   they may be.                                     1   between cleavage fragments and asbestos
        2       Q. Wouldn't you expect to find               2   fibers, you would defer that to other
        3   higher rates of other cancers in women using     3   experts?
        4   talc like mesothelioma if they are being         4        A. I would.
        5   exposed to substantial amounts of asbestos?      5        Q. You also claim that the
        6       A. Well, we may -- we may be                 6   presence of carcinogenic metals, including
        7   seeing some mesotheliomas that are               7   chromium, cobalt and nickel in talc, adds to
        8   misclassified as ovarian cancers, or we may      8   its carcinogenicity; is that right?
        9   be seeing mesotheliomas and not relating talc    9        A. That is right.
       10   application as a pertinent contributor to       10        Q. Do you have an opinion or
       11   that case.                                      11   knowledge as to the amounts of chromium,
       12       Q. You told us earlier that you             12   cobalt and nickel, if any, in talc?
       13   thought that there may have been more           13        A. Those metal elements are
       14   asbestos in talcum powders in the 1970s; is     14   included as -- usually as impurities or in
       15   that right?                                     15   very small quantities in some deposits and
       16            MS. O'DELL: Objection to form.         16   are present in small amounts.
       17       A. I think I said there have been           17        Q. Do you have any idea how much
       18   step-wise improvements, and I -- but I agree    18   of these metals, if any, reaches a woman's
       19   with that statement.                            19   ovaries each time they use talc?
       20   BY MR. ZELLERS:                                 20        A. I can't tell you how much, but
       21       Q. Shouldn't we have seen higher            21   I can tell you that some does, and it is --
       22   rates of ovarian cancer in the earlier          22   it remains in the talc until long after it
       23   studies --                                      23   reaches the ovaries.
       24            MS. O'DELL: Object --                  24        Q. Chromium, cobalt and nickel are


                                                                     43 (Pages 166 to 169)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 45 of 366 PageID:
                                  75400

                         Arch I. "Chip"                    Carson, M.D., Ph.D.
                                            Page 170                                               Page 172
        1   natural elements; is that right?                   1   to chromium, cobalt or nickel or any other
        2        A. Yes.                                       2   heavy metal; is that right?
        3        Q. They are naturally in our                  3       A. That is correct.
        4   bodies; is that right?                             4       Q. That answer to that question
        5        A. That's correct.                            5   would be true if I asked you about the
        6        Q. They are present in food,                  6   different fragrance chemicals, correct?
        7   drinking water, bottled water, vitamins; is        7           MS. O'DELL: Object to the
        8   that right?                                        8       form.
        9        A. To some extent.                            9       A. Also true.
       10        Q. Do you have any evidence that             10   BY MR. ZELLERS:
       11   the blood or tissue levels of any trace heavy     11       Q. You did a risk assessment in
       12   metals are higher in genital talc users           12   this matter; is that right?
       13   compared to nonusers?                             13       A. Yes.
       14             MS. O'DELL: Object to the               14       Q. Do you agree that a complete
       15        form.                                        15   and proper risk assessment involves four
       16        A. I do not.                                 16   elements?
       17   BY MR. ZELLERS:                                   17           MS. O'DELL: Object to the
       18        Q. As we discussed when we talked            18       form.
       19   about asbestos, you cannot evaluate the           19       A. Not necessarily.
       20   potential effects of exposure to a substance      20   BY MR. ZELLERS:
       21   without factoring in the amount of exposure;      21       Q. Well, you have to identify a
       22   is that right?                                    22   potential hazard; is that right?
       23             MS. O'DELL: Object to the               23       A. Yes.
       24        form.                                        24       Q. You've got to do some type of

                                            Page 171                                               Page 173
        1       A. It's useful to factor in the               1    dose-response assessment; is that right?
        2   amount if the amount is known. If the amount      2        A. Not necessarily.
        3   is not known, it's not necessarily required       3        Q. You --
        4   to draw conclusions.                              4             MS. O'DELL: Excuse me. If you
        5   BY MR. ZELLERS:                                   5        finished -- if you need to,
        6       Q. In this case, you do not know              6        Dr. Carson, if you're not finished.
        7   the amount, be it chromium, cobalt and/or         7        If you're finished, fine. Sorry.
        8   nickel; is that right?                            8        A. A qualitative risk assessment
        9            MS. O'DELL: Objection to the             9    does not necessarily require a dose-response
       10       form.                                        10    in order to reach valid conclusions.
       11            Excuse me. Dr. Carson, as you           11    BY MR. ZELLERS:
       12       know, is not being offered as a              12        Q. It is not necessary to do a
       13       case-specific expert, so that question       13    dose-response assessment as part of a risk
       14       sounds like a specific patient, and so       14    assessment. Is that your testimony under
       15       I would -- that's my objection.              15    oath?
       16       A. I do not know the amount, but             16        A. It's not always necessary.
       17   my opinion is that any within the                17        Q. Was it necessary in this case?
       18   microenvironment of the inflammatory process     18        A. Well, I think there is an
       19   that is occurring due to talc sequestration      19    aspect of dose-response that was performed in
       20   is contributing to the carcinogenic              20    the risk assessment process here.
       21   potential.                                       21        Q. What dose-response assessment
       22   BY MR. ZELLERS:                                  22    did you make with respect to chromium, cobalt
       23       Q. But you don't know for any                23    and nickel and any other heavy metal?
       24   individual plaintiff their level of exposure     24        A. There's no information


                                                                       44 (Pages 170 to 173)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 46 of 366 PageID:
                                  75401

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 174                                            Page 176
        1    available to do a dose-response estimate for    1   and the metals were there as the baseline
        2    those metals.                                   2   component of the talc formation that they
        3        Q. What information did you rely            3   came from.
        4    or use, if any, to make a dose-response         4   BY MR. ZELLERS:
        5    assessment with respect to any fragrance        5       Q. You do not know the amounts of
        6    chemicals?                                      6   either the heavy metals or the fragrance
        7             MS. O'DELL: Objection, form.           7   chemicals in the talcum powder at issue in
        8        A. There is no information                  8   this case, correct?
        9    available to do a dose-response estimate for    9       A. That's -- that's correct, I
       10    the fragrances.                                10   don't.
       11    BY MR. ZELLERS:                                11       Q. You do not know -- well, strike
       12        Q. Did you do any type of exposure         12   that. I'll withdraw that.
       13    assessment in this case?                       13             You brought with you an IARC
       14             MS. O'DELL: Object to the             14   monograph; is that right?
       15        form, vague.                               15       A. I have a couple of them.
       16        A. I'm not sure exactly what               16       Q. All right.
       17    you're -- what you're asking by exposure       17             MS. O'DELL: Are we going to --
       18    assessment.                                    18       are you going to move to --
       19    BY MR. ZELLERS:                                19             MR. ZELLERS: We can take a
       20        Q. Well, an exposure assessment is         20       break if you'd like.
       21    also part of a risk assessment; is that        21             MS. O'DELL: Yeah, it's been
       22    right?                                         22       about an hour and a half.
       23        A. In this risk assessment, I              23             MR. ZELLERS: Sure.
       24    considered studies that are reported in the    24             THE VIDEOGRAPHER: We're off

                                             Page 175                                            Page 177
        1   scientific and medical literature which have     1       the record 12:32, end of Tape 2.
        2   reported the assessment of exposure in these     2            (Recess taken, 12:32 p.m. to
        3   cases in various forms, and I considered         3       1:38 p m.)
        4   those exposure assessments as being valid as     4            THE VIDEOGRAPHER: We're on the
        5   reported and considered them as a whole.         5       record, 1:38, beginning of Tape 3.
        6       Q. Did you look at any exposure              6   BY MR. ZELLERS:
        7   assessment specific to the alleged heavy         7       Q. Dr. Carson, when we left, we
        8   metals contained in talcum powder?               8   were talking about the trace metals and
        9            MS. O'DELL: Object to the               9   fragrance chemicals in talcum powder,
       10       form.                                       10   correct?
       11       A. No, I did not.                           11       A. Yes.
       12   BY MR. ZELLERS:                                 12       Q. You do not know how much of
       13       Q. Did you look at any exposure             13   these trace metals or fragrance chemicals
       14   assessment with respect to any fragrance        14   reach the ovaries, correct?
       15   chemicals contained within talcum powder?       15       A. I don't know specifically how
       16            MS. O'DELL: Object to the              16   much reaches it, but if I know it's a
       17       form.                                       17   component of the talc, and if I know the talc
       18       A. With respect to the fragrance            18   reaches it, then I know some of the metals
       19   chemicals and the heavy metals, the only        19   and the fragrances reach it.
       20   exposure assessment that I was able to do was   20       Q. You don't know the component or
       21   verify that these things were present in        21   the amount of either the trace metals or the
       22   materials.                                      22   fragrance chemicals in the baby powder,
       23            The fragrances are always              23   correct?
       24   present in whatever form they were added in,    24       A. That's correct.


                                                                     45 (Pages 174 to 177)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 47 of 366 PageID:
                                  75402

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 178                                            Page 180
        1        Q. You do not know the exposure of          1   BY MR. ZELLERS:
        2   any of the women who are plaintiffs in this      2        Q. What -- would you agree that,
        3   litigation to the talcum powder, correct?        3   in general, metals can differ in their
        4             MS. O'DELL: Individual women?          4   toxicity and potential carcinogenicity based
        5             MR. ZELLERS: Yes, individual           5   on their form?
        6        women.                                      6        A. Yes.
        7        A. I don't, no.                             7        Q. Do you know the forms of
        8   BY MR. ZELLERS:                                  8   chromium, nickel and cobalt detected in
        9        Q. You brought with you an IARC             9   cosmetic talc?
       10   monograph, and I think you've got several       10        A. There's -- metal ions are
       11   monographs that are on your literature list;    11   usually incorporated in the mineral lattice,
       12   is that right?                                  12   and so they are part of the magnesium
       13        A. That's correct.                         13   silicate crystal.
       14        Q. Generally, IARC classifies              14        Q. I'm not sure if that answers my
       15   chemicals and agents from Group 1,              15   question, and if it does, I don't understand,
       16   carcinogenic to humans, down to Group 4,        16   so let me ask again.
       17   probably not carcinogenic to humans; is that    17            Do you know the forms, and by
       18   right?                                          18   that I mean valence state, of chromium or
       19        A. That's correct.                         19   nickel or cobalt that have been detected in
       20        Q. Does the classification of a            20   cosmetic talc?
       21   substance as a known probable or possible       21        A. Oh, the valence state?
       22   carcinogen by IARC, and IARC is International   22        Q. Yes, sir.
       23   Agency for Research on Cancer, or by the        23        A. I don't know specifically, but
       24   National Toxicology Program or the U.S.         24   that's dependent on the surrounding structure

                                             Page 179                                            Page 181
        1   Environmental Protection Agency, mean that       1   that the metals are contained in, and metals
        2   the substance can cause all types of cancers     2   can assume a different valence state
        3   in humans by any exposure route?                 3   depending on the redox environment.
        4           MS. O'DELL: Object to the                4        Q. You are not, at least in this
        5       form.                                        5   litigation today, expressing any opinion as
        6       A. No.                                       6   to the valence state of chromium that may be
        7   BY MR. ZELLERS:                                  7   found in cosmetic talc, correct?
        8       Q. There are different cancers               8            MS. O'DELL: Object to the
        9   that may be associated with different            9        form.
       10   chemicals or agents; is that right?             10        A. No, I'm not.
       11       A. And different routes of                  11   BY MR. ZELLERS:
       12   exposure.                                       12        Q. Your second opinion is that the
       13       Q. You can have an agent that is a          13   perineal use of talcum powder results in
       14   carcinogen or a probable or possible            14   direct exposure to the ovaries either via
       15   carcinogen for one type of cancer, but not      15   inhalation or migration through the female
       16   for another type of cancer, correct?            16   reproductive tract; is that right?
       17       A. That's correct.                          17        A. Well, it's primarily through
       18       Q. You can have an agent or a               18   the female reproductive tract. The
       19   chemical that's a carcinogen for one route of   19   inhalation exposure would be a secondary
       20   exposure for a chemical or agent but is not     20   route.
       21   carcinogenic for a different route of           21        Q. Let me ask you a couple of
       22   exposure, correct?                              22   questions about inhalation exposure.
       23           MS. O'DELL: Objection to form.          23            You do not cite any studies in
       24       A. Yes.                                     24   the body of your report evidencing that


                                                                     46 (Pages 178 to 181)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 48 of 366 PageID:
                                  75403

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 182                                              Page 184
        1   talcum powder can reach the ovaries through      1        A. The -- I'm sorry. The Heller
        2   inhalation, correct?                             2   study was talc, which I didn't cite here.
        3            MS. O'DELL: Object to the               3   Halme was a retrograde menstruation study via
        4       form.                                        4   the fallopian tubes, and Sjösten was starch
        5       A. That is correct, although                 5   particles.
        6   there -- yes, that's correct.                    6        Q. The only study -- and this is
        7   BY MR. ZELLERS:                                  7   not one that you cited, but you've now
        8       Q. You have never performed any              8   referred to that involved talc, was Heller;
        9   study yourself pertaining to whether inhaled     9   is that right?
       10   talc can migrate to the ovaries; is that        10        A. Well, it looked at -- it didn't
       11   right?                                          11   look at transport inasmuch as it looked at
       12       A. I have not, although it has              12   the presence of talc particles in the ovaries
       13   been used as an explanation of how talc         13   and found them with or without the history of
       14   particles might have reached the ovaries in     14   talc powder use.
       15   persons who did not have another form of        15        Q. Heller looked at 24 patients;
       16   exposure.                                       16   is that right?
       17       Q. If inhalation is the exposure            17        A. I don't know, but that sounds
       18   path for talc, shouldn't the lungs bear more    18   about right.
       19   of a burden?                                    19        Q. Half of them had a history of
       20       A. Yes.                                     20   using talc products, half did not?
       21       Q. Why, then, isn't there an                21             MS. O'DELL: Object to form.
       22   epidemic of mesothelioma in women who use       22        A. That's correct.
       23   talcum powder?                                  23   BY MR. ZELLERS:
       24       A. Because the primary route is             24        Q. Heller found talc in the

                                            Page 183                                              Page 185
        1   perineal via the reproductive tract.             1   tissues of all 24 patients; is that right?
        2       Q. You discuss that on page 7 of             2       A. That is correct.
        3   your report; is that right?                      3       Q. I believe we covered this
        4       A. Yes.                                      4   before, but just to confirm: There are no
        5       Q. You cite a number of studies              5   published articles that you're aware of that
        6   for the proposition that talc can be             6   show granulomas, fibrosis or adhesions
        7   transported from the perineum to the upper       7   anywhere in the reproductive tract of a woman
        8   reproductive tract and body cavity; is that      8   as a result of external genital talc
        9   right?                                           9   application, correct?
       10       A. That's correct.                          10            MS. O'DELL: Object to the
       11       Q. None of the articles that you            11       form.
       12   cite actually looked at whether talc can        12       A. I believe that's the case,
       13   migrate from perineal application through the   13   although there have been granulomas found in
       14   fallopian tubes to the ovaries, did they?       14   some cases of cancer where they reported
       15       A. Let me just refresh my memory            15   having used talc.
       16   for a moment here. Egli was carbon black.       16   BY MR. ZELLERS:
       17   Venter was radioactive technetium labeled       17       Q. Of the cases or the studies you
       18   albumin. Let me see. Blumenkrantz -- I have     18   cited here, Egli, that involved just three
       19   my notes here.                                  19   women, correct?
       20            Yeah, I can't remember what the        20       A. That was just -- that was an
       21   substance was in Blumenkrantz. Sjösten,         21   experimental study of the transport of carbon
       22   starch -- yeah, Blumenkrantz was retrograde     22   particles.
       23   menstruation. Halme was talc.                   23       Q. The women were in a lithotomy
       24       Q. Which study was talc?                    24   position; is that right?


                                                                     47 (Pages 182 to 185)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 49 of 366 PageID:
                                  75404

                        Arch I. "Chip"                  Carson, M.D., Ph.D.
                                            Page 186                                              Page 188
        1       A. That's correct.                           1   of all these studies -- that they were using
        2       Q. And that means that they had              2   various particles that could be detected at
        3   their legs up in the air, correct?               3   the other end, and so this was an attempt to
        4       A. Correct.                                  4   do an experimental study which would cause no
        5       Q. Those conditions -- well,                 5   harm that would give them an answer regarding
        6   strike that.                                     6   transport through the reproductive tract.
        7            They were injected with                 7       Q. In this study, particles were
        8   oxytocin; is that right?                         8   introduced into the reproductive tract, not
        9       A. It is.                                    9   externally; is that right?
       10       Q. That was to aid in the                   10            MS. O'DELL: Object to the
       11   transport of the particles, correct?            11       form.
       12            MS. O'DELL: Object to the              12       A. That is correct.
       13       form.                                       13   BY MR. ZELLERS:
       14       A. I believe that was the author's          14       Q. Women were given Pitocin to
       15   theory.                                         15   stimulate uterine contractions; is that
       16   BY MR. ZELLERS:                                 16   right?
       17       Q. Those are different                      17       A. That's the same as oxytocin.
       18   circumstances or conditions from a woman who    18       Q. And that's a yes, correct?
       19   would apply a talc to her genital area          19       A. Yes.
       20   standing up, correct?                           20       Q. Again, as with the Egli study,
       21       A. Well, they are, but I'm not              21   the women were inverted in the Trendelenburg
       22   sure that that position is really pertinent     22   position with their head down, legs up when
       23   to the migration of particles through the       23   the particles were administered; is that
       24   reproductive tract.                             24   right?


                                            Page 187                                              Page 189
        1       Q. Is it your pos- -- is it your             1       A. I believe so.
        2   testimony that if a woman is in a lithotomy      2       Q. Is it possible that the
        3   position with their legs up into the air,        3   radionuclides can leach from the particles?
        4   that that is comparable with respect to the      4       A. I don't know the answer to
        5   migration of talc to a woman who's standing      5   that, but it was radioactive technetium that
        6   up and using it in her perineal region?          6   was bound to albumin.
        7       A. It may be.                                7       Q. The Sjösten study that you
        8       Q. Are you an expert on that?                8   cite, that did not use -- involve the
        9       A. I'm not.                                  9   perineal use of talc, but an exam with a
       10       Q. The authors in Egli, they                10   force to the cervix; is that right?
       11   stated it was possible that the study           11       A. Excuse me. An exam with what?
       12   observed false positives due to sample          12       Q. So it involved an exam with
       13   contamination because they failed to use        13   force to the cervix?
       14   liquid or filter blanks as negative controls,   14            MS. O'DELL: Object to the
       15   correct?                                        15       form.
       16       A. I don't recall that, but that            16       A. Well, this was -- this was done
       17   may be the case.                                17   as an experimental study on women who were
       18       Q. You refer to a study by Venter.          18   scheduled to get hysterectomies and they did
       19   That involved a radioactive particulate         19   it on some women one day prior to the
       20   matter, correct?                                20   hysterectomy and another group of women four
       21       A. Yes.                                     21   days prior to the hysterectomy, and they used
       22       Q. Did not involve talc particles,          22   gloves that were powdered with starch and
       23   correct?                                        23   gloves that were not powdered with starch.
       24       A. The point of the study was --            24            And so they had what's called a


                                                                     48 (Pages 186 to 189)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 50 of 366 PageID:
                                  75405

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 190                                            Page 192
        1   Latin square design, and they were able at       1       Q. In fact, in Terry -- well, and
        2   the point of the hysterectomy of taking          2   let me mark it for you so you've got it in
        3   samples of the fallopian tubes and washing       3   front of you.
        4   them to determine whether or not particles       4            THE WITNESS: Okay. I'm going
        5   were found in the tubes.                         5       to move this binder for the time
        6   BY MR. ZELLERS:                                  6       being, if you don't mind.
        7       Q. What they actually found was              7            MR. ZELLERS: Oh, yes, I'll
        8   that, whether the women were examined with       8       hand you the articles that I refer to,
        9   gloves with the starch particles or not, they    9       but if you need it, just pull it out.
       10   found starch particles in both, both groups,    10            THE WITNESS: Thank you.
       11   correct?                                        11            (Carson Deposition Exhibit 19
       12       A. It is true.                              12       marked.)
       13       Q. Tubal ligation, you refer to             13   BY MR. ZELLERS:
       14   tubal ligation and use that or purport to say   14       Q. Deposition Exhibit 19 is the
       15   that that supports your migration theory,       15   2013 Terry meta-analysis that you referred to
       16   correct?                                        16   in your report; is that right?
       17       A. It does.                                 17       A. Yes.
       18       Q. Your testimony is that for               18       Q. That's a pooled analysis of
       19   patients who have had a tubal ligation, that    19   eight studies; is that right?
       20   they are at a lesser risk of the talc -- let    20       A. Yes.
       21   me withdraw that.                               21       Q. Okay. This pooled analysis of
       22            Explain to us very briefly why         22   eight studies relating to genital powder use
       23   you believe that tubal ligation supports your   23   and the risk of ovarian cancer shows no
       24   migration theory.                               24   variation in the risk in talc users based on

                                             Page 191                                            Page 193
        1       A. If the pathway of exposure of             1   whether they had a tubal ligation or
        2   the ovaries that results in ovarian cancer is    2   hysterectomy; is that right?
        3   via the reproductive tract, then tubal           3       A. I think that's the conclusion
        4   ligation, which closes off the fallopian         4   of the authors here, but it's not the
        5   tubes, would interrupt that pathway and          5   conclusion of the individual authors of the
        6   result in reduced exposure; therefore, you       6   studies who did the original investigations.
        7   would expect a reduced incidence of cancer in    7       Q. Well, it is the conclusion of
        8   those women.                                     8   the authors based upon their meta-analysis of
        9       Q. In fact, though, that is not              9   eight studies; is that right?
       10   what has been reported or at least that has     10            MS. O'DELL: Object to the
       11   not been consistently reported in the           11       form.
       12   studies; is that right?                         12       A. Let me just check that.
       13       A. Well, it actually has been a             13            (Document review.)
       14   positive factor in a number of the              14       A. Yes.
       15   epidemiologic studies that have looked at the   15   BY MR. ZELLERS:
       16   ovarian cancer incidence and have been able     16       Q. If you look at pages 819,
       17   to include tubal ligation as a historical       17   carried over to 820, I'm reading: Our
       18   factor in their analysis.                       18   finding of slightly attenuated associations
       19       Q. Did you look at the Terry 2013           19   following exclusion of women with powder
       20   meta-analysis?                                  20   exposure after tubal ligation or hysterectomy
       21       A. Yes.                                     21   are not supportive of this hypothesis, but
       22       Q. You cite that in support of              22   risk estimates in this subgroup analysis may
       23   your positions in this case; is that right?     23   have randomly differed from those including
       24       A. I did.                                   24   all women because of the reduction in sample


                                                                     49 (Pages 190 to 193)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 51 of 366 PageID:
                                  75406

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 194                                            Page 196
        1   size.                                            1            THE WITNESS: Thank you.
        2            Is that right?                          2            MS. O'DELL: Thank you.
        3       A. Yes.                                      3   BY MR. ZELLERS:
        4       Q. Essentially, looking at these             4       Q. This is also a study,
        5   eight studies in this meta-analysis, Terry       5   Exhibit 20, Cramer 2016, that you cite as
        6   did not find that exposure to genital powder     6   supportive of your opinions in this case,
        7   applications that occurred before tubal          7   correct?
        8   ligation or hysterectomy made any substantive    8       A. Correct.
        9   difference in the results; is that right?        9       Q. Cramer actually looked at
       10       A. Yes, but the point is that the           10   whether or not there was any greater
       11   authors didn't find that it did not make a      11   association of talc use and ovarian cancer
       12   difference either. They -- they ended up        12   and whether or not women who had a tubal
       13   with a study with reduced numbers that they     13   ligation or hysterectomy had a reduced
       14   couldn't make determinations about.             14   incidence of the disease; is that correct?
       15       Q. If, though, the migration                15       A. Yes.
       16   theory is correct, you would expect that        16       Q. Turn to page 337, and then it
       17   there would be a reduction in the incidence     17   carries over to 339. They're talking --
       18   of ovarian cancer for women who have had a      18   they, being the authors -- of their results,
       19   tubal ligation or hysterectomy; is that         19   and I'm reading just at the very bottom of
       20   right?                                          20   337, carried over to 339: By test for
       21            MS. O'DELL: Object to the              21   interaction, column 3, the association was
       22       form.                                       22   significantly greater for women who were
       23       A. Yes, that is correct.                    23   African-American, had no personal history of
       24            ///                                    24   breast cancer, had a tubal ligation or

                                             Page 195                                            Page 197
        1   BY MR. ZELLERS:                                  1   hysterectomy.
        2        Q. And that was not found in the            2            Is that right?
        3   Terry meta-analysis that you cite; is that       3            MS. O'DELL: Object to the
        4   right?                                           4       form.
        5            MS. O'DELL: Object to the               5       A. Beginning on page 337?
        6        form.                                       6   BY MR. ZELLERS:
        7        A. That is correct, but it was              7       Q. Yes.
        8   found in the baseline studies that were, in      8       A. I'm sorry, if you could --
        9   part, included in this meta-analysis.            9       Q. Sure. At the very end of 337.
       10   BY MR. ZELLERS:                                 10       A. Okay.
       11        Q. Are you -- you also cite the            11       Q. So they're looking at --
       12   Cramer study, 2016; is that right?              12       A. Oh, by tests for interaction.
       13        A. Yes.                                    13       Q. Yes.
       14        Q. I've got a few questions for            14       A. Yeah.
       15   you on the Cramer study, but let me just ask,   15       Q. So if your migration theory is
       16   since we're at this part right now.             16   correct, you would expect there to be a lower
       17            Do you have the Cramer study?          17   incidence of ovarian cancer in women who have
       18   I'll hand it to you.                            18   had a tubal ligation or hysterectomy,
       19        A. If you have a copy, I'd                 19   correct?
       20   appreciate it.                                  20            MS. O'DELL: Object to the
       21            MR. ZELLERS: Sure. We'll mark          21       form.
       22        the Cramer study as Exhibit 20.            22       A. That is correct.
       23            (Carson Deposition Exhibit 20          23   BY MR. ZELLERS:
       24        marked.)                                   24       Q. All right. Cramer finds by


                                                                     50 (Pages 194 to 197)
                    Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 52 of 366 PageID:
                                  75407

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 198                                             Page 200
        1   test for interaction the association was         1   to talcum powder?
        2   significantly greater for women who -- and       2            MS. O'DELL: Object to the
        3   then I'm skipping African-American, but I'm      3       form.
        4   coming down to -- have a tubal ligation or       4       A. It doesn't -- it doesn't
        5   hysterectomy.                                    5   eliminate exposure, but it does remove
        6             Is that correct?                       6   residual exposure, as does sweating, other
        7        A. Yes.                                     7   body secretions and so forth.
        8        Q. All right. If talcum powder              8   BY MR. ZELLERS:
        9   migrates from the perineal region to the         9       Q. Are you aware of any studies
       10   ovaries, shouldn't exposure to -- exposure to   10   that show inflammation or oxidative stress as
       11   talc be far greater in concentration in the     11   a result of genital talc use in the rectal,
       12   rectal, vulvar, vaginal, cervical and uterine   12   vulvar, vaginal, cervical and uterine
       13   tissues which are closer to the area of         13   tissues?
       14   initial exposure?                               14       A. No, I'm not.
       15             MS. O'DELL: Objection to form.        15       Q. Under your theory or belief
       16        A. Well, the acute exposure would          16   that talcum powder travels from the perineal
       17   be greater.                                     17   region to the ovaries through the woman's
       18   BY MR. ZELLERS:                                 18   reproductive tract, talcum powder must travel
       19        Q. You would expect because the            19   past the labia, through the vagina, through
       20   acute exposure is greater, that there should    20   the cervix, and then to the uterus; is that
       21   be inflammation caused in these organs and      21   right?
       22   areas, correct?                                 22       A. That's correct.
       23        A. No. The inflammation and                23       Q. And then the powder travels
       24   oxidative stress is an ongoing process that     24   through the uterus and into the fallopian

                                            Page 199                                             Page 201
        1   has to develop over time, and it occurs on a     1   tubes to reach the ovaries; is that right?
        2   chronic basis in areas where foreign bodies      2       A. Yes.
        3   locate and reside. And talc and talcum           3       Q. On what studies are you relying
        4   powder are examples of foreign bodies that       4   to say that talcum powder affects the body
        5   have the right characteristics to cause          5   differently when it's applied to the perineal
        6   chemotaxis in reactive oxygen species and        6   region and travels to the cervix compared to
        7   oxidative status.                                7   when it is applied directly to the cervix?
        8       Q. Well, in fact, there would be             8       A. I don't think --
        9   chronic exposure, so if we're dealing with,      9            MS. O'DELL: Object to the
       10   as you described in the very beginning, which   10       form.
       11   you were asked, to look at the habitual use     11       A. -- there is much of a
       12   of talcum powder, that would create exposure    12   difference.
       13   on a chronic basis to the rectal area and       13   BY MR. ZELLERS:
       14   tissues, vulvar, vaginal, cervical and          14       Q. You would expect there to be a
       15   uterine tissues; is that right?                 15   comparable similar result whether talcum
       16            MS. O'DELL: Object to the              16   powder is applied directly to the cervix
       17       form.                                       17   through the use of dusting of a diaphragm as
       18       A. I suspect if one doesn't bathe,          18   there is to the use of talcum powder in the
       19   that would be more of an issue, but most        19   genital areas; is that right?
       20   people bathe regularly as well.                 20       A. That is correct. I think the
       21   BY MR. ZELLERS:                                 21   two differ probably in terms of quantity very
       22       Q. And bathing regularly                    22   significantly. But other than that, they
       23   eliminates any exposure in the rectal,          23   would be the same.
       24   vulvar, vaginal, cervical and uterine tissues   24       Q. When applied to the perineal


                                                                     51 (Pages 198 to 201)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 53 of 366 PageID:
                                  75408

                         Arch I. "Chip"                  Carson, M.D., Ph.D.
                                             Page 202                                             Page 204
        1   region, talcum powder would also be in close      1   about to reconsider that?
        2   contact with a woman's urethra; is that           2       A. Because the chatter is that
        3   right?                                            3   this is something that's on their radar
        4       A. Yes.                                       4   screen currently.
        5       Q. Substances, and in your view,              5       Q. What chatter are you aware of?
        6   talcum powder, are capable of traveling up        6   And what is chatter?
        7   the urethra; is that right?                       7       A. It's discussion among -- within
        8            MS. O'DELL: Object to the                8   the scientific and healthcare community of
        9       form.                                         9   things that are on the drawing board for
       10       A. The urethra has a sphincter               10   IARC.
       11   which prevents transport beyond that point.      11       Q. Do you know whether or not
       12   BY MR. ZELLERS:                                  12   IARC -- well, strike that.
       13       Q. Women get urinary tract                   13             IARC has not changed its
       14   infections when bacteria travels up the          14   position that the migration theory and
       15   urethra; is that right?                          15   evidence for the migration theory is weak; is
       16       A. That's correct.                           16   that right?
       17       Q. Studies, though, do not show an           17             MS. O'DELL: Object to the
       18   increase in bladder cancer with talcum powder    18       form.
       19   use; is that right?                              19       A. They have not changed their
       20       A. I don't believe that talcum               20   position that was published in the 2010
       21   powder transports in any appreciable amount      21   monograph.
       22   up the urethra into the bladder.                 22   BY MR. ZELLERS:
       23       Q. Studies do not show an increase           23       Q. All right. You have heard
       24   in rectal cancer with talcum powder use, do      24   chatter that they may look at it again; is

                                             Page 203                                             Page 205
        1    they?                                            1   that right?
        2         A. No.                                      2       A. Yes.
        3         Q. Are you aware that that IARC --          3       Q. Other than this chatter, you're
        4    and you're familiar with IARC, right?            4   unaware of any other -- well, strike that.
        5         A. Yes.                                     5            You're unaware of any change in
        6         Q. Are you aware that IARC rejects          6   IARC's position with respect to migration,
        7    this migration theory and calls the evidence     7   correct?
        8    weak?                                            8       A. Well, an example of what I'm
        9             MS. O'DELL: Object to the               9   talking about is the Health Canada report,
       10         form.                                      10   which has contradicted what is found in the
       11         A. The IARC has made that                  11   IARC monograph and is more current and
       12    statement in their -- I think the 2006 review   12   considers information that will probably go
       13    that resulted in their recent monograph, but    13   into the next IARC review.
       14    I think they're about to reconsider that.       14            MR. ZELLERS: Move to strike as
       15    BY MR. ZELLERS:                                 15       nonresponsive.
       16         Q. Well, they also have stated             16   BY MR. ZELLERS:
       17    that in 2010; is that right?                    17       Q. Does IARC review and rely on
       18         A. Well, that's the --                     18   draft assessments in formulating their
       19             MS. O'DELL: Object to the              19   positions?
       20         form.                                      20       A. IARC relies on primary studies.
       21         A. That's the monograph from the           21       Q. Not draft assessments, correct?
       22    2006 review.                                    22       A. Well, the draft assessment that
       23    BY MR. ZELLERS:                                 23   I guess you're referring to, the Health
       24         Q. Why do you believe that they're         24   Canada draft assessment, is derived from

                                                                      52 (Pages 202 to 205)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 54 of 366 PageID:
                                  75409

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 206                                             Page 208
        1   primary studies, the same ones that will be      1   is that right?
        2   considered by IARC.                              2        A. That is correct.
        3       Q. All right. As of today, IARC's            3        Q. You are not one of those
        4   published position is that evidence of a         4   physicians, correct?
        5   migration theory of talcum powder migrating      5        A. I don't claim to be a
        6   to the ovaries is weak, correct?                 6   specialist in gynecology.
        7       A. Yes.                                      7        Q. Your third opinion is that the
        8       Q. Have you conducted any tests or           8   ovaries lack an intrinsic elimination system;
        9   experiments with respect to your theory or       9   is that right?
       10   position that talc migrates to the ovaries      10        A. That's correct.
       11   through the reproductive tract?                 11        Q. Is "intrinsic elimination
       12       A. No, I haven't.                           12   system" a recognized term of art that's used
       13       Q. How much talc actually reaches           13   by gynecologists?
       14   the ovaries in your opinion?                    14        A. I don't think so. It was just
       15       A. I can't answer that question             15   the term I used to describe the situation.
       16   because the dose has not been quantified.       16        Q. Is "intrinsic elimination
       17       Q. Does it only reach the ovaries           17   system" a term of art used by oncologists?
       18   during certain times?                           18        A. The same answer.
       19       A. I don't believe so. I think              19        Q. Have you seen published studies
       20   there are many circumstances whereby that       20   that use that term?
       21   migration pathway is functional, and in my      21        A. I don't know. I suspect I
       22   belief, the pathway from the perineum to the    22   could have. It's apparently a small number
       23   cervix is pretty much an open channel, and      23   of ways to describe that in a few words.
       24   then it continues to be open pretty much all    24        Q. You do not cite to any studies

                                            Page 207                                             Page 209
        1   the way into the pelvic cavity.                  1   in the body of your report to support your
        2       Q. You are not a specialist in               2   theory that the ovaries do not have an
        3   women's health issues, correct?                  3   intrinsic elimination system, correct?
        4            MS. O'DELL: Object to the               4       A. That's correct.
        5       form.                                        5       Q. You have not conducted any
        6       A. Well, I'm a doctor. I've                  6   tests to show that exposure to the ovaries to
        7   examined a lot of women.                         7   particulate matter, if any, is longer than
        8   BY MR. ZELLERS:                                  8   exposure to other parts of the female
        9       Q. Are you --                                9   anatomy; is that right?
       10            MS. O'DELL: Excuse me. Are             10             MS. O'DELL: Object to the
       11       you finished, sir?                          11       form.
       12            THE WITNESS: Yes, I'm                  12       A. I have not conducted any such
       13       finished.                                   13   tests.
       14            MS. O'DELL: Okay.                      14   BY MR. ZELLERS:
       15   BY MR. ZELLERS:                                 15       Q. Is the cervix more or less
       16       Q. Are you an expert in the                 16   sensitive to the impact of foreign particles
       17   women's reproductive tract?                     17   than the ovaries?
       18       A. I've taken it apart and put it           18             MS. O'DELL: Object to the
       19   back together again in medical school, and in   19       form.
       20   other settings I've done OB/GYN rotations.      20       A. I think that the important
       21   I've participated in pelvic surgeries. I        21   point is the residence time that exists, and
       22   understand the anatomy.                         22   the cervix is not presented with things for
       23       Q. There are physicians who are             23   an extended time like the ovaries are in
       24   specialists in the female reproductive tract;   24   relation to things like talc. But it is

                                                                    53 (Pages 206 to 209)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 55 of 366 PageID:
                                  75410

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 210                                             Page 212
        1   sensitive.                                       1      A.      Yes.
        2   BY MR. ZELLERS:                                  2             MS. O'DELL: Object to the
        3       Q. All right. Your fourth                    3        form.
        4   theory -- or strike that.                        4   BY MR. ZELLERS:
        5            Your fourth opinion is that the         5        Q. Are you familiar with the term
        6   epidemiological studies show a positive          6   "person-years" as it relates to
        7   relationship between regular perineal            7   epidemiological study?
        8   application of talcum powder and ovarian         8        A. Yes, I am.
        9   cancer; is that right?                           9        Q. What is -- strike that.
       10       A. That's correct.                          10             How are person-years
       11       Q. The studies that you reference           11   calculated?
       12   in this opinion are referred to on pages 6      12        A. They are calculated by -- in
       13   and 7 of your report; is that right?            13   relation to an exposure or to an existing
       14            MS. O'DELL: Object to the              14   treatment, they're calculated by multiplying
       15       form.                                       15   the duration of the treatment or exposure in
       16       A. Most of them, yes.                       16   years by the number of people being studied.
       17   BY MR. ZELLERS:                                 17   And that -- the result is person-years.
       18       Q. You conclude that when                   18        Q. Can you explain the difference
       19   confounding and bias are exhaustively           19   between high-grade serous and low-grade
       20   considered -- and do you believe you've done    20   serous cancer?
       21   that here?                                      21        A. High-grade serous cancer has
       22       A. I am restating what authors of           22   a -- is less differentiated and has a greater
       23   the primary studies have done. I'm              23   propensity for metastasis and invasion.
       24   evaluating the consistency of the evidence,     24        Q. Are you aware that the

                                            Page 211                                             Page 213
        1   not the basic evidence itself.                   1   epidemiological literature shows that these
        2       Q. The apparent cause and effect             2   are very different cancers?
        3   relationship between perineal talcum powder      3       A. They behave quite differently,
        4   use and ovarian cancer amounts to about a 30%    4   yes.
        5   increased risk of ovarian cancer in talcum       5       Q. Do you know what publication
        6   powder users.                                    6   bias is?
        7            Is that your opinion in this            7       A. Yes.
        8   case?                                            8       Q. What is publication bias?
        9       A. It is.                                    9       A. Publication bias is the
       10       Q. And that is your opinion from            10   tendency to -- to spin a certain argument
       11   reviewing the epidemiologic studies that you    11   in -- in order to influence acceptance of
       12   cite in your report?                            12   publications.
       13       A. Yes.                                     13       Q. Is that a recognized issue in
       14       Q. When epidemiologists refer to            14   the field of epidemiology, at least as you've
       15   the statistical power of a study, what are      15   observed?
       16   they referring to?                              16       A. It's a -- it's not necessarily
       17       A. Statistical power refers to the          17   recognized in the field of epidemiology. It
       18   ability of a study design, if carried out, to   18   exists in all scientific endeavors.
       19   detect a signal in the data of a particular     19       Q. Is it something that you and
       20   magnitude.                                      20   other physicians and experts and scientists
       21       Q. In plain English, statistical            21   need to be aware of?
       22   power is the likelihood that a study will       22       A. Yes. I think we're all exposed
       23   detect an effect when there is an effect to     23   to the effects of that and warned about it as
       24   be detected; is that fair?                      24   we go through our careers.

                                                                     54 (Pages 210 to 213)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 56 of 366 PageID:
                                  75411

                        Arch I. "Chip"                  Carson, M.D., Ph.D.
                                            Page 214                                             Page 216
        1       Q. When I asked you early on what            1   been published as well. And I felt that was
        2   your methodology was, you looked at the          2   sufficient to be able to produce this report
        3   published literature, you looked at some         3   that addressed the question I was asked.
        4   websites I think that you told us about          4       Q. As you told us earlier, you
        5   earlier, and then you performed a risk           5   have never published a meta-analysis on any
        6   assessment and considered whether perineal       6   topic; is that right?
        7   use of talc products poses a safety risk to      7       A. That's correct.
        8   consumers; is that right?                        8       Q. You cite to some of the
        9             MS. O'DELL: Object to the              9   available studies on talcum powder use in
       10       form.                                       10   ovarian cancer, but not to all of the
       11       A. Well, that's a gross                     11   studies, correct?
       12   oversimplification of the risk assessment       12            MS. O'DELL: Object to the
       13   process that I performed.                       13       form.
       14             The review of the literature,         14       A. That's true.
       15   which was based on the question that I was      15   BY MR. ZELLERS:
       16   asked to address, was a fairly exhaustive one   16       Q. What was your reasoning for
       17   which incorporated a search for every           17   focusing on certain studies and excluding
       18   pertinent publication that was available and    18   other studies?
       19   included multiple languages.                    19       A. The studies that I referenced
       20             It then was -- proceeded into a       20   were those that had specific aspects that
       21   distillation of the facts that were -- that     21   directly influenced my report or my
       22   were claimed based on those individual          22   conclusions or that I felt were illustrative
       23   studies and investigations, and a comparison    23   of comments I was making in the report, and
       24   of those, one with another, eventually          24   that's why they were referenced.

                                            Page 215                                             Page 217
        1   considering them all as a whole to arrive at     1            All of the studies may not have
        2   conclusions that addressed the question.         2   risen to that -- the level of requiring being
        3   BY MR. ZELLERS:                                  3   referenced, but pretty much all the studies
        4       Q. That was your methodology; is             4   are included in the literature that I
        5   that right?                                      5   reviewed.
        6       A. That is the methodology, yes.             6       Q. You cite in the report the
        7       Q. Did you consider the Bradford             7   studies that were favorable or supportive of
        8   Hill criteria or factors in reaching your        8   your opinions, correct?
        9   conclusions and opinions in this matter?         9       A. Well, I cited a number of
       10       A. That's part of the methodology           10   studies, not all of which were favorable to
       11   which is outlined in my report.                 11   my overall opinions, at least not on the
       12       Q. In analyzing the Bradford Hill           12   surface.
       13   criteria, did you conduct a meta-analysis of    13       Q. Did you cite all of the studies
       14   the available data to reach a conclusion        14   that you believe in one way or another
       15   about the relative risk?                        15   support your opinions in this case?
       16       A. No, I did not.                           16       A. I don't think so.
       17       Q. Why didn't you conduct a                 17       Q. You believe there are
       18   meta-analysis for this case?                    18   additional studies that support your opinions
       19       A. I did not have the time to do a          19   that you did not cite?
       20   meta-analysis in this case, first of all.       20       A. They're in the literature list.
       21   Secondly, there have been a number of other     21       Q. Did you cite the opinions that
       22   meta-analyses performed, and I had those        22   refuted -- strike that.
       23   results available to me in addition to          23            Did you cite the studies that
       24   various reviews of the literature that have     24   refuted your opinions in this matter?


                                                                     55 (Pages 214 to 217)
                Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 57 of 366 PageID:
                                  75412

                         Arch I. "Chip"                  Carson, M.D., Ph.D.
                                             Page 218                                             Page 220
        1         A. I cited some studies that had            1   more detail to be able to answer that
        2    opinions that -- or that had conclusions that    2   specifically.
        3    did not necessarily agree with mine, but I       3        Q. Well, essentially, based upon
        4    don't think they refuted my conclusions.         4   its analysis as of 2014, the FDA concluded
        5         Q. Do you believe the standard for          5   that causation had not been established as
        6    proving causation in the scientific              6   between genital talcum powder use and ovarian
        7    literature is the same one that applies in       7   cancer or an increased risk of ovarian
        8    this litigation?                                 8   cancer, correct?
        9              MS. O'DELL: Object to the              9        A. Well, it said that an updated
       10         form.                                      10   review failed to identify any new compelling
       11         A. I don't know that.                      11   literature data or new scientific evidence.
       12    BY MR. ZELLERS:                                 12   I don't think they indicate here that they
       13         Q. A document you brought here             13   actually did a standard review of that
       14    today was an FDA letter?                        14   literature.
       15         A. Yeah, I think you marked it.            15        Q. Well, take a look, if you will,
       16         Q. I did mark it. Why don't you            16   at page 4. The FDA sets forth its
       17    see if you could find it so I can ask you a     17   epidemiology and etiology findings; is that
       18    couple of questions about it.                   18   right?
       19         A. There it is. That one?                  19        A. Yes.
       20         Q. Yes. Exhibit 10 is an FDA               20        Q. The FDA has a number of very
       21    letter dated April 1st of 2014 to a             21   capable physicians, scientists,
       22    Dr. Epstein; is that right?                     22   toxicologists, pharmacologists and medical
       23         A. Yes.                                    23   professionals; is that right?
       24         Q. That is a document that you             24            MS. O'DELL: Object to the

                                             Page 219                                             Page 221
        1   reviewed and considered as part of your           1        form.
        2   analysis of this case; is that right?             2        A. I don't know if they're still
        3       A. Yes.                                       3   working, but they have good people on staff.
        4       Q. Do you believe that that                   4   BY MR. ZELLERS:
        5   exhibit, Exhibit 10, is supportive of your        5        Q. And just so, a year or two or
        6   opinions in this matter?                          6   three, if this transcript is ever reviewed,
        7       A. I don't think it's very                    7   we are in the midst of a shutdown of at least
        8   supportive. It's -- it's in response to a         8   portions of the government; is that right?
        9   proposal from a citizens voluntary agency to      9        A. That's correct.
       10   provide more stringent labeling on talcum        10        Q. And that is what your comment
       11   powder products, and the agency rejected         11   was directed to, correct?
       12   the -- that petition.                            12        A. That is correct.
       13       Q. The FDA is the regulatory body            13        Q. On page 4 the FDA states:
       14   in the United States that oversees food, drug    14   After consideration of the scientific
       15   and cosmetics; is that right?                    15   literature submitted in support of both
       16            MS. O'DELL: Object to the               16   citizens' petitions, FDA found.
       17       form.                                        17             And then, number 2, that
       18       A. Yes.                                      18   several of the studies acknowledge biases in
       19   BY MR. ZELLERS:                                  19   the study design and no single study has
       20       Q. This letter -- strike that.               20   considered all the factors that potentially
       21            In this letter the FDA goes             21   contribute to ovarian cancer, including
       22   through and analyzes some of the Bradford        22   selection bias and/or uncontrolled
       23   Hill factors; is that right?                     23   confounding that result in spurious positive
       24       A. I'd have to look at this in               24   associations between talc use and ovarian


                                                                      56 (Pages 218 to 221)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 58 of 366 PageID:
                                  75413

                         Arch I. "Chip"                    Carson, M.D., Ph.D.
                                            Page 222                                               Page 224
        1    cancer risk.                                      1       form.
        2             Did I read that correctly?               2       A. That is correct.
        3        A. You did read it correctly.                 3   BY MR. ZELLERS:
        4        Q. Does that appear to be at least            4       Q. You are a paid expert for the
        5    one of the conclusions of the FDA after           5   plaintiffs in this litigation; is that right?
        6    considering the scientific literature as of       6       A. That is correct.
        7    early 2014?                                       7       Q. To your knowledge, the FDA is
        8             MS. O'DELL: Object to the                8   not paid -- well, let me withdraw that.
        9        form.                                         9       A. I wouldn't go out on a limb
       10        A. Yes, that is listed as an FDI             10   there.
       11    finding -- FDA finding.                          11       Q. Number 4, Conclusion 4, a
       12    BY MR. ZELLERS:                                  12   cogent biological mechanism by which talc
       13        Q. The FDA noted that a                      13   might lead to ovarian cancer is lacking.
       14    dose-response -- strike that.                    14   Exposure to talc does not account for all
       15             The FDA noted that                      15   cases of ovarian cancer and there was no
       16    dose-response evidence is lacking; is that       16   scientific consensus on the proportion of
       17    right?                                           17   ovarian cancer cases that may be caused by
       18        A. A dose-response --                        18   talc exposure.
       19        Q. Two things. The FDA notes that            19            Was that a conclusion of the
       20    there's a lack of consistency in the study       20   FDA based upon its review of the
       21    results, correct?                                21   epidemiologic literature?
       22             MS. O'DELL: Where are you               22            MS. O'DELL: Object to the
       23        reading? I'm sorry.                          23       form.
       24             MR. ZELLERS: I'm looking at             24       A. Yes, it was, and it's one that

                                            Page 223                                               Page 225
        1       Conclusion 3.                                  1   I also disagree with.
        2            THE WITNESS: Point 3.                     2   BY MR. ZELLERS:
        3       A. They found that the                         3       Q. IARC also considered the
        4   case-control studies did not demonstrate a         4   Bradford Hill considerations; is that right?
        5   consistent positive association across             5       A. Yes, it did.
        6   studies; although some studies have found          6       Q. IARC rejected classification of
        7   small positive associations between talc and       7   talc as a carcinogenic, instead assigning it
        8   ovarian cancer, but lower confidence limits        8   to the classification of possibly
        9   are often close to 1, and dose-response            9   carcinogenic to humans; is that correct?
       10   evidence is lacking.                              10       A. That's correct.
       11   BY MR. ZELLERS:                                   11       Q. We've already discussed the
       12       Q. That was FDA's conclusion                  12   IARC categories briefly, but let's mark a
       13   number 3 based upon its review of the             13   document from the IARC website as to the
       14   scientific literature; is that right?             14   classifications, Exhibit 21.
       15            MS. O'DELL: Object to the                15            (Carson Deposition Exhibit 21
       16       form.                                         16       marked.)
       17       A. It's correct. It's not a valid             17   BY MR. ZELLERS:
       18   interpretation of the statistical results,        18       Q. Tell me if you recognize that.
       19   but that was one of their findings.               19       A. Yes.
       20   BY MR. ZELLERS:                                   20       Q. Exhibit 21 is from the IARC
       21       Q. Well, that was their finding.              21   website, and it goes through the
       22   You disagree at least in part with their          22   classifications of different agents that have
       23   finding; is that right?                           23   been made by the International Agency for
       24            MS. O'DELL: Object to the                24   Research on Cancer; is that right?

                                                                      57 (Pages 222 to 225)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 59 of 366 PageID:
                                  75414

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 226                                             Page 228
        1       A. Yes, that's correct.                      1             MS. O'DELL: Object to the
        2       Q. It has studied and included 120           2       form.
        3   agents in the Group 1 category, which is         3       A. I think limited evidence also
        4   carcinogenic to humans, correct?                 4   refers to just the number of studies that
        5       A. That's correct.                           5   have been performed as well as the quality of
        6       Q. That's the only category in               6   the studies.
        7   which IARC finds sufficient evidence in          7   BY MR. ZELLERS:
        8   humans, correct?                                 8       Q. Well, based upon the evidence
        9            MS. O'DELL: Object to the               9   that is available, the studies that are
       10       form.                                       10   available, a 2B designation by IARC means
       11       A. That's the category that                 11   that IARC cannot rule out chance, bias or
       12   represents substances for which there is        12   confounding with reasonable confidence,
       13   sufficient and irrefutable evidence of human    13   correct?
       14   carcinogenesis.                                 14             MS. O'DELL: Objection, asked
       15   BY MR. ZELLERS:                                 15       and answered.
       16       Q. It lists 82 agents in Group 2A           16       A. Not always the case.
       17   as being probably carcinogenic to humans; is    17   BY MR. ZELLERS:
       18   that right?                                     18       Q. That's part of the definition,
       19       A. That's correct.                          19   isn't it?
       20       Q. IARC is certainly willing to             20       A. I don't believe it applies to
       21   declare agents as either a known or probable    21   every agent or every evaluation.
       22   carcinogen; is that right?                      22       Q. Well, I'll not take the time to
       23       A. That's correct.                          23   go through the IARC definitions; if we at the
       24       Q. There is only one agent in               24   end of the day have extra time, we'll go back

                                            Page 227                                             Page 229
        1   Group 4, probably not carcinogenic to humans,    1   and we'll take a look.
        2   correct?                                         2           What else is in the Class 2B,
        3       A. Yes. I thought that number had            3   possibly carcinogenic. Ginkgo biloba, is
        4   gone up recently, but the date here is           4   that something you're aware of that's in that
        5   November 2018, so some may have been moved       5   category?
        6   back into Group 3.                               6            MS. O'DELL: Object to the
        7       Q. So out of the over 1,000 agents           7       form.
        8   that IARC has reviewed, it's only placed one     8       A. That's a biological material.
        9   agent in the Group 4 category, probably not      9   BY MR. ZELLERS:
       10   carcinogenic; is that right?                    10       Q. Pickled vegetables?
       11       A. That's correct.                          11       A. That may be in Group 2B.
       12       Q. There is no Group 5, not                 12       Q. Occupational carpentry and
       13   carcinogenic; is that right?                    13   joinery?
       14       A. That's correct.                          14            MS. O'DELL: Objection to form.
       15       Q. With genital talc, IARC                  15       A. That's wood dust exposure.
       16   Group 2B designation -- well, strike that.      16   BY MR. ZELLERS:
       17            Genital talc is listed as an           17       Q. Also 2B; is that right?
       18   IARC Group 2B designated substance; is that     18       A. Wood dust itself is Group 1.
       19   right?                                          19   The occupation is Group 2B.
       20       A. That's correct.                          20       Q. Let me ask you about some
       21       Q. That's based on limited                  21   individual Bradford Hill criteria. On
       22   evidence in humans, which means that IARC       22   page 10 of your report, you state that you
       23   cannot rule out chance, bias or confounding     23   gave the most weight to strength of
       24   with reasonable confidence, correct?            24   association, consistency and biologic

                                                                     58 (Pages 226 to 229)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 60 of 366 PageID:
                                  75415

                         Arch I. "Chip"                     Carson, M.D., Ph.D.
                                             Page 230                                                Page 232
        1    plausibility; is that right?                      1    been failed attempts, but they have been
        2         A. That's correct.                           2    attempts to estimate the quantity of powder
        3         Q. How much weight did you give to           3    that you start with and the amount that
        4    the other six factors?                            4    results in the application to the perineum by
        5         A. Sufficient.                               5    using models and actually doing some
        6         Q. Why did you put less weight on            6    measurements and recording activities.
        7    those?                                            7    BY MR. ZELLERS:
        8         A. Because the strength of                   8        Q. You did not do any modeling or
        9    association, the consistency of the evidence      9    any assessment of the quantity of baby powder
       10    and the biological plausibility of perineal      10    that was involved with daily use; is that
       11    talc, talcum powder application as               11    right?
       12    responsible for the occurrence of ovarian        12        A. No, I relied on those others.
       13    cancer was compelling.                           13        Q. When you say 30% increased
       14         Q. FDA focused on dose, correct?            14    risk, that's a 1.3 odds ratio; is that right?
       15         A. Yes.                                     15        A. That's correct.
       16         Q. You did not; is that right?              16        Q. And that comes largely from the
       17         A. That's right.                            17    case-control studies, correct?
       18         Q. The first Bradford Hill factor           18             MS. O'DELL: Object to the
       19    that you focused on was strength of              19        form.
       20    association.                                     20        A. Yes, but it's also consistent
       21              What association does the              21    with some of the information from the cohort
       22    literature report between talc use and           22    studies.
       23    ovarian cancer?                                  23    BY MR. ZELLERS:
       24         A. Overall, evaluating the                  24        Q. Epidemiologists consider a 1.3

                                             Page 231                                                Page 233
        1   universe of research, epidemiologic research        1   odds ratio in a case-control study to be a
        2   that's been done on this, it shows an average       2   weak or modest association; is that right?
        3   30% increase in ovarian cancer risk for those       3            MS. O'DELL: Object to the
        4   who regularly apply talcum powder to the            4       form.
        5   perineum.                                           5       A. That's correct.
        6       Q. Regular application of talcum                6   BY MR. ZELLERS:
        7   powder means what?                                  7       Q. Where here we're talking only
        8       A. It -- I believe that it means                8   about statistical associations, not
        9   daily or thereabouts.                               9   causation, correct?
       10       Q. In what form of application?                10            MS. O'DELL: Object to the
       11       A. Talcum powder.                              11       form.
       12       Q. In what amount?                             12       A. Well, association eventually
       13       A. Whatever is necessary or                    13   becomes causation when the -- when the
       14   desired by the user.                               14   evidence mounts to a point where it becomes
       15       Q. Does that vary from woman to                15   recognized by all of the players that this is
       16   woman?                                             16   what's going on.
       17       A. It does.                                    17            A 30% increase may be
       18       Q. Did you make any attempt to                 18   classified by epidemiologists as weak or
       19   assess what regular use of talcum powder was?      19   modest, but if you look at the number of
       20            MS. O'DELL: Object to the                 20   women in this country who die each year from
       21       form.                                          21   this fatal disease, that represents about
       22       A. There have been a couple of                 22   3,000 lives that could potentially be saved
       23   attempts to try to quantify what -- what that      23   through prevention.
       24   means. I think for the most part they've           24       Q. There is not a --


                                                                        59 (Pages 230 to 233)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 61 of 366 PageID:
                                  75416

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 234                                            Page 236
        1             MS. BOCKUS: Excuse me, I need          1   epidemiologists are concerned, correct?
        2         to object as nonresponsive.                2            MS. O'DELL: Object to --
        3             MR. ZELLERS: Yes, join.                3       object to the form.
        4    BY MR. ZELLERS:                                 4       A. It's an increased risk that
        5         Q. There is not a consensus at             5   translates into human lives, so it depends on
        6    this time with respect to any causation         6   your point of view.
        7    relating to genital talc and ovarian cancer,    7            MS. BOCKUS: Object to form --
        8    is there?                                       8       I mean, sorry, nonresponsive, move to
        9             MS. O'DELL: Objection to the           9       strike.
       10         form.                                     10            MR. ZELLERS: Join.
       11         A. I believe that that consensus          11            MS. O'DELL: Oppose.
       12    is building.                                   12            DR. THOMPSON: Agreed.
       13    BY MR. ZELLERS:                                13   BY MR. ZELLERS:
       14         Q. FDA -- that's not FDA's                14       Q. The 1.3 relative risk that you
       15    position, correct?                             15   believe generally applies, that would relate
       16             MS. O'DELL: Object to the             16   to epithelial cancers; is that right?
       17         form.                                     17       A. Yes.
       18         A. Not at the moment.                     18       Q. That's what you're limiting
       19    BY MR. ZELLERS:                                19   your opinions to in this case, correct?
       20         Q. That's not the position of the         20            MS. O'DELL: Object to the
       21    National Cancer Institute; is that right?      21       form.
       22         A. That's correct.                        22       A. Well, these opinions relate to
       23         Q. That's not the position of the         23   several of the cancers that have shown
       24    CDC; is that correct?                          24   increases in these background epidemiologic

                                             Page 235                                            Page 237
        1       A. That's correct.                           1   studies, which include the epithelial ovarian
        2       Q. IARC does not refer to any                2   cancers, including the serous; the borderline
        3   association between perineal talc use and        3   cancers are also showing increases in some of
        4   ovarian cancer as a strong association, does     4   the studies. So it's the group of those
        5   it?                                              5   cancers, yes.
        6            MS. O'DELL: Object to the               6   BY MR. ZELLERS:
        7       form.                                        7       Q. The cohort studies, prospective
        8       A. It calls it a Group 2B                    8   cohort studies, have not shown an association
        9   carcinogen, which is fairly significant.         9   between talc and ovarian cancer, correct?
       10   BY MR. ZELLERS:                                 10             MS. O'DELL: Object to the
       11       Q. Well, we discussed a few                 11       form.
       12   minutes ago that if an agent is a Group 2B      12       A. They have in some subtypes.
       13   carcinogen, that is based on limited evidence   13   BY MR. ZELLERS:
       14   in humans; is that right?                       14       Q. There was an initial
       15       A. That's correct.                          15   description with respect to the first Nurses'
       16       Q. All right. Your opinions on              16   study that was not supported in the update of
       17   strength of association, do they apply          17   that study; is that correct?
       18   equally to all forms of ovarian cancer?         18       A. The Nurses' Health Study?
       19       A. No, they don't. These apply to           19       Q. Yes.
       20   the epithelial ovarian cancer spectrum.         20       A. Yes, that's correct.
       21       Q. Your opinions in terms of there          21       Q. Let's look at a different
       22   being a -- well, let me withdraw that.          22   criteria, consistency. The literature does
       23            We've agreed that 1.3 is not a         23   not show a consistent association between
       24   strong association, at least insofar as         24   talc use and ovarian cancer, correct?


                                                                     60 (Pages 234 to 237)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 62 of 366 PageID:
                                  75417

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 238                                             Page 240
        1            MS. O'DELL: Object to the               1   ill patients in the community to healthy
        2       form.                                        2   people in the community, correct?
        3       A. I believe that, in fact,                  3        A. In some cases that might be
        4   research shows -- does show a consistent         4   correct, but I'm not sure that's any -- in
        5   pattern.                                         5   any sort of world an advantage.
        6   BY MR. ZELLERS:                                  6        Q. Well, shouldn't there be
        7       Q. The cohort studies do not show            7   consistency if the Bradford Hill criteria is
        8   an association between talc use and ovarian      8   to be -- well, strike that.
        9   cancer as we just discussed, correct?            9            In applying the Bradford Hill
       10       A. The basic cohort studies that            10   criteria of consistency, there should be
       11   look at all of the subjects and all of the      11   consistency across different types of
       12   cancers together typically do not rise to the   12   studies, cohort studies, hospital-based
       13   level of significance.                          13   case-control studies, and population-based
       14       Q. The hospital-based case-control          14   case-control studies, correct?
       15   studies collectively do not show an             15            MS. O'DELL: Object to the
       16   association between talc use and ovarian        16        form.
       17   cancer, correct?                                17        A. That's correct.
       18       A. I sort of discount the                   18   BY MR. ZELLERS:
       19   distinction between the hospital-based          19        Q. Isn't the absence of an
       20   studies and the community-based studies. I'm    20   association in the cohort studies especially
       21   not sure whether there are valid reasons to     21   significant in that the study design for the
       22   consider those differently.                     22   cohort studies reduces the likelihood of
       23       Q. We've discussed earlier that             23   recall bias?
       24   you are not an epidemiologist; is that right?   24        A. There are many forms of bias

                                            Page 239                                             Page 241
        1             MS. O'DELL: Object to the              1   that study designers need to consider in the
        2        form, misstates his testimony.              2   process of designing a study, and there are
        3        A. I don't think I necessarily              3   even more types of bias that are discovered
        4    agreed to that characterization because I       4   after a study has begun.
        5    deal a lot with epidemiologic work. I'm a       5            You can fault case-control
        6    faculty member in the Department of             6   studies for being particularly sensitive to
        7    Epidemiology at the University of Texas         7   recall bias, but many of these authors who
        8    School of Public Health, and some may           8   perform these studies indicated that they
        9    consider me an epidemiologist.                  9   were well aware of that bias potential and
       10    BY MR. ZELLERS:                                10   took measures to avoid it.
       11        Q. Do you consider yourself an             11            The same thing can be said
       12    expert in epidemiology?                        12   about cohort studies. They suffer from other
       13        A. No.                                     13   forms of bias, misclassification in
       14        Q. Do you agree -- well, do you            14   particular. They may also suffer from the
       15    agree that hospital-based case-control         15   fact that they are extremely expensive, have
       16    studies are less susceptible to selection      16   long duration, and require very large numbers
       17    bias than population-based case-control        17   of subjects in order to carry them out and
       18    studies?                                       18   are frequently underpowered and unable to
       19        A. It depends on the methodology           19   arrive at the conclusions that they seek for
       20    that's used to recruit the study subjects.     20   that reason.
       21        Q. With hospital-based                     21            MR. ZELLERS: Move to strike as
       22    case-controlled studies, you're more likely    22       nonresponsive.
       23    to be comparing hospitalized patients to       23   BY MR. ZELLERS:
       24    hospitalized patients rather than comparing    24       Q. Is it possible that recall bias


                                                                     61 (Pages 238 to 241)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 63 of 366 PageID:
                                  75418

                         Arch I. "Chip"                   Carson, M.D., Ph.D.
                                            Page 242                                              Page 244
        1    explains the difference between the cohort       1   paragraph. Reading from the second full
        2    studies and the retrospective case-control       2   paragraph, the authors discuss the fact that
        3    studies?                                         3   the association between genital talc use and
        4             MS. O'DELL: Object to form,             4   risk of ovarian cancer is present in
        5        asked and answered.                          5   case-control but not in cohort studies, can
        6        A. I don't believe that that is              6   be attributed to bias in the former type of
        7    the case.                                        7   studies; is that right?
        8    BY MR. ZELLERS:                                  8            MS. O'DELL: Object to the
        9        Q. Is it possible?                           9       form.
       10             MS. O'DELL: Objection.                 10       A. That's what it says.
       11        A. Theoretically it would be                11   BY MR. ZELLERS:
       12    possible.                                       12       Q. Then continuing down:
       13    BY MR. ZELLERS:                                 13   Information bias from retrospective
       14        Q. Are you familiar with the                14   self-report of talc use is a possible
       15    Berge -- Berge 2017 study?                      15   explanation for the association detected in
       16        A. Yes.                                     16   case-control studies.
       17        Q. Is that a study that you cite            17            Is that right?
       18    and reviewed and rely on?                       18       A. That's what it says.
       19        A. It was a meta-analysis.                  19       Q. What was your methodology for
       20        Q. Is that a meta-analysis that             20   discounting the effect of recall bias in the
       21    you cite, review and have relied upon?          21   population-based case-control studies?
       22        A. Yes.                                     22       A. The fact that several authors
       23        Q. Take a look, if you will, at             23   discussed the possibility of recall bias and
       24    Exhibit 22.                                     24   incorporated methodology for avoiding recall

                                            Page 243                                              Page 245
        1             (Carson Deposition Exhibit 22           1   bias, for example, placing parallel questions
        2        marked.)                                     2   that should be affected in the same way, and
        3             THE WITNESS: Thank you.                 3   still showed a positive result for talc and
        4             MS. O'DELL: Thank you.                  4   ovarian cancer is one reason.
        5    BY MR. ZELLERS:                                  5            The other has to do with
        6        Q. You're familiar with this                 6   consistency of the results, and although
        7    meta-analysis; is that right?                    7   you've stated that from these various
        8        A. Yes.                                      8   documents, including this quotation, that the
        9        Q. The authors conclude that                 9   case-control studies showed positive
       10    information bias from retrospective             10   associations but the cohort studies did not,
       11    self-report of talc use is a possible           11   I would -- I would refute that by saying that
       12    explanation for the association detected in     12   all of the -- the vast majority of all of the
       13    case-control studies; is that right?            13   studies show a positive odds ratio or
       14             MS. O'DELL: I'm sorry, are you         14   relative risk, even if they don't rise to the
       15        reading from a certain page?                15   level of significance.
       16             MR. ZELLERS: I am.                     16            If these results were obtained
       17             MS. O'DELL: Can you direct it          17   simply by chance, you would expect an equal
       18        to us, please?                              18   number of positive results and negative
       19             THE WITNESS: Could you tell us         19   results, but we don't have that here. We
       20        where that is?                              20   have practically all positive results with
       21             MR. ZELLERS: Sure.                     21   three or four outliers.
       22    BY MR. ZELLERS:                                 22            And so --
       23        Q. Take a look if you will on               23        Q. We looked at the Taher paper
       24    page 6, the right-hand column, third            24   early on in this deposition where Taher


                                                                      62 (Pages 242 to 245)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 64 of 366 PageID:
                                  75419

                        Arch I. "Chip"                  Carson, M.D., Ph.D.
                                            Page 246                                             Page 248
        1   concluded that 15 out of the 30 case-control     1   page.
        2   studies reported a statistically significant     2            MS. O'DELL: Object to the
        3   association between genital talc use and         3       form.
        4   ovarian cancer, correct?                         4   BY MR. ZELLERS:
        5       A. That's correct, but you're                5       Q. Is that the conclusion of the
        6   not -- you're not talking about the other 15.    6   authors?
        7       Q. The hospital-based case-control           7       A. What I'm reading here is on
        8   studies collectively do not show a               8   balance, the epidemiological evidence
        9   statistically significant association between    9   suggests that the use of cosmetic talc in the
       10   talc use and ovarian cancer, correct?           10   perineal area may be associated with ovarian
       11            MS. O'DELL: Object to the              11   cancer risk. The mechanism of
       12       form.                                       12   carcinogenicity may be related to
       13       A. I don't know that that is the            13   inflammation.
       14   case.                                           14       Q. Take a look at the paragraph on
       15   BY MR. ZELLERS:                                 15   the right-hand side under Proposal to
       16       Q. You don't know that it's not             16   Research Community. I'm looking at the
       17   the case; you'd have to go back and relook at   17   second page of the Langseth article.
       18   the studies, fair?                              18            Are you there?
       19       A. I'd have to look through here,           19       A. Yes, I am.
       20   which I'm happy to do if you want me to, but    20       Q. The authors state: The current
       21   I don't believe that that's the case.           21   body of experimental and epidemiological
       22       Q. In fact, the author, you cite            22   evidence is insufficient to establish a
       23   the Langseth paper, a 2008 paper, as            23   causal association between perineal use of
       24   supportive of your position; is that right?     24   talc and ovarian cancer risk.

                                            Page 247                                             Page 249
        1       A. Yes.                                      1             Is that right?
        2       Q. I'll mark that                            2             MS. O'DELL: Object to the
        3   Deposition Exhibit 23.                           3        form.
        4       A. I think it was 2004, was it               4        A. That's what it says.
        5   not?                                             5   BY MR. ZELLERS:
        6       Q. Well, I'm going to hand it to             6        Q. Experimental research is needed
        7   you and we can look at it together.              7   to better characterize deposition, retention
        8            (Carson Deposition Exhibit 23           8   and clearance of talc to evaluate the ovarian
        9       marked.)                                     9   carcinogenicity of talc.
       10       A. Okay.                                    10             Is that what the authors state?
       11   BY MR. ZELLERS:                                 11        A. Well, that's what it says, but
       12       Q. You're familiar with the                 12   it says much more. In fact, the editors of
       13   Langseth paper; is that right?                  13   the journal, in the section on the next page
       14       A. Yes.                                     14   that is titled What This Study Adds, say:
       15            (Comments off the stenographic         15   Epidemiological evidence suggests that the
       16       record.)                                    16   use of cosmetic talc in the perineal area may
       17   BY MR. ZELLERS:                                 17   be associated with ovarian cancer risk. The
       18       Q. Langseth and the authors                 18   IARC has classified this use of talc as
       19   concluded that the current body of              19   possibly carcinogenic to human beings,
       20   experimental and epidemiological evidence is    20   Group 2B. The mechanism of carcinogenicity
       21   insufficient to establish a causal              21   may be related to inflammation. This paper
       22   association between perineal use of talc and    22   focused on the high degree of consistency in
       23   ovarian cancer risk; is that right?             23   the studies accomplished so far and what
       24            And I'm looking at the second          24   should be the focus in future studies.


                                                                     63 (Pages 246 to 249)
                Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 65 of 366 PageID:
                                  75420

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 250                                            Page 252
        1            So I --                                 1   doesn't happen.
        2       Q. And then the conclusion is what           2       Q. Is it your testimony that the
        3   I read, that: The current body of                3   cohort studies relating to genital talc use
        4   experimental and epidemiological evidence is     4   and ovarian cancer are spinning the roulette
        5   insufficient to establish a causal               5   wheel?
        6   association between perineal use of talc and     6            MS. O'DELL: Object to the
        7   ovarian cancer risk.                             7       form.
        8            Correct?                                8       A. In terms of the power of the
        9            MS. O'DELL: Object to the               9   studies to detect a meaningful difference
       10       form.                                       10   among the subjects, yes.
       11       A. That is what it says, but this           11   BY MR. ZELLERS:
       12   was accepted in 2007, which was now 12 years    12       Q. That's your testimony as an
       13   ago.                                            13   expert in this case; is that right?
       14   BY MR. ZELLERS:                                 14       A. It is my testimony that cohort
       15       Q. Let me ask you about the cohort          15   studies, including these, are chronic -- or
       16   studies. They involved a much greater number    16   quite often underpowered simply because of
       17   of women than the case-controlled studies; is   17   the expense associated with performing these
       18   that right?                                     18   studies.
       19            MS. O'DELL: Object to the              19       Q. What analysis did you do to
       20       form.                                       20   conclude that the cohort studies in this
       21       A. Well, they did not involve more          21   area, the four cohort studies, are
       22   cases, but they involved more women because     22   underpowered?
       23   in order to do a cohort study, you have to      23       A. Like I just mentioned to you, I
       24   start with a huge group of people and wait      24   read the studies and looked at their

                                             Page 251                                            Page 253
        1   for them to develop cancers, and then count      1   conclusions, and their conclusions were not
        2   those cancers.                                   2   that the effect didn't exist, but they
        3   BY MR. ZELLERS:                                  3   couldn't detect it.
        4       Q. What was your methodology for             4             MR. ZELLERS: Let's go off the
        5   weighing the power of the cohort studies         5        record because we need to change our
        6   versus the case-control studies?                 6        tape.
        7       A. The cohort studies, it wasn't             7             THE VIDEOGRAPHER: We're off
        8   apparent in every research report exactly how    8        the record at 3:06, end of Tape 3.
        9   they had done their sample size calculations     9             (Recess taken, 3:06 p m. to
       10   and power determinations, but in many cases     10        3:19 p m.)
       11   the lack of arriving at conclusions was         11             THE VIDEOGRAPHER: We're on the
       12   simply due to an inability to detect an         12        record at 3:19, beginning of Tape 4.
       13   effect in the cohort studies, not that they     13   BY MR. ZELLERS:
       14   detected that there was not an effect. And      14        Q. Dr. Carson, you are not a
       15   that's unfortunately a disadvantage of an       15   statistician, correct?
       16   underpowered study.                             16        A. That's correct.
       17       Q. Is it your testimony that the            17        Q. You are not a biostatistician;
       18   cohort studies are underpowered?                18   is that right?
       19       A. I think by and large most                19        A. That's right.
       20   cohort studies are underpowered and --          20        Q. Do you agree that some of the
       21   because power calculations are based on         21   case-control studies have shown statistically
       22   chance. Investigators are sort of spinning      22   significant findings and others have not?
       23   the roulette wheel and hoping that the number   23        A. I do agree that.
       24   that they want comes up. In some cases that     24        Q. If a study does not show a


                                                                     64 (Pages 250 to 253)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 66 of 366 PageID:
                                  75421

                        Arch I. "Chip"                  Carson, M.D., Ph.D.
                                            Page 254                                             Page 256
        1   statistically significant association, it        1   front of you?
        2   could mean that no risk exists, as we've         2        A. I do.
        3   discussed; is that right?                        3             I would also add that the
        4        A. That's correct.                          4   Penninkilampi meta-analysis also found a
        5        Q. What methodology did you use to          5   dose-response.
        6   weigh the lack of statistical significance       6        Q. Do you mention Penninkilampi at
        7   across studies?                                  7   all in your report?
        8            MS. O'DELL: Object to the               8        A. It's cited.
        9        form.                                       9        Q. In the body of your report?
       10        A. Across all of the case-control          10        A. I think it's in there
       11   studies?                                        11   somewhere.
       12   BY MR. ZELLERS:                                 12        Q. You believe it is; is that
       13        Q. Yes.                                    13   right?
       14        A. I simply treated them as                14        A. I do.
       15   isolated research designs that were done on     15        Q. Well, I'll ask you a couple of
       16   different populations in different places       16   questions about it then.
       17   with different considerations. They were not    17             Before I do, let's talk a
       18   necessarily comparable, like apples to apples   18   little bit more about your report. So go to
       19   or oranges to oranges; they were very           19   page 7. You state at the very top of that
       20   different studies in most cases, and so I       20   page that it has been difficult to estimate
       21   felt it was important to allow their findings   21   dose in order to evaluate the dose-response
       22   to stand on their own.                          22   relationship for ovarian cancer; is that
       23        Q. I want to talk to you about             23   right?
       24   dose-response. That's another of the            24        A. That's correct.

                                            Page 255                                             Page 257
        1   Bradford Hill criteria; is that right?           1       Q. You state that it also has been
        2       A. That's correct.                           2   difficult to exactly estimate the quantity of
        3       Q. Which studies show a                      3   talcum powder administration during personal
        4   dose-response, talc exposure and ovarian         4   hygiene activities; is that right?
        5   cancer?                                          5       A. That's correct.
        6       A. Let me see here. I'm looking              6       Q. Let's look at a couple of the
        7   at my notes. The Harlow study from 1992          7   studies that you believe do, in fact, show a
        8   showed a dose-response, and the Cramer 2016      8   dose-response. The Penninkilampi, that's a
        9   study showed a dose trend with strong odds       9   meta-analysis, 2018; is that right?
       10   ratios for premenopausal women and hormone      10       A. That's correct.
       11   therapy-treated women with greater than         11       Q. That study does not consider or
       12   24 years of exposure.                           12   include the Gertic 2010 cohort study; is that
       13            The Schildkraut study, also a          13   right?
       14   case-controlled study of 2016, showed a         14       A. I -- I'd have to look at the
       15   dose-response.                                  15   table, but yes, that one may be left out.
       16       Q. There are a number of studies            16       Q. Well, that's a significant
       17   that did not show a dose-response; is that      17   study to leave out of an analysis, isn't it?
       18   right?                                          18            MS. O'DELL: Object to the
       19       A. It's correct. They did not               19       form.
       20   necessarily show there was not a                20            THE WITNESS: I'm getting
       21   dose-response. They just, as I was              21       there.
       22   mentioning before, were unable to detect a      22            (Document review.)
       23   dose-response.                                  23            THE WITNESS: Apologies, I have
       24       Q. Do you have your report in               24       binder block here.


                                                                     65 (Pages 254 to 257)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 67 of 366 PageID:
                                  75422

                         Arch I. "Chip"                  Carson, M.D., Ph.D.
                                             Page 258                                             Page 260
        1            MS. O'DELL: You need help?               1       Q. This is my highlighted copy, so
        2            THE WITNESS: Okay.                       2   I'm sure it wasn't yours.
        3   BY MR. ZELLERS:                                   3       A. I'm sorry.
        4       Q. And I misspoke. I meant to                 4       Q. That's all right. We'll --
        5   refer to Gates, the updated Nurses' study.        5   take your time.
        6   So Gates 2010.                                    6       A. Here we are.
        7       A. Yes, it appears that Gates is              7       Q. Got it, Exhibit 20?
        8   not included in the -- in the spectrum of         8       A. I think so.
        9   studies considering; the Gertic study does        9       Q. Do you have the Cramer study in
       10   appear.                                          10   front of you?
       11       Q. Gates 2010 is an important                11       A. I do.
       12   cohort study in this area, would you agree?      12       Q. It's a retrospective
       13            MS. O'DELL: Object to the               13   case-control study published in 2016; is that
       14       form.                                        14   right?
       15       A. It's important, but I think it            15       A. That's correct.
       16   may be considered one of the ones that           16       Q. If we look at the table of
       17   suffered from power issues. It wasn't able       17   results on page 337, Table 1.
       18   to determine a relative risk in the              18            Do you see that?
       19   population that it assessed.                     19       A. Yes.
       20   BY MR. ZELLERS:                                  20       Q. This table shows the risk of
       21       Q. There are a number of the                 21   ovarian cancer for women who use talc, talcum
       22   case-control studies that did not determine a    22   powder, daily; is that right?
       23   relative risk, at least of statistical           23            MS. O'DELL: Object to the
       24   significance, correct?                           24       form.

                                             Page 259                                             Page 261
        1        A. Well, they determined odds                1        A. It does.
        2    ratios, which is the equivalent of relative      2   BY MR. ZELLERS:
        3    risk for a case-control study.                   3        Q. And it's four different periods
        4        Q. And in a number of those                  4   of time; one year, one to five years, five to
        5    case-control studies, at least 15 out of the     5   20 years and more than 20 years; is that
        6    30 relative risk was not -- or strike that --    6   right?
        7    statistical significance was not achieved in     7        A. That's correct.
        8    the study; is that right?                        8        Q. There was only statistical
        9              MS. O'DELL: Object to the              9   significance found for the time period of one
       10        form.                                       10   to five years of use and more than 20 years
       11        A. That's correct.                          11   of use; is that right?
       12    BY MR. ZELLERS:                                 12        A. For the first group, the -- for
       13        Q. Let's look at the Cramer paper.          13   those who reported months year of use --
       14    We've talked about this earlier.                14   months per year of use.
       15        A. Which one, the 2016?                     15        Q. Well, for the first group,
       16        Q. Exhibit 20, yes, 2016.                   16   which was equivalent to one year of daily
       17        A. Okay.                                    17   use, there was no statistical significance;
       18        Q. This is another study that you           18   is that right?
       19    cite as being supportive of your                19             MS. O'DELL: Object to the
       20    dose-response opinion; is that right?           20        form.
       21        A. Yes.                                     21        A. That -- well, the -- there was
       22        Q. Tell me when you have it.                22   a positive odds ratio with a nonsignificant
       23        A. I think you may have picked up           23   95% confidence interval.
       24    my copy or the copy that I was looking at.      24             ///


                                                                      66 (Pages 258 to 261)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 68 of 366 PageID:
                                  75423

                         Arch I. "Chip"                     Carson, M.D., Ph.D.
                                             Page 262                                                Page 264
        1   BY MR. ZELLERS:                                    1    dirty, and it doesn't always work out quite
        2        Q. Meaning that if you look at                2    that cleanly.
        3   this study, that it is certainly possible          3    BY MR. ZELLERS:
        4   that because there is not statistical              4        Q. All right. Do you -- well, let
        5   significance, there could be a finding of no       5    me withdraw that.
        6   risk, correct, no increased risk?                  6             Confounding. You considered
        7        A. That's a possibility.                      7    and talk about confounding as another one of
        8        Q. Then if we go to the next                  8    the Bradford Hill criteria; is that right?
        9   period, we do show a dose-response for talcum      9             MS. O'DELL: Object to the
       10   powder use in the year -- years one to five;      10        form.
       11   is that right?                                    11        A. Confounding, by that you mean
       12        A. Well, one to five years of                12    specificity?
       13   daily use, yes.                                   13    BY MR. ZELLERS:
       14        Q. But then when we look at five             14        Q. Well, I thought your -- I
       15   to 20 years of daily use, there is not a          15    thought you said in your methodology that you
       16   statistically significant association; is         16    applied the Bradford Hill criteria.
       17   that right?                                       17        A. That's correct.
       18        A. That's correct.                           18        Q. Is confound -- strike that.
       19        Q. But then when we go to greater            19             Is confounding an issue in
       20   than 20 years, we do find a statistical           20    interpreting epidemiologic studies?
       21   association; is that right?                       21        A. Yes.
       22        A. That's correct.                           22        Q. Do you agree that there is
       23        Q. If, in fact, there was a true             23    confounding in these studies?
       24   dose-response relationship, you would expect      24        A. I'm sure there's confounding in

                                             Page 263                                                Page 265
        1   to see that dose-response relationship in           1   these studies.
        2   each of these groups; is that right?                2       Q. You're familiar with that term,
        3            MS. O'DELL: Object to the                  3   right?
        4       form.                                           4       A. Yes.
        5       A. It's more like we see in the                 5       Q. That's where the presence of
        6   group directly below that, where you start          6   another association confuses the relationship
        7   out with an odds ratio which is not                 7   between the exposure and the disease being
        8   significant but positive, and then reach a          8   studied; is that right?
        9   significant odds ratio at one to five years         9       A. That's correct.
       10   of daily use and a higher amount of                10       Q. For example, if you're studying
       11   significance with five to 20 years of daily        11   the association between coffee and pancreatic
       12   use, and still a significant odds ratio,           12   cancer, you need to be mindful of whether
       13   which is about the same level, at greater          13   cigarette smoking is more common in coffee
       14   than 20 years of daily use.                        14   drinkers than the rest of the population,
       15   BY MR. ZELLERS:                                    15   fair?
       16       Q. Is that a yes to my question,               16       A. Yes.
       17   that if you do have a true dose-response           17       Q. Coffee -- or strike that.
       18   relationship, you would expect to see that         18            Cigarette smoking could be a
       19   dose-response continue throughout each of the      19   confounder in that situation?
       20   periods?                                           20       A. Possible.
       21            MS. O'DELL: Object to the                 21       Q. Because if more coffee drinkers
       22       form.                                          22   are smokers than non-coffee drinkers, an
       23       A. Well, it would be nice if you               23   association between coffee drinking and
       24   did that, but epidemiologic data is very           24   pancreatic cancer might be due to the


                                                                        67 (Pages 262 to 265)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 69 of 366 PageID:
                                  75424

                         Arch I. "Chip"                  Carson, M.D., Ph.D.
                                            Page 266                                              Page 268
        1   smoking, not the coffee drinking; fair?          1   not controlled for in any of the talc/ovarian
        2       A. That would be a good                      2   cancer studies, were they?
        3   description of confounding.                      3        A. Not that I'm aware of.
        4       Q. Confounding can distort results           4        Q. Are you aware that studies that
        5   in epidemiological studies; is that right?       5   show a relationship between talc and ovarian
        6       A. It can.                                   6   cancer did not account for confounders?
        7       Q. Do you agree that residual                7        A. I think it's possible that many
        8   confounding is possible in every                 8   of those studies did not account for all
        9   observational study?                             9   potential confounders, but they made attempts
       10       A. Yes, I think there's some form           10   to.
       11   of confounding that's present in every          11        Q. For example, Terry 2013, we
       12   observational study.                            12   talked about that earlier; is that right?
       13       Q. It's possible that unmeasured            13        A. Yes.
       14   confounders may be present in every             14        Q. Terry 2013, that meta-analysis
       15   observational study; is that right?             15   did not adjust for hormone replacement
       16       A. That's correct. Not just                 16   therapy usage, correct?
       17   unmeasured confounders, but unrecognized        17        A. Yes.
       18   confounders.                                    18        Q. If hormone replacement therapy
       19       Q. It's impossible to say that all          19   is a risk factor for ovarian cancer, then the
       20   known and unknown confounding factors have      20   Terry 2013 meta-analysis did not account for
       21   been controlled for in any given study; is      21   that potential confounding factor, correct?
       22   that right?                                     22             MS. O'DELL: Object to the
       23       A. I also agree with that.                  23        form.
       24       Q. Many new factors possibly                24        A. Correct.

                                            Page 267                                              Page 269
        1   involved in ovarian cancer risk are just         1   BY MR. ZELLERS:
        2   being published in the literature, correct?      2       Q. You cannot say whether the odds
        3           MS. O'DELL: Object to the                3   ratio of the Terry 2013 study would have been
        4       form.                                        4   lower if the authors had adjusted for hormone
        5       A. I believe that is true.                   5   replacement therapy usage, correct?
        6   BY MR. ZELLERS:                                  6       A. I cannot say that. Yes.
        7       Q. For example, history of                   7       Q. Recall bias. You're familiar
        8   chlamydia infection, have you read about that    8   with recall bias?
        9   possibly being involved in ovarian cancer        9       A. I am.
       10   risk?                                           10       Q. That is also a concern in every
       11       A. I haven't read that                      11   retrospective study, correct?
       12   specifically. I was thinking more about the     12       A. Yes.
       13   new information regarding genetic               13       Q. Recall bias can distort a
       14   susceptibilities.                               14   scientific evaluation of whether an exposure
       15       Q. Also, weight gain during                 15   is actually related to a disease; is that
       16   adolescence, is that another relatively new     16   right?
       17   possible ovarian cancer risk factor?            17       A. Yes, it can.
       18           MS. O'DELL: Object to the               18       Q. For example, recall bias could
       19       form.                                       19   distort results if women with ovarian cancer
       20       A. It is, but obesity has been              20   were more likely to remember their exposure
       21   recognized as a cofactor for many years.        21   to talc than women without ovarian cancer; is
       22   BY MR. ZELLERS:                                 22   that right?
       23       Q. History of chlamydia infection,          23             MS. O'DELL: Object to the
       24   weight gain during adolescence, those were      24       form.


                                                                     68 (Pages 266 to 269)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 70 of 366 PageID:
                                  75425

                         Arch I. "Chip"                     Carson, M.D., Ph.D.
                                             Page 270                                                Page 272
        1       A. That's correct.                              1   publicity from lawsuits might influence the
        2   BY MR. ZELLERS:                                     2   participants' recall of prior body powder
        3       Q. The effects of recall bias can               3   use; is that right?
        4   be very real; is that right?                        4        A. This was a recent study, so
        5            MS. O'DELL: Object to the                  5   that was more likely.
        6       form.                                           6        Q. If you look on page 2,
        7       A. I'm not sure what you mean by                7   right-hand side, last paragraph that starts
        8   very real.                                          8   "Covariates include."
        9   BY MR. ZELLERS:                                     9            Do you see that?
       10       Q. Well, let's look at one of the              10        A. Yes.
       11   studies that you cite. You cited the               11        Q. And I'm reading about
       12   Schildkraut study in your report and you           12   two-thirds of the way down: Two class action
       13   referred to it a bit earlier as supporting         13   lawsuits were filed in 2014 concerning
       14   dose-response; is that right?                      14   possible carcinogenic effects of body powder
       15       A. Yes.                                        15   which may have influenced recall of use;
       16       Q. That's a study by Schildkraut               16   therefore, year of interview 2014 or later,
       17   and others titled Association Between Body         17   yes/no, was concluded as a covariate in the
       18   Powder Use and Ovarian Cancer, the                 18   logistic regression models.
       19   African-American Cancer Epidemiologic -- or        19            Is that correct?
       20   Epidemiology Study.                                20        A. That's correct.
       21            Is that right?                            21        Q. So go to page 4, Table 2. This
       22       A. Yes.                                        22   is the adjusted odds ratio for the
       23       Q. I've got it here for you.                   23   associations between mode, frequency and
       24       A. Okay.                                       24   duration of body powder use in ovarian

                                             Page 271                                                Page 273
        1            (Carson Deposition Exhibit 24             1    cancer; is that right?
        2        marked.)                                      2        A. Yes.
        3   BY MR. ZELLERS:                                    3        Q. The second column shows the
        4        Q. Deposition Exhibit 24 is the               4    number of cases, and that would be women with
        5   Schildkraut study, 2016, correct?                  5    ovarian cancer; is that right?
        6            (Pause.)                                  6        A. That's correct.
        7   BY MR. ZELLERS:                                    7        Q. The third column shows the
        8        Q. Did you say correct?                       8    controls; that's the women who do not have
        9        A. I think I did. I'm sorry.                  9    ovarian cancer, correct?
       10        Q. That's all right. I may have              10        A. Yes.
       11   missed it.                                        11        Q. Looking at this data before
       12            Exhibit 24 is the Schildkraut            12    2014, before the lawsuits, the percentage of
       13   2016 study; is that right?                        13    controls, meaning women without ovarian
       14        A. Yes.                                      14    cancer, said they used talc on their genitals
       15        Q. This is one of the studies that           15    was 34%; is that right?
       16   you cite to and that you relied on in forming     16            So those are women who were
       17   your opinions; is that right?                     17    interviewed before 2014.
       18        A. Yes.                                      18        A. Yes. Any genital use controls,
       19        Q. The study looked at, among                19    34%.
       20   other things, what impact, if any, lawsuit        20        Q. And the controls, again, are
       21   filings in 2014 had on whether women recalled     21    women without ovarian cancer.
       22   using talc in the past, correct?                  22        A. That's correct.
       23        A. I believe so.                             23        Q. The percentage of cases,
       24        Q. The authors thought that the              24    meaning women with ovarian cancer, that were


                                                                        69 (Pages 270 to 273)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 71 of 366 PageID:
                                  75426

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 274                                            Page 276
        1   interviewed before 2014 that said they used      1   BY MR. ZELLERS:
        2   talc on their genitals was 36.5%; is that        2       Q. In this study, lawsuit filings
        3   right?                                           3   appears to have affected how many women with
        4       A. That's correct.                           4   ovarian cancer remembered using talc on their
        5       Q. So roughly the same reporting             5   genitals but basically had no effect on the
        6   of genital talc use between women with and       6   memory of women without ovarian cancer; is
        7   without ovarian cancer occurred for those        7   that right?
        8   women interviewed before the lawsuits were       8             MS. O'DELL: Object to the
        9   filed; is that right?                            9       form.
       10       A. That's correct.                          10       A. You can't say that this is --
       11       Q. Then look at what happened               11   this demonstrates recall bias. It could.
       12   after the lawsuits were filed in 2014. For      12   BY MR. ZELLERS:
       13   women interviewed after 2014, the percent of    13       Q. These findings could be an
       14   women without ovarian cancer that said they     14   example of the potential effect of recall
       15   used talc on their genitals was 34.4%; is       15   bias; is that right?
       16   that right?                                     16             MS. O'DELL: Object to the
       17       A. That's correct.                          17       form.
       18       Q. So based on this data, the               18       A. That is correct.
       19   lawsuits had essentially no effect on how       19   BY MR. ZELLERS:
       20   many of the women without ovarian cancer, the   20       Q. So pre-2014 there was an odds
       21   controls, remembered or recalled using baby     21   ratio of 1.19 with the confidence interval
       22   powder; is that right?                          22   ranging from .87 to -- strike that --
       23       A. Well, the percentage is the              23   from .87 to 1.63, so there is not statistical
       24   same in both cases.                             24   significance pre-2014; is that right?


                                             Page 275                                            Page 277
        1       Q. It went from 34% to 34.4%; is             1       A. Probably not.
        2   that right?                                      2       Q. If the study had been
        3       A. That's correct.                           3   terminated as of 2014, prior to the lawsuits
        4       Q. For women with ovarian cancer,            4   being filed, then the results of the study
        5   before the lawsuits were filed, 36.5% of them    5   would have been that genital talc use was not
        6   said they recalled using baby powder; is that    6   statistically significantly associated with
        7   right?                                           7   an increased risk of ovarian cancer; is that
        8       A. That's right.                             8   right?
        9       Q. But after the lawsuits were               9            MS. O'DELL: Object to the
       10   filed, the percent of women with ovarian        10       form.
       11   cancer who said they used baby powder went up   11       A. Yes.
       12   to 51.5%; is that right?                        12   BY MR. ZELLERS:
       13       A. That is also correct.                    13       Q. Did you make an attempt to
       14       Q. Is that a significant increase           14   account for this potential recall bias in
       15   from 36.5%?                                     15   weighing the Schildkraut study?
       16       A. I don't know, but it seems like          16       A. The authors did that for me by
       17   it might be.                                    17   including the period of the interview as a
       18       Q. So after the lawsuits were               18   cofactor in the logistic regression models.
       19   filed, the percent of women with ovarian        19   It accounts for this difference that you see
       20   cancer who said they used baby powder jumped    20   on the table.
       21   significantly; is that right?                   21       Q. You do agree there was no
       22            MS. O'DELL: Object to the              22   statistically significant finding of an odds
       23       form.                                       23   ratio prior to 2014, the data collected
       24       A. Well, that's -- that is true.            24   through that time; is that right?


                                                                     70 (Pages 274 to 277)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 72 of 366 PageID:
                                  75427

                        Arch I. "Chip"                  Carson, M.D., Ph.D.
                                            Page 278                                              Page 280
        1        A. In the -- in the data collected          1   factors -- or latency periods for a number of
        2   on those -- let me see here. In the data         2   different types of cancers and tumors based
        3   collected on those 351 cases and                 3   on the incidence data and what is known about
        4   corresponding controls, there was not a          4   the natural progression of those tumors over
        5   significant odds ratio.                          5   time.
        6        Q. I want to go back and ask you a          6            I can't recall at the moment
        7   few questions about some of the things I had     7   exactly where I determined the latency period
        8   talked to you before about.                      8   for ovarian cancer to be between 20 and
        9            In terms of this chatter about          9   40 years.
       10   IARC, who has told you this?                    10            We do have a paper that's
       11        A. There are a number of                   11   referenced here that discusses the
       12   environmental websites and -- that also         12   determination of latency periods and includes
       13   operate on social media that discuss this       13   ovarian cancer as one of the tumors that it
       14   kind of thing.                                  14   determines a latency period for, and it uses
       15        Q. So there's social media                 15   a mathematical formula with various factors
       16   websites that have talked about at least the    16   plugged into it to calculate that.
       17   possibility of IARC revisiting the issue?       17            In that particular article, the
       18        A. Yes, among many other things.           18   latency factor -- period was very long. I
       19        Q. I asked you earlier about               19   think it was 44 years on the average.
       20   cornstarch, and you believe that cornstarch     20       Q. You do not have personal
       21   is rapidly cleared from the body, including     21   expertise in terms of the latency period for
       22   the ovaries; is that right?                     22   ovarian cancer, correct?
       23            MS. O'DELL: Object to the              23       A. I have -- I've calculated
       24        form.                                      24   latency periods as an exercise when I was in

                                            Page 279                                              Page 281
        1       A. Yes.                                      1   graduate school, but that's not something I
        2   BY MR. ZELLERS:                                  2   normally do. I usually defer to the -- those
        3       Q. What is the mechanism by which            3   who have published latency periods for that
        4   you believe that cornstarch is rapidly           4   information.
        5   cleared from the body, including the ovaries?    5       Q. You are recalling that at least
        6       A. It's primarily composed of                6   in some of the study or studies that you've
        7   carbohydrate with a small amount of              7   reviewed that the latency period for ovarian
        8   structural material, probably cellulose, and     8   cancer is 20 to 40 years, correct?
        9   those materials are broken down in body          9        A. Yes.
       10   fluids fairly rapidly and dissolved and         10       Q. Are you able to tell us which
       11   become part of the general milieu of the        11   study or studies you're relying on for that
       12   body.                                           12   information?
       13       Q. Does cornstarch create                   13       A. I'd have to go through my list
       14   inflammation in the body?                       14   to find it. Do you mind if I take a moment
       15       A. Yes.                                     15   to do that?
       16       Q. You testified that the latency           16       Q. Define "a moment."
       17   period for ovarian cancer is between 20 and     17       A. Well, however long it takes me
       18   40 years; is that right?                        18   to find it in that list, but --
       19       A. Roughly, yes.                            19       Q. Let me see if I can shortcut
       20       Q. What is the basis for you                20   it.
       21   saying that?                                    21            Do you believe that the latency
       22       A. There are a number of factors            22   period for ovarian cancer is something you've
       23   that influence that, but there are              23   written out in one of your handwritten notes?
       24   organizations that have determined latency      24       A. I don't believe so.


                                                                     71 (Pages 278 to 281)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 73 of 366 PageID:
                                  75428

                           Arch I. "Chip"                Carson, M.D., Ph.D.
                                              Page 282                                            Page 284
        1          Q.   It would be -- where would it         1             MS. BOCKUS: If you want to
        2    be?                                              2        pass me your microphone, I think I can
        3              MS. O'DELL: If you need a              3        stay here. I'm not going to pass him
        4        moment to review either your report or       4        that many exhibits.
        5        your materials list, you know --             5             MR. ZELLERS: I'm happy to help
        6              THE WITNESS: I don't believe           6        you.
        7        that particular piece of information         7             MS. BOCKUS: Thank you.
        8        is in my report, but it's -- I think I       8               EXAMINATION
        9        could come up with it fairly quickly         9   BY MS. BOCKUS:
       10        if I --                                     10        Q. Dr. Carson, my name is Jane
       11    BY MR. ZELLERS:                                 11   Bockus. I'm not certain I actually
       12        Q. All right. Go ahead. Find for            12   introduced myself to you this morning, but I
       13    us the study or studies you're relying on for   13   represent Imerys in this litigation.
       14    the latency period of ovarian cancer.           14             Do you understand that?
       15        A. Okay. If I'm lucky, I may hit            15        A. I do.
       16    on it here.                                     16        Q. Before Mr. Abney contacted you
       17              (Document review.)                    17   about preparing a report that would explain
       18        A. It's the Diana Nadler and Igor           18   the relationship between regular perineal use
       19    Zurbenko paper Estimating Cancer Latency        19   of talc based on personal hygiene products
       20    Times Using the Weibull Model.                  20   and subsequent development of ovarian cancer,
       21    BY MR. ZELLERS:                                 21   is that anything that you had researched
       22        Q. You're looking at Exhibit 4,             22   before that date?
       23    your literature list; is that right?            23             MS. O'DELL: Object to the
       24        A. Yes.                                     24        form.

                                              Page 283                                            Page 285
        1        Q. What page of Exhibit 4 are you            1       A. I don't think Mr. Abney --
        2   looking at?                                       2   well, he may have been that detailed in our
        3        A. Page 17 in the Ns.                        3   discussion. But in response to your
        4        Q. Are you finished?                         4   question, that's not a specific question I
        5        A. There may be others in the                5   had researched in the past, although I had
        6   list, but you asked me to cite one. You want      6   researched related kinds of issues.
        7   me to continue looking?                           7   BY MS. BOCKUS:
        8        Q. No, I -- that is sufficient for           8       Q. So would it be fair to say that
        9   my purposes. Thank you.                           9   the opinions contained in your report are all
       10             Dr. Carson, there have been            10   opinions that you have come to as a result of
       11   some studies where talc particles had been       11   doing the research at the request of
       12   observed or reported in the ovaries of women     12   Mr. Abney and others in the plaintiffs'
       13   who have had perineal talc use; is that          13   lawyer group?
       14   right?                                           14           MS. O'DELL: Object to the
       15        A. Yes.                                     15       form.
       16        Q. Heller was one of the studies            16       A. Yes.
       17   that we talked about, correct?                   17   BY MS. BOCKUS:
       18        A. Correct.                                 18       Q. Okay. And I'm going to
       19        Q. In those studies, there has not          19   apologize right now. I'll be jumping around
       20   been inflammation noted; is that right?          20   because most of my outline has already been
       21        A. No, there -- that's not been an          21   covered, so let me just get you to look at
       22   important finding.                               22   your report, if I could, and I'm going to ask
       23             MR. ZELLERS: I have no further         23   you some questions about it.
       24        questions for you.                          24           Turn to page 4, and


                                                                      72 (Pages 282 to 285)
                   Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 74 of 366 PageID:
                                  75429

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 286                                             Page 288
        1   paragraph (b), the first sentence reads:         1        A. No.
        2   Numerous studies have examined the               2        Q. And then going on, you talk
        3   cancer-causing characteristics of talc.          3   about the fact that there in that same
        4            Do you see that?                        4   paragraph, if you go down, you talk about
        5       A. Yes.                                      5   IARC and the fact that IARC concluded that
        6       Q. And you identified Wilde as               6   talcum powder use by women for feminine
        7   your source for that statement, correct?         7   hygiene is a possible human carcinogen;
        8       A. That is correct.                          8   that's not a classification of talc as a
        9       Q. Isn't it correct that the Wild            9   carcinogen, correct?
       10   study actually exonerated talc as having        10            MS. O'DELL: Object to the
       11   cancer-causing characteristics?                 11        form.
       12       A. That was a conclusion of the             12        A. It is within the spectrum of
       13   author, but the reason it's cited there is      13   carcinogens.
       14   because that's an example of the                14   BY MS. BOCKUS:
       15   investigation of the relationship.              15        Q. It's possible.
       16       Q. Okay. But in that study,                 16        A. That's correct.
       17   they -- he concluded that talc alone did not    17        Q. And then you say that --
       18   cause cancer, correct?                          18   meaning that there is insufficient evidence
       19       A. As I recall, that was the                19   of carcinogenesis in humans, but strong
       20   general conclusion, yes.                        20   evidence in other mammalian species.
       21       Q. Okay. Then in the next couple            21            Can you tell me where in IARC
       22   of sentences, you say that talc has caused      22   it says that there is strong evidence that
       23   cancer when implanted in various tissues and    23   talc causes ovarian cancer in other mammalian
       24   under the skin in laboratory animals. It        24   species?

                                             Page 287                                             Page 289
        1   causes inflammation and fibrotic reaction,       1        A. I think the issue is not
        2   including the chemotaxis of inflammatory         2   specifically ovarian cancer; the issue is
        3   immune cells and accelerated growth and          3   cancer. And that's the point of view of
        4   division of cells in the involved tissue.        4   IARC, and that's what's alluded to here.
        5             And you cite Okada 2007 for            5        Q. So this is the one exhibit I'm
        6   that proposition; is that correct?               6   going to hand you, if I can get that one
        7        A. That's correct.                          7   marked by my assistant.
        8        Q. But Okada wasn't even looking            8             MR. ZELLERS: Exhibit 25.
        9   at talc, was it?                                 9             (Carson Deposition Exhibit 25
       10        A. Let me see here. Okada was              10        marked.)
       11   looking at inflammation as -- as the endpoint   11             MS. O'DELL: This is a page out
       12   in the various components of inflammation       12        of the monograph?
       13   which I talked about here, the chemotaxis of    13             MS. BOCKUS: Yes.
       14   inflammatory immune cells, accelerated growth   14             MS. O'DELL: Are you going to
       15   division in the involved tissues.               15        identify it?
       16        Q. But what you say is that talc           16             MS. BOCKUS: And he can look it
       17   causes. When you say "it," you're referring     17        up in his whole monograph. I just
       18   to talc, correct? It causes inflammation and    18        pulled the page for simplicity.
       19   fibrotic reaction; isn't that what you're       19             MS. O'DELL: So feel free to do
       20   saying in this sentence?                        20        that, Doctor.
       21        A. It is talc, yes.                        21             MS. BOCKUS: Yes, page 412.
       22        Q. Okay. And yet, Okada, the               22   BY MS. BOCKUS:
       23   study that you cite for that proposition,       23        Q. So looking at Exhibit 25, this
       24   doesn't look at talc at all, does it?           24   is a page from the IARC monograph where it


                                                                     73 (Pages 286 to 289)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 75 of 366 PageID:
                                  75430

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 290                                             Page 292
        1    talks about the data -- the evidence that       1   black, titanium dioxide and talc.
        2    they have and the evidence that they            2            So regarding talc, the overall
        3    reviewed.                                       3   point of view here is whether or not it
        4             Do you see that?                       4   produces cancer, not just ovarian cancer, not
        5        A. That's correct.                          5   just lung cancer, but any cancer.
        6        Q. And what they actually state             6            And so I'm not sure that that
        7    with regard to experimental evidence is that    7   responds to your question.
        8    there is limited evidence in experimental       8   BY MS. BOCKUS:
        9    animals for the carcinogenicity of talc not     9        Q. No. My question was: You
       10    containing asbestos or asbestiform fibers.     10   state in your report that IARC found strong
       11             Correct?                              11   evidence in animals, and I want to know where
       12             MS. O'DELL: Object to the             12   you believe that statement occurs in the IARC
       13        form.                                      13   monograph, or do you know?
       14    BY MS. BOCKUS:                                 14            MS. O'DELL: And if you need a
       15        Q. Did I read it incorrectly?              15        minute to look, feel free to do that.
       16        A. No, I just lost you for a               16        A. Well, I can say that it might
       17    moment.                                        17   take me a while to look for it, but I can say
       18        Q. It's one sentence. Go ahead             18   that that's the basic definition of Group 2B,
       19    and take your time and read it.                19   is limited evidence in humans and compelling
       20        A. Yes, I agree with that. They            20   evidence in animals or other --
       21    found that inhaled talc, which does not        21   BY MS. BOCKUS:
       22    contain asbestos or asbestiform fibers, is     22        Q. Tell me where you're looking at
       23    Group 3.                                       23   that definition of 2B.
       24        Q. That wasn't my question. I'm            24        A. Let me see here.

                                             Page 291                                             Page 293
        1   talking about experimental animals because       1       Q.    We earlier marked the...
        2   that's what -- you state in your report that     2            Exhibit 21, I think.
        3   IARC found strong evidence in animals, and       3       A. Well, I have this other
        4   yet the part of IARC that I know of where        4   exhibit, which is the preamble from another
        5   they're addressing the animal data with          5   situation; it's Exhibit P-346, and...
        6   regard to talc is what I handed you in           6       Q. Well, let me just ask a
        7   Section 6.2, and it states there's limited       7   different question, rather than looking at
        8   evidence, correct?                               8   the preamble.
        9             MS. O'DELL: Objection.                 9       A. All right.
       10        A. It states that there's limited          10       Q. Because that's kind of
       11   evidence -- I need to find this section in      11   overarching.
       12   the monograph. Just bear with me for a          12       A. It is.
       13   moment. It's page 412?                          13       Q. To know what IARC found with
       14             (Document review.)                    14   regard to talc and the evidence in animal
       15        A. Okay. I seem to be missing              15   models, wouldn't it be more appropriate to
       16   that part of the monograph.                     16   look at what they actually said about talc in
       17             MS. O'DELL: Do you have the 93        17   the animal studies?
       18        monograph?                                 18       A. Yes.
       19             THE WITNESS: Where's the --           19            MS. O'DELL: Objection, form.
       20        this is 100C, and this is 93. Okay.        20       A. I would agree that that's the
       21        Here it is. All right. Okay.               21   case.
       22        A. Okay. The entire monograph is           22   BY MS. BOCKUS:
       23   designed to evaluate carcinogenic risk, and     23       Q. And to your knowledge, nowhere
       24   it looks at three different species, carbon     24   did they find strong evidence of

                                                                     74 (Pages 290 to 293)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 76 of 366 PageID:
                                  75431

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 294                                             Page 296
        1   cancer-causing potential of talc in animal       1       misstates the evidence.
        2   studies, correct?                                2       A. I believe that was their
        3            MS. O'DELL: Objection to form.          3   assumption.
        4       A. Well -- well, it says on that             4   BY MS. BOCKUS:
        5   page there's limited evidence in experimental    5       Q. Okay. The studies that you
        6   animals, so I'll agree that at least in this     6   reference in support of the notion that
        7   location it does not say strong evidence.        7   asbestos in -- that may or may not exist in
        8   BY MS. BOCKUS:                                   8   body powder contributes to cause ovarian
        9       Q. And without going through the             9   cancer, none of the studies that you cite to
       10   entire monograph, you don't know where that     10   have referenced an application of a product
       11   language came from, is that fair, that you      11   to the perineum of the women and girls study,
       12   used in your report?                            12   correct?
       13            MS. O'DELL: Object. Excuse             13            MS. O'DELL: Object to the
       14       me. Object to the form. I think he          14       form.
       15       was pointing -- directing you to the        15            THE WITNESS: I have a -- I
       16       preamble and you withdrew your              16       apologize greatly, but I lost the
       17       question, but --                            17       track. Could you repeat that
       18            MS. BOCKUS: Well, let me just          18       question.
       19       ask a qualifying question.                  19            MS. BOCKUS: That's totally
       20   BY MS. BOCKUS:                                  20       understandable because it was a little
       21       Q. Does the preamble in any way             21       bit convoluted.
       22   address their findings with regards to talc?    22            MS. O'DELL: Do you mind if we
       23       A. No, the preamble addresses the           23       get the realtime running again? We're
       24   methodology that's used by the IARC agency in   24       just off track here.

                                            Page 295                                             Page 297
        1   addressing all the substances that they          1            MS. BOCKUS: That's okay.
        2   evaluate.                                        2   BY MS. BOCKUS:
        3       Q. Okay.                                     3       Q. I'm looking on page 5. Do you
        4       A. And that's usually where I pull           4   see on page 5 of your report, sir,
        5   things like that.                                5   paragraph (c)?
        6            MS. O'DELL: Are you finished,           6       A. Yes.
        7       Doctor?                                      7       Q. And there you cite one, two,
        8            THE WITNESS: Unless I'm going           8   three, four, five, six, seven, eight, nine,
        9       to continue to search for this.              9   10, 11, 12 studies, correct?
       10   BY MS. BOCKUS:                                  10       A. Yes.
       11       Q. I don't need for you to look in          11       Q. Do you speak Italian?
       12   the preamble, because I'm really only           12       A. I can read it pretty well.
       13   interested in their findings as to talc, not    13       Q. Is that what you did for the
       14   their overarching methodology, that sort of     14   Bertolotti study?
       15   thing.                                          15       A. The Bertolotti study. Yes, I
       16       A. Okay. But it's important to              16   read most of it. I may have kibitzed with
       17   point out that this particular monograph is     17   some of my colleagues about the meaning of a
       18   an evaluation of the carcinogenicity of talc    18   few words.
       19   that does not contain asbestos or asbestiform   19       Q. At any rate, all of these
       20   fibers, so --                                   20   studies have to do with heavy occupational
       21       Q. Correct. Which was, from their           21   exposure to asbestos, correct?
       22   view, the talc that was included in all of      22            MS. O'DELL: Object to the
       23   the studies that they reviewed, correct?        23       form.
       24            MS. O'DELL: Objection,                 24       A. Yes.


                                                                     75 (Pages 294 to 297)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 77 of 366 PageID:
                                  75432

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 298                                             Page 300
        1   BY MS. BOCKUS:                                   1   microenvironment, and based on what we know
        2        Q. And you don't have any                   2   about the mechanism of action of talc as well
        3   information how the dose of asbestos to which    3   and even asbestos, they're all similar, and
        4   these women were exposed during their heavy      4   for that reason would be expected to be
        5   occupational exposure compares to any            5   additive.
        6   exposure to asbestos from the use of body        6       Q. But the study hasn't been done
        7   powder, correct?                                 7   even in a petri dish, has it?
        8        A. Well, I think these were not             8            MS. O'DELL: Object to the
        9   all occupational exposures, but I do not have    9       form.
       10   information regarding things like the route     10       A. I don't know if there's
       11   of exposure, no.                                11   something in progress or not, but that's the
       12        Q. Do you have any information             12   kind of study that is currently being looked
       13   regarding the dose?                             13   at. Combined exposures is the -- sort of the
       14        A. No, I don't.                            14   hallmark of research these days in
       15        Q. Do you have any information             15   toxicology.
       16   that would compare the dose of asbestos to      16   BY MS. BOCKUS:
       17   which the women in these studies were           17       Q. Do you know of anyone who's
       18   exposed --                                      18   looking at that question?
       19        A. Well, in some of the studies --         19       A. I don't.
       20        Q. Wait, I haven't finished my             20       Q. Okay. Have any of the heavy
       21   question.                                       21   metals that you have identified been
       22        A. Sorry.                                  22   identified as carcinogenic to the ovary by
       23        Q. -- to any alleged dose of               23   IARC?
       24   asbestos in body powder?                        24       A. No.


                                             Page 299                                             Page 301
        1            Can you make any comparison             1       Q. I want you to turn to page 7
        2   whatsoever to the amount of asbestos to which    2   now, if you would, please, on other evidence.
        3   these women were exposed to any exposure by      3   And you've talked about this paragraph a fair
        4   any woman who has used a Johnson & Johnson       4   amount already, and I don't want to repeat
        5   body powder?                                     5   any of the prior questions.
        6            MS. O'DELL: Object to the               6             But I want to ask you about the
        7        form.                                       7   statement in that first sentence, where you
        8        A. I don't think I'm able to make           8   say that transport of talc-containing
        9   that kind of comparison.                         9   materials from the perineum to the upper
       10   BY MS. BOCKUS:                                  10   reproductive tract and body cavities has been
       11        Q. Okay. There are ways to study           11   shown to occur with startling regularity.
       12   whether two toxins combined increase a risk     12   And I want to stop right there.
       13   more than exposure to a single toxin, whether   13             If I recall your testimony
       14   it -- whether one offsets the risk of one of    14   correctly, none of these studies even look at
       15   the toxins or whether you add them together,    15   the transport of talc-containing materials
       16   even multiply them together, right?             16   from the perineum to the upper reproductive
       17        A. Yes.                                    17   tract; isn't that correct?
       18        Q. Has any such study ever been            18            MS. O'DELL: Object to the
       19   done with regard to talc and the heavy metals   19       form.
       20   that you identify in your report?               20       A. Well, it is true that most of
       21        A. Not specifically a study to             21   the research that's been done in this area
       22   look at the combined contribution, but we       22   has been done on materials that have been
       23   know a lot about the mechanism of action of     23   instilled into the vagina or the posterior
       24   the metals in particular in the                 24   fornix, but I think and it's my opinion that


                                                                     76 (Pages 298 to 301)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 78 of 366 PageID:
                                  75433

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 302                                            Page 304
        1   application to the perineum is equivalent to     1   those studies that you list here done in
        2   that.                                            2   women who were standing up?
        3       Q. Do you have an opinion as to              3       A. The studies that I list in
        4   what percentage of the talcum powder applied     4   other evidence?
        5   in a daily dusting to the perineum makes its     5       Q. Yes.
        6   way to the vagina?                               6       A. I think not.
        7       A. No, I don't know.                         7       Q. In fact, were any of them done
        8       Q. Do you have an opinion as to              8   in women who were inclined with their head
        9   what percentage of the talc that, in your        9   elevated over their hips?
       10   opinion, would make its way to the vagina       10       A. No.
       11   would actually make its way to the cervix?      11       Q. So my question is: Where do
       12       A. I don't know that either.                12   you get the term "startling regularity" with
       13       Q. And out of the talc that makes           13   regard to the transport of talc from outside
       14   its way to the cervix, what percentage makes    14   a woman's body to the upper reproductive
       15   it past the cervix into the uterus?             15   tract?
       16       A. That, I don't know either.               16            MS. O'DELL: Object to the
       17       Q. Do you have any reason to                17       form.
       18   believe that talc would migrate with more       18       A. The propensity of evidence of
       19   frequency or rapidity than sperm?               19   rapid transport of particulate material
       20             MS. O'DELL: Objection to form.        20   regarding -- regardless of its composition.
       21       A. No, I don't have reason to               21   BY MS. BOCKUS:
       22   believe that would be the case.                 22       Q. Particulate material inserted
       23   BY MS. BOCKUS:                                  23   well into a woman's vagina whose hips are
       24       Q. Would you agree, in fact, that           24   above her head, correct?

                                             Page 303                                            Page 305
        1   it is unlikely that talc, an inert particle,     1             MS. O'DELL: Objection to form.
        2   would travel as quickly or in the same           2        A. Well, we have other studies
        3   percentages as sperm through the reproductive    3   too. We have the powdered glove examination
        4   tract?                                           4   studies, things of that nature, that are a
        5             MS. O'DELL: Object to the              5   little bit different.
        6        form.                                       6   BY MS. BOCKUS:
        7        A. I think the transport time is            7        Q. And you believe they support
        8   roughly the same for any particulate matter,     8   your conclusion that talc is transported from
        9   including sperm.                                 9   the perineum to the upper reproductive tract
       10   BY MS. BOCKUS:                                  10   with startling regularity?
       11        Q. Do you have any studies to              11        A. I think that's a valid
       12   support that opinion?                           12   conclusion supported by the evidence, yes.
       13        A. Well, we know -- we know the --         13        Q. I'm turning to page 8 now, and
       14   we know the velocity of motile sperm; it's      14   the number that you have here -- and you've
       15   very slow. And we have studies that have        15   repeated it a couple of times today -- about
       16   shown the progression of particles through      16   your opinion that the elimination of talc as
       17   the fallopian tubes at at least that fast a     17   a risk could result in over 3,000 lives saved
       18   rate, possibly faster.                          18   in the U.S. each year.
       19             And so the motility of sperm is       19             How did you come to that
       20   slower than the rate at which it passes         20   conclusion?
       21   through the female reproductive system, so      21        A. Well, I'm referring to talcum
       22   there are obviously other mechanisms at play    22   powder here --
       23   other than sperm motility.                      23        Q. Okay. Sure.
       24        Q. To your knowledge, were any of          24        A. -- which is the complete


                                                                     77 (Pages 302 to 305)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 79 of 366 PageID:
                                  75434

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 306                                             Page 308
        1   product.                                         1        A. There may not have been use of
        2            I came to that conclusion based         2   talcum powder in all those women, that's
        3   on the number of new cases of ovarian cancer     3   correct.
        4   that are diagnosed in the United States each     4        Q. Do you have any notion as to
        5   year and the number of ovarian cancer deaths     5   what percent of those women may have used
        6   that occur each year.                            6   talcum powder?
        7            And essentially, of 21,000 or           7        A. Based on these various studies,
        8   so cases of -- new cases of ovarian cancer,      8   it seems to vary between 30 and 60%. It's
        9   there are corresponding 14,000 or more deaths    9   more so in the U.S., Australia and the U.K.
       10   each year, so that's a two-thirds fatality      10        Q. Do you have an opinion as to
       11   rate if you look over time.                     11   how regularly a women needs to use talcum
       12            The -- at 30% increase in the          12   powder before her risk of ovarian cancer is
       13   risk of -- or a 30% increase in the risk of     13   increased by 30%?
       14   cancer applied in reverse, that is reducing     14        A. Well, based on the epidemiology
       15   those -- that 30% increased risk from the use   15   studies, that risk occurs in the population
       16   of perineal application of talcum powder        16   in general from ever use as opposed to never
       17   could result in the prevention of as many as    17   use, and so it would depend on the individual
       18   3,000 lives, depending on the prevalence of     18   woman.
       19   use.                                            19            Each person has an individual
       20       Q. Would that calculation require           20   susceptibility and individual characteristics
       21   that 100% of the women in the U.S. be using     21   and would probably have an individual use
       22   talcum powder on a daily basis?                 22   pattern. So I couldn't say for any
       23       A. It would require a hundred               23   individual woman.
       24   percent of the women in the U.S. to stop        24        Q. And that's not what I'm asking

                                             Page 307                                             Page 309
        1   using talcum powder on a daily basis.            1   for. I'm really asking for in general,
        2       Q. That wasn't my question.                  2   because that's what epidemiology is, correct?
        3            In order to attribute --                3   It's not talking about an individual woman,
        4       A. Well, my answer to your                   4   right?
        5   question then is no.                             5        A. That's correct, it's describing
        6       Q. In order to attribute 30% of              6   it in the population.
        7   all ovarian cancer deaths to the use of          7        Q. So in the population, in the
        8   talcum powder -- let me back up.                 8   studies that you've reviewed, what is the
        9            The data that you have that             9   minimum number of days per month, or however
       10   you've cited is talking about the percentage    10   you want to describe it, that a woman would
       11   of women -- the percentage of women who use     11   need to use talcum powder before she would be
       12   talcum powder who are diagnosed with ovarian    12   included in the group that you believe have a
       13   cancer, correct?                                13   30% increased risk of ovarian cancer?
       14            MS. O'DELL: Object to the              14             MS. O'DELL: Object to the
       15        form.                                      15        form.
       16       A. It is the total number of new            16        A. The only qualifier that I've
       17   diagnoses per year.                             17   been able to come up with and that I've used
       18   BY MS. BOCKUS:                                  18   in this report is the regular use of talcum
       19        Q. Okay.                                   19   powder.
       20       A. I think last year was                    20   BY MS. BOCKUS:
       21   22,000-something.                               21        Q. Okay.
       22       Q. But that number, 22,000, 100%            22        A. And that is going to vary over
       23   of those women did not use talcum powder,       23   a broad range. It would be periodically
       24   correct?                                        24   daily to several times a week would be


                                                                     78 (Pages 306 to 309)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 80 of 366 PageID:
                                  75435

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 310                                             Page 312
        1   regular use.                                     1   no threshold of exposure for risk; that we
        2       Q. And over how many years must a            2   are -- we are right to use a zero threshold
        3   woman use talcum powder on a regular basis       3   approach until we know more about the
        4   before her risk of ovarian cancer is             4   possibility of a threshold below which
        5   increased to 30% --                              5   exposure would be safe. At the current time
        6            MS. O'DELL: Object to the               6   we don't have that information.
        7       form.                                        7       Q. Do you believe that there
        8   BY MS. BOCKUS:                                   8   probably is a threshold below which use is
        9       Q. -- in your opinion?                       9   safe?
       10            MS. BOCKUS: Sorry.                     10       A. In the carcinogenic process,
       11       A. Some of the studies have                 11   which we haven't really talked about in this
       12   focused on usage periods as short as one        12   session today, there is an insult to a cell
       13   year, but most have studied longer periods of   13   which affects the genetic material, the DNA.
       14   use and separated use into things like          14   And there are built-in repair mechanisms that
       15   decades or accumulated total person-years       15   the cell has for fixing that problem that
       16   based on reports of the women, multiplying      16   occurred, a mutation, for example.
       17   frequency by time.                              17            These kinds of insults are
       18            So again, it would depend on           18   happening to cells all the time, not just
       19   the individual, but the research reports        19   from carcinogens in our environment, but just
       20   hover around five to ten years of regular       20   from natural occurrences, even endogenous
       21   use, resulting in significant odds ratios.      21   biochemical reactions cause these problems.
       22   BY MS. BOCKUS:                                  22            The question is: Is the repair
       23       Q. As I understand it in                    23   process sufficient to undo what's been done?
       24   toxicology, one of the basic tenets is that     24   And an exposure to environmental carcinogens,


                                             Page 311                                             Page 313
        1   it's the dose that makes the poison, correct?    1   that repair process is often overwhelmed so
        2        A. That's correct.                          2   that it cannot catch up with the damage
        3        Q. That water can kill you if you           3   that's being created, and a tumor is born,
        4   drink too much of it, right?                     4   basically.
        5        A. Theoretically.                           5             That is where the concept of
        6        Q. In a short period of time.               6   threshold comes from. Have we overwhelmed
        7             And so I'm trying to find out          7   the repair or not, and we don't have enough
        8   what you have determined is the threshold of     8   research evidence or scientific evidence to
        9   risk is -- for talcum powder use by women.       9   be able to define that line at this point.
       10   Do you have an opinion as to at what point a    10        Q. Has there ever been a study
       11   threshold has been reached where the use of     11   that showed that talcum powder caused DNA
       12   talcum powder by women in their perineal        12   damage in normal ovarian epithelial tissue?
       13   region increases their risk?                    13        A. Well, we do have the studies
       14        A. I think any use of carcinogenic         14   that have recently been produced by Fletcher
       15   materials or any exposure to carcinogenic       15   and Saed that show the inflammatory process
       16   materials increases the risk somewhat. A        16   is influenced by talc, and this is nonfibrous
       17   greater exposure, based on the                  17   talc, that result in mutagenic events that
       18   "dose makes the poison" principle, would        18   are available for promotion, and there are
       19   result in a greater risk.                       19   biomarkers that have also been established
       20             And we know from toxicologic          20   for that.
       21   studies that intense exposures can sometimes    21        Q. The studies by Saed did not
       22   accelerate the process and even shorten the     22   demonstrate DNA mutation, did they?
       23   latency period of a carcinogenic event.         23             MS. O'DELL: Object to the
       24             So my opinion is that there is        24        form.


                                                                     79 (Pages 310 to 313)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 81 of 366 PageID:
                                  75436

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 314                                            Page 316
        1       A. I think they actually did.                1            THE WITNESS: I'm sorry, it
        2   BY MS. BOCKUS:                                   2       appears that I do need to get the
        3       Q. That's your reading of them?              3       original paper here. There it is.
        4       A. Yes.                                      4       Okay. Thank you.
        5       Q. What Saed did is he placed talc           5            (Document review.)
        6   on cultured ovarian cancer cells, correct?       6   BY MS. BOCKUS:
        7       A. Yes.                                      7       Q. Can you answer the question:
        8       Q. And that actually -- what he              8   Did Saed have any either positive or negative
        9   recorded was an elevation in the CA-125?         9   controls that he used in his experiments?
       10       A. That's one of the things he              10            MS. O'DELL: Object to the
       11   did. He also measured -- he did a number of     11       form.
       12   genetic studies. He did transcribed RNA. He     12       A. I think he did, but I'd like to
       13   located individual SNPs, which are single       13   actually find it in here so I can give you
       14   nucleotide polymorphisms, in the genetic        14   the specifics.
       15   material.                                       15            Well, he used normal cells and
       16            And he found that as a result          16   epithelial ovarian cancer cells, and one was
       17   of that treatment, those mutations altered      17   the control for the other. He treated them
       18   the effectiveness of antioxidant enzymes that   18   in the same way.
       19   are part of the protection mechanism and        19   BY MS. BOCKUS:
       20   shield the repair process of the cell from      20       Q. Let me ask a different
       21   further damage.                                 21   question.
       22       Q. Let's go back to the CA-125.             22            What I'm asking is: Did he
       23            MS. O'DELL: If you need to             23   use, say, glass beads to see if -- as a
       24       pull the paper out, Doctor, just, if        24   control to the talc? Did he have anything

                                             Page 315                                            Page 317
        1       you want to take a moment and do that.       1   that he was controlling the cells' reaction
        2       I know you were searching for it while       2   to against the talc?
        3       you were talking.                            3       A. I don't believe so.
        4            THE WITNESS: Yes, I think I             4       Q. That would be important in an
        5       have it right here.                          5   experiment of this nature, would you not
        6            MS. BOCKUS: These are just              6   agree with that?
        7       general questions that I'm going to          7            MS. O'DELL: Object to the
        8       ask you.                                     8       form.
        9            MS. O'DELL: You still may get           9       A. Well, he did utilize normal and
       10       the paper out.                              10   cancerous cells, which would theoretically
       11            MS. BOCKUS: Do whatever you            11   act as a control in that experiment.
       12       want to do.                                 12   BY MS. BOCKUS:
       13            THE WITNESS: You can go ahead.         13       Q. That's not my question. I'm
       14       I'm...                                      14   really asking about another element that he
       15   BY MS. BOCKUS:                                  15   is exposing the cells to, both the normal and
       16       Q. What controls did Saed use?              16   the cancerous cells.
       17   Did he use any controls? In other words, did    17            MS. O'DELL: Objection to form.
       18   he place a known foreign object that was        18   BY MS. BOCKUS:
       19   not -- that was known not to be a carcinogen    19       Q. To see if the reaction was just
       20   on the cultured ovarian cells to see if there   20   a reaction to a foreign body versus talc
       21   was a difference?                               21   specifically.
       22            MS. O'DELL: Can you just pause         22            Did he do that?
       23       just for a minute, let the doctor pull      23            MS. O'DELL: Object to the
       24       out the exhibit?                            24       form.


                                                                     80 (Pages 314 to 317)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 82 of 366 PageID:
                                  75437

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 318                                             Page 320
        1       A. I don't believe that he                   1       A. I don't specifically know.
        2   provided a control exposure as part of this      2   BY MS. BOCKUS:
        3   experiment.                                      3       Q. There's no way to know that, is
        4   BY MS. BOCKUS:                                   4   there?
        5       Q. And you would agree that there            5       A. No, there's not.
        6   are many things that will increase a CA-125,     6       Q. Let me find my -- there we go.
        7   correct?                                         7           The Saed paper that you were
        8            MS. O'DELL: Object to the               8   looking at just a minute ago, it has
        9       form.                                        9   something printed across it. What does that
       10       A. Yes, it's an acute-phase                 10   say?
       11   reactant.                                       11       A. In blue here?
       12   BY MS. BOCKUS:                                  12       Q. Uh-huh.
       13       Q. Pregnancy can increase                   13       A. "For Peer Review."
       14   somebody's CA-125?                              14       Q. Okay. So it hasn't yet been
       15       A. That's correct.                          15   peer reviewed; is that correct?
       16       Q. And with regard to the SNPs,             16           MS. O'DELL: Object to the
       17   that is not the same thing as a test showing    17       form.
       18   mutation, correct?                              18       A. It's been submitted.
       19            MS. O'DELL: Object to the              19   BY MS. BOCKUS:
       20       form.                                       20       Q. So does that mean it has not
       21   BY MS. BOCKUS:                                  21   yet been peer reviewed?
       22       Q. It's a surrogate.                        22           MS. O'DELL: Object to the
       23       A. Well, it's because there was             23       form.
       24   transcribed RNA that was used to determine      24       A. I think it's been accepted for

                                            Page 319                                             Page 321
        1   their presence, and the -- it's just part of     1   publication.
        2   their procedure, but it identifies genetic       2   BY MS. BOCKUS:
        3   alterations. And those genetic alterations       3        Q. But the copy you have says on
        4   transformed into differential enzyme             4   it "For Peer Review," correct?
        5   activities.                                      5        A. That's correct.
        6       Q. Do you know whether there are             6        Q. In the paragraph that we were
        7   standard tests for genotoxicity and              7   looking at earlier, where you were talking
        8   mutagenicity?                                    8   about the startling regularity, later on in
        9       A. There are lots of standard                9   the paragraph you state that there
       10   tests, yes.                                     10   is clearly -- sufficient particulate
       11       Q. And Saed didn't use any of               11   materials applied routinely to the perineum
       12   those, did he?                                  12   have ready access and in sufficient
       13            MS. O'DELL: Object to the              13   quantities to produce biologic responses in
       14       form.                                       14   internal tissues.
       15       A. Well, he went directly to cells          15             What internal tissues have you
       16   in culture to see what happened when they       16   seen any study recording a biologic response
       17   were treated with talc.                         17   to talc from?
       18   BY MS. BOCKUS:                                  18             That was such a bad question,
       19       Q. Does the amount of talc that             19   I'm going to ask it again.
       20   Saed used compare in any way to the amount of   20             What internal tissues are you
       21   talc that may reach a woman's ovary from        21   referring to there?
       22   perineal application?                           22        A. Well, it says including --
       23            MS. O'DELL: Object to the              23   including ovaries and surrounding structures.
       24       form.                                       24   By surrounding structures, I'm referring to


                                                                     81 (Pages 318 to 321)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 83 of 366 PageID:
                                  75438

                         Arch I. "Chip"                  Carson, M.D., Ph.D.
                                             Page 322                                             Page 324
        1   the fallopian fimbriae and the epithelium of      1   fallopian tube goes into that fluid and just
        2   the cavity.                                       2   gets moved around all the time; is that
        3       Q. So -- and I know we've been                3   correct?
        4   through this already, but to your knowledge,      4             MS. O'DELL: Objection. Excuse
        5   there are no studies reporting biologic           5       me. Objection, form.
        6   responses to talc in the vagina, correct?         6       A. Well, there's a fairly direct
        7       A. Not that I'm aware.                        7   presentation of the ovary, so there's not a
        8       Q. You're not aware of any studies            8   large space there, but there is a space. And
        9   reporting biologic responses to talc in the       9   whatever goes into that space remains there.
       10   cervix, correct?                                 10   Some of it may come back out.
       11       A. Correct.                                  11   BY MS. BOCKUS:
       12       Q. Are you aware of any studies              12       Q. Does the fallopian tube move
       13   reporting biologic response to the uterus?       13   around during the month?
       14       A. No.                                       14             MS. O'DELL: Object to the
       15       Q. Are you aware of any studies              15       form.
       16   reporting a biologic response in the             16       A. I don't know.
       17   fallopian tubes?                                 17             MS. BOCKUS: I'm almost
       18            MS. O'DELL: Object to the               18       finished. I'm going through all the
       19       form.                                        19       things that I've crossed off.
       20       A. Well, I don't -- I'm not aware            20   BY MS. BOCKUS:
       21   of studies that draws a direct correlation       21       Q. So I understand you correctly,
       22   between exposure to talc and reaction in the     22   you have not identified a nonthreshold dose
       23   fallopian tubes.                                 23   of talc; is that correct?
       24            ///                                     24             MS. O'DELL: Object to the

                                             Page 323                                             Page 325
        1    BY MS. BOCKUS:                                   1       form.
        2         Q. Okay. Is the ovary attached to           2       A. You mean a dose that is below a
        3    the fallopian tube?                              3   safe threshold?
        4         A. It is -- it's in the proximity.          4   BY MS. BOCKUS:
        5    It's not directly attached.                      5       Q. Correct.
        6         Q. And what surrounds the ovary?            6       A. No, I have not.
        7         A. There's a structure that -- the          7       Q. Did you make any attempt to
        8    ovary itself?                                    8   extrapolate a de minimis risk level?
        9         Q. Yes.                                     9            MS. O'DELL: Object to the
       10         A. There's an epithelial membrane          10       form.
       11    around the ovary, and --                        11       A. I did not. It would be nice to
       12         Q. And then what touches the               12   be able to do that, considering that most of
       13    epithelial membrane?                            13   us have had talcum powder exposures of one
       14         A. Well, the fimbriae of the               14   sort or another during our lives. And it's
       15    fallopian tubes surround that and the rest of   15   something that seems to have been felt to be
       16    it is just sort of space.                       16   very useful.
       17         Q. Space. Is the space filled              17            So it would be nice to be able
       18    with fluid?                                     18   to do that exercise, but I haven't -- I have
       19         A. It is.                                  19   not been prevented -- presented with the
       20         Q. And is that fluid kind of               20   information to approach that, nor am I aware
       21    moving around?                                  21   of anyone else who's been able to do it.
       22         A. All the time.                           22   BY MS. BOCKUS:
       23         Q. All the time.                           23       Q. What information would you need
       24              So things that come through the       24   that you don't have?


                                                                      82 (Pages 322 to 325)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 84 of 366 PageID:
                                  75439

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 326                                             Page 328
        1       A. Well, we'd need -- we'd need              1   you? In other words, are they referred by
        2   dose information, first of all, which we         2   other people?
        3   don't have, to combine with the epidemiologic    3       A. I have primarily a referral
        4   results.                                         4   practice in toxicology.
        5            We need to define the                   5       Q. In toxicology? And so what
        6   mechanistic issues better than they are          6   types of patients are referred to you?
        7   currently, and at that point I think we would    7       A. I have patients who are either
        8   be able to make some strong conclusions          8   workplace-related patients who have had
        9   regarding potential thresholds of hazardous      9   chemical or other substance exposures. I
       10   doses.                                          10   also have a number of environmental exposure
       11       Q. You would agree that the great           11   patients that I see.
       12   majority of women who use talcum powder on a    12            And I also have a number of --
       13   regular basis are never diagnosed with          13   I also see a number of patients for general
       14   ovarian cancer, correct?                        14   routine surveillance activities or required
       15       A. I think that's true.                     15   exams by regulation, either for licensure or
       16       Q. And it's also true that the              16   certification.
       17   majority of women diagnosed with ovarian        17       Q. Are you sent patients where the
       18   cancer have never used talcum powder on a       18   patient is trying to figure out why they got
       19   regular basis, correct?                         19   some disease?
       20            MS. O'DELL: Object to the              20       A. Sometimes. Usually the patient
       21       form.                                       21   comes and tells me why they got the disease,
       22       A. I think it's a majority, but             22   and I go -- I talk to them about the
       23   there's a significant number who have.          23   possibilities, and we look at ways of
       24            ///                                    24   confirming that or refuting it, or in many

                                            Page 327                                             Page 329
        1    BY MS. BOCKUS:                                  1   cases, altering to a correct path of
        2        Q. But the majority have not,               2   diagnostic investigation.
        3    correct?                                        3        Q. So sometimes a patient comes to
        4        A. I would say more than 50% have           4   you and says: I was exposed to this chemical
        5    not.                                            5   and that's why I can't breathe?
        6        Q. And would you agree that -- let          6        A. Yes.
        7    me back up.                                     7        Q. And you do an investigation,
        8             When is the last time you              8   and sometimes you say: You know what, that
        9    conducted a pelvic exam?                        9   chemical has nothing to do with why you can't
       10        A. I haven't done one in a couple          10   breathe?
       11    of years.                                      11        A. Sometimes that's the case.
       12        Q. Under what circumstances did            12             MS. O'DELL: Are you finished,
       13    you do it two years ago?                       13        sir? Are you finished?
       14        A. I see patients regularly, and           14        A. Well, I just wanted to add --
       15    in some cases, pelvic exams are either         15   BY MS. BOCKUS:
       16    requested or indicated by the issue.           16        Q. Sure.
       17        Q. It's not something you do on a          17        A. -- that although many times it
       18    regular basis, correct?                        18   is the case, and often the patient does
       19        A. It's not.                               19   understand that connection quite well,
       20        Q. And you do not -- what                  20   usually from a very closely connected cause
       21    percentage of your patients are women?         21   and effect kind of relationship. It's when
       22        A. Probably half, maybe a little           22   things are stretched out much more in time,
       23    less than half.                                23   and there is a likely suspect that may be an
       24        Q. How do patients come to see             24   innocent bystander, that they may get


                                                                     83 (Pages 326 to 329)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 85 of 366 PageID:
                                  75440

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 330                                             Page 332
        1   confused.                                        1   for that population of women?
        2       Q. Have you ever been referred a             2       A. Well, it varies depending on
        3   patient to determine why they have ovarian       3   the research study that has been done, but
        4   cancer?                                          4   I've seen odds ratios or relative risks all
        5       A. No.                                       5   the way from 1 or even below to very high
        6       Q. Do you know of any methodology            6   numbers, like 20 to 50.
        7   accepted in the medical community for            7       Q. 20.0, is that what you're
        8   determining why an individual woman has          8   saying?
        9   developed ovarian cancer?                        9       A. Yes, 20.0.
       10            MS. O'DELL: Object to the              10       Q. Not 1.2, but 20.0?
       11       form.                                       11       A. Correct.
       12       A. Other than genetic testing that          12       Q. Okay.
       13   identifies specific risks and history taking    13       A. Which is a -- which would be 20
       14   that might identify other known risk factors    14   times the normal risk without the exposure.
       15   for that woman, there is -- I don't believe     15       Q. Okay. So we've got obesity and
       16   that there is any good or prescribed            16   heavy exposure to asbestos. Any other risk
       17   procedure for making that determination, and    17   factors that you're familiar with?
       18   there is no reasonable screening test that      18            MS. O'DELL: Objection --
       19   can find that cancer when it is at an early     19       excuse me. Objection, misstates the
       20   stage.                                          20       doctor's testimony.
       21   BY MS. BOCKUS:                                  21            You may answer.
       22       Q. Do you believe that obesity              22            THE WITNESS: Okay.
       23   causes ovarian cancer?                          23       A. Other risk factors for ovarian
       24       A. It certainly seems to be                 24   cancer would include things like early

                                            Page 331                                             Page 333
        1   related to the occurrence of ovarian cancer      1   menarche, late menopause, never being
        2   from a statistical point of view.                2   pregnant. These are some of the more common
        3        Q. What is the increase in a                3   risk factors that are identified.
        4   woman's risk of ovarian cancer if she's obese    4            There are genetic risk factors
        5   compared to a nonobese woman?                    5   that are known, like the BRCA mutations,
        6        A. In terms of numbers?                     6   which confer an increased risk. Family
        7        Q. Yes, sir.                                7   history.
        8        A. I don't know the -- I don't              8   BY MS. BOCKUS:
        9   know the numbers.                                9        Q. Do you know the odds ratios of
       10        Q. What other risk factors are you         10   any of the risk factors that you just
       11   familiar with for ovarian cancer?               11   identified of never having children, having
       12        A. Well, certainly work with               12   early menarche or late menopause?
       13   asbestos is a risk factor, and we have a        13        A. Right offhand, I don't know
       14   number of studies that have shown women         14   what those odds ratios -- the range of those
       15   working in the asbestos industry or women who   15   are.
       16   are married to asbestos workers and have        16        Q. Do you know if any of those
       17   secondary exposure presumably from that are     17   odds ratios exceed 1.3?
       18   at risk for ovarian cancer.                     18        A. I think they do.
       19            There are --                           19        Q. Does that lead you to conclude
       20        Q. Let me stop you just one                20   that those things cause ovarian cancer?
       21   second.                                         21        A. It certainly argues for that.
       22        A. Yes.                                    22   The -- there's a risk factor that derives
       23        Q. What percentage -- what is              23   from something. You need a mechanism to fill
       24   their relative risk or what is the odds ratio   24   in the blank.


                                                                     84 (Pages 330 to 333)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 86 of 366 PageID:
                                  75441

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 334                                              Page 336
        1             But also, some of these risk           1        Q. So you think you just ran into
        2   factors are so common in the population that     2   her?
        3   we can concoct large cohort studies that will    3        A. Yeah.
        4   have -- can have very low relative risks,        4        Q. The other people that you
        5   like on the order of 1.3 or even lower, and      5   identified that you discussed your report
        6   still a significant result.                      6   with, did you ask them to read your report?
        7             So the more common a factor is,        7       A. I asked them to look at parts
        8   the easier it is to do the research and the      8   of it, early drafts of it to let me know if
        9   more likely you'll get a finding that's          9   they thought I was making sense.
       10   relevant to interpretation.                     10        Q. And did they offer you comments
       11        Q. What pushes a talc particle             11   and suggestions for changes in your paper?
       12   from the perineum into the vagina?              12       A. Not really. Mostly they gave
       13        A. Probably mostly the law of mass         13   me a pat on the back and said: I think
       14   action. It simply goes of its own volition.     14   you're doing a good job, just sort of beef
       15   These small particles are always in motion      15   this part up, and what do you mean by this,
       16   through molecular forces, and they simply       16   maybe I could rephrase that. That sort of
       17   move in all directions, and some of them move   17   thing.
       18   in that direction.                              18       Q. Did they give you written
       19        Q. Would that be true for any              19   suggestions?
       20   small particles applied to a woman's            20        A. No, these were all verbal
       21   perineum?                                       21   comments.
       22        A. Yes.                                    22        Q. Had you given them a hard copy
       23        Q. Are you board certified in              23   of the portions of your report that you
       24   medical toxicology?                             24   wanted them to comment on?

                                            Page 335                                              Page 337
        1        A. I'm not. I started practicing            1       A. Yes.
        2   medical toxicology before there was a board      2       Q. And they didn't redline it or
        3   in the specialty, and I've been grandfathered    3   make -- draw arrows or anything like that for
        4   into the profession as a member of the           4   you?
        5   American College of Medical Toxicology.          5       A. I think actually George Delclos
        6        Q. How long did you talk to                 6   did draw some -- or make some notes on there
        7   Dr. Ness about her paper?                        7   and hand it back to me, and I incorporated
        8        A. About her paper, probably a              8   those into my electronic version.
        9   minute and a half. About all kinds of other      9       Q. Do you still have George's
       10   things, for a while.                            10   notes to you?
       11        Q. What other kinds of things?             11       A. No, I don't.
       12        A. Mostly personal things that had         12       Q. Is he the only one out of the
       13   nothing to do with talc or this case.           13   people that you asked to look at it who gave
       14        Q. How long do you think that              14   you handwritten notes?
       15   conversation was?                               15       A. Yes, I think so.
       16        A. Well, with Dr. Ness, nothing            16       Q. Have you seen the term
       17   lasts very long, so I would say ten minutes     17   "intrinsic elimination system" regarding the
       18   at the most.                                    18   ovary in any of the publications that you've
       19        Q. Okay. Did you call her?                 19   read?
       20        A. No. She's -- she comes and              20       A. I don't know, I may have.
       21   goes in the same building where I office, and   21       Q. Can you think of one in
       22   my office is just on the opposite side of the   22   particular that discusses that characteristic
       23   floor of hers, and I see her sometimes in       23   of -- that you believe relates to the ovary?
       24   passing or in the elevator.                     24       A. Well, the migration papers


                                                                     85 (Pages 334 to 337)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 87 of 366 PageID:
                                  75442

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 338                                             Page 340
        1   discuss migration to the ovary. It would         1   that?
        2   probably be a talc paper, though. I don't        2        A. Well, I saw this actually when
        3   recall seeing it anywhere.                       3   I first started this process, and I think
        4       Q. Did you consult any gynecologic           4   Dr. Longo was involved in that activity,
        5   textbooks?                                       5   where they modeled the -- the application of
        6       A. No, I didn't. I may have                  6   talcum powder and did some calculations based
        7   looked at some diagrams on the Internet.         7   on the amount of substance that was used, and
        8       Q. Okay. Did you consult any                 8   they measured it in things like shakes and --
        9   gynecologic oncology textbooks?                  9   and then quantified the amount that was lost
       10       A. Not textbooks, no.                       10   from the container to determine what an
       11       Q. Do you know the position of the          11   application amount was.
       12   Society of Gynecologic Oncologists on the       12             I don't think they were able to
       13   question of whether does talc increase a        13   go beyond that point in the modeling process.
       14   woman's risk for ovarian cancer?                14        Q. You didn't see anything that
       15       A. No, I don't.                             15   Dr. Longo did that attempted to quantify the
       16       Q. Would that be important to you           16   amount of talcum powder from a single shake
       17   to know their position?                         17   that ended up on a woman's perineum, did you?
       18       A. No, I don't think so.                    18             MS. O'DELL: Object to the
       19       Q. Do you know the position of              19        form.
       20   ACOG on whether the use of -- perineal use of   20        A. I -- you know, I don't know the
       21   talc increases a woman's risk of ovarian        21   answer to that, simply because I don't
       22   cancer?                                         22   recall, but I wouldn't be surprised that
       23       A. I don't know that either.                23   there was an attempt made to do that. But
       24   That's not something I've looked at.            24   beyond that, I don't think anything would be


                                             Page 339                                             Page 341
        1       Q. Would that be important to you?           1   successful.
        2       A. No.                                       2            These were clothed subjects, so
        3       Q. Do you have any scientific text           3   that adds another factor to the calculation.
        4   that suggests that an inert particle resides     4   BY MS. BOCKUS:
        5   on the ovary longer than it does in the          5        Q. Is that the only experiment
        6   cervix?                                          6   that you're familiar with that you've seen
        7       A. Well, I have -- I have a paper            7   anywhere that attempts to quantify the amount
        8   that relates to the time for dissolution of a    8   of talcum powder from a single use that ends
        9   particle in biological fluids, which would go    9   up actually on a woman's perineum?
       10   to the length of time a particle of talc        10        A. There was another part of that
       11   remains in the ovary once it gets there.        11   study where they applied it to underwear with
       12            But I don't have -- I don't            12   the same sort of calculation process. It was
       13   know that I have a scientific paper that        13   all part of the same modeling process.
       14   specifically says that it stays in the ovary    14        Q. And do you recall what
       15   longer than it stays in the cervix.             15   percentage of the talc applied to the
       16       Q. You testified that you                   16   underwear ended up adhered to the woman's
       17   understand there have been some attempts to     17   perineum?
       18   quantify the amount of talc, I guess from a     18            MS. O'DELL: Object to the
       19   single use, that ends up on the perineum.       19        form.
       20            Did I understand that                  20        A. I don't think -- I don't think
       21   correctly?                                      21   they measured the amount that adhered to the
       22       A. Yes.                                     22   perineum. I think what they were interested
       23       Q. Can you tell me what those               23   in was proximity.
       24   attempts are, who did them, where did you see   24            ///


                                                                     86 (Pages 338 to 341)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 88 of 366 PageID:
                                  75443

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 342                                              Page 344
        1   BY MS. BOCKUS:                                   1       A. Uh-huh.
        2        Q. Okay. Can you tell me the                2       Q. And echoing what my colleagues
        3   names of the environmental websites that have    3   have said today, if there's at any point I
        4   been talking about IARC revisiting their         4   ask a question that you do not understand,
        5   classification of talc?                          5   just stop me and ask me to rephrase it or let
        6        A. There are -- there are a number          6   me know otherwise, okay?
        7   of Twitter feeds and websites that carry on      7       A. I will.
        8   this kind of discussion. Science Interest is     8       Q. Thanks.
        9   one of them. I think IARC Watch is another       9            So going back shortly to your
       10   one. I have -- I get e-mails about some of      10   scope of work, do you teach any coursework on
       11   these and end up going into them for a period   11   talc or ovarian cancer?
       12   of time and seeing if they have anything        12       A. I teach some general courses.
       13   interesting going on. Some of them are          13   Up until last spring I taught a general
       14   searchable.                                     14   environmental health course for graduate
       15            And then I get e-mails from the        15   students in the Master of Public Health
       16   ones that I visit about other ones. So I        16   program at the School of Public Health, and
       17   spend as much of my time deleting these         17   in that course we did touch on things like
       18   e-mails without reading them as I do actually   18   environmental exposures that would include
       19   viewing the material.                           19   minerals of various varieties, but it was
       20        Q. So fair to say this is just             20   very cursory.
       21   chatter you've seen on the Internet in these    21       Q. And was that curriculum
       22   different chat rooms or Twitter accounts that   22   specific to environmental and industrial
       23   you visit from time to time?                    23   products or minerals as opposed to consumer
       24        A. It's all Internet based, yes.           24   products?


                                            Page 343                                              Page 345
        1            MS. BOCKUS: Okay. I think               1       A. We actually did touch on other
        2       that's all I have. Thank you.                2   consumer products as well in terms of the
        3            MS. O'DELL: Why don't we take           3   significant environmental problem that we
        4       a short break. We've been going about        4   have currently, but -- regarding the huge
        5       two hours.                                   5   volume of personal care products that goes
        6            MR. ZELLERS: Do you have                6   into our aqueous waste stream and how that's
        7       questions?                                   7   affecting the aquatic environment as well as
        8            MS. APPEL: I do, but --                 8   groundwater and so forth.
        9            MS. O'DELL: Yeah, do you                9            As a matter of fact, in that
       10       have --                                     10   course, as part of the culmination of the
       11            MS. APPEL: I don't have a lot.         11   course, there are student workgroups that
       12            MS. O'DELL: Okay. Sure. Why            12   develop presentations on a particular topic,
       13       don't you go ahead, and then we'll          13   and the topic of personal care products has
       14       take a break. We have been going            14   been a favorite choice for the last several
       15       about two hours, but, Renée, please.        15   years.
       16            If you're okay, Doctor.                16       Q. But your curriculum did not
       17            THE WITNESS: I'm fine.                 17   include talc among those products?
       18               EXAMINATION                         18            MS. O'DELL: Object to the
       19   BY MS. APPEL:                                   19       form.
       20       Q. It's been a while since we did           20       A. I think talc may have been
       21   introductions, so just as a reminder, my name   21   represented as an individual mineral on a
       22   is Renée Appel and I'm here on behalf of        22   slide that listed many minerals.
       23   Seyfarth Shaw and I represent Personal Care     23   BY MS. APPEL:
       24   Products, counsel.                              24       Q. Earlier today you had mentioned


                                                                     87 (Pages 342 to 345)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 89 of 366 PageID:
                                  75444

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 346                                            Page 348
        1   a shared file. Is that shared file something     1   accumulating information in the draft as a
        2   that you created or plaintiffs' counsel          2   result of my review of the literature.
        3   created?                                         3            So if I had to separate things
        4       A. It's something that I think               4   out, I would say that, by far, the -- most of
        5   plaintiffs' counsel created for me to be able    5   the time has been spent in reading articles
        6   to send them documents and receive documents,    6   and reviewing them and comparing them with
        7   and it's a Dropbox share file. It's -- at        7   other articles, and a comparatively small
        8   this point I think it might be mine. I'm not     8   amount of time has been spent in drafting the
        9   sure just exactly who's in charge of that or     9   report.
       10   runs it, but it comes directly into my          10            Although there were some
       11   Dropbox file.                                   11   strings of activity which was all report
       12            I know I had to boost my               12   drafting basically, I would say probably 85
       13   subscription to Dropbox in order to hold the    13   to 90% was research, seeking articles,
       14   2 gigabytes of data from -- that we were        14   reading them, reviewing them, and comparing
       15   putting into there.                             15   them.
       16       Q. Is there anything from that              16       Q. And you also testified earlier
       17   Dropbox file that you relied upon in forming    17   today that you discarded information not
       18   your opinion in your report that you have not   18   relevant or interesting to you.
       19   already provided to defense counsel?            19            How did you make that
       20       A. No, everything that was in that          20   determination?
       21   Dropbox that I've relied upon has been          21            MS. O'DELL: Objection to the
       22   identified here.                                22       form.
       23       Q. Who prepared Exhibit B to your           23       A. The things that I discarded did
       24   report?                                         24   not seem to fit into my gestalt of the

                                             Page 347                                            Page 349
        1       A. Exhibit B was a list of                   1   understanding of this question and the
        2   articles from the research literature            2   opinions that I wanted to express. They may
        3   included in the Dropbox that -- that I think     3   have been interesting information and useful
        4   does not -- I don't know whether it includes     4   for some purposes, but not for this
        5   the referenced articles from my report or        5   particular report.
        6   not, but they were all part of the same          6   BY MS. APPEL:
        7   collection of research articles and              7       Q. Was some of that information
        8   supplemental documents.                          8   that you discarded based on relevancy or that
        9       Q. And my question, Dr. Carson,              9   you determined was not of interest
       10   was: Who prepared that exhibit?                 10   information that may have been different than
       11       A. The exhibit was prepared by the          11   your opinions?
       12   plaintiffs' attorneys.                          12       A. No. I didn't discard any
       13       Q. You testified earlier that you           13   research because the opinions provided
       14   have spent approximately 150 to 180 hours in    14   differed from my own. These were things that
       15   your expert retention work; is that correct?    15   really were irrelevant to the question.
       16       A. Correct.                                 16            I remember finding an awful lot
       17       Q. Can you estimate what portion            17   of geological research stuff that just didn't
       18   of that time was spent researching versus       18   have any relevance to the question.
       19   what portion of time was spent actually         19            Because I used such broad
       20   drafting your expert report?                    20   search terms, I ended up pulling in a whole
       21       A. Those two things are in some             21   lot of things that were not necessary or
       22   ways difficult to separate because I would --   22   useful, and those just went in the trash.
       23   I was writing my report the entire time that    23       Q. You testified earlier that you
       24   I was reviewing the research materials and      24   have not treated any patients with ovarian


                                                                     88 (Pages 346 to 349)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 90 of 366 PageID:
                                  75445

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                             Page 350                                            Page 352
        1   cancer; is that correct?                         1   usually administer to my patients, and I have
        2        A. Not knowingly, not because of            2   plans to add that as a question in my
        3   ovarian cancer.                                  3   environmental exposure survey. Which I
        4        Q. Have you ever diagnosed any              4   haven't done already, but will as soon as I
        5   patients with ovarian cancer?                    5   get the opportunity.
        6        A. I think when I was in medical            6   BY MS. APPEL:
        7   school or residency, I probably participated     7       Q. You testified earlier today
        8   in that on several patients.                     8   that you do not believe there was ever a
        9        Q. Have you ever instructed a               9   point where talcum powder did not contain
       10   patient not to use talcum powder products?      10   asbestos, correct?
       11        A. I hadn't up until a month or            11       A. Yes.
       12   two ago, but I've been asking people about --   12       Q. So in forming your opinion in
       13   about their talcum powder use just as sort of   13   your report, you've assumed that the talcum
       14   a curiosity in mentioning that there might be   14   powder does contain asbestos, correct?
       15   a risk.                                         15            MS. O'DELL: Object to the
       16        Q. Do you ask that of all your             16       form.
       17   patients?                                       17       A. Well, I think the asbestos
       18        A. I would say no, I don't usually         18   contribution to this whole issue is important
       19   ask the men that, but I probably should.        19   and significant. I think there's good
       20        Q. And have the responses to those         20   evidence that whatever we call talcum powder
       21   inquiries of your female patients and their     21   is carcinogenic and responsible for ovarian
       22   talcum product use, has that been used at all   22   cancer -- as a cause of ovarian cancer, but I
       23   to inform your opinions in this case?           23   can't say -- I can't say based on looking at
       24        A. I don't think so. There have            24   a can of talcum powder whether or not it has

                                             Page 351                                            Page 353
        1   been very few that I have asked that question    1   asbestos in it or how much.
        2   in the last month or so. I've had a limited      2   BY MS. APPEL:
        3   clinic schedule during this period of time.      3       Q. Have you formed an opinion,
        4   We had the holidays and other things, so I       4   Dr. Carson, on whether there's a relationship
        5   haven't seen that many patients.                 5   between pure talc and ovarian cancer?
        6             And of those I've asked about          6             MS. O'DELL: Objection to form.
        7   it, it seems about half of the women have had    7       A. My opinion is there is, but
        8   a history of using talcum powder.                8   that's based on the research reports that
        9         Q. And of those women that are             9   have been done using so-called pure talc,
       10   using -- have told you that they have used      10   talcum powder, and I am -- I -- my opinion is
       11   talcum powder, are those women diagnosed with   11   that it's unlikely that those test substances
       12   ovarian cancer?                                 12   actually are pure talc.
       13         A. No.                                    13   BY MS. APPEL:
       14         Q. So suffice to say the inquiry          14       Q. So again, Dr. Carson, in
       15   that you've asked of your female patients       15   forming your opinions, you have done so on
       16   concerning their talcum use has nothing to do   16   the belief that all the talc powder products
       17   with the question that you've been posed in     17   or just pure talc do, in fact, contain
       18   this particular litigation?                     18   asbestos?
       19             MS. O'DELL: Object to the             19             MS. O'DELL: Objection to form.
       20         form.                                     20       A. It is my opinion that all
       21         A. Actually, that's the only              21   talcum powder products do contain a certain
       22   reason I've been asking them. It's not          22   amount of asbestos, even if it's extremely
       23   something that came to mind earlier. I have     23   small.
       24   an environmental exposure survey that I         24             My opinions have been formed


                                                                     89 (Pages 350 to 353)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 91 of 366 PageID:
                                  75446

                         Arch I. "Chip"                     Carson, M.D., Ph.D.
                                             Page 354                                               Page 356
        1   based on research that has been done on             1   classified by IARC.
        2   available talcum powder products, so I guess        2   BY MS. APPEL:
        3   the research would have been done using some        3        Q. But it's your opinion that a
        4   small quantity of asbestos in all of those          4   possible carcinogen -- strike that.
        5   studies.                                            5             It's your opinion that any dose
        6   BY MS. APPEL:                                       6   of a possible carcinogen can cause cancer?
        7       Q. You also testified today,                    7             MS. O'DELL: Objection to form.
        8   Dr. Carson, that you have found in your             8        A. Yes, I think there is a
        9   research that there is a dose-response              9   potential for any dose of a carcinogen to
       10   relationship between talcum powder products        10   cause a cancer. There's also the principle
       11   and ovarian cancer, correct?                       11   that the lower the dose, the less likely it
       12       A. Well, a number of the research              12   is, the lower the risk is for developing a
       13   studies, the epidemiology studies have shown       13   cancer.
       14   positive and statistically significant             14   BY MS. APPEL:
       15   trends.                                            15        Q. And your opinion extends to
       16       Q. And those trends that you're                16   those particles that have not been identified
       17   relying on, Dr. Carson, actually only relate       17   as carcinogens, but may just be possible
       18   to duration and frequency, correct?                18   carcinogens?
       19            MS. O'DELL: Objection to form.            19        A. I think talc has been
       20       A. Yes, they do relate to duration             20   identified as a carcinogen.
       21   and frequency, which is the only surrogate we      21        Q. So you disagree with the IARC
       22   have for dose.                                     22   classification?
       23   BY MS. APPEL:                                      23        A. The IARC 2B classification is a
       24       Q. So in forming your opinion,                 24   carcinogenic classification.

                                             Page 355                                               Page 357
        1   Dr. Carson, you have not determined a level         1       Q. But you recognize and -- that
        2   of harmful exposure to talcum powder products       2   there are different types of categories that
        3   that causes ovarian cancer?                         3   IARC has?
        4       A. That's correct.                              4       A. Yes.
        5       Q. And you did not conduct a dose               5       Q. And that -- it's that talc that
        6   assessment between talcum powder products and       6   does not contain asbestos was not, in fact,
        7   ovarian cancer, correct?                            7   categorized as a Group 1, correct?
        8            MS. O'DELL: Objection to form.             8       A. That's correct.
        9       A. Well, I did not conduct a                    9       Q. So is it your opinion, then,
       10   dose-response, but I am of the opinion that        10   looking at other 2B-classified particles by
       11   there's no safe threshold for exposure to a        11   IARC, that any exposure to pickled vegetables
       12   carcinogen until such a threshold is               12   would cause cancer?
       13   identified.                                        13       A. We know that there are a number
       14   BY MS. APPEL:                                      14   of carcinogens that are regularly present in
       15       Q. And does that include                       15   things like the food that we eat. We have a
       16   Category 2B particles as well --                   16   rule that says that those things should not
       17            MS. O'DELL: Objection.                    17   be included in food items unless they have
       18   BY MS. APPEL:                                      18   passed a particular exemption process.
       19       Q. -- that it's a possible                     19            Pickled vegetables are
       20   carcinogen?                                        20   something that people have been familiar with
       21            MS. O'DELL: Objection to form.            21   and have been using for hundreds of years,
       22       A. It includes the talc that was               22   and things like talcum powder are things that
       23   discussed in the IARC report. Those                23   have been used for -- well, at least a
       24   conclusions have nothing to do with how it's       24   hundred years, but probably considerably


                                                                        90 (Pages 354 to 357)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 92 of 366 PageID:
                                  75447

                         Arch I. "Chip"                     Carson, M.D., Ph.D.
                                             Page 358                                                Page 360
        1   longer.                                             1        A. Pickled vegetables.
        2             And whether or not those things           2        Q. -- I had was pickled
        3   are carcinogens, there are people who still         3   vegetables, and the question was whether or
        4   find enough value to offset that factor in          4   not is your opinion that any consumption of
        5   their own lives and they can make their own         5   pickled vegetables causes cancer?
        6   decisions regarding their exposure.                 6            MS. O'DELL: Objection to form.
        7             It's a similar concept to                 7        A. I believe the primary form of
        8   people who choose to smoke. Although smoking        8   cancer that's potentially related with
        9   is an addictive behavior, people are aware          9   pickled vegetables is stomach cancer, and
       10   that it causes disease, including cancer, and      10   there is a slight increase in risk with
       11   yet they continue to smoke.                        11   consumption of pickled vegetables for
       12             We continue to eat grilled               12   everybody who does it.
       13   meats, even -- most of us know now that            13   BY MS. APPEL:
       14   grilled meats contain polycyclic aromatic          14        Q. Okay. And what about gasoline
       15   hydrocarbons that are known carcinogens, some      15   or exhaust?
       16   of them Group 1 carcinogens, and yet, we           16        A. Gasoline meaning the fuel?
       17   continue that practice and revel in it even.       17        Q. Yes.
       18   That's just part of what we do as human            18        A. Well, gasoline used to contain
       19   beings.                                            19   a significant amount of benzene, which was
       20             The issue with talc is a                 20   a -- determined to be a carcinogenic
       21   complicated question in my mind. I think I'm       21   substance. In recent years, most of the
       22   straying a bit from your -- from your              22   benzene has been removed from gasoline, so
       23   question, but baby powder, for example, is         23   now there's very little benzene in vapors
       24   something that has a very -- very dear sort        24   that are expressed.

                                             Page 359                                                Page 361
        1   of relationship to many people.                     1            But there's a small amount. So
        2            The experience with that from              2   when you inhale gasoline vapors, you are also
        3   the time you were a baby until you grow up          3   exposing yourself to a very small amount of a
        4   and have your own children involves a lot of        4   carcinogenic substance.
        5   the use of baby powder in many, many                5            As far as exhaust is concerned,
        6   households. That's a difficult relationship         6   diesel exhaust in particular has -- contains
        7   to break. It's psychological as much as it          7   particles that have been identified through
        8   is knowledge based.                                 8   various bioassays to be carcinogenic. So
        9            So as we go through the                    9   diesel exhaust is regulated as a carcinogenic
       10   decades, we get a little safer and safer as        10   material, even though we continue to be
       11   we begin to peel these habits, these               11   exposed.
       12   dangerous habits away from our lives and           12        Q. And it's your opinion that any
       13   accept better lifestyles.                          13   exposure that we all incur related to exhaust
       14            MR. ZELLERS: Move to strike as            14   will cause us cancer?
       15       nonresponsive.                                 15            MS. O'DELL: Objection to form.
       16            MS. APPEL: Respectfully --                16        A. It will cause an increase in
       17            MS. BOCKUS: Is he finished?               17   risk of cancer. Doesn't necessarily cause
       18            MR. ZELLERS: I don't think so.            18   cancer in everybody.
       19            THE WITNESS: I can go on.                 19   BY MS. APPEL:
       20   BY MS. APPEL:                                      20        Q. Okay. Are you aware that Saed
       21       Q. Yeah. My question was more                  21   has been hired by plaintiffs' counsel in this
       22   narrow, and I was analogizing your opinion as      22   litigation?
       23   to talcum powder and was asking about other        23        A. I am. And when I misspoke
       24   2B classifications, and my example --              24   earlier today regarding the Taher paper, I


                                                                        91 (Pages 358 to 361)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 93 of 366 PageID:
                                  75448

                         Arch I. "Chip"                     Carson, M.D., Ph.D.
                                             Page 362                                                                 Page 364
        1   was thinking of the Saed paper.                    1                CERTIFICATE
                                                               2            I, MICHAEL E MILLER, Fellow of
        2       Q. Okay. Last question: Counsel                     the Academy of Professional Reporters,
                                                               3    Registered Diplomate Reporter, Certified
        3   was asking you about the migration process,             Realtime Reporter, Certified Court Reporter
                                                                    and Notary Public, do hereby certify that
        4   and you mentioned that in the course of            4
                                                                    prior to the commencement of the examination,
        5   particles moving up the track, that some of        5    ARCH I "CHIP" CARSON, M D , Ph D was duly
                                                                    sworn by me to testify to the truth, the
        6   it may come back out even after it reaches         6    whole truth and nothing but the truth
                                                               7            I DO FURTHER CERTIFY that the
        7   the fluid surrounding the ovaries, correct?             foregoing is a verbatim transcript of the
                                                                    testimony as taken stenographically by and
        8       A. Yes.                                        8
                                                                    before me at the time, place and on the date
        9       Q. So if particles have the                    9    hereinbefore set forth, to the best of my
                                                                    ability
       10   ability to come back out, that means that         10
                                                                            I DO FURTHER CERTIFY that pursuant
       11   there is, in fact, some form of an intrinsic      11    to FRCP Rule 30, signature of the witness was
       12   elimination system.                                     not requested by the witness or other party
                                                              12    before the conclusion of the deposition
       13       A. Well, if this is all based on              13            I DO FURTHER CERTIFY that I am
                                                                    neither a relative nor employee nor attorney
       14   mass action, it would not necessarily be an       14    nor counsel of any of the parties to this
                                                                    action, and that I am neither a relative nor
       15   intrinsic elimination system, and I believe       15    employee of such attorney or counsel, and
       16   that talc particles, once they produce an         16
                                                                    that I am not financially interested in the
                                                                    action
       17   inflammatory response, they become                17
                                                              18    __________________________________
       18   sequestered within that inflammatory milieu             MICHAEL E MILLER, FAPR, RDR, CRR
                                                                    Fellow of the Academy of Professional Reporters
       19   and no longer are available for movement back     19
                                                                    NCRA Registered Diplomate Reporter
       20   out into the fluid.                               20    NCRA Certified Realtime Reporter
                                                                    Certified Court Reporter
       21            I'm sure there's some small              21
                                                                    Notary Public in and for the
       22   percentage of them that are an exception to       22    State of Texas
                                                                    My Commission Expires: 7/9/2020
       23   that, but for the majority, that would be the     23
       24   case.                                                   Dated: January 22, 2019
                                                              24


                                             Page 363                                                                 Page 365
        1           MS. APPEL: Okay. That's all I               1                  INSTRUCTIONS TO WITNESS
        2      have. Thank you, Dr. Carson.                     2
        3           MS. TINSLEY: I don't have any               3                Please read your deposition over
        4      questions.                                       4        carefully and make any necessary corrections.
        5           MS. O'DELL: Okay. Why don't                 5        You should state the reason in the
        6      we take a short break.                           6        appropriate space on the errata sheet for any
        7           THE VIDEOGRAPHER: Off the                   7        corrections that are made.
        8      record at 5:37, end of Tape 4.                   8                After doing so, please sign the
        9           (Recess taken, 5:37 p m. to                 9        errata sheet and date it.
       10      5:44 p m.)                                      10                You are signing same subject to
       11           THE VIDEOGRAPHER: We're on the             11        the changes you have noted on the errata
       12      record at 5:44, beginning of Tape 5.            12        sheet, which will be attached to your
       13           MS. O'DELL: Dr. Carson, I                  13        deposition.
       14      don't have any questions, so this will          14                It is imperative that you return
       15      conclude your deposition.                       15        the original errata sheet to the deposing
       16           MR. ZELLERS: Thank you,                    16        attorney within thirty (30) days of receipt
       17      Doctor.                                         17        of the deposition transcript by you. If you
       18           THE VIDEOGRAPHER: Going off                18        fail to do so, the deposition transcript may
       19      the record, 5:44. End of deposition,            19        be deemed to be accurate and may be used in
       20      end of Tape 5.                                  20        court.
       21           (Proceedings recessed at                   21
       22      5:45 p m.)                                      22
       23               --o0o--                                23
       24                                                      24


                                                                               92 (Pages 362 to 365)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 94 of 366 PageID:
                                  75449

                            Arch I. "Chip"                  Carson, M.D., Ph.D.
                                                    Page 366                                    Page 368
        1            ERRATA                                     1          LAWYER'S NOTES
        2   PAGE LINE CHANGE                                    2
        3   ____ ____ _________________________________         3   PAGE LINE
        4      REASON: _______________________________          4   ____ ____ _____________________________
        5   ____ ____ _________________________________         5   ____ ____ _____________________________
        6      REASON: _______________________________          6   ____ ____ _____________________________
        7   ____ ____ _________________________________         7   ____ ____ _____________________________
        8      REASON: _______________________________          8   ____ ____ _____________________________
        9   ____ ____ _________________________________         9   ____ ____ _____________________________
       10      REASON: _______________________________         10   ____ ____ _____________________________
       11   ____ ____ _________________________________        11   ____ ____ _____________________________
       12      REASON: _______________________________         12   ____ ____ _____________________________
       13   ____ ____ _________________________________        13   ____ ____ _____________________________
       14      REASON: _______________________________         14   ____ ____ _____________________________
       15   ____ ____ _________________________________        15   ____ ____ _____________________________
       16      REASON: _______________________________         16   ____ ____ _____________________________
       17   ____ ____ _________________________________        17   ____ ____ _____________________________
       18      REASON: _______________________________         18   ____ ____ _____________________________
       19   ____ ____ _________________________________        19   ____ ____ _____________________________
       20      REASON: _______________________________         20   ____ ____ _____________________________
       21   ____ ____ _________________________________        21   ____ ____ _____________________________
       22      REASON: _______________________________         22   ____ ____ _____________________________
       23   ____ ____ _________________________________        23   ____ ____ _____________________________
       24      REASON: _______________________________         24   ____ ____ _____________________________


                                                    Page 367
        1        ACKNOWLEDGMENT OF DEPONENT
        2
        3
        4          I, ARCH I. "CHIP" CARSON, M.D.,
            Ph.D., do hereby certify that I have read the
        5   foregoing pages and that the same is a
            correct transcription of the answers given by
        6   me to the questions therein propounded,
            except for the corrections or changes in form
        7   or substance, if any, noted in the attached
            Errata Sheet.
       8
       9
      10
      11
      12    ___________________________________________
            ARCH I. "CHIP" CARSON, M.D., Ph.D. DATE
      13
      14
      15    Subscribed and sworn to before me this
      16    _______ day of _______________, 20 _____.
      17    My commission expires: _______________
      18
      19    _______________________________
      20    Notary Public
      21
      22
      23
      24


                                                                        93 (Pages 366 to 368)
                   Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 95 of 366 PageID:
                                    75450
                       Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                           Page 369

        A          accessed               299:15 329:14       257:3                   302:24 317:6
a.m                42:3                   352:2               adolescence             318:5 326:11
1:16 8:2,8 31:10   accomplished          added                267:16,24               327:6
  89:5,6           249:23                115:22 175:24        adopt                 agreed
ability            account               addictive            100:13                235:23 236:12
211:18 362:10      162:11 163:13         358:9                adopted                 239:4
  364:9              166:18 224:14       adding               98:16                 agreeing
able                 268:6,8,20 277:14   119:15               advantage             133:10
34:22 36:1 38:12   accounts              addition             240:5                 ahead
  42:22 64:3 71:15 277:19 342:22         14:1 24:9 68:8       advice                21:22 25:4 39:21
  115:13 141:9     accumulated            215:23              164:14                  67:10 282:12
  154:11,14 175:20 310:15                additional           African-American        290:18 315:13
  190:1 191:16     accumulating          14:2 17:12 24:10     196:23 198:3            343:13
  216:2 220:1      348:1                  24:20 25:18 28:3      270:19              aid
  258:17 281:10    accurate               51:15 60:8 68:11    age                   186:10
  299:8 309:17     14:21 22:11 365:19     72:6 217:18         162:12 163:15         air
  313:9 325:12,17  Acheson               additions            agencies              186:3 187:3
  325:21 326:8     145:12 154:19         57:24                93:24 97:7            aklevorn@burns...
  340:12 346:5     achieved              additive             agency                2:9
Abney              259:7                 300:5                178:23 179:1 219:9    al
36:22,23,24 37:8   acidolite             address                219:11 225:23       5:9,10,12,13,18,19
  37:14 38:1,17    144:21                32:4 38:2 93:13        294:24                6:4,6,7,8,10,13,14
  45:23,23,24 55:2 acknowledge            165:6 214:16        agent                   6:16 26:5
  65:15 284:16     221:18                 294:22              179:13,18,20          Alabama
  285:1,12         ACKNOWLED...          addressed              226:24 227:9        2:5
absence            4:12 367:1            215:2 216:3            228:21 235:12       albumin
72:16 99:23 240:19 ACOG                  addresses            agents                183:18 189:6
academic           338:20                294:23               178:15 179:10         allege
70:12 76:5         act                   addressing             225:22 226:3,16     138:23
Academy            317:11                291:5 295:1            226:21 227:7        alleged
1:18 364:2,19      action                adds                 ago                   143:22 153:9 175:7
accelerate         96:6,6 98:2 99:22     169:7 249:14 341:3   30:8 37:2 235:12        298:23
311:22               272:12 299:23       adhered                250:13 320:8        allegedly
accelerated          300:2 334:14        341:16,21              327:13 350:12       152:22
287:3,14             362:14 364:14,16    adhesions            agree                 Allen
accept             activities            116:17 119:3,12      75:6,14 77:20 78:3    2:2 8:18,20
359:13             27:18 31:17 58:16      120:6,19 132:24       92:22 96:4 106:10   allow
acceptance           60:9 232:6 257:4     133:4,14 185:6        120:14 121:2        12:4 254:21
213:11               319:5 328:14        adjust                 134:14 159:2        allows
accepted           activity              268:15                 160:23 167:18       42:19 87:18
102:18 103:18,23   340:4 348:11          adjusted               168:13,18 172:14    allude
  250:12 320:24    acute                 269:4 272:22           180:2 218:3         86:17 128:9
  330:7            198:16,20             administer             239:14,15 253:20    alluded
access             acute-phase           352:1                  253:23 258:12       289:4
13:23 102:1,9,10   318:10                administered           264:22 266:7,23     alterations
  162:5 321:12     add                   188:23                 277:21 290:20       319:3,3
                   83:16 119:17 256:3    administration         293:20 294:6        altered

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 96 of 366 PageID:
                                    75451
                         Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                            Page 370

  314:17              84:3                 314:18                306:16 319:22       1:13 4:5 5:1 9:18
altering              anatomy              Antonio               340:5,11              10:1 364:5 367:4
329:1                 207:22 209:9         3:4                  applications           367:12
alternative           and/or               apart                194:7                area
132:16 150:16,20      139:4 171:7 221:22   28:5 207:18          applied              37:1 91:3 160:24
Amanda                Angeles              apologies            109:3 116:15           162:10 163:22
2:8 8:22              2:15                 74:4 257:23           119:14 201:5,7,16     186:19 198:13
America               animal               apologize             201:24 264:16         199:13 248:10
3:5,10                291:5 293:14,17      285:19 296:16         302:4 306:14          249:16 252:21
American               294:1               apparent              321:11 334:20         258:12 301:21
32:14 77:13 335:5     animals              211:2 251:8           341:11,15           areas
amosite               286:24 290:9 291:1   apparently           applies              43:3 70:19 198:22
146:7                  291:3 292:11,20     208:22               218:7 228:20           199:2 201:19
amount                 294:6               appear                236:15              argues
55:16 73:5 143:22     Annie                10:17 222:4 258:10   apply                110:7 333:21
  152:11,21 153:9     69:5,10              appearances          186:19 231:4         argument
  170:21 171:2,2,2    answer               4:2 56:19             235:17,19           213:10
  171:7,16 177:21     11:18 12:4,5 23:7    appeared             applying             argumentative
  202:21 231:12        39:17 40:9 53:18    77:13,17             240:9                88:17
  232:3 263:10         64:4 81:15 92:14    appears              appointment          aromatic
  279:7 299:2 301:4    92:14,20 105:14     258:7 276:3 316:2    61:7                 358:14
  319:19,20 339:18     110:10 112:9        Appel                appreciable          arrive
  340:7,9,11,16        115:13 135:16,24    3:17 4:8 9:9,9       202:21               215:1 241:19
  341:7,21 348:8       141:9 148:4          343:8,11,19,22      appreciate           arriving
  353:22 360:19        156:12 161:9         345:23 349:6        195:20               251:11
  361:1,3              162:23 172:4         352:6 353:2,13      approach             arrows
amounts                188:5 189:4          354:6,23 355:14     42:15,18 95:16       337:3
73:5,16 167:5          206:15 208:18        355:18 356:2,14      98:11,16 99:15,19   art
  169:11,16 176:5      220:1 307:4 316:7    359:16,20 360:13     99:20 100:4 312:3   41:18 208:12,17
  211:4                332:21 340:21        361:19 363:1         325:20              arthritis
amphibole             answered             appendices           approaches           121:18
31:10 146:5,17        88:23 106:17         102:2,11             93:12                article
analogizing            110:15 116:20       Appendix             approaching          26:5,9,11,16,24
359:22                 128:7 137:22        19:13 21:21          28:11                  28:9,23 29:3,4,8
analyses               152:6 157:2         apples               appropriate            31:9,20 32:6,14
113:24 114:4           228:15 242:5        254:18,18            98:10 99:22 164:18     32:22 33:10,11
analysis              answering            application           293:15 365:6          51:3,19 86:10
80:23 86:4 163:13     150:2                86:13 87:11,16       approximately          88:1,18 102:24
  191:18 192:18,21    answers               88:4,9,12,13,21     347:14                 103:7,11 117:3
  193:22 219:2        159:12 180:14         109:3 110:24        April                  248:17 280:17
  220:4 252:19         367:5                111:14 117:6        30:21,24 33:19       articles
  257:17              anthophyllite         119:24 147:2         218:21              25:6 28:3 51:14,17
analyzes              144:11,23 145:3,4     152:18 167:10       aquatic                86:17 87:8 104:23
219:22                 145:5 146:6          183:13 185:9        345:7                  105:1 125:1
analyzing             antiinflammatory      210:8 230:11        aqueous                183:11 185:5
215:12                131:8,20              231:6,10 232:4      345:6                  192:8 347:2,5,7
anatomical            antioxidant           296:10 302:1        Arch                   348:5,7,13

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 97 of 366 PageID:
                                    75452
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                                Page 371

asbestiform              216:3 228:14        43:23                   365:12 367:7        90:24
290:10,22 295:19         242:5 278:19        associate             attachments           authorized
asbestos                 283:6 336:7         61:8                  15:24 16:2 21:1       39:24
41:9,11,11 49:17         337:13 351:1,6,15   associated            attempt               authors
  55:12,17,20 64:19    asking                63:16 121:24 122:1    188:3 231:18          101:17 104:2,16,19
  72:10,17,17 106:2    92:1,12 112:7,10        122:7 131:10          277:13 325:7         105:5,11 106:23
  106:10 107:2           112:24 119:24         145:9,11,16           340:23               107:11 108:8
  114:23 115:4,9         136:3 174:17          152:12,15,19        attempted              111:11 128:1,3
  125:1 138:17,23        308:24 309:1          153:10,13,16        340:15                  163:6,17,21
  139:4,8,13,16,21       316:22 317:14         154:13 179:9        attempts                187:10 193:4,5,8
  140:8,22 141:7         350:12 351:22         248:10 249:17       231:23 232:1,2          194:11 196:18
  142:19 143:1           359:23 362:3          252:17 277:6          268:9 339:17,24       210:22 241:7
  144:7,19,19 145:8    aspect                association             341:7                 243:9 244:2,22
  145:18,24 146:2,5    137:8 173:19          17:7,17 27:3 38:19    attention               247:18 248:6,20
  146:15,17 147:10     aspects                 53:21 54:10 55:8    105:2                   249:10 269:4
  147:16,22 148:8      22:17,19,20 216:20      64:19,20 85:2       attenuated              271:24 277:16
  148:14 151:1         aspirin                 91:20 107:3 110:2   193:18                availability
  152:11,15,17,21      131:9,13,20             110:7,12 111:3      attorney              37:6
  153:9,13,22 154:1    assemble                129:18 130:9        36:21 364:13,15       available
  154:6,12,17 157:6    24:8 40:18              138:7,12 166:12       365:16              13:24 16:18 25:6
  157:15 158:19        assess                  196:11,21 198:1     attorneys               34:2 40:19 50:15
  159:3 160:4,17       111:20 231:19           223:5 229:24        13:2 20:3 24:6          54:13 69:1 78:5
  163:8 166:15         assessed                230:9,20,21 233:2     51:11 72:15 75:18     94:16 174:1,9
  167:5,14 168:14      258:19                  233:12 235:3,4,17     96:11,13 101:7        214:18 215:14,23
  169:1 170:19         assessing               235:24 237:8,23       103:22 104:14         216:9 228:9,10
  290:10,22 295:19     99:2 113:23             238:8,16 240:20       141:22 347:12         313:18 354:2
  296:7 297:21         assessment              243:12 244:3,15     attorneys'              362:19
  298:3,6,16,24        5:15 30:13 53:6         246:3,9 247:22      46:8                  Avenue
  299:2 300:3            89:15 94:23 95:22     248:23 250:6        attribute             3:8
  331:13,15,16           96:10,17 172:11       254:1 262:16,21     307:3,6               average
  332:16 352:10,14       172:15 173:1,8,13     265:6,11,23         attributed            231:2 280:19
  352:17 353:1,18        173:14,20,21          270:17              244:6                 avoid
  353:22 354:4           174:5,13,18,20,21   associations          Australia             241:10
  357:6                  174:23 175:2,7,14   109:9,20,21 121:13    308:9                 avoiding
asked                    175:20 205:22,24      193:18 221:24       author                244:24
32:3 38:1 39:15          214:6,12 232:9        223:7 233:8         27:5,24 29:2 77:6,7   aware
  53:15,17 57:4          355:6                 245:10 272:23         101:13 129:14,16    14:23 25:15 27:15
  80:19 88:22          assessments           assume                  246:22 286:13         31:21 37:4 41:8
  106:16 110:15        97:6 175:4 205:18     11:20 181:2           author's                46:22 49:19,20
  116:20,22 117:13       205:21              assumed               186:14                  50:22 51:20 52:1
  118:10,12 123:4      assigning             352:13                authored                52:3 67:1,4 68:16
  124:11 128:7         225:7                 Assuming              31:9 32:16 62:21        88:1 116:23 122:9
  137:21 144:24        assist                116:4                 authoring               127:24 131:7
  152:6 156:11         43:21                 assumption            89:11                   148:21 153:23
  157:1 165:7          assistant             139:14,19 296:3       authorities             161:16 185:5
  168:24 172:5         58:8 289:7            attached              89:21                   200:9 203:3,6
  199:11 214:1,16      assisted              21:7,21 323:2,5       authority               204:5 212:24

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 98 of 366 PageID:
                                    75453
                        Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                                           Page 372

 213:21 229:4       based                Beasley                228:20 231:8        2:19 9:3
 241:9 268:3,4      19:21 71:17,19       2:2 8:18,20            234:11 236:15       billable
 322:7,8,12,15,20    75:24 85:17 93:22   beef                   238:3 242:6         40:4
 325:20 358:9        94:5,15,20,23       336:14                 246:21 256:12       billing
 361:20              105:8 113:1         began                  257:7 267:5         45:9
awareness            143:13,17 148:1     40:18 43:15 65:13      271:23 278:20       biloba
55:17                153:22 157:17       beginning              279:4 281:21,24     229:3
awful                180:4 192:24        67:20 81:8 89:8        282:6 292:12        binder
349:16               193:8 214:15,22      96:1 177:5 197:5      296:2 302:18,22     13:13 15:8 24:1,3,8
                     220:3 223:13         199:10 253:12         305:7 309:12          28:5 30:1 192:5
         B           224:20 227:21        363:12                312:7 317:3 318:1     257:24
b                    228:8 235:13        begins                 330:15,22 337:23    bioassays
3:17 19:4,5,13       251:21 274:18       24:22                  352:8 360:7         361:8
  21:21 25:1 286:1   280:2 284:19        begun                  362:15              biochemical
  346:23 347:1       300:1 306:2 308:7   241:4                believing             312:21
baby                 308:14 310:16       behalf               17:5                  biologic
22:2,3 85:6 144:16   311:17 340:6        57:11 343:22         Beneath               59:18 229:24
  152:23 177:22      342:24 349:8        behave               125:12                  321:13,16 322:5,9
  232:9 274:21       352:23 353:8        213:3                benzene                 322:13,16
  275:6,11,20        354:1 359:8         behavior             360:19,22,23          biological
  358:23 359:3,5     362:13              74:7 358:9           Berge                 87:17 111:23 112:1
back                baseline             beings               6:13 242:15,15          132:18 224:12
31:21 37:9 77:6     176:1 195:8          249:19 358:19        Berry                   229:8 230:10
  125:16 136:20     basic                belief               129:20 145:22           339:9
  142:15 145:10     83:9 93:17 211:1     200:15 206:22        Bertolotti            biologist
  158:1 163:19       238:10 292:18        353:16              146:8 297:14,15       60:21
  168:11 207:19      310:24              believe              best                  biomarkers
  227:6 228:24      basically            22:12,13,19 25:8     12:2 74:7 364:9       313:19
  246:17 278:6      276:5 313:4 348:12    27:22 34:6,9 35:5   better                biostatistician
  307:8 314:22      basis                 37:17 39:4 53:5     109:14 249:7 326:6    61:24 253:17
  324:10 327:7      27:17 31:15 40:20     54:20 61:22 67:12     359:13              bit
  336:13 337:7       120:18 141:19        69:18 70:3,4        beyond                56:5 83:12 256:18
  344:9 362:6,10,19  157:5,11 158:9,14    72:24 84:16 85:1    202:11 340:13,24        270:13 296:21
background           199:2,13 279:20      89:12 95:7 96:11    bias                    305:5 358:22
155:23 156:1         306:22 307:1         103:1 106:18        210:19 213:6,8,9      black
  236:24             310:3 326:13,19      111:9 114:17          221:22 227:23       183:16 292:1
bacteria             327:18               115:11 127:11         228:11 239:17       bladder
202:14              Bates                 128:3 139:7,10        240:23,24 241:3,7   202:18,22
bad                 71:17,20              140:20 144:7,18       241:9,13,24         blank
321:18              bathe                 145:2 147:14          243:10 244:6,13     333:24
balance             199:18,20             148:2,6 149:9         244:20,23 245:1     blanks
248:8               bathing               153:24 185:3,12       269:7,8,13,18       187:14
Balkwill            199:22                186:14 189:1          270:3 276:11,15     block
127:5               beads                 190:23 202:20         277:14              257:24
banned              316:23                203:24 206:19       biases                blood
133:19,24 134:9,15 bear                   210:20 217:14,17    221:18                170:11
  134:18            182:18 291:12         218:5 219:4         Biddle                Blount

                    Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 99 of 366 PageID:
                                    75454
                          Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                                           Page 373

  5:18 31:10 32:7      296:8 298:6,24      129:17               call                  129:8 130:10
  33:10                299:5 301:10        broad                37:23 335:19          131:3,14,18,22
blue                   304:14 317:20       309:23 349:19          352:20              132:7,12,14 135:1
320:11                bolts                broken               called                135:15,21 136:6
Blumenkrantz          68:1                 279:9                38:17 77:16 189:24    136:17,19 137:1
183:18,21,22          book                 brought              calls                 138:7,8,13 139:9
board                 77:16,18             12:12,20 13:10,14    46:7 203:7 235:8      139:11 140:4
61:20,23 204:9        boost                 13:20 14:2,8,20     Camargo               145:9,12 152:12
  334:23 335:2        346:12                15:2,7 24:9,21      6:7 162:20,21         152:16,20 153:10
Bockus                borderline            28:4,21 29:24         165:18              153:13,21 154:2
3:2 4:7 9:5,5 234:1   237:2                 33:15,20 34:1,8,9   Canada                154:13,17,23
  236:7 284:1,7,9     born                  36:6 50:18 51:16    5:15,22 30:14 65:8    155:1,6 158:19
  284:11 285:7,17     313:3                 51:20 100:21          89:15,22 93:5,19    159:4,10 160:5
  288:14 289:13,16    bottled               123:20,22 124:6       94:3,18,20,22       161:19 162:12
  289:21,22 290:14    170:7                 124:11 176:13         95:22 96:4,10,17    163:8,15 167:22
  292:8,21 293:22     bottom                178:9 218:13          96:21,24 97:3       168:8 178:23
  294:8,18,20         69:10 196:19         building               98:13,15 99:1,13    179:15,16 185:14
  295:10 296:4,19     bound                234:12 335:21          99:18 100:9 205:9   191:2,7,16 192:23
  297:1,2 298:1       189:6                built-in               205:24              194:18 196:11,24
  299:10 300:16       Bradford             312:14               Canadian              197:17 202:18,24
  302:23 303:10       107:20,24 110:18     burden               30:3                  210:9 211:4,5
  304:21 305:6         215:7,12 219:22     182:19               Canal                 212:20,21 216:10
  307:18 309:20        225:4 229:21        Burns                2:9                   220:7,8 221:21
  310:8,10,22 314:2    230:18 240:7,9      2:8 8:23             cancer                222:1 223:8
  315:6,11,15 316:6    255:1 264:8,16      business             17:8 23:5 27:5 30:5   224:13,15,17
  316:19 317:12,18    Branch               76:1 149:7,12,20       32:1 36:17 38:4     225:24 230:13,23
  318:4,12,21         58:5                 bystander              38:20 41:3,12,14    231:3 234:7,21
  319:18 320:2,19     BRCA                 329:24                 41:16,24 53:8,23    235:4,18,20 237:9
  321:2 323:1         333:5                                       55:9 60:12,21       237:24 238:9,17
  324:11,17,20        break                         C             62:10,19 63:1       244:4 245:4 246:4
  325:4,22 327:1      86:24 87:4 89:2      c                      66:13 84:17 85:3    246:10 247:23
  329:15 330:21        176:20 343:4,14     2:1,13 3:1 297:5       85:7 86:8 89:23     248:11,24 249:17
  333:8 341:4 342:1    359:7 363:6         CA-125                 90:8,14,18,21,23    250:7 252:4 255:5
  343:1 359:17        breast               314:9,22 318:6,14      91:4,6,10,12,14     256:22 260:21
bodies                196:24               calculate              91:18,22 93:7,14    265:12,24 267:1,9
170:4 199:2,4         breathe              280:16                 95:10,13,18 106:3   267:17 268:2,6,19
body                  329:5,10             calculated             106:12,14,15,19     269:19,21 270:18
110:20 122:11         Brett                212:11,12,14           107:5 108:5 109:4   270:19 273:1,5,9
  132:19 135:10       79:21                  280:23               111:1,15 112:3      273:14,21,24
  154:9 181:24        brief                calculation            113:23 116:8        274:7,14,20 275:4
  183:8 200:7 201:4   118:22               306:20 341:3,12        119:22 120:6,14     275:11,20 276:4,6
  209:1 219:13        briefly              calculations           120:19,23 121:3,8   277:7 279:17
  247:19 248:21       190:22 225:12        251:9,21 340:6         121:22,24 122:8     280:8,13,22 281:8
  250:3 256:9         bring                calendar               122:18,22 123:9     281:22 282:14,19
  270:17 272:2,14     23:24 28:8 29:3,17   45:17                  123:14 125:1,5      284:20 286:18,23
  272:24 278:21        33:4,7 58:2         California             126:1,5,16,24       288:23 289:2,3
  279:5,9,12,14       British              2:15                   127:7,13 128:2,13   292:4,4,5,5 296:9

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 100 of 366 PageID:
                                     75455
                           Arch I. "Chip"         Carson, M.D., Ph.D.
                                                                                             Page 374

  306:3,5,8,14         41:14,17 116:13        13:4,9 14:9,19    case-control          cause
  307:7,13 308:12        226:14 288:19        15:18 20:10 21:3  125:18 126:8 223:4    23:5 38:4 53:8 98:9
  309:13 310:4         carcinogenic           21:10 26:2,6,19     232:17 233:1          99:24 120:6,19,22
  314:6 316:16         28:12 81:20 91:5       29:14 30:16 31:5    238:14 239:15,17      122:17 127:12
  326:14,18 330:4,9      114:23 138:18        32:8,19 36:7,10     240:13,14 241:5       128:16 129:7
  330:19,23 331:1,4      139:4 154:6 169:6    67:18 74:10,16      242:2 243:13          135:7,14,15
  331:11,18 332:24       171:20 178:16,17     89:10 98:21 99:10   244:5,16,21 245:9     136:24 154:12
  333:20 338:14,22       179:21 225:7,9       124:17 130:3        246:1,7 251:6         160:5 179:2 188:4
  344:11 350:1,3,5       226:4,17 227:1,10    149:23 150:13       253:21 254:10         199:5 211:2
  351:12 352:22,22       227:13 229:3         159:21 163:3        258:22 259:3,5        286:18 296:8
  353:5 354:11           249:19 272:14        164:9,18 165:5,17   260:13                312:21 329:20
  355:3,7 356:6,10       291:23 300:22        171:11 173:6      case-controlled         333:20 352:22
  356:13 357:12          311:14,15,23         177:7 192:11      239:22 250:17           356:6,10 357:12
  358:10 360:5,8,9       312:10 352:21        195:23 225:15       255:14                361:14,16,17
  361:14,17,18           356:24 360:20        243:1 247:8       case-specific         caused
cancer-causing           361:4,8,9            253:14 271:1      171:13                166:14 198:21
286:3,11 294:1         carcinogenicity        283:10 284:10     cases                   224:17 286:22
cancerous              83:18 169:8 180:4      289:9 347:9 353:4 1:8 37:11,12 57:6       313:11
317:10,16                248:12 249:9,20      353:14 354:8,17     76:10,11 78:15      causes
cancers                  290:9 295:18         355:1 363:2,13      131:4 140:9,10      53:8 85:6 86:8
17:4 91:8 93:16        carcinogens            364:5 367:4,12      159:5,9 160:16        93:16 122:21
  121:11,14 122:2      288:13 312:19,24     Casale                162:4 175:3           123:8 126:16
  123:14 153:17          356:17,18 357:14 146:11                  185:14,17 224:15      128:2,13 131:18
  166:14 167:3,8         358:3,15,16        case                  224:17 240:3          132:14,23 135:5
  168:6,10 179:2,8     care                 21:24 38:9 40:4       250:22 251:10,24      139:8,10 287:1,17
  213:2 236:16,23      3:20 9:10 343:23       50:4 51:7,9 57:16   254:20 273:4,23       287:18 288:23
  237:2,3,5 238:12       345:5,13             64:15 66:12 68:2    274:24 278:3          330:23 355:3
  251:1,2 280:2        careers                78:4,15,17 80:12    306:3,8,8 327:15      358:10 360:5
capable                213:24                 80:20 81:4 95:8     329:1               cavities
78:4 164:13 202:6      carefully              96:8 105:19 108:4 catch                 301:10
  220:21               365:4                  110:17 120:2      313:2                 cavity
capacity               Caroline               123:5 141:6,13,20 categories            83:12 183:8 207:1
42:4 56:20             3:12 9:12              144:4,8,20 147:12 225:12 357:2            322:2
caption                caroline.tinsley...    147:15 148:7      categorized           CDC
19:4                   3:13                   156:5 167:11      357:7                 90:6,11,12 234:24
carbohydrate           carpentry              171:6 173:17      category              cell
279:7                  229:12                 174:13 176:8      113:24 146:7 226:3    115:1 139:1 312:12
carbon                 carried                185:12 187:17       226:6,11 227:9        312:15 314:20
183:16 185:21          193:17 196:20          191:23 196:6        229:5 355:16        cells
  291:24                 211:18               211:8 215:18,20   causal                287:3,4,14 312:18
carcinogen             carries                217:15 219:2      53:21 54:11 85:2        314:6 315:20
178:22 179:14,15       196:17                 228:16 236:19       132:6 247:21          316:15,16 317:10
  179:19 226:22        carry                  242:7 246:14,17     248:23 250:5          317:15,16 319:15
  235:9,13 288:7,9     241:17 342:7           246:21 252:13     causation             cells'
  315:19 355:12,20     Carson                 293:21 302:22     17:2 100:10 109:3     317:1
  356:4,6,9,20         1:14 4:5 5:1,5,6 6:3   329:11,18 335:13    218:6 220:5 233:9   cellulose
carcinogenesis           8:14 9:18 10:1,18    350:23 362:24       233:13 234:6        279:8

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 101 of 366 PageID:
                                     75456
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                               Page 375

cement                 change                 178:15 179:10         271:16 283:6        cleared
146:1,13               59:7 205:5 253:5     chemotaxis              287:5,23 296:9      278:21 279:5
Center                   366:2              199:6 287:2,13          297:7               clearly
1:15 90:3 93:6         changed              children              cited                 321:10
centers                17:9 75:2,4 81:1     333:11 359:4          13:11 15:8,11,13      cleavage
90:17                    204:13,19          Chip                    24:15 29:9 32:23    168:21 169:1
Century                changes              1:13 4:5 5:1 8:13       54:18 66:17,20      clinic
136:20                 77:11 97:18 336:11     9:18 364:5 367:4      142:22 184:7        58:7 90:16 351:3
certain                  365:11 367:6         367:12                185:18 217:9        clinical
12:12 13:15 75:5       channel              chlamydia               218:1 256:8         27:17 31:16 38:24
  80:20 135:5          206:23               267:8,23                270:11 286:13         58:8 60:4,8 70:12
  206:18 213:10        Chappell             choice                  307:10                76:5
  216:17 243:15        6:4 129:19           345:14                citing                close
  284:11 353:21        chapter              choose                20:19 70:24           202:1 223:9
certainly              77:16                164:17 358:8          citizens              closely
117:1 141:18 158:7     characteristic       chose                 219:9                 329:20
  159:9 226:20         337:22               33:4                  citizens'             closer
  262:3 330:24         characteristics      chromium              221:16                198:13
  331:12 333:21        199:5 286:3,11       169:7,11,24 171:7     claim                 closes
CERTIFICATE              308:20               172:1 173:22        115:23 133:2          191:4
4:10 364:1             characterization       180:8,18 181:6        138:16 169:5        clothed
certification          239:4                chronic                 208:5               341:2
61:23 328:16           characterize         114:18 115:24         claimed               co-workers
certified              85:18 140:7 249:7      116:6,10 121:7      214:22                134:12
1:19,20 61:20          Charest                131:14 199:2,9,13   class                 coach
  334:23 364:3,3,20    2:8 8:23               252:15              229:2 272:12          164:23
  364:20               charge               chrysotile            classification        coaching
certify                93:20 144:3 346:9    145:18 147:9          6:11 178:20 225:6     165:2
364:4,7,10,13          Charles                154:21,23             225:8 288:8 342:5   coauthors
  367:4                129:19               cigarette               356:22,23,24        101:6,9
cervical               chat                 265:13,18             classifications       cobalt
198:12 199:14,24       342:22               circumstances         225:14,22 359:24      169:7,12,24 171:7
  200:12               chatter              186:18 206:20         classified              172:1 173:22
cervix                 204:2,5,6,24 205:3     327:12              162:7 233:18            180:8,19
189:10,13 200:20         278:9 342:21       cite                    249:18 356:1        cofactor
  201:6,7,16 206:23    check                19:11,12 20:5         classifies            267:21 277:18
  209:15,22 302:11     193:12                 29:11 33:11 71:2    178:14                coffee
  302:14,15 322:10     chemical               71:4 123:6 130:12   classify              265:11,13,17,21,23
  339:6,15             179:19,20 328:9        148:10,17 181:23    63:17                   266:1
chairperson              329:4,9              183:5,12 184:2      clause                cogent
95:17                  chemicals              189:8 191:22        107:8                 224:12
chairs                 63:7,13,15 72:23       195:3,11 196:5      cleanly               cohort
95:20                    73:6,17 75:1         208:24 211:12       264:2                 125:8,9 232:21
chance                   114:24 115:16,18     216:8 217:6,13,19   clear                   237:7,8 238:7,10
110:4,5,8 227:23         172:6 174:6          217:21,23 242:17    11:15                   240:12,20,22
  228:11 245:17          175:15,19 176:7      242:21 246:22       clearance               241:12 242:1
  251:22                 177:9,13,22          259:19 270:11       84:6 132:19 249:8       244:5 245:10

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 102 of 366 PageID:
                                     75457
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                                Page 376

  250:15,23 251:5,7    18:16 25:16 198:4     comparable            269:10                215:13,17 355:5,9
  251:13,18,20         commencement          187:4 201:15          concerned             conducted
  252:3,14,20,21       364:4                   254:18              236:1 361:5           61:14,15 85:11
  257:12 258:12        commencing            comparatively         concerning              114:3 206:8 209:5
  334:3                1:16                  348:7                 272:13 351:16           209:12 327:9
coin                   comment               compare               concerns              confer
109:14                 96:1 221:10 336:24    298:16 319:20         166:15                333:6
colleague              comments              compared              conclude              conference
117:8                  44:2,4,8 96:20,24     170:13 201:6 331:5    111:12 128:1          46:7
colleagues               97:2 117:13         compares                210:18 243:9        confidence
44:12,14 46:8            216:23 247:15       298:5                   252:20 333:19       126:9 223:8 227:24
  51:15 79:9,10,15       336:10,21           comparing               363:15                228:12 261:23
  79:17 80:13          Commerce              239:23,24 348:6,14    concluded               276:21
  297:17 344:2         2:4                   comparison            91:19 122:24          confirm
collected              commission            132:20 161:14           166:11 220:4        85:12 185:4
277:23 278:1,3         364:22 367:17           166:17 214:23         246:1 247:19        confirmed
collection             committee               299:1,9               272:17 286:17       152:9
12:14 153:17 347:7     2:6 95:16,17,20       compelling              288:5               confirming
collectively             129:17              220:10 230:13         concludes             328:24
238:15 246:8           committees              292:19              106:2                 conflicts
College                95:15                 complete              conclusion            105:4
59:5 335:5             common                15:11 18:13 22:13     86:19 106:5,6         conformed
column                 144:24 145:2            22:19 98:8 172:14     107:7 108:9         137:7
160:10 165:24            161:24 265:13         305:24                141:11,19 163:12    confound
  196:21 243:24          333:2 334:2,7       completely              193:3,5,7 215:14    264:18
  273:3,7              commonly              106:13,19 112:9         223:1,12 224:11     confounder
combination            144:17                  120:14                224:19 248:5        265:19
104:12                 communicated          complicated             250:2 286:12,20     confounders
combine                65:4,7 104:15         358:21                  305:8,12,20 306:2   266:14,17,18 268:6
326:3                  communications        component               364:12                268:9
combined               45:20 47:1,12 77:1    74:22 137:2 176:2     conclusions           confounding
299:12,22 300:13       community               177:17,20           18:16 76:22 85:16     210:19 221:23
come                   204:8 240:1,2         components              87:19,22,23 89:13     227:23 228:12
44:8,9 96:9 106:4        248:16 330:7        63:21 64:13 114:21      117:17 171:4          264:6,7,11,19,23
  149:4,5,12 282:9     community-based         140:15 147:21         173:10 215:2,9        264:24 266:3,4,8
  285:10 305:19        238:20                  287:12                216:22 218:2,4        266:11,20 268:21
  309:17 323:24        companies             composed                222:5 241:19        confused
  324:10 327:24        72:5 75:9,22          279:6                   251:11 253:1,1      330:1
  362:6,10               143:15              composition             326:8 355:24        confuses
comes                  companies'            304:20                concoct               265:6
56:3 232:16 251:24     150:23                concentration         334:3                 conjunction
  313:6 328:21         company               59:18 198:11          condition             76:16
  329:3 335:20         58:17 60:15 69:19     concentrations        116:24 119:16         connected
  346:10                 70:14 71:1,4 73:8   76:20                   121:19 122:5        120:11 329:20
comfortable              76:6,8,13,17,18     concept               conditions            connection
39:11,24                 77:22 149:13        313:5 358:7           121:3,7 186:5,18      110:23 119:21
coming                   150:23 151:13       concern               conduct                 329:19

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 103 of 366 PageID:
                                     75458
                          Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                                           Page 377

consensus             131:21 191:11        contains             171:20                62:7,19 63:2,10
224:16 234:5,11       constituent          16:7 71:23 139:16    contribution          63:13 64:10,11,14
consequence           63:20 64:13            139:20 141:21      78:24 299:22          81:6 82:4 83:9,21
152:23 153:3          constituents           157:6,15 158:10      352:18              84:19 85:4 90:14
consider              64:2                   361:6              contributor           90:18 96:2 98:5
51:4 54:9,12 55:20    constructed          contaminant          167:10                101:12 105:15
  80:20 90:20 123:4   149:15               143:23               control               106:3 108:23
  137:11,14,19        consult              contaminated         90:3 93:7 157:24      110:13 114:5
  156:23 215:7        338:4,8              77:12 147:16 148:8     316:17,24 317:11    116:18 120:7
  232:24 238:22       consultant           contamination          318:2               121:8,9 122:14,16
  239:9,11 241:1      55:23 56:4           106:2,11 107:2       controlled            125:14,18,23,24
  257:11              consultants            187:13             266:21 268:1          127:13 128:13
considerably          105:11               contemporaneous      controlling           131:1,5,17,23
357:24                consulting           94:4                 317:1                 132:8,24 134:4
consideration         56:16                Content              controls              138:7,13,14,15
221:14                consumer             31:10                187:14 273:8,13,18    146:24 147:11
considerations        22:5,7 73:8 143:23   context                273:20 274:21       148:15,20 152:24
91:9 225:4 254:17       151:13 152:4       56:15 78:11            278:4 315:16,17     154:2 155:7 157:7
considered              155:9 344:23       continue               316:9               158:11 166:9,9
13:16,18,22 61:6        345:2              58:7 74:18 263:19    conversation          168:2 170:5 172:3
  94:6 124:3 130:19   consumers              283:7 295:9        118:23 335:15         172:6 176:8,9
  159:4,8 174:24      214:8                  358:11,12,17       convoluted            177:10,14,23,24
  175:3,5 206:2       consumption            361:10             296:21                178:3,13,19
  210:20 214:6        360:4,11             continued            copies                179:16,17,22
  219:1 221:20        contact              43:16                13:11,14 14:9         181:7 182:2,5,6
  225:3 258:16        37:24 39:19 202:2    continues              36:14               183:10 184:22
  264:6               contacted            206:24               copy                  185:2,9,19 186:1
considering           36:20,21 37:5,14     continuing           10:20 13:17,21        186:3,4,11,20
110:18 215:1 222:6      284:16             244:12                 14:11 21:13 28:6    187:15,20,23
  258:9 325:12        contain              continuous             30:2,20 149:24      188:12,18 190:11
considers             16:4 19:10 139:13    43:17                  150:7 159:19        190:16 194:16,23
205:12                  140:22 141:6,13    contract               162:22 195:19       195:7 196:7,8,14
consistency             141:17 148:14      59:3                   259:24,24 260:1     197:16,19,22
107:12 108:1,4          290:22 295:19      contractions           321:3 336:22        198:6,22 200:22
  109:7 110:19          352:9,14 353:17    188:15               cornstarch            201:20 202:16
  210:24 222:20         353:21 357:6       contractor           29:6 132:10,15,17     205:7,21 206:6
  229:24 230:9          358:14 360:18      59:7                   132:22 133:19,24    207:3 208:2,4,10
  237:22 240:7,10     contained            contradicted           134:8,14 278:20     209:3,4 210:10
  240:11 245:6        16:16 54:21 72:24    205:10                 278:20 279:4,13     216:7,11 217:8
  249:22                73:1,6 150:17      contribute           Corporation           220:8 221:9,11,12
consistent              152:22,22 175:8    18:11 20:22 74:22    58:12 59:11,11,13     222:21 223:17
110:12,13 111:6,9       175:15 181:1         80:22 221:21       correct               224:2,6 225:9,10
  111:13 112:19         285:9              contributed          20:20,21 22:22,23     226:1,4,5,8,19,23
  114:4 132:6 223:5   container            20:5 73:20             39:1 45:3,4 49:6    227:2,11,14,20,24
  232:20 237:23       340:10               contributes            53:23 55:12 57:19   228:13 230:2,14
  238:4               containing           296:8                  60:16,17,19,20,24   232:15,17 233:5,9
consistently          5:21 139:4 290:10    contributing           61:4,18,19 62:2,5   234:15,22,24

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 104 of 366 PageID:
                                     75459
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                            Page 378

  235:1,15 236:1,19      166:20 222:2,3      25:5 30:8 40:21      144:13,15 145:11            D
  237:9,17,20,24         301:14 324:21         87:2 176:15          145:16 146:6      D.C
  238:9,17 240:2,4       339:21                181:21 218:18        147:9 154:21,22   3:19
  240:14,17 246:4,5    correlation             231:22 256:15      crossed             daily
  246:10 250:8         322:21                  257:6 286:21       324:19              231:9 232:10
  253:15,16 254:4      correspondence          305:15 327:10      Crowley              260:22 261:16
  255:2,19 256:24      87:17                 course               48:16,17,18,19,24    262:13,15 263:10
  257:5,10 258:24      corresponding         56:5 73:3 74:13        49:2,21,22         263:11,14 302:5
  259:11 260:15        27:24 278:4 306:9       344:14,17 345:10   Crowley's            306:22 307:1
  261:7 262:6,18,22    corrugated              345:11 362:4       50:8 73:3            309:24
  264:17 265:9         146:13                courses              CRR                 damage
  266:16 267:2         cosmetic              344:12               364:18              135:11 313:2,12
  268:16,21,24         31:11 57:16 60:15     coursework           crystal              314:21
  269:5,11 270:1         157:6 158:10        344:10               180:13              dangerous
  271:5,8,22 272:19      168:14 180:9,20     court                cull                359:12
  272:20 273:6,9,22      181:7 248:9         1:1,19 9:15 12:6     42:22               data
  274:4,10,17 275:3      249:16                364:3,20 365:20    culmination         76:24 149:3 150:17
  275:13 276:18        cosmetics             Coussens             345:10               211:19 215:14
  280:22 281:8         219:15                117:10 126:21        culture              220:11 263:24
  283:17,18 286:7,8    Cottreau              covariate            319:16               273:11 274:18
  286:9,18 287:6,7     127:2                 272:17               cultured             277:23 278:1,2
  287:18 288:9,16      Coughlin              Covariates           314:6 315:20         280:3 290:1 291:5
  290:5,11 291:8       3:7 9:8               272:8                cure                 307:9 346:14
  294:2 295:21,23      counsel               covered              100:8               date
  296:12 297:9,21      2:6,11,16,22 3:5,10   43:5 185:3 285:21    curiosity           1:17 57:20,21 58:2
  298:7 301:17           3:15,20 8:15        covers               350:14               227:4 284:22
  304:24 307:13,24       11:19 15:5 23:1     22:17,20             curious              364:8 365:9
  308:3 309:2,5          25:11,15,17,20      Cramer               40:17                367:12
  311:1,2 314:6          26:17 27:10 30:10   6:10 195:12,15,17    current             dated
  318:7,15,18            32:3 33:5 34:16       195:22 196:5,9     41:17 94:13 120:3   25:24 26:9 30:14
  320:15 321:4,5         34:19,24 35:19,24     197:24 255:8         148:1 205:11       218:21 364:23
  322:6,10,11 324:3      36:5 38:15 39:3       259:13 260:9         247:19 248:20     day
  324:23 325:5           45:20 47:6 53:17    create                 250:3 312:5       60:6 189:19 228:24
  326:14,19 327:3        65:20 71:13 72:5    199:12 279:13        currently            367:16
  327:18 329:1           101:10,15 102:13    created              60:5 204:4 300:12   days
  332:11 347:15,16       104:24 105:12,18    25:8 148:22 313:3      326:7 345:4       39:20 40:7 189:21
  350:1 352:10,14        105:23 108:23         346:2,3,5          curriculum           300:14 309:9
  354:11,18 355:4,7      118:12,20 142:23    credentials          5:6 21:6 57:18       365:16
  357:7,8 362:7          148:22 343:24       104:18                 58:20 70:23       de
  367:5                  346:2,5,19 361:21   criteria               344:21 345:16     325:8
corrected                362:2 364:14,15     109:2 215:8,13       cursory             deal
134:3                  count                   229:21 237:22      344:20              164:16 239:5
corrections            251:1                   240:7,10 255:1     cut                 dealing
58:1,19 365:4,7        country                 264:8,16           74:9                168:10 199:9
  367:6                97:23,24 100:11       criterion            CV                  dealings
correctly                233:20              110:19               58:1 64:23 77:4     37:2
100:1 107:6,9          couple                crocidolite

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 105 of 366 PageID:
                                     75460
                         Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                             Page 379

dealt                 342:17                151:17 159:21       231:14                diagnoses
137:16                demonstrate           163:3 192:11,14     despite               307:17
dear                  119:11 223:4          195:23 225:15       166:11                diagnostic
358:24                 313:22               243:1 245:24        detail                329:2
deaths                demonstrates          247:3,8 249:7       220:1                 diagrams
306:5,9 307:7         126:14 276:11         271:1,4 289:9       detailed              338:7
decades               demonstration         363:15,19 364:12    285:2                 Diana
310:15 359:10         98:9 99:23            365:3,13,17,18      detect                282:18
December              dendritic            depositions          211:19,23 251:12      diaphragm
30:14                 42:6                 53:2 56:13 66:11       252:9 253:3         201:17
decide                department            66:15 67:21 68:8      255:22              die
29:17                 61:8 79:18 80:1,2     68:11,20,24 70:14   detected              233:20
decided                239:6                148:11 164:12       180:8,19 188:2        diesel
33:7 40:11 59:6       depend               deposits               211:24 243:12       361:6,9
decision-making       308:17 310:18        41:9 169:15            244:15 251:14       differ
5:23 99:1,14,20       dependent            deps@golkow.com      determination         180:3 201:21
decisions             139:3 180:24         1:24                 78:6 280:12 330:17    differed
14:14 358:6           depending            derived                348:20              193:23 349:14
declare               181:3 306:18 332:2   205:24               determinations        difference
226:21                depends              derives              194:14 251:10         19:2 21:19 194:9
deemed                78:14 156:6 236:5    333:22               determine               194:12 201:12
365:19                 239:19              describe             85:23 157:14 190:4      212:18 242:1
defendants            depo                 14:20 208:15,23        258:18,22 318:24      252:9 277:19
2:17,22 9:1,4 52:4    33:8                  309:10                330:3 340:10          315:21
defense               deponent             described            determined            different
52:12 57:14 346:19    4:12 8:13 367:1      199:10               59:14 91:12 143:18    43:3 68:7 93:11,12
defer                 deposed              describing             259:1 279:24          94:2 97:22 106:6
82:23 95:19 144:3     66:5,12              309:5                  280:7 311:8 349:9     137:9 138:21
 169:2 281:2          deposing             description            355:1 360:20          139:2 143:15
define                365:15               5:3 84:14 237:15     determines              155:5 168:15
135:22 137:5          deposition            266:3               280:14                  172:6 179:8,9,11
 281:16 313:9         1:13 5:1,4 6:1 8:9   design               determining             179:21 181:2
 326:5                 10:8,16,18 11:4     190:1 211:18         330:8                   186:17 213:2
defines                12:11,19 13:6        221:19 240:21       develop                 225:22 237:21
99:18                  14:6,8 15:1,18,21   designated           53:21 135:2 199:1       240:11 254:16,16
definition             16:4,9 21:3,10      227:18                 251:1 345:12          254:17,20 261:3
23:20 136:2 228:18     23:24 25:24 26:2    designation          developed               280:2 291:24
 292:18,23             26:6,19,23 29:14    227:16 228:10        330:9                   293:7 305:5
definitions            29:22 30:16 31:5    designed             developing              316:20 342:22
228:23                 32:8,19 36:4,7      291:23               356:12                  349:10 357:2
definitively           52:14 66:4,7,19     designers            development           differential
162:6                  71:1,3 98:20,21     241:1                135:20 136:5          319:4
degree                 98:24 108:17,20     designing              284:20              differentiate
59:17,24 249:22        124:12,16,17        241:2                diagnosed             168:24
Delclos                130:2,3 148:18,19   designs              306:4 307:12          differentiated
79:20 337:5            149:10,11,16,18     254:15                 326:13,17 350:4     212:22
deleting               149:21 150:9,10     desired                351:11              differently

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 106 of 366 PageID:
                                     75461
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                             Page 380

  201:5 213:3         discovered            distillation           34:15,18,23 36:14   6:3 8:13,19 13:4,9
  238:22              241:3                 214:21                 71:5,9,12,16 72:3    14:9,19 20:10
difficult             discuss               distinction            72:3,4,6,22 75:7     27:24 31:2 33:19
162:2 256:20 257:2    80:11 114:12          238:19                 75:10,14,21 76:6     36:10 46:11,16,18
  347:22 359:6          133:13 183:2        distinctions           76:9,13,19 77:22     47:9,24 48:2,5,11
difficulties            244:2 278:13        154:15                 77:23 78:10,10,11    48:12,16,18,19,24
161:17,21               338:1               distinguish            78:18,19 136:4       49:2,16,21,22,22
dioxide               discussed             34:22 35:5 154:11      158:5 245:8 346:6    49:23 50:1,8,11
292:1                 13:5 21:14 38:10        162:2,7              346:6 347:8          51:5,9,21 67:18
Diplomate               80:12,14 107:12     distinguishing        doing                 73:3 74:10,16
1:20 364:3,19           127:3 170:18        161:18                39:21 40:1 45:13      79:20,21 80:8
direct                  225:11 235:11       distort                46:4 48:8 147:24     89:10 99:10 117:3
82:2,11 83:4            238:9,23 244:23     266:4 269:13,19        148:3 232:5          117:9,12 149:23
  181:14 243:17         254:3 336:5         DISTRICT               285:11 336:14        150:13 164:9,18
  322:21 324:6          355:23              1:1,1                  365:8                165:5,17 171:11
directed              discusses             division              Donath                173:6 177:7
221:11                28:10 29:5 127:6,7    287:4,15              3:7 9:7,7             218:22 236:12
directing               280:11 337:22       DNA                   dose                  253:14 283:10
294:15                discussing            312:13 313:11,22      153:4,5 206:16        284:10 335:7,16
direction             13:5 93:14            doctor                 230:14 255:9         340:4,15 347:9
334:18                discussion            73:24 92:2,10,13       256:21 298:3,13      353:4,14 354:8,17
directions            79:9 81:1 163:20        92:21 113:1,4        298:16,23 311:1      355:1 363:2,13
334:17                  164:4 165:20          127:23 164:11        311:18 324:22       draft
directly                166:1 204:7 285:3     207:6 289:20         325:2 326:2         5:15 30:13 44:1
101:5 138:22 201:7      342:8                 295:7 314:24         354:22 355:5         89:14 95:22 97:6
  201:16 216:21       discussions             315:23 343:16        356:5,9,11           205:18,21,22,24
  263:6 319:15        47:23 48:1              363:17              dose-response         348:1
  323:5 346:10        disease               doctor's              111:13 112:20        drafting
director              77:14 90:3 93:7       332:20                 173:1,9,13,19,21    347:20 348:8,12
58:6,13,24 59:10        122:17,21 123:8     document               174:1,4,9 222:14    drafts
dirty                   126:15 127:12,19    1:7 6:12 10:21         222:16,18 223:9     336:8
264:1                   128:2,13 196:14       28:17 30:7,9,12      254:24 255:4,8,15   dramatically
disadvantage            233:21 265:7          33:3 68:15 71:22     255:17,21,23        75:4
251:15                  269:15 328:19,21      91:24 92:16 93:2     256:5,21 257:8      draw
disagree                358:10                99:9 100:13 102:6    259:20 262:9,24     76:22 86:18 87:19
108:9,12 223:22       diseases                113:10,17 120:3      263:1,17,19          171:4 337:3,6
  225:1 356:21        121:12                  134:7 193:13         270:14 354:9        drawing
discard               dish                    218:13,24 225:13     355:10              204:9
42:23 349:12          300:7                   257:22 282:17       doses                drawn
discarded             dispute                 291:14 316:5        326:10               85:17 87:21
348:17,23 349:8       151:2,6               documentation         Doug                 draws
discount              disseminate           72:16                 3:23 8:4             322:21
238:18                93:22                 documents             Downey               drink
discounting           dissolution           12:12,15,17 13:15     69:17,18             311:4
244:20                339:8                   14:7,24 19:6 24:5   Downey's             Drinker
discounts             dissolved               25:19 29:23 30:19   69:20                2:19 9:3
91:17                 279:10                  33:24 34:1,5,7,13   Dr                   drinkers

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 107 of 366 PageID:
                                     75462
                          Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                                              Page 381

 265:14,21,22           216:4 238:23         137:17 170:20         208:8,11,16 209:3     344:14,18,22
drinking                259:14 268:12        213:23 270:3          305:16 337:17         345:3 351:24
170:7 265:23 266:1      270:13 278:19        272:14                362:12,15             352:3
drive                   293:1 321:7        effort                Ellis                 enzyme
5:21 13:20 36:5,11      345:24 347:13      143:21 150:15         2:13 3:12 9:13        319:4
Dropbox                 348:16 349:23      efforts               elongated             enzymes
346:7,11,13,17,21       351:23 352:7       140:6 147:21          137:7                 314:18
 347:3                  361:24             Egli                  emphasizes            epidemic
drug                  early                183:16 185:18         99:21                 182:22
219:14                65:21 214:1 222:7      187:10 188:20       employee              epidemiologic
drugs                   245:24 330:19      eight                 58:7,24 364:13,15     191:15 211:11
131:8,20                332:24 333:12      24:10 192:19,22       Enbridge                224:21 231:1
due                     336:8                193:9 194:5 297:8   58:12,18 59:11,13       236:24 239:5
29:6 110:3,5          easier               either                endeavors               263:24 264:20
 171:19 187:12        334:8                24:15,21 29:9         213:18                  270:19 326:3
 251:12 265:24        east                   31:15 32:23 37:17   ended                 epidemiological
Duffy                 3:3 145:21             52:17 73:7 75:8     194:12 340:17         84:16 104:21
3:7 9:8               EASTERN                82:2 92:13 94:6       341:16 349:20         111:19 210:6
duly                  1:1                    96:5 101:21         endogenous              212:7 213:1
9:19 364:5            easy                   139:21 140:8        115:7 312:20            247:20 248:8,21
duplicated            150:4,6                176:6 177:21        endpoint                249:15 250:4
125:19                eat                    181:14 194:12       287:11                  266:5
duration              357:15 358:12          226:21 282:4        ends                  epidemiologist
212:15 241:16         echoing                302:12,16 316:8     339:19 341:8          61:5,7 79:23
 272:24 354:18,20     344:2                  327:15 328:7,15     Energy                  238:24 239:9
dust                  Edelman                338:23              58:14 59:10,12        epidemiologists
229:15,18             163:23 165:22        electronic            engineering           211:14 232:24
dusting                 166:8              337:8                 59:19                   233:18 236:1
140:3 201:17 302:5    editing              element               England               epidemiology
Dydek                 43:17                317:14                145:14                61:9,18,21,23
47:16,19,24 48:2,5    editors              elements              English                 87:14 140:1
 48:12 49:23 50:1     249:12               169:13 170:1          211:21                  213:14,17 220:17
DYKEMA                edits                  172:16              entire                  239:7,12 270:20
3:2                   103:6                elevated              52:20 69:13 83:11       308:14 309:2
                      education            146:14 304:9            291:22 294:10         354:13
         E            61:12                elevation               347:23              epithelial
E                     effect               314:9                 entirety              116:11,12 133:12
1:17 2:1,1 3:1,1,2    98:9 99:24 100:14    elevator              68:21                   153:17 235:20
  364:2,18              138:18 154:23      335:24                entry                   236:16 237:1
e-mail                  211:2,23,23        eliminate             58:14                   313:12 316:16
37:22 47:11             244:20 251:13,14   200:5                 environment             323:10,13
e-mails                 253:2 274:19       eliminated            181:3 312:19 345:7    epithelium
342:10,15,18            276:5,14 329:21    134:3                 environmental         322:1
earlier               effectiveness        eliminates            31:12 55:19 57:7      Epstein
51:5 68:19 79:7       314:18               199:23                  57:11 179:1         5:17 31:2 33:19
  116:22 136:15       effects              elimination             278:12 312:24         218:22
  167:12,22 214:5     63:15 129:13         83:20,23 84:10          328:10 342:3        equal

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 108 of 366 PageID:
                                     75463
                            Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                                 Page 382

equal                   97:21                   257:2 280:7 346:9   357:18                  195:22,23 196:5
245:17                  evaluate              exam                  exercise                218:20 219:5,5
equally                 170:19 249:8          62:9 189:9,11,12      280:24 325:18           225:14,15,20
235:18                    256:21 291:23         327:9               exhaust                 242:24 243:1
equipment                 295:2               examination           360:15 361:5,6,9        247:3,8 259:16
162:6                   evaluated             4:5 9:21 284:8          361:13                260:7 271:1,4,12
equivalent              105:8                   305:3 343:18        exhaustive              282:22 283:1
72:20 259:2 261:16      evaluating              364:4               214:16                  289:5,8,9,23
  302:1                 210:24 230:24         examined              exhaustively            293:2,4,5 315:24
errata                  evaluation            102:9 160:10 190:8    210:19                  346:23 347:1,10
4:11 365:6,9,11,15      228:21 269:14           207:7 286:2         exhibit                 347:11
  366:1 367:7             295:18              example               5:4,5,6,7,9,10,12     exhibits
especially              event                 64:17 76:14 84:6        5:13,15,16,18,19    5:1 6:1 7:1 21:2
112:2 240:20            311:23                  93:13 97:21 117:3     5:21,22 6:2,4,6,7     53:1 68:24 69:2
ESQUIRE                 events                  140:13 154:19         6:8,10,11,13,14       148:11,22 149:4
2:2,3,8,13,19 3:2,7     313:17                  205:8 245:1           6:16,17 7:3,5,6       150:18 152:1
  3:12,17               eventually              265:10 267:7          10:16,18 12:11,19     284:4
essentially             42:17 43:18 214:24      268:11 269:18         15:17,18,21 16:4    exist
16:24 134:18              233:12                276:14 286:14         16:16 17:10,15      97:20 253:2 296:7
  136:18 194:4          everybody               312:16 358:23         19:4,5 21:3,6,10    existed
  220:3 274:19          360:12 361:18           359:24                21:13,20,23 22:10   161:17
  306:7                 evidence              examples                24:24 25:1,24       existing
establish               87:14 91:20 93:22     199:4                   26:2,6,10,19,23     212:13
39:22 111:22              98:1 109:2 111:2    exams                   27:7,13,23 28:14    exists
  247:21 248:22           112:15 143:19       327:15 328:15           28:18 29:14 30:15   27:15 59:13 86:19
  250:5                   170:10 203:7        exceed                  30:16 31:4,5 32:7     209:21 213:18
established               204:15 206:4        333:17                  32:8,18,19,22         254:2
85:19 86:1 220:5          210:24 211:1        exception               33:10,18 34:15,24   exonerated
  313:19                  220:11 222:16       15:12 362:22            36:4,7,12 43:14     286:10
estimate                  223:10 226:7,13     Excerpt                 50:19 54:22 57:19   expand
45:12 166:7 174:1         227:22 228:3,8      6:17                    58:2,21 65:1,12     16:8
  174:9 232:2             230:9 233:14        exchanged               66:18,21 68:10      expanded
  256:20 257:2            235:13 247:20       47:11                   69:4,8 70:24 71:6   41:5,9
  347:17                  248:8,22 249:15     excluding               89:16,17 94:24      expect
estimates                 250:4 288:18,20     216:17                  98:20,21,24 99:7    16:8 17:13 131:19
39:8 193:22               288:22 290:1,2,7    exclusion               100:21 101:14         167:2 191:7
Estimating                290:8 291:3,8,11    193:19                  102:4,15,24           194:16 197:16
282:19                    292:11,19,20        excuse                  103:17 104:3,10       198:19 201:14
et                        293:14,24 294:5,7   19:19 20:9 54:3         106:1,21 124:16       245:17 262:24
5:9,10,12,13,18,19        296:1 301:2 304:4     73:22 81:22 86:20     124:17 130:2,3        263:18
  6:4,6,7,8,10,13,14      304:18 305:12         105:14 128:22         146:23 148:17,18    expected
  6:16 26:5               313:8,8 352:20        149:22 164:7          149:10,11,18,24     300:4
Eternit                 evidencing              171:11 173:4          150:1,2,8,9,18,19   expense
146:10                  181:24                  189:11 207:10         151:10,10 152:2,2   252:17
etiology                exactly                 234:1 294:13          158:2,3,6,7         expensive
220:17                  62:13 142:11            324:4 332:19          159:20,21 160:3     241:15
EU                        174:16 251:8        exemption               163:2,3 192:11,14   experience

                       Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 109 of 366 PageID:
                                     75464
                           Arch I. "Chip"             Carson, M.D., Ph.D.
                                                                                                Page 383

  19:23 118:19           212:18 284:17         312:1,5,24 318:2    face                    232:1
  121:6 359:2          explained               322:22 328:10        97:19                failure
experienced            111:8                   331:17 332:14,16    face-to-face           166:17
159:10                 explains                351:24 352:3         45:24                fair
experiment             106:19 242:1            355:2,11 357:11     fact                   11:21,23 31:23
317:5,11 318:3         explanation             358:6 361:13         84:3 85:19 86:1        74:15 211:24
  341:5                182:13 243:12         exposures               91:18 108:3 132:5     246:18 265:15
experimental             244:15              55:18,19 57:8,11        132:22 133:18         266:1 285:8
116:23 120:2           explanations            84:7 298:9 300:13     191:9 192:1 199:8     294:11 301:3
  185:21 188:4         150:16,20               311:21 325:13         238:3 241:15          342:20
  189:17 247:20        exposed                 328:9 344:18          244:2,22 246:22     fairly
  248:21 249:6         145:24 146:15         express                 249:12 257:7         84:13 86:18 145:17
  250:4 290:7,8          160:17,18 167:5     349:2                   262:23 288:3,5        214:16 235:9
  291:1 294:5            213:22 298:4,18     expressed               302:24 304:7          279:10 282:9
experimentation          299:3 329:4         16:14 360:24            345:9 353:17          324:6
87:18                    361:11              expressing              357:6 362:11        fallopian
experiments            exposes               18:21 81:4 181:5      factor                 183:14 184:4 190:3
85:12 86:3,7 206:9     83:11                 extend                 90:13,18 91:14         191:4 200:24
  316:9                exposing              41:14                   110:9 128:14          303:17 322:1,17
expert                 317:15 361:3          extended                129:1 147:6 171:1     322:23 323:3,15
5:5 10:11 15:16        exposure              23:15,17 209:23         191:14,18 230:18      324:1,12
  37:5 47:14 48:7      77:11 82:2,11,15      extending               267:17 268:19,21    false
  48:14 49:19 50:2       82:20 83:4,7        43:2                    280:18 331:13        187:12
  55:11,20 56:17,21      91:21 111:21        extends                 333:22 334:7        familiar
  57:3,9 66:11,15        113:23,24 117:5     356:15                  341:3 358:4          11:9 27:14 41:4
  67:23 80:5,9           135:4,6 152:12,15   extensive             factoring               90:2,21 97:12
  117:24 118:20          152:17 153:9        42:7 83:13             170:21                 99:10 129:4,11,21
  137:12,15,20,23        154:22 160:4        extent                factors                 129:23 131:12,15
  156:13,15,24           161:1 163:7         35:3 75:6 155:18       19:24 95:12 107:21     144:12 155:8,13
  168:20 171:13          166:15 168:13,16      170:9                 108:1 162:11          155:16 158:17,23
  187:8 207:16           170:20,21 171:24    external                163:14 166:18         159:15 162:20
  224:4 239:12           174:12,17,20        86:13 87:10,15          215:8 219:23          203:4 212:5
  252:13 347:15,20       175:2,4,6,13,20       88:3,12,20 119:24     221:20 230:4          242:14 243:6
expertise                178:1 179:3,12,20     185:8                 266:20,24 279:22      247:12 265:2
151:1,6 280:21           179:22 181:14,19    externally              280:1,15 330:14       269:7 331:11
experts                  181:22 182:16,17    116:15 119:13           331:10 332:17,23      332:17 341:6
49:8,14 50:21 51:1       191:1,6 193:20        188:9                 333:3,4,10 334:2      357:20
  51:24 52:4,8,12        194:6 198:10,10     extra                 factory               family
  66:4,8,9 70:14         198:14,16,20        228:24                 145:20 146:11         58:9 333:6
  82:23 122:23           199:9,12,23 200:5   extrapolate           facts                 Fannin
  144:4 169:3            200:6 209:6,8       325:8                  214:21                1:15
  213:20                 212:13,15 224:14    extremely             faculty               FAPR
expires                  224:18 229:15       76:3 241:15 353:22     239:6                 364:18
364:22 367:17            255:4,12 265:7                            fail                  far
explain                  269:14,20 297:21             F             365:18                10:10 198:11
106:3,11,13,15           298:5,6,11 299:3    F                     failed                  249:23 348:4
  107:3 190:22           299:13 311:15,17    3:7,18                 187:13 220:10          361:5

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 110 of 366 PageID:
                                     75465
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                               Page 384

fast                   19:10 20:4 40:2       323:17               first                  170:6 219:14
 303:17                 41:13 216:1,22      filter                 29:2 30:24 36:16       357:15,17
faster                  254:21 325:15        187:14                 40:8 65:10 77:6,7   footnote
 303:18               female                fimbriae                81:18 83:15          148:16
fatal                  82:3 83:5 145:13      322:1 323:14           114:16 124:24       force
 233:21                 181:15,18 207:24    final                   140:1 160:9 166:3    189:10,13
fatality                209:8 303:21         103:7 107:8            215:20 230:18       forces
 306:10                 350:21 351:15       finalized               237:15 261:12,15     334:16
fault                 feminine               16:19                  286:1 301:7 326:2   foregoing
 241:5                 288:6                financially             340:3                364:7 367:5
favorable             fewer                  364:15               fit                   foreign
 217:7,10              160:16               find                   348:24                199:2,4 209:16
favorite              fibers                 34:20 42:18,19,20    five                    315:18 317:20
 345:14                72:11,17 114:22        91:15 111:12         261:4,4,10 262:10    form
fax                     115:5,8,10,10         132:6 142:18          262:12,14 263:9      11:22 17:21 18:22
 1:23                   138:23 140:9          143:1 167:2 194:6     263:11 297:8          19:20 25:3 37:16
FDA                     169:2 290:10,22       194:11 218:17         310:20                38:7 53:10 54:2
 5:16 30:21 31:2        295:20                262:20 281:14,18    fixing                  55:14 59:2 60:23
  33:19 65:4 133:18   fibrosis                282:12 291:11        312:15                 62:12 63:9,24
  134:15 143:6,11      116:16 119:3,12        293:24 311:7        Fletcher                65:24 70:16 73:11
  143:13 218:14,20      120:5,19 132:24       316:13 320:6         5:10 26:5,9 313:14     75:13 78:2,13,23
  219:13,21 220:4       133:4,15 185:6        330:19 358:4        floor                   80:16 81:13 82:18
  220:16,20 221:13    fibrotic              finding                2:15 335:23            84:2,21 85:15
  221:16 222:5,11      287:1,19              100:10 193:18        Flower                  86:15 87:12 88:6
  222:13,15,19        fibrous                 222:11,11 223:21     2:14                   92:18 94:12 95:4
  224:7,20 230:14      77:12 114:23 115:7     223:23 262:5        fluid                   97:9 98:4 107:15
  234:14                115:9 137:5,6,12      277:22 283:22        323:18,20 324:1        108:11 109:17
FDA's                   138:17 139:5,21       334:9 349:16          362:7,20              110:14 111:17
 143:4,8 223:12         140:15 141:14,17    findings              fluids                  114:7 116:20
  234:14                141:21 158:11        106:24 114:3          279:10 339:9           119:6 120:9,21
FDI                   field                   220:17 223:19       FLW                     123:11 127:15
 222:10                61:12 213:14,17        253:22 254:21        1:5                    128:6,19,24 132:1
Federal               figure                  276:13 294:22       focus                   133:7 136:8 137:6
 134:7                 328:18                 295:13               22:14,16 38:20         137:10 139:23
feedback              file                  finds                   93:15 94:2 249:24     140:24 141:24
 79:14                 24:6 35:23 346:1,1    123:7 197:24 226:7   focused                 144:2 147:5,17
feeds                   346:7,11,17         fine                   230:14,19 249:22       148:23 151:4,14
 342:7                filed                  39:14 173:7 343:17     310:12                152:6 153:2,15
feel                   272:13 274:9,12      finish                focusing                154:4 155:12,20
 74:9 99:8 113:3        275:5,10,19 277:4    12:2,5 74:1 103:13    216:17                 157:9 158:13,22
  164:5,9 289:19      files                 finished              follow                  159:7 161:6
  292:15               42:2                  20:10 74:17 103:14    11:10                  162:15 164:24
Fellow                filings                 173:5,6,7 207:11    following               167:16 168:4,17
 1:18 364:2,19         271:21 276:2           207:13 283:4         193:19                 170:15,24 171:10
fellowship            fill                    295:6 298:20        follows                 172:8,18 174:7,15
 61:18                 333:23                 324:18 329:12,13     9:20 98:13,15          175:10,17,24
felt                  filled                  359:17              food                    179:5,23 180:5

                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 111 of 366 PageID:
                                   75466
                         Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                            Page 385

181:9 182:4,15         320:23 322:19       found                   310:17 354:18,21    126:22 127:20
184:21 185:11          324:5,15 325:1,10    25:13 35:7,20        frequently            147:12 156:16
186:13 188:11          326:21 330:11         109:20 112:20        241:18               161:7,8 180:3
189:15 193:11          340:19 341:19         131:2 144:15,17     front                 279:11 286:20
194:22 195:6           345:19 348:22         144:24 147:10        24:12 192:3 256:1    308:16 309:1
197:4,21 198:15        351:20 352:16         181:7 184:13,24       260:10              315:7 328:13
199:17 200:3           353:6,19 354:19       185:13 190:5,7,10   fuel                  344:12,13
201:10 202:9           355:8,21 356:7        195:2,8 205:10       360:16             generally
203:10,20 204:18       360:6,7 361:15        221:16 223:3,6      full                38:8 44:20 97:6
207:5 209:11,19        362:11 367:6          256:4 261:9          98:8 99:23 244:1     122:6,16 147:10
210:15 212:3         formation               290:21 291:3        functional            178:14 236:15
214:10 216:13         19:9 120:12 176:2      292:10 293:13        206:21             generate
218:10 219:17        formed                  314:16 354:8        funded              45:7
221:1 222:9           353:3,24             foundation             104:13,23          generated
223:16 224:1,23      former                 165:1                funder              49:11
226:10 228:2          244:6                four                   93:17              generic
229:7,14 231:10      formerly               124:21 125:9         funding             84:13
231:21 232:19         22:6                   143:16 172:15        104:6,8,11 105:3   genetic
233:4,11 234:10      forming                 189:20 245:21         105:17,22         267:13 312:13
234:17 235:7          18:9 271:16 346:17     252:21 261:3        further               314:12,14 319:2,3
236:3,7,21 237:11      352:12 353:15         297:8                138:17 163:12        330:12 333:4
238:2 239:2            354:24              fourth                  283:23 314:21     genital
240:16 242:4         forms                  3:13 84:15 210:3,5     364:7,10,13       86:13 87:11 88:3
244:9 246:12          154:5 175:3 180:7    fragments             future                88:20 119:1
248:3 249:3            180:17 235:18        168:21 169:1          16:10 249:24         170:12 185:8
250:10,20 252:7        240:24 241:13       fragrance                                   186:19 192:22
254:9 257:19         formula                63:7,13,15 72:23              G            194:6 200:11
258:14 259:10         280:15                 73:6,16 74:22       gain                  201:19 220:6
260:24 261:20        formulate               75:1 115:17 172:6   267:15,24             227:15,17 234:7
263:4,22 264:10       20:23 43:12 44:20      174:5 175:14,18     Galveston             244:3 246:3 252:3
266:10 267:4,19        70:19                 176:6 177:9,13,22   58:5                  273:18 274:6
268:23 269:24        formulated            fragrances            gas                   277:5
270:6 275:23          97:4 101:24 106:7     174:10 175:23        145:13,14           genitals
276:9,17 277:10      formulating             177:19              gasoline            273:14 274:2,15
278:24 284:24         45:14 46:4 71:10     frame                 360:14,16,18,22       276:5
285:15 288:11          107:21 139:15        39:12                  361:2             genotoxicity
290:13 293:19          205:18              framework             Gates               319:7
294:3,14 296:14      formulation            5:23 99:1,14         258:5,6,7,11        gentlemen
297:23 299:7          73:19                frankly               gauging             54:4 74:11
300:9 301:19         fornix                 37:10                76:20               geological
302:20 303:6          301:24               FRCP                  general             349:17
304:17 305:1         forth                  364:11               16:7 28:10 40:12    geologist
307:15 309:15         16:14 19:7,17        free                    40:24 41:15,16    61:2 115:15
310:7 313:24           54:15,16 76:21       99:8 113:3 164:6,9     42:15 55:19 75:24 George
316:11 317:8,17        81:7,18 155:22        289:19 292:15         79:8 82:6 92:23   79:20 337:5
317:24 318:9,20        200:7 220:16        frequency               97:20 100:5,14    George's
319:14,24 320:17       345:8 364:9          272:23 302:19          103:9 106:4       337:9

                    Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 112 of 366 PageID:
                                     75467
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                            Page 386

Gertic                  339:9 340:13          133:4,13 185:6,13   gynecologists       harm
257:12 258:9            343:13 359:9,19     great                 208:13              188:5
gestalt               goes                  74:17 326:11          gynecology          harmful
348:24                68:1 136:19 219:21    greater               32:15 208:6         355:2
getting                 225:21 324:1,9      137:8 153:4 154:22                        hazard
63:21 64:6 110:6        334:14 335:21         166:22 168:8                H           97:19,19 143:19
  142:14 257:20         345:5                 196:10,22 198:2     habits               153:4,6 172:22
gigabytes             going                   198:11,17,20        161:24 359:11,12    hazardous
346:14                11:10,20 39:21          212:22 250:16       habitual            326:9
Ginkgo                  73:24 74:19 85:21     255:11 262:19       23:4,10,21 38:3     Hazards
229:3                   86:22 87:22 112:5     263:13 311:17,19     53:7,22 199:11     77:17
girls                   117:24 136:11       greatly               half                he'll
296:11                  156:3 162:23        296:16                86:22 111:19        164:21
give                    164:16,19 176:17    grilled                176:22 184:19,20   head
12:3 54:4 64:4          176:18 192:4        358:12,14              327:22,23 335:9    188:22 304:8,24
  135:23 156:3,8        233:16 247:6        gross                  351:7              healing
  188:5 230:3           284:3 285:18,22     214:11                hallmark            122:13
  316:13 336:18         288:2 289:6,14      groundwater           300:14              health
given                   294:9 295:8         345:8                 Halme               5:15,22 30:14
11:4 18:10 20:3         309:22 315:7        group                 183:23 184:3         31:12 58:7,24
  23:1,6 56:14          321:19 324:18       39:3 80:19 178:15     hand                 61:9 63:15 65:8
  164:12 188:14         342:11,13 343:4       178:16 189:20       159:19 192:8         77:18 79:18 89:15
  266:21 336:22         343:14 344:9          226:3,16 227:1,6     195:18 247:6        89:21,22 90:24
  367:5                 363:18                227:9,12,16,18       289:6 337:7         93:5,6,10,19 94:3
glass                 Golkow                  229:11,18,19        hand-selected        94:7,18,20,22
316:23                1:23 3:23 8:6           235:8,12 237:4      75:10                95:21 96:4,10,16
gleaned               good                    249:20 250:24       handed               96:21,24 97:3
18:8                  105:1 120:17 221:3      261:12,15 263:6     160:2 291:6          98:13,15 99:1,2
glove                   266:2 330:16          285:13 290:23       handled              99:13,17 100:9,15
305:3                   336:14 352:19         292:18 309:12       95:17                137:17 205:9,23
gloves                GOSSETT                 357:7 358:16        handling             207:3 237:18
133:20 134:9,16,17    3:2                   groups                164:13               239:8 344:14,15
  189:22,23 190:9     government            6:11 190:10 263:2     handwritten          344:16
go                    221:8                 grow                  6:2 281:23 337:14   health-related
12:21 25:4 59:7       gradient              359:3                 happen              93:21
  67:9 69:16 85:22    111:23 112:1          growth                252:1               healthcare
  99:6,17 145:10      graduate              115:2 139:1 287:3     happened            93:24 204:8
  163:19 164:14       281:1 344:14            287:14              274:11 319:16       healthy
  205:12 213:24       Graham                guess                 happening           240:1
  224:9 228:23,24     5:13 29:2             65:16 205:23          312:18              hear
  246:17 253:4        grandfathered           339:18 354:2        happy               142:13
  256:18 262:8,19     335:3                 guiding               164:21 165:6,15     heard
  272:21 278:6        granuloma             91:7                   246:20 284:5       14:19 204:23
  281:13 282:12       120:11                gynecologic           hard                hearing
  288:4 290:18        granulomas            60:12 338:4,9,12      336:22              16:6,15 17:14
  314:22 315:13       116:16 119:3,12       gynecologist          Harlow              heavily
  320:6 328:22          120:5,18 132:24     60:18                 255:7               160:18

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 113 of 366 PageID:
                                     75468
                         Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                            Page 387

heavy                  333:7 351:8          288:7 358:18        205:6 206:3           365:14
168:15 170:11        hit                   humans              idea                  implanted
  172:2 173:23       282:15                178:16,17 179:3      73:4 169:17           286:23
  175:7,19 176:6     hold                   225:9 226:4,8,17   identified            important
  297:20 298:4       346:13                 227:1,22 235:14     34:8 52:22 70:23      18:9,15 94:1
  299:19 300:20      holidays               288:19 292:19         127:11 128:4,9       159:13 209:20
  332:16             351:4                 hundred                151:9 163:16         254:21 258:11,15
held                 hope                  306:23 357:24          286:6 300:21,22      283:22 295:16
1:14 8:10            68:7                  hundreds               324:22 333:3,11      317:4 338:16
Heller               hoping                357:21                 336:5 346:22         339:1 352:18
184:1,8,15,24        251:23                hydrocarbons           355:13 356:16,20   impossible
  283:16             Hopkins               358:15                 361:7               266:19
help                 70:1,2 148:12,17      hygiene             identifies            improvements
258:1 284:5            149:10,24 150:8     76:21 257:4 284:19   86:11 88:1,18         167:18
helpful                158:2                288:7                 319:2 330:13       impurities
79:14                Hopkins-28            hypothesis          identify               169:14
helps                7:4 148:17 149:10     132:2 193:21         8:15 71:15 86:10     in-person
70:19 113:8            150:1,8,18 151:10   hysterectomies         87:7,8 172:21       46:9
hereinbefore           152:2 158:3         189:18                 220:10 289:15      inability
364:9                hormone               hysterectomy           299:20 330:14       162:10 163:13
high                 255:10 268:15,18      189:20,21 190:2     Identifying             251:12
145:17 249:22          269:4                193:2,20 194:8,19   99:2                 inappropriate
  332:5              hospital-based         196:13 197:1,18    Igor                   166:16
high-grade           238:14,19 239:15       198:5               282:18               inasmuch
212:19,21              239:21 240:12                           ill                    184:11
higher                 246:7                        I           240:1                incidence
160:19 167:3,21      hospitalized          IARC                illness                131:3,14,22 191:7
  168:5 170:12       239:23,24             6:11,17 28:6,11      134:2                  191:16 194:17
  263:10             hospitals               176:13 178:9,14   illustrative            196:14 197:17
highlighted          134:18                  178:22,22 203:3,4 216:22                  280:3
260:1                hour                    203:6,11 204:10   Imerys                inclined
Hill                 45:11 86:22 176:22      204:12,13 205:11 3:5,10 9:6,8 69:19      304:8
107:20,24 109:2      hours                   205:13,17,20         70:10 72:3 75:8    include
  110:18 215:8,12    40:4 45:13,18 60:9      206:2 225:3,6,12     75:16,23 147:19     45:19 67:2,22
  219:23 225:4         343:5,15 347:14       225:13,20 226:7      149:13 157:23        82:24 101:20
  229:21 230:18      households              226:20 227:8,15      158:5 284:13         146:5 191:17
  240:7,9 255:1      359:6                   227:18,22 228:10 Imerys'                  237:1 257:12
  264:8,16           Houston                 228:11,23 235:2    150:23                 272:8 332:24
hips                 1:15,16 8:10 37:1       249:18 278:10,17 immediately              344:18 345:17
304:9,23               59:4 61:10            288:5,5,21 289:4   40:17 65:14            355:15
hired                hover                   289:24 291:3,4    immune                included
40:2 361:21          310:20                  292:10,12 293:13 287:3,14                24:17 66:24 67:6
historical           huge                    294:24 300:23     immunogenic             67:13 152:3 158:8
191:17               250:24 345:4            342:4,9 355:23     81:19 114:17           169:14 195:9
history              human                   356:1,21,23 357:3 impact                  214:19 217:4
184:13,19 196:23     112:15 226:13           357:11             209:16 271:20          226:2 258:8
  267:7,23 330:13      236:5 249:19        IARC's              imperative              295:22 309:12

                    Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 114 of 366 PageID:
                                     75469
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                              Page 388

  347:3 357:17        incur                   137:3 138:12         84:7 182:9 290:21    16:5 22:21 96:23
includes               361:13                 198:21,23 200:10    initial                97:2 156:8
 87:14 280:12 347:4   independent             248:13 249:21        37:23 198:14        intended
  355:22               53:6 79:4 157:5,10     279:14 283:20         237:14              15:10
including               158:9,14              287:1,11,12,18      initially            intense
 19:6 41:2,2 83:12    INDEX                 inflammatory           40:11                311:21
  93:6 114:22 121:7    4:1                   115:1,6,11 119:20    initiation           intensifies
  163:23 165:21       indicate                120:10 121:3,6,10    116:13               138:17
  169:6 193:23         135:1,19 154:18        121:12,19 122:4     injected             intensify
  221:21 237:2          220:12                122:17,21 123:8      186:7                114:24 115:5,8,11
  245:8 252:15        indicated               126:15 127:12,19    injury                 138:24
  277:17 278:21        241:8 327:16           127:20 128:1,12      57:6 134:2          intention
  279:5 287:2 303:9   individual              138:24 171:18       innocent              156:10
  321:22,23 358:10     71:22 110:17           287:2,14 313:15      329:24              intentionally
inclusion               126:20 171:24         362:17,18           inquiries             115:21
 41:8                   178:4,5 193:5       influence              350:21              interaction
income                  214:22 229:21        213:11 272:1         inquiry               196:21 197:12
 56:2                   308:17,19,20,21       279:23               351:14                198:1
incorporated            308:23 309:3        influenced            inserted             interest
 151:20 180:11          310:19 314:13        216:21 272:15         304:22               37:6 105:5 342:8
  214:17 244:24         330:8 345:21          313:16              insofar                349:9
  337:7               industrial            inform                 235:24              interested
incorrect              76:20 156:15          350:23               instance              39:21 295:13
 105:14                 344:22              information            74:2                  341:22 364:15
incorrectly           industries             16:17,21 18:8        instances            interesting
 290:15                76:2                   19:10 20:22 42:2     76:12                43:1 80:24 342:13
increase              industry                42:4,23 70:18       instilled              348:18 349:3
 121:21 202:18,23      331:15                 78:5 149:17          301:23              interests
  231:3 233:17        inert                   155:23 156:1        Institute             93:12
  275:14 299:12        303:1 339:4            166:13 173:24        90:21,23 91:7,12    internal
  306:12,13 318:6     infection               174:3,8 205:12        91:19 93:8,14       75:7,15 76:6,8,12
  318:13 331:3         122:12 267:8,23        232:21 243:10         95:11,18 234:21      76:19 77:1 88:9
  338:13 360:10       infections              244:13 267:13       institution            88:13 321:14,15
  361:16               202:14                 281:4,12 282:7       58:10                 321:20
increased             infer                   298:3,10,12,15      instructed           International
 84:18 91:21 121:14    166:13                 312:6 325:20,23      350:9                178:22 225:23
  122:8 131:3         inflammation            326:2 348:1,17      INSTRUCTIONS         Internet
  152:19 211:5         86:8,11 87:9 88:2      349:3,7,10           365:1                338:7 342:21,24
  220:7 232:13          88:11,19 114:18     ingredients           insufficient         interpretation
  236:4 262:6 277:7     116:1,7,10,16        140:8                 166:13 247:21        223:18 334:10
  306:15 308:13         117:4 119:2,11,20   inhalation              248:22 250:5       interpreting
  309:13 310:5          122:11,15,16         82:3,15,23 83:6        288:18              264:20
  333:6                 123:13 125:4          134:12 181:15,19    insult               interrupt
increases               126:23 127:9          181:22 182:2,17      312:12               74:11 86:21 191:5
 132:23 133:3           131:18,21 132:14    inhale                insults              interval
  236:24 237:3          132:23 133:3,11      361:2                 312:17               261:23 276:21
  311:13,16 338:21      134:21 136:18,23    inhaled               intend               intervals

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 115 of 366 PageID:
                                     75470
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                                Page 389

  126:10                 184:8 185:18        Jane                   jumping                148:24 149:3,17
interview                187:19 189:12        3:2 9:5 284:10         285:19                151:8,23 153:8,12
 272:16 277:17           232:10 250:16,22    January                                       155:2 161:9 171:6
interviewed              267:1,9 287:4,15     1:11 5:2 8:2,7 26:1            K             171:12,16,23
 273:17 274:1,8,13       340:4                 26:10 94:9,14        kaolin                 176:5,11 177:12
intimately             involves                364:23               129:13 130:24          177:15,16,17,18
 120:11                 172:15 359:4         jbockus@dykem...       Katherine              177:20 178:1
intrinsic              involving              3:3                   2:19 9:2               180:7,17,23
 83:19,23 84:9          57:16                jdonath@coughl...      katherine.mcbet...     184:17 189:4
  208:8,11,16 209:3    ions                   3:8                   2:20                   204:11 208:21
  337:17 362:11,15      180:10               Jersey                 keep                   213:5 218:11
introduced             irrefutable            1:1 3:9               110:6                  221:2 246:13,16
 188:8 284:12           226:13               Jim                    Kemble                 275:16 282:5
introductions          irrelevant             77:7                  3:8                    291:4 292:11,13
 343:21                 349:15               jive                   key                    293:13 294:10
invasion               isolated               116:24                20:5                   299:23 300:1,10
 212:23                 254:15               job                    kibitzed               300:17 302:7,12
inverted               issue                  53:6 164:22,23        297:16                 302:16 303:13,13
 188:21                 66:14 80:12 90:11      336:14               kill                   303:14 311:20
investigate              118:5 141:20        John                   311:3                  312:3 315:2 319:6
 150:16                  144:8,20 160:4,11    70:1,2 148:12         kind                   320:1,3 322:3
investigated             163:7 176:7         Johnson                24:7 38:11 42:6        324:16 329:8
 104:20                  199:19 213:13        1:3,3 2:16,16,22,22     84:5 278:14          330:6 331:8,9
investigation            264:19 278:17         9:1,1,4,4 22:4,5,7     293:10 299:9         333:9,13,16 336:8
 79:5 286:15 329:2       289:1,2 327:16        22:7 41:22,23          300:12 323:20        337:20 338:11,17
  329:7                  352:18 358:20         43:9,9 70:3,4 72:4     329:21 342:8         338:19,23 339:13
investigations         issues                  72:4 73:7,8 75:8,8   kinds                  340:20,20 344:6
 193:6 214:23           29:7 41:8,20 55:7      75:16,16,22,22       285:6 312:17 335:9     346:12 347:4
Investigators            64:18 77:18 80:20     129:19 143:23,23       335:11               357:13 358:13
 251:22                  137:16 207:3          147:20,20 149:13     Klevorn               knowingly
invoice                  258:17 285:6          149:13 150:22,22     2:8 8:22,22           350:2
 14:10                   326:6                 151:12,12 299:4,4    know                  knowledge
invoices               Italian               join                   10:10 28:16 29:12     104:11 120:1 156:2
 14:9 45:3,7            297:11                234:3 236:10            36:23 42:20 44:6     169:11 224:7
involve                Italy                 joinery                  44:19 46:18 47:16    293:23 303:24
 147:2 187:22 189:8     146:12                229:13                  48:10,13,16,18,19    322:4 359:8
  250:21               item                  Jonathan                 49:7,10 51:6        knowledgeable
involved                14:5 35:4,5 126:18    3:7 9:7                 66:11 68:2 69:20    168:21
 37:3 47:10 50:3       items                 journal                  72:11 73:15 74:3    known
  54:24 56:23 57:3      13:21 20:6,14 35:1    27:14,16,21 31:14       74:7,24 75:20       129:9 135:17
  57:6 62:8,17           357:17                32:14 249:13           80:7 94:14 96:7      166:18 171:2,3
  63:21 64:7 73:9                            journals                 96:12 101:15         178:21 226:21
  76:15 96:16                  J              63:4 103:11             103:8,12,15,20       266:20 280:3
  135:20 136:5         J&J                   Julie                    104:2,5,18 105:4     315:18,19 330:14
  138:4,10 141:6,13    152:3 155:8            70:8,9 148:12           105:6,10,13,13,19    333:5 358:15
  142:14 147:15        J.D.P                 jumped                   105:21 134:5
  148:7 156:20,21      29:2                   275:20                  141:1 142:9 146:3           L


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 116 of 366 PageID:
                                     75471
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                                 Page 390

labeled                 190:1                 2:3                   limitations           listing
 183:17                lattice               length                  158:18,24 160:9       5:7 125:17 126:8
labeling                180:11                137:8 339:10          limited               lists
 30:22 134:4 219:10    law                   lesser                  87:15 160:11          24:18 73:2 226:16
labia                   334:13                190:20                  227:21 228:3        literature
 200:19                lawsuit               let's                    235:13 290:8         5:7 19:4,7,12,22
laboratory              142:14 271:20         26:22 31:4 89:1         291:7,10 292:19        20:17 21:14,20,23
 286:24                  276:2                  225:12 237:21         294:5 351:2            24:16,23 25:8,13
lack                   lawsuits                 253:4 256:17        limiting                 29:10,13,19 31:24
 107:12 110:11          68:2 272:1,13           257:6 259:13         236:18                  31:24 32:24 33:12
  208:8 222:20           273:12 274:8,12        270:10 314:22       limits                   33:13 34:14,20,23
  251:11 254:6           274:19 275:5,9,18   letter                  223:8                   35:1,10 36:2,14
lacking                  277:3                5:16 30:20,23         line                     40:12,19,24 41:5
 222:16 223:10         lawyer                   33:18 218:14,21      46:8 313:9 366:2        41:10,19 42:12
  224:13                36:24 80:4 285:13       219:20,21             368:3                  43:7,8,16 45:14
laggers                LAWYER'S              level                  lines                    46:5 51:5,19
 145:21                 4:13 368:1            20:19 109:22           106:22 113:9            52:17 54:9,13
Lancet                 lawyers                  111:20 171:24       link                     62:22 65:13 66:18
 28:24                  39:16 44:7,9,11         217:2 238:13         158:19                  67:3,6,14 68:10
Langseth                 46:2,21,24 75:11       245:15 263:13       liquid                   71:6 79:6 85:17
 6:14 246:23 247:13    lays                     325:8 355:1          187:14                  85:23 87:18 94:16
  247:18 248:17         117:4                levels                 list                     94:21 95:11
language               leach                  170:11                 6:2 13:16,19,22         101:22 110:20
 92:6,7 134:6           189:3                LHG                      17:23 18:5,7,18        116:15 130:13
  294:11               lead                   1:5                     19:17 21:14,20,23      157:22 158:6
languages               27:5 121:3,8         LIABILITY                24:22,24 25:8          175:1 178:11
 214:19                  224:13 333:19        1:5                     29:10,13,19 32:24      213:1 214:3,14
large                  leading               licensure                34:14,18,23 35:1       215:24 217:4,20
 241:16 251:19          90:24 116:15          328:15                  35:11,15,18 36:15      218:7 220:11,14
  324:8 334:3          leads                 lifestyles               51:19 58:15 67:20      221:15 222:6
largely                 70:18 116:8,12        359:13                  68:10 71:6 90:12       223:14 224:21
 232:16                  122:12              ligation                 90:17 101:21,22        230:22 237:22
larger                 learn                  190:13,14,19,23         123:12,18,22,23        267:2 282:23
 19:6 22:18 39:3        96:9                    191:4,17 193:1,20     124:1,6,12,13,15       347:2 348:2
  153:4                leave                    194:8,19 196:13       126:13 130:13       lithotomy
lasts                   129:2 257:17            196:24 197:18         133:9,16 143:13      185:23 187:2
 335:17                lecture                  198:4                 145:10 146:22       litigation
late                    42:2                 light                    154:18 178:11        1:5,23 3:23 8:6,11
 40:6 65:21 333:1      left                   162:1                   217:20 281:13,18       10:8,12 23:2,8
  333:12                13:13 177:7 257:15   likelihood               282:5,23 283:6         36:18 37:4 39:17
latency                legally                211:22 240:22           304:1,3 347:1          46:22 48:5,15,21
 168:7 279:16,24        68:1                 limb                   listed                   49:8 52:5,9,13
  280:1,7,12,14,18     legs                   224:9                  13:15 20:15 35:10       55:1 56:15 63:22
  280:21,24 281:3,7     186:3 187:3 188:22   limit                    51:18 52:16 68:9       64:7 66:5 73:9
  281:21 282:14,19     Leigh                  135:11                  125:9,13 143:2         75:22 80:6 97:5
  311:23                2:2 8:17             limitation               155:4 222:10           100:11 104:22,24
Latin                  leigh.odell@beas...    162:9 163:12,17         227:17 345:22          105:12 118:1,13

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 117 of 366 PageID:
                                     75472
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                             Page 391

   142:15 178:3          49:22 142:4 143:1     118:4 125:23         282:15            2:4
   181:5 218:8 224:5     157:20 340:4,15       126:12,17 139:24    lung               mark
   284:13 351:18       Longo's                 140:1 148:16         130:9 131:3 292:5 10:16 15:17 20:24
   361:22               50:11 142:1,18         152:1 158:1         lungs               25:23 26:10,22
litigations            look                    162:19 164:3         84:6 182:18        30:13 31:4 32:6
 56:24 57:2             31:18 42:20,21         166:1 194:4                             32:18 36:5 124:15
little                   71:22 72:13 78:18     197:11 222:24                M          130:2 159:20
 68:6 256:18 296:20      93:1 94:2 106:22      247:24 248:16       M                   163:2 192:2
   305:5 327:22          110:19 111:14         255:6 259:24        2:3 3:12            195:21 218:16
   359:10 360:23         113:6,8 118:10,12     273:11 282:22       M.D                 225:12 247:2
lives                    130:1 155:3           283:2,7 287:8,11    1:14 4:5 5:1 9:18  marked
 233:22 236:5            161:24 162:23         289:23 292:22        59:24 364:5 367:4 10:19 12:11 15:19
   305:17 306:18         175:6,13 184:11       293:7 297:3          367:12             21:4,11 24:24
   325:14 358:5          191:19 193:16         300:18 320:8        magnesium           26:3,7,20 27:6
   359:12                199:11 204:24         321:7 352:23        180:12              28:13 29:15 30:17
LLC                      219:24 220:15         357:10              magnitude           31:6 32:9,20
 3:15,15 9:13,14         229:1 233:19        looks                 166:6 211:20        34:14 36:8,12
LLP                      237:21 238:11        134:6 160:3 291:24   main                43:14 50:18 54:21
 2:8,13,19 3:7,12,17     242:23 243:23       Los                   134:8               57:19 58:21 65:1
locate                   246:19 247:7         2:15                 major               65:11 89:16,17
 199:3                   248:14 257:6,14     lost                  160:11              94:24 98:22
located                  259:13 260:16        290:16 296:16        majority            100:20 102:4,15
 314:13                  262:2,14 270:10       340:9               57:9 109:19 137:10  124:18 130:4
location                 272:6 274:11        lot                    245:12 326:12,17   146:23 159:22
 294:7                   285:21 287:24        40:22 117:1 137:16    326:22 327:2       160:3 163:4
Lockey                   289:16 292:15,17      141:18 146:21        362:23             192:12 195:24
 77:7                    293:16 295:11         207:7 239:5         making              218:15 225:16
Logan                    299:22 301:14         299:23 343:11       54:17 216:23        243:2 247:9 271:2
 2:20                    306:11 328:23         349:16,21 359:4      330:17 336:9       289:7,10 293:1
logistic                 336:7 337:13        lots                  mammalian          market
 272:18 277:18         looked                 93:10 319:9          288:20,23          140:21
London                  41:20,22,24 42:1     Louis                 Managing           MARKETING
 145:21                  69:2 72:2 88:8       3:14                 99:2               1:4
long                     89:20 107:20        Louisiana             Mantovani          married
 39:10 168:8,9           129:24 130:8,22      2:10                 127:5              331:16
   169:22 241:16         131:8 142:10        low                   manufactured       Marriott
   280:18 281:17         143:12 155:24        153:5 334:4          22:4,6 146:12      1:14
   335:6,14,17           159:18 163:6        low-grade             manufacturers      Marysville
long-term                165:17 183:12        212:19               145:14             76:17
 129:12                  184:10,11,15        lower                 manufactures       mask
longer                   191:15 196:9         197:16 223:8 269:4   60:15              145:13
 58:23 59:9,12,15        214:2,3 245:23        334:5 356:11,12     manuscript         masks
   209:7 310:13          252:24 271:19       lubricant             101:1,4 102:18     145:14
   339:5,15 358:1        300:12 338:7,24      134:9                 103:4             mass
   362:19              looking               lubricating           Margaret           334:13 362:14
Longo                   28:18 53:21 67:8      133:20               2:3 8:19           Master
 5:9 25:22,24 49:16      77:6,8 78:9 99:19   lucky                 margaret.thomp... 344:15


                   Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 118 of 366 PageID:
                                     75473
                         Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                            Page 392

material              135:6 150:21         medicine             meta-analyses         mid
28:12 62:3 78:7       153:5 157:10         55:15 58:9,10 60:4   61:15 125:13          39:13
 151:19 229:8         179:1 180:18          60:7 79:22 80:18     215:22               middle
 279:8 304:19,22      236:8 254:2          meet                 meta-analysis         38:18 165:24
 312:13 314:15        264:11 270:7         39:2 45:24           27:1,3 61:14 94:23    midst
 342:19 361:10        320:20 325:2         meeting               191:20 192:15        221:7
materials             336:15               38:13 39:5,18 40:8    193:8 194:5 195:3    migrate
5:21 6:3 13:11,16    meaning                45:22 48:4           195:9 215:13,18      182:10 183:13
 13:18,22 14:2,24    262:2 273:13,24       meetings              215:20 216:5          302:18
 15:8 18:19 19:13     288:18 297:17        45:19 46:9,12,15      242:19,20 243:7      migrates
 19:14,16 20:17       360:16                47:9                 256:4 257:9          85:13 198:9 206:10
 24:1,3,14,20        meaningful            member                268:14,20            migrating
 25:10,12 28:5       252:9                 239:6 335:4          metal                 206:5
 29:6,24 30:1        means                 members              77:18 169:13 172:2    migration
 35:10,15,17 42:8    23:12 111:6 186:2     38:14 129:18          173:23 180:10        82:3 83:5 88:10
 42:24 43:10 77:4     227:22 228:10        membrane             metals                 125:22 181:15
 91:4 123:20          231:7,8,24 362:10    323:10,13            114:23 169:6,18        186:23 187:5
 157:24 175:22       meant                 memory                170:12 174:2          190:15,24 194:15
 279:9 282:5 301:9   258:4                 71:23 126:19          175:8,19 176:1,6      197:15 203:7
 301:15,22 311:15    measured               183:15 276:6         177:8,13,18,21        204:14,15 205:6
 311:16 321:11       314:11 340:8          men                   180:3 181:1,1         206:5,21 337:24
 347:24               341:21               160:16 350:19         299:19,24 300:21      338:1 362:3
mathematical         measurements          menarche             metastasis            Mike
280:15               232:6                 333:1,12             212:23                9:16 86:20
matter               measures              menopause            method                milieu
8:10 15:22 16:6,12   241:10                333:1,12             143:17                279:11 362:18
 16:15 17:15 34:11   meats                 menstruation         methodology           Miller
 44:21 45:6 46:19    358:13,14             183:23 184:3         40:10 214:2 215:4     1:17 9:16 364:2,18
 47:1 49:5 51:22     mechanism             mention               215:6,10 239:19      milling
 55:2 80:10 86:4     224:12 248:11         109:19 256:6          244:19,24 251:4      155:9 156:4,9,14
 89:13,14 96:14       249:20 279:3         mentioned             254:5 264:15          156:18,20,24
 106:7 141:3 149:1    299:23 300:2         49:23 51:5 104:8,9    294:24 295:14        mind
 172:12 187:20        314:19 333:23         105:16 252:23        330:6                81:11 165:9 192:6
 209:7 215:9         mechanisms             345:24 362:4        Michael                281:14 296:22
 217:24 219:6        126:22 135:11         mentioning           1:17 2:13 8:24         351:23 358:21
 303:8 345:9          303:22 312:14        255:22 350:14         10:22 48:17          mindful
matters              mechanistic           merged                164:15 364:2,18      265:12
37:7 86:1 100:11     326:6                 58:17                michael.zellers@...   mine
Mayo                 media                 mesothelioma         2:14                  218:3 346:8
90:16                278:13,15             32:16 131:4 161:19   microenvironment      mineral
McBETH               medical                166:23 167:4        171:18 300:1          114:22 115:5,10
2:19 9:2,2           1:15 10:5 58:5,6,13    182:22              microphone             132:21 138:23
MDL                   58:24 59:10 90:17    mesotheliomas        284:2                  180:11 345:21
1:4 8:11 10:8 55:2    175:1 207:19         167:7,9              microscopist          mineralogist
mean                  220:22 330:7         met                  61:3                  61:3
18:4 22:15 39:23      334:24 335:2,5       46:3 47:13 48:2,23   microscopy            minerals
 40:1 62:14 88:16     350:6                 142:7               162:1                 64:16,20 344:19,23

                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 119 of 366 PageID:
                                     75474
                         Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                            Page 393

 345:22               models               334:15               names                needed
mines                 232:5 272:18         Mount                342:3                249:6
155:17 156:4,9         277:18 293:15       3:8                  narrow               needs
minimis               modest               mounts               359:22               98:1 164:19 308:11
325:8                 233:2,19             111:2 233:14         national             negative
minimum               modified             move                 90:21,23 91:6,7,12   72:20 187:14
309:9                 16:20,22 28:24       121:15 140:17         91:18 93:7,14         245:18 316:8
mining                Mohamed               162:8 176:18         95:10,18 178:24     neither
41:21 77:19 155:10    27:5                  192:5 205:14         234:21              364:13,14
 156:4,8,14,17,20     molecular             236:8 241:21        natural              Ness
 156:24               334:16                324:12 334:17,17    170:1 280:4 312:20   79:23,24 80:8
minor                 moment                359:14              naturally              117:9,10,12 127:1
103:6                 16:2 56:6,6 68:13    moved                170:3                  136:14 335:7,16
minute                 113:15 116:4        227:5 324:2          nature               Ness'
164:1 292:15           155:3 183:16        movement             140:16 305:4 317:5   117:3
 315:23 320:8          234:18 280:6        362:19               NCI                  never
 335:9                 281:14,16 282:4     moving               92:23 94:6,21        60:14 62:8,17,21
minutes                290:17 291:13       323:21 362:5         NCI's                  63:6,12 64:9,12
235:12 335:17          315:1               multiple             94:8                   64:20 80:8 111:21
misclassification     Monferrato           68:2 119:19 214:19   NCRA                   118:15,18 138:4
161:23 166:16         146:11               multiply             364:19,20              182:8 216:5
 241:13               monograph            299:16               necessarily            308:16 326:13,18
misclassified         6:18 176:14 178:10   multiplying          93:16 135:9 171:3      333:1,11
167:8                  203:13,21 204:21    212:14 310:16         172:19 173:2,9      new
misleading             205:11 289:12,17    mutagenic             213:16 218:3        1:1 2:10 3:9 17:12
77:24                  289:24 291:12,16    313:17                239:3 254:18          25:5,10 119:15
missed                 291:18,22 292:13    mutagenicity          255:20 361:17         220:10,11 266:24
271:11                 294:10 295:17       319:8                 362:14                267:13,16 306:3,8
missing               monographs           mutation             necessary              307:16
291:15                28:7 178:11          120:13 312:16        19:11 20:4 78:18     nice
misspoke              Montgomery            313:22 318:18        79:2 173:12,16,17   263:23 325:11,17
258:4 361:23          2:5                  mutations             231:13 349:21       Nicholson
misstates             month                314:17 333:5          365:4               70:6 129:20
19:20 65:24 128:23    309:9 324:13                              need                 nickel
 239:2 296:1           350:11 351:2                N            29:21 41:14 45:17    169:7,12,24 171:8
 332:19               months               N                     54:5 57:24 58:1       172:1 173:23
MO                    23:19 45:6 261:13    2:1 3:1               93:1 99:21 113:4      180:8,19
3:14                   261:14              N.W                   163:24 164:8,14     night
mode                  morning              3:18                  173:5 192:9         29:20 33:7
272:23                284:12               Nadler                213:21 234:1        nine
Model                 Morristown           282:18                241:1 253:5 258:1   143:15 297:8
282:20                3:9                  name                  265:12 282:3        NIOSH
modeled               motile               8:4 9:23 88:18        291:11 292:14       76:16
340:5                 303:14                 123:16 284:10       295:11 309:11       non-coffee
modeling              motility               343:21              314:23 316:2        265:22
232:8 340:13          303:19,23            named                 325:23 326:1,1,5    nonfibrous
 341:13               motion               36:22                 333:23              313:16

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 120 of 366 PageID:
                                     75475
                        Arch I. "Chip"         Carson, M.D., Ph.D.
                                                                                        Page 394

Nonmetallic          283:3              67:24                168:17 170:14,23      295:6,24 296:13
77:19                NSAID                                   171:9 172:7,17        296:22 297:22
nonobese             131:12 132:5                O           173:4 174:7,14        299:6 300:8
331:5                NSAIDs             O'Dell               175:9,16 176:17       301:18 302:20
nonoccupational      131:19             2:2 8:17,17 10:22    176:21 178:4          303:5 304:16
161:13 162:11        nucleotide          11:22 13:3,9        179:4,23 181:8        305:1 307:14
 163:14              314:14              14:20 15:5 17:20    182:3 184:21          309:14 310:6
nonresponsive        number              18:22 19:19 20:9    185:10 186:12         313:23 314:23
121:16 140:18        5:3 7:2 45:6,13     20:12 21:17 25:2    188:10 189:14         315:9,22 316:10
 205:15 234:2         46:6 49:10 57:5    37:15 38:6 46:10    193:10 194:21         317:7,17,23 318:8
 236:8 241:22         71:18 86:16 90:16  46:13 53:9 54:1,7   195:5 196:2 197:3     318:19 319:13,23
 359:15               93:9 95:14 111:24  55:13 59:2 60:22    197:20 198:15         320:16,22 322:18
nonsignificant        114:13 124:20      62:11 63:8,23       199:16 200:2          324:4,14,24 325:9
261:22                125:5,17 146:14    65:23 67:9,17       201:9 202:8 203:9     326:20 329:12
nonthreshold          147:23 155:5       70:15 71:17 73:10   203:19 204:17         330:10 332:18
324:22                159:5,9 160:15,15  73:22,23 74:2,6     207:4,10,14           340:18 341:18
nonusers              183:5 191:14       74:14 75:12 78:1    209:10,18 210:14      343:3,9,12 345:18
170:13                208:22 212:16      78:12,22 80:15      212:2 214:9           348:21 351:19
normal                215:21 217:9       81:12,22 82:17      216:12 218:9          352:15 353:6,19
122:11 313:12         220:20 221:17      84:1,20 85:14       219:16 220:24         354:19 355:8,17
 316:15 317:9,15      223:13 224:11      86:14,20 87:5,12    222:8,22 223:15       355:21 356:7
 332:14               227:3 228:4        88:5,22 91:23       223:24 224:22         360:6 361:15
normally              233:19 245:18      92:3,5,11,17        226:9 228:1,14        363:5,13
281:2                 250:16 251:23      94:11 95:3 97:8     229:6,14 231:20     O.M
Notary                255:16 258:21      98:3 99:8 106:16    232:18 233:3,10     76:16
1:21 364:4,21         259:4 273:4        107:14 108:10       234:9,16 235:6      o0o--
 367:20               278:11 279:22      109:16 110:14       236:2,11,20         7:9 363:23
noted                 280:1 305:14       111:16 112:22       237:10 238:1        oath
222:13,15 283:20      306:3,5 307:16,22  113:2,3 114:6       239:1 240:15        24:19 122:20
 365:11 367:7         309:9 314:11       116:19 119:5        242:4,10 243:4,14     152:14 173:15
notes                 326:23 328:10,12   120:8,20 123:10     243:17 244:8        OB/GYN
4:13 42:1 43:17       328:13 331:14      127:14 128:6,18     246:11 248:2        207:20
 92:16 124:20,21      342:6 354:12       128:22 130:6        249:2 250:9,19      obese
 124:22 125:14        357:13             131:24 133:6        252:6 254:8         331:4
 126:18,19 183:19    numbered            136:7 137:21        257:18 258:1,13     obesity
 222:19 255:7        21:22,22            139:22 140:23       259:9 260:23        267:20 330:22
 281:23 337:6,10     numbers             141:23 143:10       261:19 263:3,21       332:15
 337:14 368:1        71:20 194:13        144:1,22 147:4,17   264:9 267:3,18      object
notice                241:16 331:6,9     148:23 149:22       268:22 269:23       11:22 17:20 19:19
5:4 10:15 11:1        332:6              150:6 151:3,14      270:5 275:22          37:15 38:6 53:9
 12:10,19 13:10      Numerous            152:5 153:1,14      276:8,16 277:9        54:1,5 55:13
 14:6 15:1 23:24     286:2               154:3 155:11,19     278:23 282:3          60:22 62:11 63:8
notion               Nurses'             157:1,8 158:12,21   284:23 285:14         63:23 65:23 70:15
296:6 308:4          237:15,18 258:5     159:6,23 161:5      288:10 289:11,14      73:10 75:12 78:1
November             Nursing             162:14 163:24       289:19 290:12         78:12,22 80:15
65:22 89:12 227:5    59:5                164:5,15 165:4,9    291:9,17 292:14       81:12 82:17 84:1
Ns                   nuts                167:16,24 168:3     293:19 294:3,13       84:20 85:14 86:14

                    Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 121 of 366 PageID:
                                   75476
                     Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                         Page 395

88:5 92:17 94:11   263:3,21 264:9      observed               64:7 65:21 66:1       291:15,20,21,22
95:3 97:8 98:3     267:3,18 268:22     156:22 187:12          142:15                295:3,16 296:5
107:14 108:10      269:23 270:5          213:15 283:12      odds                    297:1 299:11
109:16 111:16      275:22 276:8,16     Obstetrics           126:9 232:14 233:1      300:20 305:23
114:6 116:19       277:9 278:23        32:15                  245:13 255:9          307:19 309:21
119:5 120:8,20     284:23 285:14       obtain                 259:1 261:22          316:4 320:14
123:10 127:14      288:10 290:12       101:3                  263:7,9,12 269:2      323:2 332:12,15
128:6,18,23        294:13,14 296:13    obtained               272:22 276:20         332:22 335:19
131:24 133:6       297:22 299:6        101:5 245:16           277:22 278:5          338:8 342:2 343:1
136:7 139:22       300:8 301:18        obvious                310:21 331:24         343:12,16 344:6
140:23 141:23      303:5 304:16        110:22                 332:4 333:9,14,17     360:14 361:20
144:1 147:4 151:3  307:14 309:14       obviously            offer                   362:2 363:1,5
153:1,14 154:3     310:6 313:23        303:22               16:5 22:21 336:10     old
155:11,19 157:8    315:18 316:10       occasions            offered               42:1
158:12,21 159:6    317:7,23 318:8,19   11:7 55:5 56:11      171:12                older
161:5 162:14       319:13,23 320:16    occupation           offhand               29:4
167:24 168:3       320:22 322:18       229:19               333:13                once
170:14,23 172:7    324:14,24 325:9     occupational         office                72:2 339:11 362:16
172:17 174:14      326:20 330:10       55:15,18 57:7,10     335:21,22             oncologist
175:9,16 179:4     340:18 341:18         60:7 79:22 80:18   official              60:19
181:8 182:3        345:18 351:19         146:19 160:18      70:2                  oncologists
184:21 185:10      352:15                161:1,15 163:7     offset                208:17 338:12
186:12 188:10     objection              166:14 168:15      358:4                 oncology
189:14 193:10     18:22 25:2 59:2        229:12 297:20      offsets               338:9
194:21 195:5       87:12 88:22           298:5,9            299:14                one-half
197:3,20 199:16    106:16 110:14       occur                Oh                    60:6
200:2 201:9 202:8  137:21 143:10       103:6 162:4 301:11   66:9 180:21 192:7     ones
203:9,19 204:17    144:22 147:17         306:6                197:12              68:3 75:17 102:5
207:4 209:10,18    148:23 151:14       occurred             Ohio                    109:21 206:1
210:14 212:2       152:5 157:1         149:21 194:7 274:7   76:17                   258:16 342:16,16
214:9 216:12       167:16 168:17         312:16             Okada                 ongoing
218:9 219:16       171:9,15 174:7      occurrence           127:3 287:5,8,10      198:24
220:24 222:8       179:23 198:15       17:3 111:1 119:21      287:22              open
223:15,24 224:22   228:14 229:14         121:11 126:23      okay                  206:23,24
226:9 228:1 229:6  234:9 242:10          136:16 230:12      17:23 20:12 25:22     operate
231:20 232:18      291:9 293:19          331:1                39:9 44:5 63:4      278:13
233:3,10 234:2,16  294:3 295:24        occurrences            65:3 74:5 92:3      operates
235:6 236:2,3,7    302:20 305:1        312:20                 100:23 113:3        97:22
236:20 237:10      317:17 324:4,5      occurring              123:18 124:15       operating
238:1 239:1        332:18,19 348:21    171:19                 130:15 138:15       134:19
240:15 242:4       353:6,19 354:19     occurs                 149:9 150:11        operative
244:8 246:11       355:8,17,21 356:7   199:1 292:12           165:14 192:4,21     69:19
248:2 249:2 250:9  360:6 361:15          308:15               197:10 207:14       opine
250:19 252:6      objections           October                247:10 258:2        23:7 120:18 137:24
254:8 257:18      10:24 164:24 165:2   36:19 37:13,18         259:17 270:24       opined
258:13 259:9      observational          38:18 39:5,13        282:15 285:18       150:24
260:23 261:19     266:9,12,15            40:6,6,8 59:14       286:16,21 287:22    opining

                Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 122 of 366 PageID:
                                     75477
                         Arch I. "Chip"         Carson, M.D., Ph.D.
                                                                                            Page 396

 82:14 108:3           349:13 350:23       41:24 53:8,23         268:19 269:19,21    293:11 295:14
 122:20                353:15,24           55:9 62:10,18         270:18 272:24       oversees
opinion              opportunity           63:1 66:13 84:17      273:5,9,13,21,24    219:14
43:4 74:20 81:18     16:11 352:5           85:3,6 89:23 90:8     274:7,14,20 275:4   oversight
 81:24 82:5,7,9,10   Oppose                90:13,18 91:14,22     275:10,19 276:4,6   70:4 95:19
 83:1,10,14,15,16    236:11                95:12 106:3,11,14     277:7 279:17        oversimplification
 84:15 86:7 88:12    opposed               106:15,19 107:5       280:8,13,22 281:7   214:12
 92:23 107:21        308:16 344:23         108:5 109:4 111:1     281:22 282:14       Overstreet
 114:12 115:15       opposite              111:15 112:3          284:20 288:23       3:23 8:5
 116:6,9 123:2       335:22                113:23 116:8          289:2 292:4 296:8   overwhelmed
 141:3 144:6         oranges               119:22 120:6,13       306:3,5,8 307:7     313:1,6
 148:13 156:4        254:19,19             120:19,23 121:22      307:12 308:12       oxidative
 169:10 171:17       order                 121:24 122:8,18       309:13 310:4        134:21,24 135:5,7
 181:5,12 206:14     76:21 92:24 98:2      122:22 123:8,14       313:12 314:6          135:12,15,19,23
 208:7 210:5,12        100:13 173:10       125:1 126:1,16,24     315:20 316:16         136:2,4,15,19,22
 211:7,10 259:20       213:11 241:17       127:7,13 128:2,13     326:14,17 330:3,9     137:15,17,20,24
 301:24 302:3,8,10     250:23 256:21       131:14,18,22          330:23 331:1,4,11     138:6 198:24
 303:12 305:16         307:3,6 334:5       132:7,12 133:12       331:18 332:23         199:7 200:10
 308:10 310:9          346:13              135:21 136:5,16       333:20 338:14,21    oxygen
 311:10,24 346:18    organization          136:24 138:7,8,13     344:11 349:24       199:6
 352:12 353:3,7,10   93:20                 139:8,11 140:3        350:3,5 351:12      oxytocin
 353:20 354:24       organizations         145:9,12 152:12       352:21,22 353:5     186:8 188:17
 355:10 356:3,5,15   93:6,11,24 94:7       152:16,19 153:10      354:11 355:3,7
 357:9 359:22          279:24              153:12,17,21        ovaries                        P
 360:4 361:12        organs                154:1,13,17,23      82:2,16 83:4,8,17     P
opinions             198:21                155:1,6 158:19        84:5 85:13 116:5    2:1,1,2 3:1,1
16:5,8,9,12,13,20    original              159:4,10 160:5        116:7,11 154:8      P-346
 16:23,24 17:6,9     193:6 316:3 365:15    161:19 162:12         169:19,23 177:14    7:7 28:14 293:5
 17:13,17 18:9,20    Orleans               163:8,14 166:14       181:14 182:1,10     p.m
 19:9,21 20:23       2:10                  167:8,22 168:6,8      182:14 183:14       177:2,3 253:9,10
 22:21 34:10 38:12   ounce                 191:2,16 192:23       184:12 191:2          363:9,10,22
 39:22 41:13 43:13   100:7                 194:18 196:11         198:10 200:17       page
 44:17,17,21 45:15   outliers              197:17 210:8          201:1 206:6,10,14   5:3 7:2 17:24 18:18
 46:4 54:15,19       245:21                211:4,5 216:10        206:17 208:8          18:19 21:24 24:23
 57:5 63:19 64:1     outline               220:6,7 221:21,24     209:2,6,17,23         30:24 67:8,20
 70:19 71:10 79:1    285:20                223:8 224:13,15       278:22 279:5          69:4,6,8,16 77:8,9
 79:5,12 80:14,23    outlined              224:17 230:12,23      283:12 321:23         81:8,16,19 99:6
 81:2,3,4,7,16       105:7 215:11          231:3 234:7 235:4     362:7                 99:17 106:21
 82:22 84:24 85:22   outset                235:18,20 237:1,9   ovary                   108:15 112:16
 89:14 95:8 117:18   84:23                 237:24 238:8,16     300:22 319:21           113:9 114:13,16
 123:3 139:3,15      outside               244:4 245:4 246:4     323:2,6,8,11          115:23 124:24
 156:8 196:6 215:9   48:14 97:5 104:22     246:10 247:23         324:7 337:18,23       125:8,16,17,20,21
 217:8,11,15,18,21     304:13              248:10,24 249:8       338:1 339:5,11,14     126:7,8 130:13
 217:24 218:2        ovarian               249:17 250:7        overall                 148:11,16 160:9
 219:6 235:16,21     17:3,8 23:5 27:4      252:4 255:4         110:20 217:11           163:10,19 164:2
 236:19,22 271:17      30:4 32:1,16 38:4   256:22 260:21         230:24 292:2          183:2 196:16
 285:9,10 349:2,11     38:20 41:2,12,15    267:1,9,17 268:5    overarching             197:5 220:16


                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 123 of 366 PageID:
                                     75478
                        Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                           Page 397

 243:15,24 248:1      337:24               189:3 190:4,9,10     350:10               350:12 357:20
 248:17 249:13       paragraph             209:16 283:11       patients              358:3,8,9 359:1
 256:19,20 260:17    163:11,21 166:4,5     303:16 334:15,20    60:5 130:22 134:13   perceived
 272:6,21 283:1,3     244:1,2 248:14       355:16 356:16        184:15 185:1        29:7
 285:24 289:11,18     272:7 286:1 288:4    357:10 361:7         190:19 239:23,24    percent
 289:21,24 291:13     297:5 301:3 321:6    362:5,9,16           240:1 327:14,21     56:2 274:13 275:10
 294:5 297:3,4        321:9               particular            327:24 328:6,7,8     275:19 306:24
 301:1 305:13        parallel             44:2 77:23 151:17     328:11,13,17         308:5
 366:2 368:3         245:1                 211:19 241:14        349:24 350:5,8,17   percentage
pages                Pardon                280:17 282:7         350:21 351:5,15     55:22 60:3 75:20
21:23 68:9 71:5      68:13                 295:17 299:24        352:1                76:3 273:12,23
 124:21 193:16       Parmley               337:22 345:12       pattern               274:23 302:4,9,14
 210:12 367:5        5:19 32:17            349:5 351:18        238:5 308:22          307:10,11 327:21
paid                 parsing               357:18 361:6        pause                 331:23 341:15
224:4,8              133:9                particularly         271:6 315:22          362:22
pancreatic           part                 83:17 91:3 141:5     pay                  percentages
265:11,24            12:15 27:17 31:15     160:17 241:6        105:2                303:3
paper                 38:23 41:10 46:3    particulate          PC                   perfectly
27:6 84:12 89:17      49:4 52:23 82:22    187:19 209:7 303:8   2:2                  164:12,18
 95:6 100:16,17,19    86:3 90:9 103:5      304:19,22 321:10    Pecan                perform
 101:15,21 104:3,6    104:13,23 105:16    parties              3:3                  42:13 241:8
 104:10,16,19         105:22 123:3        364:14               peel                 performed
 105:22,23 106:1      126:11 144:10       parts                359:11               40:13 76:18 140:12
 106:22 108:8         149:14 157:19       209:8 336:7          peer                  173:19 182:8
 111:11 112:7,11      173:13 174:21       party                102:15,19,21          214:5,13 215:22
 112:13 113:2,21      180:12 195:9,16     364:11                320:13,15,21         228:5
 114:11 117:20,21     215:10 219:1        pass                  321:4               performing
 126:21 127:2,4,4     223:22 228:18       284:2,3              peer-review          252:17
 127:18 129:22,24     231:24 279:11       passed               103:5,16 105:9       perineal
 136:11,14 155:3      291:4,16 314:19     101:7 357:18         peer-reviewed        17:2,7 27:4 82:1,12
 159:16 160:2         318:2 319:1         passes               27:21 95:11 103:10    83:3,10 91:21
 161:6 162:17,20      336:15 341:10,13    303:20               pelvic                107:4 109:3
 162:21 163:1         345:10 347:6        passing              83:12 122:17,21       110:24 111:14
 164:8,19,20          358:18              335:24                123:8 126:15         117:6 140:2 147:2
 165:18 245:23       parted               pat                   127:12,18 128:1      152:18 168:14
 246:23,23 247:13    39:19                69:17,18 336:13       128:12 207:1,21      181:13 183:1,13
 249:21 259:13       participants'        path                  327:9,15             187:6 189:9 198:9
 280:10 282:19       272:2                182:18 329:1         Penninkilampi         200:16 201:5,24
 314:24 315:10       participated         pathological         256:4,6 257:8         210:7 211:3 214:6
 316:3 320:7 335:7   207:21 350:7         62:9                 Pennsylvania          230:10 235:3
 335:8 336:11        particle             pathologist          2:21                  247:22 248:10,23
 338:2 339:7,13      303:1 334:11 339:4   62:6 162:3           people                249:16 250:6
 361:24 362:1         339:9,10            pathway              44:10,15 49:11        283:13 284:18
papers               particles            191:1,5 206:21,22     199:20 212:16        306:16 311:12
70:22 71:3 76:9      182:14 184:5,12      patient               221:3 240:2          319:22 338:20
 111:13 127:10,24     185:22 186:11,23    171:14 328:18,20      250:24 328:2        perineally
 128:17 136:15        187:22 188:2,7,23    329:3,18 330:3       336:4 337:13        166:22

                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 124 of 366 PageID:
                                     75479
                         Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                                            Page 398

perineum             pertaining             149:17 282:7          32:3 33:5 34:16      136:12,13 142:11
183:7 206:22 231:5   182:9                piecemeal               34:19,24 35:19,24    147:13 148:5
 232:4 296:11        pertinence           40:20                   36:5 38:14 39:3      187:24 190:2
 301:9,16 302:1,5    78:7                 pieces                  39:16 45:20 47:5     194:10 202:11
 305:9 321:11        pertinent            18:11 42:23             49:14 51:1 53:17     209:21 223:2
 334:12,21 339:19    42:5,16 43:4 68:4    Pier                    65:20 71:13 72:5     233:14 236:6
 340:17 341:9,17       70:17 76:22        70:8,9 148:12,18        75:18 101:7,10,15    289:3 292:3
 341:22                167:10 186:22        149:11 150:1,10       102:13 103:22        295:17 311:10
period                 214:18               151:17 158:2          104:14,24 105:12     313:9 326:7 331:2
23:14,15,17 40:21    petition             Pier-47                 105:18,23 108:22     340:13 344:3
 44:24 96:1 145:15   219:12               7:5 148:18 149:11       141:22 148:22        346:8 352:9
 168:7 261:9 262:9   petitions              150:2,9,19 151:10     285:12 346:2,5      pointing
 277:17 279:17       30:22 221:16           152:2 158:2,7         347:12 361:21       112:23 294:15
 280:7,14,18,21      petri                pipe                  plans                 poison
 281:7,22 282:14     300:7                145:21                85:9 352:2            311:1,18
 311:6,23 342:11     Ph.D                 Pitocin               plant                 policies
 351:3               1:14 4:5 5:1 9:18    188:14                146:12                91:8
periodic               28:1 59:21 364:5   Pittsburgh            plasters              polite
23:12                  367:4,12           117:11                146:1                 74:10
periodically         Pharmaceutical       place                 platy                 polycyclic
309:23               31:11                97:18 315:18 364:8    137:10                358:14
periods              pharmacologists      placed                plausibility          polymorphisms
261:3 263:20 280:1   220:22               227:8 314:5           230:1,10              314:14
 280:12,24 281:3     Philadelphia         places                play                  pooled
 310:12,13           2:21                 162:5 254:16          303:22                166:6 192:18,21
peritoneal           phone                placing               players               population
161:18               37:23                245:1                 233:15                258:19 265:14
Perkison             phrase               plain                 please                 308:15 309:6,7
79:21                82:5,8               211:21                8:15 9:24 30:12        332:1 334:2
person               phrasing             plaintiff               53:12 73:24 87:7    population-based
308:19               83:13                28:14 46:2,21,24        98:19 105:15        239:17 240:13
person-years         physical               50:21 51:24 57:14     113:15 119:10        244:21
212:6,10,17 310:15   13:17                  72:14 75:11           164:5,9 165:10      populations
personal             physician              171:24                243:18 301:2        166:17 254:16
3:20 9:10 57:6       10:2 55:16 79:22     plaintiffs              343:15 365:3,8      portion
 151:5 156:2,17      physicians           2:11 8:18,21,23       pleurodesis           347:17,19
 196:23 257:3        207:23 208:4           10:12 15:5 23:1     129:5,7,13 130:9      portions
 280:20 284:19         213:20 220:21        35:7 44:9 47:14       130:23              221:8 336:23
 335:12 343:23       physiology             49:9 53:15 57:12    PLLC                  pos-
 345:5,13            84:4                   78:20 80:6,9        3:2                   187:1
personally           picked                 96:13 117:24        plugged               posed
156:19               259:23                 118:13,21 142:24    280:16                351:17
persons              pickled                178:2 224:5         pocket                poses
146:15 149:6         229:10 357:11,19     plaintiffs'           123:24                214:7
 182:15                360:1,2,5,9,11     2:6 13:1 20:3 24:6    point                 position
Perspectives         piece                  25:11,15,17,20      38:1 40:3 42:11       30:3 69:21,22 90:7
31:13                51:4 87:15 119:23      26:17 27:10 30:10     49:19 86:23 107:1    94:21 185:24

                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 125 of 366 PageID:
                                     75480
                       Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                                         Page 399

 186:22 187:3       136:24 158:18        202:6,18,21,24      pre-2014              presentations
 188:22 204:14,20   159:3 161:22         206:5 210:8 211:3   276:20,24             345:12
 205:6 206:4,10     170:20 171:21        211:6 216:9         preamble              presented
 234:15,20,23       172:22 180:4         219:11 220:6        28:7 293:4,8          134:1 209:22
 246:24 338:11,17   241:9 268:9,21       230:11 231:4,7,11    294:16,21,23          325:19
 338:19             276:14 277:14        231:19 232:2,9       295:12               presently
positions           294:1 326:9 356:9    257:3 260:22        precautionary         85:10
30:22 93:21 191:23 potentially           262:10 270:18       97:13,15,17 98:7      presumably
 205:19            77:24 221:20          272:2,14,24          98:10,16 99:15,18    331:17
positive            233:22 360:8         274:22 275:6,11      99:20 100:4,6        pretty
72:9,13 107:3      pound                 275:20 288:6        precept               31:18 43:5 68:7
 109:8,20,21 110:7 100:7                 296:8 298:7,24      97:21                  85:19 168:8
 110:23 145:18     powder                299:5 302:4         precision              206:23,24 217:3
 154:20,24 166:11 1:4 8:11 17:3,8        305:22 306:16,22    37:21                  297:12
 191:14 210:6       22:2,4 23:4,11       307:1,8,12,23       predecessors          prevalence
 221:23 223:5,7     30:4 32:1 38:4,18    308:2,6,12 309:11   147:20                306:18
 245:3,9,13,18,20   48:20 52:4,8,13      309:19 310:3        Pregnancy             preventative
 261:22 263:8       53:8,23 55:1,8,9     311:9,12 313:11     318:13                99:22
 316:8 354:14       62:23 63:20 64:2     325:13 326:12,18    pregnant              prevented
positives           64:10,13 65:5,8      340:6,16 341:8      333:2                 325:19
187:12              66:13 72:18 73:1     350:10,13 351:8     premenopausal         prevention
possession          73:7,8,17 81:19      351:11 352:9,14     255:10                100:7 233:23
12:18               82:1,13,15 83:3,7    352:20,24 353:10    preparation            306:17
possibilities       83:10,18 84:17       353:16,21 354:2     19:8 43:22,24         preventive
328:23              85:2,6 87:16 90:8    354:10 355:2,6       108:17,20            58:9
possibility         90:13 91:13 107:4    357:22 358:23       prepare               prevents
244:23 262:7        107:13 108:5         359:5,23            24:4 42:10 43:19      202:11
 278:17 312:4       110:24 114:17,22    powdered             prepared              previous
possible            115:24 132:11       134:17 189:22,23     17:9 24:4 50:6,9,12   48:4
90:15 111:22        133:3,19 139:8,10    305:3                126:13 346:23        previously
 178:21 179:14      139:12,16,20        powders               347:10,11            10:24 28:13 29:9
 187:11 189:2       140:21 141:4,5,12   140:3,3,15 167:14    preparing              32:23 42:3 48:2
 241:24 242:9,12    141:16,20 143:5,7   power                18:14 65:11 284:17     51:14 56:14
 243:11 244:14      143:9,24 144:8,16   211:15,17,22 251:5   prescribed            primarily
 262:3 265:20       144:16,20 147:3      251:10,21 252:8     330:16                134:11 145:24
 266:8,13 267:17    147:11,14 148:6      258:17              presence               146:4 153:20
 268:7 272:14       148:13 151:11       practically          49:17 72:10 134:24     160:24 161:2
 288:7,15 355:19    152:3,18,23         245:20                138:16 169:6          168:16 181:17
 356:4,6,17         157:14 158:10       practice              184:12 265:5          279:6 328:3
possibly            175:8,15 176:7      31:16 38:24 47:21     319:1                primary
16:9 225:8 229:3    177:9,22 178:3       60:4 70:13 76:4     present               93:15 182:24
 249:19 266:24      181:13 182:1,23      328:4 358:17        142:21 169:16          205:20 206:1
 267:9 303:18       184:14 192:22       practices             170:6 175:21,24       210:23 360:7
posterior           193:19 194:6        1:5 41:21 76:1        244:4 266:11,14      principle
301:23              198:8 199:4,12       100:15               357:14               97:13,16,17,24
potential           200:1,16,18,23      practicing           presentation           98:7 100:6 311:18
37:5 97:19 134:10   201:4,16,18 202:1   335:1                324:7                  356:10

                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 126 of 366 PageID:
                                     75481
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                             Page 400

principles              173:20 198:24       155:9                proven                publications
99:13                   214:13 241:2        profession           111:3                 62:22 64:17,22
print                   311:22 312:10,23    335:4                provide                70:22 76:13,23
24:7                    313:1,15 314:20     professional         57:5 59:16 72:15       77:10 103:10
printed                 340:3,13 341:12     1:18 19:23 42:4       79:11 84:5 219:10     108:6 135:19
320:9                   341:13 357:18        55:24 58:16 61:11   provided               142:1 213:12
prior                   362:3                138:1 364:2,19      25:11,14,17,19         337:18
65:24 96:17 107:1      processes            professionals         26:16 27:10 30:10    publicity
 189:19,21 272:2       121:11 127:20        220:23                33:4 34:16,19        272:1
 277:3,23 301:5         156:16              professor             35:6,18,24 50:3      publish
 364:4                 produce              58:9 61:8             51:10 53:3 59:5      76:9
privileged             154:1 216:2 321:13   program               75:17 77:21 78:11    published
13:7                    362:16              178:24 344:16         78:20 101:14         31:12 51:14 61:13
probable               produced             progress              102:12 142:23         61:16 63:6 64:9
178:21 179:14          14:14 20:1 72:4      147:23 300:11         318:2 346:19          64:12 71:3 85:5
 226:21                 75:21 149:6         progression           349:13                85:17 86:17 92:24
probably                313:14              280:4 303:16         providing              100:18 103:1
11:8 56:1,12 60:9      produces             proliferation        56:15                  107:1 117:2
 66:23 151:20          82:13 114:18         115:2 139:1          proving                119:10 146:8
 178:17 201:21          115:24 116:6,10     promotion            218:6                  185:5 204:20
 205:12 226:17          292:4               116:13 120:13        proximity              206:4 208:19
 227:1,9 277:1         product               313:18              323:4 341:23           214:3 216:1,5
 279:8 308:21          22:4,6 69:24 72:11   propensity           psoriasis              260:13 267:2
 312:8 327:22           77:23 132:18        212:23 304:18        122:4                  281:3
 334:13 335:8           151:9 152:3         proper               psychological         pull
 338:2 348:12           296:10 306:1        172:15               359:7                 192:9 295:4 314:24
 350:7,19 357:24        350:22              proportion           PTI                    315:23
problem                production           140:7 224:16         3:15,15 9:13,14       pulled
312:15 345:3           133:12               proposal             public                289:18
problems               products             136:21 219:9         1:21 61:9 79:18       pulling
93:13 134:11           1:4,5 3:20 9:11       248:15               89:21 93:5,10,21     123:24 349:20
 312:21                 22:2,2,5,7 23:4     proposition           93:23,23 94:7        Pulmonary
procedure               49:17 57:16 60:15   125:23 126:15         96:1 100:15 239:8    77:11,16
319:2 330:17            73:20 75:16          128:5 183:6 287:6    344:15,16 364:4      pulmonologist
procedures              140:13,21 141:5,6    287:23               364:21 367:20        62:1 79:21
11:10 155:9,14          141:13 143:5,7,9    propositions         publication           pure
proceeded               144:8 146:1 147:3   54:17                5:9,11,12,14,18,20    353:5,9,12,17
214:20                  147:11,15,22        propounded            6:5,6,7,9,10,13,15   purport
proceeding              148:7,13 151:11     367:6                 6:16 51:3 63:18      190:14
28:15 38:9              151:13,21 152:4     prospective           77:3,15 91:16        purpose
proceedings             184:20 214:7        237:7                 94:9,14 96:18        28:8 33:14,20
4:3 8:1 10:9 363:21     219:11 284:19       protection            101:14 102:3,14       95:15
process                 343:24 344:23,24    179:1 314:19          102:19 103:19        purposes
28:11 43:18 95:19       345:2,5,13,17       protective            106:23 123:7,17      283:9 349:4
 102:17 103:5,9,16      350:10 353:16,21    135:10                136:3 138:5,11       pursuant
 105:9 120:10,12        354:2,10 355:2,6    proved                213:5,8,9 214:18     364:10
 122:11 171:18         Products'            97:20                 321:1                purview

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 127 of 366 PageID:
                                     75482
                         Arch I. "Chip"         Carson, M.D., Ph.D.
                                                                                      Page 401

 13:6               92:18,21 107:17     245:8              ratios                 244:1 248:7
pushes              110:10 112:9        quote              126:9 255:10 259:2     272:11 314:3
334:11              113:14,19 115:14    91:24                310:21 332:4         342:18 348:5,14
put                 116:22 124:10                            333:9,14,17        reads
78:10 124:1 207:18  127:23 128:9                 R         RDR                  286:1
 230:6              135:17,24 148:4     R                  364:18               ready
putative            153:8 156:11        2:1 3:1            reach                113:13,19 321:12
28:12               158:24 165:5,8,10   radar              79:5 116:5 173:10    real
putting             165:13 171:13       204:3                177:14,19 182:1    270:4,8
346:15              172:4 180:15        radioactive          201:1 206:17       really
                    206:15 214:15       183:17 187:19        215:14 263:8       105:2 115:13 143:6
         Q          215:2 216:3           189:5              319:21               186:22 295:12
qualifications      263:16 285:4,4      radionuclides      reached                309:1 312:11
142:9,10            290:24 292:7,9      189:3              141:11 182:14          317:14 336:12
qualified           293:7 294:17,19     ran                  311:11               349:15
17:16 156:11        296:18 298:21       29:20 33:6 36:2    reaches              realtime
qualifier           300:18 304:11         336:1            169:18,23 177:16     1:21 296:23 364:3
309:16              307:2,5 312:22      randomly             177:18 206:13        364:20
qualifying          316:7,21 317:13     193:23               362:6              reason
294:19              321:18 338:13       range              reaching             94:1 132:17 133:22
qualitative         344:4 347:9 349:1   309:23 333:14      215:8                  133:23 134:8
173:8               349:15,18 351:1     ranging            reactant               241:20 245:4
quality             351:17 352:2        276:22             318:11                 286:13 300:4
40:14 69:23 70:5    358:21,23 359:21    rapid              reaction               302:17,21 351:22
 70:11 157:24       360:3 362:2         122:12 132:19      287:1,19 317:1,19      365:5 366:4,6,8
 228:5             questioning            304:19             317:20 322:22        366:10,12,14,16
quantified         33:23                rapidity           reactions              366:18,20,22,24
206:16 340:9       questions            302:19             119:21 121:6         reasonable
quantify           15:6 23:7 33:9,17    rapidly              312:21             227:24 228:12
143:22 231:23       34:3 85:24 87:3     278:21 279:4,10    reactive               330:18
 339:18 340:15      112:6 113:1 150:3   rappel@seyfarth... 199:6                reasonably
 341:7              156:6 159:13        3:18               read                 39:11
quantities          162:24 164:21       rate               44:15 100:1,24       reasoning
73:19 74:21 75:1    168:24 181:22       45:10 297:19         107:9 112:13       216:16
 169:15 321:13      195:14 218:18         303:18,20 306:11   127:17 130:16      reasons
quantity            245:1 256:16        rates                154:16 166:19,20   93:10 160:12
201:21 232:2,9      278:7 283:24        121:14 167:3,22      222:2,3 250:3        238:21
 257:2 354:4        285:23 301:5          168:6              252:24 267:8,11    reassert
question            315:7 343:7 363:4   ratio                290:15,19 297:12   10:23
11:13,18 12:3,6     363:14 367:6        137:8 232:14 233:1   297:16 336:6       Reath
 17:2 18:10 20:2   quickly                245:13 261:22      337:19 365:3       2:19 9:3
 22:18,21,24 23:3  282:9 303:2            263:7,9,12 269:3   367:4              recall
 32:4 38:2 39:16   quite                  272:22 276:21    reading              14:6 29:12 31:22
 40:10,12 53:11,18 56:5 90:15 213:3       277:23 278:5     91:23 92:7,15,16       37:10 47:22 48:3
 62:14 65:16 68:6   252:16 264:1          331:24             134:6 162:16         69:12,14 70:7,24
 81:15 86:2 87:24   329:19              rationale            193:17 196:19        79:13 90:10
 92:2,12,13,14,15 quotation             136:21               222:23 243:15        101:16 105:7

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 128 of 366 PageID:
                                     75483
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                                Page 402

  142:11 187:16        recruit               referred                201:6 202:1           55:18 66:13 82:11
  240:23 241:7,24      239:20                24:21 102:3 151:24      311:13                91:8 95:12 117:5
  244:20,23,24         rectal                  184:8 192:15        Register                212:6 337:23
  269:7,8,13,18        198:12 199:13,23        210:12 270:13       134:7                   339:8
  270:3 272:2,15         200:11 202:24         328:1,6 330:2       Registered            relating
  276:11,14 277:14     redline               referring             1:20 364:3,19         31:24 55:7 62:9,18
  280:6 286:19         337:2                 22:3 110:16 121:13    regression              62:22 63:1 72:23
  301:13 338:3         redo                    158:4 205:23        272:18 277:18           77:22 86:7 120:1
  340:22 341:14        43:2                    211:16 287:17       regular                 131:13 136:24
recalled               redox                   305:21 321:21,24    27:17 31:15 210:7       138:11 167:9
271:21 274:21          181:3                 refers                  231:6,19 284:18       192:22 234:7
  275:6                reduce                211:17 228:4            309:18 310:1,3,20     252:3
recalling              131:21,22 147:21      refine                  326:13,19 327:18    relation
281:5                  reduced               43:1                  regularity            112:2 126:23
receipt                191:6,7 194:13        refresh               301:11 304:12           209:24 212:13
365:16                   196:13              71:22 126:19 164:1      305:10 321:8        relationship
receive                reduces                 183:15              regularly             30:4 38:19 41:3
10:15 43:24 346:6      132:11 240:22         refute                199:20,22 231:4         47:5,8 48:11,14
received               reducing              54:19 245:11            308:11 327:14         51:6,8 53:22
10:20 59:21 143:16     306:14                refuted                 357:14                54:11 58:4,12
Recess                 reduction             54:10,16 217:22,24    regulated               86:18 90:7 91:17
89:5 177:2 253:9       132:6 193:24            218:4               361:9                   121:10 127:6,8,19
  363:9                  194:17              refuting              regulation              133:11,14 136:17
recessed               refer                 328:24                328:15                  140:2 154:16,20
363:21                 21:24 22:1 23:11      regard                regulatory              159:3 210:7 211:3
recited                  29:21 33:16,22      290:7 291:6 293:14    97:7 219:13             256:22 262:24
146:18                   81:10 115:17          299:19 304:13       Reid                    263:1,18 265:6
recognize                187:18 190:13         318:16              6:6 159:15 160:2        268:5 284:18
225:18 357:1             192:8 211:14        regarding             rejected                286:15 329:21
recognized               235:2 258:5         18:9 22:18 36:17      219:11 225:6            353:4 354:10
208:12 213:13,17       reference               37:6 41:18,23       rejects                 359:1,6
  233:15 267:21        20:19 24:22 35:15       55:17 63:19 64:21   203:6                 relative
recommendation           35:17 51:18           65:4,8 69:23,23     relate                145:17,19,23
143:14                   210:11 296:6          72:10,19 75:15      17:1 18:4 48:5,7        146:15 160:19
reconsider             referenced              78:24 93:16 138:1     123:13 124:3          215:15 236:14
203:14 204:1           7:1 143:12 158:5        154:16 188:5          162:10 236:15,22      245:14 258:18,23
record                   216:19,24 217:3       267:13 292:2          354:17,20             259:2,6 331:24
8:4,16 10:23 14:16       280:11 296:10         298:10,13 304:20    related                 332:4 334:4
  89:4,8 177:1,5         347:5                 326:9 337:17        41:8 48:15 49:18        364:13,14
  247:16 253:5,8,12    references              345:4 358:6           77:18 91:10         relatively
  363:8,12,19          15:11,14 17:24          361:24                136:15 161:1        267:16
recorded                 18:3,7,17 19:3,17   regardless              248:12 249:21       relevance
314:9                    20:5,15 24:11,15    78:7 304:20             269:15 285:6        349:18
recording                29:9 32:24 33:11    regards                 331:1 360:8         relevancy
232:6 321:16             35:22 52:17         294:22                  361:13              349:8
records                referral              region                relates               relevant
76:21 149:8,12,20      328:3                 187:6 198:9 200:17    1:7 37:22 41:11       42:24 334:10

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 129 of 366 PageID:
                                     75484
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                               Page 403

  348:18              repair                  216:2,21,23 217:6   reproductive            313:8 332:3 334:8
reliable              312:14,22 313:1,7       229:22 230:22       26:11 27:13,20          347:2,7,24 348:13
78:6                    314:20                251:8 255:24          82:4,12 83:6,11       349:13,17 353:8
reliance              repeat                  256:7,9,18 270:12     84:4 86:12 87:10      354:1,3,9,12
101:21                11:14 53:11 107:16      282:4,8 284:17        88:2,14,19 116:18   researched
relied                  165:15 296:17         285:9,22 291:2        119:4,13 181:16     168:16 284:21
76:12,19 77:1,4         301:4                 292:10 294:12         181:18 183:1,8        285:5,6
  88:8 232:12         repeated                297:4 299:20          185:7 186:24        researching
  242:21 271:16       305:15                  309:18 336:5,6,23     188:6,8 191:3       118:4 347:18
  346:17,21           repeating               346:18,24 347:5       200:18 206:11       reside
relies                165:10                  347:20,23 348:9       207:17,24 301:10    199:3
205:20                rephrase                348:11 349:5          301:16 303:3,21     residence
relook                11:15 336:16 344:5      352:13 355:23         304:14 305:9        209:21
246:17                replacement           reported              request               residency
rely                  268:15,18 269:5       84:11 109:8 113:22    14:7 51:11 72:21      350:7
70:13 71:9 76:6,8     replete                 157:22 166:7          108:22 285:11       residents
  93:4 97:6 104:22    140:14                  174:24 175:2,5      requested             60:7 80:19
  174:3 205:17        report                  185:14 191:10,11    143:14 327:16         resides
  242:18              5:5 13:12 14:4 15:9     246:2 261:13          364:11              339:4
relying                 15:15,16,22 16:3      283:12              requests              residual
18:20 19:15,16          16:16,19 17:10,15   reporter              12:16                 200:6 266:7
  123:1 201:3           17:16,23 18:11,14   1:19,20,21 9:16       require               respect
  281:11 282:13         18:18,21 19:3,8       12:6 364:3,3,3,19   100:9 173:9 241:16    17:6 33:9 91:13
  354:17                19:11,13 20:1,4,6     364:20,20             306:20,23             103:16 114:10
remains                 20:20 21:1,7,15     Reporters             required                131:9 173:22
169:22 324:9            21:21 22:10 24:15   1:19 364:2,19         100:10 171:3            174:5 175:14,18
  339:11                24:16,23 25:1,7     reporting               328:14                187:4 205:6 206:9
remember                25:22,24 29:11      274:5 322:5,9,13      requiring               234:6 237:15
37:20 165:12            42:10 43:13,18,19     322:16              217:2                 Respectfully
  183:20 269:20         43:22,24 44:1,13    reports               research              359:16
  349:16                45:15 49:4 50:3,5   19:7 40:14 49:11      27:18 31:16 38:21     respiratory
remembered              50:6,9,9,12,12,14     49:13,16,24 50:24     40:13,15 62:9,18    77:14 134:11
274:21 276:4            50:17 54:14,21        52:7 67:21 68:9       63:12,17 64:8       respond
reminder                57:22 65:11,17,19     72:8,9 116:14,23      76:5,15,18 87:13    12:15 34:3 164:21
343:21                  73:3 80:14 81:8       117:2 120:2,3         91:8 93:15,17       responding
remove                  81:10,16 89:12        132:3 140:1,14        105:17,20 126:20    30:21
200:5                   92:8,9 94:3,4         141:21 142:2,5,21     129:17 132:3        responds
removed                 100:18 105:20         142:24 143:3          138:5,11 139:11     292:7
360:22                  114:13 117:13,15      146:10 310:16,19      139:24 140:11       response
render                  122:10 126:20         353:8                 158:18,23 159:2     12:10 13:10 23:23
38:12                   132:9 145:12,22     represent               159:12 165:21,21      33:17,23 113:24
rendering               146:9 148:10        18:13 105:1 284:13      178:23 225:24         115:1,6,8,12
34:11                   155:22 158:7          343:23                231:1,1 238:4         138:24 219:8
RENEE                   181:24 183:3        represented             248:16 249:6          285:3 321:16
3:17                    192:16 205:9        345:21                  251:8 254:15          322:13,16 362:17
Renée                   209:1 210:13        represents              285:11 300:14       responses
9:9 343:15,22           211:12 215:11       19:5 226:12 233:21      301:21 310:19       321:13 322:6,9

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 130 of 366 PageID:
                                     75485
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                           Page 404

  350:20              retention               66:3,8,10,10,11     106:8,12 107:13     208:9 209:9 210:3
responsible           249:7 347:15            66:16,20,23 67:13   107:22 108:1,6,9    210:9,13 214:8
70:10 91:7 230:12     retrograde              67:22 68:12,20,23   108:18 109:9,12     215:5 216:6
  352:21              183:22 184:3            69:13 75:7,9,15     109:15 110:4        218:22 219:2,15
responsive            retrospective           75:23 76:2 87:8     111:15 112:6,16     219:23 220:18,23
12:18 15:1 20:2       242:2 243:10            89:11 91:11 95:6    112:21 113:18       221:8 222:17
rest                    244:13 260:12         100:17 102:16       114:1,10,14,19      223:14,23 224:5
265:14 323:15           269:11                108:16,21 142:4     115:2 116:2 117:9   225:4,24 226:18
restated              return                  142:17,21 143:4,8   117:14,18 118:16    226:22 227:10,13
100:6                 365:14                  217:5 219:1 221:6   121:19 122:13       227:19 229:17
restates              revel                   227:8 242:18        123:23 125:2,6,10   230:1,16,17
92:23                 358:17                  281:7 290:3         126:2,5,10,12       232:11,14 233:2
restating             reverse                 295:23 309:8        128:17 129:4        234:21 235:14,16
210:22                306:14                  320:15,21           130:10,14,17,20     236:16 238:24
result                review                reviewing             130:24 131:4        243:7,13 244:7,17
16:21 88:9,11         18:14 19:22 27:2      67:1 211:11 347:24    132:7,12 133:5,20   246:24 247:13,23
  185:8 191:6           27:16 30:6 31:15      348:6,14            134:16,22 138:14    249:1 250:18
  200:11 201:15         31:23 39:22 40:1    reviews               138:19 139:17       252:13 253:18,19
  212:17 221:23         40:19 42:12,13,15   215:24                142:5 145:6         254:3 255:1,18
  245:3 285:10          42:17 43:7,8 44:1   revisiting            146:20,23 147:1,3   256:13,23 257:4,9
  305:17 306:17         45:14 46:5 49:5     278:17 342:4          148:14,19 155:6     257:13 259:8,20
  311:19 313:17         50:5,8 52:20 53:1   Rheumatoid            155:10 156:5        260:4,14,22 261:6
  314:16 334:6          65:14 66:23 68:14   121:18                157:15,20 158:3     261:11,18 262:11
  348:2                 68:15 72:22 73:2    right                 158:20 159:5        262:17,21 263:2
resulted                75:11 77:14 79:6    10:3,9,13 11:5 13:8   160:6,13,19         264:4,8 265:3,8
64:17 146:10            80:23 86:3 90:6       15:9 19:18 20:15    162:13 163:1,8,23   266:5,15,22
  203:13                90:10 95:11 98:19     21:8,15 24:1,12     165:18,22 166:8     268:12 269:16,22
resulting               99:9 102:20,22        25:1,18 26:12,15    166:21 167:15       270:4,14,21
87:10 88:3,20           108:19 113:1,4,10     27:7,11 28:1,15     169:8,9 170:1,4,8   271:10,13,17
  137:18 310:21         113:17 164:8,19       28:19 31:2 32:12    170:22 171:8        272:3 273:1,5,15
results                 164:20 193:13         34:11 38:5,21,22    172:2,12,22 173:1   274:3,9,16,22
72:10,13,19 82:1        203:12,22 205:13      38:24 39:7 44:24    174:22 176:14,16    275:2,7,8,12,21
  83:4,7 86:12          205:17 214:14         45:2 49:5 50:13     178:12,18 179:10    276:7,15,24 277:8
  111:6,10 120:13       220:10,13 223:13      50:19 52:18 53:18   181:16 182:11       277:24 278:22
  151:16,18 157:23      224:20 242:21         54:22 56:16 59:19   183:3,9 184:9,16    279:18 282:12,23
  181:13 191:2          257:22 282:4,17       59:22 60:1 61:21    184:18 185:1,24     283:14,20 285:19
  194:9 196:18          291:14 316:5          62:10 63:7,22       186:8 188:9,16,24   291:21 293:9
  215:23 222:21         320:13 321:4          67:5 68:21,24       189:10 191:12,23    299:16 301:12
  223:18 232:4          348:2                 71:7 81:5,9,20      192:16,19 193:2,9   309:4 311:4 312:2
  245:6,16,18,19,20   reviewed                83:8,20 84:18       194:2,9,20 195:4    315:5 333:13
  260:17 266:4        5:8,21 6:3 14:3         85:3 89:18 91:1,5   195:12,16 197:2   right-hand
  269:19 277:4          19:8,14 20:18         91:22 94:10,19      197:24 198:8      160:9 243:24
  326:4                 35:9,12,14 40:21      95:1,8,22 96:6      199:5,15 200:21     248:15 272:7
retained                42:8 43:9,16 49:4     98:2,11,12,17       201:1,19 202:3,7 rise
32:3 36:16 46:19        49:12,13,15,24        99:15,16 100:12     202:15,19 203:4   20:18 238:12
  48:20 57:15 65:19     50:2,11,14 51:1       100:18 101:1,11     203:17 204:16,23    245:14
  96:14                 51:12 52:7,11,14      101:18 103:2,24     205:1 206:3 208:1 risen

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 131 of 366 PageID:
                                     75486
                          Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                                            Page 405

  217:2               79:23,24             312:5,9 325:3        94:5 105:2 342:8       181:12 244:1
risk                  rooms                  355:11             sciences               247:24 248:17
27:4 84:18 90:13      134:19 342:22        safer                26:12 27:14,20         273:3 331:21
  90:17 91:14,22      rose                 359:10,10              59:18              second-to-last
  95:12 96:10,17      109:22               safety               scientific           163:11
  99:3 107:4 110:13   rotations            30:3 214:7           19:6 51:4 98:1,9     secondary
  113:23 121:21       207:20               SALES                  99:23 120:17       82:19 181:19
  122:8 126:2 132:7   roughly              1:4                    175:1 204:8          331:17
  132:11,23 133:3     274:5 279:19 303:8   sample                 213:18 218:6       Secondly
  134:2,2 145:17,19   roulette             187:12 193:24          220:11 221:14      215:21
  145:23 152:19       251:23 252:4           251:9                222:6 223:14       secretions
  162:11 163:14       route                samples                224:16 269:14      200:7
  166:18,22 172:11    82:19 179:3,19,21    143:14 190:3           313:8 339:3,13     section
  172:15 173:8,13       181:20 182:24      San                  scientist            24:16 112:14,18
  173:20 174:21,23      298:10             3:4                  62:4 70:9              113:6 115:17
  190:20 192:23,24    routes               satisfy              scientists             124:24 125:22
  193:22 211:5        179:11               43:4                 150:23,24 213:20       157:23 249:13
  214:5,7,12 215:15   routine              Saturday               220:21               291:7,11
  220:7 222:1 231:3   23:12 328:14         1:11                 scope                see
  232:14 236:4,14     routinely            saved                344:10               18:1 30:12 40:13
  244:4 245:14        321:11               233:22 305:17        Scott                  41:17 60:5,11
  247:23 248:11,24    Royston              saw                  76:16                  67:15 69:9 77:5
  249:17 250:7        3:15 9:14            35:22 340:2          screen                 99:4 109:5 149:23
  254:2 258:18,23     rule                 saying               204:4                  155:3 183:18
  259:3,6 260:20      227:23 228:11        127:21 245:11        screening              218:17 255:6
  262:6,6 267:1,10      357:16 364:11        279:21 287:20      5:15 30:13 89:15       260:18 263:1,5,18
  267:17 268:19       ruled                  332:8                330:18               272:9 277:19
  277:7 291:23        140:10               says                 Seal                   278:2 281:19
  299:12,14 305:17    running              98:8 244:10,18       129:20                 286:4 287:10
  306:13,13,15        296:23                 249:4,11,12        search                 290:4 292:24
  308:12,15 309:13    runs                   250:11 288:22      25:13 34:20 36:3       297:4 315:20
  310:4 311:9,13,16   346:10                 294:4 321:3,22       40:12,23,24 41:1     316:23 317:19
  311:19 312:1        Russ                   329:4 339:14         41:5,10,15 42:7      319:16 327:14,24
  325:8 330:14        36:22                  357:16               42:24 43:2 79:6      328:11,13 335:23
  331:4,10,13,18,24                        schedule               214:17 295:9         339:24 340:14
  332:14,16,23                S            351:3                  349:20             seeing
  333:3,4,6,10,22     S                    scheduled            searchable           167:7,9 338:3
  334:1 338:14,21     2:1 3:1              189:18               342:14                 342:12
  350:15 356:12       S-A-E-D              Schildkraut          searched             seek
  360:10 361:17       27:24                6:16 255:13 270:12   41:1                 241:19
risks                 Saed                   270:16 271:5,12    searching            seeking
146:15 160:19         27:24 51:5,9,19,21     277:15             315:2                348:13
  330:13 332:4          313:15,21 314:5    school               second               seen
  334:4                 315:16 316:8       61:9 79:18 207:19    50:17 54:4 81:24     16:17 84:11 139:11
RNA                     319:11,20 320:7      239:8 281:1          82:9,10 99:19        167:21 208:19
314:12 318:24           361:20 362:1         344:16 350:7         125:8,16 145:15      321:16 332:4
Roberta               safe                 science                163:20 166:3,5       337:16 341:6

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 132 of 366 PageID:
                                     75487
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                               Page 406

  342:21 351:5         58:23 59:9 105:11     311:22                signature               314:13 339:19
selected               session               shortly               364:11                  340:16 341:8
71:12                  312:12                344:9                 significance          sir
selection              set                   show                  109:23 238:13         20:9 150:14 164:7
221:22 239:16          15:11 16:14 19:6      25:20 72:15 84:17       245:15 254:6          180:22 207:11
self-report              19:17 38:13 43:13     88:9 92:9 117:15      258:24 259:7          297:4 329:13
243:11 244:14            54:15 81:7,18         119:8,20 124:13       261:9,17 262:5        331:7
send                     95:15 155:22          132:10 151:1          263:11 276:24       sit
346:6                    364:9                 185:6 200:10        significant           123:6 156:7
sense                  sets                    202:17,23 209:6     55:16 87:16 100:14    sitting
336:9                  220:16                  210:6 237:23          109:9 110:3,11      67:5
sensitive              setting                 238:4,7,15 245:13     143:19 147:21       situation
209:16 210:1 241:6     54:15 57:7,10           246:8 253:24          159:11 166:12       208:15 265:19
sent                   settings                255:3,17,20 257:7     235:9 240:21          293:5
14:10 328:17           160:18 207:20           262:9 268:5           246:2,9 253:22      six
sentence               seven                   313:15                254:1 257:16        230:4 297:8
99:19 107:9 112:22     297:8                 showed                  262:16 263:8,9,12   size
  286:1 287:20         seventh               72:16 109:21            275:14 277:22       194:1 251:9
  290:18 301:7         58:15                   117:12,17 145:23      278:5 310:21        Sjösten
sentences              Seyfarth                146:14 245:3,9        326:23 334:6        183:21 184:4 189:7
113:13 286:22          3:17 9:10 343:23        255:8,9,14 313:11     345:3 352:19        skin
separate               shake                 Shower                  354:14 360:19       286:24
21:1 28:4 149:19       340:16                22:3,3,5,6            significantly         skipping
  347:22 348:3         shakes                showing               196:22 198:2          198:3
separated              340:8                 237:3 318:17            201:22 275:21       slide
310:14                 share                 shown                   277:6               345:22
sequestered            24:6 35:23 44:13      72:12 88:11 112:1     signing               slight
132:20 362:18            117:23 346:7          119:2 139:12        365:10                360:10
sequesters             shared                  144:10 236:23       silicate              slightly
116:2                  80:17 346:1,1           237:8 253:21        180:13                16:20 193:18
sequestration          Shaw                    301:11 303:16       similar               slow
171:19                 3:17 9:10 343:23        331:14 354:13       83:15 116:21 162:1    303:15
series                 sheet                 shows                   166:7 201:15        slower
168:23                 146:13 365:6,9,12     192:23 213:1 231:2      300:3 358:7         303:20
serous                   365:15 367:7          238:4 260:20        similarity            small
153:20 212:19,20       shield                  273:3,7             106:24                74:20 76:3 77:21
  212:21 237:2         314:20                shutdown              simple                  159:4,11 160:15
serve                  shipped               221:7                 68:7                    169:15,16 208:22
58:8                   151:20                sic                   simplicity              223:7 279:7
served                 short                 26:1 144:21           289:18                  334:15,20 348:7
10:24                  86:24 310:12 311:6    side                  simply                  353:23 354:4
service                  343:4 363:6         248:15 272:7          61:7 136:3 245:17       361:1,3 362:21
14:3 59:16             short-circuit           335:22                251:12 252:16       smoke
services               14:12                 sign                    254:14 334:14,16    358:8,11
1:23 3:23 8:6 56:16    shortcut              365:8                   340:21              smokers
  58:7,24 59:6         281:19                signal                single                265:22
serving                shorten               211:19                221:19 299:13         smoking

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 133 of 366 PageID:
                                     75488
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                              Page 407

  265:13,18 266:1     space                 spend                 start                   254:6 258:23
  358:8               323:16,17,17 324:8    55:23 342:17          12:3 40:16 65:10        259:7 261:8,17
SNPs                    324:8,9 365:6       spent                   65:17 232:3           262:4,20 276:23
314:13 318:16         speak                 45:13 60:4 347:14       250:24 263:6          331:2
so-called             43:6 297:11             347:18,19 348:5,8   started               statistically
353:9                 speaking              sperm                 65:18 168:11 335:1    110:3,11 246:2,9
social                165:1                 302:19 303:3,9,14       340:3                 253:21 254:1
47:4 278:13,15        special                 303:19,23           starting                262:16 277:6,22
Society               136:2 162:3,6         sphincter             39:22                   354:14
338:12                specialist            202:10                startling             statistician
sold                  207:2 208:6           spin                  301:11 304:12         253:15
151:12 152:3          specialists           213:10                  305:10 321:8        status
somebody's            207:24                spinning              starts                103:15 199:7
318:14                specialty             251:22 252:4          272:7                 stay
somewhat              335:3                 split                 state                 284:3
311:16                species               57:13                 9:23 41:17 106:23     stays
soon                  199:6 288:20,24       spoke                   107:6 109:7         339:14,15
352:4                   291:24              79:11,15                114:16,21 122:10    Steering
sorry                 specific              spring                  127:11,16 128:17    2:6
20:12 54:3 67:9       20:5 21:24 22:17      344:13                  132:9 166:10        stenographic
  69:7 86:21 100:19     22:18 64:3,4        spurious                180:18,21 181:2,6   247:15
  103:12 107:16         73:18 78:14,19      221:23                  229:22 248:20       stenographically
  119:17 163:11         92:5,6 93:1         square                  249:10 256:19       364:8
  173:7 184:1 197:8     115:14 134:5        2:20 190:1              257:1 290:6 291:2   step-wise
  222:23 236:8          137:23 171:14       St                      292:10 321:9        147:23 167:18
  243:14 260:3          175:7 216:20        3:14                    364:22 365:5        sticker
  271:9 298:22          285:4 330:13        stack                 stated                28:18
  310:10 316:1          344:22              24:10                 187:11 203:16         stimulate
sort                  specifically          staff                   245:7               115:1 139:1 188:15
42:15 67:24 121:6     19:15,16 23:9         221:3                 statement             stomach
  149:16 238:18         41:16 62:20 64:21   stage                 67:3,7,14 120:15      360:9
  240:5 251:22          88:24 90:10 105:6   142:12 330:20           123:2 138:21,22     stop
  295:14 300:13         116:24 126:18       stages                  167:19 203:12       13:3 301:12 306:24
  323:16 325:14         177:15 180:23       42:12                   286:7 292:12          331:20 344:5
  336:14,16 341:12      220:2 267:12        stamp                   301:7               straying
  350:13 358:24         289:2 299:21        30:24                 states                358:22
sounds                  317:21 320:1        stand                 1:1 90:4 91:1 93:18   stream
171:14 184:17           339:14              128:5 254:22            97:18 100:12        345:6
source                specificity           standard                113:21 219:14       Street
104:5 105:3 136:18    264:12                218:5 220:13 319:7      221:13 291:7,10     1:15 2:4,9,14 3:3
  155:17 286:7        specifics               319:9                 306:4                 3:13,18
sources               316:14                standing              stating               strength
54:10,16,18 104:7     Spectra               186:20 187:5 304:2    17:16                 229:23 230:8,19
  104:11,13 127:8     58:14 59:10,12        starch                statistical             235:17
  143:16 157:17,18    spectrum              29:1 183:22 184:4     109:22 110:22         strengthened
South                 235:20 258:8            189:22,23 190:9       211:15,17,21        17:1,6
2:14 3:13               288:12                190:10                223:18 233:8        strengthens

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 134 of 366 PageID:
                                     75489
                         Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                                          Page 408

  95:7                structures            238:20,20 239:16    221:19,19 222:20    Subscribed
stress                137:7 154:8 321:23    239:18,22 240:12    233:1 237:16,17     367:15
134:21 135:1,5,7        321:24              240:12,13,14,20     237:18 239:20       subscription
  135:12,15,20,23     student               240:22 241:6,8,12   240:21 241:1,2,4    346:13
  136:2,4,16,19,22    345:11                242:2,3 243:13      242:15,17 249:14    subsequent
  137:15,17,20,24     students              244:5,7,16,21       250:23 251:16       40:20 284:20
  138:6 198:24        344:15                245:9,10,13 246:2   253:24 255:7,9,13   subset
  200:10              studied               246:8,18 249:23     255:14 257:11,12    77:21 78:5
stretched             161:4,13 212:16       249:24 250:16,17    257:17 258:5,9,12   substance
329:22                  226:2 265:8         251:5,6,7,13,18     259:3,8,18 260:9    132:21 135:4,7
strike                  310:13              251:20 252:3,9,15   260:13 262:3          170:20 178:21
31:1 33:2 34:6        studies               252:18,20,21,24     266:9,12,15,21        179:2 183:21
  46:23 53:16 61:12   84:16 88:7,10         253:21 254:7,11     269:3,11 270:12       227:18 328:9
  63:5 64:8 69:7        106:24 107:13       254:20 255:3,16     270:16,20 271:5       340:7 360:21
  80:4 90:1 98:14       108:5 109:8,19      257:7 258:9,22      271:13,19 272:4       361:4 367:7
  118:20 121:15         111:7,10,20,22      259:5 264:20,23     276:2 277:2,4,15    substances
  122:3 131:6           112:1,15,20         265:1 266:5 268:2   281:6,11 282:13     73:19 74:21 91:10
  140:17 141:10         113:22 114:1        268:4,8 270:11      286:10,16 287:23      135:14 202:5
  152:9 160:22          119:2,7,11,19       271:15 281:6,11     296:11 297:14,15      226:12 295:1
  176:11 186:6          123:13 124:2        282:13 283:11,16    299:11,18,21          353:11
  204:12 205:4,14       125:5,10,18,22      283:19 286:2        300:6,12 313:10     substantial
  210:4 212:9           126:9,13 128:3,4    293:17 294:2        321:16 332:3        134:1 167:5
  217:22 219:20         128:8 131:7,13,19   295:23 296:5,9      341:11              substantially
  222:14 227:16         132:5,10 135:18     297:9,20 298:17   studying              103:7
  236:9 240:8           140:6,12 146:11     298:19 301:14     265:10                substantive
  241:21 259:6          146:14,18,19        303:11,15 304:1,3 stuff                 79:12 194:8
  264:18 265:17         147:1 154:15        305:2,4 308:7,15  349:17                Substitute
  276:22 356:4          160:10,21,24        309:8 310:11      subcommittee          29:1
  359:14                161:13,15 162:10    311:21 313:13,21 129:19                 substituting
stringent               163:22 167:23       314:12 322:5,8,12 subgroup              29:5
219:10                  174:24 181:23       322:15,21 331:14 193:22                 substitutions
strings                 183:5 185:17        334:3 354:5,13,13 subject               75:5
348:11                  188:1 191:12,15   study               51:13 138:6,12        subtypes
strong                  192:19,22 193:6,9 38:21 84:12 101:6     365:10              112:3 237:12
86:18 121:10 235:4      194:5 195:8 200:9   101:10 110:17     subjects              successful
  235:24 255:9          201:3 202:17,23     123:1,7,16 126:14 238:11 239:20         148:3 341:1
  288:19,22 291:3       205:20 206:1        129:12 130:8,12     241:17 252:10       suffer
  292:10 293:24         208:19,24 210:6     136:4 145:20        341:2               241:12,14
  294:7 326:8           210:11,23 211:11    147:7 154:19      submission            suffered
stronger                214:23 216:9,11     161:6 182:9       57:22                 258:17
17:18 85:1              216:17,18,19        183:24 184:2,3,6  submit                suffice
strongly                217:1,3,7,10,13     185:21 187:11,18 96:23 97:3             351:14
110:8 111:2             217:18,23 218:1     187:24 188:4,7,20 submitted             sufficient
structural              221:18 223:4,6,6    189:7,17 194:13   25:7 51:3 96:20       59:15 216:2 226:7
279:8                   228:4,6,9 232:17    195:12,15,17,22     221:15 320:18         226:13 230:5
structure               232:22 237:1,4,7    196:4 211:15,18   submitting              283:8 312:23
180:24 323:7            237:8 238:7,10,15   211:22 212:7      103:10                  321:10,12

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 135 of 366 PageID:
                                     75490
                          Arch I. "Chip"         Carson, M.D., Ph.D.
                                                                                            Page 409

suggest                 165:5,11 174:16   sworn               takes                    225:7 227:15,17
107:2                   176:23 180:14      9:19 364:5 367:15   281:17                  230:11,22 234:7
suggested               186:22 195:21     synthesize          talc                     235:3 237:9,24
38:13                   197:9 238:21       93:21               3:5,10 10:8 22:2        238:8,16 243:11
suggestions             240:4 243:21      system                27:4 29:1,6,7 37:3     244:3,14 245:3
336:11,19               260:2 264:24       83:20,24 84:4,6,10   41:2,9,11,24           246:3,10 247:22
suggests                270:7 292:6         208:8,12,17 209:3   49:17 55:2 64:19       248:9,24 249:8,9
248:9 249:15 339:4      305:23 329:16       303:21 337:17       64:21 69:23 70:5       249:16,18 250:6
suitability             343:12 346:9        362:12,15           85:12 86:8,13          252:3 255:4
29:5                    362:21            Systematic            87:11 88:3,11,20       260:21 268:5
Suite                 surface              27:2                 89:22 90:12,17         269:21 271:22
2:10,20 3:4,13        54:19 217:12                              91:21 107:4 109:4      273:14 274:2,6,15
summary               surgeries                    T            111:14,20 114:23       276:4 277:5
109:1 149:17          207:21              table                 115:5,8,10,10          283:11,13 284:19
superior              surgical             24:11 108:15 109:1   116:5,6,9,15           286:3,10,17,22
132:15                133:20 134:16         149:15 257:15       117:5 118:13           287:9,16,18,21,24
supervisor            surprised             260:16,17,20        119:1,14 120:1         288:8,23 290:9,21
60:6                  340:22                272:21 277:20       126:4 127:6            291:6 292:1,2
supervisory           surrogate           tables                129:13 130:23          293:14,16 294:1
69:22                 318:22 354:21        102:2,11             132:16,21 133:11       294:22 295:13,18
supplemental          surround            Taher                 133:14 136:16          295:22 299:19
102:2,11 347:8        323:15               5:12 27:5,6 89:16    137:5,6,6,10,12        300:2 302:9,13,18
support               surrounding           94:24 100:16,24     138:17,18 139:4,5      303:1 304:13
79:12 89:13 91:20     116:12 180:24         102:3,14 105:23     139:21 141:14,17       305:8,16 313:16
  148:12 191:22         321:23,24 362:7     106:1,23 107:11     141:21 142:14          313:17 314:5
  209:1 217:15,18     surrounds             108:8 111:11        143:16 147:22          316:24 317:2,20
  221:15 296:6        323:6                 112:7,10,13         151:9,24 156:8,13      319:17,19,21
  303:12 305:7        surveillance          113:21 245:23,24    156:17,20,24           321:17 322:6,9,22
supported             328:14                361:24              157:6 158:11           324:23 334:11
237:16 305:12         survey              take                  166:22 167:4,9         335:13 338:2,13
supporting            129:12 351:24        10:7 12:6 43:16      168:14 169:7,12        338:21 339:10,18
270:13                  352:3               86:23 87:3 89:1     169:19,22 170:12       341:15 342:5
supportive            Susan                 96:5,5 97:18 98:2   171:19 176:2           344:11 345:17,20
34:10 193:21 196:6    70:6                  98:10 99:9,21       177:17,17 180:9        353:5,9,12,16,17
  217:7 219:5,8       susceptibilities      124:12 130:1        180:20 181:7           355:22 356:19
  246:24 259:19       267:14                164:1 166:18        182:10,13,18           357:5 358:20
supports              susceptibility        176:19 220:15       183:6,12,23,24         362:16
95:7 126:14 190:15    308:20                228:22 229:1        184:2,8,12,14,20     talc-containing
  190:23              susceptible           242:23 243:23       184:24 185:8,15       301:8,15
sure                  83:17 239:16          248:14 260:5        186:19 187:5,22      talc/ovarian
14:13 36:1,2 39:6     suspect               281:14 290:19       189:9 190:20          36:17 268:1
  53:14 54:6 62:13    154:5 199:18          292:17 315:1        192:24 196:11        Talcs
  62:16 68:3 70:3       208:21 329:23       343:3,14 363:6      198:11 199:3          31:11
  87:1,5 105:15       swear               taken                 200:11 206:10,13     talcum
  107:19 113:16       9:17                 89:5 92:8 177:2      209:24 214:7          1:4 8:11 17:2,7
  129:16 135:16       sweating              207:18 253:9        221:24 223:7           23:4,11 30:4 32:1
  136:9 150:21        200:6                 363:9 364:8         224:12,14,18           38:3,18 48:20

                     Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 136 of 366 PageID:
                                   75491
                        Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                             Page 410

52:4,8,12 53:7,23     357:22 359:23         124:5 129:14        tested                  130:5,6 159:23
55:1,7,8 62:22      talk                    169:20,21 225:18     143:17                 192:10 196:1,2
63:20 64:2,10,13     134:20 160:8           243:19 259:22       testified               243:3,4 283:9
65:4,8 66:13          163:21 165:20         281:10 288:21        9:20 55:6 56:8         284:7 316:4 343:2
72:17 73:1,7,8,17     254:23 256:17         292:22 339:23         279:16 339:16         363:2,16
81:19 82:1,13,15      264:7 288:2,4         342:2                 347:13 348:16       Thanks
83:3,7,10,18          328:22 335:6        telling                 349:23 352:7         344:8
84:17 85:2 87:16    talked                 124:8                  354:7               theoretical
90:7,13 91:13        38:8 44:16 46:3      tells                 testify                117:1
107:13 108:5          47:13 49:2 55:2      110:21 328:21         17:14 57:5 124:4     theoretically
110:24 114:17,22      117:16,19 118:18    ten                     364:5                242:11 311:5
115:24 132:11         170:18 259:14        56:12 310:20         testifying              317:10
133:2 139:7,10,12     268:12 278:8,16       335:17               83:2 149:6           theory
139:16,20 140:3       283:17 287:13       tendency              testimonies            85:6,12,18 117:4
140:20 141:4,5,12     301:3 312:11         213:10                71:3                   122:15 131:17
141:16,20 143:5,7   talking               tenets                testimony               168:2 186:15
143:9,24 144:7,15    45:23 55:24 65:14     310:24                11:5 19:20 24:19       190:15,24 194:16
144:20 147:3,11       161:7 164:7 177:8   term                    56:17 65:24 68:19     197:15 200:15
147:14 148:6,13       196:17 205:9         135:22 136:23          71:1 78:21 118:21     203:7 204:14,15
151:11 152:3,18       233:7 246:6 291:1     208:12,15,17,20       128:21,23 152:14      206:5,9 209:2
157:14 158:10         307:10 309:3          212:5 265:2           173:14 187:2          210:4
167:14 175:8,15       315:3 321:7 342:4     304:12 337:16         190:18 239:2        therapy
176:7 177:9 178:3   talks                 terminated              251:17 252:2,12      268:16,18 269:5
181:13 182:1,23      112:14,18 126:22      58:3,11,16 277:3       252:14 301:13       therapy-treated
198:8 199:3,12        290:1               terms                   332:20 364:8         255:11
200:1,16,18 201:4   tallying               18:15,20 20:23       testing               thereabouts
201:15,18 202:1,6    45:16                  22:14,15 41:2        70:11 72:8,16         231:9
202:18,20,24        tape                    43:6 46:9 56:17       140:13 141:21       thing
206:5 210:8 211:3    89:4,8 177:1,5         62:18 76:20 94:13     142:18,24 143:5,7    133:15 142:20
211:5 216:9           253:6,8,12 363:8      133:9 136:20          143:9,11 151:18       241:11 278:14
219:10 220:6          363:12,20             138:5,8 159:9         155:17 157:13,19      295:15 318:17
230:11 231:4,6,11   taught                  160:8 201:21          157:21 330:12         336:17
231:19 257:3         344:13                 235:21 252:8        tests                 things
260:21 262:9        teach                   278:9 280:21         85:11 86:3,6          12:22 38:11 42:19
288:6 302:4          344:10,12              331:6 345:2           150:24 162:3          49:18 89:10 119:8
305:21 306:16,22    technetium              349:20                197:12 206:8          124:3 133:9
307:1,8,12,23        183:17 189:5         Terry                   209:6,13 319:7,10     175:21 204:9
308:2,6,11 309:11   technical              6:8 191:19 192:1     Texas                   209:22,24 222:19
309:18 310:3         19:7                   192:15 194:5         1:16 3:4 8:10 58:4     271:20 278:7,18
311:9,12 313:11     technically             195:3 268:11,14       59:1,4 239:7          295:5 298:10
325:13 326:12,18     65:18                  268:20 269:3          364:22                305:4 310:14
340:6,16 341:8      telephone             test                  text                    314:10 318:6
350:10,13,22         39:4                  72:19 143:17          339:3                  323:24 324:19
351:8,11,16 352:9   tell                    157:23 162:6        textbooks               329:22 332:24
352:13,20,24         11:13 26:23 36:1       196:20 198:1         338:5,9,10             333:20 335:10,11
353:10,21 354:2       44:3 67:4 76:11       318:17 330:18       Thank                   335:12 340:8
354:10 355:2,6        118:8,11 119:10       353:11               11:2 21:17 54:7        344:17 347:21

                Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 137 of 366 PageID:
                                     75492
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                               Page 411

  348:3,23 349:14       333:18 335:14        326:9                  286:23 287:15        19:22 161:3 307:16
  349:21 351:4          336:1,13 337:5,15   thumb                   321:14,15,20          310:15
  357:15,16,22,22       337:21 338:18        13:20 36:5,11        titanium              totally
  358:2                 340:3,12,24         thwarting              292:1                 148:3 296:19
think                   341:20,20,22         122:12               title                 touch
 11:11 24:17 30:8       342:9 343:1         time                   27:2                  344:17 345:1
  35:21 37:9 44:22      345:20 346:4,8       8:7 11:12 16:19      titled                touched
  49:18 50:23 52:23     347:3 350:6,24        23:14,16,18 25:7     28:24 31:10 32:15     64:18
  64:1 66:22 67:17      352:17,19 356:8       37:3 39:12 40:20      77:18 249:14        touches
  74:14 77:5 80:17      356:19 358:21         45:9 55:22,24         270:17               323:12
  81:1 82:10 84:13      359:18                57:21 59:15 60:3    today                 toxicity
  85:19,24 86:16      thinking                60:8 75:5 101:23     8:6 9:16 10:7,17      180:4
  87:13,13 92:18       80:18 105:19           120:4 147:13,18       11:10 12:13,20,24   toxicologic
  94:1 104:7 108:12     267:12 362:1          148:6 161:17          13:20 14:21 15:2     311:20
  111:8 118:6         third                   169:19 192:5          15:7 16:13 17:13    toxicologist
  120:22 121:23        26:14,15 83:14         199:1 209:21,23       17:18 22:1 23:23     10:5 47:20 137:4
  122:1,23 123:18       125:21 208:7          215:19 228:22,24      24:21 28:4,22       toxicologists
  124:14 126:21         243:24 273:7          234:6 260:5 261:4     29:18 33:4,15,21     220:22
  127:16 128:8        thirty                  261:9 277:24          34:1,9 36:6 45:21   toxicology
  132:2,8 133:8        365:16                 280:5 290:19          50:18 51:16,20       59:22 178:24
  141:15 143:15       Thomas                  303:7 306:11          74:7 83:2 100:22      300:15 310:24
  144:10 148:5         47:16,19               310:17 311:6          120:18 124:4,6,12     328:4,5 334:24
  154:14 156:11       Thompson                312:5,18 323:22       156:7 181:5 206:3     335:2,5
  167:17 173:18        2:3 8:19,20 46:10      323:23 324:2          218:14 305:15       toxin
  178:10 193:3          46:11,16,18 47:9      327:8 329:22          312:12 344:3         299:13
  201:8,20 203:12       48:11 236:12          339:8,10 342:12       345:24 348:17       toxins
  203:14 206:19       Thoracic                342:17,23,23          352:7 354:7          299:12,15
  208:14 209:20        129:18                 347:18,19,23          361:24              trace
  213:22 214:4        thoroughly              348:5,8 351:3       Today's                170:11 177:8,13,21
  217:16 218:4,15      102:8                  359:3 364:8          16:11                track
  219:7 220:12        thought               timely                told                   296:17,24 362:5
  228:3 231:24         20:2 29:21 33:16      99:21                 38:2 39:20 42:9      tract
  239:3 247:4           33:22 167:13        times                   43:10 44:7,19        82:4,12 83:6,11
  251:19 256:10         227:3 264:14,15      206:18 282:20          47:2 79:7 80:8        86:12 87:10 88:2
  258:15 259:23         271:24 336:9          305:15 309:24         84:23 103:21          88:14,19 116:18
  260:8 266:10        thousands               329:17 332:14         118:9,19 167:12       119:4,13 181:16
  268:7 271:9          159:8                Tinsley                 214:4 216:4           181:18 183:1,8
  280:19 282:8        three                  3:12 9:12,12 363:3     278:10 351:10         185:7 186:24
  284:2 285:1 289:1    46:14,17 47:9        tissue                top                     188:6,8 191:3
  293:2 294:14          106:22 185:18        133:12 135:1,2,5      165:23 256:19          200:18 202:13
  298:8 299:8           221:6 245:21          135:11 170:11       topic                   206:11 207:17,24
  301:24 303:7          291:24 297:8          287:4 313:12         216:6 345:12,13        301:10,17 303:4
  304:6 305:11        threshold             tissues               topics                  304:15 305:9
  307:20 311:14        311:8,11 312:1,2,4    114:18 116:1,11,12    41:6                 training
  314:1 315:4           312:8 313:6 325:3     135:6,8 185:1       toss                   19:23 55:17 138:2
  316:12 320:24         355:11,12             198:13 199:14,15     109:15               transcribed
  326:7,15,22         thresholds              199:24 200:13       total                  314:12 318:24

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 138 of 366 PageID:
                                     75493
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                               Page 412

transcript             Trendelenburg          106:21 108:15         308:9               130:23
 69:14 221:6 364:7      188:21                 163:10 196:16       Uh-huh               undo
  365:17,18            trends                  285:24 301:1        320:12 344:1         312:23
transcription           354:15,16            turning               unable               unfair
 367:5                 trial                  305:13               241:18 255:22        92:19
transcripts             16:6,15 17:14 56:9   Twitter               unaware              unfortunately
 50:1 52:12,15,21        56:19                342:7,22             67:24 205:4,5        251:15
  66:4,7,20,22 67:2    tried                 two                   uncontrolled         Union
  67:21 68:8,12         54:12                 25:16,18 35:21       221:22               3:15 9:13
transformed            true                    37:12 41:3 77:10    Undated              United
 319:4                  90:19 121:5 154:7      89:10 96:5 113:13   5:12                 1:1 90:3,24 93:18
translates               172:5,9 190:12        145:5 148:11        undergraduate         100:12 219:14
 236:5                   216:14 262:23         149:5 150:17        59:17                 306:4
transmission             263:17 267:5          151:24 160:11       underlying           universe
 134:10                  275:24 301:20         201:21 221:5        99:12                231:1
transport                326:15,16 334:19      222:19 272:12       Underneath           University
 184:11 185:21         truth                   297:7 299:12        126:1,4              58:4 59:1,4 239:7
  186:11 188:6          364:5,6,6              327:13 343:5,15     underpowered         unknown
  202:11 301:8,15      try                     347:21 350:12       241:18 251:16,18     266:20
  303:7 304:13,19       11:15 14:12 34:2     two-thirds             251:20 252:16,22    unmeasured
transported              39:17 156:12         272:12 306:10        understand           266:13,17
 183:7 305:8             231:23              type                  11:13,14 15:4 18:5   unreasonable
transports             trying                 25:12 61:17 144:7     22:8 23:10 80:3,5   134:1
 202:21                 15:4 18:5 112:8        146:2 153:12,21      87:21 95:21,24      unrecognized
trash                    311:7 328:18          153:22 155:1         112:11 127:18       266:17
 349:22                tubal                   172:24 174:12        168:7 180:15        update
travel                  190:13,14,19,23        179:15,16 244:6      207:22 284:14       94:8 237:16
 200:18 303:2            191:3,17 193:1,20   types                  310:23 324:21       updated
traveling                194:7,19 196:12      76:2 144:10,19        329:19 339:17,20    220:9 258:5
 202:6                   196:24 197:18         145:8 146:5,17       344:4               updates
travels                  198:4                 153:24 154:1,12     understandable       58:20
 200:16,23 201:6       tube                    154:13 155:6        296:20               uploaded
  202:14                323:3 324:1,12         179:2 240:11        understanding        24:5
treat                  tubes                   241:3 280:2 328:6   36:11,13 38:10       upper
 60:11                  183:14 184:4 190:3     357:2                72:7 73:5,16 75:3   183:7 301:9,16
treated                  190:5 191:5 201:1   typical                76:1 78:4 100:3      304:14 305:9
 254:14 316:17           303:17 322:17,23     45:5                  102:23 138:1        urethra
  319:17 349:24          323:15              typically              147:19 148:2        202:2,7,10,15,22
treatment              tubing                 42:13 70:13 71:2      151:15 156:17       urinary
 212:14,15 314:17       146:13                 238:12               157:16 349:1        202:13
treatments             Tucker                                      understood           usage
 93:15                  2:13 3:12 9:13               U             11:20 53:20          268:16 269:5
tremolite              tumor                 U.K                   undertook             310:12
 77:13 144:11,21        166:16 313:3         308:9                 32:2                 USB
  145:3 146:6          tumors                U.S                   underwear            5:21
trend                   280:2,4,13           118:24 178:24         341:11,16            use
 110:23 114:4 255:9    turn                   305:18 306:21,24     underwent            17:3,8 23:4,11,12

                      Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 139 of 366 PageID:
                                   75494
                       Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                         Page 413

23:13,21 27:4       useful               vapors                3:22 8:3,5 9:15     34:2 39:16 329:14
38:3 53:7,22 82:1   171:1 325:16 349:3   360:23 361:2            89:3,7 176:24      336:24 349:2
82:12 83:3,10         349:22             variation               177:4 253:7,11    War
99:14,18 107:4      user                 136:22 192:24           363:7,11,18       145:15
131:9,13,20         231:14               varies                Videotaped          warned
132:10 133:19,24    users                56:5 332:2            1:13                213:23
134:15 140:2        131:14 170:12        varieties             view                washing
166:21 168:15         192:24 211:6       344:19                202:5 236:6 289:3   190:3
169:19 174:4        uses                 various                 292:3 295:22      Washington
181:13 182:22       28:11 280:14         18:11 41:1 52:15        331:2             3:19
184:14 187:13       usually                71:4 79:17 93:23    viewed              wasn't
189:8,9 190:14      169:14 180:11          107:13 143:15       91:17               144:3 156:10 251:7
192:22 196:11         281:2 295:4          144:9 175:3 188:2   viewing              258:17 260:2
199:11 200:11         328:20 329:20        215:24 245:7        342:19               287:8 290:24
201:17,18 202:19      350:18 352:1         280:15 286:23       visit                307:2
202:24 208:20       uterine                287:12 308:7        342:16,23           waste
211:4 214:7 216:9   188:15 198:12          344:19 361:8        vitae               345:6
220:6 221:24          199:15,24 200:12   vary                  5:6 21:7 57:18      Watch
230:22 231:19       uterus               153:22 231:15           58:20 70:24       342:9
232:10 235:3        200:20,24 302:15       308:8 309:22        vitamins            water
237:24 238:8,16       322:13             vast                  170:7               170:7,7 311:3
243:11 244:3,14     utilize              245:12                volition            waterfront
246:3,10 247:22     20:22 317:9          vegetables            334:14              43:6
248:9,23 249:16     UTMB                 229:10 357:11,19      volume              way
249:18 250:6        59:6,6                 360:1,3,5,9,11      345:5               18:15 37:4 81:2
252:3 254:5                              velocity              voluntary            82:6 93:12 136:20
260:21 261:10,11            V            303:14                219:9                141:8 164:17
261:13,14,17        vagina               Venter                vulvar               207:1 217:14
262:10,13,15        200:19 301:23        183:17 187:18         198:12 199:14,24     245:2 272:12
263:10,12,14          302:6,10 304:23    verbal                  200:12             294:21 302:6,10
270:18 272:3,15       322:6 334:12       336:20                                     302:11,14 316:18
272:24 273:18       vaginal              verbatim                      W            319:20 320:3
274:6 277:5         198:12 199:14,24     364:7                 Wagner               332:5
283:13 284:18         200:12             verify                129:20              ways
288:6 298:6         vague                92:24 175:21          wait                18:12 39:19 208:23
306:15,19 307:7     143:10 147:18        vermiculite           250:24 298:20        299:11 328:23
307:11,23 308:1       174:15             64:18 77:12,17        want                 347:22
308:11,16,17,21     valence              version               21:24 33:16,22      we'll
309:11,18 310:1,3   180:18,21 181:2,6    337:8                  39:7 44:6 74:8     10:16 26:10 30:13
310:14,14,21        valid                versions               88:17 113:12        32:18 85:22 87:3
311:9,11,14 312:2   173:10 175:4         44:1                   246:20 251:24       124:15 130:1,1
312:8 315:16,17       223:17 238:21      versus                 254:23 278:6        159:20 163:2
316:23 319:11         305:11             111:21 251:6           283:6 284:1         195:21 228:24
326:12 338:20,20    valuable               317:20 347:18        292:11 301:1,4,6    229:1 260:4
339:19 341:8        42:18                video                  301:12 309:10       343:13
350:10,13,22        value                8:9                    315:1,12           we're
351:16 359:5        28:24 358:4          videographer          wanted              11:10,19 28:17

                Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 140 of 366 PageID:
                                     75495
                        Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                           Page 414

 89:3,7 168:10       126:21               woman's              words                        X
 176:24 177:4        whatsoever           86:12 87:9 88:2,19   83:19 84:9,10,11
 195:16 199:9        299:2                 116:17 119:4,13      84:14 127:17                Y
 213:22 233:7        wheel                 169:18 200:17        133:10 208:23       yeah
 253:7,11 296:23     251:23 252:5          202:2 304:14,23      297:18 315:17       118:7 176:21
 363:11              width                 319:21 331:4         328:1                 183:20,22 197:14
we've                137:9                 334:20 338:14,21    work                   218:15 336:3
12:11 13:5 24:24     Wild                  340:17 341:9,16     37:1 45:5 48:8,14      343:9 359:21
 36:12 46:6 47:11    286:9                women                 49:16 51:10,12,21   year
 58:20 65:11 86:21   Wilde                60:11 118:24          56:3 57:10 60:6     221:5 233:20 261:4
 94:24 100:20        286:6                 159:10 160:16        63:14 64:16 76:5      261:13,14,16
 102:4,15 160:3      willing               161:3,12 166:21      76:5,15 104:13,21     262:10 272:16
 225:11 235:23       226:20                167:3 178:2,4,6      118:19 146:16         305:18 306:5,6,10
 238:23 254:2        withdraw              182:22 185:19,23     239:5 264:1           307:17,20 310:13
 259:14 322:3        62:16 73:12 131:11    188:14,21 189:17     331:12 344:10       years
 332:15 343:4         176:12 190:21        189:19,20 190:8      347:15              23:19 37:2 75:2
weak                  224:8 235:22         191:8 193:19,24     worked                 96:5 130:24
203:8 204:15 206:6    264:5                194:18 196:12,22    37:7,11 60:14          147:23 168:9,9
 233:2,18            withdrew              197:17 198:2        workers                212:16 250:12
webpage              294:16                202:13 207:7        145:21,24 331:16       255:12 261:4,5,5
41:23                witness               233:20 250:17,22    workgroups             261:10,10 262:10
website              9:17 10:11 13:8       255:10,11 260:21    345:11                 262:12,15,20
41:23 43:9 225:13     20:11 37:5 40:3      269:19,21 271:21    working                263:9,11,14
 225:21               47:14 48:7,15        273:4,8,13,16,21    55:23 103:3 221:3      267:21 279:18
websites              54:6 56:21 67:19     273:24 274:6,8,13    331:15                280:9,19 281:8
79:7 214:4 278:12     71:1 74:8 80:9       274:14,20 275:4     workplace-related      310:2,20 327:11
 278:16 342:3,7       113:5,18 150:4,11    275:10,19 276:3,6   328:8                  327:13 345:15
week                  164:16,23 165:3      283:12 288:6        works                  357:21,24 360:21
60:6,8,10 309:24      165:12 192:4,10      296:11 298:4,17     70:10                yes/no
weeks                 196:1 207:12         299:3 304:2,8       world                272:17
30:8 40:21            223:2 243:3,19       306:21,24 307:11    145:15 240:5         Yessaian
Weibull               257:20,23 258:2      307:11,23 308:2,5   worry                69:5,11
282:20                282:6 291:19         308:11 310:16       105:3
weigh                 295:8 296:15         311:9,12 326:12     worth                        Z
254:6                 315:4,13 316:1       326:17 327:21       100:7                Zellers
weighing              332:22 343:17        331:14,15 332:1     wouldn't             2:13 4:6 8:24,24
251:5 277:15          359:19 364:11,11     351:7,9,11          36:1 42:20 85:18      9:22 11:2,3 12:1
weight                365:1               women's               141:8 167:2 224:9    14:18 15:20 17:22
91:19 229:23 230:3   witnesses            82:16 207:3,17        293:15 340:22        19:1 20:7,13 21:5
 230:6 267:15,24     52:15,16,21 67:23    wonder               writing               21:12,18 25:9
welcome               70:14               118:3                43:15 45:15 65:17     26:8,21 29:16
14:17                woman                wood                  65:19 347:23         30:18 31:7 32:10
went                 185:7 186:18 187:2   229:15,18            written               32:21 36:9 37:19
35:4 168:23 275:1     187:5 231:15,16     Woodruff             40:14 281:23          38:16 53:13 54:8
 275:11 319:15        299:4 308:18,23     32:17                 336:18               55:21 59:8 61:1
 349:22               309:3,10 310:3      wording              wrote                 62:15 63:11 64:5
Werb                  330:8,15 331:5      93:1                 54:14                 66:2 67:11 68:5


                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 141 of 366 PageID:
                                   75496
                      Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                           Page 415

68:18 70:21 71:19   195:1,10,21 196:3   1                     5:5                   1:5
72:1 73:12,14,23    197:6,23 198:18     5:4 10:16,18 12:11    112                   163
74:5,13,23 75:19    199:21 200:8          12:19 89:4 114:13   3:3                   6:7
78:8,16 79:3        201:13 202:12         130:13 148:16       1170                  16th
80:21 81:17,23      203:15,23 204:22      178:15 223:9        2:10                  39:5
82:21 84:8,22       205:14,16 207:8       226:3 229:18        12                    17
85:20 87:1,6,20     207:15 209:14         260:17 332:5        5:19 32:18,19,22      6:6 159:20,21
88:15 89:1,9 92:1   210:2,17 212:4        357:7 358:16          60:9 250:12 297:9     160:3 283:3
92:4,11,20 93:3     215:3 216:15        1,000                 12/18                 174
94:17 95:5 97:11    218:12 219:19       227:7                 5:15                  113:9
98:6,23 99:11       221:4 222:12,24     1.19                  12:32                 177
106:20 107:18       223:11,20 224:3     276:21                177:1,2               113:9
108:14 110:1        225:2,17 226:15     1.2                   120                   18
111:4 112:4,24      228:7,17 229:9,16   332:10                226:2                 6:7 163:2,3
113:7,11,20 114:9   232:7,23 233:6      1.3                   1215                  180
117:7 119:9         234:3,4,13,19       232:14,24 235:23      163:20                45:18 347:14
120:16 121:1,15     235:10 236:10,13      236:14 333:17       1216                  1800
121:17 123:15       237:6,13 238:6        334:5               163:11                3:4
124:19 127:22       239:10 240:18       1.63                  124                   18th
128:11,20 129:3     241:21,23 242:8     276:23                6:2                   30:14
130:7 132:4         242:13 243:5,16     1.74                  13                    19
133:17 136:10       243:21,22 244:11    145:19                5:21 36:4,7,12        1:11 5:2 6:8 8:2
138:3 140:17,19     246:15 247:11,17    1/1/14                130                     94:15 192:11,14
141:2 142:3         248:4 249:5         5:16                  6:4                   19103
143:20 144:5        250:14 251:3        1:38                  14                    2:21
145:1 147:8 148:9   252:11 253:4,13     177:3,5               5:22 98:20,21,24      192
149:2 150:12        254:12 258:3,20     10                      99:7 130:24         6:8
151:7,22 152:8      259:12 261:2        5:4,16 31:4,5 33:18   14,000                195
153:7,18 154:10     262:1 263:15          218:20 219:5        306:9                 6:10
155:15,21 157:4     264:3,13 267:6,22     229:22 297:9        148                   1952
157:12 158:16       269:1 270:2,9       10%                   7:3,5                 5:13 28:24
159:1,14 160:1      271:3,7 276:1,12    56:7                  14th                  1970s
161:8,11 162:18     276:19 277:12       10:37                 37:18                 167:14
163:5 164:3,11,22   279:2 282:11,21     89:4,5                15                    1974
165:7,11,14,16      283:23 284:5        10:55                 5:5 6:2 109:8,11      5:19 32:15
167:20 168:1,12     289:8 343:6         89:6,8                  111:5 124:16,17     1979
168:19 170:17       359:14,18 363:16    100                     146:23 246:1,6      6:4 129:12
171:5,22 172:10   zero                  3:13                    259:5               1982
172:20 173:11     312:2                 100%                  150                   145:13
174:11,19 175:12 Zurbenko               306:21 307:22         45:18 347:14          1984
176:4,19,23 177:6 282:19                100C                  159                   77:14
178:5,8 179:7                           291:20                6:6                   1990s
180:1 181:11               0            11                    15th                  37:10
182:7 184:23      07962                 5:18 17:24 18:18      26:1 37:18            1991
185:16 186:16     3:9                     24:23 32:7,8        16                    5:18 31:13,21
188:13 190:6                              33:10 297:9         6:4 18:19 130:2,3     1992
192:7,13 193:15            1
                                        11/16/18              16-2738               255:7

                Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 142 of 366 PageID:
                                     75497
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                           Page 416

19th                  126:21 203:17         216                 226:16              337
8:7 136:20              204:20 257:12       3:14 163:10         2B                  196:16,20 197:5,9
1st                     258:6,11            22                  227:16,18 228:10      260:17
30:21,24 218:21       2011                  6:13 242:24 243:1    229:2,11,17,19     339
                      6:6,7 159:16 163:2      364:23             235:8,12 249:20    196:17,20
        2             2013                  22,000               292:18,23 355:16   34%
2                     6:8 191:19 192:15     307:22               356:23 359:24      273:15,19 275:1
4:2 5:5 15:17,18,21     268:11,14,20        22,000-something    2B-classified       34.4
  16:4,16 17:10,15      269:3               307:21              357:10              274:15 275:1
  22:10 43:14 54:22   2014                  225                                     343
  65:12 89:8 108:15   30:21 31:1 33:19      6:11                         3          4:8
  109:1 177:1           218:21 220:4        23                  3                   35
  221:17 272:6,21       222:7 271:21        6:14 247:3,8        5:6 21:3,6 57:19    11:8 55:5 56:13
  346:14                272:13,16 273:12    234                   58:2,21 65:1        164:12
2.53                    273:17 274:1,12     2:4                   70:24 177:5       350
145:23                  274:13 277:3,23     24                    196:21 223:1,2,13 3:8
2.96                  2016                  6:16 69:6 184:15      227:6 253:8       351
145:17                6:10,16 195:12          185:1 255:12        290:23            278:3
20                      196:5 255:8,14        271:1,4,12        3,000               36
6:10 112:16 168:9       259:15,16 260:13    243                 233:22 305:17       5:21
  195:22,23 196:5       271:5,13            6:13                  306:18            36.5
  259:16 260:7        2017                  247                 3.3.1               274:2 275:5,15
  261:5,5,10 262:15   6:13 242:15           6:14                112:14              36103-4160
  262:20 263:11,14    2018                  25                  3:06                2:5
  279:17 280:8        30:15 36:19 37:13     6:17 108:15 289:8   253:8,9             364
  281:8 332:6,13        38:18 40:6 57:23      289:9,23          3:19                4:10
  367:16                59:14 64:8 65:22    26                  253:10,12           365
20.0                    66:1 89:12 100:24   5:9,10,12           30                  2:9
332:7,9,10              102:3 142:15        267-0058            5:15 11:8 55:5      366
2000                    227:5 257:9         3:9                   56:13 71:5 109:8  4:11
2:20 145:22           2019                  269-2343              109:11,19 111:5   367
20004-1454            1:11 5:2,9,10 8:2,7   2:5                   246:1 259:6 308:8 4:12
3:19                    26:10 94:9 364:23   27                    364:11 365:16     368
2001                  202                   67:20 68:9 69:4,8   30-day              4:13
127:4                 3:19                  271                 44:24               3rd
2004                  21                    6:16                30%                 26:10
247:4                 5:6,7 6:11 113:9      2738                84:18 211:4 231:3
2006                    225:14,15,20        8:12                  232:13 233:17              4
203:12,22               293:2               28                    306:12,13,15      4
2007                  21,000                7:6 68:10             307:6 308:13      5:7 21:10,13,20,23
6:14 127:4 250:12     306:7                 284                   309:13 310:5        24:24 34:15,24
  287:5               210                   4:7                 31                    66:21 68:10 69:4
2008                  3:5 130:22            289                 5:16                  69:8 71:6 126:8
146:8 246:23          213                   6:17                32                    178:16 220:16
2009                  2:16                  29                  5:18,19               221:13 224:11,11
26:1                  215                   5:13 71:5           334                   227:1,9 253:12
2010                  2:21                  2A                  2:5                   272:21 282:22


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 143 of 366 PageID:
                                     75498
                        Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                          Page 417

  283:1 285:24      2:14                   99:17 305:13
  363:8             554-5500             8/1/00
40                  3:5                  5:22
130:24 168:9                             819
  279:18 280:9              6            193:16
  281:8             6                    82
41                  5:10 26:6,10 27:13   226:16
106:21                27:23 77:8,9       820
412                   210:12 243:24      193:17
289:21 291:13       6.2                  85
42nd                291:7                348:12
2:15                60%                  87
430-3400            308:8                276:22,23
2:16                600                  877.370.DEPS
44                  3:13                 1:23
280:19              63102
450                 3:14                         9
45:11               6580                9
463-2400            1:15                4:6 5:15 30:15,16
3:19                696-3675              89:16
                    3:14                9:02
         5                              1:16 8:2,8
5                            7          90%
5:9 25:24 26:2      7                   348:13
  50:19 99:6 148:11 5:12 26:19,23 27:7 90071
  148:16 227:12       81:8,16,19 89:17  2:15
  297:3,4 363:12,20   94:24 100:21      917.591.5672
5%                    101:14 102:4,15   1:23
56:1                  102:24 103:17     93
5:37                  104:3,10 106:1,21 6:18 291:17,20
363:8,9               114:13,16 115:23 95%
5:44                  183:2 210:13      261:23
363:10,12,19          256:19 301:1      973
5:45                7/9/2020            3:9
363:22              364:22              975
50                  70130               3:18
332:6               2:10                98
50%                 70s                 5:22
109:11,14 118:24    168:11              988-2706
  327:4             78205               2:21
50/50               3:4                 99
57:14               799-2845            117:4 127:2
504                 2:11
2:11
                             8
51.5
275:12              8
515                 4:3 5:13 29:14


                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 144 of 366 PageID:
                                   75499




                      Exhibit 102
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 145 of 366 PageID:
                                   75500

                             Judith Zelikoff, Ph.D.

                                                                        Page 1
                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NEW JERSEY
                                  -    -   -

              IN RE: JOHNSON &             :
              JOHNSON TALCUM POWDER        :
              PRODUCTS MARKETING,          :
              SALES PRACTICES, AND         :   NO. 16-2738
              PRODUCTS LIABILITY           :   (FLW) (LHG)
              LITIGATION                   :
                                           :
              THIS DOCUMENT RELATES        :
              TO ALL CASES                 :

                                   -   -   -

                            January 21, 2019

                                   -   -   -

                          Videotaped deposition of
             JUDITH ZELIKOFF Ph.D., taken pursuant to
             notice, was held at the Sheraton Mahwah
             Hotel, 1 International Boulevard, Mahwah,
             New Jersey, beginning at 9:11 a.m., on
             the above date, before Michelle L. Gray,
             a Registered Professional Reporter,
             Certified Shorthand Reporter, Certified
             Realtime Reporter, and Notary Public.

                                  -    -   -

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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 146 of 366 PageID:
                                   75501

                                                   Judith Zelikoff, Ph.D.
                                                        Page 2                                                  Page 4
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       13    816 Congress Avenue, Suite 1510                     13
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       14    (512) 391 0183                                      15   Zelikoff-1 Compilation of    16
             kferguson@gordonrees com                                         Invoices of
       15                                                        16           Dr Zelikoff
              - and -                                            17   Zelikoff-2 Rule 26 Expert    35
       16
                                                                              Report of Judith
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       21                                                             Zelikoff-4 Rule 26 Report     40
       22                                                        22           Of Michael Crowley
       23                                                        23   Zelikoff-5 Listing of Chemicals 43
       24                                                        24


                                                                                             2 (Pages 2 to 5)
                        Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 147 of 366 PageID:
                                   75502

                                                    Judith Zelikoff, Ph.D.
                                                         Page 6                                                 Page 8
        1             - - -                                        1              - - -
        2        E X H I B I T S (Cont'd )                         2         E X H I B I T S (Cont'd )
        3             - - -                                        3              - - -
        4                                                          4
        5   NO        DESCRIPTION          PAGE                    5   NO        DESCRIPTION          PAGE
        6   Zelikoff-6 Notice of Deposition 50                     6   Zelikoff-23 Ovarian, Fallopian 393
                    Of Dr Zelikoff
        7                                                                      Tube, and Primary
            Zelikoff-7 Thumb Drive            53                   7           Peritoneal
        8                                                                      Cancer Prevention
            Zelikoff-8 Molecular Basis   55                        8           NCI
        9           Supporting the                                 9   Zelikoff-24 (Skipped)
                    Association of                                10   Zelikoff-25 Comparison of      125
       10           Talcum Powder Use with                                     Quotes with
                    Increased Risk of                             11           Cancer Research
       11           Ovarian Cancer                                             How Cancer Starts
                    (Saed)                                        12
       12                                                              Zelikoff-26 Comparison of         125
            Zelikoff-9 Data Screening         57                  13           Quotes with
       13           Assessment
                    12/2018
                                                                               Safety Assessment of
       14                                                         14           Talc as Used in
            Zelikoff-10 Systematic        60                                   Cosmetics
       15           Review and Meta-Analysis                      15
                    Of the Association Between                         Zelikoff-27 Comparison of         125
       16           Perineal Use of Talc                          16           Quotes with
                    And Risk of Ovarian                                        CSEM
       17           Caner                                         17
                    (Taher)                                            Zelikoff-28 Comparison of         125
       18                                                         18           Quotes with
       19   Zelikoff-11 Exhibit C       62                                     NIH Public Access
                    Listing of Bates                              19           Chromium Toxicity
       20           Numbered Documents                            20   Zelikoff-29 Comparison of         125
       21   Zelikoff-12 Academic Integrity 78
                    For Students at NYU                                        Quotes with
       22                                                         21           IARC Monograph
            Zelikoff-13 Comparison of     83                      22
       23           Quotes with Shawn Levy                        23
       24                                                         24


                                                         Page 7                                                 Page 9
        1             - - -                                        1             - - -
        2        E X H I B I T S (Cont'd )                         2        E X H I B I T S (Cont'd )
        3             - - -                                        3             - - -
        4                                                          4
        5   NO        DESCRIPTION          PAGE                    5   NO        DESCRIPTION             PAGE
        6   Zelikoff-14 Comparison of     88                       6   Zelikoff-30 Comparison of         125
                    Quotes with Smith-Bindman
        7                                                                      Quotes with
            Zelikoff-15 Comparison of        92                    7           NIH Public Access
        8           Quotes with Genetics                                       Environmental
                    Home Reference                                 8           Toxicants
        9                                                          9   Zelikoff-31 Comparison of         125
            Zelikoff-16 Comparison of        102                               Quotes with
       10           Quotes with                                   10           Peters
                    Simone Reuter                                 11
       11                                                              Zelikoff-32 Comparison of         125
       12   Zelikoff-17 Comparison of        106                  12           Quotes with
                    Quotes with                                                Trabert
       13           Environmental                                 13
                    Chemistry com
       14                                                              Zelikoff-33 Response Letter       430
            Zelikoff-18 Comparison of        115                  14           To Citizen's Petition
       15           Quotes with                                                4/1/14
                    Rakoff-Nahoum                                 15
       16                                                              Zelikoff-34 Perineal Talc Use 398
            Zelikoff-19 Comparison of        119                  16           And Ovarian
       17           Quotes with                                                Cancer
                    Health Effects                                17           (Penninkilampi)
       18                                                         18   Zelikoff-35 Consumer Talcums 405
            Zelikoff-20 Why Cancer           118                               And Powders
       19           Inflammation?                                 19           (Rohl)
                    (Rakoff-Nahoum)
       20
                                                                  20   Zelikoff-36 Arsenic, Metals   457
            Zelikoff-21 Comparison of        121                               Fibres
       21           Quotes with                                   21           Excerpt
                    Kasprzak                                                   (IARC Monograph)
       22                                                         22
            Zelikoff-22 Curriculum Vitae      175                      Zelikoff-37 Ingredients         454
       23           Of Dr Zelikoff                                23           Talc
       24                                                         24


                                                                                                 3 (Pages 6 to 9)
                        Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 148 of 366 PageID:
                                   75503

                                                   Judith Zelikoff, Ph.D.
                                                       Page 10                                              Page 12
        1             - - -                                       1           - - -
        2        E X H I B I T S (Cont'd.)                        2        DEPOSITION SUPPORT INDEX
        3             - - -
        4                                                         3           - - -
        5   NO.       DESCRIPTION            PAGE                 4
        6   Zelikoff-38 Talcum Powder        469                  5   Direction to Witness Not to Answer
                    Chronic Pelvic                                6   PAGE LINE
        7           Inflammation                                      None.
                    (Merritt)
        8                                                         7
            Zelikoff-39 Markers of       471                      8   Request for Production of Documents
        9           Inflammation                                  9   PAGE LINE
                    And Risk                                          None.
       10           (Wu)                                         10
       11   Zelikoff-40 Binder Labeled     480
                    Saad 2010 -                                  11   Stipulations
       12           Zambelli 2013                                12   PAGE LINE
       13   Zelikoff-41 Binder Labeled     480                        None.
                    Production Documents                         13
       14
            Zelikoff-42 Binder Labeled       480
                                                                      Questions Marked
       15           Depositions                                  14
                    ACGIH 2010 -                                      PAGE LINE
       16           Frank & Jorge 2011                           15   None.
       17   Zelikoff-43 Binder Labeled       480                 16
                    IARC 1977 -                                  17
       18           IARC 2006
       19   Zelikoff-44 Binder Labeled       480                 18
                    Gamble 1979 -                                19
       20           IARC 1976                                    20
       21   Zelikoff-45 Binder Labeled       480                 21
                    Ingersoll 2011 -                             22
       22           Marconi 1990
       23                                                        23
       24                                                        24

                                                       Page 11                                              Page 13
        1             - - -                                       1            THE VIDEOGRAPHER: We are on
        2        E X H I B I T S (Cont'd.)
        3             - - -                                       2        the record. My name is Henry
        4                                                         3        Marte. I am a videographer with
        5   NO.       DESCRIPTION           PAGE                  4        Golkow Litigation Services.
        6   Zelikoff-46 Binder Labeled      480
                    Mattenklott 2007 -                            5            Today is January 21st, 2019,
        7           Rossi 2009                                    6        and the time is 9:11 a m.
        8   Zelikoff-47 Binder Labeled      480
                    IARC 2009 -                                   7            This video deposition is
        9           IARC, 2012                                    8        being held in Mahwah, New Jersey,
       10   Zelikoff-48 Alterations in    481                     9        in the matter of Talcum Powder
                    Gene Expression
       11           In Human Mesothelial                         10        Litigation.
                    Cells                                        11            The deponent today is Dr.
       12           (Shukla)
       13   Zelikoff-49 Experts of Transcript 549                12        Judith Zelikoff.
                    Of Robert Glenn                              13            All appearances will be
       14           10/18/18
       15   Zelikoff-50 Presence of       562
                                                                 14        noted on the stenographic record.
                    Talc in Pelvic                               15        Will the court reporter please
       16           Lymph Nodes of a Woman                       16        administer the oath to the
                    (Cramer)
       17                                                        17        witness.
            Zelikoff-51 Does Long-Term         567               18                - - -
       18           Talc Exposure
                    Have a Carcinogenic
                                                                 19            ... JUDITH ZELIKOFF, Ph.D.,
       19           Effect                                       20        having been first duly sworn, was
                    (Keskin)                                     21        examined and testified as follows:
       20
       21                                                        22                - - -
       22                                                        23              EXAMINATION
       23
       24
                                                                 24                - - -


                                                                                 4 (Pages 10 to 13)
                     Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 149 of 366 PageID:
                                   75504

                                    Judith Zelikoff, Ph.D.
                                           Page 14                                          Page 16
        1    BY MR. HEGARTY:                             1   plaintiffs' counsel for your services in
        2         Q. Good morning, Dr. Zelikoff.         2   this litigation?
        3         A. Good morning.                       3         A. $350 per hour.
        4         Q. My name is Mark Hegarty. I          4         Q. Is there any difference in
        5    represent the J&J defendants in this        5   your rate depending on whether it's
        6    action. Can you please state your full      6   literature review, sitting for a
        7    name for the record, please?                7   deposition, trial testimony?
        8         A. Judith Terri Zelikoff.              8         A. Sitting for a deposition or
        9         Q. Dr. Zelikoff, who is your           9   trial testimony is $450.
       10    current employer?                          10         Q. Did anyone outside of
       11         A. New York University School         11   plaintiffs' attorneys assist you in any
       12    of Medicine, also known as NYU Langone     12   way with your expert report in this case?
       13    Health.                                    13         A. No one with my expert
       14         Q. What is your title at New          14   report.
       15    York University School of Medicine?        15         Q. We were provided today a
       16         A. Professor with tenure.             16   copy of several invoices that you have
       17         Q. How long have you held that        17   prepared for your work in this case. I'm
       18    position?                                  18   going to mark as Exhibit Number 1 a copy
       19         A. Since 1982.                        19   of those invoices.
       20         Q. Do you have any separate           20             (Document marked for
       21    personal consulting business for           21         identification as Exhibit
       22    litigation purposes?                       22         Zelikoff-1.)
       23         A. I do not.                          23   BY MR. HEGARTY:
       24         Q. Where do the fees go that          24         Q. Dr. Zelikoff, would you look

                                           Page 15                                          Page 17
        1    you earn as an expert witness in this       1   at Exhibit Number 1 and tell me whether
        2    case?                                       2   those are all the invoices that you have
        3        A. They go to household                 3   generated and provided to plaintiffs'
        4    expenses as well as charity.                4   counsel in this case.
        5        Q. But they go to you, correct?         5        A. It appears to be.
        6        A. They go to me.                       6        Q. Thank you. The last work
        7        Q. Other than your work at New          7   noted is December 24, 2018.
        8    York University and the fees that you're    8           Have you spent any
        9    earning as part of this litigation, do      9   additional time on this case for which
       10    you have any other sources of income?      10   you intend to bill plaintiffs' counsel --
       11        A. Just income that I have from        11        A. Yes, I have.
       12    advisory boards or -- when you -- when     12        Q. -- that's not reflected in
       13    you sit on panels, they also pay you.      13   the invoices?
       14    But other than that, no.                   14        A. Yes, I have.
       15        Q. Tell me an example of an            15        Q. How much additional time?
       16    advisory board for which you receive       16        A. Approximately 25 to 30 hours
       17    income.                                    17   by the end of this deposition. Not
       18        A. It's on a very sporadic             18   including the deposition.
       19    basis. And it depends on what it is.       19        Q. With regard to these
       20    But the NIEHS, National Institute of       20   invoices, have they all been paid?
       21    Environmental Health Sciences. And it's    21        A. Yes, they have.
       22    an NIH institute. And I serve as a -- I    22        Q. Were you paid a retainer for
       23    review grants for them.                    23   your work on this case?
       24        Q. What are you charging               24        A. I don't recall.

                                                                      5 (Pages 14 to 17)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 150 of 366 PageID:
                                   75505

                                    Judith Zelikoff, Ph.D.
                                            Page 18                                          Page 20
        1         Q. Dr. Zelikoff, as you know            1   representing plaintiffs?
        2    we're here to take your deposition in the    2        A. No, sir.
        3    case of In Re Johnson & Johnson Talc         3         Q. Did you agree to serve as an
        4    Litigation, which is an MDL setting. Are     4   expert witness at the time of Ms. Emmel's
        5    you aware you've been designated as an       5   first contact with you?
        6    expert in that case?                         6         A. No, sir. I told her that I
        7         A. I am aware.                          7   would have to do some literature
        8         Q. When were you first                  8   searching myself and come up with a
        9    contacted about serving as an expert in      9   conclusion as to whether or not I felt
       10    this case?                                  10   comfortable based on the science in
       11         A. Early 2017. I was                   11   serving in that capacity.
       12    requested -- I was requested if I had       12         Q. At one point -- at what
       13    interest in it.                             13   point between -- at what point did you
       14         Q. The first invoice that you          14   come to or did -- strike that.
       15    provided has a date of April 5, 2017.       15             At what point did you agree
       16    When in relation to the first invoice       16   to serve as an expert witness in this
       17    entry was that initial contact?             17   litigation in relation to that first
       18         A. To the best of my knowledge,        18   call?
       19    it was January or February.                 19         A. Probably about a month
       20         Q. Of 2017?                            20   later.
       21         A. Of 2017, right.                     21         Q. What did Ms. Emmel tell you
       22         Q. Who contacted you?                  22   at that first call about the litigation?
       23         A. Jennifer Emmel.                     23             MS. O'DELL: We just
       24         Q. Did you know her before she         24         instruct -- I mean conversations,

                                            Page 19                                          Page 21
        1    contacted you?                               1        in terms of -- let me just strike
        2          A. Not at all.                         2        that and say don't discuss
        3          Q. How was the contact made, by        3        anything that you communicated to
        4    telephone?                                   4        us or we communicated to you after
        5          A. By telephone.                       5        you decided to become an expert in
        6          Q. Apart from anything that            6        the case.
        7    attorneys for plaintiffs may have told       7   BY MR. HEGARTY:
        8    you, do you know how she came to contact     8        Q. Correct. I'm talking about,
        9    you?                                         9   right now I'm talking about that initial
       10          A. I'm not aware as to how she        10   phone call where you said you had not --
       11    came to contact me.                         11   where you did not agree at that point in
       12          Q. Did you have any prior             12   time to serve as an expert witness.
       13    litigation work with her?                   13   That's the only call I'm talking about.
       14          A. Not with Ms. Emmel, no.            14            What did Ms. Emmel tell you
       15          Q. How do you spell her name?         15   about the litigation or about what they
       16          A. How do I --                        16   wanted you to do at that first call?
       17          Q. Yes.                               17        A. Well, I don't remember the
       18          A. -- spell her name?                 18   details as it was about over a year ago.
       19          Q. Yes.                               19   But to the best of my knowledge and my
       20          A. To the best of my knowledge,       20   recollection, it was just that they
       21    it's E-M-M-E-L.                             21   represented the plaintiffs in a case of
       22          Q. Have you had any prior             22   ovarian cancer and its relationship to
       23    litigation work with any of the lawyers     23   talcum powder products, and was I
       24    with whom you have met that are             24   familiar with it, did I know anything

                                                                       6 (Pages 18 to 21)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 151 of 366 PageID:
                                   75506

                                    Judith Zelikoff, Ph.D.
                                            Page 22                                          Page 24
        1    about it, and did I have -- did I have       1   the time that you agreed to serve as an
        2    interest in being associated with, and I     2   expert witness in the case?
        3    responded to her that I follow the           3         A. No, not -- not to my
        4    science, that's all I do is I follow the     4   recollection.
        5    science.                                     5         Q. Do you recall anything else
        6             And if the science leads me         6   that you discussed with Ms. Emmel at that
        7    in a direction that I would have interest    7   first call besides what we talked about
        8    or that I felt comfortable in doing this,    8   already?
        9    then I would let her know.                   9         A. No, sir.
       10         Q. What was your response when         10         Q. Did Ms. Emmel at that first
       11    she asked you if you were familiar with     11   call tell you anything about plaintiffs'
       12    the science of talc and ovarian cancer?     12   theory of causation or theory of
       13         A. I was familiar with it at           13   mechanism of action or biologic
       14    that time in a superficial manner. I        14   plausibility?
       15    work in a very high-powered department of   15         A. No, sir, not at all.
       16    environmental medicine. And we discuss      16         Q. Did she send you any
       17    current events over lunch.                  17   documents before you agreed to serve as
       18         Q. When you say in a                   18   an expert witness?
       19    superficial manner, what do you mean?       19         A. Not to my knowledge. I
       20         A. Certainly not to the depth          20   think the -- I'm sure the literature
       21    that I'm aware of the issue currently.      21   reviews that I did at that time were
       22         Q. Is it correct that you had          22   solely my own.
       23    not formed any opinions as to any link      23         Q. Had you heard of lawsuits
       24    between talc and ovarian cancer as of the   24   involving talc and ovarian cancer before

                                            Page 23                                          Page 25
        1    time of that first call with Ms. Emmel?      1   being contacted by Ms. Emmel?
        2          A. I had -- I had no opinion at        2        A. I actually had not.
        3    that time.                                   3        Q. What then were your sources
        4          Q. Did you have any discussions        4   of knowledge about talc and ovarian
        5    with Ms. Emmel or any other lawyer           5   cancer as of the time of the first call?
        6    representing plaintiffs between that         6        A. The media, whatever I might
        7    initial phone call and when you agreed to    7   have read in the paper and any
        8    serve as an expert witness?                  8   discussions that might have been brought
        9          A. To my -- to the best of my          9   up by my colleagues.
       10    knowledge, I had not spoken to              10        Q. Do you recall any colleague
       11    Ms. O'Dell. So to the best of my            11   who brought the -- anything up about talc
       12    knowledge it was just Ms. Emmel.            12   and ovarian cancer?
       13          Q. Again, focusing on that            13        A. I do not recall a specific
       14    first phone call -- well, strike that.      14   colleague. Lunchroom chatter.
       15             Had you had any further            15        Q. Did you form any opinions
       16    discussion with Ms. Emmel between the       16   from the material you did read in the
       17    time of that first call and the time you    17   media or from discussion with your
       18    agreed to serve as an expert witness?       18   colleagues?
       19          A. I'm sorry, between the time        19        A. I had no opinion.
       20    of the first call and the time I agreed,    20        Q. And you were ultimately
       21    could you repeat the question please?       21   retained and asked to give expert
       22          Q. Sure. Did you have any             22   opinions in this case, correct?
       23    additional discussions with Ms. Emmel       23        A. I was ultimately retained,
       24    between the time of the first call and      24   yes, correct.

                                                                       7 (Pages 22 to 25)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 152 of 366 PageID:
                                   75507

                                    Judith Zelikoff, Ph.D.
                                            Page 26                                          Page 28
        1         Q. The lawyers for the                  1   testify today?
        2    plaintiffs in this case have paid you to     2        A. It would be in my invoice,
        3    review materials and offer opinions,         3   but if I had to approximate that without
        4    correct?                                     4   the knowledge of having that in front of
        5             MS. O'DELL: Objection to            5   me, I would say 30 to 50 hours.
        6         the form.                               6        Q. What attorneys did you meet
        7             THE WITNESS: Do I answer            7   with to prepare for your deposition here
        8         the question?                           8   today?
        9    BY MR. HEGARTY:                              9        A. I met with Ms. O'Dell and
       10         Q. Yes.                                10   Ms. Emmel.
       11             MS. O'DELL: Yes.                   11        Q. Anyone else?
       12             THE WITNESS: They have             12        A. In a face-to-face.
       13         remunerated me for my time and         13        Q. Face-to-face. There were
       14         effort in reading hundreds of          14   phone calls as well?
       15         articles.                              15        A. There were -- one of -- one
       16    BY MR. HEGARTY:                             16   of the phone calls, it may have been two.
       17         Q. The opinions that you've            17   I also -- Chris, and I'm not familiar
       18    formulated were ultimately set out in       18   with your last name, sorry.
       19    your November 16, 2018, MDL report,         19             Chris from the --
       20    correct?                                    20             MS. O'DELL: Tisi.
       21         A. That's correct.                     21             THE WITNESS: Tisi? Chris
       22         Q. The hours you spent in              22        Tisi and Alistair --
       23    preparing that report are reflected in      23             MR. FINDEIS: Findeis.
       24    the invoices we marked as Exhibit           24             MS. O'DELL: Findeis.

                                            Page 27                                          Page 29
        1    Number 1, correct?                           1            THE WITNESS: Findeis -- was
        2        A. I don't recall what exhibit           2        on the phone, and there may have
        3    number it is, but it is in one of the        3        been one or two others, but I
        4    invoices.                                    4        don't recall.
        5        Q. A description that you have           5   BY MR. HEGARTY:
        6    in your invoices includes report             6        Q. Have you spoken with any of
        7    preparation. Is that a description which     7   your colleagues about your work in this
        8    describes your -- the time you spent         8   litigation?
        9    preparing your report?                       9        A. What -- can you explain what
       10        A. Yes, it is.                          10   you mean by colleagues?
       11        Q. Every entry under report             11        Q. Well, you mentioned
       12    preparation would be the time that you      12   colleagues in discussing talc and ovarian
       13    spent preparing your report?                13   cancer. So those colleagues.
       14        A. Yes, that's true. That               14        A. If -- do you mean other
       15    could include reading material, searching   15   faculty?
       16    for material or writing.                    16        Q. Correct.
       17        Q. The invoices we marked as an         17        A. And the question again,
       18    exhibit also reflect the time you spent     18   please?
       19    with lawyers for plaintiffs; is that        19        Q. Sure. Have you spoken with
       20    correct?                                    20   other faculty at New York University
       21        A. It does.                             21   regarding your work on this litigation?
       22        Q. With regard to your                  22        A. No, I have not.
       23    deposition here today, how much time did    23        Q. Have you told any faculty at
       24    you spend preparing to come here and        24   New York University of your opinions in

                                                                       8 (Pages 26 to 29)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 153 of 366 PageID:
                                   75508

                                    Judith Zelikoff, Ph.D.
                                            Page 30                                          Page 32
        1    this case?                                   1        A. Yes.
        2         A. I have not.                          2        Q. Does that continue to be the
        3         Q. Have you told anyone at NYU          3   extent of any discussion you had with any
        4    School of Medicine of your opinions?         4   students at New York University about
        5         A. I have not. I have                   5   talc and ovarian cancer?
        6    discussed, not my opinion, but in my         6        A. Well, right now we're on
        7    class, my toxicology course, to graduate     7   break. I -- I probably will -- I will
        8    students at NYU.                             8   continue after the deposition to also
        9             I have, in my course on             9   talk -- talk with them and list it as
       10    speaking about reproductive toxicology      10   a -- as a risk factor for ovarian cancer.
       11    and developmental toxicology, in            11        Q. What about -- strike that.
       12    discussing risk factors, two graduate       12             Did you have discussions,
       13    students I have discussed -- I've           13   that same discussion with toxicology
       14    included talc as a potential risk factor.   14   students between -- I should say before
       15         Q. When did you start including        15   you were contacted by Ms. Emmel and
       16    talc as a potential risk factor in that     16   today, have you had -- continued to have
       17    course?                                     17   that same discussion with your toxicology
       18         A. Prior -- if you're asking me        18   students?
       19    was it prior to or -- prior to my           19        A. I've not --
       20    retainment, it was prior to my              20             MS. O'DELL: Objection to
       21    retainment.                                 21        form.
       22         Q. So prior to your                    22             Doctor, give me just a
       23    retainment -- let me -- let me word it      23        moment after the question if I
       24    differently.                                24        need to object. Thank you.

                                            Page 31                                          Page 33
        1             Prior to the call from              1             THE WITNESS: Shall I
        2    Ms. Emmel, you had included in your          2         continue?
        3    course to -- your toxicology course a        3   BY MR. HEGARTY:
        4    discussion about talc and ovarian cancer?    4         Q. Sure.
        5         A. Not a discussion, just               5         A. Could you repeat the
        6    didactic lecture saying that this is the     6   question, please?
        7    female reproductive tract. Ovarian           7         Q. Sure. You mentioned that
        8    cancer is part of an adverse outcome of      8   the discussion that we just went over was
        9    disease. It's very prevalent. And there      9   before your contact by Ms. Emmel,
       10    are factors including early menarche,       10   correct?
       11    late menopause, and there's some issues     11         A. I said that it started. My
       12    currently on the table as to whether        12   lectures started prior to my conversation
       13    cosmetic talc also plays a role.            13   with Ms. Emmel.
       14             No opinion was given to my         14         Q. What was -- what was the
       15    class. Just information.                    15   name of the course that you had that
       16         Q. Do you have any materials           16   lecture?
       17    for your course, whether in PowerPoint      17         A. Organ system toxicology.
       18    form or other form that sets out that       18         Q. Have you taught that course
       19    discussion you just had?                    19   since your call with Ms. Emmel?
       20         A. No.                                 20         A. Actually it's coming up
       21         Q. Is that the extent of the           21   this -- this semester, starting the 30th
       22    discussion that you had with your           22   of January.
       23    toxicology students about talc and          23         Q. So between -- as of the
       24    ovarian cancer?                             24   first part of 2017 through today you have

                                                                       9 (Pages 30 to 33)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 154 of 366 PageID:
                                   75509

                                    Judith Zelikoff, Ph.D.
                                            Page 34                                          Page 36
        1    not taught that same course?                 1   Exhibit B. It should be the very last
        2         A. It's taught every other              2   page of that document.
        3    year.                                        3        A. Thank you.
        4         Q. Have you communicated with           4        Q. The very last page of
        5    anyone outside of plaintiffs' counsel in     5   Exhibit B of your report, you list a
        6    this case about your opinions in your        6   number of expert reports, correct?
        7    report?                                      7        A. I do. Deposition and
        8         A. Not about my opinions, no.           8   exhibits.
        9         Q. Have you talked with anyone          9        Q. Have you reviewed any other
       10    outside of plaintiffs' counsel in this      10   expert reports -- strike that.
       11    case about your report?                     11            Did you review any other
       12         A. Only to say that I -- to my         12   expert reports for purposes of your
       13    friends, when I refuse to go anywhere       13   expert report besides those listed here?
       14    with them, because I have to stay home      14        A. No, sir. Unless --
       15    and work, only to say that I'm working on   15   Dr. Longo, December 2018 supplement, that
       16    a report.                                   16   was a report, and I did review that.
       17         Q. Have you discussed the              17        Q. We were provided today with
       18    litigation or your report with any other    18   a copy of a report of Longo and Rigler,
       19    experts retained by the plaintiffs in       19   January 15, 2019. And I'm going to mark
       20    this case?                                  20   that as Exhibit 3.
       21         A. No, sir, I have not.                21            (Document marked for
       22         Q. Have you reviewed any of the        22        identification as Exhibit
       23    other plaintiffs' experts' MDL reports in   23        Zelikoff-3.)
       24    this litigation besides those referenced    24   BY MR. HEGARTY:

                                            Page 35                                          Page 37
        1    in your report?                              1        Q. Is that the supplemental
        2         A. I reviewed Dr. Dydek's. I            2   report that you described for us?
        3    reviewed -- did you say the plaintiffs'      3        A. It is, sir. It's an
        4    witnesses?                                   4   analysis Johnson & Johnson Historical
        5         Q. Yeah, let me -- let me -- in         5   Product Containers and Imerys' Historical
        6    your report -- and I can -- we can get it    6   Railroad Car Samples, etc..
        7    out here in a moment. But you list           7        Q. That report is dated
        8    the -- in your list of reports, you list     8   January 15th, 2019, correct?
        9    the report of Michael Crowley.               9        A. Yes, sir.
       10         A. I'm sorry, sir. Can you --          10        Q. When did you receive this
       11         Q. It's in Exhibit B at the end        11   report?
       12    of Exhibit B of your report. If you need    12        A. In January.
       13    a copy I can give it to you now.            13        Q. When in relation to
       14         A. Can you give me a copy.             14   January 15, 2019?
       15             (Document marked for               15        A. Today is the --
       16         identification as Exhibit              16        Q. Is the 21st.
       17         Zelikoff-2.)                           17        A. Today is the 21st. I would
       18    BY MR. HEGARTY:                             18   say somewhere between the 15th and the
       19         Q. I'm marking Exhibit 2 Dr.           19   21st. Actually it was this past Saturday
       20    Zelikoff's report that was provided to us   20   as it was placed in my Dropbox and I
       21    in this case.                               21   could not open my Dropbox.
       22         A. Thank you. And what page            22        Q. When did you review Exhibit
       23    are you referring to?                       23   Number 3?
       24         Q. It is the last page of              24        A. That same report?

                                                                     10 (Pages 34 to 37)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 155 of 366 PageID:
                                   75510

                                    Judith Zelikoff, Ph.D.
                                            Page 38                                          Page 40
        1         Q. Yes.                                 1        A. The attorneys.
        2         A. I received it on Saturday.           2        Q. I'm going to show you --
        3    I reviewed it on Sunday.                     3        A. Plaintiffs' attorneys.
        4         Q. How much time did you spend          4             (Document marked for
        5    reviewing this additional Longo and          5        identification as Exhibit
        6    Rigler report?                               6        Zelikoff-4.)
        7         A. Sorry. About three hours.            7   BY MR. HEGARTY:
        8         Q. Did you read every page?             8        Q. I'm going to show you what I
        9         A. I read -- I reviewed each            9   marked as Exhibit Number 4. This is the
       10    page but I did not scrutinize every page.   10   MDL report provided to us for Michael
       11         Q. Did you read the entirety of        11   Crowley.
       12    the text in this supplemental report?       12        A. Mm-hmm.
       13         A. May I see the report,               13        Q. Did you read the entirety of
       14    please.                                     14   that report?
       15             MS. O'DELL: Objection.             15        A. I cannot say that I read the
       16         Asked and answered. That's the         16   entirety of this report. I reviewed the
       17         same question.                         17   report.
       18             THE WITNESS: Should I              18        Q. Okay. Well, your report is
       19         answer?                                19   dated November 16, 2018. And that report
       20             MS. O'DELL: Yes, you may.          20   is dated November 12, 2012, -- 2018.
       21             THE WITNESS: I reviewed the        21   When did you receive the report by
       22         text going up to Page 32 with          22   Dr. Crowley in relation to the date on
       23         greater rigor than I did the           23   the first page, November 12th.
       24         tables.                                24        A. I really cannot say with

                                            Page 39                                          Page 41
        1    BY MR. HEGARTY:                              1   certainty. It seems to me that I
        2          Q. When you say "reviewed,"            2   received this prior to my report
        3    does that mean that you read every -- all    3   conclusion.
        4    the words on every page up to Page 32?       4        Q. There are 212 pages there.
        5          A. I did.                              5   Again, did you read every word of every
        6          Q. You included in the list of         6   page?
        7    reports that you reviewed, the report of     7        A. No, sir. Did I look at
        8    Michael Crowley, correct?                    8   every word of every page? Yes.
        9          A. Every one of the reports            9        Q. No, my question is did you
       10    were not read with the -- read with         10   read every word of every page.
       11    the -- sorry, I'm caught up in the          11        A. My answer is --
       12    microphone -- were not read with the same   12            MS. O'DELL: She answered
       13    intensity and duration of time put into     13        your question.
       14    it. I reviewed it. To what extent, I'm      14            THE WITNESS: -- I looked at
       15    not clear at this moment.                   15        every page.
       16          Q. The first report that you          16   BY MR. HEGARTY:
       17    list in the list of reports in Exhibit B    17        Q. Did you read all the
       18    is the expert report of Michael M.          18   references that he has in that report?
       19    Crowley, correct?                           19        A. I looked at the references.
       20          A. It's written that way, yes.        20        Q. Did you actually pull the
       21          Q. Did you prepare this list of       21   references and read the citations that he
       22    reports?                                    22   refers to?
       23          A. I did not.                         23        A. No, sir. I did my own -- my
       24          Q. Who did?                           24   own literature search in terms of

                                                                     11 (Pages 38 to 41)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 156 of 366 PageID:
                                   75511

                                    Judith Zelikoff, Ph.D.
                                            Page 42                                          Page 44
        1    fragrance and chemicals within the           1   Dr. Crowley's report. And with that I --
        2    fragrances. And I did receive that as an     2   I used the case number. I reviewed each
        3    exhibit this morning.                        3   one of the chemicals in terms of their
        4         Q. I'm sorry. What did you              4   potential carcinogenicity by, number one,
        5    say?                                         5   putting -- writing down the chemical,
        6         A. I said I did my own                  6   looking to see if there were other
        7    literature search in terms of fragrances,    7   structures or chemicals -- or chemicals
        8    and I think you received a copy of that      8   that had similar names.
        9    this morning. In that report that I did,     9            I reviewed through Google,
       10    that I prepared, I was assessing            10   through PubMed and through Tox Lit and
       11    carcinogenicity of each of the compounds.   11   IARC reports to see whether or not there
       12         Q. Going back to the Crowley           12   was a listing for them in terms of
       13    report, did you read all the tables in      13   carcinogenicity. And that is the result.
       14    that report?                                14   This is the result.
       15         A. I did not read. I reviewed.         15        Q. When did you do all of that?
       16         Q. What is --                          16        A. I did that post the
       17         A. I looked at them.                   17   report --
       18         Q. Okay. What is the                   18        Q. When -- sorry.
       19    difference between reading and reviewing    19        A. -- as part of my preparation
       20    to you?                                     20   for the deposition.
       21         A. In my mind, reading is              21        Q. When did you do it post
       22    in-depth assessment, and whereas            22   report in relation to today?
       23    reviewing is looking over. Reading is       23        A. One to two weeks ago.
       24    more intense.                               24        Q. Did you review -- strike

                                            Page 43                                          Page 45
        1          Q. You pointed to us -- pointed        1   that.
        2    to us -- strike that.                        2           Did you read all the MSDSes
        3              You pointed to the document        3   that you list in Exhibit Number 5?
        4    that was provided to us this morning,        4        A. I did not read all of the
        5    which you say is -- what I think you said    5   MSDSes. But I did look at them. I
        6    reflects your own literature search with     6   reviewed them to make sure they were
        7    regard to fragrances; is that correct?       7   accurate.
        8          A. Mine and a student.                 8        Q. Did you -- did you look at
        9          Q. What student?                       9   and review every MSDS listed in Exhibit
       10          A. A graduate student in my           10   Number 5?
       11    laboratory.                                 11        A. No, sir.
       12              (Document marked for              12        Q. I'm sorry?
       13          identification as Exhibit             13        A. No, sir.
       14          Zelikoff-5.)                          14        Q. Approximately how many did
       15    BY MR. HEGARTY:                             15   you look at in review?
       16          Q. I've marked as Exhibit             16        A. I would say I looked at
       17    Number 5 the document that was produced     17   perhaps half. Looked -- looked at, not
       18    to us this morning. Can you tell me what    18   reviewed.
       19    Exhibit Number 5 is.                        19        Q. But with regard to your
       20          A. Exhibit Number 5 is -- is a        20   analysis of the fragrances that are
       21    list of the chemicals that -- part of       21   reportedly in Johnson's Baby Powder, you
       22    which, if not in its entirety, were taken   22   did not do any of your own analysis as of
       23    from the fragrances that were -- and the    23   the time of your report, correct?
       24    chemicals that were listed in               24        A. I --

                                                                      12 (Pages 42 to 45)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 157 of 366 PageID:
                                   75512

                                    Judith Zelikoff, Ph.D.
                                            Page 46                                          Page 48
        1            MS. O'DELL: Objection to             1            THE WITNESS: I --
        2        the form.                                2        post-report, I did my own search.
        3            THE WITNESS: I did no                3   BY MR. HEGARTY:
        4        analysis except to gather the            4        Q. But my question was, before
        5        information that is out there by         5   your report, with regard to Dr. Crowley's
        6        reputable organizations.                 6   report, did you actually pull the
        7    BY MR. HEGARTY:                              7   literature references that he cites and
        8        Q. Well, did you gather that             8   read them yourself?
        9    information before you completed your        9        A. No, sir.
       10    expert report?                              10        Q. You also make reference to
       11        A. I did this after my expert           11   reviewing Dr. Longo's report, MDL report,
       12    report.                                     12   which is dated November 14, 2018. That's
       13        Q. And my question was, before          13   in the last page of Exhibit Number B. Do
       14    your expert report, did you do any of       14   you see that?
       15    your own analysis of the fragrances that    15        A. I -- I see that, yes.
       16    we -- are listed in Exhibit Number 5?       16        Q. Did you read every page of
       17            MS. O'DELL: Objection to            17   that report?
       18        form.                                   18        A. No, sir, I did not. But I
       19            THE WITNESS: I'm not sure           19   did read every page of the December 2018
       20        what you mean by analysis.              20   Longo mass supplement report.
       21    BY MR. HEGARTY:                             21        Q. Well, focusing on the
       22        Q. Well, did you do any of your         22   November 14, 2018, report, that report is
       23    own research, review of the literature,     23   over 2,000 pages. Are you aware of that?
       24    anything with regard to fragrances as of    24        A. Yes, sir.

                                            Page 47                                          Page 49
        1    the time of your signing of your expert      1        Q. Did you read all 2,000
        2    report November 16, 2018?                    2   pages?
        3         A. I very briefly looked up             3        A. No, sir. I did not.
        4    limonene and eugenol. And it wasn't in       4        Q. Did you read any of those
        5    regards to this case. It was in regards      5   2,000 pages?
        6    to work that I do with electronic            6        A. I reviewed several of those
        7    cigarettes. They are being used as           7   pages.
        8    flavorants.                                  8        Q. Okay. How about the rest of
        9         Q. Was that the extent of your          9   the reports that are listed there? Did
       10    review of the fragrances as of the time     10   you read every page of the reports that
       11    of your expert report, November 16, 2018?   11   are listed there?
       12              MS. O'DELL: Object to form.       12        A. I read every page of the
       13         You may answer.                        13   Dr. Thomas Dydek's report. And I read
       14              THE WITNESS: Whatever is in       14   two-thirds of Dr. Plunkett's.
       15         the report from Dr. Crowley that       15        Q. As to the rest, did you
       16         listed, I looked at those.             16   review the remaining reports?
       17    BY MR. HEGARTY:                             17            MS. O'DELL: Object to the
       18         Q. But as you indicated, you           18        form.
       19    did not read all the citations, the         19   BY MR. HEGARTY:
       20    literature resources that Dr. Crowley       20        Q. Or not look at them at all?
       21    cites in his report and review them         21        A. I glanced over them.
       22    yourself?                                   22        Q. Do you recall if you were
       23              MS. O'DELL: Object to the         23   ever provided any draft reports from any
       24         form.                                  24   of the plaintiffs' experts in the MDL,

                                                                     13 (Pages 46 to 49)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 158 of 366 PageID:
                                   75513

                                    Judith Zelikoff, Ph.D.
                                            Page 50                                        Page 52
        1    where you understood them to be drafts?      1        Q. Is it correct that the
        2         A. I never received anything            2   binders to your right are copies of
        3    that I understood to be a draft document.    3   everything in -- under the listing --
        4             (Document marked for                4   under the heading of Materials and Data
        5         identification as Exhibit               5   Considered?
        6         Zelikoff-6.)                            6            MS. O'DELL: Object to the
        7    BY MR. HEGARTY:                              7        form.
        8         Q. Dr. Zelikoff, I'm marking            8            THE WITNESS: I cannot say
        9    Exhibit Number 6 a copy of your              9        that every single paper in here is
       10    deposition notice for purposes of today's   10        in there. Maybe in something that
       11    deposition.                                 11        I have looked up, but I can't say
       12         A. Yes, sir. I see it.                 12        with likely certainty that yes,
       13         Q. Did you have a chance to            13        everything is in there. Although
       14    look at that before today?                  14        I cannot tell you that I reviewed
       15         A. I did not.                          15        every single one and matched it to
       16         Q. What materials did you bring        16        this page.
       17    with you to the deposition today?           17   BY MR. HEGARTY:
       18             MS. O'DELL: I would just           18        Q. Who prepared -- who prepared
       19         reassert that the objections that      19   the document Materials and Data
       20         plaintiffs have served regarding       20   Considered?
       21         certain of the requests and would      21        A. What do you mean by
       22         state that Dr. Zelikoff has            22   prepared?
       23         brought binders of her cited           23        Q. Did you prepare it?
       24         materials, and then I believe I        24            MS. O'DELL: Object to the

                                            Page 51                                        Page 53
        1         gave you a jump drive of all the        1       form.
        2         reference materials.                    2            THE WITNESS: I supplied
        3    BY MR. HEGARTY:                              3       data, references, and in
        4         Q. Let me go back to my                 4       coordination and complementation
        5    question. Sitting to your right are          5       with the plaintiffs' attorneys,
        6    binders of materials. Do you know what       6       they prepared this.
        7    those binders are, Dr. Zelikoff?             7            (Document marked for
        8         A. I do know what those black           8       identification as Exhibit
        9    binders are to my right.                     9       Zelikoff-7.)
       10         Q. What are they?                      10   BY MR. HEGARTY:
       11         A. They are binders containing         11       Q. I'm marking as Exhibit
       12    materials, papers, literature --            12   Number 7 a flash drive that we were
       13    literature, in alphabetical order of        13   provided here today. Do you know what
       14    papers that are relevant to my -- to my     14   Exhibit Number 7 is?
       15    testimony, as well as production            15       A. I do not.
       16    documents which include letters, reports    16       Q. Do you know what's contained
       17    of internal documents.                      17   on the flash drive?
       18         Q. Your Exhibit B in your              18       A. I have not seen the data
       19    report starts with a page Materials and     19   within the flash drive.
       20    Data Considered. Do you see that?           20            MS. O'DELL: I'll just
       21         A. Page please?                        21       represent that I prepared the
       22         Q. It's Exhibit B.                     22       flash drive and the flash drive
       23         A. Materials and data                  23       has all the materials on
       24    considered, I have it, yes, sir.            24       Exhibit B, on behalf of

                                                                    14 (Pages 50 to 53)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 159 of 366 PageID:
                                   75514

                                    Judith Zelikoff, Ph.D.
                                            Page 54                                         Page 56
        1         Dr. Zelikoff.                           1       Q. You had not read that
        2    BY MR. HEGARTY:                              2   manuscript though at the time you
        3         Q. Are the materials you also           3   completed your report, correct?
        4    cited -- I'm sorry. Are the references       4       A. No, I did not, sir.
        5    you also cited in the body of your report    5       Q. So that manuscript did not
        6    contained in those notebooks to your         6   inform the opinions set out in your
        7    knowledge?                                   7   report, correct?
        8         A. To my knowledge, they are.           8            MS. O'DELL: Objection to
        9         Q. Are the materials that --            9       form.
       10    that are in those notebooks materials you   10            THE WITNESS: Do I answer?
       11    reviewed or had access to prior to          11            MS. O'DELL: Yes, you may
       12    completion of your expert report?           12       answer.
       13         A. Prior to the completion.            13            THE WITNESS: Okay.
       14    However I also prepared my own. So in       14            MS. O'DELL: Yes.
       15    going through -- in coming to my            15            THE WITNESS: I -- I had
       16    conclusion and opinion, I also went         16       access to an abstract from the
       17    through the literature using various        17       same author with emerging results
       18    websites including, as I said Tox Lit,      18       that was brought forward in larger
       19    Google and PubMed. And I arranged my        19       context and in greater detail in
       20    documents that I thought were relevant      20       the publication. So I had -- so
       21    after reviewing all of the ones that came   21       the abstract did go into my
       22    up in my literature search, and I           22       thinking.
       23    reviewed the abstracts and if I found       23   BY MR. HEGARTY:
       24    them to be relevant, I placed them in --    24       Q. The manuscript though we

                                            Page 55                                         Page 57
        1    in order and in bins, in silos, in           1   marked as Exhibit 8 did not go into your
        2    different areas, and I prepared my own.      2   thinking?
        3         Q. We were also provided today,         3        A. The manuscript -- no, sir,
        4    this morning, what I've marked as Exhibit    4   it did not. It did post my report and it
        5    Number 8 which is a manuscript from a        5   added supplementary and compelling
        6    publication called Reproductive Sciences.    6   evidence for my opinion.
        7    The lead author, Ghassam Saed.               7            (Document marked for
        8             (Document marked for                8        identification as Exhibit
        9         identification as Exhibit               9        Zelikoff-9.)
       10         Zelikoff-8.)                           10   BY MR. HEGARTY:
       11    BY MR. HEGARTY:                             11        Q. I've also marked as Exhibit
       12         Q. Can you tell me when you            12   Number 9 another document we were
       13    received that manuscript?                   13   provided this morning which is -- which
       14         A. I received the manuscript in        14   is called Draft Screening Assessment.
       15    December.                                   15            When did you receive this
       16         Q. Approximately when in               16   draft screening assessment?
       17    December?                                   17        A. January.
       18         A. Let me say that it was              18        Q. Approximately when in
       19    either December or early January. I         19   January?
       20    cannot be more exact than that.             20        A. About two weeks ago.
       21         Q. Have you read that                  21        Q. Who -- what was your source
       22    manuscript?                                 22   for getting that document?
       23         A. Have I -- yes, I've read            23        A. Ms. Emmel.
       24    this manuscript.                            24        Q. Did Ms. Emmel also provide

                                                                    15 (Pages 54 to 57)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 160 of 366 PageID:
                                   75515

                                    Judith Zelikoff, Ph.D.
                                            Page 58                                         Page 60
        1    the -- the Saed manuscript?                  1   that is a supplement of that or a -- an
        2         A. Yes, sir, she did.                   2   adjacent document.
        3         Q. So neither the Canadian              3        Q. Do you have that document
        4    assessment nor Dr. Saed's manuscript were    4   with you?
        5    materials you found on your own, correct?    5        A. Perhaps. I do, yes, sir.
        6         A. Correct.                             6        Q. May I see it, please.
        7         Q. Do you know how Ms. Emmel            7             (Document marked for
        8    came to receive an unpublished               8        identification as Exhibit
        9    manuscript, apart from any discussions       9        Zelikoff-10.)
       10    that you had with plaintiffs' counsel?      10   BY MR. HEGARTY:
       11         A. Actually, which manuscript          11        Q. I'm going to mark as Exhibit
       12    are you referring to?                       12   Number 10 what you just handed to me,
       13         Q. Well, there's only one              13   which is titled "Systematic Review and
       14    manuscript in front of you?                 14   Meta-Analysis of the Association Between
       15         A. Reproductive Science --             15   Perineal Use of Talc and Risk of Ovarian
       16         Q. Dr. -- yes.                         16   Cancer," lead author Taher.
       17         A. -- Dr. Saed?                        17             When did you receive Exhibit
       18             To my knowledge, this has --       18   Number 10?
       19    and seeing the cover letter that was        19             MS. O'DELL: Did we skip
       20    associated with this, this is not a         20        nine?
       21    manuscript. This is an in-press             21             MR. HEGARTY: Exhibit 9 is
       22    manuscript, and there is a very large       22        the draft screening assessment.
       23    difference.                                 23             MS. O'DELL: Okay. I'm
       24         Q. Okay. Apart from anything           24        sorry. I had that as Number 8.

                                            Page 59                                         Page 61
        1    that counsel for plaintiffs may have told    1            MR. HEGARTY: Number 8 is
        2    you, do you know how this manuscript         2        the manuscript by Dr. Saed.
        3    became available for you to review?          3            MS. O'DELL: Okay. I'm
        4          A. I have no knowledge.                4        sorry.
        5          Q. With regard to the                  5   BY MR. HEGARTY:
        6    Canadian -- sorry, the draft screening       6        Q. Going back to my question,
        7    assessment, did you read the entirety of     7   when did you receive the article by
        8    this assessment?                             8   Taher?
        9          A. I'm looking for it right            9        A. At the same time that I
       10    now.                                        10   received the health -- the screening
       11          Q. Sorry.                             11   health assessment from Health Canada.
       12          A. Thank you. Except for the          12        Q. Who provided it to you?
       13    references, I read the entirety of the      13        A. Ms. Emmel.
       14    text.                                       14        Q. Did you read the entirety of
       15          Q. Did you pull the references        15   that document?
       16    and review the references themselves?       16        A. I read the entirety of this
       17          A. No, sir, I did not.                17   document minus the references.
       18          Q. There are also supplemental        18        Q. Did you pull the literature
       19    materials associated with this -- or do     19   cited in the Taher article and review it
       20    you know whether there are supplemental     20   yourself?
       21    materials associated with this draft, or    21        A. I may have looked at
       22    with this draft screening assessment?       22   references that have -- were on the
       23          A. I was also provided a              23   reference list of the Saed document, but
       24    document by Dr. Taher. I'm not sure if      24   I did not go through each individual

                                                                     16 (Pages 58 to 61)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 161 of 366 PageID:
                                   75516

                                    Judith Zelikoff, Ph.D.
                                            Page 62                                          Page 64
        1    reference in the document and pull it        1         Q. Have you reviewed any
        2    specifically.                                2   materials since completion of your report
        3         Q. The Taher article -- strike          3   for purposes of your work on this case
        4    that.                                        4   that we have not talked about this
        5             You were provided the Taher         5   morning?
        6    article after you completed your expert      6         A. I reviewed -- since my
        7    report in this case, correct?                7   report, I reviewed Dr. Pier's deposition.
        8         A. That's correct.                      8   Is that what you mean?
        9         Q. So it's correct that it did          9         Q. Dr. Julie Pier's deposition?
       10    not inform your opinions in your report,    10         A. Yes. Three-quarters of it.
       11    correct?                                    11   It is a very long deposition.
       12         A. It informed my opinions --          12         Q. The second-to-last page of
       13    let me say that it added to my opinions     13   Exhibit Number B under depositions makes
       14    following the writing of my report. It      14   reference to depositions and exhibits of
       15    supported my position.                      15   Julie Pier dated 9/12 to 9/13/2018.
       16         Q. Did the assessment conclude         16             Do you see that?
       17    that talc use causes ovarian cancer?        17         A. Sorry, sir. Fifth line
       18    Strike that. Let me strike that             18   down, deposition/exhibits of Julie Pier.
       19    question. We'll come back to that.          19         Q. Is that the deposition to
       20             (Document marked for               20   which you just referred?
       21         identification as Exhibit              21         A. To the best of my knowledge.
       22         Zelikoff-11.)                          22         Q. Anything else that you have
       23    BY MR. HEGARTY:                             23   reviewed for purposes of your work on
       24         Q. I'm going to mark next as           24   this case that we have not talked about

                                            Page 63                                          Page 65
        1    Exhibit Number 11 a copy of the Exhibit C    1   this morning or made reference to?
        2    that's referenced in your report.            2        A. I reviewed Dr. Hopkins'
        3              Did you prepare Exhibit            3   report.
        4    Number C?                                    4        Q. Let me ask it different.
        5         A. If you mean by preparation,          5   Anything that you have reviewed that's
        6    did I write it, did I prepare the            6   either not listed somewhere in your
        7    summary, no, sir I did not.                  7   report or we have not marked as an
        8         Q. Do you know who prepared it?         8   exhibit?
        9         A. From my reading, it appears          9        A. To the best of my knowledge,
       10    as though the attorneys may have prepared   10   no.
       11    it based upon -- to my knowledge, based     11        Q. With regard to Exhibit C,
       12    upon other deponents.                       12   did you review all the documents that are
       13         Q. Other than the documents            13   referenced in Exhibit Number C?
       14    that we have talked about that are laid     14        A. Can I see that, please.
       15    out before us, did you bring any other      15        Q. I think you still have a
       16    documents with you to the deposition?       16   copy in front of you.
       17         A. Other than the documents            17        A. Okay.
       18    that are to my right in the folders, the    18        Q. It's Exhibit Number 11,
       19    health assessment from the -- the           19   which is marked Exhibit -- which is
       20    screening health assessment from Canada,    20   Exhibit C. Did you actually pull the
       21    Dr. Taher's paper, a letter -- this is in   21   documents and confirm the accuracy of the
       22    the documents to my right, a letter from    22   information --
       23    Luzenac to Dr. Al Wehner, my CV, the        23        A. No, sir.
       24    expert report, Exhibit B, my CV, no, sir.   24        Q. -- contained in Exhibit C?

                                                                     17 (Pages 62 to 65)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 162 of 366 PageID:
                                   75517

                                    Judith Zelikoff, Ph.D.
                                           Page 66                                          Page 68
        1         A. There are no -- there are no        1   BY MR. HEGARTY:
        2    references in here, as I understand it.     2         Q. You agree that the standard
        3         Q. Well, there are Bates               3   for proving biologic plausibility or any
        4    numbers --                                  4   other scientific issue in the medical
        5         A. Bates numbers.                      5   literature is the same one that applies
        6         Q. -- that are listed at the           6   in litigation, correct?
        7    right, which correspond to documents,       7             MS. O'DELL: Object to the
        8    correct?                                    8         form. If you know.
        9         A. Yes, but when I -- when I           9             THE WITNESS: Can you repeat
       10    hear references I think of citations,      10         that, please.
       11    papers.                                    11   BY MR. HEGARTY:
       12         Q. Did you actually pull the          12         Q. Sure. You agree that the
       13    documents whose Bates numbers are listed   13   standard for proving biologic
       14    and confirm the accuracy of the            14   plausibility or any other scientific
       15    information contained in Exhibit C?        15   issue in a medical literature or in
       16         A. I did not pull them as part        16   science should be the same that is
       17    of reviewing this exhibit, but I have      17   applied in litigation?
       18    looked at them, because I have gone        18             MS. O'DELL: Object to the
       19    through all of the production documents.   19         form.
       20         Q. With regard to your expert         20             THE WITNESS: I will use the
       21    report in this case, is it correct that    21         same scrutiny and rigor, as I said
       22    you prepared that report -- strike that.   22         before.
       23             With regard to your expert        23   BY MR. HEGARTY:
       24    report it defines the scope of your        24         Q. You would -- you intend to

                                           Page 67                                          Page 69
        1    testimony in this case, correct?            1   apply the same standards to your report
        2             MS. O'DELL: Objection to           2   and your opinions in this case as you
        3         form.                                  3   would apply if you were looking at this
        4             THE WITNESS: Yes, it does.         4   as simply a professor at New York
        5    BY MR. HEGARTY:                             5   University?
        6         Q. And is it correct that the          6        A. Well, I don't see simply a
        7    report was prepared with the same           7   professor.
        8    methodology and approach as you would       8            If I were -- I review
        9    have prepared an article for publication    9   papers. I think I've answered this
       10    in a scientific journal?                   10   already. But I review papers and
       11         A. An article, a grant, a             11   literature with the same scrutiny as I
       12    review, an advisory board report, with     12   prepared this report.
       13    the same rigor and the same scrutiny,      13        Q. Did you apply the same
       14    yes.                                       14   standard for assessing biologic
       15         Q. In other words, is it              15   plausibility as you apply in your work at
       16    correct that you prepared this report in   16   NY University?
       17    the same manner as you had prepared all    17        A. I do.
       18    of your articles for publication?          18        Q. Did you sign your report
       19             MS. O'DELL: Asked and             19   dated November 16, 2018, with the same
       20         answered.                             20   intent as if signed under penalty of
       21             THE WITNESS: I used the           21   perjury?
       22         same methodology, the same            22        A. Could you repeat that
       23         scrutiny and the same rigor to        23   please.
       24         prepare this, yes.                    24        Q. Sure. Did you sign your

                                                                    18 (Pages 66 to 69)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 163 of 366 PageID:
                                   75518

                                    Judith Zelikoff, Ph.D.
                                            Page 70                                          Page 72
        1    expert report dated November 16, 2018,       1        that these are my -- my report
        2    with the same intent as if signed under      2        reflects my opinion.
        3    penalty of perjury?                          3   BY MR. HEGARTY:
        4             MS. O'DELL: Object to form.         4        Q. Are they -- are there any
        5             THE WITNESS: I'm not sure I         5   necessary changes, or revisions to your
        6         understand what that question           6   report?
        7         means.                                  7        A. Not to my knowledge.
        8    BY MR. HEGARTY:                              8        Q. And all the opinions that
        9         Q. Well, did you -- by signing          9   you intend to offer in this litigation
       10    this report, did you confirm to the         10   are set out in your report, as you just
       11    accuracy of everything contained in the     11   said, correct?
       12    report?                                     12        A. To come to my decision or my
       13         A. To the best of my knowledge,        13   opinion, prior to -- included all the
       14    I signed this report knowing that I         14   documents that I had in my possession and
       15    prepared this report and there is -- with   15   were -- had access to prior to my report.
       16    the same intent of accuracy and rigor.      16        Q. My question is a little bit
       17         Q. You understand this is              17   different, Doctor. My question is, the
       18    supposed to be your testimony as if on a    18   opinions that you intend to offer as you
       19    stand before a judge or a jury, correct?    19   just indicated, those are set out in your
       20             MS. O'DELL: Object to the          20   report, correct?
       21         form.                                  21        A. The opinions that I intend
       22             THE WITNESS: My                    22   to offer, yes.
       23         understanding of the deposition is     23        Q. As your report shows, you
       24         that it is a legal document and        24   don't intend to offer the opinion that

                                            Page 71                                          Page 73
        1         testifying my -- my opinion. And        1   use of Johnson's Baby Powder or Shower to
        2         that it has to be honest and            2   Shower causes ovarian cancer, correct?
        3         truthful and transparent.               3        A. My mission, the question
        4    BY MR. HEGARTY:                              4   that I was asked by plaintiff attorney
        5         Q. Well, this time I'm talking          5   was to confer or to assess biological
        6    about your report. Do you understand         6   plausibility in the causation of talc for
        7    your report is supposed to be your           7   ovarian cancer.
        8    testimony as if you are before a judge       8        Q. And as your report shows,
        9    and a jury?                                  9   you did not do a risk assessment or
       10              MS. O'DELL: Object to the         10   Bradford Hill analysis of all the
       11         form.                                  11   literature looking at talc products and
       12              THE WITNESS: I -- I               12   ovarian cancer, correct?
       13         understand that this has to be         13        A. I think I answered that, but
       14         honest and truthful, and this will     14   I'm not an epidemiologist, and my -- my
       15         be -- could be, will be, the basis     15   question was to look at biological
       16         for my testimony in a court trial,     16   plausibility.
       17         if that is what you're asking.         17        Q. And all the materials that
       18    BY MR. HEGARTY:                             18   you intend to rely upon for purposes of
       19         Q. You understand it's supposed        19   your opinions, are those set out in your
       20    to set out your -- the entirety of your     20   report, those we've talked about here
       21    opinions in this case?                      21   this morning, correct?
       22              MS. O'DELL: Object to the         22        A. Yes, including the
       23         form.                                  23   contributions that were made after my
       24              THE WITNESS: I understand         24   report including Dr. Longo's supplement,

                                                                     19 (Pages 70 to 73)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 164 of 366 PageID:
                                   75519

                                    Judith Zelikoff, Ph.D.
                                            Page 74                                          Page 76
        1    including Dr. Saed's paper. They added       1   by more than one investigator, and is a
        2    to my opinion, supplemented them. But it     2   compilation of different points, then
        3    is -- but my -- my opinion stays the same    3   I -- I will use -- I will not necessarily
        4    as the report.                               4   put quotations around it. And I will not
        5          Q. Okay.                               5   necessarily reference it, because it's --
        6              MR. HEGARTY: The next              6   may have been taken from another document
        7          section I have is pretty long. I       7   but it's common knowledge.
        8          don't know if you want to take a       8         Q. What about --
        9          quick break now or just keep           9         A. And it's --
       10          going. It's up to you.                10         Q. I'm sorry. I didn't mean to
       11              MS. O'DELL: We've been            11   interrupt.
       12          going about an hour. I think          12         A. I couldn't -- I'm sorry. I
       13          that's probably a good idea.          13   couldn't write it any better than as it
       14              MR. HEGARTY: Because              14   was put.
       15          otherwise it's not -- there's not     15         Q. What about if you take
       16          going to be a good break time. So     16   materials from a published article for
       17          we should probably do it now.         17   purposes of your report, did you
       18              MS. O'DELL: Well, we can          18   reference those articles?
       19          definitely do it now, but we'll --    19         A. In some cases, not. Again,
       20          of course we'll break when the        20   it's my opinion that if there is
       21          witness needs to break.               21   something that is stated by an
       22              MR. HEGARTY: Understood.          22   investigator and it's written extremely
       23          Understood. But you know what I       23   well, and it's common knowledge for
       24          mean.                                 24   scientists in that area, as well as

                                            Page 75                                          Page 77
        1              MS. O'DELL: Yeah.                  1   others, then I will -- I will use it.
        2              THE VIDEOGRAPHER: Stand by         2         Q. That's not how you prepare
        3          please. The time is 10:11 a.m.         3   your report -- that's not how you prepare
        4          Off the record.                        4   your articles for journals though,
        5              (Short break.)                     5   correct?
        6              THE VIDEOGRAPHER: We are           6         A. No, that's the same way I
        7          back on the record. The time is        7   prepare them.
        8          10:26 a.m.                             8            If they are -- if they are,
        9    BY MR. HEGARTY:                              9   again, common knowledge, I will not
       10          Q. Dr. Zelikoff, with regard to       10   necessarily cite them.
       11    your expert report, do you have that in     11         Q. Is it not your approach that
       12    front of you?                               12   authors are to cite material to which
       13          A. I do now. Thank you.               13   they are relying on or referring to in
       14          Q. We marked that as exhibit          14   published articles?
       15    what?                                       15         A. Again, I think you're asking
       16          A. Exhibit 2.                         16   me the same question. But again, if
       17          Q. With regard to Exhibit             17   something is well known, then I do not
       18    Number 2, is it your testimony that all     18   necessarily reference it.
       19    of the sentences in your report are your    19         Q. What is the definition --
       20    own words and not copied from others,       20   what is your definition of well known?
       21    except where you used quotations?           21         A. For example, if chromium --
       22          A. Mm-hmm. The way I report           22   let's use nickel instead. If nickel is
       23    and write publications is if something      23   being spoken about by IARC, by U.S. EPA,
       24    is, I feel, common knowledge or provided    24   by National Toxicology Program, and

                                                                     20 (Pages 74 to 77)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 165 of 366 PageID:
                                   75520

                                    Judith Zelikoff, Ph.D.
                                            Page 78                                          Page 80
        1    they're all saying the same thing, I in      1         Q. Is that not -- is that a
        2    some cases may take what the IARC has        2   definition you agree with?
        3    said and put it in my reference.             3         A. I agree that there's ways to
        4         Q. And it's your testimony that         4   interpret that.
        5    you do that in all -- you've done that in    5         Q. Is that -- is that the
        6    all the articles that you've ever            6   definition New York University applies to
        7    published?                                   7   its students?
        8             MS. O'DELL: Objection to            8         A. This sentence, "Presenting
        9         form.                                   9   others' work without adequate
       10             THE WITNESS: I can't say           10   acknowledgment of its source as though it
       11         about all the articles. I              11   were one's own," that is for students.
       12         published over 130 --                  12   That is not what I'm doing in my opinion.
       13             MR. HEGARTY: Mark --               13            In my opinion, I'm taking
       14             THE WITNESS: --                    14   common knowledge and presenting it.
       15         publications and book chapters.        15         Q. Well, they go on to give
       16             (Document marked for               16   examples of plagiarism that include, "A
       17         identification as Exhibit              17   sequence of words incorporated without
       18         Zelikoff-12.)                          18   quotation marks."
       19    BY MR. HEGARTY:                             19            Do you see where I'm
       20         Q. Let me mark as Exhibit              20   reading?
       21    Number 12 the academic integrity for        21         A. I do see it. "A sequence of
       22    students at NYU policy. Is this the         22   words incorporated without quotation
       23    policy applicable to your university?       23   marks."
       24         A. It appears to be that you've        24         Q. It also says that,

                                            Page 79                                          Page 81
        1    taken it off the website in the academic     1   "Plagiarism is an unacknowledged passage
        2    integrity for students at NYU.               2   paraphrased from another's work."
        3         Q. If you turn to the second            3            Do you see that?
        4    page, there is a definition of               4        A. Some examples of plagiarism,
        5    plagiarism, that says, "Presenting           5   "Unacknowledged passage rephrased from
        6    others' works without adequate               6   another's work."
        7    acknowledgment of its source as though it    7        Q. Do you agree those are --
        8    were one's own."                             8   the two definitions that I just read from
        9         A. I'm sorry.                           9   your university's own policy for students
       10         Q. Do you agree with that              10   are examples of plagiarism?
       11    definition?                                 11        A. This is the NYU
       12         A. I'm sorry. What --                  12   interpretation or what they've put on the
       13         Q. Second page of Exhibit 12.          13   website, yes.
       14         A. You mean on the back? Is it         14        Q. Should this be a policy --
       15    under Number 2, Number 1?                   15   strike that.
       16         Q. Number 1. The definition of         16            Is this a policy that
       17    plagiarism by your university for your      17   applies to students at NY university?
       18    students is, "Presenting others' work       18        A. It applies -- it's an
       19    without adequate acknowledgement of its     19   academic integrity for students at NYU.
       20    source as though it were one's own."        20        Q. Do you agree that professors
       21             Do you agree with that --          21   at NY university should also conform to
       22    that definition?                            22   this policy?
       23         A. I agree that there's many           23        A. I believe that honesty,
       24    different ways to interpret that.           24   transparency is the key factor for all

                                                                     21 (Pages 78 to 81)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 166 of 366 PageID:
                                   75521

                                    Judith Zelikoff, Ph.D.
                                            Page 82                                          Page 84
        1    scientists at any level.                     1         Q. Do you know who Shawn Levy
        2         Q. You would agree that this            2   is?
        3    should apply to your work as well,           3        A. I do not.
        4    correct?                                     4        Q. Did you review Dr. Levy's
        5         A. I think that this definition         5   report for purposes of your -- preparing
        6    is open to interpretation.                   6   your report in this case?
        7         Q. Well, do you either agree or         7        A. I actually looked at it, but
        8    disagree that this -- well, strike that.     8   did not -- did not read it.
        9             Do you agree that this              9        Q. When did you have a chance
       10    policy should be applied to your work in    10   to look at his expert report?
       11    this case?                                  11        A. I have looked at it -- I'm
       12         A. I agree that plagiarism is          12   trying to gather the knowledge. I
       13    defined as presenting others' work          13   actually do not recall when I looked at
       14    without adequate acknowledgment of its      14   it.
       15    source as though it were one's own.         15        Q. If you look at your report
       16    That's the NYU policy for students.         16   on Page 20. In that exhibit, Doctor.
       17         Q. Did you -- you did that in          17        A. Oh okay.
       18    your own report, correct?                   18        Q. Your report and the portion
       19             MS. O'DELL: Object to form.        19   of Dr. Levy's report is attached, and if
       20             THE WITNESS: I did what in         20   you look at your report Page 20 and his
       21         my own report?                         21   report Page 5 --
       22    BY MR. HEGARTY:                             22             MS. O'DELL: I think, Mark,
       23         Q. You plagiarized portions of         23        I think there's confusion because
       24    other people's work without proper          24        there's two documents put together

                                            Page 83                                          Page 85
        1    acknowledgment, correct?                     1       in this --
        2             MS. O'DELL: Objection to            2           MR. HEGARTY: Right. One is
        3         form.                                   3       her report and one is Levy's
        4             THE WITNESS: That is                4       report.
        5         totally incorrect.                      5           MS. O'DELL: I just think
        6             I used sentences from other         6       that that was the confusion.
        7         people's -- other people's papers       7           THE WITNESS: Thank you.
        8         because they were common knowledge      8   BY MR. HEGARTY:
        9         and contributed by multiple             9       Q. So the -- do you see that
       10         authors. And it was --                 10   sentences marked as 1 and 2 from
       11    BY MR. HEGARTY:                             11   Dr. Levy's report are identical to
       12         Q. I'm going to mark -- sorry.         12   sentences marked 1 and 2 in your report?
       13         A. And it was stated in a way          13           MS. O'DELL: Object to form.
       14    that I couldn't have stated better.         14           And, Doctor, if you need to
       15         Q. I'm going to mark as                15       take the documents apart and
       16    Exhibit 13 a report -- a portion of your    16       compare them, rather than flipping
       17    report dated November 16, 2018. And the     17       back and forth, if that would be
       18    back of that is a portion of Rule 26        18       helpful to you, feel free to do
       19    expert report of an expert by the name of   19       that.
       20    Shawn Levy.                                 20           THE WITNESS: Good idea. I
       21             (Document marked for               21       actually don't recall. Could
       22         identification as Exhibit              22       you -- could you tell me when my
       23         Zelikoff-13.)                          23       report is dated please?
       24    BY MR. HEGARTY:                             24   BY MR. HEGARTY:

                                                                      22 (Pages 82 to 85)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 167 of 366 PageID:
                                   75522

                                    Judith Zelikoff, Ph.D.
                                            Page 86                                          Page 88
        1         Q. November 16. His report is           1   from either Dr. Levy's report or from
        2    also dated November 16.                      2   somewhere -- some other source?
        3         A. I did not actually see this          3        A. The thoughts are the same.
        4    report until after mine.                     4   The words seem to be identical. And
        5             However, let me address your        5   again, if you interpret that one way and
        6    question to the best of my ability.          6   I interpret it another, I certainly do
        7             "Things stated as both              7   not interpret it as plagiarism.
        8    inherited and acquired gene mutations        8        Q. Let me show you another
        9    work together to cause cancer."              9   example.
       10             Everyone from the time of          10            (Document marked for
       11    their scientific career back in college     11        identification as Exhibit
       12    knows that.                                 12        Zelikoff-14.)
       13             "While genetic testing" --         13   BY MR. HEGARTY:
       14    let me make sure I have both -- "both       14        Q. I'm going to mark as
       15    inherited and acquired gene mutations       15   Exhibit 14, again a portion of your
       16    work together to cause cancer."             16   report Page 12 and a portion of a report
       17             How -- there is no way for         17   by Rebecca Smith-Bindman. Do you know
       18    me to say that differently. This is a       18   who that is?
       19    very well statement, very well put          19        A. Not at all.
       20    statement. I used it without a              20        Q. Did you see her report in
       21    reference. Even if one --                   21   this case before preparing your report?
       22         Q. My question -- I'm sorry. I         22        A. I never looked at her
       23    thought you were finished.                  23   report.
       24         A. "Even if one has inherited a        24        Q. If you would look at the two

                                            Page 87                                          Page 89
        1    genetic mutation that predisposes one's      1   reports side by side under the
        2    chances, doesn't mean he or she has to       2   definition -- under the heading
        3    get cancer." Again, common knowledge         3   Fragrances --
        4    from everyone.                               4        A. I'm sorry, I don't have her
        5         Q. Well, Dr. Zelikoff, my               5   report.
        6    question is different than that.             6        Q. You have one page of her
        7             My question is, can you             7   report in that exhibit. You have the --
        8    explain to us here today, given that you     8   the front page and the one page of her
        9    did not see Dr. Levy's report until after    9   report, and you have Page 12 of your
       10    you completed your report, how you have     10   report, correct?
       11    several identical sentences between your    11        A. I see. Correct.
       12    report and Dr. Levy's report?               12        Q. Do you see that the section
       13             MS. O'DELL: Object to the          13   under the heading Fragrances is identical
       14         form.                                  14   between the two reports?
       15    BY MR. HEGARTY:                             15        A. Yes. They are identical
       16         Q. Dr. Levy's report.                  16   wording.
       17         A. I cannot -- I -- I don't            17        Q. And none of those sentences
       18    know. The only -- what I can say is that    18   are common knowledge, correct?
       19    there was likely a publication. But that    19            MS. O'DELL: Object to the
       20    is speculation, because I have not looked   20        form.
       21    that over.                                  21            THE WITNESS: It's a
       22         Q. But is it your testimony            22        statement.
       23    here today that the words in your report    23   BY MR. HEGARTY:
       24    were solely your own words and not taken    24        Q. But it's not common

                                                                     23 (Pages 86 to 89)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 168 of 366 PageID:
                                   75523

                                    Judith Zelikoff, Ph.D.
                                            Page 90                                          Page 92
        1    knowledge, correct, Doctor?                  1        Q. Sure. Is it your testimony
        2        A. But it's a -- it is -- there          2   that the words in your report under
        3    are more than 150 different chemicals        3   section -- under the section Fragrances
        4    added to Johnson's Baby Powder and Shower    4   are your words and your words alone from
        5    to Shower products. I reviewed the           5   no other source?
        6    expert report from Dr. Crowley that          6            MS. O'DELL: Object to the
        7    concludes that some of these chemicals       7        form.
        8    may contribute to the inflammatory           8            THE WITNESS: I don't quite
        9    response, toxicity, and potential            9        understand what you mean by no
       10    carcinogenicity. I concur with his          10        other source.
       11    opinion.                                    11            These are my words. They
       12            I say the same thing as             12        confer my opinion.
       13    Dr. Smith-Bindman.                          13   BY MR. HEGARTY:
       14        Q. Is it your testimony that            14        Q. Well, did you copy those
       15    you and Dr. Smith-Bindman came to the       15   words from some source besides
       16    exact same words just by coincidence?       16   Smith-Bindman's report?
       17            MS. O'DELL: Object to the           17        A. I did not copy words. I --
       18        form.                                   18   I don't know how this happened.
       19            THE WITNESS: We came to the         19            If I was in error, I own
       20        same conclusions.                       20   that responsibility.
       21    BY MR. HEGARTY:                             21            (Document marked for
       22        Q. That's not my question. My           22        identification as Exhibit
       23    question is, is it your testimony here      23        Zelikoff-15.)
       24    today that you and Dr. Smith-Bindman came   24   BY MR. HEGARTY:

                                            Page 91                                          Page 93
        1    to the exact -- to say the exact same        1        Q. I'm going to show you what
        2    thing under the section Fragrance simply     2   I'm next marking as Exhibit 15.
        3    by coincidence?                              3            MS. O'DELL: Is this one
        4             MS. O'DELL: Objection to            4        exhibit?
        5         form.                                   5            MR. HEGARTY: That's one
        6             THE WITNESS: I don't do             6        exhibit.
        7         anything usually by coincidence.        7   BY MR. HEGARTY:
        8    BY MR. HEGARTY:                              8        Q. Doctor, Exhibit Number 15 is
        9         Q. Okay. Is it your testimony           9   again a portion of your report, and also
       10    that the words that you wrote under the     10   attached to it is a reference from
       11    section Fragrances on Page 12 are your      11   Genetics Home Reference dated June 27,
       12    words and came from nowhere else?           12   2017. Do you see both documents?
       13         A. I don't quite understand            13        A. I do see both documents.
       14    where they could have come from because I   14        Q. We have highlighted and
       15    did not review her report.                  15   numbered in Exhibit 15 the portions from
       16         Q. Is it your testimony that           16   your report which are taken word for word
       17    the words in your report under the          17   from Genetics Home Reference without a
       18    section Fragrances are your words and       18   single reference to that authority
       19    your words alone from no other source?      19   anywhere in your report, including in the
       20             MS. O'DELL: Object to the          20   materials considered or reviewed.
       21         form.                                  21            MS. O'DELL: Objection.
       22             THE WITNESS: Could you             22   BY MR. HEGARTY:
       23         please repeat the question?            23        Q. Do you see that?
       24    BY MR. HEGARTY:                             24            MS. O'DELL: Objection to

                                                                     24 (Pages 90 to 93)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 169 of 366 PageID:
                                   75524

                                    Judith Zelikoff, Ph.D.
                                            Page 94                                          Page 96
        1         form.                                   1   your report in this case?
        2              And -- and, Doctor, take a         2       A. I may have used -- it
        3         moment to review both, because the      3   appears that I have used the same words.
        4         way this is put together is a           4           And if I did that, which it
        5         little confusing.                       5   appears that I have, then I've done it
        6              THE WITNESS: I see what            6   with the intent to get those same points
        7         you're referring to.                    7   across.
        8    BY MR. HEGARTY:                              8       Q. But you do agree that you
        9         Q. And did you copy, for                9   have included in your report a sequence
       10    purposes of your report, without citation   10   of words incorporated from another source
       11    to this authority, the words that we've     11   without quotation marks, correct?
       12    identified from this reference to Genetic   12           MS. O'DELL: Objection to
       13    Home Reference?                             13       form.
       14              MS. O'DELL: Objection to          14           THE WITNESS: I don't use --
       15         the form.                              15       I don't usually use quotation
       16              THE WITNESS: So when you          16       marks.
       17         have things like, "Inherited           17   BY MR. HEGARTY:
       18         mutations are passed down from         18       Q. Well, you have used other
       19         parent to child and are present        19   people's words without acknowledging
       20         throughout a person's life in          20   where they came from, correct?
       21         virtually in every cell of the         21           MS. O'DELL: Object to the
       22         body." Biology 101, basically,         22       form.
       23         where that came from.                  23           THE WITNESS: I could have
       24              "These mutations are called       24       used quotation marks. And if I

                                            Page 95                                          Page 97
        1         germ line mutations because             1        were to do this over, I would use
        2         they're present in the parents'         2        quotation marks.
        3         egg or sperm, a germ cell."             3   BY MR. HEGARTY:
        4             Yes, some of these sentences        4        Q. You're not telling us,
        5         appear to be the same as what is        5   Doctor, that if you prepared an article
        6         in here.                                6   for publication in a journal, that you
        7             However, again, I stand on          7   would take references from another source
        8         the fact that all of these -- all       8   like Genetic Home Reference, include them
        9         of my statements are common             9   in the article, verbatim, not use
       10         knowledge that have come from          10   quotation marks and not reference that
       11         numerous references. Although the      11   cite. Is that what you're saying?
       12         words may be the same, the             12            MS. O'DELL: Objection to
       13         thoughts are -- are said as well       13        form.
       14         as they can be said.                   14            THE WITNESS: I'm standing
       15    BY MR. HEGARTY:                             15        on my interpretation, and that is
       16         Q. Dr. Zelikoff, have you ever         16        that in a reference that I would
       17    seen this reference to Genetic Home         17        prepare in a publication, it would
       18    Reference before right now?                 18        be accepted for peer review if
       19         A. Not to my knowledge.                19        there was something that I felt
       20         Q. So is it your testimony that        20        was common knowledge, that I would
       21    you did not copy the words from Genetic     21        not reference it.
       22    Home Reference that we have highlighted     22            To your point, if I had to
       23    that correspond by number to the portions   23        do this over, I would have put
       24    in your report for purposes of preparing    24        quotation marks around this.

                                                                     25 (Pages 94 to 97)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 170 of 366 PageID:
                                   75525

                                    Judith Zelikoff, Ph.D.
                                            Page 98                                        Page 100
        1    BY MR. HEGARTY:                              1        will not -- this is the -- what
        2         Q. You would have cited to the          2        you gave me was an interpretation,
        3    authority, as well, from which that --       3        was NYU policy, an interpretation
        4    those passages were lifted, correct?         4        of that, which is not the same as
        5             MS. O'DELL: Objection to            5        mine.
        6         form.                                   6   BY MR. HEGARTY:
        7             THE WITNESS: I certainly            7        Q. Well, you do agree, though,
        8         could if that was a concern from        8   that between the -- your report, the
        9         the journal or from the reviewer,       9   portions taken from your report and the
       10         then I would definitely put in the     10   Genetic Home Reference reference are
       11         reference.                             11   identical?
       12    BY MR. HEGARTY:                             12            MS. O'DELL: Object to the
       13         Q. If a student had prepared           13        form.
       14    this, and you became aware that the         14            THE WITNESS: I agree that
       15    student had lifted portions from Genetic    15        there are sentences that are
       16    Home Reference without any citation,        16        identical. Yes.
       17    without acknowledging where it came from,   17   BY MR. HEGARTY:
       18    would that be okay with you?                18        Q. You did not acknowledge that
       19             MS. O'DELL: Objection to           19   source anywhere in your report, correct?
       20         form.                                  20        A. If you say so.
       21             THE WITNESS: There are --          21        Q. Do you think that's okay to
       22         this is a large document. And in       22   do that?
       23         order for something to be copied       23            MS. O'DELL: Objection to
       24         or, as you put it, plagiarized,        24        form.

                                            Page 99                                        Page 101
        1         there has to be a certain amount        1            THE WITNESS: If I had not
        2         or percentage of the document that      2        thought it was okay, I would not
        3         has to be the same.                     3        have done it.
        4             And this document, my               4   BY MR. HEGARTY:
        5         report, is quite large. So if a         5        Q. Would that -- would that be
        6         student prepared this, and their        6   acceptable for purposes of publishing
        7         term paper, for example, was 50         7   your report?
        8         pages, I would let them know that       8            MS. O'DELL: Objection to
        9         if prepared the next time they          9        the form.
       10         might want to put in a reference.      10            THE WITNESS: My opinion
       11             But I would have to look at        11        stands. And that is my
       12         the entire size of the document        12        interpretation of what is okay to
       13         and the percentage of it which had     13        do based on common knowledge and
       14         similar -- similar statements and      14        multiple sources, stands the same.
       15         sentences.                             15   BY MR. HEGARTY:
       16    BY MR. HEGARTY:                             16        Q. If you were to publish your
       17         Q. You do agree that under the         17   report, as it is, would you go back and
       18    policy we marked, we're talking about       18   use quotation marks and cite the
       19    what you did with regard to this Genetics   19   reference that we just looked at --
       20    Home Reference cite, meets the definition   20        A. If I had --
       21    of plagiarism?                              21        Q. -- Exhibit Number 16?
       22             MS. O'DELL: Objection to           22            MS. O'DELL: Excuse me,
       23         form.                                  23        Doctor. Just let him finish.
       24             THE WITNESS: I certainly           24            THE WITNESS: Of course.

                                                                   26 (Pages 98 to 101)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 171 of 366 PageID:
                                   75526

                                    Judith Zelikoff, Ph.D.
                                           Page 102                                        Page 104
        1         I'm sorry.                              1        increased release of ROS."
        2             MS. O'DELL: Thank you. And          2            That is a very common --
        3         just give me a moment to object.        3        commonly known point.
        4         Thank you.                              4   BY MR. HEGARTY:
        5    BY MR. HEGARTY:                              5        Q. How about Point Number 4 in
        6         Q. Did you hear my question?            6   the abstract?
        7         A. Could you repeat your                7        A. As --
        8    question, please?                            8        Q. That's -- is it your
        9         Q. Sure. If you were to                 9   testimony that Point Number 4 in the
       10    publish a report as it is, would you go     10   abstract is what you consider common
       11    back and use quotation marks and cite the   11   knowledge?
       12    reference that we just looked at in         12        A. "Activation of the
       13    Exhibit Number 16?                          13   transcription factors can lead to the
       14         A. Now that you've pointed out         14   expression of over 500 genes, including
       15    your interpretation of it, I would          15   more for growth factors." And I'm going
       16    certainly consider that.                    16   to read the entire abstract.
       17             (Document marked for               17            Actually this is a review
       18         identification as Exhibit              18   paper. And this is not a unique finding
       19         Zelikoff-16.)                          19   to this particular author.
       20    BY MR. HEGARTY:                             20            And thus "Activation of
       21         Q. Let me show you what I'm            21   transcription factors," again as I read,
       22    next marking as Exhibit Number 16.          22   is an outcome of many, many authors. And
       23             MS. O'DELL: I'll reach             23   as I said, is a review paper, not a
       24         over, instead of you throwing it.      24   unique investigator-initiated outcome.

                                           Page 103                                        Page 105
        1    BY MR. HEGARTY:                              1       Q. You keep referring to common
        2         Q. This is another portion of           2   knowledge. Who is -- who has this common
        3    your report which we've correspondingly      3   knowledge?
        4    referenced to an article by Simone           4       A. People who read scientific
        5    Reuter. And you can see where we've          5   journals.
        6    identified six different times where         6       Q. So is it your testimony that
        7    sentences have been copied verbatim from     7   someone who would read your report would
        8    this article without any quotation or any    8   understand that that is not -- those are
        9    acknowledgment of its -- of the source.      9   not your words but taken from
       10              Do you see that?                  10   somewhere -- somewhere else?
       11              MS. O'DELL: Object --             11           MS. O'DELL: Object to the
       12         excuse me. Object to the form.         12       form.
       13         Feel free to review it, the            13           THE WITNESS: It would
       14         reference or the exhibit. There        14       depend upon who is reading it.
       15         are two things paper clipped           15   BY MR. HEGARTY:
       16         together, if you need to look at       16       Q. Can you cite for me any
       17         it in more detail.                     17   publication that you have ever written
       18              THE WITNESS: Again, there         18   where you have cited another authority
       19         are sentences such as, "During         19   word for word and did not use quotation
       20         inflammation macrophages, mast         20   marks and did not reference that
       21         cells, and neutrophils were            21   authority?
       22         recruited at the site of damage,       22       A. Not off the top of my head.
       23         leads to a respiratory burst and       23       Q. But you did do that in your
       24         increased uptake of oxygen, and an     24   expert report in this case, correct?


                                                                  27 (Pages 102 to 105)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 172 of 366 PageID:
                                   75527

                                   Judith Zelikoff, Ph.D.
                                          Page 106                                         Page 108
        1            MS. O'DELL: Object to the           1            MS. O'DELL: Object to the
        2        form.                                   2        form.
        3            THE WITNESS: It appears             3            THE WITNESS: Yes, I see
        4        from what you're showing me, that       4        what you're saying.
        5        in my interpretation of common          5   BY MR. HEGARTY:
        6        knowledge and multiple -- multiple      6        Q. And nowhere in your report
        7        investigators, I have done that,        7   do you give acknowledgment to
        8        yes.                                    8   EnvironmentalChemistry.com as a source of
        9            (Document marked for                9   the information that you copied, correct?
       10        identification as Exhibit              10            MS. O'DELL: Object to the
       11        Zelikoff-17.)                          11        form.
       12    BY MR. HEGARTY:                            12            THE WITNESS: I do say the
       13        Q. I'm going to mark next              13        U.S. EPA defines asbestos by
       14    Exhibit Number 17, another portion of      14        limiting the term to six specific
       15    your report where you, again, take         15        fibrous minerals from two distinct
       16    sentences from a publication called        16        groups. And I go on from there.
       17    EnvironmentalChemistry.com.                17        That is a referral to the U.S.
       18            You cite them word for word        18        EPA.
       19    in your report and you make no reference   19   BY MR. HEGARTY:
       20    anywhere in your report to this            20        Q. Doctor, nowhere in your
       21    authority.                                 21   report, in those notebooks or anywhere do
       22        A. I said --                           22   you cite to EnvironmentalChemistry.com,
       23            MS. O'DELL: Excuse me.             23   do you?
       24        Excuse Me, Doctor. Excuse me.          24            MS. O'DELL: Object. Object

                                          Page 107                                         Page 109
        1             MR. HEGARTY: I'm not               1        to the form.
        2         finished with my question.             2            THE WITNESS: Not to my
        3             MS. O'DELL: I thought you          3        knowledge.
        4         were finished with your question.      4        EnvironmentalChemistry.com, I
        5             MR. HEGARTY: Because I just        5        don't even recall reviewing it.
        6         made a statement.                      6   BY MR. HEGARTY:
        7             MS. O'DELL: Well, I object         7        Q. But don't you agree that you
        8         to the statement. You ask your         8   would have had to review it based on the
        9         question, and I'll probably object     9   fact that there are identical sentences
       10         to that.                              10   taken from -- that are identical
       11             But give me a chance, the         11   sentences, in Environmental Chemistry and
       12         two of you, please.                   12   in your report?
       13    BY MR. HEGARTY:                            13            MS. O'DELL: Object to the
       14         Q. Let me -- Doctor, this --          14        form.
       15    the reference that we have here in the     15            THE WITNESS: This -- again,
       16    Exhibit Number 17 is to a website called   16        this information is common
       17    EnvironmentalChemistry.com. Did you        17        knowledge. This is not a creation
       18    review this website in preparing your      18        of EnvironmentalChemistry.com.
       19    report?                                    19        They are not an individual
       20         A. I don't recall.                    20        investigator finding this data.
       21         Q. Do you see where we make           21        They are reporting this data on
       22    reference to five different places where   22        the internet for people's review.
       23    you copied word for word from              23   BY MR. HEGARTY:
       24    EnvironmentalChemistry.com?                24        Q. Is

                                                                 28 (Pages 106 to 109)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 173 of 366 PageID:
                                   75528

                                  Judith Zelikoff, Ph.D.
                                        Page 110                                         Page 112
        1    EnvironmentalChemistry.com a reliable     1   published methodology which says that
        2    authority?                                2   your interpretation of what you are to
        3             MS. O'DELL: Object to the        3   quote and what you are to cite in an
        4        form.                                 4   article is an accepted methodology in
        5             THE WITNESS: I have no           5   publishing scientific literature?
        6        idea -- sorry.                        6        A. It's my professional opinion
        7             MS. O'DELL: Go ahead.            7   after 30 years of work.
        8             THE WITNESS: I have no idea      8        Q. Well, can you cite for me
        9        of the impact factor or the           9   any published authority that says your
       10        reliability of this. However, in     10   definition of what you are to cite and
       11        talking about this, and saying the   11   what you are to reference is the
       12        things that I -- that you have       12   definition that's applicable to medical
       13        said I have used identically,        13   literature?
       14        which appear to be the case --       14             MS. O'DELL: Objection to
       15        "while amphibole and serpentine      15        form.
       16        asbestos may have fibrous habits,    16             THE WITNESS: I have never
       17        they have very different forms.      17        been accused or cited by any
       18        Amphibole are double-chain           18        publication in any of my 135
       19        silicates."                          19        papers or my over 30 book chapters
       20             This is known in the            20        of having anything that was of a
       21        asbestos -- in the asbestos          21        dubious nature, ever.
       22        literature. And the basic            22   BY MR. HEGARTY:
       23        structural unit is silicone oxide.   23        Q. That's not my question. My
       24        This is not Environmental            24   question was can you cite for me any

                                        Page 111                                         Page 113
        1       Chemistry's individual                 1   written authority that says that in
        2       investigator initiated.                2   publishing medical literature, if you're
        3            I think you may be confusing      3   citing what you call general knowledge
        4       an individual paper where an           4   word for word from another source, you
        5       investigator sits down in the          5   don't have to quote it and you do not
        6       laboratory and works out or comes      6   have to give it any reference.
        7       up with a fact and that it's his.      7         A. Just my professional opinion
        8       As opposed to data that's just out     8   of 30 years of work.
        9       there in the internet, out there       9         Q. Okay. And in a -- and
       10       in the world, out there in book       10   you've never done that in any medical
       11       chapters, out there everywhere,       11   article you -- any article you have
       12       that people know.                     12   published, correct?
       13            This is not an investigator      13         A. I cannot -- I cannot speak
       14       initiated, whether it's               14   to all.
       15       EnvironmentalChemistry.com.           15         Q. Well, if you were to write a
       16            So I will -- I will say to       16   medical article -- a scientific article
       17       you that in many cases, I did use     17   today, and you were to quote something
       18       the same sentence. Certainly          18   from -- take something word for word from
       19       EnvironmentalChemistry.com is not     19   EnvironmentalChemistry.com, is it your
       20       an investigator-initiated point of    20   testimony you wouldn't give any reference
       21       reference. It's just facts that       21   to it or wouldn't use quotation marks?
       22       are supported by other experts.       22            MS. O'DELL: Object to the
       23    BY MR. HEGARTY:                          23         form.
       24       Q. Can you cite for me any            24            THE WITNESS: I -- I stand

                                                              29 (Pages 110 to 113)
                Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 174 of 366 PageID:
                                   75529

                                    Judith Zelikoff, Ph.D.
                                           Page 114                                       Page 116
        1          on the opinion that I have, that       1   that you have copied verbatim from that
        2          it would be common knowledge.          2   publication without giving any
        3    BY MR. HEGARTY:                              3   acknowledgment to Dr. Rakoff-Nahoum or
        4          Q. That's not my question. My          4   use any quotation marks. Do you see
        5    question is if you were to write an          5   that?
        6    article today and you were to cite           6            MS. O'DELL: Object to the
        7    Environmental.com word for word, is it       7        form.
        8    your testimony you would not quote           8            THE WITNESS: So on Page 124
        9    that -- those words or give any reference    9        of the review by Seth
       10    or acknowledgment to environmental --       10        Rakoff-Nahoum -- Nahoum, if you
       11    to --                                       11        look on -- under cancer and
       12          A. EnvironmentalChemistry.com.        12        inflammation, and one of the
       13          Q. EnvironmentalChemistry.com?        13        points that you make here -- and
       14              MS. O'DELL: Object to the         14        by the way, this is a review
       15          form.                                 15        paper, again not an independent
       16              THE WITNESS: I would do the       16        investigator-initiated data from
       17          same thing I've done for this         17        the laboratory -- "Epidemiological
       18          report.                               18        evidence points to a connection
       19    BY MR. HEGARTY:                             19        between inflammation and" -- "and
       20          Q. Okay. And is that true for         20        predisposition for the development
       21    every resource that we've looked at so      21        of cancer, i.e., long-term
       22    far? You would -- if you were to write a    22        inflammation leads to the
       23    scientific journal today, you would --      23        development of dysplasia," there's
       24    and quoted from all those resources, you    24        no reference there.

                                           Page 115                                       Page 117
        1    would not use quotation marks and you        1            So this author also,
        2    would not give any acknowledgment in         2        Dr. Rakoff-Nahoum -- sorry, I'm
        3    any -- if you were to write a scientific     3        murdering his name -- also gives
        4    article today?                               4        no reference to that.
        5              MS. O'DELL: Object to form.        5            Again, in this case, using
        6         Misstates her testimony.                6        my analogy of something that has
        7              THE WITNESS: I -- I did say        7        been gathered by numerous other
        8         that there are certain cases that       8        investigators and is common
        9         if I had to do it over and based        9        knowledge to the -- to the
       10         upon your rigorous opinion of          10        scientific population, he did also
       11         this, that I would place quotation     11        not use a reference. And I did
       12         marks or add a reference, yes.         12        not use a reference.
       13              (Document marked for              13   BY MR. HEGARTY:
       14         identification as Exhibit              14        Q. But if -- but if you look at
       15         Zelikoff-18.)                          15   his -- the last reference, Number 4, he
       16    BY MR. HEGARTY:                             16   does acknowledge a resource for all of
       17         Q. I'm going to show you what          17   those statements, Resource 20 in the
       18    I'm next marking as Exhibit 18.             18   publication, correct?
       19              This is another portion of        19            MS. O'DELL: Objection.
       20    your report. In addition to that            20            Could you provide, if you're
       21    exhibit -- or with that exhibit is a        21        going to use this exhibit, provide
       22    reference to a publication by               22        the full manuscript that
       23    Rakoff-Nahoum, where you again made         23        identifies Resource 20.
       24    references to four different sentences      24            (Document marked for

                                                                 30 (Pages 114 to 117)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 175 of 366 PageID:
                                   75530

                                    Judith Zelikoff, Ph.D.
                                           Page 118                                        Page 120
        1         identification as Exhibit               1   publication by OSHA for purposes of your
        2         Zelikoff-20.)                           2   report. Do you see that?
        3    BY MR. HEGARTY:                              3            MS. O'DELL: Objection to
        4         Q. I'll mark as 20, the                 4       form.
        5    entirety of the Rakoff-Nahoum article,       5            THE WITNESS: I do see what
        6    which does include 20, which is a            6       you're pointing to. I also will
        7    reference to Hussain, "Radical Causes of     7       tell you that Point 1 that you
        8    Cancer."                                     8       point out in the OSHA United
        9         A. Citation 20 in Exhibit 20 is         9       States Department of Labor, on
       10    also a review paper, and none of these      10       hexavalent chromium, which is off
       11    references are going back to the            11       the internet, adverse health
       12    independent investigator who actually       12       effects associated, yes, I used
       13    said this.                                  13       adverse health -- health effects
       14              So these are reviewed in.         14       other than cancer, and then I had
       15    Again, standing by my opinion that          15       these different words.
       16    oftentimes in review articles which --      16            I'm just explaining what I
       17    in -- in review articles, they often take   17       see.
       18    the liberty, as seen in your first point,   18            With chromium-6, hexavalent
       19    that you do not use a reference.            19       chromium exposure include
       20              Now, I would have to read         20       occupational asthma, eye
       21    Reference 20 in order to see whether        21       irritation and damage, perforated
       22    that, in fact, reviews Points 2, 3 and 4    22       ear drums, et cetera, et cetera.
       23    in your "Why Cancer and Inflammation"       23       This can be found in numerous,
       24    paper.                                      24       numerous references. This again

                                           Page 119                                        Page 121
        1             I do not know that                  1       is common knowledge for anyone
        2    Reference 20 actually reviews all of         2       doing chromium -- chromium
        3    these points and are the reference.          3       studies.
        4             Also, many of these                 4           Again, did I use the same
        5    points -- and again, another review          5       words? In many cases, I did here.
        6    paper.                                       6           "Can also develop an
        7             Many of these points, the           7       allergic skin reaction called
        8    chronic inflammatory states associated       8       allergic contact dermatitis." I'm
        9    with infection, irritation, may lead to      9       not quite sure how else you can
       10    environments that foster genomic lesions    10       say that, that phrase.
       11    in tumor initiation, no reference there.    11           So I still feel confident in
       12             One effect and mechanism, et       12       what I did was based upon my
       13    cetera, et cetera. Hydroxyl radicals,       13       professional judgment.
       14    reactive oxygen species, no reference       14           (Document marked for
       15    there. No quotation marks.                  15       identification as Exhibit
       16             So I don't know whether he,        16       Zelikoff-21.)
       17    in fact, uses the same logic that I did.    17   BY MR. HEGARTY:
       18             (Document marked for               18       Q. Okay. I'll show you what I
       19         identification as Exhibit              19   next marked as Exhibit 21. Exhibit 21 is
       20         Zelikoff-19.)                          20   again a portion of your report where we
       21    BY MR. HEGARTY:                             21   have identified statements that are taken
       22         Q. I'm going to show you               22   verbatim without acknowledgment from the
       23    Exhibit 19. This is another reference       23   publication attached thereto by Kasprzak.
       24    where you copied portions of a              24       A. Kasprzak. I'm sorry, sir.

                                                                 31 (Pages 118 to 121)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 176 of 366 PageID:
                                   75531

                                    Judith Zelikoff, Ph.D.
                                          Page 122                                       Page 124
        1             MS. O'DELL: Did you finish          1      risks are primarily related to
        2         your question?                          2      exposure to soluble nickel
        3    BY MR. HEGARTY:                              3      concentrations," et cetera, et
        4         Q. No. Do you see where I'm             4      cetera.
        5    talk -- do you see where I'm referencing?    5           But in many cases throughout
        6             MS. O'DELL: Object to form.         6      this reference, I can also -- it
        7             THE WITNESS: I --                   7      being a review paper, I can also
        8             MS. O'DELL: Take a moment           8      tell you there's epidemiological
        9         if you need to, Doctor.                 9      evidence on possible cancer risk
       10             THE WITNESS: So what I see         10      from general environment and
       11         in the abstract of a paper, a          11      dietary nickel exposures not cited
       12         review paper called Nickel             12      as a reference, not quoted.
       13         Carcinogenesis by Kasprzak and         13   BY MR. HEGARTY:
       14         Sunderman and Konstantine              14      Q. Are you finished?
       15         Salnikow, you say -- you're            15      A. I am, thank you.
       16         pointing to, "The exact mechanisms     16           THE WITNESS: Excuse me.
       17         of nickel-induced carcinogenesis       17      May I just point out that it's
       18         are not known and have been            18      getting even colder in here and
       19         subject of numerous                    19      I'm a bit uncomfortable.
       20         epidemiological and experimental       20           (Whereupon, a discussion was
       21         investigations."                       21      held off the record.)
       22             That is not -- that -- okay.       22           THE WITNESS: May I go get
       23         And what's in my paper is, "The        23      my scarf?
       24         exact mechanisms of nickel-induced     24           MR. HEGARTY: Off the

                                          Page 123                                       Page 125
        1        cainogenesis are not known but           1      record.
        2        likely involve genetic and               2          THE VIDEOGRAPHER: The time
        3        epigenetic routes."                      3      is 11:11 a m. Off the record.
        4             That's not the same as this         4          (Short break.)
        5        sentence. It has portions of the         5          THE VIDEOGRAPHER: The time
        6        same, but not the entire sentence        6      is 11:23 a m. Back on record.
        7        is the same.                             7          (Documents marked for
        8             "Are likely to evolve               8      identification as Exhibits
        9        genetic and epigenetic routes."          9      Zelikoff-25 through 32.)
       10        Not quite sure how else you would       10          MR. HEGARTY: We're back on
       11        say this.                               11      the record. I'm going to mark --
       12             And this again is a review         12      I've marked as Exhibits 25 through
       13        paper. And going through it, here       13      32, other examples taken from
       14        I can cite a sentence.                  14      Dr. Zelikoff's report where --
       15        "Occupational exposure to nickel        15      along with the references to which
       16        occurs predominately in mining,         16      they were taken. And I'm just
       17        refining, alloy production,             17      going to mark those for purposes
       18        electroplating, and welding."           18      of the deposition as those
       19        This is in the review by Kasprzak.      19      exhibits.
       20        There's no reference there either.      20          MS. O'DELL: What's the
       21             In this sentence, "In 1990         21      exhibit number?
       22        the International Committee on          22          MR. HEGARTY: Exhibits 25
       23        Nickel Carcinogenesis in Man            23      through 32, and I did skip over
       24        suggested that respiratory cancer       24      through 22 through 24, but I'll

                                                                32 (Pages 122 to 125)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 177 of 366 PageID:
                                   75532

                                    Judith Zelikoff, Ph.D.
                                           Page 126                                         Page 128
        1        come back to it. So we did get           1        A. That was my -- that was --
        2        kind of out of order in the way I        2   the request was to assess biological
        3        marked those.                            3   plausibility.
        4             MS. O'DELL: So plaintiff            4        Q. You say in that portion that
        5        objects to the Exhibit 25 through        5   we just reviewed that -- you say for the
        6        32 being added to the record.            6   increased risk of ovarian cancer with
        7        There's no testimony from                7   talc use. Did you assume for purposes of
        8        Dr. Zelikoff. So any assertion           8   your report that there is, in fact, an
        9        that counsel has made that those         9   increased risk of ovarian cancer with
       10        are relevant, we would object           10   talc use?
       11        and -- and oppose their being           11        A. I'm sorry, sir, can you tell
       12        included.                               12   me exactly which paragraph?
       13    BY MR. HEGARTY:                             13        Q. In the first paragraph under
       14        Q. Doctor, if you would look at         14   the section Mandate and Methodology, you
       15    your report which is Exhibit Number 2.      15   say "assess whether there is biologic
       16        A. Yes, sir.                            16   plausibility" -- "biologically plausible
       17        Q. On Page 2 of your report,            17   explanation for the increased risk of
       18    under the section Mandate and               18   ovarian cancer with the perineal use of
       19    Methodology?                                19   talcum powder products."
       20        A. Yes, sir, I see it.                  20            Do you see that? See where
       21        Q. You say your mandate was to          21   I'm reading?
       22    look at the scientific literature and       22        A. I am sorry, sir, I do not.
       23    assess whether there is biologic            23        Q. First paragraph under
       24    plausibility for talc to cause ovarian      24   page -- on Page 2 under mandate and

                                           Page 127                                         Page 129
        1    cancer from perineal use; is that            1   methodology.
        2    correct?                                     2        A. Is that the notion of
        3             MR. GOLOMB: I'm sorry.              3   biological plausibility paragraph, or are
        4    What page are you on?                        4   you --
        5             MR. HEGARTY: Page 2.                5        Q. It's the first paragraph
        6             THE WITNESS: Are you done?          6   under the section Mandate and
        7    BY MR. HEGARTY:                              7   Methodology.
        8         Q. Yes.                                 8        A. Well, sir, there are two,
        9         A. My mandate was to review the         9   two paragraphs. One says mandate. I was
       10    scientific literature and assess whether    10   asked to review the scientific
       11    there was biological plausible              11   literature. Then there is another
       12    explanation for the increased risk of       12   paragraph that says the notion of
       13    ovarian cancer with perineal use of         13   biological plausibility is
       14    talcum powder products, yes, that is        14   multifactorial.
       15    correct.                                    15        Q. Doctor, if you'd listen to
       16         Q. Who gave you that mandate?          16   my question. I said the first paragraph
       17         A. That was the plaintiff              17   under mandate and methodology. Do you
       18    attorney, Ms. Emory [sic] and Ms. O'Dell.   18   understand that?
       19         Q. You say --                          19        A. I do not -- I do not see it
       20         A. They -- I -- but let me add         20   and you can --
       21    they -- when you say gave me that           21        Q. You don't see the first
       22    mandate, can you explain what you mean by   22   paragraph that begins mandate?
       23    gave me that mandate?                       23        A. I just read that to you,
       24         Q. Well, from --                       24   sir.

                                                                 33 (Pages 126 to 129)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 178 of 366 PageID:
                                   75533

                                    Judith Zelikoff, Ph.D.
                                           Page 130                                         Page 132
        1         Q. And -- and you understand            1        Q. What graduate students
        2    that's the first paragraph of -- under       2   assisted you?
        3    the section Mandate and Methodology?         3        A. Are you asking me for their
        4         A. Under mandate it says, "I            4   names?
        5    was asked to review the scientific           5        Q. Yes.
        6    literature and assess whether there is       6        A. Nick Lawrence who was a
        7    biological plausible explanation for the     7   master student. And Catherine Fecchi who
        8    increased risk of ovarian cancer and the     8   was my master student. Both of them have
        9    perineal use of talcum powder products."     9   which graduated.
       10         Q. And for purposes of your            10        Q. Did you bill plaintiffs'
       11    mandate, did you assume that there was,     11   counsel for their time?
       12    in fact, an increased risk of ovarian       12        A. I paid them out of my
       13    cancer with the perineal use of talcum      13   pocket.
       14    powder?                                     14        Q. And how much did you pay
       15         A. I made no assumptions.              15   them per hour?
       16         Q. Did you individually assess         16        A. $25 per hour.
       17    whether there is an increased risk of       17        Q. Do you describe -- strike
       18    ovarian cancer with the perineal use of     18   that.
       19    talcum powder products?                     19            Anyone else assist you with
       20         A. Could you please slow down?         20   your literature search?
       21    You are asking the question very quickly.   21        A. I'm sorry, anyone else?
       22         Q. Okay. Did you                       22        Q. Assist you in your
       23    individually -- did you do an analysis of   23   independent comprehensive literature
       24    whether there's an increased risk of        24   review.

                                           Page 131                                         Page 133
        1    ovarian cancer with perineal use of          1        A. No, sir.
        2    talcum powder products?                      2        Q. So doing the searches was
        3         A. No. As you can see by the            3   part of your methodology for preparing
        4    mandate I was asked to assess the            4   your report, correct?
        5    biological plausibility. I did no            5        A. Doing the searches were my
        6    analysis of causation.                       6   initial, my initial, yes.
        7         Q. You did no analysis of               7        Q. Did you prepare in advance a
        8    whether there is, in fact, an increased      8   written protocol on how you were going to
        9    risk of ovarian cancer with the perineal     9   do the searches?
       10    use of talcum powder products?              10        A. I followed the same protocol
       11         A. I did no analysis of                11   that I used for papers, publications,
       12    causation. I'm not an epidemiologist.       12   advisory boards, grant -- grant reviews
       13         Q. You also discuss in the             13   and grants that I write.
       14    third paragraph, which begins "I            14        Q. That's not my question. My
       15    performed an independent comprehensive      15   question is, did you prepare a written
       16    literature review."                         16   protocol as far as how you were going to
       17         A. I see that, yes. Thank you.         17   do the literature review for purposes of
       18         Q. That you did do a literature        18   your report?
       19    search, correct?                            19        A. I did not do a written
       20         A. I did do a literature               20   outline as to how to do this. I've been
       21    search, correct.                            21   doing this for over 35 years.
       22         Q. Did you do this yourself?           22        Q. You agree that it was part
       23         A. I did do this myself along          23   of your methodology is -- for your
       24    with several graduate students.             24   literature search, to find and review all

                                                                 34 (Pages 130 to 133)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 179 of 366 PageID:
                                   75534

                                    Judith Zelikoff, Ph.D.
                                           Page 134                                         Page 136
        1    literature that touch on talc and its        1        reviewed all of the literature out
        2    biologic effects, correct?                   2        there. I have no way of knowing
        3              MS. O'DELL: Object to the          3        that I reviewed or have not.
        4         form.                                   4            I gathered the literature in
        5              THE WITNESS: My purpose was        5        a systematic fashion and I
        6         to examine the literature, assess       6        reviewed that literature.
        7         the literature, first identify the      7   BY MR. HEGARTY:
        8         literature that I felt was --           8        Q. Did you read every paper
        9         well, all -- all the literature         9   that you found from your literature
       10         that I could find or that the          10   search?
       11         students could find, and from me       11        A. Only those that were
       12         to review them in terms of             12   relevant. I read the abstracts to
       13         relevancy and pertinence to the        13   determine whether it was in fact related
       14         question that I was being asked.       14   to the question that I was being asked.
       15    BY MR. HEGARTY:                             15            When you do a literature
       16         Q. Did you do any testing of           16   search, you come up with things that are
       17    your methodology of doing searches to       17   related and some that are not related at
       18    ensure that you had captured all the        18   all.
       19    relevant literature?                        19        Q. Does your report anywhere
       20              MS. O'DELL: Object to the         20   describe or include a description of how
       21         form.                                  21   you weighed the various authorities that
       22              THE WITNESS: What do you          22   you reviewed?
       23         mean by testing?                       23        A. My report talks about under
       24    BY MR. HEGARTY:                             24   mandate and methodology how I -- the last

                                           Page 135                                         Page 137
        1         Q. Well, I don't know. Did you          1   paragraph, and that begins more than 300
        2    do any tests, having someone else do         2   publications, will -- talks about how
        3    searches, repeating the searches, to see     3   I -- how I looked at the publications and
        4    if your original searches captured all of    4   how I decided how to cut down or dismiss
        5    the relevant literature?                     5   certain papers based on a closer
        6         A. We did several searches              6   scrutiny. And I focused specifically for
        7    doing -- using different words and           7   biological plausibility and being a
        8    different aspects, so that we could -- we    8   toxicologist on in vitro, in vivo, and ex
        9    got numerous duplicates because we came      9   vivo studies as well as cell studies,
       10    in with different words, and key --         10   animal studies, and tissues.
       11    keywords and key phrases.                   11        Q. Did you assign any numerical
       12         Q. You do agree that it would          12   value to each authority as they relate to
       13    be necessary for a proper methodology to    13   the importance to you?
       14    reach opinions about biologic               14        A. I did not assign any
       15    plausibility, that you have reviewed all    15   numerical value. There was no
       16    the pertinent literature, correct?          16   quantitative measurement done.
       17              MS. O'DELL: Object to the         17         Q. Was it also part of your
       18         form.                                  18   methodology to review all expert reports
       19              THE WITNESS: To my                19   in the litigation that concerned biologic
       20         knowledge I reviewed the               20   plausibility?
       21         literature that was pertinent to       21             MS. O'DELL: Object to the
       22         the question that I was being          22         form.
       23         asked.                                 23             THE WITNESS: Can you ask me
       24              I am not stating that I           24        that again, please.

                                                                 35 (Pages 134 to 137)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 180 of 366 PageID:
                                   75535

                                    Judith Zelikoff, Ph.D.
                                           Page 138                                         Page 140
        1    BY MR. HEGARTY:                              1             THE WITNESS: To my
        2         Q. Sure. Was it part of your            2         knowledge, I have no knowledge as
        3    methodology to review all expert reports     3         to how they selected the reports
        4    in the litigation concerning biologic        4         or which reports they selected to
        5    plausibility?                                5         send.
        6         A. I -- I looked at reports             6   BY MR. HEGARTY:
        7    that had relevancy in terms of animal        7         Q. You didn't have -- get a
        8    models, in vitro cultures or ex vivo         8   list of all expert reports and decide
        9    studies, yes. My opinion was formed          9   which ones you wanted, correct?
       10    primarily by the publications and the       10             MS. O'DELL: Object to the
       11    science that I reviewed.                    11         form.
       12         Q. Was it part of your                 12             THE WITNESS: I -- no. I
       13    methodology for purposes of your opinions   13         did not get a list of an entirety.
       14    to review the expert witness reports from   14   BY MR. HEGARTY:
       15    the litigation that touch on biologic       15         Q. Do you know plaintiffs'
       16    plausibility?                               16   counsel methodology for purposes of
       17              MS. O'DELL: Object to the         17   selecting the reports to provide to you?
       18         form. Asked and answered.              18         A. I do not know their
       19              THE WITNESS: I reviewed the       19   methodology, but I would guess since
       20         publications and the book chapters     20   papers were supplied to me that had both
       21         and information that I thought         21   opinions and conclusions that led to
       22         would go towards my -- my opinion.     22   either positive associations or lack of
       23    BY MR. HEGARTY:                             23   positive or data from scientific in vivo
       24         Q. Your expert report, as we           24   studies, et cetera, that showed effects

                                           Page 139                                         Page 141
        1    have looked at, includes references to       1   and no effects, I would assume that I got
        2    several other experts' reports, correct?     2   all the literature both -- from both
        3    We looked at that earlier.                   3   perceptions.
        4         A. If you say so, yes.                  4        Q. Can you identify any medical
        5         Q. Did you select those expert          5   literature that you had reviewed prior to
        6    reports for purposes of your review?         6   being contacted by Ms. Emmel?
        7              MS. O'DELL: Object to the          7        A. Medical literature on?
        8         form.                                   8        Q. Let me finish my question.
        9              THE WITNESS: I formed my           9        A. I'm sorry.
       10         opinion with contributions from        10        Q. Can you identify any
       11         some of the reports that I had.        11   scientific or medical literature that you
       12         But it was primarily based upon        12   reviewed before being contacted by
       13         literature reviews.                    13   Ms. Emmel concerning talc and ovarian
       14    BY MR. HEGARTY:                             14   cancer?
       15         Q. The reports that you had            15        A. There is no literature that
       16    were provided to you by plaintiffs'         16   I reviewed prior to me being contacted by
       17    counsel, correct?                           17   Ms. Emmel.
       18         A. Reports that I received was         18        Q. Also in Exhibit B --
       19    supplied to me by plaintiffs' counsel.      19        A. B as in boy?
       20         Q. They selected the reports           20        Q. -- boy -- to your report.
       21    that they were going to provide to you,     21   There is a listing of produced documents
       22    correct?                                    22   by Bates number.
       23              MS. O'DELL: Object to the         23        A. Correct. I see it,
       24         form.                                  24   "materials and data considered."

                                                                 36 (Pages 138 to 141)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 181 of 366 PageID:
                                   75536

                                    Judith Zelikoff, Ph.D.
                                          Page 142                                         Page 144
        1         Q. Did the plaintiffs' counsel         1   section "produced documents"?
        2    provide you with copies of those            2        A. I reviewed all of the
        3    documents?                                  3   documents that are in the binder listed
        4         A. I have not gone through             4   as production documents. I did not check
        5    every paper in those multiple binders. I    5   one for another, so I cannot say I did
        6    would assume that many of them are in       6   all of these --
        7    there.                                      7        Q. Did you receive --
        8         Q. That's not my question,             8        A. -- or they did not.
        9    Doctor. My question was, were those         9        Q. I'm sorry. Did you receive
       10    documents provided to you by counsel for   10   from counsel from plaintiffs all the
       11    plaintiffs?                                11   documents that have been produced in this
       12             MS. O'DELL: What documents        12   litigation that concerned biologic
       13         are you referring to?                 13   plausibility?
       14             MR. HEGARTY: The documents        14            MS. O'DELL: Object to the
       15         that are listed by Bates number in    15         form.
       16         Exhibit B.                            16            THE WITNESS: I have no
       17             THE WITNESS: Oh, you're           17        knowledge of whether I received
       18         talking about produced documents?     18        every single document there is out
       19    BY MR. HEGARTY:                            19        there.
       20         Q. Yes.                               20   BY MR. HEGARTY:
       21         A. Repeat your question,              21        Q. Did you ask for -- did you
       22    please.                                    22   ask counsel for plaintiffs to provide you
       23         Q. Sure. Were the documents           23   all the documents that have been produced
       24    listed by Bates number under produced      24   in this case concerning biologic

                                          Page 143                                         Page 145
        1    documents provided to you by counsel for    1   plausibility?
        2    plaintiffs?                                 2             MS. O'DELL: Object to the
        3         A. Produced documents were             3        form.
        4    supplied to me in the folder that is        4             THE WITNESS: Did not ask it
        5    listed, production documents.               5        in that manner.
        6         Q. Did you ask for those               6            I did ask for in vitro
        7    specific documents?                         7        studies that they could find, ex
        8         A. I did not.                          8        vivo studies, and I also did my
        9         Q. Do you know what the                9        own literature search. Yes.
       10    methodology was for selecting those        10   BY MR. HEGARTY:
       11    specific documents to send to you?         11        Q. Were you -- did you
       12         A. I do not.                          12   understand that -- or do you understand
       13             MS. O'DELL: Object to the         13   that you've been provided with all the
       14         form.                                 14   produced documents that concern biologic
       15             THE WITNESS: Sorry.               15   plausibility?
       16    BY MR. HEGARTY:                            16             MS. O'DELL: Object to form.
       17         Q. Did you ask for any                17            THE WITNESS: I have no
       18    additional documents that would fall       18        knowledge of whether I received
       19    under the definition of produced           19        all documents.
       20    documents besides those plaintiffs'        20   BY MR. HEGARTY:
       21    counsel provided to you?                   21        Q. With regard to the produced
       22         A. Not to my knowledge.               22   documents, did you sign a protective
       23         Q. Did you review all the             23   order before reviewing those documents?
       24    documents that are listed under the        24        A. Regarding these produced

                                                                37 (Pages 142 to 145)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 182 of 366 PageID:
                                   75537

                                   Judith Zelikoff, Ph.D.
                                         Page 146                                        Page 148
        1    documents --                              1        experiments that I'm aware of that
        2        Q. Yes.                               2        were done that I have knowledge
        3        A. -- did I sign a protective         3        of? No I have no knowledge of any
        4    order?                                    4        laboratory testing or experimental
        5        Q. Yes.                               5        testing in this field.
        6            MS. O'DELL: Object to the         6   BY MR. HEGARTY:
        7        form. It's a confidentiality          7        Q. You did not do any testing
        8        order in this litigation. You may     8   yourself for purposes of developing your
        9        not be aware of it.                   9   opinions in this case, correct?
       10            MR. HEGARTY: Okay, well,         10        A. I did not do any laboratory
       11        confidentiality order.               11   tests.
       12            MS. O'DELL: Just so it's         12        Q. All the opinions that are
       13        not unclear to the witness.          13   set out in your report about biologic
       14    BY MR. HEGARTY:                          14   plausibility between talc and ovarian
       15        Q. Did you sign a                    15   cancer were formed after being contacted
       16    confidentiality order before reviewing   16   by counsel for plaintiffs about
       17    the Bates-stamped documents?             17   testifying as an expert in this case,
       18        A. I signed a confidentiality        18   correct?
       19    agreement early on.                      19             MS. O'DELL: Objection to
       20        Q. Do you rely on any tests for      20        form.
       21    purposes of your opinions that are not   21             THE WITNESS: After being
       22    reported in the medical literature?      22        contacted by the plaintiffs I did
       23        A. Again --                          23        a literature search and followed
       24            MS. O'DELL: Object to the        24        the science.

                                         Page 147                                        Page 149
        1         form.                                1   BY MR. HEGARTY:
        2             THE WITNESS: Please              2        Q. That's not my question,
        3         describe "tests."                    3   Doctor.
        4    BY MR. HEGARTY:                           4            My question is, all the
        5         Q. Well, did you rely on any         5   opinions set out in your report about
        6    testing or tests for purposes of your     6   biologic plausibility as they relate to
        7    opinions that are not contained in the    7   talc and ovarian cancer were formed after
        8    medical literature --                     8   being contacted by counsel for
        9             MS. O'DELL: Objection to         9   plaintiffs, correct?
       10         form.                               10        A. That is correct.
       11    BY MR. HEGARTY:                          11        Q. Can you cite for us any
       12         Q. -- that we wouldn't have         12   occasion where you've done the exact same
       13    access to but that you did?              13   thing that you have done here to prepare
       14             MS. O'DELL: Object to the       14   your report; that is, do an analysis of
       15         form. Besides those produced in     15   the literature on the biologic
       16         the litigation?                     16   plausibility between the exposure to a
       17             MR. HEGARTY: Yeah, that         17   substance and a disease?
       18         goes without saying.                18        A. Nothing has been done
       19             MS. O'DELL: It doesn't go       19   exactly like it's been here, but for
       20         without saying. It's an unfair      20   advisory boards that I've been on,
       21         question.                           21   including the National Toxicology Board,
       22             THE WITNESS: So if I            22   the Institute of Medicine, the Institute
       23         understand your question to mean    23   of Engineering for the National Academies
       24         are there any laboratory            24   of Science, we have -- we were requested

                                                              38 (Pages 146 to 149)
                Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 183 of 366 PageID:
                                   75538

                                    Judith Zelikoff, Ph.D.
                                           Page 150                                         Page 152
        1    to do literature reviews on the question     1   the words "biological feasibility" or
        2    that's in front of them and come up with     2   "potential mechanisms" or "plausible" --
        3    an opinion based upon our literature         3   I may have used the word "plausibility,"
        4    reviews.                                     4   but I have used words that are similar to
        5          Q. Have you ever published an          5   those.
        6    article in the medical literature where      6        Q. Doctor, when did you first
        7    you've done the same thing that you've       7   become aware of an alleged link between
        8    done here, which is to review all the        8   ovarian cancer and talc use?
        9    literature on a substance and a disease      9             MS. O'DELL: Object to the
       10    and offer opinions as to whether there's    10        form.
       11    biologic plausibility between that          11             THE WITNESS: When did I
       12    substance and a disease?                    12        first become aware of the alleged
       13          A. I have written reviews that        13        link between ovarian cancer and
       14    are a culmination of all of the             14        talc use? From -- from the media.
       15    literature that I reviewed on topics.       15        I would say maybe a year prior to
       16    Never one on ovarian cancer and talc.       16        being contacted by Ms. Emmel.
       17              And to my knowledge, I have       17   BY MR. HEGARTY:
       18    not offered an opinion, but followed a      18        Q. Can you cite for me any
       19    conclusion from the science.                19   scientific or medical group, entity or
       20          Q. I think my question is a           20   organization who has concluded that
       21    little bit different. My question is,       21   genital talc use causes ovarian cancer?
       22    have you published any article in the       22        A. I -- really, my opinion is
       23    literature where you have done              23   based on biological plausibility.
       24    essentially the same thing that you have    24        Q. I understand that. But my

                                           Page 151                                         Page 153
        1    done here, which is review all the           1   question is simply from your knowledge,
        2    literature on an exposure and a disease      2   here today, can you cite for me any
        3    and offer opinions as to whether there's     3   scientific or medical group, entity or
        4    biologic plausibility between the            4   organization who has concluded that
        5    exposure and the disease?                    5   genital talc use causes ovarian cancer?
        6         A. Most of the papers that I            6            MS. O'DELL: Object to the
        7    publish will offer a potential, whether a    7       form.
        8    speculative potential or one that is         8            THE WITNESS: Well,
        9    defined within other published literature    9       concluded is -- is a word for
       10    as a potential mechanism of action or as    10       discussion.
       11    potential plausible outcome.                11            IARC in the 1993 report from
       12              So for any published paper        12       inhalation toxicology and
       13    from the research that I've done or that    13       inhalation of talc did show that
       14    people do, we explain an observation that   14       there was tumor induction in
       15    has been found in our laboratory from       15       female rats in the lungs and that
       16    testing, as you call it. And we will        16       there was adrenal gland tumors
       17    explain the observation in terms of         17       that were formed.
       18    biological plausibility, if that's what     18   BY MR. HEGARTY:
       19    you're referring to.                        19       Q. Well, IARC has never
       20         Q. Well, have you ever used the        20   concluded that the use of talc in the
       21    phrase "biologic plausibility" in any       21   genital area causes ovarian cancer,
       22    published article?                          22   correct?
       23         A. I cannot cite them for you,         23       A. You asked me whether there
       24    but I -- I am confident that I have used    24   was any body of literature or any

                                                                 39 (Pages 150 to 153)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 184 of 366 PageID:
                                   75539

                                    Judith Zelikoff, Ph.D.
                                           Page 154                                         Page 156
        1    advisory boards or any institution which     1   BY MR. HEGARTY:
        2    has concluded that there is a causal         2        Q. II-B is possibly
        3    relationship. And I've cited to you a        3   carcinogenic, correct?
        4    study --                                     4        A. To humans.
        5         Q. That's not my question. My           5        Q. I'm sorry?
        6    question was can you cite for me any         6        A. To humans. Possibly
        7    scientific or medical group, entity or       7   carcinogenic to humans. That doesn't
        8    organization who has concluded that          8   exclude the fact that there is animal
        9    genital talc use causes ovarian cancer.      9   data supporting that conclusion. If
       10             MS. O'DELL: Object to the          10   there were no animal data it -- it would
       11         form.                                  11   not even be considered a II-B. So
       12             THE WITNESS: I have -- I           12   there -- there's evidence that the IARC
       13         have given you information on a        13   evaluated and came up with a II-B
       14         study done at the national             14   classification.
       15         toxicology program.                    15        Q. Is it your opinion that the
       16    BY MR. HEGARTY:                             16   biologic plausibility of talc products
       17         Q. Is that the extent of your          17   causing ovarian cancer has been generally
       18    answer?                                     18   accepted in the medical community?
       19         A. There are -- to my                  19        A. I think it depends on the
       20    knowledge, that's the best study that I     20   medical community.
       21    can cite to you.                            21        Q. Well, aside from any medical
       22         Q. That's a study, correct?            22   community that has accepted that there is
       23         A. That was a study, and they          23   biologic plausibility between the use of
       24    are also a body that makes conclusions.     24   talc products in -- in ovarian cancer.

                                           Page 155                                         Page 157
        1         Q. That study did not involve           1   Let me -- let me restate that.
        2    any commentary on ovarian cancer,            2            Can you cite for me any
        3    correct?                                     3   medical community that has accepted that
        4         A. The study did not involve            4   there is biologic plausibility of talc
        5    commentary on that.                          5   products causing ovarian cancer?
        6         Q. Can you name any regulatory          6       A. I'm not knowledgeable at --
        7    body who has stated that talc use is a       7   about all the medical communities and
        8    cause of ovarian cancer?                     8   what disciplines they are in.
        9         A. Not as I sit here right now.         9       Q. Well, can you cite for me
       10    But again, making conclusions on            10   any medical or scientific community that
       11    causation was not my question, is not       11   has accepted that there is biologic
       12    my -- is not within my purview.             12   plausibility of talcum powder products
       13             And there are different            13   causing ovarian cancer?
       14    levels of cancer conclusion. For            14       A. I have no knowledge of that.
       15    instance, IARC has several                  15   That doesn't mean it's not out there. It
       16    classifications. And -- as you know, I,     16   means that I have no knowledge of that.
       17    II-A, II-B, et cetera.                      17       Q. You have no knowledge --
       18         Q. And what is IARC's                  18   you -- so you cannot testify that the
       19    classification of talc use in the genital   19   medical or scientific communities have
       20    area?                                       20   accepted that there is biologic
       21             MS. O'DELL: Object to the          21   plausibility of talcum powder products
       22         form.                                  22   causing ovarian cancer?
       23             THE WITNESS: To my                 23            MS. O'DELL: Object to the
       24         knowledge, I think it's a II-B.        24       form.

                                                                 40 (Pages 154 to 157)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 185 of 366 PageID:
                                   75540

                                    Judith Zelikoff, Ph.D.
                                           Page 158                                         Page 160
        1             THE WITNESS: What I'm               1         Thank you.
        2         saying is I have no knowledge of        2   BY MR. HEGARTY:
        3         the documents they have put out         3         Q. You don't -- you don't know
        4         with a conclusion as a white paper      4   what a cosmetic is?
        5         or any other published literature       5         A. I'm asking you what your
        6         that has made that conclusion.          6   definition is.
        7    BY MR. HEGARTY:                              7         Q. Well, I -- what is your
        8         Q. What does -- sorry.                  8   definition?
        9         A. Or has not made that                 9         A. A definition of a cosmetic
       10    conclusion.                                 10   is -- since I'm not in the cosmetic
       11         Q. What does general acceptance        11   field -- a cosmetic is something that is
       12    mean to you?                                12   used for hygiene or aesthetics and used
       13         A. General acceptance -- for           13   dermally.
       14    example, benzine, it causes leukemia and    14         Q. Have you ever written any
       15    other blood cancers. That is a general      15   scientific article about a cosmetic under
       16    acceptance by the medical community which   16   your definition?
       17    we all adhere to, abide by, based upon      17         A. Not to my knowledge, but I
       18    the excessive amount of literature that     18   would have to look at all of my papers
       19    is out there showing -- proving and         19   again, if you'd like me to do that.
       20    addressing Hill's criteria and coming up    20         Q. Can you cite for me any
       21    with the fact that it is a -- it is a       21   publication of yours where you comment on
       22    carcinogen for blood cancers.               22   asbestos?
       23             That is general knowledge.         23         A. I would have to look at my
       24    General knowledge is something saying       24   references. I go back from 1982.

                                           Page 159                                         Page 161
        1    that nickel can be a carcinogen, nickel      1        Q. Sitting here today, can you
        2    is a carcinogen and is classified by IARC    2   cite for us, without looking at any
        3    as a I. In that case, the general            3   references, any article you've ever
        4    population is aware of that.                 4   written about asbestos?
        5         Q. Before being hired by the            5            MS. O'DELL: Doctor, if you
        6    plaintiffs' lawyers in this case, you had    6        need to look at your CV, you're
        7    never written anything about talc,           7        welcome to do that.
        8    correct?                                     8   BY MR. HEGARTY:
        9         A. That's correct.                      9        Q. Well, my question didn't ask
       10         Q. Or commented on talc in any         10   about the CV. I said just simply sitting
       11    setting, correct?                           11   here today, just based on your memory --
       12         A. Other than teaching?                12        A. Okay.
       13         Q. Other than the teaching             13        Q. -- are you able to recall
       14    reference you cited earlier?                14   any article you've ever written about
       15         A. That's correct.                     15   asbestos.
       16         Q. Before being hired by               16            MS. O'DELL: If you would
       17    plaintiffs' counsel you had never written   17        like to look at your CV, it's in
       18    anything about any cosmetic, correct?       18        front of you. You are welcome
       19             MS. O'DELL: Object to the          19        to -- to do that.
       20         form.                                  20            MR. HEGARTY: I'll withdraw
       21             Could you please -- it's           21        the question.
       22         vague in terms of cosmetic. Do         22   BY MR. HEGARTY:
       23         you have a definition in mind?         23        Q. Doctor, have you ever
       24             THE WITNESS: Exactly.              24   written any article about a fragrance?

                                                                  41 (Pages 158 to 161)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 186 of 366 PageID:
                                   75541

                                    Judith Zelikoff, Ph.D.
                                          Page 162                                         Page 164
        1         A. I would also like to look at         1   as scientists, involved as co-authors,
        2    my CV.                                       2   oftentimes. And I do not recall back to
        3         Q. Without looking at your CV,          3   1982.
        4    you can't say one way or the other?          4        Q. Well, for purposes of your
        5         A. I can't say conclusively.            5   report, you do not cite to any of your
        6    My CV and my publications go back to         6   own work, correct?
        7    1982. It was quite a while ago.              7        A. That is correct.
        8         Q. And you can't say                    8        Q. You've never written
        9    conclusively whether you've written an       9   anything about talc and ovarian cancer,
       10    article about asbestos?                     10   correct?
       11         A. I would rather look at my --        11        A. I think I asked and answered
       12    my publications.                            12   that. I think I answered that. But I
       13         Q. Okay. Have you ever                 13   can repeat it.
       14    written --                                  14        Q. No, you did not. I did not
       15         A. Would you like me to do             15   ask you that question, ma'am.
       16    that, sir?                                  16        A. So can --
       17         Q. No. I'm not asking you to           17        Q. I asked you had you ever
       18    do that right now.                          18   written anything about talc. My question
       19         A. Thank you.                          19   that I just asked you is have you ever
       20         Q. Sitting here today without          20   written anything about talc and ovarian
       21    looking at your CV, can you cite for me     21   cancer?
       22    any article you've ever written about       22        A. To my knowledge, as I sit
       23    asbestos?                                   23   here now without looking at my
       24              MS. O'DELL: Objection to          24   publications, no.

                                          Page 163                                         Page 165
        1        form.                                    1        Q. Prior to being contacted by
        2             THE WITNESS: To my                  2   plaintiff's counsel have you ever
        3        knowledge at this particular             3   reviewed the body of literature on the
        4        moment, I cannot cite for you an         4   etiologies or biology related to ovarian
        5        article that I specifically wrote        5   cancer?
        6        on asbestos. Whether or not I was        6        A. Not prior to being
        7        a co-author on one, I cannot             7   contacted, no.
        8        recall.                                  8        Q. You've never published any
        9    BY MR. HEGARTY:                              9   opinions about the causes of ovarian
       10        Q. Would that be the same               10   cancer, correct?
       11    answer as to a fragrance?                   11        A. To my knowledge, sitting
       12        A. I -- I would really rather           12   here, no.
       13    look at my CV and my publications and       13        Q. You never published any
       14    book chapters.                              14   opinions about the risk factors for
       15        Q. Before being contacted by            15   ovarian cancer, correct?
       16    counsel for plaintiffs in this case, you    16        A. I really -- I'm not sure. I
       17    had never developed or offered any          17   know that I have given that information,
       18    opinions about talc, correct?               18   not an opinion, but have given that
       19        A. That is correct.                     19   information in teaching courses.
       20        Q. You've never written                 20        Q. Have you ever taught any
       21    anything about ovarian cancer, correct?     21   courses on asbestos?
       22        A. Again, just to put on the            22        A. Asbestos has been included.
       23    record, I would really like to look at my   23   I give lectures in my organ system
       24    CV and look at my publications. We are,     24   toxicology course as well as in my

                                                                 42 (Pages 162 to 165)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 187 of 366 PageID:
                                   75542

                                    Judith Zelikoff, Ph.D.
                                          Page 166                                         Page 168
        1    toxicology course for biology masters. I     1   reproductive docs who do focus on this,
        2    give courses in air pollutants and           2   yes.
        3    cancer-causing agents and the toxicology     3        Q. And that has not been an
        4    of -- of airborne.                           4   area of your focus, correct?
        5         Q. Have you ever taught in your         5        A. Not -- not in past. Has not
        6    courses any discussion about fragrances      6   been a primary focus.
        7    and toxicity?                                7        Q. You have provided for us
        8         A. It may have come up as a             8   your CV, correct?
        9    minor point. We talk about pesticides,       9        A. That is correct.
       10    we talk about air pollutants. We talk       10        Q. That's included as part of
       11    about metals. Fragrances, we talked         11   Exhibit B to your expert report, correct?
       12    about limonene, eugenol, menthol and        12            MS. O'DELL: Objection to
       13    other fragrances in that realm in the       13        form.
       14    discussion of electronic cigarettes and     14            THE WITNESS: I think it's
       15    the aerosols produced by them.              15        stated here as Exhibit A.
       16         Q. And you provided to us all          16   BY MR. HEGARTY:
       17    the lectures or the content of lectures     17        Q. It's Exhibit A to your
       18    that you've given where you mentioned       18   expert report. Is that a current CV of
       19    talc, correct?                              19   yours?
       20         A. I was not asked to --               20        A. It was updated in
       21             MS. O'DELL: Object to the          21   August 2018. So it is not completely
       22         form.                                  22   updated as of January 2019.
       23             THE WITNESS: I was not             23        Q. Did you bring an updated CV
       24         asked to provide them. But please      24   to your deposition?

                                          Page 167                                         Page 169
        1         let me explain my teaching style.       1        A. I did not.
        2             My teaching style is such           2        Q. As you stated --
        3         that I use few PowerPoints as           3        A. I'm sorry. I can provide
        4         queues. And much of my teaching         4   that.
        5         is done verbally, one-on-one. And       5        Q. Does your CV anywhere list
        6         they're not recorded.                   6   any professional experience on ovarian
        7             So there is really not that         7   cancer?
        8         much -- there is nothing to supply      8        A. Excuse me. Not to my
        9         to counsel.                             9   knowledge, in briefly reviewing my CV,
       10    BY MR. HEGARTY:                             10   and not to my knowledge as I sit here.
       11         Q. Well, other than the                11        Q. Does your CV list any
       12    reference that you provided to us earlier   12   professional experience regarding
       13    about talc and ovarian cancer, you have     13   asbestos?
       14    not otherwise lectured regarding this       14        A. Specifically, asbestos as I
       15    subject, correct?                           15   review, no. No, sir.
       16         A. That is correct.                    16        Q. Does your CV list any
       17         Q. There are toxicologists who         17   professional experience regarding
       18    focus on issues dealing with reproductive   18   fragrances?
       19    medicine or reproductive sciences such as   19        A. Not to my knowledge, no,
       20    ovarian cancer and uterine cancer,          20   sir. But you're asking me only what's in
       21    correct?                                    21   my CV.
       22         A. There are scientists whose          22           I have -- I have worked -- I
       23    major focus is on talc and ovarian cancer   23   have looked at or heard about from other
       24    and there are OB/GYNs as well as            24   advisory boards things to do with

                                                                 43 (Pages 166 to 169)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 188 of 366 PageID:
                                   75543

                                    Judith Zelikoff, Ph.D.
                                          Page 170                                         Page 172
        1    flavorants, as I said with electronic        1   or scientist who believes that there is
        2    cigarettes, hookah and smokeless tobacco.    2   biologic plausibility between use of
        3    So I am familiar with other -- which may     3   talcum powder and ovarian cancer?
        4    not be listed here in detail, which is       4             MS. O'DELL: Object to form.
        5    not listed here in detail, on flavorants     5             THE WITNESS: I have not
        6    and some of those same flavors used in       6        spoken to any doctors in that
        7    electronic cigarettes are also, I found,     7        regard.
        8    listed here.                                 8   BY MR. HEGARTY:
        9         Q. Has any entity or agency             9        Q. How about any scientists?
       10    consulted you with regard to diseases of    10        A. I have not spoke to any
       11    the female reproductive tract?              11   scientists in that regard.
       12             MS. O'DELL: Object to the          12        Q. Have you --
       13         form.                                  13        A. My opinion was specifically
       14             THE WITNESS: Not to my             14   based upon the scientific literature that
       15         knowledge.                             15   I had access to.
       16    BY MR. HEGARTY:                             16        Q. Have you ever had your
       17         Q. And no one has ever asked           17   deposition taken before?
       18    you to look into any of the issues set      18        A. I have. Yes, sir.
       19    out in your report besides plaintiffs'      19        Q. How many times?
       20    counsel, correct?                           20        A. One that I can recall. Two
       21         A. I'm sorry. Again?                   21   that I'm now recalling. One that was
       22         Q. No one has asked you to look        22   in -- for Dow Chemical on breast implants
       23    at the issues set out in your expert        23   and relationship with autoimmune disease
       24    report in this case other than              24   and one from a personal attorney who

                                          Page 171                                         Page 173
        1    plaintiffs' counsel, correct?                1   was -- who had a client who was exposed
        2         A. This specific ovarian cancer         2   to wood burning from a wood stove, an
        3    and asbestos, that is correct.               3   outdoor wood stove.
        4         Q. You have not submitted your          4       Q. As to the latter case, do
        5    expert report in this case for peer          5   you know where that case was pending or
        6    review, correct?                             6   was filed?
        7         A. The only ones who have seen          7       A. I was deposed in New York
        8    my report have been the plaintiff            8   City.
        9    attorneys, to my knowledge.                  9       Q. Do you know the name of the
       10             If that was given out to           10   case?
       11    others at that point, I do not -- I do      11       A. I'm afraid not, sir.
       12    not have knowledge of that.                 12       Q. How long ago was it?
       13         Q. You certainly have not              13       A. 15 years.
       14    submitted your report for peer review,      14       Q. You were testifying on
       15    correct?                                    15   behalf of the plaintiff in that case?
       16         A. I have not submitted my             16           MS. O'DELL: Object to form.
       17    report for peer review.                     17           THE WITNESS: I was not
       18         Q. Have you spoken to any              18       testifying. I was deposed for
       19    physicians who treat ovarian cancer         19       the -- sorry, for the person who
       20    regarding talc and ovarian cancer?          20       was making the claim that they had
       21         A. I have not.                         21       increased asthma as a result of
       22         Q. Other than experts                  22       neighbors use of a wood boiler.
       23    identified by plaintiffs in this            23   BY MR. HEGARTY:
       24    litigation, can you identify any doctor     24       Q. In the Dow Chemical breast

                                                                 44 (Pages 170 to 173)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 189 of 366 PageID:
                                   75544

                                    Judith Zelikoff, Ph.D.
                                           Page 174                                         Page 176
        1    implant case, were you testifying as an      1   cases -- are there any articles on which
        2    expert witness?                              2   you rely for purposes of your opinions --
        3         A. I was.                               3   strike that. Let me ask it a different
        4         Q. On behalf of the plaintiffs?         4   way.
        5         A. If you're talking about on           5            How many articles have you
        6    the part of Dow, yes.                        6   published since August of 2018?
        7         Q. Well, on the part of Dow who         7        A. I'm going to look at the
        8    was the defendant or the plaintiffs?         8   last publication.
        9         A. Dow was the defendant. I'm           9            I have one that was accepted
       10    sorry.                                      10   in press on the Garfield community and
       11         Q. Were you testifying on              11   looking at chromium exposure and doing
       12    behalf of Dow?                              12   community engagement for the community
       13         A. I was.                              13   and looking at blood level of
       14         Q. Any other cases you've been         14   measurements -- or toenail measurements,
       15    deposed in?                                 15   excuse me, toenail measurement of
       16         A. Not that I can recall.              16   chromium, as they're impacting
       17         Q. Have you been identified in         17   communities environmentally.
       18    any other cases as an expert witness        18            Also two publications have
       19    besides this one to your knowledge?         19   come out with the lead author, my being a
       20         A. I have done literature              20   corresponding author with the lead author
       21    reviews for a number of attorneys but       21   being from the University of Rochester in
       22    have not been deposed.                      22   the area of inhaled particulate matter
       23         Q. My question is specific to          23   and -- during pregnancy and effects on
       24    whether you -- whether you are aware that   24   the -- on the offspring and on the fetus.

                                           Page 175                                         Page 177
        1    you've been designated, identified, in       1        Q. You are not a medical
        2    the case as a testifying expert besides      2   doctor, correct?
        3    this case. Are you aware of any such         3        A. I am not a medical doctor,
        4    cases?                                       4   although I did go to medical school for
        5         A. Not to my knowledge.                 5   my Ph.D. training.
        6         Q. I know I referred earlier to         6        Q. You can't treat patients,
        7    your CV. But I'm marking it as               7   correct?
        8    Exhibit 22. You can look at that one or      8        A. I do not treat patients.
        9    Exhibit 22.                                  9        Q. You are not an oncologist,
       10             (Document marked for               10   correct?
       11         identification as Exhibit              11        A. I am not an oncologist.
       12         Zelikoff-22.)                          12        Q. You have no training in
       13    BY MR. HEGARTY:                             13   oncology, correct?
       14         Q. Are there any publications          14        A. I have no training in
       15    of yours that relate to any of the issues   15   oncology. I have training in pathology,
       16    in this case that are not included in       16   which is what I got my Ph.D. degree in at
       17    your CV?                                    17   a medical school.
       18             MS. O'DELL: Object to form.        18        Q. You have never diagnosed or
       19             THE WITNESS: Let's talk            19   treated a disease in a patient, including
       20         about the issues of the case. Can      20   cancer, correct?
       21         you define them a little better?       21        A. That is correct.
       22    BY MR. HEGARTY:                             22        Q. You have no expertise in
       23         Q. Yeah, let me ask you a              23   treating patients with ovarian cancer,
       24    different question. Are there any           24   correct?

                                                                 45 (Pages 174 to 177)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 190 of 366 PageID:
                                   75545

                                       Judith Zelikoff, Ph.D.
                                              Page 178                                      Page 180
        1          A. I have no expertise in that,        1        those forms can exist both in
        2    no.                                          2        crystalline form or in a
        3         Q. You have no expertise in             3        non-asbestiform.
        4    diagnosing ovarian cancer, correct?          4             So they are both -- both
        5         A. I do not.                            5        concluded to be asbestos.
        6         Q. You are not an expert on             6   BY MR. HEGARTY:
        7    asbestos, correct?                           7        Q. Well, are there any
        8         A. I have not been classified           8   differences between --
        9    as an expert in asbestos, although as I      9        A. By the EPA.
       10    said, I do work in air pollution and if     10        Q. Are there any differences
       11    asbestos is in the confines -- taken in     11   between amphibole and serpentine forms of
       12    the confines of air pollution, I could      12   asbestos?
       13    speak to that. But I have not been          13            MS. O'DELL: Object to form.
       14    designated as an expert.                    14             THE WITNESS: Well, they are
       15         Q. What's the difference               15        different -- they are different
       16    between amphibole and serpentine forms of   16        minerals. But they are both
       17    asbestos?                                   17        classified as asbestos.
       18             MS. O'DELL: Object to form.        18   BY MR. HEGARTY:
       19    BY MR. HEGARTY:                             19        Q. Any other differences?
       20         Q. You can answer.                     20        A. It -- both of which contain
       21         A. It depends on whether it's          21   carcinogenic -- classified I, as IARC.
       22    asbestiform or non-asbestiform.             22   Both have within them carcinogenic
       23         Q. Okay. Asbestiform. What's           23   asbestos. To my knowledge, that is --
       24    the difference between amphibole and        24   that is all I --

                                              Page 179                                      Page 181
        1    serpentine forms?                            1        Q. What was the most
        2        A. Well --                               2   commercially used asbestos?
        3             MS. O'DELL: Object to the           3        A. Well, it -- it depends on
        4        form.                                    4   the time. But for commercial use, in
        5             THE WITNESS: Amphibole              5   paints and housing and insulation, it was
        6        lists serpentine which is                6   either chrysotile was used commercially
        7        associated with chrysotile. They         7   and crocidolite was also used
        8        all have an aspect ratio of,             8   commercially.
        9        depending on who you are looking         9        Q. Okay. How did the supposed
       10        at, whether it's three to one or        10   toxicities various -- vary across the
       11        five to one. Johnson & Johnson          11   various forms of asbestos?
       12        includes it as five to one, which       12            MS. O'DELL: Object to the
       13        is length-to-width ratio. They          13        form.
       14        both have the same length-to-width      14            THE WITNESS: When you say
       15        ratio.                                  15        toxicity what do you mean?
       16             If they're asbestiform, then       16   BY MR. HEGARTY:
       17        they are fibers that are made up        17        Q. The -- the toxicities vary
       18        of fibrils. They both have that.        18   across the various forms.
       19             And they go in a                   19            MS. O'DELL: Object to the
       20        longitudinal manner and they are        20        form.
       21        in one direction.                       21            THE WITNESS: Mm-hmm. It
       22             Amphibole includes within it       22        depends on the chemical
       23        the crocidolite, and as well as         23        composition. It depends on the
       24        tremolite, amosite, and some of         24        surface material. It depends on

                                                                  46 (Pages 178 to 181)
                   Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 191 of 366 PageID:
                                   75546

                                    Judith Zelikoff, Ph.D.
                                           Page 182                                         Page 184
        1         the amount of iron. It depends on       1       Q. You are not an expert in
        2         the size of the fiber or the            2   fragrances, correct?
        3         crystal.                                3            MS. O'DELL: Object to form.
        4              And so depending upon those        4            THE WITNESS: I have -- I
        5         factors you are going to have           5       have not been listed as an expert
        6         differences in toxicity.                6       in fragrances.
        7    BY MR. HEGARTY:                              7   BY MR. HEGARTY:
        8         Q. Well, how does -- does               8       Q. Would you consider yourself
        9    tremolite asbestos compare to chrysotile     9   an expert in fragrances?
       10    asbestos in terms of toxicity?              10       A. I am a toxicologist so I can
       11         A. I don't really -- I don't           11   review chemicals and make a decision or
       12    think I can answer that in terms of         12   assess their toxicity based on outcomes.
       13    ranking it. I can tell you that             13       Q. Before being contacted by
       14    chrysotile is a well-known carcinogen,      14   Ms. Emmel in this case, would you have
       15    well-established carcinogen by the          15   considered yourself an expert in
       16    agencies. That tremolite is an amphibole    16   fragrances?
       17    and it can exist in both forms, either      17            MS. O'DELL: Objection.
       18    asbestiform in the long longitudinal        18            THE WITNESS: Expert in
       19    fibriles, or it can exist as a mineral      19       fragrances. It is not something I
       20    that has dimensions in all different        20       studied in my own laboratory.
       21    directions.                                 21            However, a toxicologist
       22              So tremolite -- it's              22       should be able to go into the
       23    difficult to rank, but chrysotile appears   23       literature and have a greater
       24    to be -- when you say more toxic, you       24       knowledge than most people in

                                           Page 183                                         Page 185
        1    have to understand what is the outcome       1        looking up different chemicals.
        2    that you're looking at. They can both        2   BY MR. HEGARTY:
        3    cause toxicity. I don't know what you        3        Q. You are not an expert on
        4    exactly mean by more toxic.                  4   talc, correct?
        5             Do you mean at a given              5            MS. O'DELL: Object to the
        6    dose -- what -- what do you mean by --       6        form.
        7         Q. I didn't -- I didn't use the         7            THE WITNESS: I have done
        8    word "more toxic." I just -- I asked you     8        much work in dust, including the
        9    how does tremolite asbestos compare to       9        World Trade Center dust. I've
       10    chrysotile asbestos in terms of toxicity.   10        done work on diesel exhaust and
       11         A. I think I -- yeah, that's a         11        other things that are powders. So
       12    very difficult question to a                12        particularly talc, I don't think I
       13    toxicologist. Because when you compare      13        am classified as a talc expert.
       14    toxicity across -- across lines, you have   14            But as I said I've done much
       15    to somehow rank them based on a             15        work in other dusts, other
       16    particular outcome.                         16        aerosols, vapors, gases,
       17             So toxicity could be does it       17        particles, and I am an expert in
       18    produce more lactate dehydrogenase when     18        particles.
       19    put in a macrophages culture of -- of       19   BY MR. HEGARTY:
       20    pulmonary cells, or does it produce more    20        Q. You are not a geneticist,
       21    apoptosis. You can't just say toxicity      21   correct?
       22    in my opinion. You have to give me an       22        A. I'm -- if a geneticist is
       23    outcome. Does this produce more toxicity    23   someone who has been trained specifically
       24    in this area.                               24   in genetics, I have not been trained in

                                                                 47 (Pages 182 to 185)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 192 of 366 PageID:
                                   75547

                                    Judith Zelikoff, Ph.D.
                                           Page 186                                       Page 188
        1    genetics. I have had courses in              1   components by percentage of Johnson's
        2    molecular toxicology and I do teach some     2   Baby Powder?
        3    molecular toxicology.                        3            MS. O'DELL: Object to the
        4         Q. You are not a mineralogist,          4        form. Vague.
        5    correct?                                     5            THE WITNESS: I cannot --
        6         A. I am not a mineralogist.             6        although I have looked at it, I
        7         Q. You are not an expert on             7        cannot tell you that off the top
        8    testing for the presence of asbestos,        8        of my head. I would have to
        9    correct?                                     9        look -- refresh my memory by
       10         A. I am not a chemist.                 10        looking at an exhibit or a
       11         Q. You are not an expert on            11        document.
       12    testing the air for asbestos, correct?      12   BY MR. HEGARTY:
       13         A. We collect -- I collect             13        Q. What were the current
       14    particles in the air. I do air              14   components of Johnson's Baby Powder by
       15    measurements. That is the basis of my       15   percentage from the 19 -- 1900s through
       16    research.                                   16   the present?
       17             When it comes to asbestos,         17        A. I cannot --
       18    we will send those -- those filters out     18            MS. O'DELL: Excuse me.
       19    to be analyzed by an expert laboratory,     19        Excuse me. Object to the form.
       20    and then we will help interpret the data.   20        Vague.
       21         Q. You are not an industrial           21            THE WITNESS: I cannot give
       22    hygienist, correct?                         22        you percentages off the top of my
       23         A. I work with industrial              23        head. If you allow me to look at
       24    hygienists, but I do not have a degree in   24        a document I -- I could tell you.

                                           Page 187                                       Page 189
        1    it.                                          1   BY MR. HEGARTY:
        2         Q. You are not an expert on             2        Q. Are the opinions in your
        3    Johnson's Baby Powder, correct?              3   report specific to particular
        4             MS. O'DELL: Objection to            4   formulations of talcum powder consumer
        5         form.                                   5   products?
        6             THE WITNESS: I am not an            6            MS. O'DELL: Object to the
        7         expert on -- I -- could you             7        form.
        8         rephrase that?                          8            THE WITNESS: Are the
        9    BY MR. HEGARTY:                              9        opinions in your report specific
       10         Q. I don't think I can.                10        to particular formulations.
       11         A. I don't know what you mean          11            My opinion is based on
       12    by expert. I mean I need to have -- I       12        biological plausibility based on
       13    think I need to have some criteria that     13        studies that have used talcum
       14    would make me an expert. If you are         14        powder or talc or fibrous talc or
       15    talking about the number of publications    15        nonfibrous talc.
       16    I have or whether I've testified.           16   BY MR. HEGARTY:
       17             I -- the word "expert"             17        Q. Did you analyze specifically
       18    throws me off a bit.                        18   the biologic plausibility of the
       19         Q. Well, where is the talc for         19   components of Johnson's Baby Powder for
       20    J&J's Baby Powder been mined over the       20   purposes of your opinions?
       21    years?                                      21            MS. O'DELL: Object to the
       22         A. In Vermont, in Italy, and           22        form.
       23    also in Korea.                              23            THE WITNESS: I looked at
       24         Q. What are the current                24        the individual components that I

                                                                 48 (Pages 186 to 189)
                   Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 193 of 366 PageID:
                                   75548

                                    Judith Zelikoff, Ph.D.
                                          Page 190                                          Page 192
        1        was aware of. And looked at their        1   in the question that I was asked to
        2        ability to cause inflammation,           2   comment on, but from cursory knowledge
        3        let's say, or their carcinogenic         3   there are different cell types.
        4        potential.                               4        Q. What's the difference
        5    BY MR. HEGARTY:                              5   between a low grade and high grade tumor?
        6        Q. But did you look                      6        A. The induction of
        7    specifically -- did you specifically         7   invasiveness and proliferation capacity.
        8    analyze biologic plausibility specific to    8        Q. What is thought to be the
        9    J&J's -- strike that.                        9   primary origin of high-grade serous
       10             Did you analyze biological         10   ovarian cancer?
       11    plausibility specific to Johnson's Baby     11            MS. O'DELL: Object to the
       12    Powder in your report?                      12        form.
       13        A. If the literature was there,         13            THE WITNESS: Primary
       14    there was some -- I'm sorry, I can't        14        origin. I'm not sure what that
       15    remember the author now. But there were     15        means.
       16    authors and investigators that did use      16   BY MR. HEGARTY:
       17    Johnson's Baby Powder in their studies,     17        Q. Well, what is -- what is
       18    and if they used those studies, and I       18   typically the primary location or origin
       19    used that for -- to provide biological      19   of high-grade serous?
       20    plausibility, then yes.                     20        A. Do you mean in the ovary?
       21        Q. What studies were done               21        Q. I don't think I can ask it
       22    specific to Johnson's Baby Powder?          22   any different way.
       23             MS. O'DELL: Object to the          23        A. Well, I don't quite
       24        form.                                   24   understand your question.

                                          Page 191                                          Page 193
        1             THE WITNESS: Of course all          1        Q. What is the primary origin
        2        of the product documents.                2   of clear cell carcinoma?
        3             Sorry, I'm having difficulty        3            MS. O'DELL: Object to the
        4        recalling that -- the particular         4        form.
        5        name. It's not a memory test.            5            THE WITNESS: If you're
        6        I'm sorry.                               6        asking me the types, I don't
        7    BY MR. HEGARTY:                              7        recall the type of cell for clear
        8        Q. With regard to ovarian                8        cell carcinoma. Again, I'm not an
        9    cancer, what are the subtypes of the         9        OB/GYN, and I'm not a histologist.
       10    disease?                                    10   BY MR. HEGARTY:
       11        A. Well, as -- as --                    11        Q. For purposes of your report,
       12             MS. O'DELL: Object to the          12   did you analyze biologic plausibility for
       13        form.                                   13   each subtype of ovarian cancer?
       14             THE WITNESS: -- was pointed        14        A. No, sir.
       15        out, I'm not an OB/GYN. I can           15        Q. Is it your opinion that the
       16        tell you just from cursory              16   etiology of each of the subtypes of
       17        knowledge that there are serous,        17   ovarian cancer is the same?
       18        high grade, low grade serous,           18        A. There are many
       19        endometrioid, mucous cell,              19   commonalities.
       20        epithelioid.                            20            As I said, from my cursory
       21    BY MR. HEGARTY:                             21   knowledge and my background, early
       22        Q. What are the differences in          22   background in 1980, of being a --
       23    subtypes?                                   23   pathology when this was not even
       24        A. Again, this is not in my --          24   considered or thought about, there is

                                                                 49 (Pages 190 to 193)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 194 of 366 PageID:
                                   75549

                                    Judith Zelikoff, Ph.D.
                                           Page 194                                         Page 196
        1    etiologies -- I'm sorry, I had to refresh    1         Remove your microphones. The time
        2    my memory of your question.                  2         is 12:22 p m. Off the record.
        3             There are different                 3             (Lunch break.)
        4    etiologies. Many -- and many of the          4             THE VIDEOGRAPHER: We are
        5    same, and so I think that -- if I may        5         back on the record. The time is
        6    gather my thoughts and refresh your          6         1:17 p.m.
        7    question.                                    7   BY MR. HEGARTY:
        8             So as I said, in terms of my        8         Q. Doctor, we're back on the
        9    opinion that the etiology in each of the     9   record. I want to go back to something
       10    subtypes of ovarian cancer is the same,     10   we talked about at the beginning, that
       11    there are many commonalities in --          11   is, the initial call that you had from
       12    etiology being the underlying reason.       12   Ms. Emmel.
       13    There are many commonalities for the same   13             You mentioned that you
       14    cancers, including things like cancer       14   reviewed materials between the time of
       15    stem cells in ovarian cancer, which are     15   the call and the time that you agreed to
       16    now being identified in the literature as   16   serve as an expert witness. Do you
       17    a possibility for recurrence of ovarian     17   recall saying that?
       18    cancer.                                     18         A. I do recall.
       19             So, yes, there are definite        19         Q. What materials did you
       20    commonalities in terms of the induction     20   review?
       21    of ovarian types of cancer.                 21         A. Just random, whatever I got
       22         Q. Well, my question was, is it        22   from the -- that came out using keywords
       23    your opinion that the etiologies of each    23   of talc, talcum powder, ovarian cancer.
       24    subtype are the same?                       24   Those were my initial keywords.

                                           Page 195                                         Page 197
        1           MS. O'DELL: Objection to              1       Q. Do you recall, sitting here
        2       form.                                     2   today, any particular articles, whether
        3           THE WITNESS: I have --                3   by author name or by name of that initial
        4           MS. O'DELL: Asked and                 4   search that you did before agreeing to
        5       answered.                                 5   serve as an expert?
        6           THE WITNESS: I have no                6       A. I looked at Ghio, G-I --
        7       opinion on that.                          7   G-H-I-O. Did inhalation of talc and
        8    BY MR. HEGARTY:                              8   airway cells in in vitro study.
        9       Q. Is it your opinion --                  9           I also looked at
       10           MS. O'DELL: Excuse me.               10   Dr. De Boers and migration of carbon
       11           THE WITNESS: Other than              11   black material.
       12       what I --                                12           I also looked at Dr. Venter
       13           MS. O'DELL: Sorry.                   13   and Iturralde, who talked about
       14           THE WITNESS: I'm sorry.              14   administered radiolabeled microspheres.
       15           MS. O'DELL: You may finish.          15           I read Dr. Weiner's --
       16       I didn't mean to cut you off.            16   Weiner's -- Dr. Weiner's publication. I
       17           THE WITNESS: Other than              17   read Dr. Epstein's letter.
       18       what I've just given.                    18       Q. Is that something that you
       19           MS. O'DELL: So, Mark, we've          19   found on your own?
       20       been going about an hour and ten         20       A. Excuse me. It wasn't
       21       minutes, I think.                        21   Dr. Epstein's letter. I'm sorry. I
       22           MR. HEGARTY: Okay. Take a            22   stand corrected.
       23       break.                                   23           I read the National
       24           THE VIDEOGRAPHER: Stand by.          24   Toxicology Report, the NTP 1993.

                                                                 50 (Pages 194 to 197)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 195 of 366 PageID:
                                   75550

                                    Judith Zelikoff, Ph.D.
                                           Page 198                                        Page 200
        1         Q. Did you do a more expansive          1   known about the product is consistent
        2    literature search and literature review      2   with a cause-and-effect relationship."
        3    after agreeing to serve as an expert         3            Do you see that where I'm
        4    witness?                                     4   reading?
        5         A. Of course.                           5        A. I see where you're reading.
        6         Q. Did you form any opinions,           6        Q. Where does that definition
        7    though, from that initial search that you    7   of biological plausibility come from?
        8    performed?                                   8        A. It is my professional
        9         A. My opinion at that time was          9   opinion.
       10    that there was certainly -- I had a great   10        Q. Is there still biological
       11    deal of interest in the topic, that there   11   plausibility if what is known about a
       12    was certainly enough information and        12   substance and a disease is consistent
       13    enough evidence to provide -- that was      13   with no cause-and-effect relationship?
       14    provided by these publications that --      14            MS. O'DELL: Object to the
       15    certainly that particles of the size of     15        form.
       16    talc can be -- can be translocated,         16            THE WITNESS: Biological
       17    migrated, and that -- at least from the     17        plausibility, to me, as stated
       18    lung, and so that there was biological      18        here -- and I will state it a
       19    plausibility for movement within the        19        different way, is that there is
       20    body.                                       20        actually literature and
       21             And I found it convincing          21        information, reliable, sound
       22    that I could -- that I could get involved   22        science that could -- that
       23    in this case and that I believe that        23        provides evidence that there is a
       24    there was, at that point with only          24        mechanism or mechanisms as well as

                                           Page 199                                        Page 201
        1    superficial literature searching, that       1        underlying information that could
        2    there was indeed room for an opinion.        2        prove the -- although it's not
        3    And that opinion being that there            3        necessary in Hill's criteria, that
        4    certainly was information provided that      4        could be used to prove a causal
        5    could lead me to provide biological          5        relationship.
        6    plausibility in that regard. Otherwise,      6            And in this case, that
        7    I would not have taken the case.             7        talcum powder, in particular
        8            What I would like to say is          8        Johnson & Johnson talcum powder,
        9    that I would have done the same thing if     9        can lead to ovarian cancer.
       10    you had called me, sir, to answer the       10   BY MR. HEGARTY:
       11    question of what my beliefs are and where   11        Q. Well, do you agree that the
       12    the science is.                             12   finding of biologic plausibility by
       13         Q. If you look at Page 2 again         13   itself does not mean causation?
       14    of your expert report.                      14        A. Biological plausibility is
       15         A. Yes, sir.                           15   used to supplement or to add on. It is
       16         Q. That's Exhibit 2. Again,            16   actually one of Hill's criteria. One
       17    under the section mandate --                17   that he listed in his 1962 paper that is
       18         A. Yes.                                18   not absolutely necessary but does provide
       19         Q. -- and methodology.                 19   compelling evidence. And I do believe
       20         A. I see it.                           20   that biological plausibility is extremely
       21         Q. You say at the end of the           21   important, in my personal opinion, in
       22    second paragraph that, "Biological          22   causal relationship. And Hill agrees to
       23    plausibility does not mean proof of         23   that as well.
       24    mechanism, but rather whether what is       24        Q. You agree, though, that the

                                                                 51 (Pages 198 to 201)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 196 of 366 PageID:
                                   75551

                                    Judith Zelikoff, Ph.D.
                                           Page 202                                        Page 204
        1    other Hill factors should be applied to      1   publication of yours, depositions or
        2    determine causality, other than -- in        2   expert reports in a litigation?
        3    addition to biological plausibility?         3        A. No. However, there are
        4         A. Well, I really can't say.            4   papers and regulatory -- regulatory
        5    Again, I know -- I know of Hill's work,      5   documents that are not considered
        6    and I know of his groundbreaking             6   published, published. If you mean
        7    publication. But again, I'm here to talk     7   peer-reviewed literature, that's one way
        8    about plausibility, not causation.           8   of publishing. But another way of
        9         Q. At the bottom of Page 2 you          9   publishing is also documents that are in
       10    say as part of your analysis you            10   a report.
       11    reviewed, "Depositions and numerous         11            And I have used reports in
       12    documents, internal memorandum and          12   my own publications, if they -- if they
       13    published and unpublished studies and       13   are accessible to me.
       14    testing results that I have found in my     14        Q. Have you ever in a published
       15    own searches of documents, documents        15   scientific article of yours cited to an
       16    provided by attorneys, and documents that   16   expert report from a doctor in a
       17    I requested." That's carrying over to       17   litigation?
       18    Page 3.                                     18        A. I'm sorry. I have to look
       19             Do you see that?                   19   down at your question.
       20         A. Toxicological studies. Are          20            Not that I recall. But
       21    we talking about toxicological studies      21   that's not to say that I would not.
       22    including in vivo and in vitro?             22            If it was appropriate for
       23         Q. No. I'm looking at the very         23   the paper that I was writing, I would
       24    last sentence of the paragraph at the       24   certainly use it.

                                           Page 203                                        Page 205
        1    bottom of Page 2, carrying over to the       1         Q. Can you identify any
        2    top of Page 3?                               2   scientific group -- strike that.
        3         A. In addition, I've reviewed           3             Before I ask you about
        4    depositions and numerous documents           4   causation, now I want to ask you about
        5    internal memorandum and published and        5   biological plausibility. Can you cite
        6    unpublished studies and testing results      6   for me any scientific group, body, or
        7    that I have found in my own searches.        7   even paper that has concluded that there
        8         Q. Correct. In any scientific           8   is biological plausibility between
        9    analysis that you have done, have you        9   perineal talc use and ovarian cancer?
       10    ever included as part of that analysis      10         A. Mm-hmm-hmm. If you look at
       11    documents provided by attorneys?            11   -- I don't know what exhibit it is. But
       12         A. In my -- when I publish, I          12   it is the Health Canada report. And --
       13    look at all relevant information that I     13   Canadian U.S. EPA. And if you look at
       14    have access to. It's about the science.     14   Taher's paper, systemic review and
       15         Q. Not my question. My                 15   meta-analysis, in both of those -- okay.
       16    question is in any prior work that you      16   So the environmental -- Health Canada and
       17    have done where you have published an       17   Canadian EPA, they put out this -- this
       18    article, have you included in the review    18   document, which is an assessment, a
       19    for purposes of publishing that article,    19   screening assessment document, to look at
       20    documents provided by lawyers?              20   biological plausibility as well as the
       21         A. No, sir, not to my                  21   other epidemiological literature.
       22    knowledge.                                  22             And they do speak to the
       23         Q. Have you ever included as           23   causation and they do speak to biological
       24    materials that you have reviewed for any    24   plausibility of talc and its association

                                                                 52 (Pages 202 to 205)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 197 of 366 PageID:
                                   75552

                                    Judith Zelikoff, Ph.D.
                                           Page 206                                         Page 208
        1    or talc and it's causation for ovarian       1            MS. O'DELL: It's Exhibit 9.
        2    cancer. So they do in that document.         2   BY MR. HEGARTY:
        3             The systematic review and           3        Q. If you would look -- do you
        4    meta-analysis 2018 of Taher also speaks      4   have the Taher review?
        5    of it and reviews the 30 -- I think it's     5        A. I do.
        6    30 -- 30 studies, of which there are 26      6        Q. What's that marked as?
        7    case-controls and -- studies, and I think    7        A. That is Exhibit 10.
        8    four cohort studies. And they do also        8        Q. Exhibit 10?
        9    conclude that, by looking at the             9        A. Based on your yellow mark,
       10    meta-analysis, that there are -- that       10   yes.
       11    there is causation associated -- that       11        Q. If you look at the abstract
       12    there is causation for talcum powder and    12   under the conclusion section, it
       13    ovarian cancer.                             13   concludes that perineal use of talcum
       14         Q. Actually, Doctor, both              14   powder is a possible cause of human
       15    documents to which you reference conclude   15   ovarian cancer.
       16    only that perineal use of talcum powder     16            Do you see that?
       17    is a possible cause of ovarian cancer,      17        A. Excuse me. I dropped my
       18    correct?                                    18   microphone.
       19             MS. O'DELL: Object to the          19            Okay. Please repeat your
       20         form.                                  20   question. Your comment.
       21             THE WITNESS: They state            21        Q. Second page under the
       22         cause. And if you give me a            22   conclusion section. The conclusion of
       23         moment, I can look for it, within      23   the Taher article is, "The perineal use
       24         the document. So I'm looking at        24   of talc powder is a possible cause of

                                           Page 207                                         Page 209
        1         the Health Canada document.             1   human ovarian cancer," correct?
        2             Meta -- page -- I'm sorry.          2            MS. O'DELL: Objection to
        3         Roman Numeral III, "Meta-analysis       3        form.
        4         of the available human studies in       4            THE WITNESS: I see that
        5         the peer-reviewed literature            5        conclusion sentence.
        6         indicate a consistent and               6   BY MR. HEGARTY:
        7         statistically significant positive      7        Q. Nowhere in here do they say
        8         association between perineal            8   that talcum powder causes ovarian cancer,
        9         exposure to talc and ovarian            9   correct?
       10         cancer. Further available data         10            MS. O'DELL: Objection to
       11         are indicative of causal effect."      11        form.
       12    BY MR. HEGARTY:                             12            THE WITNESS: If you're
       13         Q. Okay. What is their                 13        looking for a specific sentence,
       14    ultimate conclusion?                        14        allow me to review.
       15         A. This is part of their               15   BY MR. HEGARTY:
       16    conclusion.                                 16        Q. Well, are you going to need
       17         Q. Can I look at that document?        17   to review the entirety of the paper?
       18         A. Absolutely.                         18        A. I may.
       19             MR. TISI: Is this marked as        19        Q. Okay. Well, I can't -- we
       20         an exhibit, Mark?                      20   don't have time for you to review the
       21             MR. HEGARTY: Yes.                  21   entirety of the paper so I'll withdraw
       22             MR. FINDEIS: Sorry, which          22   the question. If you need to review the
       23         number is it marked? So the            23   entirety of the paper.
       24         record is clear.                       24            Can you cite here without

                                                                 53 (Pages 206 to 209)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 198 of 366 PageID:
                                   75553

                                    Judith Zelikoff, Ph.D.
                                           Page 210                                         Page 212
        1    reviewing it anywhere where they say         1   letter, information. And I specifically
        2    talcum powder causes ovarian cancer?         2   asked that same question.
        3         A. I cannot --                          3        Q. Now, are you relying on the
        4            MS. O'DELL: Excuse me. And           4   fact it's been peer reviewed for your
        5         you're referring specifically to        5   opinions in this case?
        6         Exhibit 10?                             6        A. I'm relying on the science.
        7            MR. HEGARTY: Correct.                7        Q. Well, are you relying on
        8            MS. O'DELL: The Taher                8   whether -- on what plaintiffs' counsel
        9         paper?                                  9   told you as far as whether it's been peer
       10            THE WITNESS: I can't say it         10   reviewed?
       11         without looking at the paper.          11             MS. O'DELL: Object to the
       12    BY MR. HEGARTY:                             12        form.
       13         Q. Has the Taher paper been            13             THE WITNESS: That is what
       14    peer reviewed?                              14        I'm trying to look, whether there
       15         A. The Taher paper has -- is a         15        is an acknowledgment and whether
       16    document that, yes, has been peer           16        there is a statement within it
       17    reviewed. To my knowledge.                  17        which says it's peer reviewed.
       18         Q. Okay. What publication peer         18             It -- it's stated that in
       19    reviewed that document?                     19        order for this -- in order for a
       20         A. Excuse me?                          20        document such as this, and again
       21         Q. Who peer reviewed that              21        it depends on what you mean by
       22    document?                                   22        peer review, whether it's a
       23         A. I have -- I have no                 23        community or whether it's the
       24    knowledge of that.                          24        government. The government has

                                           Page 211                                         Page 213
        1          Q. How do you know it's been           1        looked at this, and they were
        2    peer reviewed?                               2        submitted by Health Canada, and as
        3          A. The -- the plaintiff lawyers        3        of now it's been submitted for
        4    have shown me a document, a cover letter,    4        peer review, but it was looked at
        5    information, I specifically asked that       5        by the Health Canada and by EPA.
        6    question of them.                            6   BY MR. HEGARTY:
        7          Q. And are you relying on what         7        Q. What document were you shown
        8    they provided to you for purposes of         8   that shows it's been peer reviewed?
        9    saying it's peer reviewed?                   9        A. On the first page,
       10          A. Please allow me to -- I'm          10   Exhibit 10, materials submitted to Health
       11    going to take a look into the document      11   Canada, materials submitted to journal
       12    again. There may be evidence that's in      12   for peer review.
       13    the document which says it's peer           13        Q. So it's not been peer
       14    reviewed.                                   14   reviewed?
       15          Q. Doctor, what are you looking       15        A. To my knowledge, it has been
       16    at for purposes of peer review? I asked     16   peer reviewed. And again I'm relying on
       17    you --                                      17   plaintiffs' attorney with that
       18          A. I'm looking to see -- sorry,       18   information.
       19    please finish your question.                19        Q. Have you ever cited in a
       20          Q. I asked you how do you know        20   scientific article of yours a publication
       21    it's been peer reviewed.                    21   that's not been peer reviewed?
       22          A. And I stated that the              22        A. All the time.
       23    plaintiff lawyer -- the plaintiffs'         23        Q. So that's something that --
       24    lawyers have shown me a document, a cover   24   that you have done as part of your

                                                                 54 (Pages 210 to 213)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 199 of 366 PageID:
                                   75554

                                    Judith Zelikoff, Ph.D.
                                          Page 214                                          Page 216
        1    methodology?                                 1   or paper that has concluded that there is
        2              MS. O'DELL: Object to the          2   biologic plausibility between talcum
        3         form.                                   3   powder use and ovarian cancer?
        4              THE WITNESS: It's                  4        A. Biological plausibility, in
        5         something -- if there is -- based       5   my case, and for my review and for my
        6         on my opinion of the study design,      6   report, I'm looking at the inflammation
        7         the information, the science, if        7   as a biological plausibility.
        8         it -- if it needs to be stated, if      8            There is data going back and
        9         the science needs to be out there,      9   scientific reviews and publications going
       10         then I have cited numerous times       10   back to the '60s which implicate
       11         unpublished information.               11   inflammation as a biological mediator for
       12    BY MR. HEGARTY:                             12   cancer.
       13         Q. Do you understand that for          13        Q. Doctor, listen to my
       14    purposes -- that the -- strike that.        14   question. My question is very specific
       15              Do you understand that the        15   to talc and the biologic plausibility
       16    Health Canada risk assessment is a --       16   between talc and ovarian cancer.
       17    only a draft assessment at this point in    17            Can you cite for me, besides
       18    time?                                       18   the Canadian documents you cited, any
       19         A. It is going to be reviewed,         19   scientific group, body or organization
       20    yes. I understand that it -- it is a        20   that has concluded that there is biologic
       21    draft assessment. I also understand that    21   plausibility between talcum powder use
       22    it has gone through scrutiny by both        22   and ovarian cancer?
       23    Health Canada and Canadian EPA.             23        A. There is biological
       24         Q. Do you understand that              24   plausibility and there is evidence that

                                          Page 215                                          Page 217
        1    there's a comment period that's going on     1   in Step 1, that talc causes inflammation.
        2    right now?                                   2   In Step 2, that inflammation is a
        3         A. I understand that, yes.              3   well-known and well-established factor
        4         Q. And that this is not a final         4   in -- in cancer.
        5    statement?                                   5        Q. Doctor, you are not
        6         A. Final statement. In any              6   answering my question. Do you want to
        7    document, any regulatory document that --    7   read my question? My question is very
        8    those that are put out by the National       8   specific.
        9    Academy of Science, whatever document        9             Can you cite for me any
       10    you're using, there's always a peer         10   scientific body or group or organization,
       11    review or comment period.                   11   other than what you say the Canadian
       12             In my opinion, in my               12   group or groups did, that has concluded
       13    professional career, documents do not       13   that there is biologic plausibility
       14    change that drastically based upon the      14   between talcum powder use and ovarian
       15    comments that come in. Based upon           15   cancer?
       16    National Academy of Science, and the        16             MS. O'DELL: Objection.
       17    National Toxicology Program. There are      17        Objection to the question. Asked
       18    usually not -- there are no -- by the       18        and answered.
       19    time it reaches this point, there are no    19             THE WITNESS: I stand by my
       20    substantive comments that allow for         20        answer. That, again, talc can
       21    extensive changes.                          21        cause inflammation. It's well
       22         Q. Other than the Canadian             22        known. And inflammation is an
       23    documents you just cited, can you cite      23        underpinning for cancer.
       24    for me any other scientific group, body     24   BY MR. HEGARTY:

                                                                 55 (Pages 214 to 217)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 200 of 366 PageID:
                                   75555

                                   Judith Zelikoff, Ph.D.
                                         Page 218                                        Page 220
        1         Q. Okay. Cite for me any              1   biological mechanism that everyone
        2    scientific group, body or organization     2   including the National Toxicology, the
        3    who has said that.                         3   IARC, the National Academy of Science,
        4         A. That is throughout                 4   EPA, all recognize.
        5    literature. If you go back to 1960 and     5        Q. Cite for me any group.
        6    talk about the Vertel and the role of      6   Again, you are not answering my question.
        7    inflammation in cancer, and numerous       7             My answer --
        8    other publications since that, if you      8        A. Okay.
        9    look at -- talc is used to induce          9        Q. -- my question is other than
       10    pleurodesis because of its inflammatory   10   the Canadian groups you've cited, cite
       11    responsiveness.                           11   for me any group by name who has reached
       12         Q. Doctor, you still are not         12   the same opinion as you about biologic
       13    answering my question. My question is     13   plausibility.
       14    name a scientific body, organization or   14             MS. O'DELL: Objection to
       15    group who has concluded, as you have      15        form. Other than those she just
       16    done, or you say you do in your paper,    16        listed in her last answer?
       17    that there is biologic plausibility       17             MR. HEGARTY: Well, she
       18    between talc and ovarian cancer.          18        didn't list any. I think the
       19             MS. O'DELL: Objection to         19        record shows that.
       20         the form.                            20             MS. O'DELL: Yes, she did.
       21             THE WITNESS: I gave you --       21             MR. HEGARTY: Which ones did
       22    BY MR. HEGARTY:                           22        she list?
       23         Q. Cite for me the groups.           23             MS. O'DELL: NTP. IARC.
       24             MS. O'DELL: Excuse me. Let       24             MR. HEGARTY: Okay. Are you

                                         Page 219                                        Page 221
        1         me -- objection to form. Asked        1       going on the record to say NTP has
        2         and answered. The doctor has          2       concluded that talcum powder use
        3         answered your question. You may       3       is a biologic
        4         not like the answer, but she's        4       plausibility/plausible cause of
        5         answered it.                          5       ovarian cancer?
        6    BY MR. HEGARTY:                            6            THE WITNESS: We're not --
        7         Q. Cite for me the groups by          7            MS. O'DELL: She was talking
        8    name.                                      8       about inflammation and cancer, as
        9             MS. O'DELL: Objection to          9       you well know.
       10         form.                                10            MR. HEGARTY: Right, which
       11             THE WITNESS: Ask the             11       is why she's not answering my
       12         question again?                      12       question.
       13    BY MR. HEGARTY:                           13            MS. O'DELL: No, no. Your
       14         Q. Cite for me any name of any       14       question was not in relation to
       15    group that has reached the same opinion   15       specific talc and biologic
       16    as you?                                   16       plausibility.
       17         A. Besides the Health Canada?        17            So the doctor has answered
       18         Q. Correct.                          18       your question.
       19         A. There are -- I -- you're          19            MR. HEGARTY: I think the
       20    asking for something that is not -- I'm   20       record will reflect otherwise.
       21    answering the question by telling you     21   BY MR. HEGARTY:
       22    that you have talc which is an            22       Q. Doctor, listen to my
       23    inflamagogue, and you have talc and its   23   question --
       24    relationship with cancer. And that is a   24            MS. O'DELL: No, it will

                                                               56 (Pages 218 to 221)
                Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 201 of 366 PageID:
                                   75556

                                    Judith Zelikoff, Ph.D.
                                          Page 222                                         Page 224
        1         not.                                    1   I've shown, whether it's in air pollution
        2    BY MR. HEGARTY:                              2   or whether it's in tobacco products or
        3         Q. Listen to my question.               3   nicotine products or World Trade Center
        4             Can you cite for me any             4   dust or metal inhalation or nanoparticle
        5    group besides the Canadian group who has     5   inhalation. They all give biological
        6    concluded that there is biologic             6   plausibility statements for the
        7    plausibility, who has made a statement       7   observations that have been found in my
        8    that there is biologic plausibility          8   laboratory.
        9    between talcum powder use and ovarian        9        Q. Where have you ever
       10    cancer?                                     10   published step-by-step methodology for
       11         A. I'm telling -- as I said            11   how you go about determining whether
       12    before, you're leaving out the word         12   there is biological plausibility between
       13    "inflammation."                             13   a substance and a disease?
       14         Q. Doctor, you -- you need to          14        A. I use my professional
       15    answer the question I ask.                  15   judgment.
       16         A. I -- I --                           16        Q. Have you ever published that
       17         Q. Your counsel can come back          17   professional judgment?
       18    and ask you that question. I under -- I     18            MS. O'DELL: Objection to
       19    want to know the name of any organization   19        form.
       20    by name who has concluded that there is     20            THE WITNESS: I don't think
       21    biologic plausibility between perineal      21        that would be publishable
       22    use of talc and ovarian cancer.             22        material.
       23         A. Anyone --                           23   BY MR. HEGARTY:
       24             MS. O'DELL: Other than the         24        Q. In the end, Doctor, your

                                          Page 223                                         Page 225
        1        ones she -- she's listed.                1   report is your subjective take on the
        2            THE WITNESS: Anyone that             2   studies, correct?
        3        you say -- any -- I'll do it             3            MS. O'DELL: Objection to
        4        again. National Toxicology               4       form.
        5        Program. IARC. Institute of              5   BY MR. HEGARTY:
        6        Medicine.                                6       Q. I mean, you don't speak for
        7            They may not say the                 7   any scientific group, do you?
        8        sentence you are -- you are              8       A. I'm an expert toxicologist,
        9        implying or you're stating. But          9   recognized clearly by the Society of
       10        they all show that talc has --          10   Toxicology as an expert in my field.
       11        produces inflammation.                  11   And -- I'm sorry. I --
       12            I don't think that the -- I         12       Q. Well, is your report
       13        think that's a very common              13   speaking for the society --
       14        knowledge that talc or talcum           14            MS. O'DELL: Excuse me.
       15        powder products does produce            15   BY MR. HEGARTY:
       16        inflammation.                           16       Q. Is your report speaking for
       17    BY MR. HEGARTY:                             17   the Society of Toxicology?
       18        Q. Doctor, where have you ever          18            MS. O'DELL: She wasn't
       19    published a methodology for determining     19       finished.
       20    whether there is biologic plausibility      20            THE WITNESS: I wasn't. I
       21    between an exposure and a disease?          21       was --
       22        A. Almost every paper that I            22            MS. O'DELL: She wasn't
       23    have in my CV talks about the biological    23       finished. Please let the witness
       24    plausibility for the observations that      24       finish.

                                                                 57 (Pages 222 to 225)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 202 of 366 PageID:
                                   75557

                                    Judith Zelikoff, Ph.D.
                                          Page 226                                          Page 228
        1             MR. HEGARTY: I'll withdraw          1        form.
        2        the question.                            2             You can answer.
        3    BY MR. HEGARTY:                              3             THE WITNESS: This is my
        4        Q. Doctor, do you speak for the          4        opinion based upon my systematic
        5    Society of Toxicology for purposes of        5        review of all the scientific
        6    your opinions in your report?                6        literature. And they -- by the
        7        A. No.                                   7        nature of hiring me, they have
        8        Q. Do you speak for any                  8        approved of my -- my opinions.
        9    society, any toxicology society --           9        Maybe not specifically in this
       10    society for purposes of your opinions?      10        case, but they would not have
       11        A. You didn't let me finish my          11        hired me or kept me for 35 years
       12    answer.                                     12        if they did not agree that I was a
       13             I do not speak for the             13        well-known established
       14    society of toxicology. But I am a           14        toxicologist whose opinions are
       15    recognized toxicology expert, recognized    15        based in my professional judgment.
       16    by the Society of Toxicology as an          16   BY MR. HEGARTY:
       17    expert. And I have written this report      17        Q. Did you tell the university,
       18    based upon literature, scientific           18   New York University, of your opinions in
       19    evidence, and my professional judgment.     19   this case?
       20        Q. What society has recognized          20        A. I did not.
       21    you as an expert in talc and ovarian        21        Q. Have you told them that
       22    cancer?                                     22   you're an expert witness for plaintiffs
       23        A. I'm recognized as expert in          23   in this litigation?
       24    toxicology.                                 24        A. I have, yes.

                                          Page 227                                          Page 229
        1         Q. What society has --                  1        Q. Have you reported, in your
        2         A. Society of Toxicology.               2   financial disclosure, the money that
        3         Q. Has the Society of                   3   you've made in this litigation?
        4    Toxicology recognized you as an expert in    4        A. Up until -- we are asked
        5    talc and ovarian cancer?                     5   that question -- we have to fill out
        6             MS. O'DELL: Objection to            6   reports on transparency and conflicts of
        7         form.                                   7   interest. And I think the last time I
        8             THE WITNESS: I was                  8   did it was in November of 2018. And I
        9         recognized as an expert in tox and      9   reported up to that time, yes. We are
       10         ovarian cancer and talc by the         10   required to do that and, yes, I am
       11         very basis that I'm sitting here.      11   completely transparent.
       12    BY MR. HEGARTY:                             12            So any money that I've made
       13         Q. You don't speak for your            13   since November, or since the filing of
       14    university, do you?                         14   the confidentiality agreement has not
       15         A. No one -- no one speaks             15   been reported but will be coming in March
       16    directly for the university. But what we    16   or April.
       17    say, we understand our paychecks come       17        Q. You don't speak for any
       18    from the university, and we follow within   18   journal for the purpose of your report,
       19    the university and the medical school       19   do you?
       20    guidelines.                                 20        A. For purposes of this report
       21         Q. Are your opinions in this           21   I do not speak for journals. But I do
       22    case the opinions of New York University?   22   speak for journals because I'm an editor,
       23         A. This is my --                       23   I'm an associate editor and on the
       24             MS. O'DELL: Objection to           24   editorial boards for numerous

                                                                 58 (Pages 226 to 229)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 203 of 366 PageID:
                                   75558

                                    Judith Zelikoff, Ph.D.
                                           Page 230                                         Page 232
        1    environmental health and toxicology          1        several, there are case-control
        2    journals.                                    2        studies as well as cohort studies
        3         Q. At the top of Page 3 of your         3        which showed negative
        4    report, you say in the first full            4        associations.
        5    paragraph that you considered the studies    5   BY MR. HEGARTY:
        6    that did not find an increased risk of       6        Q. You did not cite any of
        7    ovarian cancer with talc use.                7   those in your report, though, did you?
        8             Do you see that?                    8        A. No. What I said -- I'm
        9             MS. O'DELL: What page are           9   sorry. Let me try and make it clear.
       10         you on? I'm sorry.                     10             Yes, those meta-analyses
       11    BY MR. HEGARTY:                             11   were included in the report or -- I need
       12         Q. Page 3.                             12   to find the names. Systematic review
       13         A. I'm sorry. I know we're on          13   that I cited was
       14    Page 3.                                     14   P-E-N-N-I-N-K-I-L-A-M-P-I 2018. And that
       15         Q. The first full paragraph.           15   was a meta-analysis which reviewed the
       16         A. My opinions below?                  16   epidemiological case-control and cohort
       17         Q. The first full paragraph.           17   studies which showed that there were
       18         A. My opinions below. "My              18   studies that had negative associations.
       19    opinions below" --                          19        Q. Is that the only reference
       20         Q. At the very -- at the very          20   that you included in your report, to
       21    end, you say you considered those studies   21   studies that did not find an increased
       22    that did not find an increased risk.        22   risk of ovarian cancer with talc use?
       23             Do you see that?                   23             MS. O'DELL: Object to the
       24         A. I'm reading it.                     24        form.

                                           Page 231                                         Page 233
        1             Yes, okay. You were reading         1            THE WITNESS: No. No.
        2    in the middle of the sentence. "To my        2            MS. O'DELL: Excuse me.
        3    knowledge, I considered and evaluated the    3        Object to the form.
        4    majority of all available relevant           4            THE WITNESS: No. Under the
        5    studies in the process of evaluating the     5        animal models on Page 13, there
        6    literature, including those that reported    6        were -- with rats that were
        7    an elevated risk of ovarian cancer with      7        exposed by the peritoneum --
        8    exposure to talc and those where other       8        perineum, sorry, to either talc or
        9    chemicals were reported within talc-based    9        no treatment. And while they did
       10    body powders, including those that did      10        find inflammatory response --
       11    not find an increased risk." Yes.           11        again, going back to my biological
       12         Q. You did not cite a single           12        plausibility -- they did not find
       13    paper in your report that did not find an   13        neoplasms.
       14    increased risk of ovarian cancer with       14   BY MR. HEGARTY:
       15    talc use, did you?                          15        Q. So that would be an example
       16             MS. O'DELL: Objection to           16   of a study that did not show an increased
       17         form.                                  17   risk of ovarian cancer with talc use,
       18             THE WITNESS: There were --         18   correct?
       19         in reading over the meta-analysis      19        A. That is --
       20         of -- I'm sorry, I'm probably          20            MS. O'DELL: Object to the
       21         going to get his name wrong --         21        form.
       22         Penninkilampi.                         22            Go ahead.
       23             In reading over the                23   BY MR. HEGARTY:
       24         meta-analysis of several -- from       24        Q. Is that correct?

                                                                  59 (Pages 230 to 233)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 204 of 366 PageID:
                                   75559

                                    Judith Zelikoff, Ph.D.
                                          Page 234                                         Page 236
        1         A. Sorry. Repeat the question.         1   showing that talc was not toxic to cells?
        2    Repeat the question, please.                2        A. I read comparison studies.
        3         Q. Sure. So that is an example         3   Let me please find that, the exact names.
        4    of a study that, in your opinion, does      4        Q. Let me withdraw the
        5    not show an increased risk of ovarian       5   question. Doctor, in your opinion is
        6    cancer with talc use?                       6   talc mutagenic?
        7             MS. O'DELL: Objection to           7        A. How do you define
        8         form. Go ahead. Sorry.                 8   "mutagenic"?
        9             THE WITNESS: Sorry.                9        Q. Doctor, what's your --
       10             This is a study which shows       10   mutagenic is mutation to genes. Does
       11         biological plausibility by showing    11   talc mutate genes?
       12         that there is a foreign body          12        A. Talc leads to changes in
       13         reaction and inflammatory             13   gene expression which can be inferred as
       14         response. However, it does not        14   a mutation. However, when you talk about
       15         show that there was any change in     15   mutation, you have many different
       16         neoplasm -- or any induction of       16   mechanisms of mutation. Mutation can
       17         neoplasms or cancer.                  17   occur as a result of a genotoxic or
       18    BY MR. HEGARTY:                            18   direct impact on DNA, or it can occur as
       19         Q. Did you read any cell study        19   a result of changes in the epigenome,
       20    that showed that talc is not cytotoxic?    20   which leads to changes in expression of
       21         A. Can you please explain what        21   the gene.
       22    you mean by cytotoxic? I want to answer    22        Q. Does talc directly mutate
       23    the question as you understand it.         23   genes?
       24         Q. What is your definition of         24        A. Talc has been shown to

                                          Page 235                                         Page 237
        1    cytotoxicity?                               1   cause -- to cause changes in particular
        2          A. I'd like to answer the             2   enzymes in the gene expression. So a
        3    question that you're asking me.             3   mutation -- yes, it has been -- it has
        4          Q. I'm asking you your                4   been shown for mutation. But I just
        5    definition. The way a deposition works      5   need -- I need the attorneys to
        6    is I ask you questions. You don't ask me    6   understand that there are many ways to
        7    questions.                                  7   mutate a cell, not only can you do it by
        8              MS. O'DELL: Don't be -- be        8   chemical agent, but you can also -- it
        9          courteous to the witness, please.     9   occurs with aging.
       10              MR. HEGARTY: I am.               10            So you do not need -- I'm
       11              THE WITNESS: I appreciate        11   sorry. You do not need genotoxicity to
       12          that. I just want to, as a           12   produce mutagenesis.
       13          toxicologist, the word               13            Now, if you look at many
       14          "cytotoxicity" carries many          14   different assays such as the Ames assay
       15          meanings.                            15   which uses bacteria to assess
       16    BY MR. HEGARTY:                            16   mutagenicity, you are not going to see
       17          Q. What is your definition --        17   that as a possibility for talc because
       18    basic definition of cytotoxicity?          18   the bacteria cannot engulf the particle
       19          A. There are many meanings.          19   and the particle needs to be ingested in
       20    Cytotoxicity taken literally meaning       20   order to show mutagenesis.
       21    toxicity to a cell. Cyto, cell;            21        Q. Doctor, on Page 4 above your
       22    toxicity, toxic. However, toxicity can     22   section "fibrous talc" --
       23    be measured by numerous endpoints.         23        A. I see it.
       24          Q. Did you read any studies          24        Q. -- you refer to particle

                                                                60 (Pages 234 to 237)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 205 of 366 PageID:
                                   75560

                                   Judith Zelikoff, Ph.D.
                                         Page 238                                         Page 240
        1    size for talc.                             1            THE WITNESS: Establishing
        2         A. That's correct.                    2        my biological plausibility was --
        3         Q. Is knowing particle size           3        was travel -- is traveling through
        4    part of your methodology for your          4        migration and the ability for a --
        5    opinions in your report?                   5        for the powder to migrate or the
        6         A. I'm sorry. I don't                 6        constituents to migrate. And --
        7    understand what you mean by was it part    7        and also the ability to be
        8    of my methodology.                         8        inflammatory.
        9         Q. Well, what is the threshold        9   BY MR. HEGARTY:
       10    size of a talc particle to establish      10        Q. Well, what size -- what size
       11    biologic plausibility?                    11   of particle -- what size must the
       12             MS. O'DELL: Object to form.      12   particle be to cause inflammation that
       13             THE WITNESS: I don't think       13   leads to ovarian cancer?
       14         you can answer that question.        14        A. Particles of any --
       15             In -- let me say this.           15            MS. O'DELL: Objection to
       16             In doing my methodology and      16        form. You may go.
       17         accumulating literature, I -- as I   17            THE WITNESS: Particles of
       18         said, I binned or siloed             18        any size can cause inflammation.
       19         individual things.                   19   BY MR. HEGARTY:
       20             And one of the silos and one     20        Q. What about talc particles,
       21         of the categories that I -- that I   21   what size of talc particle must there be
       22         wanted to read was size. Size        22   to cause inflammation?
       23         makes a very big difference in       23        A. Talc particles of any size
       24         particles, and for example, if the   24   can cause inflammation.

                                         Page 239                                         Page 241
        1         particle is greater than              1        Q. And is there --
        2         10 microns it's going to be what      2        A. However, there are
        3         we call inhalable as opposed to       3   differences, from reading the literature,
        4         respirable. So where a particle       4   that indicates that the smaller the
        5         can go in terms of, and now I'm       5   particle the greater the inflammation.
        6         using the lung as an example,         6            And that's universally
        7         where the particle can go will        7   known.
        8         depend upon its size and how long     8        Q. Was part of your analysis,
        9         it will remain in a tissue.           9   did you -- did that involve investigating
       10             So in my bins, in my silos       10   biologic plausibility as it relates to
       11         were -- certainly size was a         11   particle size?
       12         parameter.                           12        A. That was -- that was part of
       13    BY MR. HEGARTY:                           13   my reading and part of my -- my thought
       14         Q. And what is the threshold         14   process, my gathering of information,
       15    size of a talc particle to establish      15   yes.
       16    biologic plausibility between talc and    16        Q. And is there a certain size
       17    ovarian cancer?                           17   of particle necessary to establish
       18             MS. O'DELL: Objection to         18   biologic plausibility under your opinion?
       19         the form.                            19            MS. O'DELL: Objection.
       20    BY MR. HEGARTY:                           20        Asked and answered.
       21         Q. What size must the particle       21            THE WITNESS: Well, I do
       22    be?                                       22        think I answered that question.
       23             MS. O'DELL: Objection to         23        But again there's really --
       24         form.                                24        apart -- it is not just particle

                                                               61 (Pages 238 to 241)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 206 of 366 PageID:
                                   75561

                                    Judith Zelikoff, Ph.D.
                                          Page 242                                         Page 244
        1         size which is important in             1        Q. Well, fibrous talc is only
        2         producing an inflammation. It is       2   talc that grows in an -- in an
        3         many parameters. And so there was      3   asbestiform habit, correct?
        4         no one size or one cutoff that         4        A. Fibrous talc refers to the
        5         induces inflammation or does not.      5   shape and the longitudinal direction of
        6         It's chemical composition, it's        6   the fibers. That's what fibrous talc is,
        7         shape of the particle, it's            7   and asbestiform refers to the same
        8         bioavailability of the particle.       8   longitudinal pattern of the particular
        9    BY MR. HEGARTY:                             9   fibrils and -- to form a bundle or to
       10         Q. Can you cite for me the --         10   form a fiber.
       11    the particle size for Johnson's Baby       11        Q. So you don't agree that
       12    Powder over the last 120 years?            12   fibrous talc is only talc that grows in
       13              MS. O'DELL: Objection to         13   an asbestiform habit?
       14         form.                                 14             MS. O'DELL: Objection to
       15              THE WITNESS: I'm not sure I      15        form.
       16         can cite it over the last             16             THE WITNESS: Fibrous talc
       17         120 years. But I can tell you         17        by its very nature is saying that
       18         from the information in the           18        it grows in an asbestiform-like
       19         documents that I -- that I            19        phenotype or asbestiform-like
       20         reviewed, that particle size goes     20        morphology. That's the nature of
       21         from above 50 microns,                21        asbestiform.
       22         micrometers, microns, down to         22             Asbestiform is a form.
       23         0.3 micron with an average size of    23   BY MR. HEGARTY:
       24         10.5 to 11.5 depending on the         24        Q. You state in the middle

                                          Page 243                                         Page 245
        1         document that you read. So an          1   paragraph, in that section, that talc in
        2         average or median size.                2   its fibrous form has been classified by
        3    BY MR. HEGARTY:                             3   IARC as Group I, a known carcinogen.
        4         Q. So did you -- did you do            4   That's not correct, is it?
        5    analysis for biologic plausibility          5            MS. O'DELL: Objection to
        6    purposes of every size of talc particle?    6         form.
        7             MS. O'DELL: Objection.             7            THE WITNESS: I'm sorry,
        8         Asked and answered.                    8         could you say again?
        9             THE WITNESS: Did I do              9   BY MR. HEGARTY:
       10         analysis -- I -- no, as I said, I     10         Q. Well, you agree that only
       11         gave you the size of the -- of the    11   talc containing asbestiform fibers has
       12         talcum that was reviewed, that I      12   been classified as Group I by IARC,
       13         reviewed within the documents.        13   correct?
       14    BY MR. HEGARTY:                            14         A. Are you referring to in 2010
       15         Q. You, on -- on page -- strike       15   IARC expanded or -- I'm sorry, in its
       16    that.                                      16   fibrous form, talc has been classified as
       17             Under the section Fibrous         17   a Group I known carcinogen?
       18    Talc, you say that -- is it your           18         Q. Correct.
       19    testimony that -- strike that.             19         A. Asbestiform fibers have been
       20             Is it your opinion that           20   listed by IARC as a carcinogen.
       21    asbestiform talc is also called fibrous    21         Q. A talc containing
       22    talc?                                      22   asbestiform fibers is the only form of
       23         A. Talc and asbestos are -- are       23   talc that's been designated as a class --
       24    different minerals.                        24   as a Category I carcinogen by IARC,

                                                                62 (Pages 242 to 245)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 207 of 366 PageID:
                                   75562

                                    Judith Zelikoff, Ph.D.
                                           Page 246                                         Page 248
        1    correct?                                     1   Can you cite for me any published medical
        2          A. It's not the only one that's        2   literature finding asbestiform talc in
        3    been associated with it, but for the         3   Johnson's Baby Powder?
        4    purpose of my report that I put down,        4        A. Page 6 of my report speaks
        5    it's the asbestiform that has been           5   of the Crowley report, and that the fiber
        6    classified by the IARC.                      6   content ranged from 8 percent to
        7          Q. Well, it's talc containing          7   30 percent. And that Pooley and Rohl
        8    asbestiform fibers, correct?                 8   analyzed 27 talc powders and detected
        9              MS. O'DELL: Objection to           9   tremolite fibers in three samples.
       10          form.                                 10        Q. Is it your testimony that
       11              THE WITNESS: It's -- it's         11   Crowley -- Crowley's article refers to
       12          fibrous talc.                         12   Johnson's Baby Powder?
       13    BY MR. HEGARTY:                             13        A. I would have to see the
       14          Q. Is that -- that's your --          14   article.
       15    your -- it's your opinion that IARC's       15        Q. How about Pooley and Rohl,
       16    designation in 2012 is of asbestiform       16   do they refer to Johnson's Baby Powder?
       17    talc?                                       17        A. I would have to see the
       18          A. Their designations is              18   article.
       19    form -- is talc fibers, which are           19        Q. In the end, for purposes of
       20    asbestiform in nature.                      20   your opinion as to asbestos and talc,
       21          Q. Do you cite to any published       21   you're relying on the report of Longo and
       22    data in the medical literature that         22   Rigler, correct?
       23    asbestiform talc has been found in          23            MS. O'DELL: Objection to
       24    Johnson's Baby Powder?                      24        form.

                                           Page 247                                         Page 249
        1          A. I'm sorry.                          1            THE WITNESS: No, I rely on
        2             You cite -- do you cite to          2        the scientific literature, not on
        3    any published data in the medical            3        any one paper. I used weight of
        4    literature that asbestiform talc...          4        evidence to come to my opinion.
        5             The documents, the published        5   BY MR. HEGARTY:
        6    documents within Johnson & Johnson and       6        Q. Did you include in your
        7    the Longo report, Longo's 2017, as well      7   weighing of evidence the expert reports
        8    as 2018 supplement from December, shows      8   of Longo and Rigler?
        9    asbestiform fibers.                          9        A. I read the Longo supplement
       10          Q. My question though is can          10   2018 after I wrote the report.
       11    you cite any data published in the          11        Q. For purposes -- for purposes
       12    medical literature that has found           12   of the opinions again in this case, do
       13    asbestiform talc in Johnson's Baby          13   you rely in any way on the Longo and
       14    Powder?                                     14   Rigler reports?
       15          A. I thought I just did in            15            MS. O'DELL: Objection to
       16    terms of the Longo report.                  16        form.
       17          Q. Is the Longo report                17            THE WITNESS: I'm not sure I
       18    published in the medical literature?        18        understand your question. As I
       19          A. It's -- I'm not sure whether       19        said, I wrote the report on
       20    it's accessible in the medical -- medical   20        November 16th. I read the Longo
       21    literature at this point. But I'm sure      21        supplement report in -- about two
       22    it could be gathered.                       22        weeks ago.
       23          Q. My -- my question is solely        23   BY MR. HEGARTY:
       24    as to the published medical literature.     24        Q. But you cite in your report

                                                                 63 (Pages 246 to 249)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 208 of 366 PageID:
                                   75563

                                   Judith Zelikoff, Ph.D.
                                         Page 250                                         Page 252
        1    the -- the MDL report of Longo and         1        use, the polarized light
        2    Rigler, correct?                           2        microscopy and the TEM all seem to
        3         A. What page is that please?          3        be the way he describes it. His
        4         Q. At the end of Exhibit B.           4        methodologies were spot on in
        5         A. I -- okay.                         5        terms of what other people do.
        6              Excuse me. I referred to         6   BY MR. HEGARTY:
        7    Longo on page -- there is no page.         7        Q. Are you an expert in XRD?
        8    Sorry.                                     8        A. As I stated, I worked with
        9              The cosmetic talc in the         9   people who used the instrumentation. An
       10    Lancet and cosmetic talc in -- and        10   expert, again, I'm not sure what you mean
       11    ovarian cancer in the Lancet. Those are   11   by expert. Have I done XRD on my own,
       12    very early papers which I -- which I      12   no. But in our department we have
       13    reviewed. Those papers were considered.   13   numerous people who -- who use that
       14    The latest papers from Longo were not     14   instrumentation.
       15    considered in my report.                  15        Q. Are you an expert in TEM?
       16         Q. Are you talking about the         16        A. I have done TEM for my Ph.D.
       17    latest --                                 17   thesis.
       18         A. 2017, 2018. They were not         18        Q. Have you do TEM -- have you
       19    read until after the report was           19   ever done TEM to detect asbestos?
       20    finalized.                                20        A. I have not done TEM to
       21         Q. Do you know Longo and             21   detect asbestos. But I looked at his
       22    Rigler?                                   22   methodologies, his study design, and the
       23         A. Not at all.                       23   instruments that he used. And they are
       24              THE VIDEOGRAPHER: Doctor,       24   state of the art.

                                         Page 251                                         Page 253
        1        can you raise your microphone up?      1        Q. Have you ever performed the
        2             THE WITNESS: Oh, sure.            2   test that he describes in his articles or
        3    BY MR. HEGARTY:                            3   reports?
        4        Q. Did you do anything to              4        A. I have used polarized light
        5    assess their expertise in this area?       5   microscopy.
        6        A. I -- I --                           6        Q. That's not my question. My
        7             MS. O'DELL: Are you               7   question is have you performed the same
        8        referring to Dr. Longo and             8   tests in your lab or in any -- in your
        9        Dr. Rigler?                            9   experience that he has performed and
       10             MR. HEGARTY: Yes.                10   reported on in his reports?
       11             THE WITNESS: I read the --       11        A. Personally, no.
       12        the bio sketch, a brief, very         12        Q. Starting on Page 5, you talk
       13        brief bio sketch of Ray Longo.        13   about asbestos.
       14        And I looked up his credentials in    14        A. Page 5 of what?
       15        terms of how long he's been in        15        Q. Of your report.
       16        the -- in this company, how he        16        A. Thank you.
       17        started this company or at least      17        Q. Is it your opinion that any
       18        was president of this company for     18   amount of exposure to asbestos, even to a
       19        a short period of time.               19   single fiber, can cause disease?
       20             From what I know of my own       20        A. From the scientific
       21        work in the laboratory and working    21   literature it is -- it appears -- it
       22        with other chemists and technical     22   appears pretty conclusive that there is
       23        instrumentation people in the         23   no threshold for the amount of
       24        laboratory, I -- the XRD that they    24   asbestiform asbestos that is needed to at

                                                               64 (Pages 250 to 253)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 209 of 366 PageID:
                                   75564

                                   Judith Zelikoff, Ph.D.
                                          Page 254                                         Page 256
        1    least start a disease process.              1            THE WITNESS: I don't think
        2         Q. Before being contacted by           2       that's -- I don't think that's --
        3    counsel for plaintiffs in this case, had    3       I don't personally think that's
        4    you read any literature concerning          4       the question.
        5    asbestos and ovarian cancer?                5            The question is, asbestos is
        6         A. I have not read literature          6       well classified, well known as a
        7    prior to that on asbestos and ovarian       7       Class 1 carcinogen by IARC. And
        8    cancer. However, I am familiar with, as     8       one fiber has the potential to
        9    I said, other particles, other dusts,       9       initiate the biological processes
       10    other fibers that I have worked with in    10       or provides biological
       11    the laboratory.                            11       plausibility that there, in fact,
       12         Q. Had you even heard of a link       12       by producing inflammation and
       13    between asbestos and ovarian cancer        13       producing reactive oxygen
       14    before being contacted by plaintiffs'      14       intermediates, one fiber can start
       15    counsel?                                   15       the process for ovarian cancer.
       16         A. Yes.                               16            And again, let me just
       17         Q. Where did you hear that            17       repeat that my mission, my
       18    from?                                      18       question that was asked, was to
       19         A. Discussed it with my               19       provide biological plausibility
       20    colleagues. As I said, I've listened to    20       for talc, not to define causation
       21    the media on discussing it. And my         21       as an epidemiologist.
       22    colleagues are a very good source,         22   BY MR. HEGARTY:
       23    although they do not do this work in       23       Q. So it's your opinion that a
       24    their laboratory, we all try to keep up    24   single fiber of asbestos in talc can

                                          Page 255                                         Page 257
        1    with the latest emerging scientific         1   establish biological plausibility between
        2    debates.                                    2   talc and ovarian cancer?
        3         Q. What is the minimum number          3        A. My --
        4    of asbestos fibers necessary to cause       4            MS. O'DELL: Object to the
        5    ovarian cancer?                             5        form.
        6         A. Can -- do you mean -- I said        6            THE WITNESS: My opinion is
        7    that there is really no threshold. And      7        that a single fiber can induce
        8    it can be one fiber. It depends on the      8        inflammation and reactive oxygen
        9    individual and the susceptibilities and     9        species and can change the cell
       10    the vulnerabilities of that particular     10        into a pro-oxidant cell that
       11    individual.                                11        starts the process for ovarian
       12         Q. So it's your opinion that          12        cancer.
       13    one fiber of asbestos can cause ovarian    13   BY MR. HEGARTY:
       14    cancer?                                    14        Q. Do you agree that there are
       15         A. Under certain conditions,          15   background rates of asbestos in certain
       16    yes, it is my opinion.                     16   areas?
       17         Q. Can you cite for me any            17        A. Do you mean in the air?
       18    authority for that opinion specific to     18        Q. In the air?
       19    one fiber?                                 19        A. In the air, it depends on
       20              MS. O'DELL: Object to form.      20   that area. If that's an area where
       21    BY MR. HEGARTY:                            21   there's mining or there's a house being
       22         Q. And ovarian cancer.                22   redone from the 1970s or 19 -- early '80s
       23              MS. O'DELL: Object to the        23   that might have used asbestos, then there
       24         form.                                 24   will be asbestos in the air. But not

                                                                65 (Pages 254 to 257)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 210 of 366 PageID:
                                   75565

                                    Judith Zelikoff, Ph.D.
                                           Page 258                                        Page 260
        1    sitting in this room, unless there is        1        A. It depends. After the World
        2    asbestos in the walls, which I doubt         2   Trade Center, there was.
        3    because it was only built about ten years    3        Q. Are those background
        4    ago.                                         4   levels -- do those background levels
        5          Q. Do the background rates of          5   cause ovarian cancer?
        6    asbestos in certain areas cause ovarian      6            MS. O'DELL: Objection to
        7    cancer?                                      7        the form.
        8          A. Asbestos has been shown to          8            THE WITNESS: The studies
        9    cause ovarian cancer by inhalation, yes.     9        that have been done by my
       10          Q. Is it your opinion that            10        colleagues in the aftermath of the
       11    background rates of asbestos in the air     11        World Trade Center disaster where
       12    can cause ovarian cancer?                   12        asbestos was generated have not at
       13              MS. O'DELL: Object to the         13        this time -- and New York City
       14          form.                                 14        Public Health has not at this time
       15              THE WITNESS: I don't --           15        looked at ovarian cancer. Ovarian
       16          again, background rates, it has       16        cancer occurs within 10 to 30, up
       17          been shown that workers that are      17        to 40 years later. So since 9/11
       18          in places where asbestos is made      18        was only 2001, there is -- there
       19          have a higher incidence of lung       19        is not sufficient time to have
       20          cancer as shown by Dr. Selikoff       20        developed ovarian cancer.
       21          many, many years ago.                 21   BY MR. HEGARTY:
       22    BY MR. HEGARTY:                             22        Q. Doctor, before 9/11 there
       23          Q. Doctor, you know what a            23   were background levels of asbestos in
       24    background rate of -- background level of   24   certain parts of New York City, correct?

                                           Page 259                                        Page 261
        1    a particle in air is, right?                 1        A. When there are houses that
        2         A. Yes, sir, I do.                      2   were built with it. There is -- asbestos
        3         Q. Okay. And is it your                 3   is not just -- should not be -- unless
        4    opinion that background levels of            4   there's a source, asbestos should not --
        5    asbestos in the air can cause ovarian        5   it would not be coming from jet engines.
        6    cancer?                                      6   It would not be coming from other
        7              MS. O'DELL: Objection to           7   sources. If it's there, it came from a
        8         form.                                   8   specific source. It's like we should not
        9              THE WITNESS: As I said,            9   have lead in our body at all. But we do
       10         sitting in this room, there should     10   because the lead came from the air where
       11         not be any background level of         11   there was lead in the gasoline.
       12         asbestos. So if you're talking         12            So there shouldn't be
       13         about background level in a            13   background levels of asbestos just
       14         particular institute or industry       14   hanging around unless there's an adequate
       15         where they're developing it, those     15   source that produced it.
       16         levels are quite high, and yes, I      16        Q. Does EPA allow background
       17         do believe that those levels           17   levels of asbestos in water?
       18         within a working environment can       18        A. I'm not familiar with that
       19         indeed cause inflammation that can     19   information. That's in water. You asked
       20         lead to causation.                     20   me about air.
       21    BY MR. HEGARTY:                             21        Q. I asked you a different
       22         Q. There are background levels         22   question. I can ask you a different
       23    of asbestos in the air in New York City,    23   question, Doctor.
       24    correct?                                    24        A. I understand the question,

                                                                 66 (Pages 258 to 261)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 211 of 366 PageID:
                                   75566

                                    Judith Zelikoff, Ph.D.
                                           Page 262                                        Page 264
        1    yes.                                         1        not been done.
        2         Q. Does EPA allow background            2            There are -- there is
        3    levels of asbestos in water?                 3        information on no observable
        4         A. I have not reviewed that             4        adverse effect level that has been
        5    literature.                                  5        established using a dose-response
        6         Q. As a toxicologist, you agree         6        by the NTP, National Toxicology
        7    that dose or level of exposure determines    7        Program.
        8    the toxicity of substances, correct?         8            And two milligrams of talc
        9              MS. O'DELL: Object to the          9        that they used produced minimal --
       10         form.                                  10        minimal affects in the rats and
       11              THE WITNESS: I believe that       11        mice that they tested. So
       12         dose as well as frequency,             12        somewhere below at least, from an
       13         duration, time of exposure are         13        inhalation perspective, is --
       14         all -- as well as dose contribute      14        produces no effect.
       15         to the toxicity of an agent.           15            However, they saw effects
       16    BY MR. HEGARTY:                             16        even at the lowest, two milligrams
       17         Q. You agree that a substance          17        per.
       18    can produce a harmful effect only if it     18   BY MR. HEGARTY:
       19    reaches a susceptible biological system     19        Q. My question was specific to
       20    within the body in high enough              20   ovarian cancer. That study did not --
       21    concentration, correct?                     21   did not identify any ovarian cancers in
       22              MS. O'DELL: Objection to          22   the mice -- in the mice or rats, correct?
       23         form.                                  23        A. That's not what they looked
       24              THE WITNESS: It depends on        24   for.

                                           Page 263                                        Page 265
        1         the -- let me read your question        1        Q. My question is specific to
        2         over. It was a lengthy question.        2   ovarian cancer.
        3         It depends on the -- on the             3        A. Let me read your question
        4         toxicant that you're talking            4   over again. Could you repeat your
        5         about. There is dose that you're        5   question. It's already gone past.
        6         exposed to, or concentration that       6        Q. What is the target dose that
        7         you're supposed to, and dose to         7   is necessary to start the biologic
        8         the target tissue. And for every        8   process of talc and ovarian cancer?
        9         different -- every different            9        A. Well, as I talked about, one
       10         chemical, there is a different         10   fiber of asbestos could start the
       11         target dose that could start a         11   biological process. It is not clear if
       12         biological process.                    12   there is a threshold dose or a
       13    BY MR. HEGARTY:                             13   concentration, or whether one -- and
       14         Q. And what is the target dose         14   we're talking about the whole talcum
       15    that is necessary to start the biologic     15   powder product. We're not talking about
       16    process of talc and ovarian cancer?         16   any one product. You're talking about
       17             MS. O'DELL: Object to the          17   the whole process and how much it will
       18         form.                                  18   start the biological process.
       19             THE WITNESS: Well, if              19            It's unknown, it's not in
       20         you -- if you look at talc as a        20   the literature. But I will tell you that
       21         whole, to give you a                   21   even small doses that are used of the
       22         concentration, a threshold             22   talcum -- of a talcum product, if you
       23         concentration, I'm not sure that       23   take a woman who takes a handful, if you
       24         has been -- I don't -- that has        24   take a woman that takes a little bit on a

                                                                 67 (Pages 262 to 265)
                    Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 212 of 366 PageID:
                                   75567

                                    Judith Zelikoff, Ph.D.
                                           Page 266                                        Page 268
        1    powder puff, that amount could even,         1             THE WITNESS: Can -- can you
        2    depending upon the woman, the                2        address the question again?
        3    susceptibility, the vulnerability, can       3   BY MR. HEGARTY:
        4    all start the process.                       4        Q. Is it your opinion that pure
        5              We're talking about the            5   talc does not exist?
        6    process, in my opinion. What you're          6             When I say pure talc, I mean
        7    talking about and in the opinion that I      7   talc without asbestos, without heavy
        8    report here, is that that can start an       8   metals, without fragrance.
        9    inflammatory process.                        9             MS. O'DELL: Objection to
       10         Q. And what is the number of           10        form.
       11    particles of talc necessary to start the    11             THE WITNESS: The idea of
       12    biologic process?                           12        talc is that it has, within its
       13              MS. O'DELL: Object to form.       13        lattice, metals.
       14              THE WITNESS: That is not in       14             So platy talc refers to the
       15         the scientific literature.             15        structure or the morphology of the
       16    BY MR. HEGARTY:                             16        talc, how it looks, what
       17         Q. Over Pages 6 through 8 of           17        dimensions it's in.
       18    your report you discuss asbestos. Is the    18             So, do I think there is
       19    presence of asbestos in talc necessary      19        platy talc? Of course there is
       20    for your biologic plausibility opinions?    20        platy talc.
       21         A. I looked at the entire              21   BY MR. HEGARTY:
       22    product.                                    22        Q. Is there platy talc without
       23         Q. Well, do you intend to              23   asbestos?
       24    testify that there is biologic              24        A. Well, according to the

                                           Page 267                                        Page 269
        1    plausibility between pure talc, the platy    1   studies out of Mossman's laboratories,
        2    talc, and ovarian cancer?                    2   they used asbestos, they used talc that
        3             MS. O'DELL: Object to the           3   contained nonfibrous talc.
        4         form.                                   4         Q. Do you have an opinion on
        5             THE WITNESS: I don't                5   whether there is talc without asbestos?
        6         think -- my opinion is that there       6             MS. O'DELL: Object to the
        7         may not be anything such as platy       7         form.
        8         talc in a pure form.                    8             THE WITNESS: In many of the
        9    BY MR. HEGARTY:                              9         documents from Johnson & Johnson,
       10         Q. Okay. It's your opinion             10         they measured fibrous talc as well
       11    that pure talc does not exist?              11         as other forms, non-asbestiform,
       12             MS. O'DELL: I'm not sure           12         and they -- they found that there
       13         she -- she finished her answer.        13         were samples, individual samples
       14             Had you finished, Doctor,          14         that they reported as
       15         before?                                15         nondetectable as having
       16             THE WITNESS: I actually            16         asbestiform talc.
       17         need a little water.                   17   BY MR. HEGARTY:
       18             MS. O'DELL: Okay. Sure.            18         Q. Well, do you have an opinion
       19             Had you finished your answer       19   of whether there is talc without
       20         before the second question was         20   asbestos?
       21         asked?                                 21         A. It depends where -- where
       22             THE WITNESS: No.                   22   it's mined. If it's mined in an area
       23             MS. O'DELL: Okay. You may          23   where people were extremely cautious,
       24         finish.                                24   there could be.

                                                                 68 (Pages 266 to 269)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 213 of 366 PageID:
                                   75568

                                   Judith Zelikoff, Ph.D.
                                          Page 270                                         Page 272
        1         Q. Did you do analysis of              1        sure how that would be done or I
        2    biologic plausibility for talc without      2        don't think it could be done.
        3    asbestos?                                   3            What I did was I did it for
        4             MS. O'DELL: Objection to           4        the entire product.
        5         form.                                  5   BY MR. HEGARTY:
        6             THE WITNESS: My biological         6        Q. And what do you -- what do
        7         assessment, my -- my biological        7   you think -- what is your opinion --
        8         plausibility was looking at the        8   strike that.
        9         entire product of talcum powder.       9            What is in the entire
       10    BY MR. HEGARTY:                            10   product in your opinion?
       11         Q. And how do you define the          11        A. Based upon the Johnson &
       12    entire product?                            12   Johnson documents. That's where my --
       13         A. The entire product is              13   that's where I will tell you what is in
       14    whatever are the ingredients or listed     14   there.
       15    within the documents or the test results   15            As -- as far as the product
       16    from Imerys that -- that indicate what     16   documents, it indicates that there are
       17    they measured, including the metals, the   17   metals, including -- not -- not totally
       18    asbestos, the -- the asbestiform fibers,   18   inclusive of, but to mention a few of the
       19    the fragrances.                            19   more well-known ones, cobalt, chromium
       20         Q. So you did your biologic           20   and nickel.
       21    plausibility analysis with -- based on     21            There are also, according to
       22    talc that has asbestos, heavy metals and   22   the Crowley report, there are also many
       23    fragrance in it, correct?                  23   chemicals that make up a fragrance. And
       24             MS. O'DELL: Objection to          24   there -- and in many of the samples

                                          Page 271                                         Page 273
        1        form.                                   1   tested, there was asbestos or asbestiform
        2            THE WITNESS: I did my               2   fibers, some of which were called fibrous
        3        biological plausibility on talcum       3   talc, others were called asbestiform and
        4        powder products.                        4   others in which they were called asbestos
        5            I looked at individual              5   fibers, or amphiboles or anthophyllite.
        6        products, individual constituents       6        Q. Did you review all the
        7        in adding to my -- to my report,        7   test --
        8        to my document. But I looked at         8        A. Anthophyllite.
        9        the entire product. And it is my        9        Q. I'm sorry.
       10        opinion that the entire product        10            Did you review all the
       11        causes inflammation and that           11   testing documents produced by Johnson &
       12        inflammation then goes on as a         12   Johnson and Imerys in this case?
       13        triggering mechanism to turn on        13        A. I reviewed the documents
       14        certain genes and to bind iron         14   that are in the production document black
       15        that can lead to the changes           15   binder to my right.
       16        needed for cancer in the ovary.        16        Q. Those were provided to you
       17    BY MR. HEGARTY:                            17   by plaintiffs' counsel, correct?
       18        Q. You did not do a separate           18        A. That is correct.
       19    analysis of talc without asbestos or       19        Q. Did you ask them if they
       20    without -- and without heavy metals and    20   provided to you all testing documents
       21    without fragrance, correct?                21   that had been produced in this case with
       22            MS. O'DELL: Object to the          22   regard -- by Johnson & Johnson and
       23        form.                                  23   Imerys?
       24            THE WITNESS: I'm not even          24        A. I did not ask that question

                                                                69 (Pages 270 to 273)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 214 of 366 PageID:
                                   75569

                                    Judith Zelikoff, Ph.D.
                                           Page 274                                         Page 276
        1    specifically.                                1   not present.
        2         Q. Do you know whether there            2        Q. You relied on plaintiffs'
        3    are additional documents of tests --         3   counsel to select for you the testing
        4    documents describing tests that were done    4   documents that you reviewed, correct?
        5    by Johnson & Johnson and/or Imerys with      5        A. I -- I read and reviewed
        6    regard to asbestos, heavy metals,            6   whatever they sent me.
        7    fragrances and talc?                         7         Q. And did you do anything to
        8             MS. O'DELL: Object to form.         8   verify that you had all the documents
        9             THE WITNESS: Plaintiff              9   regarding the testing of Johnson's Baby
       10         counsels and myself did talk about     10   Powder?
       11         that, some of that information,        11        A. I did nothing personally
       12         and --                                 12   other than ask the -- the attorneys if
       13             MS. O'DELL: Doctor,                13   there was anything else I needed in
       14         don't -- in terms of our               14   forming my opinion. In -- of production
       15         conversations --                       15   documents, if we're just referring to
       16             THE WITNESS: I'm sorry.            16   that.
       17             MS. O'DELL: -- those               17            I have no access to
       18         conversations are our work             18   production documents on my own or through
       19         product.                               19   the internet. And I know none of the
       20             But to the degree that your        20   other deposees.
       21         answer doesn't depend on our           21         Q. Did you do a comparison of
       22         conversations, you may -- you may      22   biologic plausibility across various
       23         answer.                                23   brands of talcum powder products?
       24             THE WITNESS: I -- I made it        24         A. I did not personally do any

                                           Page 275                                         Page 277
        1         clear that I would like to see          1   of that. However many of the documents
        2         documents that could go into my         2   and many of the studies including the
        3         assessment of biological                3   Longo supplement did compare, for
        4         plausibility.                           4   example, I think I misspoke when I said
        5    BY MR. HEGARTY:                              5   one of the places that Johnson & Johnson
        6         Q. Would you like to see                6   gets their talc is Korea. What I meant
        7    documents showing that there is no           7   was China. I should have said Asia. So
        8    asbestos in talcum powder, in particular     8   Korea is also a mine that provided, but
        9    Johnson's Baby Powder?                       9   not to Johnson & Johnson.
       10         A. I will review any documents         10            MS. O'DELL: Hey, Mark,
       11    that are provided to me, if asked to        11        we've been going about an hour and
       12    review them.                                12        15 minutes.
       13         Q. Did you ask plaintiffs'             13            MR. HEGARTY: Okay.
       14    counsel to provide you documents of         14            MS. O'DELL: Can we take a
       15    testing showing no asbestos in Johnson's    15        break?
       16    Baby Powder?                                16            MR. HEGARTY: Yeah.
       17         A. Many of those -- of the             17            THE VIDEOGRAPHER: The time
       18    documents that are in the product           18        is 2:27 p.m. Off the record.
       19    production document show that there are     19            (Short break.)
       20    samples that do not contain asbestos, or    20            THE VIDEOGRAPHER: We are
       21    I will say asbestiform or talc fibers.      21        back on the record. The time is
       22    So there is information in there showing    22        2:45 p.m.
       23    when there is -- it is present and          23   BY MR. HEGARTY:
       24    information in there showing when it was    24        Q. Doctor, if evidence was that

                                                                  70 (Pages 274 to 277)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 215 of 366 PageID:
                                   75570

                                    Judith Zelikoff, Ph.D.
                                          Page 278                                         Page 280
        1    there is no asbestos in Johnson's Baby       1   ludicrous actually.
        2    Powder, would that change your opinions      2        Q. None of the studies that you
        3    as to biological plausibility?               3   cite in your heavy metals section link
        4         A. No, sir, it would not.               4   the exposures that you discussed to
        5         Q. Same question with regard to         5   ovarian cancer risk, correct?
        6    heavy metals. If there were no heavy         6            THE WITNESS: I'm sorry.
        7    metals in Johnson's Baby Powder, would       7        This is not coming up.
        8    that change your opinions on biological      8            (Whereupon, a discussion was
        9    plausibility?                                9        held off the stenographic record.)
       10         A. I looked at the entire              10            THE WITNESS: They -- the
       11    product and it would not -- it would not    11        studies that I list for the
       12    change my opinion, as it exists             12        individual metals talk about the
       13    currently, with biological plausibility     13        potential inflammatory and
       14    that it would cause ovarian cancer          14        carcinogenic potential of those
       15    through -- through inflammation, is my      15        particular metals. And based on
       16    opinion.                                    16        the Crowley report, there are, and
       17         Q. In looking at your heavy            17        other production documents from
       18    metals section, beginning at Page 8 of      18        Johnson & Johnson, they list three
       19    your report -- are you there?               19        particular metals that are
       20         A. I'm not. I had to put my            20        associated with Johnson & Johnson
       21    glasses on. Thank you.                      21        products, cobalt, nickel and
       22         Q. There are no studies that           22        chromium.
       23    have looked at the effects of these         23   BY MR. HEGARTY:
       24    metals in powder dusted on the perineum,    24        Q. That was not my question.

                                          Page 279                                         Page 281
        1    correct?                                     1   My question is, none of the studies that
        2         A. Your question is there are           2   you cite --
        3    no studies looking at these individual       3        A. On the --
        4    metals?                                      4        Q. -- in your section on heavy
        5         Q. Correct?                             5   metals, evaluate ovarian carcinogenicity
        6         A. Perineal studies in the              6   potentials of these metals, correct?
        7    ovarian --                                   7            MS. O'DELL: Object to the
        8         Q. No, my question is, there            8        form.
        9    are no studies that looked at the effects    9            THE WITNESS: I do not talk
       10    of these metals in powder dusted on the     10        about ovarian cancer in particular
       11    perineum, correct?                          11        relation to these three metals
       12         A. I'm not sure I understand           12        that I cited --
       13    your question.                              13   BY MR. HEGARTY:
       14         Q. You don't cite any studies          14        Q. No studies --
       15    that have looked at the effect of           15        A. -- in the report.
       16    applying these metals to the perineum,      16        Q. -- that you cite refer to
       17    correct?                                    17   risk of ovarian cancer with exposure to
       18         A. To my knowledge, there are          18   these metals, correct?
       19    no specific animal studies that show        19        A. With my charge being
       20    nickel was applied to the perineal.         20   biological plausibility, I thought that
       21         Q. There are no human studies          21   it was my opinion -- my professional
       22    either, correct?                            22   opinion is that it was more important to
       23         A. To my knowledge, there are          23   discuss the potential for inflammatory
       24    no human studies. That would be             24   responsiveness and carcinogenic

                                                                 71 (Pages 278 to 281)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 216 of 366 PageID:
                                   75571

                                    Judith Zelikoff, Ph.D.
                                           Page 282                                        Page 284
        1    potential.                                   1   them.
        2         Q. Doctor, you don't cite any           2       Q. Did you find any?
        3    studies that look at -- look at the          3       A. Again, the purpose of
        4    ovarian carcinogenicity potential of any     4   writing this section on heavy metals had
        5    of these metals, correct?                    5   to do with bringing out the inflammatory
        6             MS. O'DELL: Object to form.         6   and the biological plausibility that in
        7             THE WITNESS: Not in my              7   my mind is linked to talc and ovarian
        8         report.                                 8   cancer.
        9    BY MR. HEGARTY:                              9       Q. Doctor, listen to my
       10         Q. What are the exposure levels        10   question. Did you find any studies
       11    of these metals necessary to have           11   reporting on a risk of ovarian cancer
       12    biologic plausibility of ovarian cancer?    12   with exposure to any of those metals?
       13         A. As far as biological                13           MS. O'DELL: Objection to
       14    plausibility of these metals, these         14       form.
       15    metals are -- unless there are particular   15           THE WITNESS: I found in
       16    standards for a particular metal, nothing   16       cobalt, but it does not have to do
       17    is really established for what it would     17       with ovarian cancer, but I did
       18    take for nickel to cause ovarian cancer.    18       find that the absorption of cobalt
       19             However, the ability of            19       is much higher in women than in
       20    these metals to produce inflammation are    20       men. And that many of these
       21    very, very low levels. And if they          21       studies show that you have
       22    produce inflammation, then they have the    22       increased proliferation. And as I
       23    potential to go on to produce cancer.       23       said, mine was -- my question that
       24    And many of these metals do.                24       I needed to address was biological

                                           Page 283                                        Page 285
        1         Q. Well, none of these studies          1        plausibility.
        2    report a threshold level of exposure to      2            So I did find many of these
        3    cobalt, chromium, or nickel to increase      3        factors, many of these metals, all
        4    the risk of ovarian cancer, correct?         4        of these metals have the potential
        5              MS. O'DELL: Object to the          5        to produce the changes that are in
        6         form.                                   6        the carcinogenic process.
        7              THE WITNESS: That was not          7   BY MR. HEGARTY:
        8         the purpose of my writing.              8        Q. I'm going to ask the
        9              My -- my writing was to            9   question one more time. And if we don't
       10         exemplify the carcinogenic             10   get an answer I'm going to call Judge
       11         potential and the inflammatory and     11   Pisano.
       12         some of the human health effects       12            Cite for me, which study did
       13         that are commonly seen. Ovarian        13   you find that linked exposure to these
       14         cancer is not that common. And so      14   metals to ovarian cancer?
       15         it's not unusual that other --         15            MS. O'DELL: Objection to
       16         that ovarian cancer was not looked     16        the form.
       17         into in some of these studies.         17            Dr. Zelikoff has answered
       18    BY MR. HEGARTY:                             18        your question multiple times.
       19         Q. Well, you found no studies          19            But you may answer it again.
       20    looking at exposure to any of those         20   BY MR. HEGARTY:
       21    metals and risk of ovarian cancer,          21        Q. Let me ask it differently.
       22    correct?                                    22   Did you find any studies reporting on a
       23         A. It's not that I didn't find         23   risk of ovarian cancer with exposure to
       24    any. I wasn't particularly looking for      24   any of these metals, that being cobalt,

                                                                 72 (Pages 282 to 285)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 217 of 366 PageID:
                                   75572

                                    Judith Zelikoff, Ph.D.
                                           Page 286                                        Page 288
        1    chromium, or nickel?                         1        of these metals in terms of parts
        2         A. I was not looking                    2        per million, whatever talc reached
        3    specifically for that. So, no, I did not     3        there, there's -- there is a
        4    find that.                                   4        strong potential that that amount
        5         Q. Which of the studies that            5        of the concentration of the metal
        6    you report show that the exposure levels     6        would also reach the target organ.
        7    evaluated in those studies are in any way    7   BY MR. HEGARTY:
        8    related to human exposure levels through     8        Q. That's not my question,
        9    Johnson's Baby Powder?                       9   Doctor.
       10             MS. O'DELL: Object to the          10             How much nickel, cobalt and
       11         form.                                  11   chromium reached the ovary with a single
       12             THE WITNESS: Are you               12   application of Johnson's Baby Powder to
       13         talking about inhalation or            13   the perineum?
       14         perineal application?                  14        A. I don't have -- that
       15    BY MR. HEGARTY:                             15   information is not available.
       16         Q. Either method of exposure.          16             They did show in studies, in
       17         A. So many of the inhalation           17   a few studies, I think it was the
       18    numbers are concentrations, and looking     18   Hamilton study that -- or Henderson
       19    at the Johnson & Johnson documents in       19   study -- that there -- talc indeed does
       20    terms of what is in the head and in the     20   reach the ovary from perineal application
       21    face area after diapering as well as        21   or from intravaginal application. And
       22    during powdering, indicates that the        22   whatever is -- whatever the concentration
       23    concentrations that are possibly inhaled    23   is that reached the ovary, carried with
       24    contain particles that can initiate a       24   it these -- one -- one or more or all of

                                           Page 287                                        Page 289
        1    response.                                    1   these three metals.
        2              Also, from looking at the          2       Q. You agree --
        3    Johnson & Johnson documents, many of         3       A. So it was a similar
        4    those results indicate -- and I think we     4   concentration.
        5    have an exhibit here of the table of the     5       Q. You agree that all of the
        6    concentrations that were found.              6   metals you talk about are in -- are all
        7              Well, it's not at my local         7   around us, they are in food, correct?
        8    fingertips here. But --                      8       A. The metals nickel, chromium,
        9              MS. O'DELL: Are you looking        9   cobalt can be in food, yes.
       10         for Exhibit C, Doctor, I think         10       Q. They are in the air,
       11         it's right there with -- on            11   correct?
       12         your -- on your paper clip.            12       A. They are in certain ambient
       13              MR. HEGARTY: Let me               13   environments.
       14         withdraw the question.                 14       Q. These are metals that are
       15    BY MR. HEGARTY:                             15   considered ubiquitous, correct?
       16         Q. Doctor, how much nickel,            16            MS. O'DELL: Objection to
       17    cobalt and chromium reach the ovary with    17       the form.
       18    one application of Johnson's Baby Powder    18            THE WITNESS: They are --
       19    to the perineum?                            19       chromium not as much -- I'm sorry,
       20              MS. O'DELL: Object to the         20       cobalt not as much. But chromium
       21         form.                                  21       and nickel, they are in the air,
       22              THE WITNESS: Since much of        22       and depending upon the environment
       23         the -- since Johnson's Baby Powder     23       that is producing it, if you go to
       24         has a high concentrations of some      24       Sundre, Canada, you can have lots

                                                                 73 (Pages 286 to 289)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 218 of 366 PageID:
                                   75573

                                    Judith Zelikoff, Ph.D.
                                           Page 290                                        Page 292
        1         of nickel in the air. But if you        1        Q. Did you do an analysis
        2         go to New York City, concentrate        2   yourself of Johnson's Baby Powder for the
        3         as we've measured in my laboratory      3   presence of these heavy metals?
        4         prior to this deposition, or prior      4        A. I did not do any
        5         to this case, my involvement in         5   instrumentation studies measuring the
        6         this case, you will see very small      6   amount. I -- I relied on the documents.
        7         concentrations of nickel. There         7        Q. But you are capable of doing
        8         should not be a lot in the air.         8   that analysis, correct?
        9             And we also measured                9        A. We are capable, in my
       10         chromium, and it should not be --      10   laboratory, along with colleagues, of
       11         unless you have a polluted             11   measuring by XRF, x-ray fluorescence, and
       12         environment there should not be a      12   by ICP mass spec, measuring the amounts
       13         lot of these metals in the air.        13   of metals in tissues, correct.
       14    BY MR. HEGARTY:                             14        Q. But you did not do that
       15         Q. Is the metal are not -- the         15   testing here, correct?
       16    metals that are in the air, nickel and      16        A. My job was to define
       17    chromium, sufficient to have biologic       17   biological plausibility based upon
       18    plausibility between those metals and       18   literature, relevant literature and
       19    ovarian cancer?                             19   documents, internal documents.
       20         A. Those -- those metals, yes,         20        Q. Nowhere in your report do
       21    the metals in the air can cause an          21   you identify the exposure levels of any
       22    inflammatory response. The                  22   of these metals that are necessary to
       23    concentrations of the metals in the air     23   cause ovarian cancer, correct?
       24    can cause an inflammatory response and      24            MS. O'DELL: Objection to

                                           Page 291                                        Page 293
        1    can start processes and change gene          1        form. Asked and answered.
        2    expression within cells.                     2             THE WITNESS: There is no
        3         Q. Cite for me any study that           3        literature that says you need one
        4    shows that inflammatory response has ever    4        particle or ten particles.
        5    occurred in the ovary.                       5             The inflammatory response
        6             MS. O'DELL: Objection to            6        that nickel causes is extremely
        7         form.                                   7        well established, even at very low
        8             THE WITNESS: There are              8        concentrations. And -- and the
        9         granulomas that have been found in      9        same is true for hexavalent
       10         animal studies of -- in the lung.      10        chromium and for chromium,
       11         You are talking about in the           11        trivalent chromium.
       12         ovary, I understand that.              12   BY MR. HEGARTY:
       13    BY MR. HEGARTY:                             13        Q. Are there any studies that
       14         Q. I'm talking about the               14   report on exposure of these metals to the
       15    studies that have not looked at talc, but   15   ovaries?
       16    have looked at cobalt, chromium --          16        A. Are you talking about alone?
       17         A. Okay.                               17        Q. Individually or together,
       18         Q. -- nickel and cobalt without        18   but the metals themselves.
       19    regard to talc, cite for me any studies     19        A. Just the metals --
       20    that have shown that those metals have      20             MS. O'DELL: Object --
       21    caused inflammation in the ovary?           21        objection to form.
       22         A. By themselves, there are no         22             THE WITNESS: These metals
       23    studies that demonstrate that, that I'm     23        by themselves have been tested
       24    aware of.                                   24        extensively in cells and in -- in

                                                                 74 (Pages 290 to 293)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 219 of 366 PageID:
                                   75574

                                    Judith Zelikoff, Ph.D.
                                           Page 294                                       Page 296
        1         animals to produce inflammation,        1        form.
        2         to change the epigenome of the          2             THE WITNESS: The exposures
        3         cells, to change gene expression.       3        are similar, or can be similar.
        4         And there was no -- there was no        4             But as I stated before, for
        5         reason to believe whether or not        5        these metals as well as for
        6         there are specific studies              6        asbestiform fibers, all it takes
        7         associated with the ovary. There        7        is a small amount, if not just one
        8         are no reason to believe that it        8        fiber, to cause the response and
        9         would not do the same effects in        9        to start the process of
       10         cells as well as in the ovary, in      10        inflammation, gene expression,
       11         the lung, and the kidney and the       11        upregulation of genes that are
       12         liver.                                 12        associated with biological
       13    BY MR. HEGARTY:                             13        mediators, proinflammatory
       14         Q. Doctor, you are not aware of        14        cytokines.
       15    any studies that have looked at the         15   BY MR. HEGARTY:
       16    effects of these metals on human ovarian    16        Q. Yet you cite no study that
       17    cells, correct?                             17   reports that response in human ovarian
       18             MS. O'DELL: Object to the          18   cells, correct?
       19         form.                                  19             MS. O'DELL: Object to the
       20             THE WITNESS: Again, I'm not        20        form.
       21         an epidemiologist, so -- and I'm       21             THE WITNESS: I -- if you're
       22         not a clinical toxicologist. So I      22        still talking about individual
       23         will have to stand by the -- the       23        metals, no.
       24         data that I do know in -- in           24             But if you're talking about

                                           Page 295                                       Page 297
        1         extensive -- have extensive             1        in vitro studies like those of
        2         knowledge of. And that's human ex       2        Saed who looked for oxidative
        3         vivo and in vitro studies. And I        3        stress and -- and prooxidant
        4         am not aware.                           4        changes, and if you are talking
        5             That is not to say that they        5        about Shukla study who also looked
        6         are not out there. And I                6        at ovarian cells, human ovarian
        7         especially do not know about the        7        cells, and looked at changes in
        8         humans, because I focus as a            8        gene expression associated with
        9         toxicologist. I'm an animal             9        oxidant production and reactive
       10         toxicologist.                          10        oxygen species production, then
       11    BY MR. HEGARTY:                             11        yes, in cell culture using human
       12         Q. Did you do any comparison           12        ovarian epithelial cells, because
       13    between the doses of -- of the metals       13        that's what we are talking about
       14    reported in the studies that you cited to   14        here.
       15    those in women using talc?                  15   BY MR. HEGARTY:
       16         A. I did no calculations on --         16        Q. None of those studies
       17    on my own.                                  17   applied nickel to human ovarian cells,
       18         Q. Did you do any calculations         18   did they?
       19    that tested these metals in animals to      19        A. No, they did not.
       20    determine what the -- that -- that they     20        Q. None of those studies
       21    relate in any way to the dose that a        21   applied cobalt to human ovarian cells,
       22    human would experience through Johnson's    22   correct?
       23    Baby Powder use?                            23        A. No, they did not.
       24             MS. O'DELL: Objection to           24        Q. None of those studies

                                                                 75 (Pages 294 to 297)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 220 of 366 PageID:
                                   75575

                                    Judith Zelikoff, Ph.D.
                                           Page 298                                        Page 300
        1    applied chromium to ovarian -- human         1        target site, let's say in the case
        2    ovarian cells, correct?                      2        of inhalation or in the case of
        3         A. Correct. But what we're              3        direct application to the perineal
        4    talk -- what I'm talking about and the       4        area, you will have the process of
        5    basis of my opinion is the product in its    5        impacting with those cells and
        6    entirety, not breaking it down to            6        generating cell mediated reactions
        7    individual constituents.                     7        and immunological reactions and
        8         Q. Is it necessary for purposes         8        inflammatory responses.
        9    of your biologic plausibility opinion        9            And those inflammatory
       10    that talc reach the ovary?                  10        responses and those reactive
       11         A. Not necessarily.                    11        oxygen species, except for
       12              Talc does -- talc and any         12        hydrogen peroxide which can't
       13    other particle does not have to reach the   13        travel a far distance, can get
       14    site of deposition. They can, and -- and    14        into -- can and do get into the
       15    do, I believe that they not only migrate    15        blood circulation and then can
       16    to an area and they can get to an area      16        reach distant organs.
       17    and then cause inflammation which then      17   BY MR. HEGARTY:
       18    can be -- the cytokines where there's       18        Q. Cite for me any published
       19    tumor necrosis factor, interleukin-1, or    19   authority that says that inflammation in
       20    any of the other proinflammatory            20   the lungs will cause inflammation in the
       21    cytokines can then get to the air, the      21   ovaries.
       22    site of this -- this target organ.          22            MS. O'DELL: Object to the
       23              So you do not have to have,       23        form. Misstates her testimony.
       24    in particle toxicology and in talc          24            THE WITNESS: To that

                                           Page 299                                        Page 301
        1    toxicology, you do not have to have the      1       specific question, no. But I
        2    presence. Although, in early studies         2       can -- I can cite you many studies
        3    they have found talc particles not only      3       that show in terms of other
        4    in the ovary, but also in the lymph          4       particles for the lungs that has
        5    node -- in the lymphatics that drain the     5       been shown to cause inflammation
        6    ovary.                                       6       in other areas.
        7         Q. Cite for me any study that           7           For example, in the case of
        8    has reported inflammation in the ovaries     8       Ghio and other investigators, you
        9    from inflammation of -- due to a particle    9       will find inflammation not only in
       10    in the lung -- strike that.                 10       the blood by the measurement of
       11             Is it your contention that         11       cytokines in the blood, even
       12    inflammation in the lung due to a           12       though the first target organ was
       13    particle will cause inflammation in the     13       the -- was the lungs.
       14    ovaries?                                    14           Also, if you look at
       15             MS. O'DELL: Objection to           15       obesity, obesity is a pro-oxidant
       16         form.                                  16       state, and that can generate --
       17             THE WITNESS: I'm telling           17       the reason obesity causes other
       18         you that --                            18       health effects is because it's a
       19             MS. O'DELL: Go ahead.              19       big mass of inflammation. And the
       20             THE WITNESS: -- there's            20       inflammation in that particular
       21         biological plausibility to suggest     21       site of all those fatty cells,
       22         that.                                  22       they can release inflammatory
       23             When you have a particle           23       mediators that go all over. And
       24         coming in and going to a local         24       that literature is out there.

                                                                 76 (Pages 298 to 301)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 221 of 366 PageID:
                                   75576

                                    Judith Zelikoff, Ph.D.
                                          Page 302                                          Page 304
        1    BY MR. HEGARTY:                              1   cadmium.
        2         Q. So is it your opinion for            2        Q. So in other words a lot of
        3    purposes of your biological                  3   particles besides talc, according to you,
        4    plausibility -- strike that.                 4   can cause inflammation of the lungs,
        5             Is it -- is your biological         5   correct?
        6    plausibility opinion that talc inhaled       6        A. Many do. There are others
        7    and in the lungs causes inflammation in      7   that do not, like titanium dioxide which
        8    the ovaries that can lead to ovarian         8   were used in many studies as a control.
        9    cancer?                                      9        Q. And those nanoparticles,
       10         A. There's plausibility for            10   those air particles --
       11    that, yes.                                  11        A. In fact --
       12         Q. And can you cite for me any         12        Q. -- those diesel particles.
       13    published authority that says that talc     13        A. I'm sorry.
       14    inhaled in the lungs will cause             14        Q. Okay. And those
       15    inflammation in the ovaries that can lead   15   nanoparticles, those diesel particles,
       16    to ovarian cancer?                          16   air particles that can cause inflammation
       17         A. There's multiple parts of           17   in the lungs, will also cause
       18    that question.                              18   inflammation in the ovaries, correct?
       19         Q. That's a very specific              19            MS. O'DELL: Objection to
       20    question to that very specific subject      20        form.
       21    area. Can you cite to me any published      21            THE WITNESS: I said they
       22    literature that says that?                  22        will cause inflammation
       23             MS. O'DELL: Would you mind         23        systemically. I did not indicate
       24         repeating the full question or         24        the ovaries.

                                          Page 303                                          Page 305
        1         read it.                                1   BY MR. HEGARTY:
        2             THE WITNESS: Any published          2       Q. Well, there's no -- there's
        3         authority that says that -- that        3   nothing unique about talc particles
        4         says that talc inhaled in the           4   versus the other particles you mentioned,
        5         lungs will cause inflammation in        5   correct?
        6         the ovaries that can lead to            6            MS. O'DELL: Object to form.
        7         ovarian cancer.                         7            THE WITNESS: Size, chemical
        8             For that particular, and            8       composition, they -- they --
        9         that specific of a question, I          9       particles -- particles are -- they
       10         cannot cite you.                       10       can -- they can be different and
       11    BY MR. HEGARTY:                             11       they can be the same. So many
       12         Q. You have published                  12       studies use model particles to
       13    extensively on particulates in the air      13       look at a negative effect like in
       14    causing inflammation in the lungs,          14       the Shukla study where they used
       15    correct?                                    15       titanium dioxide particles of a
       16         A. In the lungs and                    16       similar size in their -- as a
       17    systemically.                               17       control and got no gene expression
       18         Q. And those particulates              18       changes.
       19    include?                                    19            Particles in the air, if
       20         A. Air particulates;                   20       you're looking at -- there are
       21    particulate matter, called PM, ambient      21       many factors that go into how a
       22    PM; diesel exhaust particles. I'm also      22       particle behaves, including size,
       23    going to go to my CV. Nanoparticles,        23       including composition, including
       24    metal nanoparticles, specifically           24       morphology.

                                                                 77 (Pages 302 to 305)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 222 of 366 PageID:
                                   75577

                                    Judith Zelikoff, Ph.D.
                                           Page 306                                         Page 308
        1    BY MR. HEGARTY:                              1   same inflammation that you believe that
        2         Q. Well, by your methodology,           2   talc does, correct?
        3    any particle inhaled that causes             3        A. Inflammation is
        4    inflammation in the lungs is biologically    4   characterized by certain key components.
        5    plausible, can lead to ovarian cancer,       5   Inflammation -- whether it's an
        6    correct?                                     6   inflammation in the ovary or an
        7              MS. O'DELL: Object to form.        7   inflammation in the lung or inflammation
        8              THE WITNESS: No, it can --         8   in the kidney, inflammation is an immune
        9         sorry. It can lead to                   9   response. And it's going to involve key
       10         inflammation systemically.             10   cells, including the macrophage, the
       11    BY MR. HEGARTY:                             11   neutrophil, the natural killer cell, all
       12         Q. That can lead to ovarian            12   of which can produce reactive oxygen
       13    cancer, correct?                            13   species -- well, primarily the
       14         A. Inflammation --                     14   macrophages and neutrophils produce
       15              MS. O'DELL: Object to the         15   oxygen radicals.
       16         form.                                  16            However, the natural killer
       17              Go ahead.                         17   cell, they all produce cytokines, which
       18              THE WITNESS: Sorry.               18   can produce inflammation. So
       19              MS. O'DELL: Sorry.                19   inflammation is characterized by the same
       20              THE WITNESS: Inflammation         20   components.
       21         is responsible for -- in my            21        Q. And you can't cite for me
       22         opinion, is the underlying             22   any different components of the
       23         mechanism, a key underlying            23   inflammation caused by cadmium as you
       24         mechanism for the association for      24   believe the inflammation that is caused

                                           Page 307                                         Page 309
        1         ovarian cancer, yes.                    1   by talc, correct?
        2    BY MR. HEGARTY:                              2        A. When I measured inflammatory
        3         Q. And that mechanism can be            3   responses to the inhalation of cadmium
        4    initiated by any particle inhaled into       4   nanoparticles, I looked for the standard
        5    the lungs, correct?                          5   inflammatory markers. So I measured in
        6         A. No, it's --                          6   the lung and in the circulation. I
        7             MS. O'DELL: Objection to            7   measured the percentages of neutrophils,
        8         form.                                   8   which is a key indicator, key criteria
        9             THE WITNESS: Sorry.                 9   for inflammation. I determined
       10             Well, as -- again, as I            10   macrophage numbers as well as function in
       11         stated, it depends on the -- it        11   terms of their ability to phagocytose, in
       12         depends on the particle. For           12   their ability to produce reactive oxygen
       13         example, titanium dioxide will not     13   species. And I looked for lung injury,
       14         produce inflammation in the lungs.     14   as measured by lactose, lactate
       15         However, other particles, many         15   dehydrogenase.
       16         other particles, including             16            So when one looks for
       17         cadmium, cadmium oxide particles       17   inflammation in the body, whether it's an
       18         do cause inflammation, as well as      18   animal or a human, C-reactive protein,
       19         asbestos does, as well as talc has     19   you are going to be looking for all the
       20         been shown to.                         20   same markers.
       21             They can all produce               21        Q. You identified, based on
       22         inflammation or oxidative stress.      22   your opinion, no difference in the
       23    BY MR. HEGARTY:                             23   inflammation caused by talc and the
       24         Q. Cadmium particles induce the        24   inflammation caused by cadmium, correct?

                                                                 78 (Pages 306 to 309)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 223 of 366 PageID:
                                   75578

                                    Judith Zelikoff, Ph.D.
                                          Page 310                                        Page 312
        1         A. I did not do talc inhalation        1        because I haven't investigated
        2    in my laboratory. The studies               2        that literature.
        3    indicate -- looked for the same thing.      3             But inflammation --
        4    They look for changes in gene expression    4        inflammation doesn't change. It
        5    of activating transcription factors.        5        can get out of the particular
        6    They did in the Shukla study.               6        local organ. I don't think that
        7             They look for the percentage       7        cadmium has been investigated in
        8    of neutrophils. They look for macrophage    8        terms of the ovary. It's
        9    activation. We all look at the same         9        certainly been investigated in
       10    thing when coming to the conclusion of     10        terms of the kidney, which is
       11    inflammation.                              11        local -- which is systemically a
       12         Q. And according to you, talc         12        distant organ from the local
       13    and cadmium act similarly with regard to   13        target, which is the lung. And it
       14    inducing inflammation in the lungs?        14        can cause inflammation in the
       15             MS. O'DELL: Objection to          15        kidney.
       16         form.                                 16   BY MR. HEGARTY:
       17             THE WITNESS: Do they act          17        Q. You haven't identified any
       18         similarly? Well, I think I            18   differences between the inflammation
       19         answered that question.               19   caused by other particulates and the
       20             Inflammation is -- is the --      20   inflammation caused by talc, correct?
       21         inflammation is modified by the       21             MS. O'DELL: Objection to
       22         same components, the same soluble     22        form.
       23         factors, the same cell type           23             THE WITNESS: Inflammation
       24         factors, including macrophages and    24        is inflammation.

                                          Page 311                                        Page 313
        1        neutrophils, dendritic cells,           1   BY MR. HEGARTY:
        2        whatever. So inflammation,              2        Q. You referred to fragrances.
        3        whether it's acute or chronic           3        A. I'm sorry. Could you give
        4        inflammation used the same              4   me a page?
        5        parameters.                             5        Q. Over on Page 12. You cite
        6            We call inflammation -- we          6   to a single study that discusses what
        7        call inflammation when you -- in a      7   exposure levels of these fragrances have
        8        tissue or in organs when you see        8   been shown to induce a biologically
        9        these characteristics. And we say       9   plausible effect in the ovary.
       10        these are markers indicative.          10            MS. O'DELL: Object to the
       11        These are pathologies                  11        form.
       12        indicative -- these are -- of an       12            THE WITNESS: Many of these
       13        inflammatory response.                 13        fragrances, many of these
       14    BY MR. HEGARTY:                            14        chemicals within a specific
       15        Q. So according to your                15        fragrance, it can consist of maybe
       16    opinion, that's biologic plausibility      16        150 or even more chemicals within
       17    between cadmium exposure and ovarian       17        any one given fragrance. Many of
       18    cancer?                                    18        them have been shown to cause
       19            MS. O'DELL: Objection to           19        inflammation.
       20        form.                                  20   BY MR. HEGARTY:
       21            THE WITNESS: I would have          21        Q. Have any of the chemicals in
       22        to do more research on that to be      22   the fragrances that you looked at been
       23        able to say that. I would not say      23   reported in the medical literature to
       24        biological plausibility, only          24   induce inflammation in the ovaries?

                                                                79 (Pages 310 to 313)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 224 of 366 PageID:
                                   75579

                                    Judith Zelikoff, Ph.D.
                                          Page 314                                         Page 316
        1         A. No one specifically -- to my        1   metals, but there's also -- if you look
        2    knowledge, no one specifically looked at    2   at nickel and it's a micronutrient, so
        3    inflammation in the ovaries. But again,     3   you can have very, very, very tiny
        4    if you go back to the idea of               4   amounts in the body -- very tiny. And it
        5    inflammation being caused by a particle     5   can be used as a micronutrient.
        6    at a local site and then having the         6            You can have lead, but that
        7    potential -- or having the capacity I       7   should not be in the body at all. And
        8    should say, to -- to have that              8   there is no safe level of lead. So
        9    inflammation go to a distant -- a more      9   despite what the regulatory agencies say,
       10    distant site.                              10   there is no safe level which is what
       11             So the fact that no one has       11   their conclusion is moving towards.
       12    looked at it does not delete the fact      12            And -- so a metal is not a
       13    that certainly inflammation can get to     13   metal is not a metal.
       14    distant sites, including the ovary.        14            Now, when you look at these
       15         Q. Well, what is the dose of          15   three metals, so for example you have
       16    nickel or -- and cobalt and chromium       16   nickel which is classified as a 1A
       17    individually that must -- that the woman   17   carcinogen, but --
       18    must be exposed to in vivo to induce       18        Q. I'll withdraw the question.
       19    inflammation in the ovaries?               19   You're not -- Doctor, you're not
       20             MS. O'DELL: Object to the         20   answering my question.
       21         form. Asked and answered.             21            MS. O'DELL: She is
       22             THE WITNESS: There are --         22        answering your question.
       23         as I said, there's really -- one      23            MR. HEGARTY: No, she is
       24         particle, one piece can start the     24        not.

                                          Page 315                                         Page 317
        1         process for inflammation.              1           MS. O'DELL: Yes, she is.
        2    BY MR. HEGARTY:                             2       And if you don't -- let her
        3         Q. So it --                            3       finish.
        4         A. It could be one.                    4           MR. HEGARTY: Okay.
        5         Q. -- it's your opinion that           5       We'll -- we'll call Judge Pisano
        6    one particle of nickel will induce          6       and he'll see if we're asking the
        7    inflammation in the ovaries?                7       question -- if she's answering the
        8             MS. O'DELL: Objection.             8       question.
        9    BY MR. HEGARTY:                             9           MS. O'DELL: Are you
       10         Q. Is that correct?                   10       threatening the witness by saying
       11         A. Will? I can't -- I haven't         11       that?
       12    gone through the literature, but could,    12           MR. HEGARTY: No, I'm
       13    certainly.                                 13       talking to you. We'll go off the
       14         Q. And what literature can you        14       record --
       15    cite that would say that one particle of   15           MS. O'DELL: You're
       16    nickel could cause inflammation in the     16       threatening the witness and -- no,
       17    ovary?                                     17       we're not going off the record.
       18         A. It's my professional               18           MR. HEGARTY: Go off the
       19    judgment being an expert toxicologist in   19       record, let's go off the record.
       20    the area of metals.                        20           MS. O'DELL: No, we are not
       21         Q. Okay. Same question as to          21       going off the record.
       22    cobalt and chromium.                       22           MR. HEGARTY: Yes, let's go
       23         A. Well, metals can't be lumped       23       off the record.
       24    together like that. Metals are indeed      24           MS. O'DELL: If she's

                                                                80 (Pages 314 to 317)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 225 of 366 PageID:
                                   75580

                                  Judith Zelikoff, Ph.D.
                                       Page 318                                         Page 320
        1        answering your question, she --      1   either inhaled or applied to the perineum
        2        she gets the right to finish her     2   will induce inflammation in the ovaries?
        3        answer. You don't cut her off,       3         A. It's my opinion that it
        4        Mark.                                4   could.
        5            MR. HEGARTY: Let's go off        5         Q. What literature do you have
        6        the record.                          6   to support that opinion?
        7            MS. O'DELL: No, we're not        7         A. My professional opinion as a
        8        going off the record. She's          8   toxicologist in metals with over
        9        finishing her answer.                9   30 years.
       10            MR. HEGARTY: Let's go off       10         Q. Next question. Is it your
       11        the record. I'm not --              11   opinion that one particle of cobalt,
       12            MS. O'DELL: And then you        12   either inhaled or applied to the
       13        can ask her another question.       13   perineum, will induce inflammation in the
       14            MR. HEGARTY: Let's go off       14   ovaries?
       15        the record. It's my deposition.     15         A. Again, it's my opinion that
       16            MS. O'DELL: No. It's your       16   it -- it could. It has the biological
       17        deposition, but it's not fair to    17   plausibility to, because inflammation,
       18        mistreat this witness if she is     18   although not as toxic in many ways as
       19        answering your question.            19   it's classified as a 2B -- 2B by IARC
       20            MR. HEGARTY: I'm not            20   is -- has the potential -- does cause
       21        mistreating the witness.            21   inflammation, and that inflammation can
       22            MS. O'DELL: Yes, you are.       22   leave the site of the target site.
       23            MR. HEGARTY: We'll go off       23         Q. What authority do you have
       24        the record and call Judge Pisano.   24   for that opinion?

                                       Page 319                                         Page 321
        1            MS. O'DELL: You are              1        A. My professional opinion.
        2        mistreating the witness by not       2        Q. Is it your opinion that one
        3        allowing her to finish her --        3   particle of chromium, either inhaled or
        4            MR. HEGARTY: I withdrew the      4   applied to the perineum, will induce
        5        question.                            5   inflammation in the ovaries?
        6            MS. O'DELL: Well, okay.          6            MS. O'DELL: Objection to
        7        The with -- the question was         7        the form.
        8        withdrawn. Ask a question, let       8            THE WITNESS: It depends on
        9        her --                               9        the form of the chromium.
       10            MR. HEGARTY: No, we're off      10   BY MR. HEGARTY:
       11        the record. We're going to call     11        Q. What form of chromium does
       12        Judge Pisano.                       12   it need to be?
       13            MS. O'DELL: Okay. Great.        13        A. A trivalent chromium
       14            THE VIDEOGRAPHER: Off the       14   which -- I'm sorry, hexavalent chromium
       15        record. The time is 3:21 p.m.       15   which will then get into the cell, start
       16        Off the record.                     16   the process and -- and convert to
       17            (Whereupon, a discussion was    17   chromium-3, 4 and 5.
       18        held off the record.)               18        Q. That's chromium-6, correct?
       19            THE VIDEOGRAPHER: We are        19        A. Hexavalent chromium is
       20        back on the record. The time is     20   chromium-6, right.
       21        3:23 p.m.                           21        Q. Is it your opinion that one
       22    BY MR. HEGARTY:                         22   particle of chromium-6, either inhaled or
       23        Q. Dr. Zelikoff, is it your         23   applied to the perineum, will induce
       24    opinion that one particle of nickel     24   inflammation in the ovaries?

                                                             81 (Pages 318 to 321)
                Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 226 of 366 PageID:
                                   75581

                                    Judith Zelikoff, Ph.D.
                                          Page 322                                          Page 324
        1             MS. O'DELL: Objection to            1        lumped. And particles oftentimes,
        2         form.                                   2        if they're different in size, if
        3             THE WITNESS: It could,              3        they're different in chemical
        4         because inflammation again could        4        structure, if they have iron or
        5         leave the target site. And it           5        don't have iron, you have -- you
        6         depends on the form of the metal.       6        may have differences.
        7             So we have soluble metals --        7   BY MR. HEGARTY:
        8         I don't want to go on too long.         8        Q. Will one particle from
        9         You have soluble metals and             9   diesel exhaust, inhaled or applied to the
       10         insoluble metals. Some of them         10   perineum, cause inflammation in the
       11         are more toxic and more -- and         11   ovary?
       12         potentially more carcinogenic than     12             MS. O'DELL: Object to the
       13         other forms. There are many salts      13        form.
       14         within those metals that you gave.     14             THE WITNESS: Again, same
       15    BY MR. HEGARTY:                             15        answer, it could. Depends on the
       16         Q. And what authority do you           16        particle size, the particle type,
       17    have for the statement that one particle    17        the particle morphology. And it
       18    of chromium, either inhaled or applied to   18        has the potential to induce
       19    the perineum, will induce inflammation in   19        inflammation as shown in cells.
       20    the ovaries?                                20        And can produce an oxidant state.
       21         A. My professional judgment.           21   BY MR. HEGARTY:
       22         Q. Will one particle of the            22        Q. Doesn't inflammation just
       23    fragrance of the chemicals that you list    23   reflect the body's normal response to the
       24    from the fragrances, either inhaled or      24   presence of the particles?

                                          Page 323                                          Page 325
        1    applied to the perineum, cause               1        A. There are two -- there are
        2    inflammation to the ovaries?                 2   two forms of -- well, there are multiple
        3             MS. O'DELL: Objection to            3   forms of inflammation. But the two that
        4         the form.                               4   are of concern and in -- in response to
        5             THE WITNESS: If -- I -- I           5   your question, is that they are acute
        6         don't have the knowledge, I don't       6   inflammation and there is chronic
        7         have the literature knowledge to        7   inflammation.
        8         answer that question.                   8             And with acute inflammation,
        9    BY MR. HEGARTY:                              9   the first response to a foreign -- a
       10         Q. Will one -- will one                10   foreign particle or an antigen on a
       11    particle of -- of cadmium, either inhaled   11   bacterial cell or an infectious agent, is
       12    or applied to the perineum, cause           12   for the body to mount an immune response.
       13    inflammation in the ovaries?                13             How it does that is through
       14         A. It can cause --                     14   the same cell types that I just
       15             MS. O'DELL: Objection to           15   mentioned. Polymorphonucleocytes, also
       16         form. You can answer.                  16   known as neutrophil. Macrophages, and
       17             THE WITNESS: It can cause          17   those are the two key players, but
       18         inflammation in the area if it's       18   natural killer cells all come into it.
       19         inhaled in the lung and that           19             That involves the innate
       20         inflammation can get out               20   immune system. And so the first thing to
       21         systemically.                          21   protect the body, whether it's a viral
       22             Now it depends, again, on          22   infection or whether it's a bacterial
       23         the size of the particle. Metals,      23   infection or whether it's a foreign
       24         as I said before, cannot be            24   particle, is to mount that kind of immune

                                                                 82 (Pages 322 to 325)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 227 of 366 PageID:
                                   75582

                                    Judith Zelikoff, Ph.D.
                                           Page 326                                        Page 328
        1    response to kill or negatively impact        1   inflammation. Not that they involve
        2    that particular particle.                    2   different cell types or different
        3              That will then -- that's an        3   mechanisms. But they are called, in
        4    innate immune response being active.         4   terms of timing or temporality, acute
        5    That will then, in some cases, upregulate    5   which will kill whatever right away and
        6    the T-cell and -- and humoral or -- and      6   then chronic which unfortunately keeps
        7    cell-mediated immune response.               7   playing back on itself and the
        8              Now, that is, in terms of          8   inflammation will continue.
        9    cancers and in terms of tumors, that is      9        Q. Granulomas which you just
       10    called immunosurveillance and that's the    10   mentioned don't cause cancer, correct?
       11    first thing. And you're absolutely          11        A. Granulomas do not -- I'm
       12    right. The purpose of the immune system     12   sorry.
       13    is to protect the body. That is the         13        Q. Granulomas which you just
       14    function.                                   14   mentioned don't cause cancer, correct?
       15              However, there are three          15        A. Granulomas are in response
       16    stages or three types of processes for      16   to a foreign body. In the case of
       17    the immune system in carcinogenesis. The    17   asbestos or in the case of another type
       18    second being immuno equilibrium. But the    18   of fiber, macrophage will come over and
       19    part that is the last part is that the      19   their normal process in what we call
       20    tumor can actually quiet or cause           20   innate immunity is to engulf the fiber.
       21    immunosenescence of the immune system.      21   And unfortunately, many times the fiber
       22              So in a chronic                   22   cannot be engulfable or the particle
       23    inflammation, it does not always act in     23   cannot be engulfable.
       24    the best interest of the -- of the host     24            And so many macrophage will

                                           Page 327                                        Page 329
        1    but in the best interest of the tumor.       1   come over, and they will try to engulf it
        2             So your -- the answer to            2   as a body. And that is called a
        3    your question is yes, that's the function    3   granulomatous reaction.
        4    of it. But it can behave, it's a             4             And that's what happens
        5    two-prong sword.                             5   during tuberculosis when the organism
        6         Q. You said there are multiple          6   forms, many macrophages come over to kill
        7    types of inflammation and you listed two     7   the organism, but it can't, and so they
        8    types: Acute and chronic. Are there any      8   form granulomas.
        9    other types besides those two?               9        Q. Doctor, listen to my
       10          A. Well, you have the reactions       10   question. I didn't ask you what a
       11    to those inflammation in terms of having    11   granuloma was. I asked you, granulomas
       12    a foreign body reaction. That is part of    12   don't cause cancer, correct?
       13    an inflammatory response. So in terms of    13             MS. O'DELL: Object to form.
       14    temporality or timing, inflammation is      14             THE WITNESS: There is no
       15    acute and is chronic.                       15        literature to my knowledge that
       16             What occurs during that            16        shows a granuloma, meaning immune
       17    time, such as a foreign body reaction       17        response, forming macrophages
       18    where macrophages all come together and     18        engulfing, can cause cancer.
       19    engulf the particle or the fiber and try    19   BY MR. HEGARTY:
       20    to keep it within a localized space, that   20        Q. And a reaction to
       21    is a process that can occur within          21   inflammation can include the development
       22    inflammation.                               22   of fibrosis or scar tissue, correct?
       23             So my answer to you is that        23        A. That is a long-term chronic
       24    there are two major types of                24   response associated with chronic

                                                                 83 (Pages 326 to 329)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 228 of 366 PageID:
                                   75583

                                    Judith Zelikoff, Ph.D.
                                           Page 330                                         Page 332
        1    inflammation.                                1        A. Fibrosis does not morph or
        2         Q. And there's no literature            2   turn into cancer. That is correct.
        3    linking fibrosis to cancer, correct?         3        Q. In Section 12 -- I'm sorry.
        4              MS. O'DELL: Object to the          4   On Page 12, under your section
        5         form.                                   5   "exposure," talc particle access to the
        6              THE WITNESS: My                    6   body.
        7         professional opinion is that there      7            Do you see that section?
        8         is literature -- let me just read       8        A. Is this Paragraph 1, 2, or
        9         over the question, please.              9   3?
       10              So fibrosis is produced by        10        Q. Well, I'm looking just at
       11         release of factors from the            11   the Section Number 4 right now.
       12         macrophage. And it causes              12        A. Yes. Okay. Section Number
       13         scarring within that particular        13   6 is on Page 12.
       14         target organ.                          14        Q. Section 6. I'm sorry. I
       15              Now, whether or not that --       15   had those transposed.
       16         those -- that scarring can             16        A. And please repeat your
       17         actually make that site more           17   question.
       18         vulnerable to cancer, like in the      18        Q. You never -- prior to being
       19         case of hepatitis, where you get       19   contacted by counsel for plaintiffs, you
       20         scarring, and you get cancer as a      20   never looked at the studies reporting on
       21         result of that particular              21   whether talc can reach the ovaries via
       22         fibrosis, but they are two             22   inhalation or perineal application,
       23         different diseases.                    23   correct?
       24              But whether the area of           24        A. I did not study the

                                           Page 331                                         Page 333
        1         fibrosis creates a more vulnerable      1   literature or review the literature prior
        2         tissue base that can -- that can        2   to being contacted. But I studied it and
        3         progress or go to cancer is a           3   reviewed it extensively after being
        4         question that there is some             4   contacted.
        5         examples of, but -- in the liver        5        Q. On Page 12 of the last
        6         in particular.                          6   paragraph -- I'm sorry -- second-to-last
        7    BY MR. HEGARTY:                              7   paragraph, which begins, "A common
        8         Q. Well, there's no literature          8   exposure route."
        9    reporting an increased risk of cancer in     9            Do you see that paragraph?
       10    any organ because there's fibrosis in       10        A. I do. Thank you.
       11    that organ, correct?                        11        Q. You write, "Again, a common
       12         A. What I'm saying is that in          12   exposure route for cosmetic talc is via
       13    terms of the liver and in terms of          13   the dermal route including vaginally
       14    fibrosis, let's say from ethanol or         14   after perineal application."
       15    acetaminophen ingestion, you get fibrosis   15        A. Yes.
       16    which is a whole disease or symptomology    16        Q. Is it your testimony that
       17    by itself, and then you have cancer,        17   there's biologic plausibility with talc
       18    which is another disease. But what I'm      18   applied to the skin?
       19    saying is that in the area where the        19        A. Applied to the skin, talc
       20    injury and the fibrosis occurs, in the      20   does not -- is not absorbed into the skin
       21    liver there is a higher risk of getting     21   or through the skin, although there is
       22    cancer.                                     22   some question as to whether if there's
       23         Q. Fibrosis doesn't morph or           23   injury or scratch or openings in the
       24    turn into cancer?                           24   skin, whether the talc can penetrate.

                                                                 84 (Pages 330 to 333)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 229 of 366 PageID:
                                   75584

                                    Judith Zelikoff, Ph.D.
                                           Page 334                                      Page 336
        1    But in and of itself talc cannot             1       the form.
        2    penetrate through the skin.                  2   BY MR. HEGARTY:
        3             However, we're not -- when          3       Q. Correct?
        4    we're talking about perineal or vaginal      4           MS. O'DELL: Excuse me. You
        5    application, you are not talking about an    5       may answer his question any way
        6    epidermal subcutaneous keratinized skin.     6       you'd want to, Doctor.
        7         Q. None of the studies that you         7           THE WITNESS: None of these
        8    cite in this paragraph researched            8       that I have stated on Page 12
        9    particle transport through the               9       refer to perineal exposure in the
       10    reproductive tract through perineal         10       second paragraph in terms of
       11    application, correct?                       11       Venter, Iturralde, Sjosten and
       12             MS. O'DELL: Object to the          12       Heller.
       13         form.                                  13           However, on Page -- on Page
       14             THE WITNESS: These -- it is        14       13, there is a study by Keskin,
       15         extremely technically difficult,       15       who used rats and did a vaginal or
       16         from my knowledge as an animal         16       perineum to talc.
       17         toxicologist, to do perineal           17   BY MR. HEGARTY:
       18         application to a mouse.                18       Q. I'm going to move to strike.
       19    BY MR. HEGARTY:                             19   We're going to go off the record.
       20         Q. I'm going to withdraw the           20           MR. HEGARTY: We're going to
       21    question. Doctor, you will not respond      21       call Judge Pisano. There's no
       22    to my question. My question is simply,      22       reason to add that additional part
       23    none of the studies that you cite in this   23       to the answer to that question.
       24    paragraph researched particle transport     24       And I'm not -- I'm tired of that

                                           Page 335                                      Page 337
        1    through the reproductive tract through       1       happening. So we'll call him
        2    perineal application. That's correct?        2       unless you're going to talk to the
        3         A. There is a study, and I'm            3       witness.
        4    afraid the name of the author does not       4           MS. O'DELL: Is your
        5    come to me. So allow me to look at my        5       objection she didn't answer your
        6    report.                                      6       question? Because she -- you
        7         Q. And I'm just talking about           7       asked her about the paragraph.
        8    the authorities that you cite in the         8       She said "no; however" --
        9    second paragraph beginning, "A common        9           MR. HEGARTY: We're off the
       10    exposure route."                            10       record.
       11             MS. O'DELL: Feel free to           11           MS. O'DELL: No, we're not
       12         look at your report if you need        12       off the record.
       13         to, Doctor.                            13           MR. HEGARTY: We're off the
       14             THE WITNESS: I understand.         14       record.
       15             On Page 13, animal models --       15           MS. O'DELL: No, we --
       16    BY MR. HEGARTY:                             16           MR. HEGARTY: We're going
       17         Q. Doctor, that's not my               17       off the record.
       18    question. My question is in the             18           MR. LOCKE: We are off. Let
       19    paragraph that I referenced beginning a     19       me throw out something. We've got
       20    common exposure route, none of those        20       seven hours. I think there's a
       21    authorities looked at transport of the      21       plan here to stall, and we need to
       22    particles via application of those          22       do a better job of keeping things
       23    particles to the perineum?                  23       moving, or we are going to have to
       24             MS. O'DELL: Objection to           24       ask the court for more time.

                                                                 85 (Pages 334 to 337)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 230 of 366 PageID:
                                   75585

                                   Judith Zelikoff, Ph.D.
                                          Page 338                                        Page 340
        1           MR. HEGARTY: Let's go off            1   have looked at transport of dry powder
        2       the record.                              2   talc to the perineum showing that the --
        3           MS. O'DELL: The suggestion           3   that talc transports to the ovaries,
        4       that there's -- let me just --           4   correct?
        5       before we go off the record, the         5             MS. O'DELL: Object to the
        6       suggestion that there's somehow a        6        form.
        7       plan to -- is incorrect, and             7             THE WITNESS: When we say --
        8       improper. So if you want to go           8        when you say talc, you're
        9       off the record, I think you've got       9        referring to talcum powder
       10       an answer to your question, which       10        products?
       11       was, "No, not in the paragraph."        11   BY MR. HEGARTY:
       12           However, she has a right to         12        Q. Correct, correct.
       13       point to evidence in her report.        13        A. That's correct to my
       14       That's perfectly appropriate.           14   knowledge.
       15           MR. HEGARTY: We'll let              15        Q. And are you aware that talc
       16       Judge Pisano decide. We'll go off       16   is in toilet paper?
       17       the record.                             17        A. Yes, I just learned that
       18           THE VIDEOGRAPHER: The time          18   recently.
       19       is 3:39 p.m. Going off the              19        Q. Can talc in toilet paper
       20       record.                                 20   migrate to the ovaries?
       21           (Short break.)                      21             MS. O'DELL: Object to the
       22           THE VIDEOGRAPHER: The time          22        form.
       23       is 4:04 p.m. Back on the record.        23             THE WITNESS: Can -- my
       24           MR. HEGARTY: We're back on          24        knowledge is that talc in toilet

                                          Page 339                                        Page 341
        1        the record and we're going to           1        paper is -- is bound to the
        2        continue without calling Judge          2        other -- the other components
        3        Pisano at this time. But we do          3        there. So unless it becomes
        4        reserve the right to ask Judge          4        bioavailable it cannot migrate
        5        Pisano for more time based on our       5        from the toilet paper.
        6        belief that Dr. Zelikoff has many       6   BY MR. HEGARTY:
        7        occasions over the course of this       7        Q. How about talc -- talc in
        8        deposition not been responsive to       8   soap, is there talc in soaps?
        9        the questions asked and as a            9        A. To my knowledge there is.
       10        result has -- has wasted the           10        Q. Can talc in soaps, if
       11        defendant's time and to our            11   applied to the perineum, migrate to the
       12        prejudice.                             12   ovaries?
       13             So -- but we're going to go       13        A. If it becomes --
       14        forward and see if we can finish       14            MS. O'DELL: Object to form.
       15        this deposition.                       15            THE WITNESS: If it becomes
       16             MS. O'DELL: Plaintiffs will       16        bioavailable. Likely bound up to
       17        obviously oppose that -- that          17        the other components.
       18        motion. Dr. Zelikoff has been          18   BY MR. HEGARTY:
       19        responsive to your questions.          19        Q. When you say bioavailable,
       20    BY MR. HEGARTY:                            20   what do you mean?
       21        Q. Dr. Zelikoff, we're talking         21        A. To me, "bioavailable" means
       22    about the section on talc particle's       22   that the body can see it, and it
       23    access to the body. There have been no     23   becomes -- it becomes -- it has access to
       24    studies in either animals or humans that   24   biological responsiveness.

                                                                86 (Pages 338 to 341)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 231 of 366 PageID:
                                   75586

                                    Judith Zelikoff, Ph.D.
                                           Page 342                                         Page 344
        1         Q. And do you know a                    1        Q. You need a specific page?
        2    Dr. Benjamin Neel at NY University -- New    2   Over on Page 16. Over the course of this
        3    York University?                             3   page and carrying over to the next page,
        4         A. Dr. Neel, isn't he the head          4   you cite a number of studies that refer
        5    of the cancer center?                        5   to talc causing pleural inflammation,
        6         Q. He is.                               6   correct?
        7         A. He is the head of the cancer         7        A. Yes.
        8    center.                                      8        Q. Talc causing granulomas,
        9         Q. Do you know him?                     9   correct?
       10         A. I do not know him.                  10        A. Yes.
       11         Q. Does he know more about             11        Q. Talc causing pulmonary
       12    cancer biology than you do?                 12   interstitial fibrosis, correct?
       13             MS. O'DELL: Object to the          13        A. Talcum powder can do those
       14         form.                                  14   things, yes.
       15             THE WITNESS: I've not seen         15        Q. And talc causing
       16         his CV. I would assume as head of      16   carcinogenic activity in the lungs,
       17         the cancer center, that he             17   correct?
       18         probably does. Since that is not       18        A. Are you referring to a
       19         my area of study.                      19   specific line?
       20    BY MR. HEGARTY:                             20        Q. No, I'm not referring to a
       21         Q. Are dose-response                   21   specific line. I'm talking about
       22    relationships important in evaluating       22   generally from this part of your report.
       23    potential carcinogenicity of a substance?   23        A. In general, this is the
       24         A. Dose-response --                    24   section on inhalation. I'm talking

                                           Page 343                                         Page 345
        1    dose-responses are -- contribute to, as I    1   about -- yes, I'm talking about talcum
        2    said frequency, duration, exposure route.    2   powder and its ability to bring about
        3    They all contribute to carcinogenicity.      3   changes in the lungs that could lead to
        4         Q. In other words, in                   4   carcinogenic -- carcinogenesis.
        5    evaluating the carcinogenicity of a          5        Q. Of the reactions that we
        6    substance, it's important to look at dose    6   just talked about, have any of those been
        7    relationships, correct?                      7   reported in women using talc on the
        8         A. Are you speaking about               8   perineum?
        9    dose-response, or more than one dose?        9        A. There have been no studies
       10         Q. Let me ask it again. In             10   to my knowledge showing that application
       11    evaluating the substance for                11   of perineal talc can produce -- produces
       12    carcinogenicity purposes, it's important    12   lesions in the lungs.
       13    to look at dose-response relationships,     13        Q. And there's been no studies
       14    correct?                                    14   that you are -- of which you are aware
       15         A. It's important to look at           15   that have reported findings of granulomas
       16    dose-response relationships, but it's not   16   in women using talc in the perineum,
       17    the only factor, is what I'm saying.        17   correct?
       18         Q. In your report, you cite a          18        A. There is evidence of
       19    number of reactions to talc that have       19   inflammation clearly, but there -- to my
       20    been reported, pleural inflammation,        20   knowledge, I have not seen any of the
       21    granulomas, pulmonary                       21   literature which shows a granuloma in the
       22    interstitial fibrosis --                    22   ovary.
       23         A. What page are you referring         23        Q. What studies have you seen
       24    to?                                         24   that have reported seeing inflammation in

                                                                 87 (Pages 342 to 345)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 232 of 366 PageID:
                                   75587

                                    Judith Zelikoff, Ph.D.
                                           Page 346                                        Page 348
        1    the ovaries of women using talc on the       1   disease.
        2    perineum?                                    2        Q. Okay. Rheumatoid arthritis
        3              MS. O'DELL: Object to the          3   does not increase the risk of cancer,
        4         form.                                   4   correct?
        5              THE WITNESS: I'm just              5        A. Rheumatoid arthritis, for
        6         trying to find the section.             6   what's known now, does not increase the
        7              There were many studies, I         7   risk of cancer.
        8         can't right now, without finding        8        Q. Psoriasis is another chronic
        9         it in my report, identify any one       9   inflammatory process, correct?
       10         in particular.                         10        A. Another autoimmune disease
       11    BY MR. HEGARTY:                             11   and another inflammatory process, yes.
       12         Q. Well, sitting here today,           12        Q. Having psoriasis does not
       13    can you cite any study that has reported    13   increase the risk of any form of cancer,
       14    on finding inflammation of the ovaries      14   correct?
       15    following perineal application of talc?     15        A. Not that -- not that we know
       16         A. As I said, there are many --        16   with the current knowledge.
       17    there are many examples in animal models    17        Q. So just having chronic
       18    that was not perineal, that was vaginal,    18   inflammation does not mean cancer will
       19    as you stated.                              19   develop, correct?
       20              There were studies --             20            MS. O'DELL: Object to the
       21    study -- an early study which identified    21        form.
       22    talcum powder particles in the ovary with   22            THE WITNESS: Just having
       23    inflammatory responsiveness or              23        chronic inflammation does not have
       24    inflammatory responses. That was a          24        to indicate. It's one -- again,

                                           Page 347                                        Page 349
        1    very -- that was a very early study. I'm     1        it's one mechanism that provides
        2    not sure if it was Hamilton or Henderson.    2        biological plausibility for the
        3    If I may.                                    3        cancer induction.
        4              I'm sorry it's not coming to       4             If I may give an example.
        5    mind now.                                    5   BY MR. HEGARTY:
        6         Q. Okay. Over on Page 20 you            6        Q. Well, let me -- that's not
        7    discuss the role of the immune system --     7   what I asked you for.
        8         A. Yes, sir.                            8        A. Okay. I thought I answered
        9         Q. -- correct?                          9   your question.
       10         A. I see that, yes.                    10        Q. Does having pelvic
       11         Q. You agree that it's not             11   inflammatory disease cause ovarian
       12    generally accepted by the medical or        12   cancer?
       13    scientific communities that all cancers     13        A. The inflammation has been
       14    are caused by chronic inflammation,         14   linked with ovarian cancer, yes.
       15    correct?                                    15        Q. In your opinion is there a
       16         A. There are other mechanisms          16   biologically plausible mechanism between
       17    that are associated with carcinogenesis     17   PID and ovarian cancer?
       18    and the process of carcinogenesis. If       18        A. Well, PID is usually
       19    you'd like, I can identify those.           19   associated with an infection. And what's
       20         Q. You agree that there are            20   related to cancer and why there's higher
       21    types of chronic inflammation that are      21   risk in inflammatory diseases of
       22    not related to cancer. Rheumatoid           22   endometriosis and pelvic inflammatory
       23    arthritis is one, correct?                  23   disease is through a mechanism of
       24         A. That's an autoimmune                24   inflammation.

                                                                 88 (Pages 346 to 349)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 233 of 366 PageID:
                                   75588

                                    Judith Zelikoff, Ph.D.
                                           Page 350                                         Page 352
        1         Q. Your biologically plausible          1        A. It's -- the only evidence
        2    mechanism for talc and ovarian cancer is     2   out there that addresses this is when
        3    inflammation, correct?                       3   they do correlation studies with the
        4         A. That's primary, yes.                 4   level of antibodies to MUC-1. And when
        5         Q. You make reference to MUC-1.         5   the antibody levels are decreased, then
        6    That's not your biological plausibility      6   you have -- they found that you have an
        7    mechanism, is it?                            7   increased risk of ovarian cancer.
        8         A. You mean MUC-1 --                    8        Q. There are no studies
        9         Q. Yes.                                 9   reporting or correlating MUC-1 levels in
       10         A. -- antibodies?                      10   talcum powder users to ovarian cancer
       11         Q. Correct?                            11   risk, correct?
       12         A. MUC-1, if I may explain it,         12            MS. O'DELL: Object to form.
       13    is mucin. And --                            13            THE WITNESS: Not to my
       14         Q. I don't want to interrupt.          14        knowledge.
       15    I'm not after an explanation. I just        15            MS. O'DELL: Sorry.
       16    wanted to know whether it's part --         16   BY MR. HEGARTY:
       17    whether the references you include in       17        Q. And measuring MUC-1 is not
       18    your report to MUC-1 are included in your   18   used to diagnose ovarian cancer, correct?
       19    biologically plausible opinion?             19        A. MUC-1 is also known as
       20         A. It is included in my -- in          20   CA-125, and it is used as a marker.
       21    reaching my opinion, yes.                   21        Q. My question is, is MUC-1
       22         Q. Is that a separate mechanism        22   used to -- levels -- strike that.
       23    from inflammation?                          23            Are MUC-1 levels used to
       24         A. It is a separate mechanism          24   diagnose a woman with ovarian cancer?

                                           Page 351                                         Page 353
        1    from inflammation. It's seen in ovarian      1        A. My response to that is MUC-1
        2    cancer as a marker. And when you have --     2   is synonymous with CA-125. CA-125 is a
        3    evidence has shown that if you have          3   shed marker in the blood associated with
        4    antibodies to MUC-1, and if they're          4   ovarian cancer, so yes.
        5    decreased as is seen in response to talc,    5        Q. Okay. Is it your testimony
        6    that you will have less of an immune         6   that for purposes of -- strike that.
        7    response and protection.                     7            Is it your testimony that
        8         Q. Can you cite for me any              8   CA-125 levels are used to diagnose
        9    study that has correlated MUC-1 levels       9   ovarian cancer?
       10    with ovarian cancer risk?                   10            MS. O'DELL: Object to the
       11              MS. O'DELL: Object to form.       11        form.
       12              THE WITNESS: They use it as       12            THE WITNESS: I'm saying
       13         a marker. The literature uses          13        that CA-125 is used as a
       14         MUC-1 as a marker of cancer. Can       14        biological marker of progression,
       15         I cite you any studies that links      15        extent, and intensity and whether
       16         it with ovarian cancer? No, I          16        ovarian cancer is present.
       17         cannot.                                17   BY MR. HEGARTY:
       18    BY MR. HEGARTY:                             18        Q. My question is, in a woman
       19         Q. Are there any studies that          19   who comes in complaining of symptoms that
       20    link the levels of MUC-1 to ovarian         20   might be ovarian cancer, is CA-125 used
       21    cancer risk?                                21   to diagnose ovarian cancer?
       22         A. Do you mean human studies or        22        A. I'm sorry, I'm not a
       23    animal?                                     23   physician. I can't answer that question
       24         Q. Yes, human studies only.            24   in terms of what -- what an OB/GYN or an


                                                                  89 (Pages 350 to 353)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 234 of 366 PageID:
                                   75589

                                    Judith Zelikoff, Ph.D.
                                          Page 354                                          Page 356
        1    oncologist would do.                         1        the systematic review of the
        2          Q. And measuring CA-125 levels         2        literature as I have. But each
        3    does not give you any evidence of the        3        doctor, I'm sure, makes their own
        4    etiology of the ovarian cancer, correct?     4        opinion.
        5          A. Not to the etiology.                5   BY MR. HEGARTY:
        6    However, it is an epithelial-associated      6        Q. Can you cite any doctor who
        7    protein.                                     7   treats ovarian cancer or researches
        8              So if we are talking about         8   ovarian cancer who believes that the
        9    epithelial, and we are talking about         9   biological plausible mechanism of ovarian
       10    epithelial ovary carcinoma, it is related   10   cancer is inflammation?
       11    to -- to that.                              11        A. I have not spoken to any
       12          Q. Does all types -- do all           12   doctors in that regard.
       13    types of inflammation irreparably damage    13        Q. What does the inflammation
       14    tissue?                                     14   in the ovary look like in your opinion
       15          A. Irreparably. Do you mean           15   from talc exposure?
       16    persistently without -- is there            16        A. It looks like any other
       17    recovery?                                   17   local target of inflammation, in that
       18          Q. No, my question is do all          18   there are neutrophils, immune cells that
       19    types of inflammation, all acute, all       19   migrate into the area. There are
       20    chronic inflammation, damage tissue where   20   macrophages that migrate into the area.
       21    it's not repaired?                          21   There can be higher levels of cytokines
       22          A. Where it's not repaired?           22   like interleukin and chemotactic factor,
       23          Q. Yes.                               23   growth factor.
       24          A. No, you can have -- with           24        Q. Such inflammation, if it was

                                          Page 355                                          Page 357
        1    acute inflammation, of course you can        1   occurring would be visible, correct?
        2    have repair of -- it's there to protect      2        A. Not necessarily. In a -- in
        3    against the invader.                         3   a chronic -- first of all, you can get
        4         Q. Does having inflammation in          4   different time periods. So
        5    one organ or one tissue in the body          5   inflammation -- if it's chronic
        6    always mean that other tissues in the        6   inflammation you are talking about one
        7    body will be inflamed?                       7   thing. And then you might see some
        8         A. It does not always mean              8   remnants of the inflammation.
        9    that.                                        9             But if you look at a period
       10         Q. The medical community has           10   of time, you can miss the inflammatory
       11    not generally accepted that chronic         11   response. It can be there, impact the
       12    inflammation is a cause of ovarian          12   cells and then be gone.
       13    cancer, correct?                            13        Q. Even with chronic
       14              MS. O'DELL: Objection to          14   inflammation?
       15         form.                                  15        A. With chronic inflammation,
       16              THE WITNESS: Again, I'm not       16   if you looked hard enough you would find
       17         quite sure what you mean by            17   the remnants of its presence and you will
       18         generally accepted. Everyone           18   also likely find neutrophilic
       19         has -- every medical community has     19   infiltration.
       20         its own opinion. I'm sure there        20        Q. Has that --
       21         are many doctors who do embrace        21        A. That does not last forever.
       22         it. And I'm sure there are many        22        Q. Has that ever -- that --
       23         doctors who do not. I'm not sure       23   those findings ever been reported in
       24         whether they've done the extent of     24   women using talc in the perineum?

                                                                 90 (Pages 354 to 357)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 235 of 366 PageID:
                                   75590

                                    Judith Zelikoff, Ph.D.
                                           Page 358                                         Page 360
        1         A. The inflammatory response?           1        Q. None of those inflammatory
        2         Q. Correct.                             2   markers are tested to diagnose or monitor
        3         A. Or the infiltration? Not             3   a woman for developing ovarian cancer,
        4    that I'm aware of. Not in my report.         4   correct?
        5         Q. How many applications of             5        A. To my knowledge, tumor
        6    talc to the perineum does it take to         6   necrosis factors, C-reactive protein,
        7    cause chronic inflammation in the            7   none of the interleukins are monitored.
        8    ovaries?                                     8            But again, I have to say
        9         A. That's -- that                       9   that I'm not an OB/GYN and so I'm not --
       10    information -- that is not known how many   10   I'm not familiar with what their -- what
       11    applications, whether it could be one or    11   they are using other than what's in the
       12    it needs to be over a period of three       12   literature.
       13    years or a period of ten years. Some of     13        Q. And no study has clinically
       14    the meta-analysis evaluations indicated     14   correlated those markers with ovarian
       15    that there were some temporal               15   cancer or ovarian cancer risk, correct?
       16    associations with it, and that it needed    16            MS. O'DELL: Objection to
       17    to be used longer than ten years, where     17        form.
       18    you saw responsiveness. And others          18            THE WITNESS: In looking at
       19    indicated less than ten years.              19        biological plausibility, which
       20              So it's -- it's difficult to      20        I'm -- which I'm focused on, the
       21    say, and it's also associated with the      21        indication of those elevated
       22    woman.                                      22        levels as well as decreased levels
       23         Q. Does acute inflammation             23        of antioxidants are associated
       24    cause cancer?                               24        with inflammation and are

                                           Page 359                                         Page 361
        1         A. Acute inflammation has not           1        associated with ovarian cancer.
        2    been linked to my knowledge to cancer.       2   BY MR. HEGARTY:
        3    As I said, it's used as an immune            3        Q. Well, can you cite for me
        4    surveillance and protective mechanism as     4   any study that has clinically correlated
        5    you pointed out.                             5   those findings to ovarian cancer risk?
        6         Q. Over on Pages 20 and 21 of           6            MS. O'DELL: Objection.
        7    your report you refer to CRP and other       7        Asked and answered.
        8    inflammatory markers, cytokines,             8            THE WITNESS: First of all,
        9    inflammatory mediators. Do you see the       9        I'm not -- and again, not an
       10    section I'm referring to?                   10        OB/GYN.
       11         A. I -- roles of the immune            11            I can tell you that those
       12    system, and then Section E, ovarian         12        risk factors, which are
       13    cancer inflammation?                        13        inflammatory markers, are used as
       14         Q. Correct.                            14        an indicator of inflammation as a
       15         A. Which section are you               15        biological plausible mechanism.
       16    referring to?                               16   BY MR. HEGARTY:
       17         Q. Well, the section ovarian           17        Q. Well, do you cite in your
       18    cancer inflammation at the bottom of        18   paper any studies that have --
       19    Page 20, carrying over to the top of        19        A. I'm sorry, do you mean the
       20    Page 21.                                    20   report?
       21         A. I see that.                         21        Q. In your report. Do you cite
       22         Q. And there you talk about a          22   in your report any studies that have
       23    number of inflammatory markers, correct?    23   found that women with these markers have
       24         A. Correct.                            24   a higher -- higher or an increased risk

                                                                 91 (Pages 358 to 361)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 236 of 366 PageID:
                                   75591

                                    Judith Zelikoff, Ph.D.
                                          Page 362                                         Page 364
        1    of ovarian cancer?                          1    are a normal product of cell activity,
        2         A. Well, what I -- no. But             2    correct?
        3    what I have found is that in women who      3         A. That is correct --
        4    have ovarian cancer, when they measure      4         Q. For example, for many --
        5    concurrently or subsequently, that the      5         A. -- for many cells.
        6    levels of certain inflammatory markers      6         Q. -- reactive oxygen species
        7    are elevated.                               7    increase if we exercise, correct?
        8         Q. My question was specific to         8         A. As well as antioxidants
        9    women prior to being diagnosed with         9    increase, yes.
       10    ovarian cancer, has any study shown that   10         Q. The same is true for
       11    women with higher levels of these          11    reactive nitrogen species, correct?
       12    inflammatory markers have an increased     12         A. Yes.
       13    risk of ovarian cancer?                    13         Q. These --
       14             MS. O'DELL: Objection to          14         A. It's a matter of degree.
       15         form.                                 15         Q. Reactive oxygen species and
       16             THE WITNESS: Not in that          16    reactive nitrogen species increase if
       17         particular context. But again I'm     17    we're under stress, correct?
       18         not an OB/GYN.                        18         A. They have been shown to do
       19    BY MR. HEGARTY:                            19    that, yes.
       20         Q. Has any study shown that           20         Q. And the body has defense
       21    these inflammatory factors are elevated    21    mechanisms to handle this increase in
       22    in women using talc on the perineum?       22    reactive oxygen species and reactive
       23             MS. O'DELL: Objection to          23    nitrogen species, correct?
       24         the form.                             24             MS. O'DELL: Objection to

                                          Page 363                                         Page 365
        1             THE WITNESS: It's not a            1        form.
        2         common thing to measure                2            THE WITNESS: The body has
        3         inflammatory mediators as a result     3        antioxidant mechanisms, including
        4         of the common use of talcum powder     4        superoxide dismutase, catalase, et
        5         products. So there is no               5        cetera, that are -- that elevate
        6         indication of that because there       6        in response to reactive oxygen
        7         are no studies of that.                7        species. But they can be
        8    BY MR. HEGARTY:                             8        overwhelmed by the amount of ROS
        9         Q. If you look over on Page 24         9        release.
       10    of your report under the section Role of   10   BY MR. HEGARTY:
       11    Oxidants in Ovarian Cancer. Do you see     11        Q. But it would be improper to
       12    that section?                              12   say that simply by the generation of
       13         A. Section C on Page 24?              13   reactive oxygen species or reactive
       14         Q. Correct.                           14   nitrogen species, DNA mutations and tumor
       15         A. Yes.                               15   development will occur, correct?
       16         Q. All the processes that you         16            MS. O'DELL: Object to form.
       17    describe in this section occur in          17            THE WITNESS: One couldn't
       18    everyone everyday, correct?                18        say that just by the -- as you
       19             MS. O'DELL: Object to the         19        point out, as the normal -- under
       20         form.                                 20        normal circumstances, endogenously
       21             THE WITNESS: To a degree,         21        within the body, and not in
       22         yes.                                  22        response to a particular agent
       23    BY MR. HEGARTY:                            23        does produce these. So one cannot
       24         Q. The reactive oxygen species        24        say, to answer your question, that

                                                                 92 (Pages 362 to 365)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 237 of 366 PageID:
                                   75592

                                    Judith Zelikoff, Ph.D.
                                           Page 366                                         Page 368
        1         it -- just the presence of              1   of the literature comes from in vivo
        2         reactive oxygen species will lead       2   animal studies as well as in vitro cell
        3         to cancer.                              3   studies. But my role is to -- is to look
        4    BY MR. HEGARTY:                              4   at biological plausibility. And so
        5         Q. What data shows that the             5   studies that reveal or indicate that
        6    body's response system to reactive oxygen    6   response in an animal model and in cell
        7    species and reactive nitrogen species is     7   culture indicates to me that there's no
        8    unable to handle those species that might    8   likely reason why it could not happen in
        9    be generated by talc exposure?               9   women.
       10         A. Numerous cell studies and           10        Q. Okay. At the top of Page 25
       11    numerous animal studies. And you would      11   of your report, you say that even a
       12    look at that by the level of antioxidants   12   single dose of a carcinogen can produce
       13    that are also present. And if a             13   effects that are adverse to cells and
       14    substance such as talcum powder product     14   tissue at the site of exposure.
       15    reduces antioxidants, then the cell or      15            Do you see where I'm
       16    the tissue is going to be overwhelmed by    16   reading?
       17    that product.                               17        A. Yes.
       18         Q. Has that process ever been          18        Q. When you say dose, do you
       19    shown in vivo?                              19   mean exposure at a dose or volume of
       20         A. In a -- I'm not sure if this        20   exposure to a substance that studies have
       21    answers your question. I'll do my best      21   proven are adverse to cells and tissues?
       22    to answer it. And your question was has     22            MS. O'DELL: Object to the
       23    that process, meaning the process of        23        form.
       24    antioxidant change -- is that your          24            THE WITNESS: That's a

                                           Page 367                                         Page 369
        1    question?                                    1        multiple question. But when I
        2         Q. No. The process where the            2        refer to even a single dose, I
        3    cell or the tissue is going to be            3        mean even a single exposure.
        4    overwhelmed, has that process ever been      4   BY MR. HEGARTY:
        5    shown in vivo in women?                      5        Q. Are you saying there a
        6         A. In women?                            6   single molecule of the substance?
        7         Q. Yes.                                 7        A. What I meant in this report
        8             MS. O'DELL: Object to the           8   is even a single exposure. The
        9         form. You can answer.                   9   concentration of which could be unknown.
       10             THE WITNESS: Certainly in          10   A single exposure to a certain
       11         animals, but not to my knowledge       11   concentration, whatever that
       12         in women.                              12   concentration is, can produce effects.
       13             I'm sorry. I'm still               13   I'm not saying can produce cancer. What
       14         thinking.                              14   I'm saying is can start the process of
       15             Whenever the antioxidant           15   either inflammation or oxidative stress.
       16         levels are decreased, that is an       16        Q. And to what tissue does that
       17         indicator of being overwhelmed by      17   single dose need to reach to have the
       18         the reactive oxygen species or the     18   adverse effects that you describe there?
       19         oxidation stress.                      19            MS. O'DELL: Object to the
       20    BY MR. HEGARTY:                             20        form.
       21         Q. And what studies have shown         21            THE WITNESS: Whatever that
       22    the antioxidant levels are decreased in     22        particular -- it depends upon the
       23    women using talc?                           23        carcinogen or the inflammagogue
       24         A. In women using talc -- most         24        that one is looking at in terms of

                                                                 93 (Pages 366 to 369)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 238 of 366 PageID:
                                   75593

                                    Judith Zelikoff, Ph.D.
                                           Page 370                                         Page 372
        1        a single exposure. And it depends        1        A. In women?
        2        on the susceptibility of the             2        Q. Yes.
        3        tissue. So to answer your                3        A. I can -- I cannot off the
        4        question, doses or concentration         4   top of my head or looking at my report
        5        to the target tissue is unknown or       5   tell you that. Again, I just want to
        6        open.                                    6   repeat that my charge was to look at
        7    BY MR. HEGARTY:                              7   biological plausibility and I -- I see
        8        Q. You're not saying that a              8   those effects or processes that you're
        9    single application of talc to the            9   indicating in cells and animal models,
       10    perineum can produce effects that are       10   but I do not have that information with
       11    adverse to cells and tissue in the          11   humans.
       12    ovaries, correct?                           12        Q. Are you aware of any study
       13             MS. O'DELL: Object to the          13   correlating the exposures used in those
       14        form.                                   14   cell and animal models to the exposures
       15             THE WITNESS: I'm not saying        15   that women would experience with perineal
       16        that it can't. I think I                16   application of talc?
       17        testified earlier that a single --      17            MS. O'DELL: Object to the
       18        depending upon what that product        18        form.
       19        is -- in this case we're talking        19            THE WITNESS: Well, in my
       20        about talcum powder product --          20        mind, and in reality, women use
       21        that one exposure, one                  21        different amounts, whether it's
       22        application, one perineal direct        22        different handfuls. So I can't
       23        exposure could in fact trigger the      23        really give you a concentration.
       24        cells to start a process leaning        24        But there are studies, the in

                                           Page 371                                         Page 373
        1          towards inflammation.                  1        vitro studies, that did use more.
        2    BY MR. HEGARTY:                              2             However, when you're looking
        3          Q. And where the talc -- where         3        at toxicology and you're looking
        4    does the talc need to go in the body to      4        to define a mechanism or a
        5    trigger that mechanism?                      5        potential mechanism, if you use
        6          A. Well, once it gets -- once          6        even a higher dose, you're
        7    it's applied to the perineal region, it's    7        still -- you still can elicit the
        8    my belief that it then migrates up to        8        same mechanism.
        9    the -- to the vaginal area. And in the       9             So perineal application --
       10    vaginal area, it could also start           10        to answer your question, perineal
       11    mechanisms, gene expression changes in      11        application can put a lot or a
       12    the vaginal tissues that could lead to      12        little. But it also depends on
       13    inflammation, or it could get to the        13        the frequency and the duration of
       14    point of the cervix or to the fallopian     14        the use.
       15    tubes. It causes changes in cells,          15   BY MR. HEGARTY:
       16    whether it's gene expression or an          16        Q. Doctor, my question, though,
       17    inflammation, at any one of those           17   was, has any study correlated the
       18    upward -- upward reproductive tract organ   18   exposures in the animal or cell studies
       19    systems or tissues. They're all made up     19   to which you are referring to, to show
       20    of cells that are susceptible to oxidant    20   that those same exposures are occurring
       21    stress.                                     21   in women applying talc to the perineum?
       22          Q. Can you cite to us any study       22        A. No.
       23    that has shown that process in women        23        Q. For purposes of your
       24    using talc to the perineum?                 24   opinions on biological plausibility, do

                                                                  94 (Pages 370 to 373)
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Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 239 of 366 PageID:
                                   75594

                                    Judith Zelikoff, Ph.D.
                                           Page 374                                         Page 376
        1    you rely on the studies that you cite in     1        just?
        2    your report done by Dr. Saed?                2   BY MR. HEGARTY:
        3          A. I relied on the information         3        Q. Ovarian epithelial -- thank
        4    from Dr. Saed. It went into making up my     4   you.
        5    opinion, yes.                                5            Have you ever done studies
        6          Q. If those studies were not           6   using any type of ovarian epithelial cell
        7    available to you, would your opinions        7   lines?
        8    still be the same?                           8        A. I have not.
        9          A. As I said, one of the -- one        9        Q. Have you ever done any study
       10    of the manuscripts came after my report.    10   using ovarian cancer cell lines?
       11    And it was -- I looked at an abstract, so   11        A. I have not. Not personally.
       12    I had information. And other -- others      12        Q. What data shows that the
       13    of Dr. Saed's I reviewed. But I would       13   doses that Dr. Saed used in his studies
       14    have come to the same conclusion. That      14   are comparable to those to which
       15    was just -- that was supplemental and       15   epithelial ovarian cells would be exposed
       16    complementary and compelling.               16   to via perineal application of talc?
       17          Q. Have you ever cited an             17            MS. O'DELL: Objection to
       18    abstract in any published article of        18        form.
       19    yours?                                      19            THE WITNESS: There was no
       20          A. Yes, I have.                       20        comparison in his study directly.
       21          Q. Are you an expert in the           21        But if I may, I just want to say,
       22    kinds of testing that Dr. Saed has          22        when you're looking at biological
       23    reported in the materials you reviewed?     23        plausibility, which was the
       24          A. Yes, I am.                         24        question that I was asked,

                                           Page 375                                         Page 377
        1         Q. Do you understand that               1        oftentimes higher doses in vitro
        2    Dr. Saed is an expert for the plaintiffs     2        studies are used to provide a
        3    in this litigation?                          3        mechanism or a plausibility or
        4         A. I do understand that from            4        feasibility that that can -- that
        5    looking at his publication.                  5        that product, in this case, talcum
        6         Q. Did you do anything yourself         6        powder product, can induce
        7    to verify the reliability of the testing     7        inflammation, inflammatory
        8    that he performed whose results you have     8        responses and changes in
        9    read in his publications?                    9        antioxidant levels.
       10         A. I focused my review and             10            So it is not uncommon to use
       11    reading of the study design, which is --    11        higher doses in in vitro studies
       12    and the experimental approach, which are    12        than what might be seen in a human
       13    key factors for evaluating any study.       13        for biological plausibility
       14    And I agree with the experimental           14        studies.
       15    approach and the study design that he       15   BY MR. HEGARTY:
       16    used.                                       16        Q. Can you cite any study that
       17              He used proper controls. He       17   has shown the results reported in
       18    used a dose-response. He used the proper    18   Dr. Saed's studies in vivo in women using
       19    techniques in analyzing for cell            19   talc?
       20    survivability as well as for oxidative      20            MS. O'DELL: Objection to
       21    stress and gene expression changes.         21        form.
       22         Q. Have you ever done studies          22            THE WITNESS: May I get
       23    using epithelial cell lines?                23        Dr. Saed's paper?
       24              MS. O'DELL: Ovarian or            24   BY MR. HEGARTY:

                                                                 95 (Pages 374 to 377)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 240 of 366 PageID:
                                   75595

                                   Judith Zelikoff, Ph.D.
                                          Page 378                                        Page 380
        1         Q. Well, I'm actually not              1   polymorphisms?
        2    asking about Dr. Saed's paper.              2        A. I need to look at my CV
        3         A. Okay.                               3   again, as being co-investigator. I've
        4         Q. But my question is -- you've        4   worked with other people. I have not
        5    read Dr. Saed's papers, correct?            5   performed studies looking at single
        6         A. Yes, I have.                        6   nucleotide polymorphisms. But I have
        7         Q. Can you cite for me any             7   worked with people who have -- have done
        8    study that has shown the results he         8   them. And if I look at my curriculum
        9    reports in his studies in women using       9   vitae, I can tell you if I've been on any
       10    talc?                                      10   publications.
       11             MS. O'DELL: Object to form.       11        Q. Okay. Because of time, just
       12             THE WITNESS: His studies          12   sitting here today, recognizing for the
       13         were in vitro studies.                13   record you haven't looked at your CV, do
       14    BY MR. HEGARTY:                            14   any such studies come to mind?
       15         Q. Are there any such studies         15        A. I don't -- I have not done
       16    looking at the effects in vivo of talc?    16   those studies in my own laboratory.
       17             MS. O'DELL: Objection.            17   Although I'm -- I'm just saying that I
       18             THE WITNESS: In vivo in           18   may have been on a publication where
       19         humans or in vivo in animals?         19   colleagues of mine have used that -- that
       20    BY MR. HEGARTY:                            20   method, those methods.
       21         Q. In humans.                         21        Q. Do you have an opinion about
       22             MS. O'DELL: Object to the         22   talc in single nucleotide polymorphisms
       23         form.                                 23   or SNPs?
       24             THE WITNESS: When you refer       24            MS. O'DELL: Objection.

                                          Page 379                                        Page 381
        1         to such studies, can you tell me       1            THE WITNESS: I think
        2         which studies -- which types of        2        there -- there is literature
        3         studies again are you referring        3        showing, including in Dr. Saed's
        4         to?                                    4        papers, that there are single --
        5    BY MR. HEGARTY:                             5        and in -- in a paper that looked
        6         Q. The cell studies that you           6        at women and looked at antioxidant
        7    reference by Dr. Saed on Page 25 of your    7        enzymes and they showed there was
        8    report.                                     8        single nucleotide polymorphism
        9         A. And the question is are             9        changes in those women.
       10    there any?                                 10            Looking at, I think it was
       11         Q. Studies in humans showing          11        glutathione S-transferase M 1.
       12    such effects following application of      12            So what is my -- so if your
       13    talc to the perineum.                      13        question is what is my opinion on
       14             MS. O'DELL: Objection to          14        single nucleotide polymorphisms in
       15         form.                                 15        ovarian cancer?
       16             THE WITNESS: Not to my            16   BY MR. HEGARTY:
       17         knowledge.                            17        Q. Well, let me ask a different
       18             Excuse me. You said that          18   question. Is your biologic mechanism --
       19         was on Page 25 that you were          19   I'm sorry. Is your biologic plausibility
       20         referring to?                         20   opinion between talc and ovarian cancer
       21    BY MR. HEGARTY:                            21   the process or action that Dr. Saed
       22         Q. Correct.                           22   describes in his studies?
       23             Have you ever published a         23        A. I believe that it could be
       24    paper discussing single nucleotide         24   adding to the -- the plausibility of the

                                                                96 (Pages 378 to 381)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 241 of 366 PageID:
                                   75596

                                    Judith Zelikoff, Ph.D.
                                           Page 382                                         Page 384
        1    relationship or of the causation between     1   topic. I'll introduce the topic each
        2    ovarian cancer and talcum powder             2   time that I ask you a question.
        3    products.                                    3            Going back to the Canadian
        4          Q. Well, is it your opinion            4   health assessment that you provided to us
        5    that the mechanism by which talc can be      5   at the beginning of the day.
        6    biologically -- be a biological plausible    6        A. Yes.
        7    cause of ovarian cancer, that's cited by     7            (Brief interruption.)
        8    Dr. Saed in his cell studies?                8   BY MR. HEGARTY:
        9               MS. O'DELL: Objection to          9        Q. Doctor, we talked earlier
       10          form.                                 10   about Canada's health assessment with
       11               THE WITNESS: I believe           11   regard to talc. Are you familiar with
       12          that -- in my opinion and what I'm    12   the process by which the Canadian
       13          stating here in the report, is        13   authorities do that health assessment?
       14          that inflammation is the              14        A. I am -- only from what is in
       15          primary -- one of the primary         15   the document.
       16          biological mechanisms.                16        Q. Have you ever been a part of
       17               Whether it appears from the      17   that, of a Canadian health assessment
       18          literature that single nucleotide     18   like the one shown with talc?
       19          polymorphisms may, in fact, play a    19        A. I've worked with Health
       20          role.                                 20   Canada.
       21    BY MR. HEGARTY:                             21        Q. Okay. Have you ever worked
       22          Q. Okay. But is -- is that --         22   with Health Canada on doing a health
       23    is it your opinion that -- not that they    23   assessment like that reflected in the
       24    play -- just that they play a role, but     24   document we looked at earlier today?

                                           Page 383                                         Page 385
        1    that is the mechanism for biologic           1       A. No, I have not.
        2    plausibility between talc and ovarian        2       Q. Do you know what kind of
        3    cancer?                                      3   standards that they apply in determining
        4          A. I -- I do not believe it            4   whether to call -- whether to say whether
        5    is -- it is not my opinion that -- it is     5   there's a potential for harm with a
        6    my opinion that single nucleotide            6   substance?
        7    polymorphisms, along with inflammation       7       A. Just what is in the
        8    and -- and perhaps other mechanisms may      8   document. And then I use my own
        9    be involved that talc is associated with.    9   professional judgment, whether I agree
       10               I focused my -- my opinion       10   with that or not.
       11    on the assessment of inflammation and its   11       Q. Did plaintiff's counsel
       12    role.                                       12   provide you with some scientific and
       13               MR. HEGARTY: Off the record      13   medical literature with regard to talc or
       14          for a minute.                         14   ovarian cancer?
       15               THE VIDEOGRAPHER: The time       15       A. So the question is whether I
       16          is 4:48 p.m. We are off the           16   was provided with some scientific and
       17          record.                               17   medical literature with regard -- yes,
       18               (Short break.)                   18   many of the articles in the binders were
       19               THE VIDEOGRAPHER: We are         19   provided to me by them.
       20          back on the record. The time is       20       Q. Are you able to identify
       21          5:08 p m.                             21   which of those articles came from
       22    BY MR. HEGARTY:                             22   plaintiffs' counsel versus which you
       23          Q. Dr. Zelikoff, I'm going to         23   found on your own?
       24    jump around a little bit from topic to      24       A. I may be able to do that

                                                                 97 (Pages 382 to 385)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 242 of 366 PageID:
                                   75597

                                    Judith Zelikoff, Ph.D.
                                          Page 386                                         Page 388
        1    with some, yes. But this is over a          1        Q. What are the differences
        2    period of, as I said, 2017 to now.          2   between your current report dated
        3        Q. With regard to your                  3   November 16, 2018, and the final report
        4    invoices -- do you have your invoices       4   that you provided as shown here back in
        5    there?                                      5   February of 2018?
        6        A. I do not.                            6        A. It was -- I own that. It
        7        Q. They've been marked as an            7   should have said draft report. And the
        8    exhibit.                                    8   difference is that that's more literature
        9        A. Oh.                                  9   and more time had gone by for the
       10        Q. Can someone help her find           10   emergence and review of more literature.
       11    those invoices?                            11        Q. You go from a reference on
       12             MS. O'DELL: Did you take          12   February 4, 2018, to the next reference
       13        them back? I don't know that --        13   on September 20th -- I'm sorry. Did I
       14        there was only one copy.               14   say -- let me back up.
       15             MR. HEGARTY: I don't think        15            You go form a reference on
       16        I did. I think it was Exhibit 1.       16   February 4, 2018, to the next cite for
       17             MS. O'DELL: The reason I          17   time on September 20, 2018. Did you
       18        say that is I did not see it           18   review any additional literature between
       19        during the lunch break when I          19   February 4th and September 20, 2018?
       20        looked at --                           20        A. Yes, I'm sure I did. And I
       21             THE WITNESS: I do have the        21   also reviewed the production documents
       22        invoices in my binder here.            22   within that time. More of the production
       23    BY MR. HEGARTY:                            23   documents.
       24        Q. Okay. If you can turn to            24        Q. Your report doesn't show any

                                          Page 387                                         Page 389
        1    your binder, please.                        1   time invoiced between February 4, 2018,
        2         A. If I recall.                        2   and September 20, 2018. Did you spend
        3         Q. If we can find that exhibit,        3   time reviewing literature or otherwise
        4    that would be helpful?                      4   working on your report that's not
        5             MS. O'DELL: I'm not sure           5   contained in your invoices?
        6         there are any invoices in her          6        A. It -- I may have. I did not
        7         binder.                                7   always invoice for something that I spent
        8             Is it in the stack that's          8   maybe an hour on.
        9         right there?                           9        Q. Are you able to cite for me
       10             MR. HEGARTY: No, I don't          10   the sections in your report that you
       11         think so.                             11   added or changed between the report that
       12    BY MR. HEGARTY:                            12   you prepared on February 4, 2018, and the
       13         Q. Yeah invoices. I found it.         13   November 16, 2018, report?
       14             Your invoices, Doctor,            14        A. Not without seeing both
       15    reflect that you prepared a final report   15   reports side by side.
       16    delivered on February 4, 2018.             16        Q. Do you still have a copy of
       17             Do you see that?                  17   the February 4, 2018, report?
       18         A. I do see that.                     18        A. Not with me.
       19         Q. That was almost a year ago,        19        Q. Does it exist?
       20    correct?                                   20        A. It likely does on my
       21             MS. O'DELL: Objection to          21   computer, yes.
       22         form.                                 22        Q. You mentioned that you
       23             THE WITNESS: Yes.                 23   referred to -- that you reviewed Julie
       24    BY MR. HEGARTY:                            24   Pier's deposition testimony?

                                                                98 (Pages 386 to 389)
                Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 243 of 366 PageID:
                                   75598

                                    Judith Zelikoff, Ph.D.
                                          Page 390                                         Page 392
        1         A. I said three-quarters of the        1   Canada, like Exhibit Number 9?
        2    deposition, half to three-quarters.         2        A. I'm sorry.
        3         Q. That was provided to you by         3            MS. O'DELL: Objection to
        4    counsel for plaintiffs, correct?            4        form.
        5         A. Yes, correct.                       5            THE WITNESS: All I can say
        6         Q. Do you know how they went           6       is that in working with Health
        7    about selecting the deposition              7       Canada on immunology in my early
        8    transcripts to provide to you for           8        career days, that I may have used
        9    purposes of your review in this case?       9        an assessment like that.
       10         A. I do not.                          10   BY MR. HEGARTY:
       11         Q. Did you ask for any                11        Q. Can you cite for me, sitting
       12    deposition -- did you ask for the          12   here today, anytime that you -- your
       13    depositions of all experts who have        13   opinions were informed by a Health Canada
       14    testified in this litigation?              14   safety assessment or screening
       15              MS. O'DELL: Objection to         15   assessment?
       16         form.                                 16            MS. O'DELL: Object to the
       17              THE WITNESS: I did not ask       17        form. Other than what she said?
       18         for depositions.                      18            THE WITNESS: Except for
       19              Let me -- let me retract         19        what I said, I cannot recall.
       20         that, please. If in reading my        20   BY MR. HEGARTY:
       21         literature there was something        21        Q. Did you review for purposes
       22         that I thought might be in a          22   of your opinions in this case the current
       23         deposition of someone, I asked the    23   National Cancer Institutes position --
       24         plaintiff attorneys if they had       24   healthcare -- healthcare -- health

                                          Page 391                                         Page 393
        1         anything in that regard that would     1   professional PDQ, or the NCI PDQ?
        2         lend to my opinion.                    2         A. I have seen that recently.
        3    BY MR. HEGARTY:                             3         Q. I'll mark as Exhibit Number
        4         Q. And did you ever ask for any        4   23, a copy of the NCI PDQ that mentions
        5    additional depositions beyond those that    5   talc.
        6    were provided?                              6             (Document marked for
        7         A. No, I did not.                      7         identification as Exhibit
        8         Q. Going back to the Health            8         Zelikoff-23.)
        9    Canada assessment. Have you ever cited      9   BY MR. HEGARTY:
       10    to a Health Canada assessment in any       10         Q. Have you seen what I marked
       11    written publication of yours?              11   as Exhibit 23 before -- or as of the time
       12         A. Without looking at my              12   that you drafted your report?
       13    publications, I cannot. But I can tell     13         A. No, sir.
       14    you that coming to mind just sitting       14         Q. Plaintiffs' counsel did not
       15    here, as I said, I worked with Health      15   provide you a copy of that?
       16    Canada, and I worked with them on my       16         A. Not prior to my report, no.
       17    research in fish immunology, and it is     17         Q. How did you happen -- who --
       18    possible that I cited Health Canada --     18   strike that.
       19    Health Canada literature in those          19             Did -- from where did you
       20    publications concerning fish.              20   receive a copy of Exhibit 23 after
       21         Q. Sitting here today, can you        21   preparing your report?
       22    recall at any point in time when you --    22         A. From the plaintiff attorney.
       23    when your opinions were informed by a      23         Q. Did you ask for it?
       24    draft screening assessment by Health       24         A. In general, I asked for all

                                                                 99 (Pages 390 to 393)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 244 of 366 PageID:
                                   75599

                                    Judith Zelikoff, Ph.D.
                                           Page 394                                        Page 396
        1    relevant literature and internal             1       A. I reviewed their opinions.
        2    information. But I did not specifically      2   I have many questions about how they
        3    ask for the NCI report.                      3   reached their opinions and what studies
        4         Q. When you asked for all               4   they used.
        5    relevant information, internal               5           If we can just be on the
        6    information, was that prior to preparing     6   same page in terms of what their opinion
        7    your expert report?                          7   is?
        8         A. That's pretty much on a              8       Q. I'm looking at the section
        9    chronic level, in other words from the       9   under perineal talc exposure. And my --
       10    time that I was recruited or asked to       10   my question is -- strike that.
       11    participate in this, I always asked, "Is    11           I'm looking at the section
       12    there literature? Is there more             12   on perineal talc exposure which is about
       13    literature? Here is the literature that     13   four pages from the end.
       14    I have found," which were quite a number.   14       A. I see.
       15    "Is there anything else that you can add    15       Q. And my question is only
       16    to this?" So I provided literature, and     16   whether that section informed your
       17    they provided me with literature.           17   opinions in this case.
       18         Q. You did not find the NCI's          18           MS. O'DELL: Object to the
       19    PDQ yourself?                               19       form.
       20         A. I did not find it myself.           20           THE WITNESS: I reviewed it.
       21         Q. Did the NCI PDQ statements          21       It did not change my opinion.
       22    on perineal talc exposure inform your       22       Did -- did it inform my opinion?
       23    opinions in this case?                      23       It did not change my opinion.
       24         A. As I said, I only saw it            24   BY MR. HEGARTY:

                                           Page 395                                        Page 397
        1    within the last few days.                    1        Q. Do you agree with the NCI
        2        Q. Understood. But you also              2   PDQ statement on perineal talc exposure?
        3    reviewed the Saed manuscript, you            3        A. If we are talking about
        4    reviewed the Canadian health assessment.     4   their final conclusion?
        5    You said both those documents informed       5        Q. I'm talking -- yes. We can
        6    your opinions.                               6   talk about their final conclusion.
        7             So my question is, did the          7        A. Okay. If I'm recalling
        8    NCI PDQ also inform your opinions.           8   this, their final conclusion that -- was
        9             MS. O'DELL: Object to the           9   that there was no causal relationship
       10        form.                                   10   between talc -- talcum powder exposure
       11             THE WITNESS: Well, the --          11   and ovarian cancer. Is that --
       12        the documents that you previously       12        Q. Well, the -- the weight of
       13        mentioned do not inform my opinion      13   the evidence does not support an
       14        prior to my report of                   14   association between perineal talc
       15        November 16th. However, it's            15   exposure and an increased risk of ovarian
       16        information that has added to me        16   cancer. Do you agree with that
       17        to get to this place where I am         17   statement?
       18        right now.                              18        A. I do not agree with that
       19             So my opinion has not              19   statement.
       20        changed from my report until            20            And I find, in reading this
       21        sitting here today.                     21   document, that I'm not sure how they
       22    BY MR. HEGARTY:                             22   reached that conclusion. On several
       23        Q. Did the NCI PDQ add to your          23   points, if you're interested.
       24    opinions in this case?                      24            One is --

                                                               100 (Pages 394 to 397)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 245 of 366 PageID:
                                   75600

                                    Judith Zelikoff, Ph.D.
                                          Page 398                                         Page 400
        1         Q. No, I'm just asking you              1        A. Yes, I do.
        2    whether you agreed with it.                  2        Q. Third line down it says,
        3         A. I do not agree with their            3   "The mechanism by which perineal talc use
        4    final conclusion.                            4   may increase the risk of ovarian cancer
        5         Q. Neither FDA nor any                  5   is uncertain."
        6    scientific regulatory or other group has     6             Do you agree with that
        7    ever sought out your opinions with regard    7   statement?
        8    to the biologic plausibility of talc and     8             MS. O'DELL: Objection to
        9    ovarian cancer, correct?                     9        form.
       10         A. That is correct.                    10             THE WITNESS: I think
       11         Q. You made reference earlier          11        there's no -- in providing
       12    to the Penninkilampi article. Do you        12        biological plausibility,
       13    recall that?                                13        biological plausibility, in and of
       14         A. I recall mentioning it, yes.        14        itself, says that there is a
       15         Q. I'm going to mark as                15        possible mechanism or action that
       16    Exhibit 34 a copy of the Penninkilampi      16        could provide evidence for the
       17    article. That's the article that you        17        causation.
       18    were talking about earlier, correct?        18             So the mechanism by which
       19         A. 2018, correct.                      19        perineal talc use may increase the
       20             (Document marked for               20        risk of ovarian cancer is
       21         identification as Exhibit              21        uncertain. It does not mean
       22         Zelikoff-34.)                          22        it's -- it means it's uncertain,
       23    BY MR. HEGARTY:                             23        that there are many viewpoints on
       24         Q. If you turn over to page --         24        it.

                                          Page 399                                         Page 401
        1    strike that.                                 1   BY MR. HEGARTY:
        2             This is an article that you         2         Q. At the very -- in the very
        3    rely on for purposes of your opinions in     3   last line of that article -- I'm sorry,
        4    this case, correct?                          4   the very last line of that paragraph it
        5         A. This is an article that I            5   says, "The potential mechanism by which
        6    reviewed and played into, yes, informed      6   genital talc is associated with an
        7    my opinions.                                 7   increased risk of ovarian cancer hence
        8         Q. Did you find it to be a              8   remains unclear."
        9    reliable source of information?              9             Do you agree with that
       10             MS. O'DELL: Object to the          10   statement?
       11         form.                                  11         A. I think there is -- in -- in
       12             THE WITNESS: I found no            12   regards to your previous questions that
       13         problems in the study design as I      13   asked me if it was -- if there was an
       14         read it.                               14   agreement among the medical population,
       15             Again, I'm not an                  15   and I said that I didn't know that there
       16         epidemiologist. So getting into        16   was agreement or was not agreement. I
       17         the nuances of this. I'm a             17   thought that there were not agreement.
       18         toxicologist and I depend on my        18   So I agree with the statement that there
       19         epidemiology colleagues to fill in     19   is still room for further study.
       20         the gaps.                              20             Unclear does not mean
       21    BY MR. HEGARTY:                             21   unknown or that there are not biological
       22         Q. Over on Page 45, under the          22   plausible mechanisms that could be
       23    section Discussion. Do you see that         23   entertained.
       24    section?                                    24         Q. Is inflammation part of a

                                                                101 (Pages 398 to 401)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 246 of 366 PageID:
                                   75601

                                   Judith Zelikoff, Ph.D.
                                          Page 402                                        Page 404
        1    normal mechanism of response to the         1   statement in the third paragraph at the
        2    presence of particles in the lungs?         2   end that says even incidental -- the
        3         A. Depending upon the particle,        3   third paragraph at the end.
        4    inflammation can be a normal part of a      4         A. I was looking for a pen.
        5    response, yes.                              5   Excuse me.
        6         Q. Can tumors occur in the             6            Okay. Go ahead.
        7    respiratory system with very high           7         Q. Says, "Even incidental
        8    exposure to particles that overwhelm the    8   contamination by amphibole forms of
        9    body's clearance mechanisms and lead to     9   asbestos is hazard enough to cause
       10    particle overload of lung macrophages?     10   asbestos-related illnesses."
       11         A. Are you referring to the NTP       11            Do you see where I'm
       12    study?                                     12   reading?
       13         Q. I'm not referring to any           13         A. I'm sorry, are you in the
       14    study in particular. That was just a       14   first paragraph?
       15    question in general.                       15         Q. Third paragraph.
       16         A. Okay. Can you repeat the           16         A. Third paragraph.
       17    question?                                  17         Q. At the end.
       18         Q. Yeah. Can tumors occur in          18         A. At the -- traces of these
       19    the respiratory system with very high      19   types of asbestos are --
       20    exposure to particles that overwhelm the   20         Q. No, third paragraph.
       21    body's clearance mechanisms and lead to    21   Even -- the last line. "Even incidental
       22    particle overload of lung macrophages?     22   contamination by amphibole forms of
       23             MS. O'DELL: Object to form.       23   asbestos is hazard enough to cause
       24             THE WITNESS: That is a --         24   cancer-related illnesses."

                                          Page 403                                        Page 405
        1         that has been seen as a                1            Do you see where I'm
        2         potential -- as a potential to         2   reading?
        3         occur, yes.                            3        A. Says, "Cause
        4    BY MR. HEGARTY:                             4   asbestos-related illnesses."
        5         Q. Are there any publications          5        Q. I'm sorry. "Can cause
        6    that indicate such a mechanism of           6   asbestos-related illnesses." You cite --
        7    particle overload can occur in the          7        A. I see where you are reading.
        8    ovaries?                                    8        Q. -- the Rohl and Langer
        9             MS. O'DELL: Objection to           9   paper?
       10         form.                                 10        A. Yes.
       11             THE WITNESS: No studies           11        Q. I'll mark as Exhibit 35 the
       12         that I'm aware of that -- that        12   Rohl and Langer paper that you've cited.
       13         refer to particle overload in the     13            (Document marked for
       14         ovaries in this regard, in regard     14        identification as Exhibit
       15         to talcum powder. There's             15        Zelikoff-35.)
       16         evidence, of course, as I said        16   BY MR. HEGARTY:
       17         that there is talcum powder in the    17        Q. Doctor, nowhere in that
       18         ovary.                                18   paper did the author say that incidental
       19    BY MR. HEGARTY:                            19   contamination by amphibole forms of
       20         Q. Over on Page 5 of your             20   asbestos is hazard enough -- hazardous
       21    report, Exhibit 2.                         21   enough to cause asbestos-related
       22         A. Page headed by Section 4,          22   illnesses, do they?
       23    Asbestos?                                  23            MS. O'DELL: Objection to
       24         Q. Correct. You make a                24        form.

                                                              102 (Pages 402 to 405)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 247 of 366 PageID:
                                   75602

                                    Judith Zelikoff, Ph.D.
                                           Page 406                                        Page 408
        1             THE WITNESS: I'm sorry, I'm         1            Many investigators,
        2         not certain that this is the same       2   including myself, have papers that come
        3         paper. This is Rohl, et al. The         3   out the same year but with different
        4         paper that I cited is Rohl and          4   authors.
        5         Langer.                                 5        Q. If you -- you turn over to
        6    BY MR. HEGARTY:                              6   Page 6 of your report.
        7         Q. It's dated 1976 --                   7        A. Yes, sir.
        8         A. 1976.                                8        Q. At the end of the first
        9         Q. -- correct?                          9   paragraph, at the top of the page.
       10         A. That's correct.                     10        A. Yes.
       11         Q. If you look in the abstract         11        Q. You say that "the close
       12    of that paper --                            12   proximity of asbestos in talc and mineral
       13         A. Yes. The paper --                   13   deposits makes extraction of either
       14         Q. -- the paper that I marked          14   material alone difficult, if not
       15    as Exhibit 35.                              15   impossible."
       16         A. Rohl, et al, yes.                   16            Do you see where I'm
       17         Q. Yes. It says, "It's                 17   reading?
       18    possible adverse health effects from        18        A. Yes, I do.
       19    intermittent use of these products,         19        Q. Is it your testimony that it
       20    especially those that contain asbestiform   20   is impossible to extract talc from
       21    and fragmented anthophyllite, tremolite,    21   mineral deposits without asbestos?
       22    chrysotile, quartz, and trace minerals      22            MS. O'DELL: Objection to
       23    are presently unknown and warrant           23        form.
       24    evaluation."                                24            THE WITNESS: I'm not a --

                                           Page 407                                        Page 409
        1               Did I read that correctly?        1       I'm not a geologist. I cannot --
        2          A. I'm sorry, you are in the           2       I can only rely on the references
        3    abstract, but I don't know what line you     3       that are there.
        4    are on.                                      4   BY MR. HEGARTY:
        5          Q. The very last line of the           5       Q. Can you list all the steps
        6    abstract.                                    6   used in the processing of pharmaceutical
        7          A. "Possible adverse health            7   grade talc?
        8    effects from intermittent use of these       8       A. I can give you an overview.
        9    products especially those that contain       9   But again, I'm not a commercial talc
       10    asbestiform and fragmented anthophyllite,   10   production person, nor am I a geologist,
       11    tremolite, chrysotile, quartz, and trace    11   nor am I in the industry. So I can only
       12    minerals are presently unknown and          12   give you a superficial glimpse.
       13    warrant evaluation."                        13       Q. Can you describe the
       14               Yes. This is also dated          14   benefication for talc?
       15    1976.                                       15           MS. O'DELL: Objection to
       16          Q. Which is the date that you         16       form. Asked and answered.
       17    cite to the Rohl and Langer paper?          17           THE WITNESS: Not in -- not
       18          A. Yes, I -- I understand that,       18       in detail. I only know in general
       19    sir. However, because this is a Rohl et     19       that there is -- actually, I
       20    al., it is certainly possible that I        20       prefer not to answer that at all
       21    miscited and it was Rohl et al. But my      21       because I don't want to be
       22    citation in there is Rohl and Langer. So    22       inaccurate. It's not my field.
       23    it may have been an error on my part.       23   BY MR. HEGARTY:
       24    However, there's pause.                     24       Q. Can you turn over to Page 7

                                                               103 (Pages 406 to 409)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 248 of 366 PageID:
                                   75603

                                    Judith Zelikoff, Ph.D.
                                           Page 410                                        Page 412
        1    of your report.                              1         Q. You read every word of it?
        2             In the second paragraph you         2         A. I reviewed it. And I read
        3    refer to the deposition of Alice Blount.     3   it to the best of my ability.
        4             Do you see that?                    4         Q. You make reference there to
        5         A. Yes, I do. Second sentence.          5   Exhibits 47 and 28, 47 from Julie Pier
        6         Q. And you contend that the             6   deposition and 28 from Dr. Hopkins'
        7    sample she tested claimed to include         7   deposition.
        8    asbestos, including asbestos in Johnson's    8             Do you see that?
        9    Baby Powder. Do you see where you make       9         A. Yes, I do.
       10    that reference?                             10         Q. Do you know who prepared
       11         A. Yes, I'm citing her                 11   those exhibits?
       12    deposition.                                 12         A. I do not. I would make an
       13         Q. Did you read the entirety of        13   assumption that it was attorneys.
       14    her deposition?                             14         Q. Were you aware that they
       15         A. No, sir.                            15   were prepared by counsel for plaintiffs?
       16         Q. What testing method did she         16             MS. O'DELL: Objection to
       17    use?                                        17         form.
       18         A. I'd like to see the                 18             THE WITNESS: As the
       19    deposition again.                           19         questions were asked by some of
       20         Q. Did you see from her                20         the attorneys for the plaintiff, I
       21    deposition where she testified that her     21         would make that assumption.
       22    results published in 1991 came from a       22   BY MR. HEGARTY:
       23    Johnson's Baby Powder bottle purchased in   23         Q. Did you do anything yourself
       24    1996?                                       24   to verify the accuracy of the information

                                           Page 411                                        Page 413
        1         A. You know, I'm waiting for            1   in any of those exhibits?
        2    the -- see the article, please.              2        A. I'm not sure what you mean
        3         Q. Let me withdraw the                  3   did I do anything myself. I read them,
        4    question. I don't have time to cover         4   and I did not do any further literature
        5    that.                                        5   searching, if that's what you mean.
        6             If you turn over to -- if           6        Q. Did you review the test
        7    you look at Page 7, the second-to-last       7   results themselves that are supposedly
        8    paragraph you make reference there to the    8   reported in those two exhibits?
        9    testimony of Dr. Hopkins and the             9            MS. O'DELL: Objection to
       10    testimony of Julie Pier.                    10        form.
       11             Do you see that?                   11            THE WITNESS: Did I review
       12         A. I see reference to                  12        the testing methodology? I did
       13    Dr. Hopkins in the third sentence. And      13        not review it in the sense that I
       14    in the same paragraph, I see on the last    14        did further literature searching,
       15    sentence, deposition of Julie Pier,         15        but I -- I looked at and reviewed
       16    corporate representative of Imerys.         16        the testing methods that they --
       17         Q. You've already testified            17        that they said they used.
       18    that you have not completed reading the     18   BY MR. HEGARTY:
       19    deposition of Julie Pier, correct?          19        Q. Did you actually pull the
       20         A. I have testified to that,           20   tests that are referenced in those
       21    yes.                                        21   exhibits and look at the test results
       22         Q. Did you read the entirety of        22   yourself?
       23    the deposition of Dr. Hopkins?              23        A. I did not.
       24         A. I read the entirety, yes.           24        Q. Are you aware that in 2009

                                                               104 (Pages 410 to 413)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 249 of 366 PageID:
                                   75604

                                    Judith Zelikoff, Ph.D.
                                           Page 414                                        Page 416
        1    FDA pulled -- did its own testing with       1            THE WITNESS: There are many
        2    regard to asbestos and talc?                 2       studies that IARC used, not just
        3         A. I am aware of that.                  3       worker study populations.
        4         Q. Did you review the results           4   BY MR. HEGARTY:
        5    of those tests?                              5       Q. But their conclusion with
        6         A. I did review the results.            6   regard to designating talc -- sorry,
        7    It doesn't come to mind right now. I'd       7   designating asbestos as Category 1 was
        8    like to see a copy of it, if I may.          8   based on five cohort studies involving
        9         Q. Nowhere in your report do            9   heavy industrial exposure, correct?
       10    you cite those test results, do you?        10       A. The preponderance -- or the
       11         A. Not that I can recall.              11   weight -- the weight of evidence was
       12             I do cite a paper or a             12   contributed among all studies, but it's
       13    comment by Epstein writing to the FDA in    13   my -- it's my thought that the worker
       14    here. And the FDA's response in terms of    14   studies were probably weighted as heavy
       15    migration.                                  15   as any others.
       16             But in answer to your              16       Q. You agree -- you agree that
       17    question -- can you repeat your question?   17   nowhere in your report do you analyze
       18         Q. Sure. Did you cite -- you           18   what asbestos exposure levels had been
       19    agree that you didn't cite anywhere --      19   shown to induce a biologically plausible
       20    strike that.                                20   effect in tissues, correct?
       21             You did not cite anywhere in       21            MS. O'DELL: Object to the
       22    your report the results of the FDA's        22       form.
       23    testing of talc in 2009, correct?           23            THE WITNESS: Again, what do
       24         A. It doesn't appear so, no.           24       you mean by analyze?

                                           Page 415                                        Page 417
        1         Q. Did you have that                    1   BY MR. HEGARTY:
        2    information before you finalized your        2        Q. Well, nowhere do you cite
        3    report?                                      3   studies in your report reporting on the
        4         A. I'm not certain. Probably            4   effect of asbestos in tissues, correct?
        5    yes.                                         5        A. I certainly do talk about
        6         Q. Did you review all the               6   asbestos. If you give me a minute to
        7    epidemiologic literature looking at          7   review.
        8    asbestos exposure and ovarian cancer?        8             I talk about it on Page 7
        9         A. Well, as I said, I'm not an          9   being listed as a Group 1 carcinogen.
       10    epidemiologist. So I looked at several      10        Q. My question is nowhere in
       11    of the meta-analyses, including             11   your report do you analyze the studies
       12    Dr. Taher.                                  12   that look at the toxicity or discuss the
       13         Q. Did you read all the                13   toxicity of asbestos in human tissue,
       14    meta-analyses that had been published       14   correct?
       15    with regard to asbestos and ovarian         15             MS. O'DELL: Object to the
       16    cancer?                                     16        form.
       17         A. No, I have not.                     17             THE WITNESS: I -- I did not
       18         Q. The medical literature              18        look at -- I did not analyze in
       19    looking at asbestos exposure and ovarian    19        depth, no, the studies that are
       20    cancer was based on exposure to -- was      20        associated with the IARC report,
       21    based on a heavy industrial exposure,       21        if that's what you're asking.
       22    correct?                                    22   BY MR. HEGARTY:
       23             MS. O'DELL: Objection to           23        Q. What type of chromium --
       24         form.                                  24   strike that.

                                                               105 (Pages 414 to 417)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 250 of 366 PageID:
                                   75605

                                    Judith Zelikoff, Ph.D.
                                           Page 418                                         Page 420
        1             Is chromium-6 in Johnson's          1         Q. Of your report. The third
        2    Baby Powder?                                 2   paragraph from the bottom where it
        3         A. Chromium is in Johnson's             3   begins, "Chromium-3."
        4    Baby Powder.                                 4         A. Yes.
        5         Q. I'm sorry?                           5         Q. You say, "Chromium-3 has
        6         A. Chromium is present.                 6   weak cell membrane permeability, allowing
        7         Q. Is chromium-6 present in             7   it to cross the cell membrane in order to
        8    Johnson's Baby Powder?                       8   bind to DNA and cause lesions." That's
        9         A. There are indications. They          9   not correct, is it?
       10    just discuss total chromium.                10         A. That is not correct. That
       11         Q. Can you testify here today          11   is an error on my part in the report.
       12    that Johnson's Baby Powder has chromium-6   12   Chromium-3 has strong membrane
       13    in it?                                      13   permeability. And when you asked me the
       14             MS. O'DELL: Object to the          14   question initially whether there was an
       15         form.                                  15   error in my report, I should have looked
       16             THE WITNESS: Again, not            16   at it, and that is an error. Yes.
       17         being a geologist and only going       17         Q. In fact chromium-3 does not
       18         by the internal documents, and if      18   cross the cell membrane, correct? It's
       19         I may also look at one of the          19   unable to cross the cell membrane?
       20         exhibits that has the data for the     20         A. Chromium-6 crosses the cell
       21         metals. I'm sorry.                     21   membrane and then converts into -- is
       22             MS. O'DELL: It's Exhibit C         22   oxidized to chromium-3. And chromium-3
       23         that was marked.                       23   is the actual component which causes the
       24             THE WITNESS: I don't want          24   instability.

                                           Page 419                                         Page 421
        1         to go by my memory alone. I'd           1        Q. But chromium-3 is unable to
        2         like to see that.                       2   cross the cell membrane, correct?
        3             Thank you very much.                3        A. Completely. To some degree
        4             In the document prepared as         4   it has -- it can cross to some -- some
        5         Exhibit C, chromium has not been        5   minimal degree. But it's hexavalent
        6         speciated and it's listed as total      6   chromium which can cross -- which has
        7         chromium. I would make the              7   great capacity to cross the cell
        8         assumption from my professional         8   membrane, yes.
        9         opinion that in mining, you do get      9             May I take a minute, please.
       10         both chromium-6 and chromium-3         10             Let me -- let me restate
       11         when you have -- when you're           11   based upon the third paragraph that
       12         mining talc. But I'm not a             12   starts, "Chromium-3 has weak cell
       13         geologist.                             13   membrane permeability."
       14     BY MR. HEGARTY:                            14             It has weak to no cell
       15         Q. Does chromium-6 only come           15   membrane permeability.
       16     through industrial processing?             16             It is the active oxidized
       17         A. No. It can actually be              17   product of hexavalent chromium or
       18     found in the soil as a product of          18   chromium-6, that along with chromium-4
       19     contamination.                             19   and chromium-5 which is responsible for
       20         Q. If you look over --                 20   genetic instability and oxidative stress.
       21         A. And it can be re-oxidized.          21   So it's chromium-3.
       22     Yes.                                       22        Q. If you turn over to Page
       23         Q. If you look over on Page 9?         23   13 -- I'm sorry, Page 12 of your report.
       24         A. Of?                                 24   Section entitled C, Fragrances?

                                                                106 (Pages 418 to 421)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 251 of 366 PageID:
                                   75606

                                    Judith Zelikoff, Ph.D.
                                           Page 422                                         Page 424
        1         A. Yes.                                 1   expert witness report in litigation?
        2         Q. As of the time you prepared          2             MS. O'DELL: Object to the
        3    your report, your entire opinions with       3        form.
        4    regard to fragrances was based on the        4             THE WITNESS: I am trying to
        5    report by Michael Crowley, correct?          5        recall whether or not I have ever
        6         A. That is correct.                     6        had that opportunity.
        7         Q. You understand --                    7   BY MR. HEGARTY:
        8         A. And, and what I know about           8        Q. Sitting here right now, can
        9    some of the components from other --         9   you recall when you had such an
       10    other studies.                              10   opportunity?
       11         Q. Have you had any prior work         11        A. In this particular setting
       12    experience with him?                        12   of being deposed?
       13         A. Dr. Michael Crowley?                13        Q. Or in any -- in any setting
       14         Q. Yes.                                14   where you are concurring with the opinion
       15         A. No.                                 15   of someone who -- who comments on
       16         Q. Do you know anything about          16   toxicity in an expert witness report
       17    his qualifications beyond -- beyond what    17   written for litigation?
       18    you read in his report?                     18             MS. O'DELL: Objection to
       19         A. No. Just in his report and          19        form.
       20    the information that he gives about         20             THE WITNESS: I would --
       21    himself. And the questions that were        21        I -- I would comment on it if I
       22    asked to him and the responses.             22        agreed.
       23         Q. You say that you concur --          23             And in this case, you know,
       24    "I concur with his opinion." Does that      24        having the knowledge base that I

                                           Page 423                                         Page 425
        1    mean that you agreed with everything that    1        have, not on -- certainly not on
        2    he says in his report?                       2        all 150 different chemicals, which
        3             MS. O'DELL: Object to the           3        is why I did my own literature
        4         form.                                   4        search, but on the chemicals that
        5             THE WITNESS: I concur with          5        I do know, I did agree with the
        6         his statement which says that           6        fact that they -- they do
        7         "some of these chemicals in             7        contribute to inflammatory
        8         fragrances may contribute to the        8        responses, toxicity, some are
        9         inflammatory response, toxicity         9        cytotoxic and produce cell injury
       10         and potential carcinogenicity of       10        and potential carcinogenicity.
       11         Johnson & Johnson talcum powder        11             So as ethyl benzene as one
       12         products."                             12        of the ingredients or one of the
       13             And that's based on the            13        constituents in fragrances, is
       14         knowledge of some of the chemicals     14        listed as a type -- as a Class 2
       15         as I said that I've reviewed for       15        carcinogen. So I did agree with
       16         other studies and personal             16        it.
       17         studies. And they are indeed           17             If I had any question, I did
       18         inflammatory and can cause             18        my own search.
       19         toxicity.                              19   BY MR. HEGARTY:
       20    BY MR. HEGARTY:                             20        Q. Over on page -- Pages 12 and
       21         Q. Prior to reading                    21   13, again you discuss exposure routes of
       22    Dr. Crowley's report, had you ever          22   talc either through perineal exposure or
       23    concurred with a finding as to toxicity     23   through inhalation, correct? And that
       24    of a substance based on the reading of an   24   carries over to Pages 14 and 15, and 16

                                                                107 (Pages 422 to 425)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 252 of 366 PageID:
                                   75607

                                    Judith Zelikoff, Ph.D.
                                           Page 426                                         Page 428
        1    and 17.                                      1   that are applied to talc via the perineal
        2         A. Okay.                                2   route?
        3         Q. So in that section, did you          3        A. What I did was I looked at
        4    in any way analyze whether the particles     4   the internal documents, found that the --
        5    that -- whether talc can transport in the    5   according to the -- the instrumentation
        6    same way that the particles do in the        6   and the graphics that they did, as well
        7    studies that you cite?                       7   as Dr. Longo, and looked at the size
        8              MS. O'DELL: Objection to           8   range of the particles. As I said, the
        9         form.                                   9   median and the average is around 10.5 to
       10    BY MR. HEGARTY:                             10   11.5, but there were particle size range
       11         Q. In other words, did you cite        11   in the talc -- talcum powder products
       12    any authority showing that talc particles   12   that range all the way from 50 microns or
       13    transport in the same way as the            13   larger all the way down to 0.3 microns or
       14    particles you reference in these studies?   14   300 nanometers.
       15         A. Not conclusively. But as I          15        Q. Well, did you do any
       16    said, if the particles are of similar       16   correlation to determine whether the --
       17    sizes, which they are in these -- in        17   the size of the particles studied in
       18    these animal studies, then I would have     18   the -- in the articles you cite in any
       19    no reason to believe that the talc          19   way correlate or relate to the particle
       20    particles did not move in the same          20   sizes in Johnson's Baby Powder?
       21    manner.                                     21            MS. O'DELL: Object to the
       22         Q. Well, do you agree that it          22        form.
       23    is important when talking about transport   23            THE WITNESS: The size of
       24    of particles, that -- strike that. Let      24        particles that were used in many

                                           Page 427                                         Page 429
        1    me ask it a different way.                   1         of the animal studies certainly
        2             You cite to an authority            2         fall within the range that I just
        3    that makes the following statement, I        3         gave you.
        4    don't want to ask you -- I want to ask       4   BY MR. HEGARTY:
        5    you if you agree with it.                    5         Q. Well, a number of the animal
        6         A. Okay.                                6   studies used nanoparticles, correct?
        7         Q. In an experiment to                  7         A. They used .1 micron, but
        8    evaluate --                                  8   they also used larger particles.
        9         A. I'm sorry. What page?                9         Q. Is it your testimony that
       10         Q. It's -- it's not on -- it's         10   there are nanoparticles of talc in
       11    not in your report. It's part of my         11   Johnson's Baby Powder?
       12    question.                                   12         A. If a particle -- a particle
       13         A. Okay.                               13   is considered an ultra fine particle if
       14         Q. Do you agree that in an             14   it's .1 micron or less.
       15    experiment to evaluate the translocation    15         Q. But my question is as to
       16    of solid particles, the characteristics     16   nanoparticles. Are there nanoparticles
       17    of the particle, i.e., size and material,   17   in Johnson's Baby Powder?
       18    should be considered carefully?             18         A. Not that your literature
       19         A. I agree that the size should        19   showed. But ultra fines are also -- can
       20    be considered very carefully.               20   be called nanoparticles because they go
       21         Q. And did you do any                  21   as low as .1.
       22    comparison with the size of particles       22         Q. If you look over on Page 14
       23    that are referenced in the literature       23   of your report, you cite in the second
       24    that you cite, to the size of particles     24   paragraph a letter from FDA to

                                                               108 (Pages 426 to 429)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 253 of 366 PageID:
                                   75608

                                    Judith Zelikoff, Ph.D.
                                          Page 430                                          Page 432
        1    Dr. Epstein, correct?                        1        A. I did not.
        2          A. That's correct.                     2        Q. Why not?
        3          Q. I marked as Exhibit                 3        A. And in terms of my report,
        4    Number 33 a copy of that letter.             4   and talking about migration, again, the
        5              (Document marked for               5   ovarian cancer and cogent biological
        6          identification as Exhibit              6   mechanism was not appropriate for that,
        7          Zelikoff-33.)                          7   where I cited the original statement.
        8    BY MR. HEGARTY:                              8        Q. But you cite elsewhere in
        9          Q. Is that a copy of the letter        9   your report statements and studies you
       10    that you are referencing in that            10   contend support your opinion that there
       11    paragraph?                                  11   is a biologically plausible mechanism
       12          A. If you could point me to the       12   between talc and ovarian cancer, correct?
       13    paragraph, please.                          13        A. Yes, I do.
       14          Q. Well, it's the second --           14        Q. This statement by FDA
       15    it's the second paragraph at the top of     15   concerns whether there's a biologically
       16    Page 14.                                    16   plausible mechanism between talc and
       17          A. Stating "further evidence          17   ovarian cancer, correct?
       18    for migration"?                             18        A. That is -- that is what the
       19          Q. Correct.                           19   FDA says, yes.
       20          A. Okay. Yes. This is the             20        Q. Did you cite FDA's statement
       21    letter that I'm referring to.               21   about -- as to its view of whether a
       22          Q. In the same paragraph that         22   cogent biological mechanism exists
       23    you reference, where you make -- where      23   anywhere in your report?
       24    you -- in the same paragraph where you      24        A. I did not cite this

                                          Page 431                                          Page 433
        1    pull out the statement that you cite         1   statement.
        2    here, "FDA states that while there exists    2        Q. You cite one statement by
        3    no direct proof of talc in ovarian           3   FDA that you believe they are correct
        4    carcinogenesis" --                           4   about?
        5          A. Genesis?                            5        A. They put a lot of weight
        6          Q. Genesis, carcinogenesis.            6   into that statement and...
        7    It's getting late for me too.                7        Q. Well, how did you weigh that
        8              Did you cite that finding by       8   statement versus the other statement that
        9    FDA in this paragraph?                       9   I read at the bottom of Page 4?
       10          A. No. What I was trying to           10        A. Sorry, I'd like to find it.
       11    cite was referring to migration through     11            And repeat the question
       12    the upper genital tract. So citing the      12   please.
       13    information on carcinogenesis would not     13        Q. How did you weigh the
       14    have been appropriate in that paragraph.    14   statements you cite about migration
       15          Q. If you turn over to Page 4         15   versus the other statement that I read at
       16    of the FDA's letter. At the very bottom     16   the bottom of Page 4 about a cogent
       17    FDA states, "A cogent biological            17   biologic mechanism?
       18    mechanism by which talc might lead to       18        A. In terms of the migration,
       19    ovarian cancer is lacking."                 19   this is something that not only has been
       20              Do you see that?                  20   found by the FDA and -- and is being
       21          A. I do see that.                     21   reiterated as a result of numerous
       22          Q. You do not cite that               22   studies, this, Number 4, a cogent
       23    statement anywhere in your report,          23   biological mechanism by which talc led to
       24    correct?                                    24   ovarian cancer is lacking is the FDA's

                                                               109 (Pages 430 to 433)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 254 of 366 PageID:
                                   75609

                                    Judith Zelikoff, Ph.D.
                                          Page 434                                         Page 436
        1    opinion in 19 -- in 2014, and I did not     1   scrutiny. I think that for what they
        2    know at all how they came to that           2   did, they did a good study.
        3    conclusion.                                 3        Q. If you look at Page 3 of the
        4             So in terms of migration,          4   FDA letter.
        5    that's been ferreted out and it's well      5        A. Okay.
        6    known in the literature for migration of    6        Q. At the bottom, do you see
        7    particles. But the -- their opinion, the    7   they comment on the very NTP study --
        8    FDA's opinion on this, I could not          8        A. Yes.
        9    substantiate in terms of what they were     9        Q. -- that you just mentioned,
       10    basing that conclusion on.                 10   right?
       11         Q. What methodology did you use       11           MS. O'DELL: Which page are
       12    to determine which of the statements by    12        you on?
       13    FDA in this letter you believed are        13           MR. HEGARTY: Page 3.
       14    correct and which you believed are not     14           THE WITNESS: There were a
       15    correct?                                   15        number --
       16             MS. O'DELL: Object to the         16   BY MR. HEGARTY:
       17         form.                                 17        Q. I'm not -- I'm haven't asked
       18             THE WITNESS: Well, if it          18   a question.
       19         was a common finding such as that     19        A. Oh, I'm sorry.
       20         which particles can migrate which     20        Q. My question was simply, do
       21         has been shown since late 1990s,      21   you see where they comment on that NTP
       22         versus information that is given      22   study?
       23         in this report and is the basis --    23        A. I see that, yes.
       24         and is what the FDA is opining on,    24        Q. Do you cite anywhere in your

                                          Page 435                                         Page 437
        1          however, I don't know what the --     1   report FDA's commentary on the NTP study?
        2          what the literature is that they      2        A. I can find it in my report.
        3          reached in that conclusion.           3   I did comment on some of the other that
        4    BY MR. HEGARTY:                             4   there's been some controversy by
        5          Q. IARC includes a citation in        5   Dr. Warheit and Dr. Goodman. They had
        6    its 2010 monograph saying essentially       6   some pushback on this. I think I
        7    that the evidence of migration to the       7   commented on that, but I'd like to find
        8    ovaries is weak. Do you recall reading      8   the page where I said that.
        9    that?                                       9        Q. You agree that you didn't
       10          A. I do not recall reading           10   cite to FDA's commentary about the NTP
       11    that. I've reviewed the IARC paper, but    11   study in its February 14, 2014, letter?
       12    I -- I do not recall. And I could look     12        A. Not -- not that I recall,
       13    at it and tell you what I thought.         13   no. But as I said, I did comment on
       14          Q. You made reference earlier        14   other -- their -- the FDA's comments are
       15    in the deposition to the 1992 NTP study,   15   very similar to those made by other
       16    correct?                                   16   scientists.
       17          A. Yes.                              17        Q. You say the FDA's comments
       18          Q. Do you find that to be a          18   are very similar to those made by other
       19    well-done study?                           19   scientists. You are talking about the
       20          A. For what it was, I do find        20   comments on Page 3?
       21    it to be a well-done study. I've worked    21        A. I am. And I'm talking about
       22    with the NTP. I've served as an advisory   22   the comments made by Dr. Jay Goodman and
       23    board member. And I think that the work    23   Dr. David Warheit that pushed back on the
       24    they do are -- is with rigor and           24   studies by the NTP and the conclusion.


                                                               110 (Pages 434 to 437)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 255 of 366 PageID:
                                   75610

                                    Judith Zelikoff, Ph.D.
                                           Page 438                                         Page 440
        1         Q. For purposes of your                 1        So when you're looking at
        2    analysis in this case, did you review all    2        toxicology, it's not just the
        3    the studies on talc miners and millers?      3        concentration that you use. It's
        4         A. No, I did not.                       4        also the length and duration and
        5         Q. For purposes --                      5        frequency of the use and their
        6         A. I am not an epidemiologist.          6        cumulative effects.
        7         Q. For purposes of your                 7   BY MR. HEGARTY:
        8    analysis in this case, did you look at       8        Q. Is it your opinion that a
        9    all the studies looking at talc --           9   single particle of talc is sufficient for
       10    looking at long-term effects of talc        10   biologic plausibility?
       11    pleurodesis?                                11            MS. O'DELL: Objection to
       12              MS. O'DELL: Object to the         12        form.
       13         form.                                  13            THE WITNESS: I'm pretty
       14              THE WITNESS: It was -- it         14        sure I answered that question
       15         was not my question to look at --      15        before. But I will -- again,
       16         only to bring the pulmonary            16        talcum powder is known to produce
       17         aspects in in manners that relate      17        inflammation, and inflammation is
       18         to ovarian effects and                 18        known to be a biological mechanism
       19         inflammation and plausibility.         19        for cancer.
       20              So, no, I did not. I              20   BY MR. HEGARTY:
       21         reviewed several studies on            21        Q. My question is, is a single
       22         pleurodesis, in terms of               22   particle of talc in vivo sufficient for
       23         understanding it, why talcum           23   your biologic plausibility opinion in
       24         powder is used, and the effect of      24   this case?

                                           Page 439                                         Page 441
        1         talcum powder on pleurodesis.           1        A. If it produces inflammation,
        2    BY MR. HEGARTY:                              2   it could be used that way. As a matter
        3         Q. What is the volume of talc           3   of relevancy, I don't think that there's
        4    that gets introduced in vivo with a          4   anyone who produces -- who uses a single
        5    single application to the perineum?          5   molecule. But in answer to your
        6              MS. O'DELL: In pleurodesis?        6   question, if that single talc -- talcum
        7              THE WITNESS: For                   7   powder product produced inflammation,
        8         pleurodesis?                            8   then yes, it could -- it could be related
        9    BY MR. HEGARTY:                              9   to biological plausibility.
       10         Q. No, just in women in                10        Q. Can you cite any published
       11    applying -- strike that.                    11   authority that supports that opinion?
       12              MS. O'DELL: I'm sorry.            12        A. That shows me that one
       13    BY MR. HEGARTY:                             13   particle could produce inflammation?
       14         Q. What is the volume of talc          14        Q. That could lead to cancer.
       15    that gets introduced in vivo with a         15        A. That could lead to cancer.
       16    single application of talc to the           16   I cannot show you. It's not that I don't
       17    perineum?                                   17   know if it's there or not there. I just,
       18              MS. O'DELL: Objection to          18   to my knowledge, I am not aware.
       19         form.                                  19            MR. HEGARTY: I'm going to
       20              THE WITNESS: I do not know        20        let Mr. Ferguson ask you some
       21         the concentration. It depends on       21        questions for a little bit. Then
       22         the person and how they're using       22        I will come back and finish up.
       23         it. It also depends on the             23            THE WITNESS: Okay. Thank
       24         frequency that they are using it.      24        you.

                                                               111 (Pages 438 to 441)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 256 of 366 PageID:
                                   75611

                                    Judith Zelikoff, Ph.D.
                                           Page 442                                         Page 444
        1              THE VIDEOGRAPHER: The time         1        Q. Have you ever been elected
        2         is 6:00 p.m. Off the record.            2   to membership in any of the national
        3              (Short break.)                     3   academies, for example the National
        4              THE VIDEOGRAPHER: The time         4   Academy of Science?
        5         is 6:25 p.m. Back on the record.        5        A. I've not been elected as a
        6                 - - -                           6   member, but I have served on the advisory
        7               EXAMINATION                       7   body numerous times.
        8                 - - -                           8        Q. Okay. But you haven't been
        9    BY MR. FERGUSON:                             9   elected to membership; is that right?
       10         Q. Hello, Dr. Zelikoff.                10        A. No, that is correct.
       11         A. Hello.                              11        Q. Dr. Zelikoff, have you
       12         Q. How are you?                        12   communicated with any regulatory bodies
       13         A. Good, thank you.                    13   of any country regarding the issue of
       14         Q. My name is Ken Ferguson, and        14   talc and ovarian cancer that we've been
       15    I represent Imerys, one of the parties to   15   discussing today?
       16    this litigation. Do you understand that?    16        A. I have not.
       17         A. I understand what you said,         17        Q. Have you communicated with
       18    yes.                                        18   any scientific journals or publications
       19         Q. Okay. And I'm going to have         19   regarding talc and ovarian cancer?
       20    some questions for you, which I'm going     20        A. I have not.
       21    to maybe try to go through pretty           21        Q. So, can you turn to your
       22    quickly. But just stop me if I speed up     22   report, which is Exhibit Number 2.
       23    too much. I'm told that I talk slowly.      23        A. I have it.
       24    So maybe I won't be speeding up too much.   24        Q. Okay. Can you look at the

                                           Page 443                                         Page 445
        1              So first of all, let me just       1   top of Page 3, please.
        2    go back briefly to your background and       2        A. Yes, sir.
        3    qualifications.                              3        Q. And in the first full
        4         A. Okay.                                4   paragraph on that page, it says, "My
        5         Q. Just briefly, do you                 5   opinions below are based upon my
        6    currently have a laboratory?                 6   experience as a toxicologist and research
        7         A. I do have a laboratory.              7   scientist and have been reached through
        8         Q. And how many personnel do            8   employing the same scientific methodology
        9    you have employed in the laboratory?         9   and rigor that I employ in my academic
       10         A. Today?                              10   research and professional duties."
       11         Q. Yes, ma'am.                         11   Correct?
       12         A. Today I have no one                 12        A. Yes, sir, I see that.
       13    employed, but three graduate students.      13        Q. And is that true?
       14         Q. And where does the funding          14        A. That is true.
       15    come from to support that laboratory?       15        Q. And in your professional
       16         A. It comes from the NIEHS,            16   duties and academic research, do you
       17    National Institute of Environmental         17   customarily rely on peer-reviewed
       18    Health Sciences from a center grant. And    18   publications in the scientific literature
       19    that is the main source at this moment.     19   for your research?
       20         Q. Are you the principal               20        A. I do -- peer reviews, I rely
       21    investigator of any extramural or           21   on. Abstracts come into play.
       22    intramural funding at the current time?     22   Documents. Whatever is needed, I will
       23         A. I have -- as of today, I'm          23   use and cite in my publications.
       24    not.                                        24        Q. Do you customarily rely on

                                                                112 (Pages 442 to 445)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 257 of 366 PageID:
                                   75612

                                    Judith Zelikoff, Ph.D.
                                           Page 446                                        Page 448
        1    non-peer-reviewed research that is paid      1        testing from the company?
        2    for by a party that has a direct             2   BY MR. FERGUSON:
        3    financial interest in the outcome of the     3        Q. And my question was, can you
        4    study?                                       4   cite any scientific articles that you've
        5              MS. O'DELL: Object to the          5   authored in which you cited an
        6         form.                                   6   unpublished paper authored by an expert
        7              THE WITNESS: I go by the           7   witness who is being paid in the
        8         science. I don't look at the            8   litigation on the very topic that you're
        9         funding. Many scientists do. But        9   writing on?
       10         I think if the science is sound, I     10        A. I have not had that
       11         look at the science -- I go by the     11   opportunity so the answer is no.
       12         science.                               12        Q. So, you've never done that
       13    BY MR. FERGUSON:                            13   in your academic writings, correct?
       14         Q. Look at -- look at Page 8,          14        A. If you mean that -- by that,
       15    please.                                     15   that I have never cited an unpublished
       16         A. Yes, sir.                           16   paper authored by an expert witness?
       17         Q. There in the first full             17        Q. Yes, ma'am.
       18    paragraph, you talk about recent TEM        18        A. I have not done -- I have
       19    testing on historic samples.                19   not had the opportunity to do that. My
       20              Do you see that sentence?         20   publications are primarily, if not
       21         A. Recent TEM testing on               21   solely, based either on reviews or -- or
       22    historic samples, yes.                      22   results that have emerged from my own
       23         Q. And you cite Longo and              23   laboratory or a colleague's laboratory.
       24    Rigler from 2018, correct?                  24            I've not had that

                                           Page 447                                        Page 449
        1         A. Mm-hmm-hmm, yes.                     1   opportunity. So the answer is no.
        2         Q. Okay. And are you aware              2        Q. If you look at Page 7.
        3    that Longo and Rigler are paid expert        3        A. Of the report?
        4    witnesses who were hired by plaintiffs'      4        Q. Of -- of your report. Yes
        5    counsel to testify in talc litigation,       5   please.
        6    including this matter you're working on?     6            On Page 7 you say, "In 2004,
        7         A. I understand -- I understand         7   a television station reported that
        8    today that they are plaintiffs'              8   Johnson's Baby Powder had been analyzed
        9    witnesses, experts.                          9   and found anthophyllite asbestos at
       10         Q. Can you cite any scientific         10   0.2 percent," correct?
       11    articles that you've authored in the past   11        A. I see that. That's in the
       12    in which you cited an unpublished paper     12   last paragraph. The second sentence: In
       13    that was authored by expert witnesses       13   2004, a television station reported
       14    hired by a party in litigation on the       14   Johnson's Baby Powder had been analyzed
       15    very topic that you're writing on?          15   and found anthophyllite asbestos at
       16             MS. O'DELL: Objection to           16   0.2 percent, yes.
       17         form.                                  17        Q. In your previous academic
       18             THE WITNESS: I relied              18   research, have you ever cited to stories
       19         primarily on Longo. But it is, as      19   run on local television stations?
       20         I said, or as I will say, it's a       20        A. I have.
       21         Johnson & Johnson product that         21        Q. And is that something that
       22         they are testing, so in my             22   you think shows scientific rigor?
       23         opinion, who better to know what's     23            MS. O'DELL: Objection to
       24         there than someone who did the         24        form.

                                                                113 (Pages 446 to 449)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 258 of 366 PageID:
                                   75613

                                    Judith Zelikoff, Ph.D.
                                          Page 450                                         Page 452
        1             THE WITNESS: It depends on          1   BY MR. FERGUSON:
        2         the scientific paper. And it --         2        Q. And that's in your report,
        3         it depends on the source of the         3   correct?
        4         media.                                  4        A. On Page 7 at the top.
        5    BY MR. FERGUSON:                             5        Q. Then you also cited
        6         Q. If we go to Pages 6 --               6   Dr. Blount's paper that you and
        7         A. If -- if I may add to that,          7   Mr. Hegarty talked about, correct?
        8    my recollection is that that television      8        A. I'm sorry, can you give me a
        9    station data was given to Johnson &          9   location?
       10    Johnson and it was not -- I did not cite    10        Q. Sure. It's the second
       11    television station itself, but the -- the   11   paragraph on Page 7.
       12    document that was turned over to Johnson    12        A. Van Gosen?
       13    & Johnson.                                  13        Q. No, the second full
       14         Q. If you go to Page 6 of              14   paragraph, cosmetic and pharmaceutical
       15    your --                                     15   talc products, et cetera --
       16         A. Page what, I'm sorry?               16        A. Yes, deposition of Alice
       17         Q. 6.                                  17   Blount. Yes.
       18         A. 6?                                  18        Q. Correct.
       19         Q. So on Pages 6 to 8 you cite         19        A. Sorry to interrupt.
       20    documents or other sources that you claim   20        Q. And Dr. Blount's paper was
       21    show the presence of asbestos in talc       21   some 30 or so years ago, correct?
       22    powder, correct? You --                     22        A. 1991.
       23         A. Pages 6 to 8?                       23        Q. And -- and I won't go
       24         Q. Yeah. Why don't you go to           24   through this in detail, but Mr. Hegarty

                                          Page 451                                         Page 453
        1    the top of 7. Let me go to it                1   discussed with you the fact that U.S.
        2    specifically.                                2   Food and Drug Administration conducted a
        3             One of the things you cite          3   survey of cosmetic grade raw material
        4    to is Paoletti in 1984?                      4   talc and some cosmetic products
        5         A. Yes, sir.                            5   containing talc. And you were generally
        6         Q. Okay. And the Paoletti               6   aware of that, correct?
        7    study was completed -- I don't know if I     7        A. The FDA report that he -- he
        8    can do my math very well, but is that        8   pointed me to, yes.
        9    36 years ago?                                9        Q. Okay. You were aware but
       10         A. 36, yes.                            10   you didn't cite it, correct?
       11         Q. And you notice they have            11        A. I was aware but I did not
       12    assessed, according to your own report,     12   cite it.
       13    contamination in industrial and cosmetic    13        Q. And that came from 2010 as
       14    talcs, correct?                             14   opposed to 1984 or 1991, correct?
       15         A. 9 of the 24 pharmaceutical          15            MS. O'DELL: Objection --
       16    and cosmetic grade talcs contain            16            THE WITNESS: Yes --
       17    tremolite fibers.                           17            MS. O'DELL: Excuse me.
       18         Q. And they are from the               18        Objection to form.
       19    Italian market, correct?                    19            If you're going to ask a
       20         A. From the Italian market.            20        specific -- about a specific date,
       21             MS. O'DELL: Objection to           21        I would ask -- or a specific item
       22         form.                                  22        of that -- in that document I
       23             THE WITNESS: And the               23        would just ask that you show the
       24         European pharmacopeia.                 24        witness.

                                                                114 (Pages 450 to 453)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 259 of 366 PageID:
                                   75614

                                    Judith Zelikoff, Ph.D.
                                           Page 454                                        Page 456
        1    BY MR. FERGUSON:                             1   Luzenac America, correct?
        2         Q. Do you -- do you recall when         2        A. Correct. On the left side.
        3    that survey was from?                        3        Q. On the left side. And on
        4         A. The FDA was 2014. I don't            4   the right side there are two columns that
        5    recall a specific.                           5   say percentage asbestos by PLM and
        6         Q. Well, okay. Counsel's                6   percentage asbestos by TEM, correct?
        7    suggested it. Why don't we go ahead and      7        A. I see that.
        8    mark as Exhibit 37.                          8        Q. And each of those says NAD,
        9             (Document marked for                9   correct?
       10         identification as Exhibit              10        A. They say NAD.
       11         Zelikoff-37.)                          11        Q. And from your review of
       12    BY MR. FERGUSON:                            12   this, do you know that NAD means no
       13         Q. And is this a document that         13   asbestos detected?
       14    you've reviewed before?                     14        A. Yes, I do. That means that
       15         A. This is a document that I           15   the measurements that they had and the
       16    have reviewed, yes.                         16   scientific -- and the sensitivities that
       17         Q. Okay. If you look at Page 2         17   they were using at the given time, they
       18    at the top of the page, in the second       18   did not see any, is my interpretation of
       19    paragraph there, it says, "The study ran    19   that.
       20    from September 28, 2009, to September 27,   20        Q. According to the paper that
       21    2010," correct?                             21   you said, NAD means no asbestos detected,
       22         A. So I'm trying to put that           22   correct?
       23    sentence into context. So I need to read    23        A. In this study, yes, correct.
       24    the above sentences.                        24        Q. Let's take a look. You've

                                           Page 455                                        Page 457
        1             I assume that the study they        1   cited to IARC several times during
        2    are talking about was the contract with      2   your -- in your report, correct?
        3    the AMA analytical services to conduct       3        A. Yes, I did.
        4    the laboratory survey.                       4        Q. And let's look at the IARC
        5             Is that the study that they         5   monograph 100 C, which was published in
        6    are referring to? It's unclear.              6   2012 that I've marked as Exhibit 36.
        7         Q. And in your review of this           7            (Document marked for
        8    document, did you read that there was no     8        identification as Exhibit
        9    asbestos detected by the survey by the       9        Zelikoff-36.)
       10    FDA in either the cosmetic grade raw        10            THE WITNESS: Entitled
       11    material talc, or the finished product      11        Arsenic Metals, Fibrous and Dusts?
       12    cosmetic products containing talc,          12   BY MR. FERGUSON:
       13    correct?                                    13        Q. Correct.
       14         A. I'm trying to find where            14            And if you -- I've provided
       15    that was stated.                            15   you a page there, correct?
       16         Q. If you look at Page 3?              16        A. You've provided me with
       17         A. Yes, sir.                           17   three pages.
       18         Q. See where it says at the top        18        Q. Okay. And was that
       19    of the page, "Cosmetic raw material         19   Page 225?
       20    talc"?                                      20        A. 225 starts 1.5 human
       21         A. I see that, yes, sir.               21   exposure.
       22         Q. Correct?                            22        Q. Okay. If you look at the
       23             Then there is a list of            23   top of 225. Do you have that page?
       24    suppliers called Rio Tinto Minerals         24        A. Yes, sir.

                                                                115 (Pages 454 to 457)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 260 of 366 PageID:
                                   75615

                                    Judith Zelikoff, Ph.D.
                                           Page 458                                         Page 460
        1         Q. In an exposure it says,              1        A. That's what's here, yes.
        2    "Inhalation and ingestion are the primary    2        Q. Okay. So certainly based on
        3    routes of exposure to asbestos," correct?    3   what IARC has said, a person could inhale
        4             MS. O'DELL: Objection to            4   or ingest one or more asbestos fibers
        5         form.                                   5   from the air that they breathe, correct?
        6    BY MR. FERGUSON:                             6            MS. O'DELL: Objection to
        7         Q. The very first sentence.             7        form.
        8         A. Mm-hmm-hmm. I cannot attest          8            THE WITNESS: Based on the
        9    to ingestion, but certainly inhalation is    9        measurements, I can't really tell
       10    a primary.                                  10        where they took these, where they
       11         Q. But you'd agree that -- that        11        took the measurements or how they
       12    this is what IARC said, correct?            12        measured them, from this Page 225,
       13         A. I agree that this is what's         13        but based on what they are saying
       14    in IARC, yes, 2012.                         14        here, they have measured in
       15         Q. And then there's another            15        outdoor air and rural locations,
       16    section called exposure of the general      16        10 fibers per cubic meter, yes.
       17    population, correct?                        17            As I said, if you look down
       18         A. Yes, sir.                           18        in that paragraph it also
       19         Q. And in the second paragraph         19        indicates that asbestos has been
       20    under that, do you see that paragraph       20        measured in the air in a disaster
       21    starts in studies of asbestos               21        such as the World Trade Center, in
       22    concentrations?                             22        higher concentrations by
       23         A. I do.                               23        Dr. Longo.
       24         Q. Okay. And -- and let's --           24   BY MR. FERGUSON:

                                           Page 459                                         Page 461
        1    let's read it and see if it -- you and I     1        Q. And then if you look at
        2    agree on what it says.                       2   Page 229. Are you with me?
        3              "In studies of asbestos            3        A. Yes, I am.
        4    concentrations in outdoor air, chrysotile    4        Q. Under B, dietary exposure.
        5    is the predominant fiber detected. Low       5        A. Yes.
        6    levels of asbestos have been measured in     6        Q. It says in the first
        7    outdoor air in rural locations; typical      7   sentence under that paragraph heading,
        8    concentration, 10 fibers per cubic meter.    8   "The general population can be exposed to
        9    Typical concentrations are about tenfold     9   asbestos in drinking water," correct?
       10    higher in urban locations and about 1,000   10        A. It can happen under certain
       11    times in close proximity to industrial      11   conditions, yes. It says, "The general
       12    sources of exposure, e.g., asbestos mine    12   population can be exposed to asbestos in
       13    or factory demolition site, or improperly   13   drinking water."
       14    protected asbestos-containing waste         14        Q. And then below it says about
       15    site," correct?                             15   nine lines down, "In the U.S.A., the
       16          A. That's what's written here,        16   concentration of asbestos in most
       17    yes.                                        17   drinking water supplies is less than one
       18          Q. Okay. And if you go down to        18   fiber per milliliter even in areas with
       19    the first sentence of the next paragraph,   19   asbestos deposits or with asbestos cement
       20    it says, "In indoor air, for example in     20   water supply pipes." Correct?
       21    homes, schools and other buildings,         21        A. That's what it says here.
       22    measured concentrations of asbestos are     22        Q. And then it says, "However,
       23    in the range of 30 to 6,000 fibers per      23   in some locations the concentration in
       24    cubic meter," correct?                      24   water may be extremely high containing 10

                                                                116 (Pages 458 to 461)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 261 of 366 PageID:
                                   75616

                                    Judith Zelikoff, Ph.D.
                                          Page 462                                         Page 464
        1    to 300 million fibers per liter or even      1            (Whereupon, a discussion was
        2    higher." Correct?                            2        held off the record.)
        3              MS. O'DELL: Objection to           3            THE VIDEOGRAPHER: The time
        4          form.                                  4        is 6:46 p.m. Back on the record.
        5              THE WITNESS: That's what it        5               - - -
        6          says here.                             6              EXAMINATION
        7    BY MR. FERGUSON:                             7               - - -
        8          Q. So --                               8   BY MR. HEGARTY:
        9          A. But it's talking about --           9        Q. Doctor, you have done a
       10    it's talking about specific locations and   10   number of studies looking at inhalation
       11    it's also saying "can." This is not a       11   of particles in animal species primarily,
       12    normal situation. Normal -- this is a       12   correct?
       13    contaminated situation.                     13        A. In animal species primarily,
       14          Q. But as IARC said, in the           14   but also I have done studies in cell
       15    first line we talked about, inhalation      15   culture, yes.
       16    and ingestion can be routes of exposure     16        Q. In any of the studies where
       17    to asbestos for the general population,     17   you have looked at inhalation of
       18    correct?                                    18   particles in animals, have you reported
       19          A. It can be. Can being the           19   finding those particles in the ovaries?
       20    keyword.                                    20        A. I did not look in the
       21          Q. I've got some more questions       21   ovaries.
       22    that I could ask. But I'm going to pass     22        Q. So have you ever evaluated
       23    it back to Mr. Hegarty.                     23   the ovaries in any study that you have
       24              THE WITNESS: Hello again.         24   done?

                                          Page 463                                         Page 465
        1           MR. HEGARTY: Hello again.             1        A. I have evaluated -- in the
        2           MS. O'DELL: So are you                2   cadmium particle studies, we looked for
        3       finished with your questions?             3   the soluble ions, that's what we
        4           MR. FERGUSON: I have other            4   measured, using atomic absorption and ICT
        5       questions that I could ask. But           5   mass spec. And we did find cadmium --
        6       I'm trying to share the limited           6   sorry. Sorry. We did find soluble
        7       time that we have.                        7   cadmium ions in the -- in the tissue --
        8           MS. O'DELL: I understand.             8   in the ovaries.
        9       I'm just trying -- typically we           9        Q. Of what animal?
       10       don't go back and forth between          10        A. Mice.
       11       the parties. The plaintiffs' side        11        Q. So there's nothing unique
       12       has had time to ask questions. So        12   with regard to talc in your opinion with
       13       I guess I'm just trying to figure        13   regard to its ability to transport within
       14       out what y'all are doing.                14   the body, correct?
       15           MR. HEGARTY: Let's go off            15            MS. O'DELL: Object to the
       16       the record real quick and have a         16        form.
       17       discussion. Because what we              17            THE WITNESS: Talc is a
       18       planned to do, I took the time           18        fiber and will transport as a
       19       that Ken was using to organize my        19        fiber. It's also hydrophilic so
       20       notes and to finish up the               20        it will require some time for the
       21       remaining time.                          21        other products within the talc
       22           Go off the record.                   22        molecule to be released. I am not
       23           THE VIDEOGRAPHER: The time           23        sure if I answered your question.
       24       is 6:45 p.m. Off the record.             24   BY MR. HEGARTY:

                                                                117 (Pages 462 to 465)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 262 of 366 PageID:
                                   75617

                                    Judith Zelikoff, Ph.D.
                                           Page 466                                        Page 468
        1         Q. What about platy talc? Will          1   to reach -- it can reach the deep lung,
        2    platy talc travel in the body as cadmium     2   if it's five micrometers or smaller.
        3    would travel?                                3   And --
        4         A. Cadmium is a -- has traveled         4         Q. Go ahead.
        5    as a soluble ion. So platy talc --           5         A. And in that case since it's
        6    neither platy talc nor asbestos will         6   not disposed of through the mucociliary
        7    travel as a soluble ion. They are            7   escalator, then it is in the other parts
        8    fibers.                                      8   of the lung and it can reach the
        9         Q. Have you done --                     9   capillaries. And once it gets into the
       10         A. They are -- I'm sorry, platy        10   bloodstream, it can be transported.
       11    talc is a crystal with different forms.     11   Certain particles have predilections for
       12    But my understanding is that platy talc     12   where they go.
       13    can fracture and also form fragments and    13         Q. When you say it can be
       14    they could travel, given their size.        14   transported, does that include to the
       15         Q. Could they travel as cadmium        15   ovaries?
       16    has traveled in your studies, if that       16         A. Are you asking specifically
       17    happens?                                    17   about talc or particles in general?
       18         A. No, in -- in my studies we          18         Q. Particles in general that
       19    did not measure -- we did not look for      19   meet the size standards that you just
       20    the presence of the particle -- of the      20   referenced of getting into the deep lung?
       21    nanoparticle in the tissues. We measured    21         A. Mm-hmm-hmm. There's no
       22    for the metal in those tissues.             22   reason not to believe that it couldn't
       23              So we are of the opinion          23   get into the ovaries.
       24    that it was the soluble ion that was        24         Q. Did you examine, for

                                           Page 467                                        Page 469
        1    released, and in this case, I know of no     1   purposes of your biological plausibility
        2    studies off the top of my head that          2   opinion, all the studies looking at
        3    measured how much of the other components    3   NSAIDs and use of aspirin in women with
        4    were released.                               4   ovarian cancer?
        5          Q. Can any particle that's             5        A. I looked at several studies.
        6    inhaled reach the ovary?                     6   I'm sure I --
        7          A. If it -- if it meets certain        7            (Document marked for
        8    size constituents. There's no reason why     8        identification as Exhibit
        9    a particle could not reach the ovary or      9        Zelikoff-38.)
       10    the kidney or the liver or -- under         10   BY MR. HEGARTY:
       11    proper circumstances.                       11        Q. I'm going to show you what I
       12          Q. Is there a certain size            12   marked as Exhibit 38, which is a study
       13    limitation?                                 13   that you cited by Wu 2009.
       14          A. Well, something that's             14        A. Actually, it's Merritt.
       15    inhaled, is that what you're talking        15        Q. I'm sorry. It's Merritt
       16    about?                                      16   2008, correct?
       17          Q. Yes.                               17        A. Yes. And let me find it in
       18          A. Something that's inhaled, if       18   my report.
       19    it's 10 micrometers or greater, it's        19        Q. You cite it on Page 26.
       20    going to be caught in the upper airways     20   Above the italicized paragraph --
       21    and probably dismissed through the          21   italicized paragraph at the bottom.
       22    mucociliary escalator. If it's of a         22        A. I see it. "At high
       23    smaller nature, then depending on where     23   concentrations with chronic exposure,
       24    the impaction is for the lung, it's going   24   reactive oxygen species, known as ROS,

                                                               118 (Pages 466 to 469)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 263 of 366 PageID:
                                   75618

                                    Judith Zelikoff, Ph.D.
                                           Page 470                                         Page 472
        1    can damage cellular macromolecules and       1   on Page 21 of your report?
        2    contribute to neoplastic transformation      2        A. Can you direct me to it?
        3    and/or tumor growth. Other likely            3   Oh, I see it. Second paragraph. "Wu, et
        4    manifestations of talc." That's the          4   al, 2009, performed a study to determine
        5    paragraph that you're referring to.          5   the role of talc in the development of
        6         Q. You do agree that a relevant         6   ovarian cancer considering the history of
        7    body of literature is whether NSAIDs or      7   endometriosis."
        8    aspirin have an effect on ovarian cancer     8        Q. If you look at the abstract
        9    risk, if you're considering inflammation     9   of the Wu paper, about two-thirds of the
       10    as a biologically plausibility mechanism.   10   way down, it reads, "Contrary to the
       11         A. NSAIDs being an -- one type         11   hypothesis."
       12    of anti-inflammatory, it could reduce       12            Do you see that start of the
       13    oxidative stress, yes, to different         13   sentence?
       14    degrees.                                    14        A. I do.
       15         Q. If you look at the abstract         15        Q. "Contrary to the hypothesis
       16    on the first page of the Merritt paper.     16   that risk of ovarian cancer may be
       17         A. Yes.                                17   reduced by use of NSAIDs, risk increased
       18         Q. At the very end, they say,          18   with increasing the frequency in years of
       19    "We conclude that on balance chronic        19   NSAID use," citing the relative risk, the
       20    inflammation does not play a major role     20   confidence intervals. "This was
       21    in the development of ovarian cancer."      21   consistent across types of incident."
       22              Do you see where I'm              22            Do you see where I'm
       23    reading?                                    23   reading?
       24         A. I'm seeing the last                 24        A. I do see where you're

                                           Page 471                                         Page 473
        1    sentence, yes.                               1   reading.
        2         Q. Do you agree with that               2        Q. That finding is inconsistent
        3    statement in general?                        3   with inflammation as a mechanism by which
        4         A. I do not agree with that             4   ovarian cancer can occur, correct?
        5    statement. That's -- my biological           5            MS. O'DELL: Object to the
        6    plausibility is associated with the          6        form.
        7    oxidative stress and inflammation. Also      7            THE WITNESS: This -- NSAIDs
        8    this paper was written in 2008.              8        are known as antioxidants. And
        9         Q. Did you cite that finding            9        yes, that's true, but there are
       10    that I just read anywhere in your report?   10        other antioxidants from other
       11         A. I cite Merritt.                     11        papers that demonstrate that it
       12         Q. Do you cite for the reader          12        does indeed reduce inflammation.
       13    of your report the statement that I just    13   BY MR. HEGARTY:
       14    read in the abstract?                       14        Q. Well, did you cite the
       15         A. Not to my recollection.             15   finding of the Wu paper with regard to
       16             (Document marked for               16   its data on NSAID use and the risk of
       17         identification as Exhibit              17   ovarian cancer?
       18         Zelikoff-39.)                          18        A. I did have a section, to my
       19    BY MR. HEGARTY:                             19   recollection, on the papers of Wu and
       20         Q. I'm showing you what I've           20   Merritt.
       21    marked as Exhibit Number 39. That is the    21        Q. Well, in the section that I
       22    Wu paper.                                   22   was referring to, in the middle of the
       23         A. Mm-hmm-hmm.                         23   paragraph on Page 21, middle paragraph on
       24         Q. You cite the Wu paper over          24   Page 21, you don't cite that study's


                                                                119 (Pages 470 to 473)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 264 of 366 PageID:
                                   75619

                                    Judith Zelikoff, Ph.D.
                                           Page 474                                         Page 476
        1    findings as to NSAIDs and risk of ovarian    1   proinflammatory cytokines and oxidase,
        2    cancer, correct?                             2   yes.
        3         A. I do not cite that                   3         Q. Is there any study that
        4    particular sentence, no.                     4   sites the clinical significance of ATF as
        5         Q. Over on Page 23, you refer           5   it relates to ovarian cancer risk?
        6    to the Shukla study?                         6             MS. O'DELL: Object to the
        7         A. Yes, sir.                            7         form.
        8         Q. That's second to the last            8             THE WITNESS: No study that
        9    paragraph?                                   9         I'm currently aware of. But there
       10         A. "In a molecular cell study          10         are many studies that link ATF
       11    by Shukla"?                                 11         upregulation to inflammation and
       12         Q. Yes. The -- strike that.            12         then inflammation to -- in the
       13             Gene expressions like those        13         process of carcinogenesis, both
       14    measured in the Shukla study occur          14         progression and initiation.
       15    everyday in everyone, correct?              15   BY MR. HEGARTY:
       16             MS. O'DELL: Objection to           16         Q. If you turn over to the
       17         form.                                  17   second to the last page of your report,
       18             THE WITNESS: There are             18   Page 27.
       19         changes in genes per day. But          19             In Paragraph 3, you say that
       20         I'm -- I'm not -- I do not know        20   exposure to talcs --
       21         nor do I have knowledge of whether     21         A. Excuse me, Number 3?
       22         the gene for ATF3 or ATF1 is           22         Q. I called it Paragraph 3.
       23         changed everyday by no exposure.       23   You can call it Number 3.
       24    BY MR. HEGARTY:                             24         A. It's listed as Number 3.

                                           Page 475                                         Page 477
        1         Q. But the -- the fact of gene          1         Q. 3. You state that "exposure
        2    expression is not a -- strike that.          2   to talcum powder products causes an
        3             The fact that gene                  3   inflammatory tissue reaction which may
        4    expression occurs does not mean that         4   result in the following," and then you
        5    cancer will occur, correct?                  5   list --
        6         A. No. My role is to look for           6         A. Elevation.
        7    biological plausibility, and when you        7         Q. -- a number of -- of events
        8    have a transcription factor which is so      8   that you label as A through F -- I'm
        9    well immersed into oxidation and reactive    9   sorry, A through G carrying over to the
       10    oxygen species and inflammation, and I      10   top of the next page.
       11    would say that changes or upregulation of   11         A. I see that, thank you.
       12    the -- of the ATF gene certainly is         12         Q. Can you cite for me any
       13    linked with inflammation.                   13   studies showing any of that activity in
       14         Q. Can you cite for me any             14   women using talc on the perineum?
       15    studies that have used measurements of      15             MS. O'DELL: Object to the
       16    level -- of the levels of ATF3 to assess    16         form.
       17    ovarian cancer risk?                        17             THE WITNESS: If I can
       18         A. I cannot cite those studies         18         recall the Health Canada study, I
       19    to you, but again, going back to            19         think they looked at -- they also
       20    biological plausibility, I can tell you     20         included inflammatory responses
       21    that this gene is extremely important in    21         that are seen in some of their
       22    growth factors and proinflammatory          22         meta-analysis.
       23    cytokines. So an upregulation is going      23   BY MR. HEGARTY:
       24    to lead to the production of                24         Q. Well, the Health Canada

                                                               120 (Pages 474 to 477)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 265 of 366 PageID:
                                   75620

                                    Judith Zelikoff, Ph.D.
                                           Page 478                                        Page 480
        1    study, the Taher study, was a                1        as exhibit -- Exhibits 40 through
        2    meta-analysis, correct?                      2        48 -- I'm sorry, 47 -- the
        3         A. Yes, correct.                        3        notebooks that had been produced
        4         Q. Can you cite for me any              4        for purposes of the deposition
        5    studies reporting that -- reporting these    5        here today.
        6    events occurring in women using talc on      6            (Documents marked for
        7    the perineum?                                7        identification as Exhibits
        8              MS. O'DELL: Object to the          8        Zelikoff-40 through 47.)
        9         form.                                   9   BY MR. HEGARTY:
       10              THE WITNESS: If you're            10        Q. Over on Page 23, you --
       11         asking me if gene alterations or       11        A. Of my report?
       12         mutations or the level of              12        Q. Of your report, with regard
       13         apoptosis has been measured in any     13   to the Shukla study.
       14         women exposed, no, I do not recall     14            I'm sorry, over on Page 26.
       15         that.                                  15   You cite again the Shukla study. Do you
       16    BY MR. HEGARTY:                             16   see that where -- do you see where you
       17         Q. Have any of the processes --        17   say "nonfibrous talc at low in vitro
       18         A. Excuse me. If I may add.            18   exposure concentrations caused increased
       19    But inflammatory markers have been looked   19   expression of transcription factors
       20    at in women with ovarian cancer and they    20   associated with the inflammatory process
       21    are elevated.                               21   in a time and dose dependent manner"?
       22         Q. And my question, as you'll          22        A. I'm sorry, I'm not clear
       23    recall, is specific to talc users,          23   on --
       24    correct?                                    24        Q. Middle of the second full

                                           Page 479                                        Page 481
        1             MS. O'DELL: Objection to            1   paragraph.
        2         form.                                   2        A. Not -- after the Mori
        3             THE WITNESS: Talc -- yes,           3   citation?
        4         talc products.                          4        Q. Yes.
        5    BY MR. HEGARTY:                              5        A. "Nonfibrous talc at low in
        6         Q. Can you -- can you cite to           6   vitro exposure concentrations caused
        7    me any studies showing elevations of any     7   increased expression of transcription
        8    of these processes in women using talc?      8   factors associated with the inflammatory
        9             MS. O'DELL: Object to the           9   process in a time and dose dependent
       10         form.                                  10   manner." Yes, I see that.
       11             THE WITNESS: Well,                 11        Q. What did you mean by say --
       12         neoplastic transformation and          12   by time and dose manner?
       13         proliferation is clearly seen          13        A. May I see the paper?
       14         in -- obviously if there's a           14            (Document marked for
       15         variant answer, you've had             15        identification as Exhibit
       16         neoplastic transformation              16        Zelikoff-48.)
       17         proliferation.                         17   BY MR. HEGARTY:
       18    BY MR. HEGARTY:                             18        Q. Marking as Exhibit 49 -- 48
       19         Q. Well, my question is                19   that paper.
       20    specific to women using talc prediagnosis   20        A. Thank you.
       21    of ovarian cancer.                          21            MR. TISI: We are at seven
       22         A. I see. No, sir.                     22        hours by the way.
       23             MR. HEGARTY: For purposes          23            MS. O'DELL: We are at seven
       24         of the deposition, we want to mark     24        hours?

                                                               121 (Pages 478 to 481)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 266 of 366 PageID:
                                   75621

                                 Judith Zelikoff, Ph.D.
                                       Page 482                                        Page 484
        1             MR. TISI: Yes, we are.          1       want to let her answer or not.
        2             MS. O'DELL: We're at seven      2       It's simply up to you. If you say
        3       hours, Mark.                          3       we're done, then I will -- I'm not
        4             MR. HEGARTY: Okay. Are you      4       going to dispute it.
        5       going to instruct her not to          5            MS. O'DELL: We are -- I
        6       answer that question?                 6       will let you answer that question.
        7             MS. O'DELL: Well, the           7       But after that, we're -- we're
        8       federal rules limit this              8       done.
        9       deposition to seven hours and --      9            MR. HEGARTY: Okay. Thank
       10             MR. HEGARTY: No, I             10       you.
       11       understand, but I also remember a    11            MS. O'DELL: Do you recall
       12       deposition where I think I let       12       the question, Dr. Zelikoff?
       13       Chris go over about two or           13            THE WITNESS: Yes. The
       14       three minutes.                       14       question is -- what -- I'll repeat
       15             MR. TISI: Yeah, but you are    15       it from here.
       16       using a whole new exhibit.           16            What did I mean by a time
       17             MS. O'DELL: You just marked    17       and dose dependent manner?
       18       it --                                18   BY MR. HEGARTY:
       19             MR. HEGARTY: I just want to    19       Q. Yes.
       20       make sure that was --                20       A. In the Shukla study?
       21             MR. TISI: Are you going to     21       Q. Correct.
       22       suggest --                           22       A. Well, if we look at Figure 2
       23             MR. HEGARTY: No, I just        23   concerning cell viability in the Shukla
       24       want to know if that -- if you       24   paper, Page 117.

                                       Page 483                                        Page 485
        1       want to end the deposition for me     1             So we can see, I'm trying to
        2       right here?                           2   find the exact one that I want to refer
        3             MR. TISI: That was a fact       3   to. Figure A, one can see that in terms
        4       witness, as you know.                 4   of the concentration and over time, that
        5             I leave it to Leigh. If         5   the number -- total number of viable
        6       we're going to -- if we're going      6   cells were altered. And in Figure 2, 15
        7       to have this rule, we need to kind    7   and 75 -- no, scratch Figure 2, sorry.
        8       of be consistent with it.             8             So on Page 118, in looking
        9             MR. HEGARTY: No, I'm not        9   at number of genes that were
       10       looking to apply another rule.       10   significantly changed, we can see looking
       11       Just tell me whether you'll let      11   at the concentration -- and this is for
       12       her answer the question or if the    12   asbestos -- there was a change in effect
       13       time -- because the time is up,      13   in asbestos. If one looks at -- I think
       14       that question will not be            14   that's it. That's what I meant.
       15       answered.                            15             MR. HEGARTY: Okay. Thank
       16             MS. O'DELL: The time -- the    16        you.
       17       time is up. What is your -- what     17             MS. O'DELL: Off the record.
       18       was your question?                   18             THE VIDEOGRAPHER: The time
       19             MR. HEGARTY: My question       19        is 7:07 p.m. Off the record.
       20       was, "What do you mean where you     20             (Short break.)
       21       say time and dose dependent          21             THE VIDEOGRAPHER: We are
       22       manner." But I'm not going to        22        back on the record. The time is
       23       insist on any applicable rule.       23        7:30 p.m.
       24       I'll let you decide whether you      24               - - -

                                                            122 (Pages 482 to 485)
                Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 267 of 366 PageID:
                                   75622

                                    Judith Zelikoff, Ph.D.
                                          Page 486                                          Page 488
        1               EXAMINATION                       1        A. I relied on his report, yes.
        2                 - - -                           2        Q. And did Dr. Crowley conclude
        3    BY MS. O'DELL:                               3   that the chemicals involved in the
        4         Q. Dr. Zelikoff, I have a few           4   fragrances for both Johnson & Johnson's
        5    follow-up questions for you.                 5   Baby Powder and Shower to Shower may
        6             Prior to your involvement in        6   contribute to the inflammatory response,
        7    litigation, this litigation, did you hold    7   toxicity and potential carcinogenicity of
        8    the opinion that inflammation causes         8   Johnson & Johnson's talcum powder
        9    cancer?                                      9   products?
       10             MR. HEGARTY: Objection to          10            MR. HEGARTY: Objection to
       11         form.                                  11        form.
       12             THE WITNESS: Yes. I held           12            THE WITNESS: Yes. I concur
       13         the opinion for a very long time       13        with that whole opinion.
       14         that inflammation causes cancer.       14   BY MS. O'DELL:
       15    BY MS. O'DELL:                              15        Q. And in fact, that's the
       16         Q. And in terms of your                16   specific opinion he included in his
       17    knowledge and opinion prior to your         17   report that you relied on?
       18    involvement in the litigation, did you --   18        A. Yes, that's correct.
       19    did you have an opinion regarding the       19            MR. HEGARTY: Objection to
       20    role of oxidative stress in the             20        form.
       21    development of cancer?                      21   BY MS. O'DELL:
       22         A. Yes, I did. My opinion was          22        Q. And so if another expert was
       23    that oxidative stress was closely           23   also relying on Dr. Crowley's analysis,
       24    involved with the causation of cancer.      24   it wouldn't be surprising that the same

                                          Page 487                                          Page 489
        1         Q. So to the degree that your           1   wording was used?
        2    work in this case addressed new              2            MR. HEGARTY: Objection to
        3    considerations, were those considerations    3        form.
        4    primarily focused on talc and its ability    4            THE WITNESS: Absolutely
        5    to cause inflammation and oxidative          5        not.
        6    stress?                                      6   BY MS. O'DELL:
        7             MR. HEGARTY: Objection to           7        Q. Let me ask you other
        8         form.                                   8   questions about the general principles in
        9             THE WITNESS: That is                9   your report. I think you testified, you
       10         correct.                               10   were asked a number of questions about
       11    BY MS. O'DELL:                              11   general principals. And in your
       12         Q. Can you -- if I could ask           12   judgment, is it generally accepted to --
       13    you to take your report. I think it's       13   to use common phrasing for general
       14    right to your left. I'm going to ask        14   principles in scientific publications?
       15    you -- if you'll turn to Page 12. Do you    15        A. Yes.
       16    see that? The subsection involving          16            MR. HEGARTY: Objection to
       17    fragrance, fragrance chemicals?             17        form.
       18         A. Yeah. C, fragrances.                18            THE WITNESS: I answered
       19         Q. And did you rely on                 19        that question before, and yes.
       20    Dr. Crowley's report and his review of      20        Common, well-publicized,
       21    the relevant literature and other           21        well-established concepts, yes.
       22    information regarding the chemicals that    22   BY MS. O'DELL:
       23    are included in the fragrance for Baby      23        Q. You were asked during the
       24    Powder and Shower to Shower?                24   early part of the day certain questions

                                                               123 (Pages 486 to 489)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 268 of 366 PageID:
                                   75623

                                    Judith Zelikoff, Ph.D.
                                          Page 490                                         Page 492
        1    about whether you were an expert in areas    1        A. My numerous publications in
        2    such as talc and inflammation?               2   that area of metal toxicology that I've
        3         A. Yes.                                 3   been doing for many, many, many years.
        4         Q. And I think if you recall            4        Q. And in addition to your
        5    the response you answered you were not       5   training, experience, do you also make
        6    classified as an expert. What did you        6   those statements based on your review of
        7    mean by that?                                7   the available scientific and medical
        8              MR. HEGARTY: Objection to          8   literature?
        9         form.                                   9        A. In regards to metals?
       10              THE WITNESS: What I meant         10        Q. In all the environmental
       11         was in terms of legal, whether --      11   exposures we've just discussed?
       12         one of the questions that arose        12        A. Yes. I rely on
       13         was, in the past, have I been          13   literature --
       14         listed as an expert in other           14        Q. You were asked questions --
       15         cases. And so I followed that          15        A. -- as well as my own
       16         line of thought and thought that       16   scientific research.
       17         we were still talking about            17        Q. Excuse me. I didn't mean to
       18         litigation and formal declaration      18   cut you off, Doctor.
       19         as an expert in that area.             19            You were asked questions
       20    BY MS. O'DELL:                              20   about whether there were any studies or
       21         Q. Are you an expert in the            21   evidence that you relied on involving
       22    toxicological effects of minerals on        22   Johnson's Baby Powder.
       23    the -- on humans?                           23            Do you recall that?
       24              MR. HEGARTY: Objection to         24        A. I do recall that question,

                                          Page 491                                         Page 493
        1         form.                                   1   yes.
        2             THE WITNESS: I'm expert in          2        Q. And do the -- strike that
        3         toxicology of environmental             3   and start again.
        4         chemicals, including mixtures,          4            Did Dr. Saed in the testing
        5         including fibers, including             5   that was done and reported in not only
        6         particles, including talc.              6   the abstracts but also his manuscript,
        7    BY MS. O'DELL:                               7   involve Johnson's Baby Powder?
        8         Q. And would that -- would that         8            MR. HEGARTY: Objection to
        9    also include -- when you said fibers,        9        form.
       10    would that also include asbestos and        10            THE WITNESS: Yes.
       11    fibrous talc?                               11        Dr. Saed's did. Thank you for
       12             MR. HEGARTY: Objection to          12        reminding me.
       13         form.                                  13   BY MS. O'DELL:
       14             THE WITNESS: Yes.                  14        Q. Was Dr. Longo and Rigler's
       15    BY MS. O'DELL:                              15   testing of historical samples of talcum
       16         Q. Are you an expert in the            16   powder products produced in this
       17    toxicological effects of heavy metals on    17   litigation, including Johnson's Baby
       18    the humans?                                 18   Powder and Shower to Shower?
       19             MR. HEGARTY: Objection to          19        A. Dr. Longo stated he did use
       20         form.                                  20   products over time from Johnson & Johnson
       21             THE WITNESS: Yes, I am.            21   talcum powders.
       22    BY MS. O'DELL:                              22        Q. And was the evidence that
       23         Q. And what do you base that           23   was presented in Hopkins Exhibit 28, did
       24    statement on?                               24   it involve Johnson's talcum powder

                                                                124 (Pages 490 to 493)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 269 of 366 PageID:
                                   75624

                                    Judith Zelikoff, Ph.D.
                                          Page 494                                         Page 496
        1    products?                                   1        go.
        2         A. Yes, it did.                        2   BY MS. O'DELL:
        3         Q. Was evidence that you relied        3        Q. Did the FDA conclude in
        4    on in the form of Pier Exhibit 47, did      4   Exhibit 37 that -- well, let me just ask
        5    those also involve talc that was taken      5   the question this way.
        6    from sources used to supply Johnson's       6            If you'll turn to Page 2 of
        7    talcum powder products?                     7   Exhibit 37, what was the FDA's conclusion
        8             MR. SILVER: Objection to           8   regarding the testing that they had
        9         form.                                  9   performed on the cosmetic powders?
       10             MR. HEGARTY: Objection to         10            Doctor, I'll direct you to
       11         form.                                 11   the second-to-the-last paragraph at the
       12             THE WITNESS: Dr. Pier?            12   bottom of the page, the middle sentence.
       13    BY MS. O'DELL:                             13   Do you see that, "Beginning for these
       14         Q. Yes.                               14   reasons"?
       15         A. To my recollection, yes. If        15        A. Yes, I see that.
       16    you'd like, I can look at the paper and    16        Q. And what was the FDA's
       17    confirm that.                              17   conclusion?
       18         Q. Let me ask you about               18        A. "For these reasons, while
       19    Dr. Blount. You were asked previously      19   FDA finds these results informative, they
       20    about her publication in 1991.             20   do not prove that most or all talc or
       21             Did Dr. Blount test               21   talc-containing cosmetic products that
       22    Johnson's Baby Powder?                     22   are currently or currently marketed in
       23         A. Yes. But again, if I looked        23   the United States are likely to be free
       24    at the reference I could give you -- I     24   of asbestos contamination."

                                          Page 495                                         Page 497
        1    could give you specifics.                   1        Q. You were also asked a number
        2         Q. Okay. And do you recall             2   of questions regarding the FDA response
        3    that that -- did -- let me just ask it      3   to Dr. Epstein's letter in April of 2014,
        4    this way.                                   4   Exhibit 33.
        5             Did Dr. Blount find that           5            Do you recall those
        6    there was asbestos in the Johnson's Baby    6   questions?
        7    Powder samples that she tested?             7        A. I recall that questions were
        8         A. Yes. To my recollection,            8   asked in this regard, yes.
        9    she did, yes.                               9        Q. While at this point in the
       10         Q. You were asked about some          10   day, I wouldn't expect you to recall the
       11    testing that had been done by the FDA on   11   specific question, but you recall those
       12    certain cosmetic powders. Do you           12   general discussions?
       13    remember that? It was Exhibit 37.          13        A. Yes, I do.
       14             MS. O'DELL: And is that in        14        Q. All right. Let me ask you,
       15         the bottom of that stack, 37?         15   if you wouldn't mind, to turn to Page 3
       16             Thanks, Mark. If you'll           16   of -- of Exhibit 33.
       17         hand those to me. I appreciate        17            And the second paragraph.
       18         it.                                   18        A. Starting, "The survey
       19             THE WITNESS: Sorry. My            19   found"?
       20         microphone.                           20        Q. Yes. Yes, ma'am.
       21             MS. O'DELL: Oh, did it come       21            And as of April 2014, was it
       22         off?                                  22   the FDA's conclusion that their testing
       23             THE VIDEOGRAPHER: Raise it        23   results did not prove that
       24         up as high as possible. There you     24   talc-containing cosmetic powders

                                                               125 (Pages 494 to 497)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 270 of 366 PageID:
                                   75625

                                    Judith Zelikoff, Ph.D.
                                           Page 498                                        Page 500
        1    currently marketed in the U.S. are free      1   causing ovarian cancer?
        2    of asbestos contamination?                   2            MR. HEGARTY: Objection to
        3             MR. HEGARTY: Objection to           3        form.
        4         form.                                   4            THE WITNESS: They are
        5             THE WITNESS: Yes. I can             5        consistent with my opinion, yes.
        6         read the sentence, "While FDA           6   BY MS. O'DELL:
        7         found this data informative, the        7        Q. Let me ask you if you would,
        8         results were limited by the fact        8   Doctor, to -- I'll do it for you.
        9         that only four suppliers submitted      9   Because it was marked here.
       10         samples and the number of products     10            I'm going to hand to you the
       11         used. They do not prove that all       11   Health Canada draft screening assessment
       12         talc containing cosmetic products      12   that was marked previously as Exhibit 9.
       13         currently marketed in the United       13        A. I see it.
       14         States are free of asbestos            14        Q. And let me ask you if you
       15         contamination."                        15   would please, Doctor, first, did you
       16    BY MS. O'DELL:                              16   submit your report in this case prior to
       17         Q. Okay. While we are on this          17   Health Canada issuing the draft causal
       18    Exhibit 33, Doctor, if you'll turn to       18   assessment?
       19    Page 5 of the exhibit. About two-thirds     19        A. I submitted my -- my final
       20    of the way down, the paragraph beginning,   20   report November 15th or 16th. I'm not
       21    "While."                                    21   quite clear on the date. And received
       22         A. "While there exists no              22   this or saw it for the first time in
       23    direct proof"?                              23   January. So it did not go into my -- it
       24         Q. Yes. And would you mind             24   was not cited in my report and was not

                                           Page 499                                        Page 501
        1    reading, you know, the -- the -- those       1   reviewed for my report.
        2    first two sentences of that paragraph,       2        Q. And by virtue of the fact
        3    please?                                      3   that came out after your report, did --
        4          A. "While there exists no              4   did the health -- strike that and start
        5    direct proof of talc and ovarian             5   again.
        6    carcinogenesis, the potential for            6            Did the Health Canada
        7    particulates to migrate from the             7   assessment inform your opinions in this
        8    peritoneum" -- "the perineum and vagina      8   case?
        9    to the peritoneal cavity is                  9        A. It -- it could not have
       10    indisputable."                              10   informed my opinion that's written out in
       11          Q. And then if you'll read the        11   the report. It was compelling evidence
       12    next sentence?                              12   that helped support the opinion that I
       13          A. "It is, therefore, plausible       13   came to.
       14    that perineal talc and other particulate    14        Q. Did it confirm your
       15    that reaches the endometrial cavity, the    15   opinions?
       16    fallopian tubes and ovaries and the         16            MR. HEGARTY: Objection to
       17    peritoneum may elicit a foreign body-type   17        form.
       18    reaction and an inflammatory response       18            THE WITNESS: Yes. It
       19    that in some exposed women may progress     19        confirmed my opinions on many
       20    to epithelial cancers."                     20        lines, including methodology.
       21          Q. And are those statements           21   BY MS. O'DELL:
       22    written by the FDA consistent with your     22        Q. If you'll look at Page 18 of
       23    opinions regarding the biologic             23   the assessment.
       24    plausibility of talcum powder products      24        A. Yes. I see it.

                                                               126 (Pages 498 to 501)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 271 of 366 PageID:
                                   75626

                                    Judith Zelikoff, Ph.D.
                                           Page 502                                        Page 504
        1         Q. And looking at the                   1   mechanism for the cause of cancer?
        2    literature that is cited in this section,    2            MR. HEGARTY: Objection to
        3    did you cite in support of your opinions     3        form.
        4    Keskin 2009?                                 4            THE WITNESS: Biological
        5         A. Keskin 2009, yes.                    5        plausibility.
        6         Q. And did you -- of course we          6   BY MS. O'DELL:
        7    talked about it before. You cited            7        Q. They -- let me ask a better
        8    Penninkilampi 2018?                          8   question. Did they -- did they discuss
        9         A. Yes, I did.                          9   chronic inflammation, inflammation as a
       10         Q. And did you cite other              10   biologically plausible mechanism for the
       11    references included in the mode of action   11   development of ovarian cancer?
       12    discussion that was undertaken by Health    12        A. Yes, they did.
       13    Canada on Pages 18, 19 and, you know, 20    13        Q. Did they discuss the role of
       14    of the Health Canada assessment?            14   reactive oxygen species as part of the
       15         A. Yes, I did. Do you want me          15   biologically plausible mechanism of talc
       16    to tell you which ones?                     16   in the development of ovarian cancer?
       17         Q. Just give us a few. Just            17            MR. HEGARTY: Objection to
       18    give us a few.                              18        form.
       19         A. Henderson 1971. These are           19            THE WITNESS: Oxidative
       20    the ones that come to mind readily.         20        stress, yes. Yeah. React -- ROS.
       21    Edelstam 1997. Egli and Newton 1961. De     21        Oxidative stress.
       22    Boer in 1972. Venter and Iturralde,         22            May I give the statement?
       23    1979. Heller 1996. Cramer in 2007.          23   BY MS. O'DELL:
       24             Would you like me to go on?        24        Q. Yes.

                                           Page 503                                        Page 505
        1         Q. So it's fair to say that             1        A. With respect to talc,
        2    many of the references that you read,        2   specifically local chronic irritation
        3    reviewed, relied on in your report are       3   leading to inflammatory response is one
        4    some of the same studies that Health         4   possible mechanism of tumor progression
        5    Canada relied on in their causal             5   that is frequently hypothesized.
        6    assessment?                                  6        Q. And that's consistent with
        7            MR. HEGARTY: Objection to            7   your -- with your opinion in this case?
        8         form.                                   8             MR. HEGARTY: Objection to
        9            THE WITNESS: Yes. This was           9        form.
       10         very validating for my -- my           10             THE WITNESS: Yes.
       11         report in my opinion.                  11   BY MS. O'DELL:
       12    BY MS. O'DELL:                              12        Q. Is that consistent with your
       13         Q. Were you aware of the -- of         13   opinion in this case?
       14    the assessment prior to it being issued     14        A. Yes, it is.
       15    to the public?                              15        Q. Did they discuss migration
       16         A. Not at all. It was -- it            16   as part of the biologically plausible
       17    came out in late 2018, in December.         17   mechanism for the connection between
       18         Q. In the assessment that was          18   perineal use of talc and development of
       19    undertaken by Health Canada, did they       19   ovarian cancer?
       20    assign any numerical weights in the         20        A. Yes, they did.
       21    causal assessment to certain studies?       21        Q. Okay. Did they, on Page 15
       22         A. No, they do not.                    22   and 16, did they discuss some of the
       23         Q. Did they discuss                    23   animal studies that you reference and
       24    inflammation as a sort of recognized        24   rely on in reaching your opinions in this

                                                               127 (Pages 502 to 505)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 272 of 366 PageID:
                                   75627

                                   Judith Zelikoff, Ph.D.
                                          Page 506                                        Page 508
        1    case?                                       1         Q. Counsel directed your
        2          A. Yes, they do.                      2   attention to the sentence -- counsel for
        3             MR. HEGARTY: Objection to          3   Johnson & Johnson -- direct -- directed
        4          form.                                 4   your attention to the sentence near the
        5             THE WITNESS: And --                5   bottom of the left column.
        6    BY MS. O'DELL:                              6         A. An important finding of this
        7          Q. Excuse me.                         7   study is that talc use?
        8          A. They include Hamilton et           8         Q. Yeah, the -- the potential
        9    al., 1984. Keskin 2009. Hamilton 1984       9   mechanism by which genital talc is
       10    again. Keskin again.                       10   associated with an increased risk of
       11          Q. Okay. And if you'll turn to       11   ovarian cancer --
       12    Page 21. You'll see at the top of the      12         A. I'm sorry. Again,
       13    page, they have a section on biologic      13   discussion on the left side?
       14    plausibility.                              14         Q. Yes. At the bottom of the
       15          A. Yes, they do.                     15   first paragraph, the last sentence.
       16          Q. Is -- is their discussion of      16         A. Okay. I'm sorry.
       17    biological plausibility as outlined on     17   "Potential mechanism by which general
       18    Page 21 consistent with your opinions in   18   talc associated with an increased risk of
       19    this case?                                 19   ovarian cancer hence remains unclear."
       20             MR. HEGARTY: Objection to         20         Q. And Johnson & Johnson's
       21          form.                                21   counsel asked you about that sentence.
       22             THE WITNESS: Definitely           22         A. Yes, they did.
       23          consistent. Particles of talc are    23         Q. But they didn't ask you
       24          hypothesized to migrate into the     24   about other sentences in this -- this

                                          Page 507                                        Page 509
        1         pelvis and ovarian tissue causing      1   paper, fair?
        2         irritation and inflammation. And       2         A. That's fair.
        3         the presence of talc in the            3         Q. So if you'll look to the
        4         ovaries as I discussed previously      4   right column on Page 45. Do you see the
        5         has been documented by Heller in       5   sentence beginning "if chronic
        6         1996.                                  6   inflammation"?
        7    BY MS. O'DELL:                              7         A. I do. "If chronic
        8         Q. Great. Thank you.                   8   inflammation due to ascending foreign
        9              Doctor, you were also asked       9   bodies is indeed the mechanism by which
       10    some questions about the Penninkilampi     10   talc use is associated with increased
       11    paper.                                     11   ovarian cancer risks, then the results
       12              Do you recall those?             12   fit the picture."
       13         A. I do recall being asked,           13         Q. Is -- is that statement that
       14    yeah, from that.                           14   the authors of the Penninkilampi study
       15         Q. Potentially the most               15   included in their report, excuse me, in
       16    difficult name to pronounce in the         16   their article, is that consistent with
       17    litigation.                                17   your opinions in this case?
       18              The Penninkilampi paper          18         A. It is consistent.
       19    was -- was marked as Exhibit 34. Do you    19         Q. And does it confirm the
       20    recall that?                               20   opinions that you reached in this case?
       21         A. I see, I see it here. Yes.         21         A. It acts to confirm, yes, it
       22         Q. And if I can ask you to turn       22   does.
       23    to Page 45.                                23         Q. Okay. You were asked
       24         A. I see Page 45.                     24   about -- a number of questions about

                                                              128 (Pages 506 to 509)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 273 of 366 PageID:
                                   75628

                                    Judith Zelikoff, Ph.D.
                                           Page 510                                        Page 512
        1    asbestos and the specific amount of          1   deposition of Robert Glenn in your
        2    asbestos that would be introduced with       2   report?
        3    the perineal application of -- of talc.      3        A. I'm sorry, the deposition of
        4         A. Yes --                               4   who?
        5         Q. And let me ask you --                5        Q. Robert Glenn. Page 6, about
        6         A. -- I recall.                         6   midway down.
        7         Q. You recall those questions?          7        A. Yes, I did. "Because
        8         A. Yes, I do.                           8   asbestos is a known carcinogen, its
        9         Q. Is there any safe level of           9   presence in cosmetic talc is
       10    asbestos --                                 10   unacceptable, FDA 2012, FDA 2015."
       11             MR. HEGARTY: Objection to          11        Q. And do you recall that --
       12         form.                                  12   was Mr. Glenn a former director of the
       13    BY MS. O'DELL:                              13   National Institute for Occupational
       14         Q. -- in the perineum?                 14   Safety and Health or NIOSH?
       15         A. My opinion and conclusion is        15        A. Yes.
       16    no.                                         16        Q. And what did Mr. Glenn
       17         Q. Is asbestos a known potent          17   testify to regarding the presence of
       18    carcinogen?                                 18   asbestos in talc-based products?
       19         A. It is. According --                 19        A. He says, "As stated in a
       20         Q. Excuse me. Please go ahead.         20   recent deposition, that if there were a
       21         A. According to the regulators         21   fiber of asbestos in talcum-based
       22    and the documents, it is, yes, a known      22   products, it would certainly 'provide a
       23    carcinogen, and it's extremely potent.      23   biologically plausible mechanism for
       24    If you look at the effects that it causes   24   increased lung disease' and that he

                                           Page 511                                        Page 513
        1    and at the dose levels that it causes        1   suspected that it would also have a
        2    these effects.                               2   similar mechanism of disease in other
        3         Q. And of course IARC has --            3   tissues and organs."
        4         A. IARC has classified it as a          4        Q. And you were asked a number
        5    Class 1A.                                    5   of questions about the different
        6         Q. And did you review and rely          6   constituents of talcum powder products.
        7    on IARC's conclusion regarding asbestos?     7        A. Yes.
        8         A. I did.                               8        Q. If talcum powder products
        9         Q. Excuse me. And its                   9   did not contain asbestos, would that
       10    contribution to the -- to the development   10   change your opinion about the biological
       11    of ovarian cancer?                          11   plausible mechanism of -- that explains
       12         A. Yes, I did.                         12   talc -- talc-based products causing
       13         Q. Did you review and rely on          13   ovarian cancer?
       14    IARC's conclusions regarding fibrous talc   14        A. No, it would not.
       15    or talc in an asbestiform habit regarding   15        Q. You were asked questions
       16    its ability to cause ovarian cancer?        16   about a Dr. Neel from NYU.
       17              MR. HEGARTY: Objection to         17        A. The NYU Cancer Center.
       18         form.                                  18        Q. And you were asked if you
       19              THE WITNESS: I did.               19   knew Dr. Neel.
       20    BY MS. O'DELL:                              20        A. Yes, I recall the question.
       21         Q. If you'll turn to Page 6 in         21        Q. And what's your
       22    your report.                                22   understanding of Dr. Neel's position?
       23         A. Yes, I see it.                      23        A. My understanding is that he
       24         Q. Did you -- did you cite the         24   is the chair -- he may not be called the

                                                               129 (Pages 510 to 513)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 274 of 366 PageID:
                                   75629

                                    Judith Zelikoff, Ph.D.
                                           Page 514                                         Page 516
        1    chair -- but he is the director of the       1        form.
        2    cancer center for NYU Langone Health and     2            THE WITNESS: Could you
        3    NYU Medical School. It morphs into           3        clarify that question?
        4    different names.                             4   BY MS. O'DELL:
        5         Q. And in regard to the                 5        Q. Yeah. It was a bad
        6    toxicity of talcum powder products and       6   question. I'm sorry. I'm getting tired.
        7    its effects, toxicological effects,          7        A. If you're asking -- would
        8    would -- would you be more knowledgeable     8   you like to ask -- rephrase it, or should
        9    about those particular effects than a        9   I give you my thought of what you were
       10    clinician who diagnoses and treats          10   trying to ask?
       11    ovarian cancer?                             11        Q. Well, why don't you
       12             MR. HEGARTY: Objection to          12   interpret my question, and I'll follow
       13         form.                                  13   up.
       14    BY MS. O'DELL:                              14        A. If you're asking me if
       15         Q. Like Dr. Neel?                      15   nickel was a component of the non-fibrous
       16         A. I'm a toxicologist, and so          16   talc, then was nickel also in place when
       17    my main area of focus and understanding     17   it was treated, when the cells were
       18    and literature has to do with toxicology,   18   treated?
       19    toxicological mechanisms, toxicological     19        Q. That's correct.
       20    effects.                                    20        A. Yes, if nickel was in the
       21         Q. So --                               21   non-fibrous talc then, yes, it was also
       22         A. So my knowledge base in             22   there when the cells were being exposed.
       23    those areas would -- I would suspect very   23        Q. And so -- and that would be
       24    strongly would exceed that of Dr. Neel's,   24   true of chromium and cobalt?

                                           Page 515                                         Page 517
        1    who is a clinician.                          1        A. Yes.
        2         Q. You were asked some                  2        Q. And so, the results from the
        3    questions about the Shukla paper.            3   Shukla study would have bearing on the
        4         A. Yes.                                 4   effect of those heavy metals if contained
        5         Q. And -- and the Shukla paper          5   in talcum powder?
        6    involved the use of talcum powder?           6            MR. HEGARTY: Objection to
        7         A. Yes.                                 7        form.
        8         Q. And if the --                        8            THE WITNESS: Yes, if they
        9         A. Do you recall what exhibit           9        were -- yes, as constituents, they
       10    that was?                                   10        would -- I would imagine and know
       11         Q. I think it was the last             11        that they would play -- they could
       12    exhibit.                                    12        be playing a role in the
       13         A. May I have a copy?                  13        toxicity -- the cell toxicity or
       14         Q. 48. And did the Shukla              14        the gene expression changes that
       15    study involve the testing of, or the use    15        were observed.
       16    of talcum powder?                           16   BY MS. O'DELL:
       17         A. Yes. As they call it,               17        Q. Thank you. And in regard to
       18    non-fibrous talc.                           18   your opinions related to cobalt,
       19         Q. And if the talcum powder            19   chromium, and nickel, you were asked a
       20    used in the Shukla study contained          20   number of questions about whether there
       21    nickel, that would be -- the data that      21   were any human studies measuring the
       22    was reported in that study would be         22   effect of -- of nickel at -- in the
       23    relevant for the effects of nickel, fair?   23   ovary. Do you recall that?
       24             MR. HEGARTY: Objection to          24        A. I recall that question --

                                                                130 (Pages 514 to 517)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 275 of 366 PageID:
                                   75630

                                    Judith Zelikoff, Ph.D.
                                           Page 518                                         Page 520
        1    those questions.                             1   IRBs.
        2         Q. Would it be possible to              2        Q. Okay. You looked at, as I
        3    design a study in humans where nickel was    3   understand it, for your purposes of your
        4    deposited at their ovary to see if a         4   task in this case, you looked at the
        5    female would develop ovarian cancer?         5   issue of biologic plausibility for
        6         A. I think I answered and said          6   perineal talc use and ovarian cancer.
        7    that would be ridiculous in the sense        7        A. Yes, I did.
        8    that this would be totally unethical to      8        Q. Did you -- did you -- was
        9    take a known carcinogen or a classified      9   that inquiry focused on epithelial
       10    1A carcinogen and use it for experimental   10   ovarian cancer in particular?
       11    studies in humans by placing it in the      11        A. It -- it was -- most, if not
       12    perineal -- or anywhere within the body     12   all the studies I looked at in animals
       13    intentionally.                              13   and -- were associated with epithelial
       14         Q. And would that also be true         14   ovarian cancer.
       15    for similar reasons for cobalt and          15             Some studies in humans did
       16    chromium?                                   16   look -- did break out the differences.
       17         A. Yes.                                17        Q. Let me ask you if you
       18         Q. Would the same also be true         18   wouldn't mind, to turn to Page 8 of your
       19    of designing a study that applied           19   report. And you'll look at the top of
       20    asbestos to a female's ovary for purposes   20   the page. In the first full paragraph,
       21    of seeing if she developed cancer?          21   middle of the -- that paragraph discusses
       22         A. I'm smiling because it holds        22   Dr. Longo and Rigler's recent report that
       23    true for any -- any known or suspected      23   reports that talcum powder products
       24    carcinogen cannot be used intentionally     24   manufactured by Johnson's Baby Powder and

                                           Page 519                                         Page 521
        1    on a human being for testing. It's           1   Shower to Shower have contained and
        2    unethical, and would probably in all         2   continue to contain asbestos. Do you see
        3    likelihood not be approved by the            3   that sentence?
        4    institutional review board of academic       4        A. Yes, I do.
        5    institutions or any reputable scientists.    5        Q. And then it goes on, you go
        6         Q. Would that be true of                6   on to report his results from test of
        7    fibrous talc?                                7   samples manufactured from the 1960s and
        8              MR. HEGARTY: Objection to          8   1990s.
        9         form.                                   9        A. Through -- through the
       10    BY MS. O'DELL:                              10   1990s.
       11         Q. You may answer.                     11        Q. Through the 1990s, that's
       12         A. That would be true of               12   correct.
       13    fibrous talc.                               13            And you -- you have a
       14         Q. Would it be true of platy           14   footnote here to Footnote 7?
       15    talc, if there is such a thing as pure      15        A. Yes.
       16    platy talc?                                 16        Q. And Dr. Longo and Rigler's
       17         A. If there is a -- if there is        17   report is noted in the footnote and it's
       18    any suspicion that any product, including   18   dated November 14, 2018.
       19    platy talc, might be involved in            19        A. Yes.
       20    producing inflammation or any other type    20        Q. Do you see that?
       21    of adverse health effect, then it would     21        A. Yes.
       22    be very unethical to go ahead and           22        Q. And just, did you have in
       23    intentionally use that in a human study,    23   your possession and review Dr. Rigler and
       24    in my opinion, and in the opinion of most   24   Longo's November 14, 2018, report during

                                                                131 (Pages 518 to 521)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 276 of 366 PageID:
                                   75631

                                    Judith Zelikoff, Ph.D.
                                          Page 522                                         Page 524
        1    the completion of your own report?          1   that Ms. O'Dell asked you.
        2         A. I had it available prior to         2            First of all, you were
        3    the submission of my final report, yes.     3   referred to Page 12 of your report
        4             The only thing I did not           4   under -- under Section C, Fragrances.
        5    have was the December 2018 supplement.      5   Would you go to that portion of your
        6         Q. His most recent supplement?         6   report please?
        7         A. His most recent supplement,         7        A. I will, thank you. Yes.
        8    yes.                                        8   I'm here.
        9         Q. I think just to be clear,           9        Q. You were asked about this
       10    that -- was his most recent supplemental   10   part of your report being identical to
       11    report you're referring to, was that the   11   the same part of Smith-Bindman's report.
       12    report dated in January, I think 16th or   12   Do you recall being asked those
       13    15th of this month?                        13   questions?
       14         A. It was sometime in January.        14            MS. O'DELL: Object to the
       15         Q. Okay.                              15        form.
       16         A. Yes. I could answer that           16            THE WITNESS: Smith --
       17    question specifically if I saw the         17        Smith-Bindman report? I'm sorry,
       18    exhibit.                                   18        I don't recall -- oh, in the
       19         Q. And I've handed you what's         19        beginning of the deposition?
       20    been marked I think as Exhibit --          20   BY MR. HEGARTY:
       21         A. 3.                                 21        Q. Yes.
       22         Q. 3. And is Exhibit 3 the            22        A. Okay. That was a long time
       23    supplemental report --                     23   ago.
       24         A. Yes, it is.                        24        Q. First of all, are you aware

                                          Page 523                                         Page 525
        1        Q. -- that you reviewed                 1   that Dr. Crowley has been deposed in this
        2    recently?                                   2   litigation?
        3        A. I'm sorry, yes.                      3        A. Yes.
        4        Q. And what's the date on the           4        Q. Did you read his deposition?
        5    report?                                     5        A. I did.
        6        A. January 15, 2019.                    6        Q. When did you read his
        7            MS. O'DELL: Okay. I have            7   deposition?
        8        nothing further, Doctor. Thank          8        A. I'm sorry, I don't recall
        9        you.                                    9   the exact date.
       10            MR. HEGARTY: Take a break.         10            May I see Dr. Crowley's
       11        I need to use the restroom.            11   deposition?
       12            THE VIDEOGRAPHER: The time         12        Q. Well, I just asked you if
       13        is 8:10 p.m. Going off the             13   you had read it. That's my only
       14        record.                                14   question.
       15            (Short break.)                     15            Other than Dr. Crowley's
       16            THE VIDEOGRAPHER: We are           16   deposition, have you read the depositions
       17        back on the record. The time is        17   of any other plaintiffs' experts deposed
       18        8:16 p m.                              18   in the MDL, this litigation?
       19                 - - -                         19        A. Any of the other plaintiffs'
       20               EXAMINATION                     20   depositions?
       21                 - - -                         21        Q. Correct.
       22    BY MR. HEGARTY:                            22        A. Dr. Dydek.
       23        Q. Dr. Zelikoff, I have some           23        Q. Anybody else?
       24    questions in follow-up to the questions    24        A. I'm looking to see the

                                                              132 (Pages 522 to 525)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 277 of 366 PageID:
                                   75632

                                    Judith Zelikoff, Ph.D.
                                           Page 526                                        Page 528
        1    others.                                      1        Q. Page 12.
        2         Q. It's at the end of Exhibit           2        A. "There are more than 150
        3    B.                                           3   different chemicals"?
        4         A. Okay. Thank you. Thank               4        Q. Those four sentences, or
        5    you.                                         5   three -- or strike that.
        6         Q. Well, my question -- let me          6            The second sentence in that
        7    ask a different question. Let me ask         7   section is not in Dr. Crowley's report.
        8    whether you have reviewed the MDL            8   He did not write, "I reviewed the expert
        9    depositions; that is, the depositions        9   report of Dr. Michael Crowley that
       10    that plaintiffs' experts have taken in      10   concludes that some of these chemicals
       11    this litigation over their expert reports   11   may contribute to the inflammatory
       12    besides Dr. Crowley?                        12   response, toxicity, and potential
       13              MS. O'DELL: Object to form.       13   toxicity of Johnson & Johnson's talcum
       14              THE WITNESS: Dr. Longo.           14   powder products."
       15         Sorry.                                 15            MS. O'DELL: Objection.
       16    BY MR. HEGARTY:                             16   BY MR. HEGARTY:
       17         Q. Dr. Longo has not yet been          17        Q. That sentence is not in
       18    deposed in --                               18   Dr. Crowley's report?
       19         A. I read his report.                  19            MS. O'DELL: Objection.
       20         Q. -- for his MDL report.              20            THE WITNESS: I'm terribly
       21              No, I'm talking about the         21        sorry. I'm going to silence that
       22    deposition --                               22        or we can and talk over it.
       23         A. I'm sorry.                          23            MS. O'DELL: Go ahead and
       24         Q. -- of an expert who has             24        silence it.

                                           Page 527                                        Page 529
        1    been -- who is being deposed about their     1           (Brief interruption.)
        2    report in the MDL.                           2           MR. HEGARTY: Let's go off
        3             You said Dr. Crowley. Have          3       the record.
        4    you read anyone else's deposition that       4           THE VIDEOGRAPHER: The time
        5    have discussed their report in the MDL?      5       is 8:21 p.m. Off the record.
        6             MS. O'DELL: I think there           6           (Whereupon, a discussion was
        7         may be some confusion between           7       held off the record.)
        8         report and deposition.                  8           THE VIDEOGRAPHER: The time
        9             THE WITNESS: Yes. There             9       is 8:21 p.m. Back on the record.
       10         was.                                   10   BY MR. HEGARTY:
       11    BY MR. HEGARTY:                             11       Q. The second sentence under
       12         Q. Did you read Dr. Crowley's          12   your section fragrances is nowhere in
       13    deposition over his report?                 13   Dr. Crowley's report?
       14         A. I read Dr. Crowley's report.        14       A. That --
       15    I'm sorry. I stand corrected.               15           MS. O'DELL: Objection to
       16         Q. Dr. Crowley's report does           16       form.
       17    not contain the sentences that you've       17           THE WITNESS: That sentence
       18    included under your Section C,              18       is not there, but I concluded that
       19    fragrances, correct?                        19       when he talked about the
       20             MS. O'DELL: Object to the          20       fragrances, I concluded that -- I
       21         form.                                  21       inferred from his -- from his
       22             THE WITNESS: What page are         22       report, that these chemicals do
       23         we going back to, please?              23       contribute to the inflammatory
       24    BY MR. HEGARTY:                             24       response, toxicity and potential

                                                                133 (Pages 526 to 529)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 278 of 366 PageID:
                                   75633

                                    Judith Zelikoff, Ph.D.
                                          Page 530                                        Page 532
        1         carcinogenicity.                       1   BY MR. HEGARTY:
        2    BY MR. HEGARTY:                             2        Q. Doctor, you --
        3         Q. The sentence, "I concur with        3        A. -- that included talc.
        4    his opinion," is not in Dr. Crowley's       4        Q. Doctor, you testified
        5    report, is it?                              5   earlier in this deposition that your
        6         A. No. That was my opinion.            6   information as it relates to talc and
        7         Q. That same opinion, stated           7   ovarian cancer came from the media and
        8    exactly the same way, is in the             8   discussion with colleagues, correct?
        9    Dr. Smith-Bindman report, correct?          9        A. Prior to being contacted.
       10         A. Can I see that report?             10        Q. Right. So prior to being
       11         Q. Do you recall without              11   contacted for counsel for plaintiffs, you
       12    looking at it, that that same section is   12   had no expertise in talc and ovarian
       13    in her report?                             13   cancer, correct?
       14         A. I do not. I do not recall.         14        A. As a toxicologist -- I'm
       15         Q. Okay. Did you -- do you            15   sorry. I'm getting hung up on the word
       16    know -- have you ever spoken to            16   "expert" as you're using it. As a
       17    Dr. Smith-Bindman?                         17   toxicologist, I am familiar with talc. I
       18         A. Not at all.                        18   am familiar with much of the toxicity of
       19         Q. Do you know who she is?            19   it. But the primary -- in discussing
       20         A. I don't.                           20   talc and its relationship to cancer, it
       21         Q. Do you know her expertise?         21   was through colleagues and the media,
       22         A. I do not.                          22   yes, correct.
       23         Q. Have you ever heard her name       23        Q. You had not studied, prior
       24    before today?                              24   to being contacted by plaintiffs'

                                          Page 531                                        Page 533
        1         A. Not -- not to my knowledge.         1   counsel, any issues reported in the
        2    But I would like to see -- to refresh my    2   medical literature with regard to talc
        3    memory, if it's available.                  3   and ovarian cancer, correct?
        4         Q. You were asked about your           4        A. I have not studied in my
        5    expertise as it relates to talc and         5   laboratory, that's correct.
        6    inflammation. Before you were contacted     6        Q. You also did not review any
        7    by Ms. Emmel, you had no expertise in       7   literature discussing talc and ovarian
        8    talc, correct?                              8   cancer prior to being contacted by
        9             MS. O'DELL: Objection to           9   counsel for plaintiff?
       10         form.                                 10        A. That is correct.
       11             THE WITNESS: I performed no       11        Q. Prior to being contacted by
       12         scientific studies in it.             12   counsel for plaintiffs you had not
       13    BY MR. HEGARTY:                            13   studied the toxicology -- toxic aspects,
       14         Q. You also reviewed no               14   if any, of talc, correct?
       15    scientific studies concerning talc,        15            MS. O'DELL: Object to the
       16    correct?                                   16        form.
       17             MS. O'DELL: Objection to          17            THE WITNESS: I have -- as I
       18         form.                                 18        stated, I have reviewed papers
       19             THE WITNESS: I have               19        that have looked at it. And I've
       20         reviewed papers. I am editor and      20        reviewed them for acceptance into
       21         associate editor on an editorial      21        journals.
       22         board so that in my past              22   BY MR. HEGARTY:
       23         experience, I likely reviewed         23        Q. Can you cite for us today
       24         papers --                             24   any such papers?

                                                              134 (Pages 530 to 533)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 279 of 366 PageID:
                                   75634

                                    Judith Zelikoff, Ph.D.
                                          Page 534                                         Page 536
        1         A. Over my career, I cannot.           1   nickel?
        2    Sorry.                                      2        A. Yes.
        3         Q. Can you identify any study          3        Q. What published article have
        4    you have published that investigated or     4   you -- have you written discussing the
        5    discussed the toxicity of cobalt?           5   toxicity of nickel?
        6         A. I've written review articles        6        A. One that comes to my mind,
        7    on the toxicology of metals in general      7   without looking at my CV, is an early
        8    and cobalt was in there, and in book        8   publication associated with the
        9    chapters.                                   9   immunology and immunotoxicity of nickel
       10         Q. But it's your testimony that       10   in fish.
       11    you have written review papers where you   11        Q. What nickel -- was it a
       12    discussed the toxicity of cobalt?          12   nickel compound?
       13         A. I did not say review papers.       13        A. It was a nickel chloride, a
       14    I said book chapters.                      14   soluble nickel compound.
       15         Q. So you had written a book          15        Q. Are nickel compounds in
       16    chapter to discuss the toxicity of         16   Johnson's Baby Powder?
       17    cobalt?                                    17        A. Nickel -- according to the
       18             MS. O'DELL: Objection to          18   J&J documents and other -- other internal
       19         form.                                 19   documents, yes.
       20             THE WITNESS: I was an             20        Q. Okay. What nickel compounds
       21         editor of a book, several books --    21   are in Johnson's Baby Powder?
       22         two books actually, which looked      22        A. The report indicates nickel.
       23         at the toxicity of cobalt --          23   It does not break it down to a particular
       24         looked at the toxicity of metals.     24   salt or a particular compound of nickel.

                                          Page 535                                         Page 537
        1         And cobalt, to my recollection,        1        Q. Have you written any papers
        2         was in both of those books.            2   looking at the toxicity of chromium-3?
        3    BY MR. HEGARTY:                             3        A. I'm going to look in my --
        4         Q. Did you write those                 4   in my CV.
        5    chapters?                                   5        Q. Well, without looking at
        6         A. I reviewed those chapters           6   your CV, for purposes of time, can you
        7    for publication in those books.             7   recall any such article?
        8         Q. My question was did you             8             MS. O'DELL: If you need to
        9    write those chapters?                       9        take a moment, Doctor, feel free
       10         A. I'm sorry. Did I write             10        to.
       11    those chapters on cobalt? No, I did not.   11             MR. HEGARTY: We'll go off
       12         Q. Have you ever written any          12        the record if she needs to take a
       13    published chapter or article discussing    13        moment.
       14    the toxicity of cobalt?                    14   BY MR. HEGARTY:
       15         A. I have not --                      15        Q. Because I qualified my
       16             MS. O'DELL: Objection.            16   question by asking you, without looking
       17             THE WITNESS: -- written an        17   at your CV, are you able to cite an
       18         article in the area of cobalt, but    18   article that you've written?
       19         I am familiar with metals, very       19        A. I want to give actual data
       20         much so from the department and       20   to you. In my mind, I recall a paper
       21         the research that I do.               21   that I wrote with Dr. Max Costa on
       22    BY MR. HEGARTY:                            22   chromium. And -- and possibly with Toby
       23         Q. Have you written any               23   Rossman. But without looking, I can't be
       24    published article discussing toxicity of   24   absolutely sure.

                                                               135 (Pages 534 to 537)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 280 of 366 PageID:
                                   75635

                                   Judith Zelikoff, Ph.D.
                                          Page 538                                        Page 540
        1         Q. You refer over on pages --          1   the statements that you were asked about
        2    or on Page 25 of your report --             2   by plaintiffs' counsel in your expert
        3         A. Yes.                                3   report, correct?
        4         Q. -- to --                            4            MS. O'DELL: Object to form.
        5         A. Talc-induced inflammation.          5            THE WITNESS: Not without
        6         Q. Well, let me finish my              6        checking my document, I can't
        7    question.                                   7        answer conclusively.
        8         A. Oh, I'm sorry.                      8   BY MR. HEGARTY:
        9         Q. You refer over on Page 25 in        9        Q. You did not rely on this
       10    the fourth paragraph to an abstract and    10   portion of the FDA's letter for purposes
       11    other material by Dr. Harper and           11   of your opinions in this case, correct?
       12    Dr. Saed, correct?                         12            MS. O'DELL: Regarding the
       13         A. Yes. In the last -- in the         13        asbestos testing?
       14    last paragraph, in the last sentence.      14   BY MR. HEGARTY:
       15         Q. And none of those                  15        Q. The portion that I just
       16    publications refer to testing using        16   referred you to, the top two paragraphs
       17    Johnson's Baby Powder, correct?            17   at Page 3.
       18             MS. O'DELL: Objection to          18        A. They do not prove that all
       19         form.                                 19   talc-containing cosmetic products
       20             THE WITNESS: To my                20   currently marketed in the United States
       21         knowledge, no, but I would have to    21   are free of asbestos. Is that --
       22         look at the paper to be absolutely    22        Q. Yes.
       23         sure. But they did use talc,          23        A. Okay. And the question was?
       24         yes -- talcum powder.                 24        Q. You did not refer to that

                                          Page 539                                        Page 541
        1    BY MR. HEGARTY:                             1   statement in your report, correct?
        2         Q. Can you cite for me any             2         A. That is correct, yes.
        3    animal or cell studies that you reviewed    3         Q. Also you did not cite on
        4    for purposes of preparing your report       4   Page 5 in your report the statement that
        5    that tested Johnson's Baby Powder other     5   "it is, therefore, plausible that
        6    than Dr. Saed's recent manuscript?          6   perineal talc and other particulate that
        7         A. I know I have, I just can't         7   reaches the endometrial cavity, et
        8    recall.                                     8   cetera, may elicit foreign body-type
        9             You are talking about              9   reaction and inflammatory response that
       10    publications, correct?                     10   in some exposed women may progress to
       11         Q. Yes. That you've cited in          11   epithelial cancers."
       12    your report.                               12             You did not cite that
       13         A. I can't find it at the             13   sentence in your report either, correct?
       14    moment, so I would have to say no.         14         A. I did not --
       15         Q. Did you find Exhibit 33, the       15             MS. O'DELL: Objection to
       16    FDA's response letter to Dr. Epstein.      16         form.
       17         A. Thank you.                         17             THE WITNESS: I did not cite
       18         Q. You were referred to Page 3        18         that sentence in my report either.
       19    in FDA's statement with regard to its      19         However, this document was in
       20    testing of samples of cosmetic grade raw   20         my -- in my citations in the
       21    material talc and cosmetic products for    21         overall reliance -- reliance
       22    asbestos?                                  22         document.
       23         A. Yes, I did.                        23   BY MR. HEGARTY:
       24         Q. You did not refer to any of        24         Q. With regard to the draft

                                                              136 (Pages 538 to 541)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 281 of 366 PageID:
                                   75636

                                    Judith Zelikoff, Ph.D.
                                          Page 542                                        Page 544
        1    screening assessment by Canada, Canada      1            "The specific mechanisms and
        2    employs a precautionary principle. Are      2   cascade of molecular events by which talc
        3    you aware of that?                          3   might cause ovarian cancer have not been
        4         A. Yes.                                4   identified."
        5         Q. Do you know what a                  5            MS. O'DELL: Wait. Do you
        6    precautionary principle is?                 6       mind showing Dr. Zelikoff?
        7         A. I do know what a                    7            MR. HEGARTY: Well, then I
        8    precaution --                               8       won't have -- I'm just reading
        9         Q. What is it?                         9       this statement.
       10         A. A precautionary principle is       10            MS. O'DELL: Well, but if
       11    one where you -- in my -- in my opinion    11       you're reading from the draft
       12    and what -- to my knowledge, it's a        12       assessment --
       13    principle in which you use every           13            MR. HEGARTY: You know what,
       14    precaution in terms of assessment, in      14       I -- this is the only copy I have.
       15    terms of use in animal models and human    15       If you want to hand me your copy.
       16    models. You follow precaution.             16            MR. TISI: I have my copy.
       17         Q. Okay. The draft screenings         17       It has my notes on it. If you...
       18    assessment, Exhibit Number 9, contains     18            Do you want it?
       19    the following statement -- and I only --   19            MS. O'DELL: You're welcome
       20    I only have your copy.                     20       to my copy.
       21         A. Oh okay.                           21            MR. HEGARTY: Thank you.
       22         Q. I'm going to read it to you        22   BY MR. HEGARTY:
       23    and tell me whether you agree with it.     23       Q. Page 18, second paragraph.
       24         A. Okay.                              24   I was on Page 18, Doctor.

                                          Page 543                                        Page 545
        1         Q. "The etiology of most               1        A. You handed it to me like
        2    ovarian tumors in general has not been      2   this, sir.
        3    well established."                          3        Q. Right. On page -- I'm
        4             MS. O'DELL: What page are          4   sorry, Page 21.
        5         you on, please?                        5        A. This is Page 21.
        6             MR. HEGARTY: Page 18.              6        Q. Sorry. Page 21, second
        7    BY MR. HEGARTY:                             7   paragraph. The statement at the end
        8         Q. Do you agree with that              8   reads, "However, the specific mechanisms
        9    statement?                                  9   and cascade of molecular events by which
       10         A. Please read it again.              10   talc might cause ovarian cancer have not
       11         Q. "The etiology of most              11   been identified."
       12    ovarian tumors in general has not been     12              Do you agree with that
       13    well established."                         13   statement?
       14         A. The etiology is -- has not         14              MS. O'DELL: Objection to
       15    been well established. But it has been     15        form.
       16    studied. But there -- okay. I'm done.      16              THE WITNESS: That's a
       17         Q. The -- on page -- strike           17        statement here.
       18    that. On Page 21 --                        18   BY MR. HEGARTY:
       19         A. Of my report?                      19        Q. Do you agree with that
       20         Q. No, of the --                      20   statement?
       21         A. Health Canada.                     21        A. Oh, I'm sorry. I'm sorry,
       22         Q. -- health assessment states        22   I've lost -- Page 21, what --
       23    the following statement and tell me        23        Q. Page 21, second paragraph --
       24    whether you agree with it.                 24        A. -- what paragraph?

                                                               137 (Pages 542 to 545)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 282 of 366 PageID:
                                   75637

                                    Judith Zelikoff, Ph.D.
                                           Page 546                                        Page 548
        1              Under --                           1   today it's not -- you're not using it to
        2         Q. Last two lines.                      2   inform your opinions, correct?
        3         A. Under --                             3        A. It is -- it is support and
        4         Q. Under -- in the biologic             4   validation of my opinions.
        5    plausibility section.                        5        Q. You referenced IARC and its
        6         A. I see it. Thank you.                 6   designation of asbestos. What has IARC
        7         Q. It read -- the statement             7   designated talc for genital uses as?
        8    reads: The specific mechanisms and           8            MS. O'DELL: Objection.
        9    cascade of molecular events by which talc    9            THE WITNESS: I -- in -- in
       10    might cause ovarian cancer have not been    10        terms of classification, may I
       11    identified.                                 11        look at the document?
       12              Do you agree with that            12   BY MR. HEGARTY:
       13    statement?                                  13        Q. Well, they've designated
       14         A. Yes, they have not been             14   talc used --
       15    clearly and conclusively identified.        15        A. Fibrous -- fibrous --
       16         Q. But that's not what that            16        Q. -- for perineal use as 2B,
       17    sentence reads. My question was do you      17   correct?
       18    agree with the sentence that I just read    18        A. 2B, yes. Fibrous talc,
       19    to you.                                     19   correct.
       20         A. It is -- I think it's a             20        Q. You were asked about the
       21    sentence taken out of text.                 21   deposition of Robert Glenn, correct?
       22              Do I agree with the sentence      22        A. The past manager and
       23    as it is written? No. I would have to       23   director of NIOSH.
       24    add the words, "have not been clearly       24        Q. Yes.

                                           Page 547                                        Page 549
        1    identified."                                 1         A. Yes.
        2        Q. So you don't agree with               2         Q. Did you read the entirety of
        3    everything in the --                         3   his deposition?
        4        A. Or established.                       4         A. No, I did not.
        5        Q. So you don't agree with               5         Q. Did you agree with
        6    everything in Health Canada's risk           6   everything he said in his deposition?
        7    assessment, correct?                         7         A. I said I did not read the
        8             MS. O'DELL: Objection to            8   entirety. I can't answer.
        9        form.                                    9             (Document marked for
       10             THE WITNESS: I -- I do not         10         identification as Exhibit
       11        agree with this sentence, correct.      11         Zelikoff-49.)
       12    BY MR. HEGARTY:                             12   BY MR. HEGARTY:
       13        Q. You do rely on, for purposes         13         Q. I'm going to mark as
       14    of your opinions in this case, the draft    14   Exhibit 49, portions of the deposition of
       15    screening assessment, correct?              15   Dr. Robert Glenn. If you turn to the
       16             MS. O'DELL: Objection.             16   first page of that exhibit, Page 482.
       17             THE WITNESS: No. That came         17         A. Page 482, yes.
       18        out well after I handed in my           18         Q. Yes. Mr. Glenn was asked in
       19        final report, so it was not used        19   the middle of the page, Lines 12 to 14,
       20        to inform my opinion. It was            20   "Has the data also showed that talcum
       21        supporting validation for my            21   powder is not cytotoxic, meaning it
       22        opinion.                                22   doesn't damage cells?"
       23    BY MR. HEGARTY:                             23             Mr. Glenn answer's, "Yes."
       24        Q. So still -- still through            24         A. Yes.

                                                               138 (Pages 546 to 549)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 283 of 366 PageID:
                                   75638

                                    Judith Zelikoff, Ph.D.
                                           Page 550                                         Page 552
        1         Q. Did you cite that portion of         1   shows that talcum powder is not
        2    his testimony in your expert report?         2   mutagenic? There is.
        3              MS. O'DELL: Objection to           3        Q. Did you cite that portion of
        4         form.                                   4   Mr. Glenn's testimony in your report?
        5              THE WITNESS: No.                   5        A. No, I did not.
        6    BY MR. HEGARTY:                              6        Q. If you look at the next page
        7         Q. Did you read it?                     7   at the top. The question, 2 through 7,
        8         A. I said that I did not read           8   with the answer on 8.
        9    this in its -- in its entirety.              9        A. Mm-hmm-hmm.
       10         Q. Do you agree with that              10        Q. Did you cite that question
       11    sentence?                                   11   and answer in your report?
       12              I'm sorry, do you agree with      12             MS. O'DELL: Object to the
       13    his answer to that question?                13        form.
       14              MS. O'DELL: Objection to          14             THE WITNESS: I did not cite
       15         form.                                  15        any of Dr. Glenn's information
       16              THE WITNESS: To the               16        because I -- I did not read it in
       17         question, "Has the data also           17        detail.
       18         showed that talcum powder is not       18   BY MR. HEGARTY:
       19         cytotoxic, meaning it doesn't          19        Q. You can put that aside.
       20         damage cells?"                         20             Is it your testimony that
       21              So if the question is do I        21   you're more knowledgeable regarding talc
       22         agree with that sentence -- do I       22   and ovarian cancer than Dr. Neel?
       23         agree with his answer of yes,          23        A. No, what my testimony is to
       24         there have been data showing, in       24   is that I have extensive knowledge in

                                           Page 551                                         Page 553
        1         certain circumstances, in certain       1   toxicological aspects, the cytotoxicity
        2         cell lines, that talcum powder has      2   of it, and the inflammatory responses
        3         not been shown to be cytotoxic at       3   from an -- from an academic perspective
        4         certain concentrations.                 4   and a biological mechanism perspective.
        5    BY MR. HEGARTY:                              5        Q. What is Dr. Neel's knowledge
        6         Q. Looking down at the next             6   of the toxicological aspects and the
        7    question, 18 through 21, he's asked, "And    7   toxicity of talc?
        8    has the data also showed that talcum         8        A. I do not know.
        9    powder is not mutagenic, meaning it          9        Q. What's his -- is he a
       10    doesn't mutate genes?"                      10   cancer -- strike that.
       11             "Answer: Yes."                     11             He is a cancer biologist,
       12             Do you agree with his answer       12   correct?
       13    to that question?                           13             MS. O'DELL: Objection to
       14         A. I do not agree. I think             14        form.
       15    that the -- I do not agree with his         15             THE WITNESS: The only thing
       16    answer. I think that his -- that the        16        I know about Dr. Neel is that he
       17    question has to be -- the question in my    17        is the director of the Cancer
       18    opinion, it was ambiguous. And I'm not      18        Institute. I am not familiar with
       19    sure what he was basing that on in terms    19        his research.
       20    of his response.                            20   BY MR. HEGARTY:
       21             If you -- if he was looking        21        Q. Have you ever evaluated his
       22    at mutagenicity in terms of Ames assays     22   qualifications?
       23    or yes, they have not shown mutagenicity.   23        A. No. I was not on the search
       24             So is there data that also         24   committee nor do I have access to his CV.

                                                               139 (Pages 550 to 553)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 284 of 366 PageID:
                                   75639

                                    Judith Zelikoff, Ph.D.
                                           Page 554                                        Page 556
        1         Q. You made statements                  1        Q. Are you a board-certified
        2    indicating that you believe that you are     2   oncologist?
        3    more knowledgeable than Dr. Neel             3        A. I am not, never claimed to
        4    regarding the toxicities of talc. Is         4   be.
        5    that true?                                   5        Q. Are you a board-certified
        6         A. What I do know is that he is         6   gynecologic oncologist?
        7    not a toxicologist.                          7            MS. O'DELL: Wait a minute.
        8         Q. Do you know what his area of         8            THE WITNESS: I am not, nor
        9    expertise is?                                9        have I ever claimed to be.
       10         A. He's -- OB/GYN and oncology.        10        Because --
       11         Q. Do you know what his level          11   BY MR. HEGARTY:
       12    of knowledge is in the area of              12        Q. You were asked -- you were
       13    toxicology?                                 13   asked about whether you could do --
       14         A. I do not.                           14   whether there could be studies looking at
       15         Q. Have you ever met him?              15   risk of cancer in women exposed to
       16         A. Yes, I have met him.                16   cobalt, chromium, and nickel. Do you
       17         Q. Have you ever talked to him         17   recall those questions?
       18    about his qualifications in the area of     18        A. I do.
       19    toxicology?                                 19        Q. Studies looking at exposures
       20         A. No, I have not. But I know          20   of metals in humans are done all the
       21    he is not a -- he is not considered a       21   time. They are called retrospective
       22    toxicologist by his peers, by colleagues.   22   case-control studies, correct?
       23    He is known as a cancer oncologist. He      23        A. They are not done in a
       24    is not known or recognized as a             24   laboratory nor is there insertion of

                                           Page 555                                        Page 557
        1    toxicologist.                                1   those metals into humans.
        2         Q. Who have you ever asked --           2        Q. That's not my question. You
        3    who have you ever spoken with regarding      3   said -- you testified that there is no
        4    to Dr. Neel's qualifications as it           4   way that you can do a study looking at
        5    relates to toxicology?                       5   the effect of nickel in humans. That's
        6         A. I have not spoken to him             6   not true, is it?
        7    about his qualifications. My answer          7            MS. O'DELL: Objection to
        8    comes from the fact that I am an active      8        form. Misstates --
        9    member in the Society of Toxicology, but     9            THE WITNESS: I'm sorry.
       10    nationwide and internationally. And also    10            MS. O'DELL: -- the question
       11    I'm an active member in the International   11        and the testimony.
       12    Union of Toxicology and active member in    12            Excuse me, Doctor.
       13    the other -- other toxicology programs      13            THE WITNESS: I was -- I was
       14    and societies.                              14        talking about clinical studies and
       15             And I have -- I have not           15        studies in people.
       16    seen Dr. Neel at any of these, nor have I   16   BY MR. HEGARTY:
       17    heard of him being spoken at or about in    17        Q. There are retrospective
       18    these -- in these meetings.                 18   case-control studies looking at exposure
       19         Q. Do you go to OB/GYN                 19   of humans to nickel, correct?
       20    conferences?                                20        A. That is -- those are
       21         A. I do not.                           21   epidemiological studies. My
       22         Q. Do you go to oncology               22   understanding of the question that was
       23    conferences?                                23   asked of me had to do with laboratory
       24         A. I do not.                           24   studies and intentional exposure.

                                                               140 (Pages 554 to 557)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 285 of 366 PageID:
                                   75640

                                    Judith Zelikoff, Ph.D.
                                          Page 558                                          Page 560
        1         Q. Well, can you cite for me            1        is not unethical, but to use it in
        2    any epidemiologic studies showing an         2        a clinical study would be
        3    increased risk of ovarian cancer in women    3        extremely unethical.
        4    exposed to nickel?                           4   BY MR. HEGARTY:
        5         A. Nickel alone, I have not             5        Q. It would also be appropriate
        6    reviewed that. But I do know the IARC        6   to do cell studies looking at nickel,
        7    document talks about it as a Class 1         7   cobalt, and chromium in ovarian cancer
        8    carcinogen.                                  8   cells, correct?
        9         Q. Can you cite for me, any             9            MS. O'DELL: Objection to
       10    retrospective case-control studies,         10        form.
       11    showing an increased risk of ovarian        11            THE WITNESS: Alone -- I'm
       12    cancer in women exposed to chromium?        12        sorry. Alone or in combination?
       13         A. Chromium alone?                     13   BY MR. HEGARTY:
       14         Q. Yes.                                14        Q. Or all of the above.
       15         A. No, I cannot.                       15        A. Your question was it would
       16         Q. Same question as to cobalt?         16   be unethical to do cell culture studies?
       17         A. No, I cannot.                       17        Q. Would it be unethical in
       18         Q. Can you cite for me any             18   your opinion?
       19    case-control studies looking at whether     19        A. Not to do cell culture
       20    there's an increased risk of ovarian        20   studies.
       21    cancer in women exposed to nickel,          21        Q. Have such studies been done?
       22    chromium, and cobalt in combination?        22        A. I'm not sure about the
       23         A. I hope I understand your            23   combination. There have been studies, a
       24    question right. But what I am -- what       24   number of studies that have been done in

                                          Page 559                                          Page 561
        1    I'm saying is yes, there is an increased     1   cell culture. I can't cite them all,
        2    risk in exposure to talc because talc        2   because there are numerous that have
        3    contains, according to the J&J documents,    3   looked at nickel or cobalt or chromium in
        4    and according to other studies that just     4   cell culture studies, and many that have
        5    looked at talcum powder products,            5   been done in my own laboratory.
        6    contains nickel, cobalt, and chromium in     6        Q. Can you cite to me any such
        7    elevated levels.                             7   studies that have done those tests in
        8         Q. My question is specific to           8   ovarian cells?
        9    looking only at exposure to cobalt,          9        A. I'm sorry. When you say
       10    nickel, and chromium. Can you cite for      10   "any such studies," do you mean cell
       11    me any case-control studies showing an      11   culture studies?
       12    increased risk of ovarian cancer in women   12        Q. Yes.
       13    exposed to those three metals in            13        A. Well, the Shukla study, the
       14    combination?                                14   Saed studies.
       15         A. No, I can't.                        15        Q. So the Shukla and Saed
       16             MS. O'DELL: Objection.             16   studies applied nickel, chromium and
       17         Asked and answered.                    17   cobalt to the cells?
       18    BY MR. HEGARTY:                             18        A. I'm sorry. I'm sorry. I
       19         Q. It would not be unethical to        19   thought you said talcum powder.
       20    do such a case-control study, correct?      20        Q. Doctor, listen to my
       21             MS. O'DELL: Objection.             21   question. My question is can, you cite
       22             THE WITNESS: A case-control        22   for me any culture studies that have
       23         study or an epidemiological study      23   applied nickel, cobalt, or chromium or
       24         which uses data from populations       24   all three to ovarian cancer cells?

                                                               141 (Pages 558 to 561)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 286 of 366 PageID:
                                   75641

                                    Judith Zelikoff, Ph.D.
                                          Page 562                                       Page 564
        1         A. I cannot -- I have not seen         1   of the first page on the right-hand
        2    that literature, no.                        2   column.
        3         Q. Those studies could be done,        3        A. Yes.
        4    correct?                                    4        Q. The authors state that
        5         A. Those studies could be done.        5   the -- "First, the association is a
        6         Q. They could be done in your          6   relatively weak" -- "a relatively weak
        7    laboratory, couldn't they?                  7   one; i.e., summary relative risk of
        8         A. I have the facilities to            8   approximately 1.3."
        9    carry out those studies.                    9            Do you agree with that
       10         Q. You have not done those            10   statement?
       11    studies?                                   11            MS. O'DELL: Objection to
       12              MS. O'DELL: Objection to         12        form.
       13         form.                                 13            THE WITNESS: Number one, I
       14              THE WITNESS: Correct.            14        am not an epidemiologist so I'm
       15    BY MR. HEGARTY:                            15        not testifying to epidemiological
       16         Q. You cited to the Cramer 2007       16        odds ratio, whether that is weak
       17    study, which I'm marking as Exhibit        17        or not weak.
       18    Number 40.                                 18   BY MR. HEGARTY:
       19              (Whereupon, a discussion was     19        Q. The next sentence says,
       20         held off the stenographic record.)    20   "Second, no clear increase in risk or
       21              (Document marked for             21   duration of use has been found in most
       22         identification as Exhibit             22   studies."
       23         Zelikoff-50.)                         23            Do you agree with that
       24    BY MR. HEGARTY:                            24   sentence?

                                          Page 563                                       Page 565
        1         Q. I'm marking as Exhibit              1           MS. O'DELL: Objection to
        2    Number 50 the Cramer 2007 study that you    2       form.
        3    referred to in response to counsel's        3           THE WITNESS: There are many
        4    questions.                                  4       studies that do show that duration
        5         A. Mm-hmm-hmm.                         5       plays a role.
        6             MS. O'DELL: Objection.             6   BY MR. HEGARTY:
        7         That misstates the record. I           7       Q. That's not my question. My
        8         never referred to the Cramer           8   question is do you agree with that
        9         study.                                 9   sentence?
       10             MR. HEGARTY: She cited it         10       A. I see.
       11         in response to your questions.        11           MS. O'DELL: Objection to
       12             MS. O'DELL: No, she did           12       form. Asked and answered.
       13         not. But you may ask questions        13           THE WITNESS: I do not agree
       14         about it, but that's not a proper.    14       that there is no clear -- there is
       15             MR. HEGARTY: Well, she            15       some evidence that leads to an
       16         cited the Cramer 2007 article.        16       increase in risk associated with
       17    BY MR. HEGARTY:                            17       duration of use.
       18         Q. Do you find this article to        18   BY MR. HEGARTY:
       19    be a credible source of information for    19       Q. So you don't agree with that
       20    you?                                       20   sentence?
       21         A. It was published in                21       A. So I do not completely agree
       22    Obstetrics and Gynecology. That is good    22   with that sentence.
       23    journal, reputable journal.                23       Q. The next sentence reads,
       24         Q. And if you look at the top         24   "Third, the ability of talc used in the

                                                              142 (Pages 562 to 565)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 287 of 366 PageID:
                                   75642

                                    Judith Zelikoff, Ph.D.
                                          Page 566                                         Page 568
        1    genital area to enter the pelvic cavity      1        findings that led to inflammation
        2    has not been conclusively proven."           2        including an increased number of
        3             Do you agree with that              3        follicles, and that goes to
        4    sentence?                                    4        biological plausibility.
        5        A. None of these are -- none of          5   BY MR. HEGARTY:
        6    these sentences are cited or referenced      6        Q. Did you agree with that
        7    by the way.                                  7   finding?
        8             It has not been conclusively        8        A. That there were increased
        9    proven. I agree with the sentence.           9   number of follicles?
       10             May I --                           10        Q. Yes.
       11        Q. You cited as well to the             11        A. And the histopathology?
       12    Keskin paper. You cited that several        12            That there was foreign body
       13    times, including in response to counsel's   13   reactions and that there were infections,
       14    questions.                                  14   I agree with those studies.
       15        A. Yes, I did. I recall that.           15        Q. Do you agree with the
       16        Q. The Keskin paper was an              16   statement that the author made that this
       17    animal study that did not show tumor        17   effect seems to be in the form of foreign
       18    formation from application of talc,         18   body reaction or infection rather than a
       19    correct?                                    19   neoplastic change?
       20             MS. O'DELL: Object to the          20        A. I'm sorry, could you tell me
       21        form.                                   21   where that might be?
       22             THE WITNESS: If you allow          22        Q. Again, in the conclusion
       23        me to specifically look for that,       23   section that we have just been looking
       24        please.                                 24   at.

                                          Page 567                                         Page 569
        1    BY MR. HEGARTY:                              1        A. Mm-hmm-hmm.
        2         Q. I'll mark it as Exhibit 51.          2            Well, a foreign body
        3             (Document marked for                3   reaction can -- is an immunological
        4         identification as Exhibit               4   response. Whether it's considered a
        5         Zelikoff-51.)                           5   neoplastic change, likely not. A foreign
        6    BY MR. HEGARTY:                              6   body reaction does not necessarily -- is
        7         Q. The Keskin paper over in the         7   not necessarily known as a neoplastic
        8    conclusion section on Page 927 says that     8   response, correct.
        9    with regard to the reported effects of       9        Q. And you -- you didn't cite
       10    talc, "This effect seems to be in the       10   that statement from the Keskin paper in
       11    form of foreign body reaction or            11   your report, did you?
       12    infection rather than a neoplastic          12        A. Not that I recall.
       13    change."                                    13        Q. Do you agree with the --
       14         A. Which is inflammation.              14        A. But my -- my role was to
       15         Q. And in this study it showed         15   define biological plausibility. So what
       16    no neoplastic changes in any of the         16   I did -- what I did put in my report were
       17    animal study, correct?                      17   the things that indicated to me that
       18             MS. O'DELL: Object to the          18   there was inflammation.
       19         form.                                  19        Q. You agree with the
       20             You may answer.                    20   conclusions from the Taher paper?
       21             THE WITNESS: It was -- he          21            MS. O'DELL: Object to the
       22         did not find or they did not find      22        form.
       23         that there was neoplastic changes,     23            Doctor, it's in this stack.
       24         but they did find a number of          24            THE WITNESS: Okay. Thank

                                                               143 (Pages 566 to 569)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 288 of 366 PageID:
                                   75643

                                  Judith Zelikoff, Ph.D.
                                        Page 570                                         Page 572
        1         you. Oh, thank you.                  1   counsel has it. I'll hand it to you. If
        2    BY MR. HEGARTY:                           2   you'll --
        3         Q. Second page, Line 34, on the      3         A. Oh. You mean the draft
        4    second page.                              4   screening assessment?
        5         A. In the abstract?                  5         Q. Yes. Sorry, I was going to
        6         Q. Yes.                              6   it by the wrong name. It is Exhibit --
        7             MS. O'DELL: Give me just a       7         A. 9.
        8         moment, I'm sorry. I'll pull out     8         Q. Thank you.
        9         my copy.                             9             If you'll turn to Page 16.
       10             THE WITNESS: I'm sorry,         10         A. I see that, Keskin et al.,
       11         should I wait?                      11   2009, it's the first statement under
       12             MR. HEGARTY: I think Leigh      12   human studies.
       13         wants you to wait.                  13         Q. Yes. Right above that when
       14             MS. O'DELL: Okay. Go            14   it refers to the Keskin and colleagues
       15         ahead. I'm sorry.                   15   2009. What was the conclusion that the
       16    BY MR. HEGARTY:                          16   sentence beginning "while no cancer"? Do
       17         Q. Do you agree with the            17   you see that above human studies on
       18    statement made in Line 34?               18   Page 16?
       19         A. Perineal use of talc powder      19         A. The conclusion, "while no
       20    is a possible cause of human ovarian     20   cancer"?
       21    cancer?                                  21         Q. Yes.
       22         Q. Yes.                             22         A. "While no cancer/precancer
       23         A. I believe that it's more         23   effects were observed, Keskin and
       24    than a possible cause. I believe that    24   colleagues noted the study's duration may

                                        Page 571                                         Page 573
        1    there's biological plausibility which     1   have been too short to note these types
        2    shows that it -- it could be, it is       2   of effects."
        3    linked to human ovarian cancer.           3        Q. And in regard to -- and
        4          Q. So you don't -- you disagree     4   that -- that statement's consistent with
        5    with that statement?                      5   the statements that you've included in
        6          A. One could say that, taking       6   your report, fair?
        7    it literally, that it is certainly a      7             MR. HEGARTY: Objection to
        8    possible cause. I just believe that it    8        form.
        9    is greater than a possible cause.         9             THE WITNESS: Yeah.
       10              MR. HEGARTY: Okay. Thank       10   BY MS. O'DELL:
       11          you. I think that's it for my      11        Q. And then secondly you were
       12          time.                              12   asked a question, several questions about
       13              MS. O'DELL: Okay.              13   the actual Keskin paper itself. And I
       14                  - - -                      14   think it's still in front of you. Do you
       15                 EXAMINATION                 15   see that? It's Exhibit 51. Yeah,
       16                  - - -                      16   Exhibit 51.
       17    BY MS. O'DELL:                           17        A. This is it, thank you.
       18          Q. Doctor, I just have two         18        Q. Okay. And I'll turn you to
       19    questions for you.                       19   the conclusion please, Dr. Zelikoff.
       20              I think you had the causal     20        A. That is on Page 930?
       21    assessment in front of you.              21        Q. It's 927 actually. One of
       22          A. Do you mean the Taher?          22   the conclusions, at least the ones I -- I
       23          Q. No, ma'am. The actual           23   was looking at.
       24    causal assessment -- actually I think    24             927. Do you see that?

                                                             144 (Pages 570 to 573)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 289 of 366 PageID:
                                   75644

                                    Judith Zelikoff, Ph.D.
                                           Page 574                                        Page 576
        1         A. I see.                               1   dissolved in DMSO.
        2         Q. And counsel directed your            2        Q. Is -- is the data included
        3    attention to the sentence that said,         3   in this manuscript, was that part of
        4    "However this effect seems to be in the      4   the -- the data you relied on in abstract
        5    form of foreign body reaction or             5   in reaching your opinions in this case?
        6    infection rather than neoplastic change."    6        A. In abstract form, yes. That
        7             Do you see that? Recall             7   was all that was -- that was available
        8    those questions --                           8   since this only came out a few weeks ago.
        9         A. In the conclusion section?           9            MS. O'DELL: Okay. I have
       10         Q. Yes.                                10        nothing further.
       11         A. On Page --                          11            THE WITNESS: Accepted for
       12         Q. 927.                                12        E-press a few weeks ago.
       13         A. "However this effect seems          13            MS. O'DELL: Okay. I have
       14    to be in the form of a foreign body         14        nothing further.
       15    reaction or infection rather than a         15               - - -
       16    neoplastic change."                         16             EXAMINATION
       17             Yes, I see that.                   17               - - -
       18         Q. And if you'll look to the           18   BY MR. HEGARTY:
       19    next sentence, what also did the authors    19        Q. Dr. Zelikoff, in looking at
       20    conclude?                                   20   the Keskin paper, in -- in particular at
       21         A. "Results of previous studies        21   the portion of the conclusions section
       22    are in favor of a neoplastic effect,        22   that counsel asked you to read --
       23    particularly in the ovaries."               23        A. Yes.
       24             And they conclude that more        24        Q. -- the results of previous

                                           Page 575                                        Page 577
        1    experimental and clinical studies are        1   studies, that sentence?
        2    warranted.                                   2        A. Yes, I see it on Page 927.
        3          Q. All right. And one other            3        Q. Can you cite for me any
        4    question. You were asked about the Saed      4   previous studies to Keskin which were in
        5    studies regarding talc and cell culture,     5   favor of a neoplastic effect?
        6    both ovarian cancer cells and regular        6        A. Culture cell studies that
        7    cells.                                       7   have looked at proliferation, increased
        8          A. Yes. I recall.                      8   proliferation which was seen in the Saed
        9          Q. And you were asked earlier          9   studies and in the abstract.
       10    about the manuscript that's been marked     10   Proliferation is one hallmark of the
       11    as --                                       11   carcinogenic process.
       12          A. Exhibit 8.                         12        Q. Doctor, listen to my
       13          Q. -- Exhibit 8.                      13   question. This publication was in 2008.
       14             Is it -- is it -- turn to          14        A. Okay. I'm sorry.
       15    Page 5 of the manuscript please.            15            MS. O'DELL: 2009 I believe,
       16          A. I see it.                          16        but go ahead.
       17         Q. And looking at the top, did         17            THE WITNESS: 2009.
       18    Dr. Saed use Johnson's Baby Powder as a     18   BY MR. HEGARTY:
       19    part of the -- his treatment of cells?      19        Q. Received December 2009.
       20          A. Yes. It's Page 5, top,             20   Published 2009.
       21    treatment of cells, talcum powder from      21            The sentence reads: The
       22    Fisher -- Fisher Scientific or Baby         22   results of previous studies before 2009
       23    Powder from Johnson & Johnson, and the      23   are in favor of neoplastic effect.
       24    numbers of the lots are given were          24            What studies are they

                                                               145 (Pages 574 to 577)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 290 of 366 PageID:
                                   75645

                                              Judith Zelikoff, Ph.D.
                                                       Page 578                                      Page 580
        1     referring to?                                        1        INSTRUCTIONS TO WITNESS
        2          A. I don't know because it's                    2
        3     not referenced.                                      3            Please read your deposition
        4              MR. HEGARTY: I don't have                   4   over carefully and make any necessary
        5          any additional questions.                       5   corrections. You should state the reason
        6              MS. O'DELL: Nothing                         6   in the appropriate space on the errata
        7          further, Doctor.                                7   sheet for any corrections that are made.
        8              THE VIDEOGRAPHER: Stand by                  8            After doing so, please sign
        9          please. This marks the end of                   9   the errata sheet and date it.
       10          today's deposition. The time is                10            You are signing same subject
       11          9:03 p m. Off the record.                      11   to the changes you have noted on the
       12              (Excused.)                                 12   errata sheet, which will be attached to
       13              (Deposition concluded at                   13   your deposition.
       14          approximately 9:03 p m.)                       14            It is imperative that you
       15                                                         15   return the original errata sheet to the
       16                                                         16   deposing attorney within thirty (30) days
       17                                                         17   of receipt of the deposition transcript
       18                                                         18   by you. If you fail to do so, the
       19                                                         19   deposition transcript may be deemed to be
       20                                                         20   accurate and may be used in court.
       21                                                         21
       22                                                         22
       23                                                         23
       24                                                         24

                                                       Page 579                                      Page 581
        1                                                          1         - - - - - -
        2            CERTIFICATE                                              ERRATA
        3
        4                                                          2         - - - - - -
        5           I HEREBY CERTIFY that the                      3
            witness was duly sworn by me and that the              4   PAGE LINE CHANGE
        6   deposition is a true record of the
            testimony given by the witness.
                                                                   5   ____ ____ ____________________________
        7                                                          6     REASON: ____________________________
                    It was requested before                        7   ____ ____ ____________________________
        8   completion of the deposition that the                  8     REASON: ____________________________
            witness, JUDITH ZELIKOFF Ph.D., have the
        9   opportunity to read and sign the                       9   ____ ____ ____________________________
            deposition transcript.                                10     REASON: ____________________________
       10                                                         11   ____ ____ ____________________________
       11
       12       __________________________________
                                                                  12     REASON: ____________________________
                MICHELLE L. GRAY,                                 13   ____ ____ ____________________________
       13       A Registered Professional                         14     REASON: ____________________________
                Reporter, Certified Shorthand                     15   ____ ____ ____________________________
       14       Reporter, Certified Realtime
                Reporter and Notary Public                        16     REASON: ____________________________
       15       Dated: January 23, 2019                           17   ____ ____ ____________________________
       16                                                         18     REASON: ____________________________
       17                                                         19   ____ ____ ____________________________
       18             (The foregoing certification
       19   of this transcript does not apply to any              20     REASON: ____________________________
       20   reproduction of the same by any means,                21   ____ ____ ____________________________
       21   unless under the direct control and/or                22     REASON: ____________________________
       22   supervision of the certifying reporter.)
       23                                                         23   ____ ____ ____________________________
       24                                                         24     REASON: ____________________________


                                                                         146 (Pages 578 to 581)
                    Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 291 of 366 PageID:
                                   75646

                                         Judith Zelikoff, Ph.D.
                                                 Page 582
        1
        2       ACKNOWLEDGMENT OF DEPONENT
        3
        4           I,_____________________, do
        5   hereby certify that I have read the
        6   foregoing pages, 1 - 583, and that the
        7   same is a correct transcription of the
        8   answers given by me to the questions
        9   therein propounded, except for the
       10   corrections or changes in form or
       11   substance, if any, noted in the attached
       12   Errata Sheet.
       13
       14
       15   _______________________________________
       16   JUDITH ZELIKOFF Ph.D.        DATE
       17
       18
       19   Subscribed and sworn
            to before me this
       20   _____ day of ______________, 20____.
       21   My commission expires:______________
       22
            ____________________________________
       23   Notary Public
       24


                                                 Page 583
        1          LAWYER'S NOTES
        2   PAGE LINE
        3   ____ ____ ____________________________
        4   ____ ____ ____________________________
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       22   ____ ____ ____________________________
       23   ____ ____ ____________________________
       24   ____ ____ ____________________________


                                                            147 (Pages 582 to 583)
                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 292 of 366 PageID:
                                     75647
                                   Judith Zelikoff, Ph.D.
                                                                                              Page 584

        A             acceptable           act                   86:5 268:2 284:24     agency
a.m                   101:6                310:13,17 326:23      addressed             170:9
1:15 13:6 75:3,8      acceptance           action                487:2                 agent
  125:3,6             158:11,13,16         14:6 24:13 151:10     addresses             237:8 262:15
abide                   533:20               381:21 400:15       352:2                   325:11 365:22
158:17                accepted               502:11              addressing            agents
ability               97:18 112:4 156:18   activating            158:20                166:3
86:6 190:2 240:4,7      156:22 157:3,11    310:5                 adequate              aging
  282:19 309:11,12      157:20 176:9       activation            79:6,19 80:9 82:14    237:9
  345:2 412:3           347:12 355:11,18   104:12,20 310:9         261:14              ago
  465:13 487:4          489:12 576:11      active                adhere                21:18 44:23 57:20
  511:16 565:24       access               326:4 421:16 555:8    158:17                  162:7 173:12
able                  8:18 9:7 54:11         555:11,12           adjacent                249:22 258:4,21
161:13 184:22           56:16 72:15        activity              60:2                    387:19 451:9
  311:23 385:20,24      147:13 172:15      344:16 364:1          administer              452:21 524:23
  389:9 537:17          203:14 276:17        477:13              13:16                   576:8,12
absolutely              332:5 339:23       acts                  administered          agree
201:18 207:18           341:23 553:24      509:21                197:14                20:3,15 21:11 68:2
  326:11 489:4        accessible           actual                Administration          68:12 79:10,21,23
  537:24 538:22       204:13 247:20        420:23 537:19         453:2                   80:2,3 81:7,20
absorbed              accumulating           571:23 573:13       adrenal                 82:2,7,9,12 96:8
333:20                238:17               acute                 153:16                  99:17 100:7,14
absorption            accuracy             311:3 325:5,8         advance                 109:7 133:22
284:18 465:4          65:21 66:14 70:11      327:8,15 328:4      133:7                   135:12 201:11,24
abstract                70:16 412:24         354:19 355:1        adverse                 228:12 244:11
56:16,21 104:6,10     accurate               358:23 359:1        31:8 120:11,13          245:10 257:14
  104:16 122:11       45:7 580:20          add                     264:4 368:13,21       262:6,17 289:2,5
  208:11 374:11,18    accused              115:12 127:20           369:18 370:11         347:11,20 375:14
  406:11 407:3,6      112:17                 201:15 336:22         406:18 407:7          385:9 397:1,16,18
  470:15 471:14       acetaminophen          394:15 395:23         519:21                398:3 400:6 401:9
  472:8 538:10        331:15                 450:7 478:18        advisory                401:18 414:19
  570:5 576:4,6       ACGIH                  546:24              15:12,16 67:12          416:16,16 425:5
  577:9               10:15                added                   133:12 149:20         425:15 426:22
abstracts             acknowledge          57:5 62:13 74:1         154:1 169:24          427:5,14,19 437:9
54:23 136:12          100:18 117:16          90:4 126:6 389:11     435:22 444:6          458:11,13 459:2
  445:21 493:6        acknowledgement        395:16              aerosols                470:6 471:2,4
academic              79:19                adding                166:15 185:16           542:23 543:8,24
6:21 78:21 79:1       acknowledging        271:7 381:24          aesthetics              545:12,19 546:12
  81:19 445:9,16      96:19 98:17          addition              160:12                  546:18,22 547:2,5
  448:13 449:17       acknowledgment       115:20 202:3 203:3    afindeis@napolil...     547:11 549:5
  519:4 553:3         79:7 80:10 82:14       492:4               2:20                    550:10,12,22,23
academies               83:1 103:9 108:7   additional            afraid                  551:12,14,15
149:23 444:3            114:10 115:2       17:9,15 23:23 38:5    173:11 335:4            564:9,23 565:8,13
Academy                 116:3 121:22         143:18 274:3        aftermath               565:19,21 566:3,9
215:9,16 220:3          212:15 582:2         336:22 388:18       260:10                  568:6,14,15
  444:4               acquired               391:5 578:5         agencies                569:13,19 570:17
                      86:8,15              address               182:16 316:9          agreed

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 293 of 366 PageID:
                                     75648
                                    Judith Zelikoff, Ph.D.
                                                                                            Page 585

  23:7,18,20 24:1     Alistair               404:8,22 405:19     81:2,6               217:6 218:13
  24:17 196:15        28:22                 amphiboles           answer                219:21 220:6
  398:2 423:1         alleged               273:5                12:5 26:7 38:19       221:11 316:20,22
  424:22              152:7,12              analogy               41:11 47:13 56:10    317:7 318:1,19
agreeing              ALLEN                 117:6                 56:12 154:18        answers
197:4 198:3           2:2                   analysis              163:11 178:20       366:21 582:8
agreement             allergic              37:4 45:20,22 46:4    182:12 199:10       anthophyllite
146:19 229:14         121:7,8                46:15,20 73:10       217:20 219:4        273:5,8 406:21
  401:14,16,16,17     allow                  130:23 131:6,7,11    220:7,16 222:15      407:10 449:9,15
agrees                188:23 209:14          149:14 202:10        226:12 228:2        anti-inflammatory
201:22                  211:10 215:20        203:9,10 241:8       234:22 235:2        470:12
ahead                   261:16 262:2         243:5,10 270:1,21    238:14 267:13,19    antibodies
110:7 233:22 234:8      335:5 566:22         271:19 292:1,8       274:21,23 285:10    350:10 351:4 352:4
  299:19 306:17       allowing               438:2,8 488:23       285:19 318:3,9      antibody
  404:6 454:7 468:4   319:3 420:6           analytical            323:8,16 324:15     352:5
  510:20 519:22       alloy                 455:3                 327:2,23 336:5,23   antigen
  528:23 570:15       123:17                analyze               337:5 338:10        325:10
  577:16              alphabetical          189:17 190:8,10       353:23 365:24       antioxidant
air                   51:13                  193:12 416:17,24     366:22 367:9        365:3 366:24
166:2,10 178:10,12    alterations            417:11,18 426:4      370:3 373:10         367:15,22 377:9
  186:12,14,14        11:10 478:11          analyzed              409:20 414:16        381:6
  224:1 257:17,18     altered               186:19 248:8 449:8    441:5 448:11        antioxidants
  257:19,24 258:11    485:6                  449:14               449:1 479:15        360:23 364:8
  259:1,5,23 261:10   AMA                   analyzing             482:6 483:12         366:12,15 473:8
  261:20 289:10,21    455:3                 375:19                484:1,6 519:11       473:10
  290:1,8,13,16,21    ambient               and/or                522:16 540:7        Anybody
  290:23 298:21       289:12 303:21         274:5 470:3 579:21    549:8 550:13,23     525:23
  303:13,20 304:10    ambiguous             animal                551:11,12,16        anytime
  304:16 305:19       551:18                137:10 138:7 156:8    552:8,11 555:7      392:12
  459:4,7,20 460:5    America                156:10 233:5         567:20              apart
  460:15,20           3:20 456:1             279:19 291:10       answer's             19:6 58:9,24 85:15
airborne              Ames                   295:9 309:18        549:23                241:24
166:4                 237:14 551:22          334:16 335:15       answered             apoptosis
airway                amosite                346:17 351:23       38:16 41:12 67:20    183:21 478:13
197:8                 179:24                 366:11 368:2,6       69:9 73:13 138:18   appear
airways               amount                 372:9,14 373:18      164:11,12 195:5     95:5 110:14 414:24
467:20                99:1 158:18 182:1      426:18 429:1,5       217:18 219:2,3,5    appearances
al                      253:18,23 266:1      464:11,13 465:9      221:17 241:20,22    2:1 3:1 4:1 13:13
63:23 406:3,16          288:4 292:6 296:7    505:23 539:3         243:8 285:17        appears
  407:20,21 472:4       365:8 510:1          542:15 566:17        293:1 310:19        17:5 63:9 78:24
  506:9 572:10        amounts                567:17               314:21 349:8         96:3,5 106:3
Alabama               292:12 316:4          animals               361:7 409:16         182:23 253:21,22
2:4                     372:21              294:1 295:19          440:14 465:23        382:17
ALASTAIR              amphibole              339:24 367:11        483:15 489:18       applicable
2:18                  110:15,18 178:16       378:19 464:18        490:5 518:6         78:23 112:12
Alice                   178:24 179:5,22      520:12               559:17 565:12        483:23
410:3 452:16            180:11 182:16       another's            answering            application

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 294 of 366 PageID:
                                     75649
                                    Judith Zelikoff, Ph.D.
                                                                                                Page 586

 288:12,20,21         18:15 229:16 497:3      398:12,17,17          260:12,23 261:2,4      164:19 166:20,24
 300:3 332:22           497:21                399:2,5 401:3         261:13,17 262:3        170:17,22 183:8
 333:14 334:5,11      area                    411:2 509:16          265:10 266:18,19       192:1 195:4 211:5
 334:18 335:2,22      76:24 153:21            535:13,18,24          268:7,23 269:2,5       211:16,20 212:2
 345:10 346:15          155:20 168:4          536:3 537:7,18        269:20 270:3,18        217:17 219:1
 370:9,22 372:16        176:22 183:24         563:16,18             270:22 271:19          229:4 241:20
 373:9,11 376:16        251:5 257:20,20     articles                273:1,4 274:6          243:8 256:18
 379:12 439:5,16        269:22 286:21       26:15 67:18 76:18       275:8,15,20 278:1      261:19,21 267:21
 510:3 566:18           298:16,16 300:4       77:4,14 78:6,11       307:19 328:17          275:11 293:1
applications            302:21 315:20         118:16,17 176:1,5     403:23 404:9,19        314:21 329:11
358:5,11                323:18 330:24         197:2 253:2           404:23 405:20          337:7 339:9 349:7
applied                 331:19 342:19         385:18,21 428:18      408:12,21 410:8,8      361:7 376:24
68:17 82:10 202:1       356:19,20 371:9       447:11 448:4          414:2 415:8,15,19      390:23 393:24
 279:20 297:17,21       371:10 490:19         534:6                 416:7,18 417:4,6       394:4,10,11
 298:1 320:1,12         492:2 514:17        asbestiform             417:13 449:9,15        401:13 409:16
 321:4,23 322:18        535:18 554:8,12     178:22,23 179:16        450:21 455:9           412:19 420:13
 323:1,12 324:9         554:18 566:1          182:18 243:21         456:5,6,13,21          422:22 436:17
 333:18,19 341:11     areas                   244:3,7,13,21,22      458:3,21 459:3,6       489:10,23 492:14
 371:7 428:1          55:2 257:16 258:6       245:11,19,22          459:12,22 460:4        492:19 494:19
 518:19 561:16,23       301:6 461:18          246:5,8,16,20,23      460:19 461:9,12        495:10 497:1,8
applies                 490:1 514:23          247:4,9,13 248:2      461:16,19,19           507:9,13 508:21
68:5 80:6 81:17,18    arose                   253:24 269:16         462:17 466:6           509:23 513:4,15
apply                 490:12                  270:18 273:1,3        485:12,13 491:10       513:18 515:2
69:1,3,13,15 82:3     ARPS                    275:21 296:6          495:6 496:24           517:19 524:1,9,12
 385:3 483:10         3:7                     406:20 407:10         498:2,14 510:1,2       525:12 531:4
 579:19               arranged                511:15                510:10,17 511:7        540:1 548:20
applying              54:19                 asbestiform-like        512:8,18,21 513:9      549:18 551:7
279:16 373:21         Arsenic               244:18,19               518:20 521:2           555:2 556:12,13
 439:11               9:20 457:11           asbestos                539:22 540:13,21       557:23 559:17
appreciate            art                   108:13 110:16,21        548:6                  565:12 573:12
235:11 495:17         252:24                  110:21 160:22       asbestos-containi...     575:4,9 576:22
approach              arthritis               161:4,15 162:10     459:14                 asking
67:8 77:11 375:12     347:23 348:2,5          162:23 163:6        asbestos-related       30:18 71:17 77:15
 375:15               article                 165:21,22 169:13    404:10 405:4,6,21        130:21 132:3
appropriate           61:7,19 62:3,6 67:9     169:14 171:3        ascending                160:5 162:17
204:22 338:14           67:11 76:16 97:5      178:7,9,11,17       509:8                    169:20 193:6
 431:14 432:6           97:9 103:4,8          180:5,12,17,23      Asia                     219:20 235:3,4
 560:5 580:6            112:4 113:11,11       181:2,11 182:9,10   277:7                    317:6 378:2 398:1
approved                113:16,16 114:6       183:9,10 186:8,12   aside                    417:21 468:16
228:8 519:3             115:4 118:5 150:6     186:17 243:23       156:21 552:19            478:11 516:7,14
approximate             150:22 151:22         248:20 252:19,21    asked                    537:16
28:3                    160:15 161:3,14       253:13,18,24        22:11 25:21 38:16      aspect
approximately           161:24 162:10,22      254:5,7,13 255:4      67:19 73:4 129:10    179:8
17:16 45:14 55:16       163:5 203:18,19       255:13 256:5,24       130:5 131:4          aspects
 57:18 564:8            204:15 208:23         257:15,23,24          134:14 135:23        135:8 438:17
 578:14                 213:20 248:11,14      258:2,6,8,11,18       136:14 138:18          533:13 553:1,6
April                   248:18 374:18         259:5,12,23           153:23 164:11,17     aspirin

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 295 of 366 PageID:
                                     75650
                                    Judith Zelikoff, Ph.D.
                                                                                             Page 587

  469:3 470:8           120:12 179:7        73:4 127:18 172:24      374:7 492:7 522:2   488:5 492:22
assay                   206:11 246:3          213:17 393:22         531:3 576:7         493:7,17 494:22
237:14                  280:20 294:7          580:16              Avenue                495:6 520:24
assays                  296:12 297:8        attorneys             3:13,17               536:16,21 538:17
237:14 551:22           329:24 347:17       16:11 19:7 28:6       average               539:5 575:18,22
assertion               349:19 353:3          40:1,3 53:5 63:10   242:23 243:2 428:9 back
126:8                   358:21 360:23         171:9 174:21        aware                42:12 51:4 61:6
assess                  361:1 383:9 401:6     202:16 203:11       18:5,7 19:10 22:21    62:19 75:7 79:14
73:5 126:23 127:10      417:20 471:6          237:5 276:12          48:23 98:14 146:9   83:18 85:17 86:11
  128:2,15 130:6,16     480:20 481:8          390:24 412:13,20      148:1 152:7,12      101:17 102:11
  131:4 134:6           508:10,18 509:10    August                  159:4 174:24        118:11 125:6,10
  184:12 237:15         520:13 536:8        168:21 176:6            175:3 190:1         126:1 160:24
  251:5 475:16          565:16              Austin                  291:24 294:14       162:6 164:2 196:5
assessed              association           3:13                    295:4 340:15        196:8,9 216:8,10
451:12                6:9,15 60:14          author                  345:14 358:4        218:5 222:17
assessing               205:24 207:8        55:7 56:17 60:16        372:12 403:12       233:11 277:21
42:10 69:14             306:24 397:14         104:19 117:1          412:14 413:24       314:4 319:20
assessment              564:5                 176:19,20,20          414:3 441:18        328:7 338:23,24
6:13 8:13 42:22       associations            190:15 197:3          447:2 453:6,9,11    383:20 384:3
  57:14,16 58:4       140:22 232:4,18         335:4 405:18          476:9 503:13        386:13 388:4,14
  59:7,8,22 60:22       358:16                568:16                524:24 542:3        391:8 437:23
  61:11 62:16 63:19   assume                authored                                    441:22 442:5
  63:20 73:9 205:18   128:7 130:11 141:1    447:11,13 448:5,6              B            443:2 462:23
  205:19 214:16,17      142:6 342:16          448:16              B                     463:10 464:4
  214:21 270:7          455:1               authorities           5:11 6:2 7:2 8:2 9:2  475:19 485:22
  275:3 383:11        assumption            136:21 335:8,21         10:2 11:2 35:11     523:17 527:23
  384:4,10,13,17,23   412:13,21 419:8         384:13                35:12 36:1,5        529:9
  391:9,10,24 392:9   assumptions           authority               39:17 48:13 51:18 background
  392:14,15 395:4     130:15                93:18 94:11 98:3        51:22 53:24 63:24 193:21,22 257:15
  500:11,18 501:7     asthma                  105:18,21 106:21      64:13 141:18,19     258:5,11,16,24,24
  501:23 502:14       120:20 173:21           110:2 112:9 113:1     142:16 168:11       259:4,11,13,22
  503:6,14,18,21      ATF                     137:12 255:18         250:4 461:4 526:3   260:3,4,23 261:13
  542:1,14,18         475:12 476:4,10         300:19 302:13       Baby                  261:16 262:2
  543:22 544:12       ATF1                    303:3 320:23        45:21 73:1 90:4       443:2
  547:7,15 571:21     474:22                  322:16 426:12         187:3,20 188:2,14 BACON
  571:24 572:4        ATF3                    427:2 441:11          189:19 190:11,17 3:2
assign                474:22 475:16         authors                 190:22 242:11      bacteria
137:11,14 503:20      atomic                77:12 83:10 104:22      246:24 247:13      237:15,18
assist                465:4                   190:16 408:4          248:3,12,16 275:9 bacterial
16:11 132:19,22       attached                509:14 564:4          275:16 276:9       325:11,22
assisted              84:19 93:10 121:23      574:19                278:1,7 286:9      bad
132:2                   580:12 582:11       autoimmune              287:18,23 288:12 516:5
associate             attention             172:23 347:24           292:2 295:23       balance
229:23 531:21         508:2,4 574:3           348:10                410:9,23 418:2,4   470:19
associated            attest                available               418:8,12 428:20    base
22:2 58:20 59:19      458:8                 59:3 207:4,10           429:11,17 449:8    331:2 424:24
  59:21 119:8         attorney                231:4 288:15          449:14 487:23       491:23 514:22

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 296 of 366 PageID:
                                     75651
                                   Judith Zelikoff, Ph.D.
                                                                                           Page 588

based                 129:22 131:14          504:7               266:12,20,24        biologically
20:10 63:11,11         137:1 333:7 420:3   beyond                270:2,20 276:22     128:16 306:4 313:8
 101:13 109:8         behalf               391:5 422:17,17       282:12 290:17         349:16 350:1,19
 115:9 121:12         53:24 173:15 174:4   big                   298:9 311:16          382:6 416:19
 137:5 139:12          174:12              238:23 301:19         333:17 381:18,19      432:11,15 470:10
 150:3 152:23         behave               bill                  383:1 398:8           504:10,15 505:16
 158:17 161:11        327:4                17:10 132:10          433:17 440:10,23      512:23
 172:14 183:15        behaves              bind                  499:23 506:13       biologist
 184:12 189:11,12     305:22               271:14 420:8          520:5 546:4         553:11
 208:9 214:5          belief               binder              biological            biology
 215:14,15 226:18     339:6 371:8          10:11,13,14,17,19   73:5,15 127:11        94:22 165:4 166:1
 228:4,15 270:21      beliefs                10:21 11:6,8        128:2 129:3,13        342:12
 272:11 280:15        199:11                 144:3 273:15        130:7 131:5 137:7   bit
 292:17 309:21        believe                386:22 387:1,7      151:18 152:1,23     72:16 124:19
 339:5 415:20,21      50:24 81:23 198:23   binders               189:12 190:10,19      150:21 187:18
 416:8 421:11          201:19 259:17       50:23 51:6,7,9,11     198:18 199:5,22       265:24 383:24
 422:4 423:13,24       262:11 294:5,8        52:2 142:5 385:18   200:7,10,16           441:21
 445:5 448:21          298:15 308:1,24     binned                201:14,20 202:3     black
 460:2,8,13 492:6      381:23 382:11       238:18                205:5,8,20,23       51:8 197:11 273:14
basic                  383:4 426:19        bins                  216:4,7,11,23       blood
110:22 235:18          433:3 468:22        55:1 239:10           220:1 223:23        158:15,22 176:13
basically              554:2 570:23,24     bio                   224:5,12 233:11       300:15 301:10,11
94:22                  571:8 577:15        251:12,13             234:11 240:2          353:3
basing                believed             bioavailability       256:9,10,19 257:1   bloodstream
434:10 551:19         434:13,14            242:8                 262:19 263:12       468:10
basis                 believes             bioavailable          265:11,18 270:6,7   Blount
6:8 15:19 71:15       172:1 356:8          341:4,16,19,21        271:3 275:3 278:3   410:3 452:17
 186:15 227:11        benefication         biologic              278:8,13 281:20       494:19,21 495:5
 298:5 434:23         409:14               24:13 68:3,13         282:13 284:6,24     Blount's
Bates                 Benjamin               69:14 126:23        292:17 296:12       452:6,20
6:19 66:3,5,13        3:7 342:2              128:15 134:2        299:21 302:3,5      board
 141:22 142:15,24     Benjamin.halper...     135:14 137:19       311:24 320:16       15:16 67:12 149:21
Bates-stamped         3:9                    138:4,15 144:12     341:24 349:2          435:23 519:4
146:17                benzene                144:24 145:14       350:6 353:14          531:22
Baylen                425:11                 148:13 149:6,15     356:9 360:19        board-certified
2:9                   benzine                150:11 151:4,21     361:15 368:4        556:1,5
bearing               158:14                 156:16,23 157:4     372:7 373:24        boards
517:3                 best                   157:11,20 172:2     376:22 377:13       15:12 133:12
BEASLEY               18:18 19:20 21:19      189:18 190:8        382:6,16 400:12       149:20 154:1
2:2                    23:9,11 64:21         193:12 201:12       400:13 401:21         169:24 229:24
beginning              65:9 70:13 86:6       216:2,15,20         431:17 432:5,22     bodies
1:15 196:10 278:18     154:20 326:24         217:13 218:17       433:23 440:18       444:12 509:9
 335:9,19 384:5        327:1 366:21          220:12 221:3,15     441:9 469:1 471:5   body
 496:13 498:20         412:3                 222:6,8,21 223:20   475:7,20 504:4      54:5 94:22 153:24
 509:5 524:19         better                 238:11 239:16       506:17 513:10         154:24 155:7
 572:16               76:13 83:14 175:21     241:10,18 243:5     553:4 568:4           165:3 198:20
begins                 337:22 447:23         263:15 265:7        569:15 571:1          205:6 215:24

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 297 of 366 PageID:
                                     75652
                                   Judith Zelikoff, Ph.D.
                                                                                            Page 589

 216:19 217:10        Bradford             C                       556:21              164:9,21 165:5,10
 218:2,14 231:10      73:10                3:3 6:19 63:1,4       calling               165:15 167:13,20
 234:12 261:9         brands                 65:11,13,20,24      339:2                 167:20,23 169:7
 262:20 309:17        276:23                 66:15 287:10        calls                 171:2,19,20 172:3
 316:4,7 325:12,21    break                  363:13 418:22       28:14,16              177:20,23 178:4
 326:13 327:12,17     32:7 74:9,16,20,21     419:5 421:24        Canada                191:9 192:10
 328:16 329:2          75:5 125:4 195:23     457:5 487:18        61:11 63:20 205:12    193:13,17 194:10
 332:6 339:23          196:3 277:15,19       524:4 527:18          205:16 207:1        194:14,15,18,21
 341:22 355:5,7        338:21 383:18       C-reactive              213:2,5,11 214:16   196:23 201:9
 364:20 365:2,21       386:19 442:3        309:18 360:6            214:23 219:17       205:9 206:2,13,17
 371:4 444:7           485:20 520:16       CA-125                  289:24 384:20,22    207:10 208:15
 465:14 466:2          523:10,15 536:23    352:20 353:2,2,8        391:9,10,16,18,19   209:1,8 210:2
 470:7 518:12         breaking               353:13,20 354:2       392:1,7,13 477:18   216:3,12,16,22
 567:11 568:12,18     298:6                cadmium                 477:24 500:11,17    217:4,15,23 218:7
 569:2,6 574:5,14     breast               304:1 307:17,17,24      501:6 502:13,14     218:18 219:24
body's                172:22 173:24          308:23 309:3,24       503:5,19 542:1,1    221:5,8 222:10,22
324:23 366:6 402:9    breathe                310:13 311:17         543:21              226:22 227:5,10
 402:21               460:5                  312:7 323:11        Canada's              230:7 231:7,14
body-type             brief                  465:2,5,7 466:2,4   384:10 547:6          232:22 233:17
499:17 541:8          251:12,13 384:7        466:15              Canadian              234:6,17 239:17
Boer                   529:1               cainogenesis          58:3 59:6 205:13      240:13 250:11
502:22                briefly              123:1                   205:17 214:23       254:5,8,13 255:5
Boers                 47:3 169:9 443:2,5   calculations            215:22 216:18       255:14,22 256:15
197:10                bring                295:16,18               217:11 220:10       257:2,12 258:7,9
boiler                50:16 63:15 168:23   call                    222:5 384:3,12,17   258:12,20 259:6
173:22                 345:2 438:16        20:18,22 21:10,13       395:4               260:5,15,16,20
book                  bringing               21:16 23:1,7,14     cancer                263:16 264:20
78:15 111:10          284:5                  23:17,20,24 24:7    6:11 7:18 8:7,11,11   265:2,8 267:2
 112:19 138:20        Broadhollow            24:11 25:5 31:1       9:16 21:22 22:12    271:16 278:14
 163:14 534:8,14      2:19                   33:19 113:3           22:24 24:24 25:5    280:5 281:10,17
 534:15,21            brought                151:16 196:11,15      25:12 29:13 31:4    282:12,18,23
books                 25:8,11 50:23          239:3 285:10          31:8,24 32:5,10     283:4,14,16,21
534:21,22 535:2,7      56:18                 311:6,7 317:5         60:16 62:17 73:2    284:8,11,17
bottle                buildings              318:24 319:11         73:7,12 86:9,16     285:14,23 290:19
410:23                459:21                 328:19 336:21         87:3 116:11,21      292:23 302:9,16
bottom                built                  337:1 385:4           118:8,23 120:14     303:7 306:5,13
202:9 203:1 359:18    258:3 261:2            476:23 515:17         123:24 124:9        307:1 311:18
 420:2 431:16         bundle               called                  127:1,13 128:6,9    328:10,14 329:12
 433:9,16 436:6       244:9                55:6 57:14 94:24        128:18 130:8,13     329:18 330:3,18
 469:21 495:15        burning                106:16 107:16         130:18 131:1,9      330:20 331:3,9,17
 496:12 508:5,14      173:2                  121:7 122:12          141:14 148:15       331:22,24 332:2
Boulevard             burst                  199:10 243:21         149:7 150:16        342:5,7,12,17
1:14 3:3              103:23                 273:2,3,4 303:21      152:8,13,21 153:5   347:22 348:3,7,13
bound                 business               326:10 328:3          153:21 154:9        348:18 349:3,12
341:1,16              14:21                  329:2 429:20          155:2,8,14 156:17   349:14,17,20
boy                                          455:24 458:16         156:24 157:5,13     350:2 351:2,10,14
141:19,20                     C              476:22 513:24         157:22 163:21       351:16,21 352:7

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 298 of 366 PageID:
                                     75653
                                     Judith Zelikoff, Ph.D.
                                                                                              Page 590

  352:10,18,24           264:21 326:9        193:2,8 354:10          440:24 467:1        155:8 183:3 190:2
  353:4,9,16,20,21       347:13 499:20       career                  468:5 487:2         206:17,22 208:14
  354:4 355:13           541:11              86:11 215:13 392:8      500:16 501:8        208:24 217:21
  356:7,8,10 358:24    Caner                   534:1                 505:7,13 506:1,19   221:4 237:1,1
  359:2,13,18 360:3    6:17                  carefully               509:17,20 520:4     240:12,18,22,24
  360:15,15 361:1,5    capable               427:18,20 580:4         540:11 547:14       253:19 255:4,13
  362:1,4,10,13        292:7,9               carried                 576:5               258:6,9,12 259:5
  363:11 366:3         capacity              288:23                case-control          259:19 260:5
  369:13 376:10        20:11 192:7 314:7     carries               232:1,16 556:22       278:14 282:18
  381:15,20 382:2,7      421:7               235:14 425:24           557:18 558:10,19    290:21,24 292:23
  383:3 385:14         capillaries           carry                   559:11,20,22        296:8 298:17
  392:23 397:11,16     468:9                 562:9                 case-controls         299:13 300:20
  398:9 400:4,20       captured              carrying              206:7                 301:5 302:14
  401:7 415:8,16,20    134:18 135:4          202:17 203:1 344:3    cases                 303:5 304:4,16,17
  431:19 432:5,12      Car                     359:19 477:9        1:8 76:19 78:2        304:22 307:18
  432:17 433:24        37:6                  cascade                 111:17 115:8        312:14 313:18
  440:19 441:14,15     carbon                544:2 545:9 546:9       121:5 124:5         315:16 320:20
  444:14,19 469:4      197:10                case                    174:14,18 175:4     323:1,12,14,17
  470:8,21 472:6,16    carcinogen            15:2 16:12,17 17:4      176:1 326:5         324:10 326:20
  473:4,17 474:2       158:22 159:1,2          17:9,23 18:3,6,10     490:15              328:10,14 329:12
  475:5,17 476:5         182:14,15 245:3       21:6,21 24:2        catalase              329:18 349:11
  478:20 479:21          245:17,20,24          25:22 26:2 30:1     365:4                 355:12 358:7,24
  486:9,14,21,24         256:7 316:17          34:6,11,20 35:21    categories            382:7 404:9,23
  500:1 504:1,11,16      368:12 369:23         44:2 47:5 62:7      238:21                405:3,5,21 420:8
  505:19 508:11,19       417:9 425:15          64:3,24 66:21       Category              423:18 487:5
  509:11 511:11,16       510:18,23 512:8       67:1 69:2 71:21     245:24 416:7          504:1 511:16
  513:13,17 514:2        518:9,10,24 558:8     82:11 84:6 88:21    Catherine             544:3 545:10
  514:11 518:5,21      carcinogenesis          96:1 105:24         132:7                 546:10 570:20,24
  520:6,10,14 532:7    122:13,17 123:23        110:14 117:5        caught                571:8,9
  532:13,20 533:3,8      326:17 345:4          144:24 148:9,17     39:11 467:20        cause-and-effect
  544:3 545:10           347:17,18 431:4,6     159:3,6 163:16      causal              200:2,13
  546:10 552:22          431:13 476:13         170:24 171:5        154:2 201:4,22      caused
  553:10,11,17           499:6                 173:4,5,10,15         207:11 397:9      291:21 308:23,24
  554:23 556:15        carcinogenic            174:1 175:2,3,16      500:17 503:5,21     309:23,24 312:19
  558:3,12,21          11:18 156:3,7           175:20 184:14         571:20,24           312:20 314:5
  559:12 560:7           180:21,22 190:3       198:23 199:7        causality             347:14 480:18
  561:24 570:21          280:14 281:24         201:6 212:5 216:5   202:2                 481:6
  571:3 572:16,20        283:10 285:6          227:22 228:10,19    causation           causes
  575:6                  322:12 344:16         249:12 254:3        24:12 73:6 131:6    62:17 73:2 118:7
cancer-causing           345:4 577:11          273:12,21 290:5,6     131:12 155:11       152:21 153:5,21
166:3                  carcinogenicity         300:1,2 301:7         201:13 202:8        154:9 158:14
cancer-related         42:11 44:4,13           328:16,17 330:19      205:4,23 206:1,11   165:9 209:8 210:2
404:24                   90:10 281:5 282:4     370:19 377:5          206:12 256:20       217:1 271:11
cancer/precancer         342:23 343:3,5,12     390:9 392:22          259:20 382:1        293:6 301:17
572:22                   423:10 425:10         394:23 395:24         400:17 486:24       302:7 306:3
cancers                  488:7 530:1           396:17 399:4        cause                 330:12 371:15
158:15,22 194:14       carcinoma               424:23 438:2,8      86:9,16 126:24        420:23 477:2

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 299 of 366 PageID:
                                     75654
                                    Judith Zelikoff, Ph.D.
                                                                                              Page 591

  486:8,14 510:24       325:18 356:18       certification        chapters              356:22
  511:1                 357:12 364:5        579:18               78:15 111:11          Chicago
causing                 368:13,21 370:11    Certified              112:19 138:20       4:9
156:17 157:5,13,22      370:24 371:15,20    1:16,16 579:13,14      163:14 534:9,14     child
  303:14 344:5,8,11     372:9 376:15        certify                535:5,6,9,11        94:19
  344:15 500:1          485:6 516:17,22     579:5 582:5          characteristics       China
  507:1 513:12          549:22 550:20       certifying           311:9 427:16          277:7
cautious                560:8 561:8,17,24   579:22               characterized         chloride
269:23                  575:6,7,19,21       cervix               308:4,19              536:13
cavity                cellular              371:14               charge                Chris
499:9,15 541:7        470:1                 cetera               281:19 372:6          28:17,19,21 482:13
  566:1               cement                119:13,13 120:22     charging              CHRISTOPHER
cell                  461:19                  120:22 124:3,4     15:24                 2:9
94:21 95:3 137:9      center                  140:24 155:17      charity               chromium
  191:19 192:3        185:9 224:3 260:2       365:5 452:15       15:4                  8:19 77:21 120:10
  193:2,7,8 234:19      260:11 342:5,8,17     541:8              chatter                 120:19 121:2,2
  235:21,21 237:7       443:18 460:21       chair                25:14                   176:11,16 272:19
  257:9,10 297:11       513:17 514:2        513:24 514:1         check                   280:22 283:3
  300:6 308:11,17     certain               chance               144:4                   286:1 287:17
  310:23 321:15       50:21 99:1 115:8      50:13 84:9 107:11    checking                288:11 289:8,19
  325:11,14 328:2       137:5 241:16        chances              540:6                   289:20 290:10,17
  364:1 366:10,15       255:15 257:15       87:2                 chemical                291:16 293:10,10
  367:3 368:2,6         258:6 260:24        change               44:5 172:22 173:24      293:11 298:1
  372:14 373:18         271:14 289:12       215:14 234:15          181:22 237:8          314:16 315:22
  375:19,23 376:6       308:4 362:6           257:9 278:2,8,12     242:6 263:10          321:3,9,11,13,14
  376:10 379:6          369:10 406:2          291:1 294:2,3        305:7 324:3           321:19 322:18
  382:8 420:6,7,18      415:4 461:10          312:4 366:24       chemicals               417:23 418:3,6,10
  420:19,20 421:2,7     467:7,12 468:11       396:21,23 485:12   5:23 42:1 43:21,24      419:5,7 421:6,17
  421:12,14 425:9       489:24 495:12         513:10 567:13        44:3,7,7 90:3,7       516:24 517:19
  464:14 474:10         503:21 551:1,1,4      568:19 569:5         184:11 185:1          518:16 537:22
  484:23 517:13       certainly               574:6,16 581:4       231:9 272:23          556:16 558:12,13
  539:3 551:2 560:6   22:20 88:6 98:7       changed                313:14,16,21          558:22 559:6,10
  560:16,19 561:1,4     99:24 102:16        389:11 395:20          322:23 423:7,14       560:7 561:3,16,23
  561:10 575:5          111:18 171:13         474:23 485:10        425:2,4 487:17,22   chromium-3
  577:6                 198:10,12,15        changes                488:3 491:4 528:3   321:17 419:10
cell-mediated           199:4 204:24        72:5 215:21 236:12     528:10 529:22         420:3,5,12,17,22
326:7                   239:11 312:9          236:19,20 237:1    chemist                 420:22 421:1,12
cells                   314:13 315:13         271:15 285:5       186:10                  421:21 537:2
11:11 103:21            367:10 407:20         297:4,7 305:18     Chemistry             chromium-4
  183:20 194:15         417:5 425:1 429:1     310:4 345:3        109:11                421:18
  197:8 236:1 291:2     458:9 460:2           371:11,15 375:21   Chemistry's           chromium-5
  293:24 294:3,10       475:12 512:22         377:8 381:9        111:1                 421:19
  294:17 296:18         571:7                 474:19 475:11      Chemistry.com         chromium-6
  297:6,7,12,17,21    certainty               517:14 567:16,23   7:13                  120:18 321:18,20
  298:2 300:5         41:1 52:12              580:11 582:10      chemists                321:22 418:1,7,12
  301:21 308:10       CERTIFICATE           chapter              251:22                  419:10,15 420:20
  311:1 324:19        579:2                 534:16 535:13        chemotactic             421:18

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 300 of 366 PageID:
                                     75655
                                  Judith Zelikoff, Ph.D.
                                                                                            Page 592

chronic               218:1,23 219:7,14   cited                  245:2,12,16 246:6     291:16,18 297:21
10:6 119:8 311:3      220:5,10 222:4      50:23 54:4,5 61:19     256:6 316:16          314:16 315:22
  325:6 326:22        231:12 232:6          98:2 105:18          320:19 490:6          320:11 516:24
  327:8,15 328:6      242:10,16 246:21      112:17 124:11        511:4 518:9           517:18 518:15
  329:23,24 347:14    247:2,2,11 248:1      154:3 159:14       clear                   534:5,8,12,17,23
  347:21 348:8,17     249:24 255:17         204:15 213:19      39:15 193:2,7           535:1,11,14,18
  348:23 354:20       279:14 280:3          214:10 215:23        207:24 232:9          556:16 558:16,22
  355:11 357:3,5,13   281:2,16 282:2        216:18 220:10        265:11 275:1          559:6,9 560:7
  357:15 358:7        285:12 291:3,19       232:13 281:12        480:22 500:21         561:3,17,23
  394:9 469:23        296:16 299:7          295:14 374:17        522:9 564:20        cogent
  470:19 504:9        300:18 301:2          382:7 391:9,18       565:14              431:17 432:5,22
  505:2 509:5,7       302:12,21 303:10      405:12 406:4       clearance               433:16,22
chrysotile            308:21 313:5          432:7 447:12       402:9,21              cohort
179:7 181:6 182:9     315:15 334:8,23       448:5,15 449:18    clearly               206:8 232:2,16
  182:14,23 183:10    335:8 343:18          452:5 457:1        225:9 345:19            416:8
  406:22 407:11       344:4 346:13          469:13 500:24        479:13 546:15,24    coincidence
  459:4               351:8,15 356:6        502:2,7 539:11     client                90:16 91:3,7
cigarettes            361:3,17,21           562:16 563:10,16   173:1                 colder
47:7 166:14 170:2     371:22 374:1          566:6,11,12        clinical              124:18
  170:7               377:16 378:7        cites                294:22 476:4          colleague
circulation           388:16 389:9        47:21 48:7             557:14 560:2        25:10,14
300:15 309:6          392:11 405:6        citing                 575:1               colleague's
circumstances         407:17 414:10,12    113:3 410:11         clinically            448:23
365:20 467:11         414:18,19,21          431:12 472:19      360:13 361:4          colleagues
  551:1               417:2 426:7,11      Citizen's            clinician             25:9,18 29:7,10,12
citation              427:2,24 428:18     9:14                 514:10 515:1            29:13 254:20,22
94:10 98:16 118:9     429:23 431:1,8,11   City                 clip                    260:10 292:10
  407:22 435:5        431:22 432:8,20     3:4 173:8 259:23     287:12                  380:19 399:19
  481:3               432:24 433:2,14       260:13,24 290:2    clipped                 532:8,21 554:22
citations             436:24 437:10       claim                103:15                  572:14,24
41:21 47:19 66:10     441:10 445:23       173:20 450:20        close                 collect
  541:20              446:23 447:10       claimed              408:11 459:11         186:13,13
cite                  448:4 450:10,19     410:7 556:3,9        closely               college
77:10,12 97:11        451:3 453:10,12     clarify              486:23                86:11
  99:20 101:18        469:19 471:9,11     516:3                closer                column
  102:11 105:16       471:12,24 473:14    class                137:5                 508:5 509:4 564:2
  106:18 108:22       473:24 474:3        30:7 31:15 245:23    co-author             columns
  111:24 112:3,8,10   475:14,18 477:12      256:7 425:14       163:7                 456:4
  112:24 114:6        478:4 479:6           511:5 558:7        co-authors            combination
  123:14 149:11       480:15 502:3,10     classification       164:1                 558:22 559:14
  151:23 152:18       511:24 533:23       155:19 156:14        co-investigator         560:12,23
  153:2 154:6,21      537:17 539:2          548:10             380:3                 come
  157:2,9 160:20      541:3,12,17 550:1   classifications      cobalt                20:8,14 27:24
  161:2 162:21        552:3,10,14 558:1   155:16               272:19 280:21           62:19 72:12 91:14
  163:4 164:5 205:5   558:9,18 559:10     classified             283:3 284:16,18       95:10 126:1
  209:24 215:23       561:1,6,21 569:9    159:2 178:8 180:17     285:24 287:17         136:16 150:2
  216:17 217:9        577:3                 180:21 185:13        288:10 289:9,20       166:8 176:19

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 301 of 366 PageID:
                                     75656
                                     Judith Zelikoff, Ph.D.
                                                                                              Page 593

  200:7 215:15           80:14 83:8 87:3     complementary           469:23 480:18        511:14 569:20
  222:17 227:17          89:18,24 95:9       374:16                  481:6 551:4          573:22 576:21
  249:4 325:18           97:20 101:13        complementation       concepts             conclusive
  327:18 328:18          104:2,10 105:1,2    53:4                  489:21               253:22
  329:1,6 335:5          106:5 109:16        completed             concern              conclusively
  374:14 380:14          114:2 117:8 121:1   46:9 56:3 62:6        98:8 145:14 325:4    162:5,9 426:15
  408:2 414:7            223:13 283:14         87:10 411:18        concerned              540:7 546:15
  419:15 441:22          333:7,11 335:9,20     451:7               137:19 144:12          566:2,8
  443:15 445:21          363:2,4 434:19      completely            concerning           concur
  495:21 502:20          489:13,20           168:21 229:11         138:4 141:13         90:10 422:23,24
comes                  commonalities           421:3 565:21          144:24 254:4         423:5 488:12
111:6 186:17           193:19 194:11,13      completion              391:20 484:23        530:3
  353:19 368:1           194:20              54:12,13 64:2           531:15             concurred
  443:16 536:6         commonly                522:1 579:8         concerns             423:23
  555:8                104:3 283:13          component             432:15               concurrently
comfortable            communicated          420:23 516:15         conclude             362:5
20:10 22:8             21:3,4 34:4 444:12    components            62:16 206:9,15       concurring
coming                   444:17              188:1,14 189:19,24      470:19 488:2       424:14
33:20 54:15 158:20     communities             308:4,20,22           496:3 574:20,24    conditions
  229:15 261:5,6       157:7,19 176:17         310:22 341:2,17     concluded            255:15 461:11
  280:7 299:24           347:13                422:9 467:3         152:20 153:4,9,20    conduct
  310:10 347:4         community             composition             154:2,8 180:5      455:3
  391:14               156:18,20,22 157:3    181:23 242:6 305:8      205:7 216:1,20     conducted
comment                  157:10 158:16         305:23                217:12 218:15      453:2
160:21 192:2             176:10,12,12        compound                221:2 222:6,20     confer
  208:20 215:1,11        212:23 355:10,19    536:12,14,24            529:18,20 578:13   73:5 92:12
  414:13 424:21        company               compounds             concludes            conferences
  436:7,21 437:3,13    251:16,17,18 448:1    42:11 536:15,20       90:7 208:13 528:10   555:20,23
commentary             comparable            comprehensive         conclusion           confidence
155:2,5 437:1,10       376:14                131:15 132:23         20:9 41:3 54:16      472:20
commented              compare               computer                150:19 155:14      confident
159:10 437:7           85:16 182:9 183:9     389:21                  156:9 158:4,6,10   121:11 151:24
comments                 183:13 277:3        concentrate             207:14,16 208:12   confidentiality
215:15,20 424:15       comparison            290:2                   208:22,22 209:5    146:7,11,16,18
  437:14,17,20,22      6:22 7:6,7,9,12,14    concentration           310:10 316:11        229:14
Commerce                 7:16,20 8:10,12     262:21 263:6,22,23      374:14 397:4,6,8   confines
2:4                      8:15,17,20 9:6,9      265:13 288:5,22       397:22 398:4       178:11,12
commercial               9:11 236:2 276:21     289:4 369:9,11,12     416:5 434:3,10     confirm
181:4 409:9              295:12 376:20         370:4 372:23          435:3 437:24       65:21 66:14 70:10
commercially             427:22                439:21 440:3          496:7,17 497:22      494:17 501:14
181:2,6,8              compelling              459:8 461:16,23       510:15 511:7         509:19,21
commission             57:5 201:19 374:16      485:4,11              567:8 568:22       confirmed
582:21                   501:11              concentrations          572:15,19 573:19   501:19
committee              compilation           124:3 286:18,23         574:9              conflicts
2:21 123:22 553:24     5:15 76:2               287:6,24 290:7,23   conclusions          229:6
common                 complaining             293:8 458:22        90:20 140:21         conform
75:24 76:7,23 77:9     353:19                  459:4,9,22 460:22     154:24 155:10      81:21

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 302 of 366 PageID:
                                     75657
                                     Judith Zelikoff, Ph.D.
                                                                                             Page 594

confusing              18:17 19:3,8,11         454:23            16:16,18 35:13,14      187:3 203:8
94:5 111:3               20:5 33:9 121:8     continue              36:18 42:8 50:9      206:18 209:1,9
confusion              contacted             32:2,8 33:2 328:8     63:1 65:16 92:14     210:7 219:18
84:23 85:6 527:7       18:9,22 19:1 25:1       339:2 521:2         92:17 94:9 95:21     225:2 233:18,24
Congress                 32:15 141:6,12,16   continued             386:14 389:16        238:2 244:3 245:4
3:13                     148:15,22 149:8     32:16                 393:4,15,20          245:13,18 246:1,8
connection               152:16 163:15       contract              398:16 414:8         248:22 250:2
116:18 505:17            165:1,7 184:13      455:2                 430:4,9 515:13       259:24 260:24
consider                 254:2,14 332:19     Contrary              542:20 544:14,15     262:8,21 264:22
102:16 104:10            333:2,4 531:6       472:10,15             544:16,20 570:9      270:23 271:21
  184:8                  532:9,11,24 533:8   contribute          corporate              273:17,18 276:4
considerations           533:11              90:8 262:14 343:1   411:16                 279:1,5,11,17,22
487:3,3                contain                 343:3 423:8 425:7 correct                280:5 281:6,18
considered             180:20 275:20           470:2 488:6       15:5 21:8 22:22        282:5 283:4,22
51:20,24 52:5,20         286:24 406:20         528:11 529:23       25:22,24 26:4,20     289:7,11,15 292:8
  93:20 141:24           407:9 451:16        contributed           26:21 27:1,20        292:13,15,23
  156:11 184:15          513:9 521:2         83:9 416:12           29:16 33:10 36:6     294:17 296:18
  193:24 204:5           527:17              contribution          37:8 39:8,19 43:7    297:22 298:2,3
  230:5,21 231:3       contained             511:10                45:23 52:1 56:3,7    303:15 304:5,18
  250:13,15 289:15     53:16 54:6 65:24      contributions         58:5,6 62:7,8,9,11   305:5 306:6,13
  427:18,20 429:13       66:15 70:11 147:7   73:23 139:10          66:8,21 67:1,6,16    307:5 308:2 309:1
  554:21 569:4           269:3 389:5         control               68:6 70:19 72:11     309:24 312:20
considering              515:20 517:4        304:8 305:17          72:20 73:2,12,21     315:10 321:18
470:9 472:6              521:1                 579:21              77:5 82:4,18 83:1    328:10,14 329:12
consist                Containers            controls              89:10,11,18 90:1     329:22 330:3
313:15                 37:5                  375:17                96:11,20 98:4        331:11 332:2,23
consistent             containing            controversy           100:19 105:24        334:11 335:2
200:1,12 207:6         51:11 245:11,21       437:4                 108:9 113:12         336:3 340:4,12,12
  472:21 483:8           246:7 453:5         conversation          117:18 127:2,15      340:13 343:7,14
  499:22 500:5           455:12 461:24       33:12                 131:19,21 133:4      344:6,9,12,17
  505:6,12 506:18        498:12              conversations         134:2 135:16         345:17 347:9,15
  506:23 509:16,18     contains              20:24 274:15,18,22    139:2,17,22 140:9    347:23 348:4,9,14
  573:4                542:18 559:3,6        convert               141:23 148:9,18      348:19 350:3,11
constituents           contaminated          321:16                149:9,10 153:22      352:11,18 354:4
240:6 271:6 298:7      462:13                converts              154:22 155:3         355:13 357:1
  425:13 467:8         contamination         420:21                156:3 159:8,9,11     358:2 359:14,23
  513:6 517:9          404:8,22 405:19       convincing            159:15,18 163:18     359:24 360:4,15
consulted                419:19 451:13       198:21                163:19,21 164:6,7    363:14,18 364:2,3
170:10                   496:24 498:2,15     coordination          164:10 165:10,15     364:7,11,17,23
consulting             contend               53:4                  166:19 167:15,16     365:15 370:12
14:21                  410:6 432:10          copied                167:21 168:4,8,9     378:5 379:22
consumer               content               75:20 98:23 103:7     168:11 170:20        387:20 390:4,5
9:18 189:4             166:17 248:6            107:23 108:9        171:1,3,6,15         398:9,10,18,19
Cont'd                 contention              116:1 119:24        177:2,7,10,13,20     399:4 403:24
3:1 4:1 6:2 7:2 8:2    299:11                copies                177:21,24 178:4,7    406:9,10 411:19
  9:2 10:2 11:2        context               52:2 142:2            184:2 185:4,21       414:23 415:22
contact                56:19 362:17          copy                  186:5,9,12,22        416:9,20 417:4,14

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 303 of 366 PageID:
                                     75658
                                     Judith Zelikoff, Ph.D.
                                                                                                Page 595

  420:9,10,18 421:2      373:17              counsel's             420:20                22:21 31:12 278:13
  422:5,6 425:23       correlating           454:6 563:3 566:13    Crowley                 443:6 476:9
  429:6 430:1,2,19     352:9 372:13          counsels              5:22 35:9 39:8,19       496:22,22 498:1
  431:24 432:12,17     correlation           274:10                  40:11,22 42:12        498:13 540:20
  433:3 434:14,15      352:3 428:16          country                 47:15,20 90:6       curriculum
  435:16 444:10        correspond            444:13                  248:5,11 272:22     7:22 380:8
  445:11 446:24        66:7 95:23            course                  280:16 422:5,13     cursory
  448:13 449:10        corresponding         30:7,9,17 31:3,3,17     488:2 525:1         191:16 192:2
  450:22 451:14,19     176:20                  33:15,18 34:1         526:12 527:3          193:20
  452:3,7,18,21        correspondingly         74:20 101:24          528:9               customarily
  453:6,10,14          103:3                   165:24 166:1        Crowley's             445:17,24
  454:21 455:13,22     cosmetic                191:1 198:5         44:1 48:5 248:11      cut
  456:1,2,6,9,22,23    31:13 159:18,22         268:19 339:7          423:22 487:20       137:4 195:16 318:3
  457:2,13,15 458:3      160:4,9,10,11,15      344:2 355:1           488:23 525:10,15      492:18
  458:12,17 459:15       250:9,10 333:12       403:16 502:6          527:12,14,16        cutoff
  459:24 460:5           451:13,16 452:14      511:3                 528:7,18 529:13     242:4
  461:9,20 462:2,18      453:3,4 455:10,12   courses                 530:4               CV
  464:12 465:14          455:19 495:12       165:19,21 166:2,6     CRP                   63:23,24 161:6,10
  469:16 473:4           496:9,21 497:24       186:1               359:7                   161:17 162:2,3,6
  474:2,15 475:5         498:12 512:9        court                 crystal                 162:21 163:13,24
  478:2,3,24 484:21      539:20,21 540:19    1:1 13:15 71:16       182:3 466:11            168:8,18,23 169:5
  487:10 488:18        Cosmetics               337:24 580:20       crystalline             169:9,11,16,21
  516:19 521:12        8:14                  courteous             180:2                   175:7,17 223:23
  525:21 527:19        Costa                 235:9                 CSEM                    303:23 342:16
  530:9 531:8,16       537:21                cover                 8:16                    380:2,13 536:7
  532:8,13,22 533:3    COUGHLIN              58:19 211:4,24        Ctisi@levinlaw.c...     537:4,6,17 553:24
  533:5,10,14          3:16                    411:4               2:11                  Cyto
  538:12,17 539:10     counsel               Cramer                cubic                 235:21
  540:3,11 541:1,2     16:1 17:4,10 34:5     11:16 502:23          459:8,24 460:16       cytokines
  541:13 547:7,11        34:10 58:10 59:1      562:16 563:2,8,16   culmination           296:14 298:18,21
  547:15 548:2,17        126:9 132:11        creates               150:14                  301:11 308:17
  548:19,21 553:12       139:17,19 140:16    331:1                 culture                 356:21 359:8
  556:22 557:19          142:1,10 143:1,21   creation              183:19 297:11           475:23 476:1
  559:20 560:8           144:10,22 148:16    109:17                  368:7 464:15        cytotoxic
  562:4,14 566:19        149:8 159:17        credentials             560:16,19 561:1,4   234:20,22 425:9
  567:17 569:8           163:16 165:2        251:14                  561:11,22 575:5       549:21 550:19
  582:7                  167:9 170:20        credible                577:6                 551:3
corrected                171:1 212:8         563:19                cultures              cytotoxicity
197:22 527:15            222:17 254:3,15     criteria              138:8                 235:1,14,18,20
corrections              273:17 275:14       158:20 187:13         cumulative              553:1
580:5,7 582:10           276:3 332:19          201:3,16 309:8      440:6
correctly                385:11,22 390:4     crocidolite           current                        D
407:1                    393:14 412:15       179:23 181:7          14:10 22:17 168:18    D
correlate                447:5 508:1,2,21    cross                   187:24 188:13       5:2
428:19                   532:11 533:1,9,12   420:7,18,19 421:2       348:16 388:2        D.C
correlated               540:2 572:1 574:2     421:4,6,7             392:22 443:22       4:4
351:9 360:14 361:4       576:22              crosses               currently             damage


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 304 of 366 PageID:
                                     75659
                                  Judith Zelikoff, Ph.D.
                                                                                           Page 596

 103:22 120:21       debates               79:16,22 80:2,6      257:19 260:1         580:19
 354:13,20 470:1     255:2                 82:5 89:2 99:20      262:24 263:3        deposition/exhibits
 549:22 550:20       December              112:10,12 143:19     269:21 307:11,12    64:18
data                 17:7 36:15 48:19      159:23 160:6,8,9     321:8 322:6         depositions
6:12 51:20,23 52:4    55:15,17,19 247:8    160:16 200:6         323:22 324:15       10:15 64:13,14
 52:19 53:3,18        503:17 522:5         234:24 235:5,17      369:22 370:1         202:11 203:4
 109:20,21 111:8      577:19               235:18               373:12 439:21,23     204:1 390:13,18
 116:16 140:23       decide               definitions           450:1,3              391:5 525:16,20
 141:24 156:9,10     140:8 338:16         81:8                 deponent              526:9,9
 186:20 207:10        483:24              degree               13:11 582:2          deposits
 216:8 246:22        decided              177:16 186:24        deponents            408:13,21 461:19
 247:3,11 294:24     21:5 137:4            274:20 363:21       63:12                deps@golkow.com
 366:5 376:12        decision              364:14 421:3,5      deposed              1:21
 418:20 450:9        72:12 184:11          487:1               173:7,18 174:15,22   depth
 473:16 498:7        declaration          degrees               424:12 525:1,17     22:20 417:19
 515:21 537:19       490:18               470:14                526:18 527:1        dermal
 549:20 550:17,24    decreased            dehydrogenase        deposees             333:13
 551:8,24 559:24     351:5 352:5 360:22   183:18 309:15        276:20               dermally
 576:2,4              367:16,22           delete               deposing             160:13
date                 deemed               314:12               580:16               dermatitis
1:15 18:15 40:22     580:19               delivered            deposited            121:8
 407:16 453:20       deep                 387:16               518:4                describe
 500:21 523:4        468:1,20             demolition           deposition           132:17 136:20
 525:9 580:9         defendant            459:13               1:13 6:6 12:2 13:7    147:3 363:17
 582:16              3:10,19 4:6,10       demonstrate           16:7,8 17:17,18      369:18 409:13
dated                 174:8,9             291:23 473:11         18:2 27:23 28:7     described
37:7 40:19,20        defendant's          dendritic             32:8 36:7 44:20     37:2
 48:12 64:15 69:19   339:11               311:1                 50:10,11,17 63:16   describes
 70:1 83:17 85:23    defendants           department            64:7,9,11,19        27:8 252:3 253:2
 86:2 93:11 388:2    14:5                 22:15 120:9 252:12    70:23 125:18         381:22
 406:7 407:14        defense               535:20               168:24 172:17       describing
 521:18 522:12       364:20               depend                235:5 290:4         274:4
 579:15              define               105:14 239:8          298:14 318:15,17    description
David                175:21 236:7          274:21 399:18        339:8,15 389:24     5:14 6:5 7:5 8:5 9:5
437:23                256:20 270:11       dependent             390:2,7,12,23        10:5 11:5 27:5,7
day                   292:16 373:4        480:21 481:9          410:3,12,14,19,21    136:20
384:5 474:19          569:15               483:21 484:17        411:15,19,23        design
 489:24 497:10       defined              depending             412:6,7 435:15      214:6 252:22
 582:20              82:13 151:9          16:5 179:9 182:4      452:16 479:24        375:11,15 399:13
days                 defines               242:24 266:2         480:4 482:9,12       518:3
392:8 395:1 580:16   66:24 108:13          289:22 370:18        483:1 512:1,3,20    designated
De                   definite              402:3 467:23         524:19 525:4,7,11   18:5 175:1 178:14
197:10 502:21        194:19               depends               525:16 526:22        245:23 548:7,13
deal                 definitely           15:19 156:19          527:4,8,13 532:5    designating
198:11               74:19 98:10 506:22    178:21 181:3,22      548:21 549:3,6,14   416:6,7
dealing              definition            181:23,24 182:1      578:10,13 579:6,8   designation
167:18               77:19,20 79:4,11      212:21 255:8         579:9 580:3,13,17   246:16 548:6

                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 305 of 366 PageID:
                                     75660
                                    Judith Zelikoff, Ph.D.
                                                                                              Page 597

designations          177:18 362:9          30:24 86:18 285:21   discussed             365:4
246:18                diagnoses             difficult            24:6 30:6,13 34:17    disposed
designing             514:10                182:23 183:12          254:19 280:4        468:6
518:19                diagnosing              334:15 358:20        453:1 492:11        dispute
despite               178:4                   408:14 507:16        507:4 527:5 534:5   484:4
316:9                 diapering             difficulty             534:12              dissolved
detail                286:21                191:3                discusses             576:1
56:19 103:17 170:4    didactic              dimensions           313:6 520:21          distance
  170:5 409:18        31:6                  182:20 268:17        discussing            300:13
  452:24 552:17       diesel                dioxide              29:12 30:12 254:21    distant
details               185:10 303:22         304:7 305:15           379:24 444:15       300:16 312:12
21:18                   304:12,15 324:9       307:13               532:19 533:7          314:9,10,14
detect                dietary               direct                 535:13,24 536:4     distinct
252:19,21             124:11 461:4          236:18 300:3         discussion            108:15
detected              difference              370:22 431:3       23:16 25:17 31:4,5    DISTRICT
248:8 455:9 456:13    16:4 42:19 58:23        446:2 472:2          31:19,22 32:3,13    1:1,2
  456:21 459:5          178:15,24 192:4       496:10 498:23        32:17 33:8 124:20   DMSO
determine               238:23 309:22         499:5 508:3          153:10 166:6,14     576:1
136:13 202:2            388:8                 579:21               280:8 319:17        DNA
  295:20 428:16       differences           directed               399:23 463:17       236:18 365:14
  434:12 472:4        180:8,10,19 182:6     508:1,3 574:2          464:1 502:12          420:8
determined              191:22 241:3        direction              506:16 508:13       docs
309:9                   312:18 324:6        12:5 22:7 179:21       529:6 532:8         168:1
determines              388:1 520:16          244:5                562:19              doctor
262:7                 different             directions           discussions           32:22 72:17 84:16
determining           55:2 65:4 72:17       182:21               23:4,23 25:8 32:12      85:14 90:1 93:8
223:19 224:11           76:2 79:24 87:6     directly               58:9 497:12           94:2 97:5 101:23
  385:3                 90:3 103:6 107:22   227:16 236:22        disease                 106:24 107:14
develop                 110:17 115:24         376:20             31:9 149:17 150:9       108:20 122:9
121:6 348:19 518:5      120:15 135:7,8,10   director               150:12 151:2,5        126:14 129:15
developed               150:21 155:13       512:12 514:1           172:23 177:19         142:9 149:3 152:6
163:17 260:20           175:24 176:3          548:23 553:17        191:10 200:12         161:5,23 171:24
  518:21                180:15,15 182:20    disagree               223:21 224:13         177:2,3 196:8
developing              185:1 192:3,22      82:8 571:4             253:19 254:1          204:16 206:14
148:8 259:15 360:3      194:3 200:19        disaster               331:16,18 348:1       211:15 216:13
development             236:15 237:14       260:11 460:20          348:10 349:11,23      217:5 218:12
116:20,23 329:21        243:24 261:21,22    disciplines            513:2                 219:2 221:17,22
  365:15 470:21         263:9,9,10 305:10   157:8                disease'                222:14 223:18
  472:5 486:21          308:22 324:2,3      disclosure           512:24                  224:24 226:4
  504:11,16 505:18      328:2,2 330:23      229:2                diseases                236:5,9 237:21
  511:10                357:4 372:21,22     discuss              170:10 330:23           250:24 258:23
developmental           381:17 408:3        21:2 22:16 131:13      349:21                260:22 261:23
30:11                   425:2 427:1           266:18 281:23      dismiss                 267:14 274:13
diagnose                466:11 470:13         347:7 417:12       137:4                   277:24 282:2
352:18,24 353:8,21      513:5 514:4 526:7     418:10 425:21      dismissed               284:9 287:10,16
  360:2                 528:3                 503:23 504:8,13    467:21                  288:9 294:14
diagnosed             differently             505:15,22 534:16   dismutase               316:19 329:9

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 306 of 366 PageID:
                                     75661
                                Judith Zelikoff, Ph.D.
                                                                                         Page 598

 334:21 335:13,17   540:6 541:19,22      492:3 580:8           258:20 285:17       299:5
 336:6 356:3,6      548:11 549:9        dose                   319:23 339:6,18     drastically
 373:16 384:9       558:7 562:21        183:6 262:7,12,14      339:21 342:2,4      215:14
 387:14 405:17      567:3                263:5,7,11,14         374:2,4,13,22       drinking
 464:9 492:18      documented            265:6,12 295:21       375:2 376:13        461:9,13,17
 496:10 498:18     507:5                 314:15 343:6,9        377:18,23 378:2,5   drive
 500:8,15 507:9    documents             368:12,18,19          379:7 381:3,21      4:8 6:7 51:1 53:12
 523:8 532:2,4     6:20 10:13 12:8       369:2,17 373:6        382:8 383:23         53:17,19,22,22
 537:9 544:24       24:17 51:16,17       480:21 481:9,12       411:9,13,23 412:6   Dropbox
 557:12 561:20      54:20 63:13,16,17    483:21 484:17         415:12 422:13       37:20,21
 569:23 571:18      63:22 65:12,21       511:1                 423:22 428:7        dropped
 577:12 578:7       66:7,13,19 72:14    dose-response          430:1 437:5,5,22    208:17
doctors             84:24 85:15 93:12   264:5 342:21,24        437:23 442:10       Drug
172:6 355:21,23     93:13 125:7          343:9,13,16           444:11 452:6,20     453:2
 356:12             141:21 142:3,10      375:18                460:23 484:12       drums
document            142:12,14,18,23     dose-responses         486:4 487:20        120:22
1:8 16:20 35:15     143:1,3,5,7,11,18   343:1                  488:2,23 493:4,11   dry
 36:2,21 40:4 43:3  143:20,24 144:1,3   doses                  493:14,19 494:12    340:1
 43:12,17 50:3,4    144:4,11,23         265:21 295:13          494:19,21 495:5     dubious
 52:19 53:7 55:8    145:14,19,22,23      370:4 376:13          497:3 513:16,19     112:21
 57:7,12,22 59:24   146:1,17 158:3       377:1,11              513:22 514:15,24    due
 60:2,3,7 61:15,17  191:2 202:12,15     double-chain           520:22 521:16,23    299:9,12 509:8
 61:23 62:1,20      202:15,16 203:4     110:18                 523:23 525:1,10     DUFFY
 70:24 76:6 78:16   203:11,20 204:5,9   doubt                  525:15,22 526:12    3:16
 83:21 88:10 92:21  206:15 215:13,23    258:2                  526:14,17 527:3     duly
 98:22 99:2,4,12    216:18 242:19       Dow                    527:12,14,16        13:20 579:5
 102:17 106:9       243:13 247:5,6      172:22 173:24          528:7,9,18 529:13   duplicates
 115:13 117:24      269:9 270:15         174:6,7,9,12          530:4,9,17 537:21   135:9
 119:18 121:14      272:12,16 273:11    Dr                     538:11,12 539:6     duration
 144:18 175:10      273:13,20 274:3,4   5:16 6:6 7:23 13:11    539:16 544:6        39:13 262:13 343:2
 188:11,24 205:18   275:2,7,10,14,18     14:2,9 16:24 18:1     549:15 552:15,22     373:13 440:4
 205:19 206:2,24    276:4,8,15,18        35:2,19 36:15         553:5,16 554:3       564:21 565:4,17
 207:1,17 210:16    277:1 280:17         40:22 44:1 47:15      555:4,16 573:19      572:24
 210:19,22 211:4    286:19 287:3         47:20 48:5,11         575:18 576:19       dust
 211:11,13,24       292:6,19,19          49:13,14 50:8,22     draft                185:8,9 224:4
 212:20 213:7       388:21,23 395:5      51:7 54:1 58:4,16    49:23 50:3 57:14     dusted
 215:7,7,9 243:1    395:12 418:18        58:17 59:24 61:2      57:16 59:6,21,22    278:24 279:10
 271:8 273:14       428:4 445:22         63:21,23 64:7,9       60:22 214:17,21     dusts
 275:19 384:15,24   450:20 480:6         65:2 73:24 74:1       388:7 391:24        185:15 254:9
 385:8 393:6        510:22 536:18,19     75:10 84:4,19         500:11,17 541:24     457:11
 397:21 398:20      559:3                85:11 87:5,9,12       542:17 544:11       duties
 405:13 419:4      doing                 87:16 88:1 90:6       547:14 572:3        445:10,16
 430:5 450:12      22:8 80:12 121:2      90:13,15,24 95:16    drafted              Dydek
 453:22 454:9,13    133:2,5,21 134:17    116:3 117:2          393:12               525:22
 454:15 455:8       135:7 176:11         125:14 126:8         drafts               Dydek's
 457:7 469:7        238:16 292:7         197:10,12,15,16      50:1                 35:2 49:13
 471:16 481:14      384:22 463:14        197:17,21 251:8,9    drain                dysplasia

                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 307 of 366 PageID:
                                     75662
                                    Judith Zelikoff, Ph.D.
                                                                                              Page 599

 116:23                 438:24 470:8        123:18               445:8                 entities
                        485:12 517:4,22     elevate              employs               3:10
          E             519:21 557:5        365:5                542:2                 entitled
E                       567:10 568:17       elevated             endogenously          421:24 457:10
5:2,11 6:2 7:2 8:2      574:4,13,22 577:5   231:7 360:21 362:7   365:20                entity
  9:2 10:2 11:2         577:23                362:21 478:21      endometrial           152:19 153:3 154:7
  359:12 581:1        effects                 559:7              499:15 541:7            170:9
E-M-M-E-L             7:17 120:12,13        Elevation            endometrioid          entry
19:21                   134:2 140:24        477:6                191:19                18:17 27:11
E-press                 141:1 176:23        elevations           endometriosis         environment
576:12                  264:15 278:23       479:7                349:22 472:7          124:10 259:18
e.g                     279:9 283:12        elicit               endpoints               289:22 290:12
459:12                  294:9,16 301:18     373:7 499:17 541:8   235:23                environmental
ear                     368:13 369:12,18    ELLIS                engagement            7:13 9:7 15:21
120:22                  370:10 372:8        4:7                  176:12                  22:16 109:11
earlier                 378:16 379:12       else's               Engineering             110:24 114:10
139:3 159:14            406:18 407:8        527:4                149:23                  205:16 230:1
  167:12 175:6          438:10,18 440:6     embrace              engines                 443:17 491:3
  370:17 384:9,24       490:22 491:17       355:21               261:5                   492:10
  398:11,18 435:14      510:24 511:2        emerged              engulf                Environmental.c...
  532:5 575:9           514:7,7,9,20        448:22               237:18 327:19         114:7
early                   515:23 567:9        emergence              328:20 329:1        EnvironmentalC...
18:11 31:10 55:19       572:23 573:2        388:10               engulfable            106:17 107:17,24
  146:19 193:21       effort                emerging             328:22,23               108:8,22 109:4,18
  250:12 257:22       26:14                 56:17 255:1          engulfing               110:1 111:15,19
  299:2 346:21        egg                   Emmel                329:18                  113:19 114:12,13
  347:1 392:7         95:3                  2:3 18:23 19:14      ensure                environmentally
  489:24 536:7        Egli                    20:21 21:14 23:1   134:18                176:17
earn                  502:21                  23:5,12,16,23      enter                 environments
15:1                  either                  24:6,10 25:1       566:1                 119:10 289:13
earning               55:19 65:6 82:7         28:10 31:2 32:15   entertained           enzymes
15:9                    88:1 123:20           33:9,13,19 57:23   401:23                237:2 381:7
EASTERN                 140:22 181:6          57:24 58:7 61:13   entire                EPA
1:2                     182:17 233:8          141:6,13,17        99:12 104:16 123:6    77:23 108:13,18
Edelstam                279:22 286:16         152:16 184:14        266:21 270:9,12       180:9 205:13,17
502:21                  320:1,12 321:3,22     196:12 531:7         270:13 271:9,10       213:5 214:23
editor                  322:18,24 323:11    Emmel's                272:4,9 278:10        220:4 261:16
229:22,23 531:20        339:24 369:15       20:4                   422:3                 262:2
  531:21 534:21         408:13 425:22       Emory                entirety              epidemiologic
editorial               448:21 455:10       127:18               38:11 40:13,16        415:7 558:2
229:24 531:21           541:13,18           employ                 43:22 59:7,13       epidemiological
effect                elected               445:9                  61:14,16 71:20      116:17 122:20
11:19 119:12          444:1,5,9             employed               118:5 140:13          124:8 205:21
  207:11 262:18       electronic            443:9,13               209:17,21,23          232:16 557:21
  264:4,14 279:15     47:6 166:14 170:1     employer               298:6 410:13          559:23 564:15
  305:13 313:9          170:7               14:10                  411:22,24 549:2,8   epidemiologist
  416:20 417:4        electroplating        employing              550:9               73:14 131:12

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 308 of 366 PageID:
                                     75663
                                       Judith Zelikoff, Ph.D.
                                                                                                Page 600

  256:21 294:21            282:17 293:7          200:23 201:19       514:24                66:15,17 75:14,16
  399:16 415:10            543:3,13,15 547:4     211:12 216:24       Excerpt               75:17 78:17,20
  438:6 564:14           Establishing            226:19 249:4,7      9:21                  79:13 83:16,22
epidemiology             240:1                   277:24 338:13       excessive             84:16 88:11,15
399:19                   et                      345:18 351:3        158:18                89:7 92:22 93:2,4
epidermal                119:12,13 120:22        352:1 354:3         exclude               93:6,8,15 101:21
334:6                      120:22 124:3,3        397:13 400:16       156:8                 102:13,18,22
epigenetic                 140:24 155:17         403:16 416:11       excuse                103:14 106:10,14
123:3,9                    365:4 406:3,16        430:17 435:7        101:22 103:12         107:16 115:14,18
epigenome                  407:19,21 452:15      492:21 493:22         106:23,24,24        115:21,21 117:21
236:19 294:2               472:3 506:8 541:7     494:3 501:11          124:16 169:8        118:1,9 119:19,23
epithelial                 572:10                565:15                176:15 188:18,19    121:15,19,19
297:12 354:9,10          ethanol               evolve                  195:10 197:20       125:21 126:5,15
  375:23 376:3,6,15      331:14                123:8                   208:17 210:4,20     141:18 142:16
  499:20 520:9,13        ethyl                 ex                      218:24 225:14       168:11,15,17
  541:11                 425:11                137:8 138:8 145:7       233:2 250:6 336:4   175:8,9,11 188:10
epithelial-associa...    etiologies              295:2                 379:18 404:5        199:16 205:11
354:6                    165:4 194:1,4,23      exact                   453:17 476:21       207:20 208:1,7,8
epithelioid              etiology              55:20 90:16 91:1,1      478:18 492:17       210:6 213:10
191:20                   193:16 194:9,12         122:16,24 149:12      506:7 509:15        250:4 287:5,10
Epstein                    354:4,5 543:1,11      236:3 485:2 525:9     510:20 511:9        386:8,16 387:3
414:13 430:1               543:14              exactly                 557:12              392:1 393:3,7,11
  539:16                 eugenol               128:12 149:19         Excused               393:20 398:16,21
Epstein's                47:4 166:12             159:24 183:4        578:12                403:21 405:11,14
197:17,21 497:3          European                530:8               exemplify             406:15 418:22
equilibrium              451:24                EXAMINATION           283:10                419:5 430:3,6
326:18                   evaluate              13:23 442:7 464:6     exercise              444:22 454:8,10
errata                   281:5 427:8,15          486:1 523:20        364:7                 457:6,8 469:8,12
580:6,9,12,15            evaluated               571:15 576:16       exhaust               471:17,21 480:1
  582:12                 156:13 231:3 286:7    examine               185:10 303:22         481:15,18 482:16
error                      464:22 465:1        134:6 468:24            324:9               493:23 494:4
92:19 407:23               553:21              examined              exhibit               495:13 496:4,7
  420:11,15,16           evaluating            13:21                 6:19 16:18,21 17:1    497:4,16 498:18
escalator                231:5 342:22 343:5    example                 26:24 27:2,18       498:19 500:12
467:22 468:7               343:11 375:13       15:15 77:21 88:9        35:11,12,16,19      507:19 515:9,12
especially               evaluation              99:7 158:14           36:1,5,20,22        522:18,20,22
295:7 406:20 407:9       406:24 407:13           233:15 234:3          37:22 39:17 40:5    526:2 539:15
ESQ                      evaluations             238:24 239:6          40:9 42:3 43:13     542:18 549:10,14
2:3,3,9,14,18 3:3,7      358:14                  277:4 301:7           43:16,19,20 45:3    549:16 562:17,22
  3:12,17 4:3,8          events                  307:13 316:15         45:9 46:16 48:13    563:1 567:2,4
essentially              22:17 477:7 478:6       349:4 364:4 444:3     50:5,9 51:18,22     572:6 573:15,16
150:24 435:6               544:2 545:9 546:9     459:20                53:8,11,14,24       575:12,13
establish                everyday              examples                55:4,9 57:1,8,11  exhibits
238:10 239:15            363:18 474:15,23      80:16 81:4,10           60:8,11,17,21     36:8 64:14 125:8
  241:17 257:1           evidence                125:13 331:5          62:21 63:1,1,3,24   125:12,19,22
established              57:6 116:18 124:9       346:17                64:13 65:8,11,13    412:5,11 413:1,8
228:13 264:5               156:12 198:13       exceed                  65:18,19,20,24      413:21 418:20

                        Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 309 of 366 PageID:
                                     75664
                                    Judith Zelikoff, Ph.D.
                                                                                             Page 601

  480:1,7                175:2 178:6,9,14    314:18 376:15         371:11,16 375:21     370:23 382:19
exist                    184:1,5,9,15,18     461:8,12 478:14       475:2,4 480:19       420:17 425:6
180:1 182:17,19          185:3,13,17 186:7   499:19 516:22         481:7 517:14         453:1 475:1,3
  267:11 268:5           186:11,19 187:2,7   541:10 556:15       expressions            483:3 488:15
  389:19                 187:12,14,17        558:4,12,21         474:13                 498:8 501:2 555:8
exists                   196:16 197:5        559:13              extensive            factor
278:12 431:2             198:3 199:14      exposure              215:21 295:1,1        30:14,16 32:10
  432:22 498:22          204:2,16 225:8,10 11:18 120:19            552:24               81:24 110:9 217:3
  499:4                  226:15,17,21,23     123:15 124:2        extensively            298:19 343:17
expanded                 227:4,9 228:22      149:16 151:2,5      293:24 303:13          356:22,23 475:8
245:15                   249:7 252:7,10,11   176:11 207:9          333:3              factors
expansive                252:15 315:19       223:21 231:8        extent                30:12 31:10 104:13
198:1                    374:21 375:2        253:18 262:7,13     31:21 32:3 39:14       104:15,21 165:14
expect                   394:7 424:1,16      281:17 282:10         47:9 154:17          182:5 202:1 285:3
497:10                   447:3,13 448:6,16   283:2,20 284:12       353:15 355:24        305:21 310:5,23
expenses                 488:22 490:1,6,14   285:13,23 286:6,8   extract                310:24 330:11
15:4                     490:19,21 491:2     286:16 292:21       408:20                 360:6 361:12
experience               491:16 526:11,24    293:14 311:17       extraction             362:21 375:13
169:6,12,17 253:9        528:8 532:16        313:7 332:5 333:8   408:13                 475:22 480:19
  295:22 372:15          540:2 550:2         333:12 335:10,20    extramural             481:8
  422:12 445:6         expertise             336:9 343:2         443:21               factory
  492:5 531:23         177:22 178:1,3        356:15 366:9        extremely             459:13
experiment               251:5 530:21        368:14,19,20        76:22 201:20         facts
427:7,15                 531:5,7 532:12      369:3,8,10 370:1      269:23 293:6        111:21
experimental             554:9               370:21,23 394:22      334:15 461:24      faculty
122:20 148:4           experts               396:9,12 397:2,10     475:21 510:23       29:15,20,23
  375:12,14 518:10     11:13 34:19 49:24     397:15 402:8,20       560:3              fail
  575:1                  111:22 171:22       415:8,19,20,21      eye                   580:18
experiments              390:13 447:9        416:9,18 425:21     120:20               fair
148:1                    525:17 526:10       425:22 457:21                             318:17 503:1 509:1
expert                 experts'              458:1,3,16 459:12           F              509:2 515:23
5:17 15:1 16:12,13     34:23 139:2           461:4 462:16        F                      573:6
  18:6,9 20:4,16       expires               469:23 474:23        4:4 477:8           fall
  21:5,12 23:8,18      582:21                476:20 477:1        face                  143:18 429:2
  24:2,18 25:21        explain               480:18 481:6         286:21              fallopian
  36:6,10,12,13        29:9 87:8 127:22      557:18,24 559:2,9   face-to-face          8:6 371:14 499:16
  39:18 46:10,11,14      151:14,17 167:1   exposures              28:12,13            familiar
  47:1,11 54:12          234:21 350:12     124:11 280:4 296:2    facilities            21:24 22:11,13
  62:6 63:24 66:20     explaining            372:13,14 373:18     562:8                 28:17 170:3 254:8
  66:23 70:1 75:11     120:16                373:20 492:11       fact                   261:18 360:10
  83:19,19 84:10       explains              556:19               95:8 109:9 111:7      384:11 532:17,18
  90:6 105:24          513:11              expression              118:22 119:17        535:19 553:18
  137:18 138:3,14      explanation         11:10 104:14            128:8 130:12       far
  138:24 139:5         127:12 128:17         236:13,20 237:2       131:8 136:13        114:22 133:16
  140:8 148:17           130:7 350:15        291:2 294:3           156:8 158:21         212:9 272:15
  168:11,18 170:23     exposed               296:10 297:8          212:4 256:11         282:13 300:13
  171:5 174:2,18       173:1 233:7 263:6     305:17 310:4          304:11 314:11,12   fashion

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 310 of 366 PageID:
                                     75665
                                    Judith Zelikoff, Ph.D.
                                                                                               Page 602

  136:5               Ferguson                244:6,12,16 245:2     539:13,15 563:18       134:7 152:6,12
fatty                  3:12 5:6 441:20        245:16 246:12         567:22,22,24           213:9 230:4,15,17
 301:21                 442:9,14 446:13       269:10 273:2        Findeis                  301:12 325:9,20
favor                   448:2 450:5 452:1     457:11 491:11        2:18 28:23,23,24        326:11 357:3
 574:22 577:5,23        454:1,12 457:12       511:14 519:7,13       29:1 207:22            361:8 404:14
FDA                     458:6 460:24          548:15,15,18        finding                  408:8 443:1 445:3
 398:5 414:1,13         462:7 463:4         field                  104:18 109:20           446:17 458:7
  429:24 431:2,9,17   ferreted               148:5 160:11           201:12 248:2           459:19 461:6
  432:14,19 433:3      434:5                  225:10 409:22         346:8,14 423:23        462:15 470:16
  433:20 434:13,24    fetus                 Fifth                   431:8 434:19           499:2 500:15,22
  436:4 453:7 454:4    176:24                64:17                  464:19 471:9           508:15 520:20
  455:10 495:11       fiber                 figure                  473:2,15 508:6         524:2,24 549:16
  496:3,19 497:2       182:2 244:10 248:5    463:13 484:22          568:7                  564:1,5 572:11
  498:6 499:22          253:19 255:8,13       485:3,6,7           findings              fish
  512:10,10             255:19 256:8,14     filed                  345:15 357:23         391:17,20 536:10
FDA's                   256:24 257:7         173:6                  361:5 474:1 568:1   Fisher
 414:14,22 431:16       265:10 296:8        filing                finds                  575:22,22
  432:20 433:24         327:19 328:18,20     229:13                496:19               fit
  434:8 437:1,10,14     328:21 459:5        fill                  fine                   509:12
  437:17 496:7,16       461:18 465:18,19     229:5 399:19          429:13               five
  497:22 539:16,19      512:21              filters               fines                  107:22 179:11,12
  540:10              fibers                 186:18                429:19                  416:8 468:2
feasibility            179:17 244:6         final                 fingertips            flash
 152:1 377:4            245:11,19,22         215:4,6 387:15        287:8                 53:12,17,19,22,22
February                246:8,19 247:9        388:3 397:4,6,8     finish                flavorants
 18:19 387:16 388:5     248:9 254:10          398:4 500:19         101:23 122:1 141:8    47:8 170:1,5
  388:12,16,19          255:4 270:18          522:3 547:19          195:15 211:19       flavors
  389:1,12,17           273:2,5 275:21      finalized               225:24 226:11        170:6
  437:11                296:6 451:17         250:20 415:2           267:24 317:3        flipping
Fecchi                  459:8,23 460:4,16   financial               318:2 319:3          85:16
 132:7                  462:1 466:8 491:5    229:2 446:3            339:14 441:22       Florida
federal                 491:9               find                    463:20 538:6         2:10
 482:8                Fibres                 133:24 134:10,11     finished              fluorescence
feel                   9:20                   145:7 230:6,22       86:23 107:2,4         292:11
 75:24 85:18 103:13   fibriles                231:11,13 232:12      124:14 225:19,23    FLW
  121:11 335:11        182:19                 232:21 233:10,12      267:13,14,19         1:6
  537:9               fibrils                 236:3 283:23          455:11 463:3        focus
fees                   179:18 244:9           284:2,10,18 285:2   finishing              167:18,23 168:1,4
 14:24 15:8           fibrosis                285:13,22 286:4      318:9                   168:6 295:8
felt                   329:22 330:3,10,22     301:9 346:6         first                    514:17
 20:9 22:8 97:19        331:1,10,14,15,20     357:16,18 386:10     13:20 18:8,14,16     focused
  134:8                 331:23 332:1          387:3 394:18,20       20:5,17,22 21:16     137:6 360:20
female                  343:22 344:12         397:20 399:8          23:1,14,17,20,24       375:10 383:10
 31:7 153:15 170:11   fibrous                 433:10 435:18,20      24:7,10 25:5           487:4 520:9
  518:5                108:15 110:16          437:2,7 455:14        33:24 39:16 40:23   focusing
female's                189:14 237:22         465:5,6 469:17        118:18 128:13,23     23:13 48:21
 518:20                 243:17,21 244:1,4     485:2 495:5           129:5,16,21 130:2   folder

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 311 of 366 PageID:
                                     75666
                                  Judith Zelikoff, Ph.D.
                                                                                           Page 603

  143:4               98:6,20 99:23       268:10 269:7          473:6 474:17          466:11
folders               100:13,24 101:9     270:5 271:1,23        476:7 477:16        formulated
 63:18                103:12 105:12       274:8 281:8 282:6     478:9 479:2,10       26:18
follicles             106:2 108:2,11      283:6 284:14          486:11 487:8        formulations
 568:3,9              109:1,14 110:4      285:16 286:11         488:11,20 489:3      189:4,10
follow                112:15 113:23       287:21 289:17         489:17 490:9        forth
 22:3,4 227:18        114:15 115:5        291:7 293:1,21        491:1,13,20 493:9    85:17 463:10
  516:12 542:16       116:7 120:4 122:6   294:19 296:1,20       494:4,9,11 498:4    forward
follow-up             134:4,21 135:18     299:16 300:23         500:3 501:17         56:18 339:14
 486:5 523:24         137:22 138:18       304:20 305:6          503:8 504:3,18      foster
followed              139:8,24 140:11     306:7,16 307:8        505:9 506:4,21       119:10
 133:10 148:23        143:14 144:15       310:16 311:20         510:12 511:18       found
  150:18 490:15       145:3,16 146:7      312:22 313:11         514:13 516:1         54:23 58:5 120:23
following             147:1,10,15         314:21 321:7,9,11     517:7 519:9           136:9 151:15
 62:14 346:15         148:20 152:10       322:2,6 323:4,16      524:15 526:13         170:7 197:19
  379:12 427:3        153:7 154:11        324:13 329:8,13       527:21 529:16         198:21 202:14
  477:4 542:19        155:22 157:24       330:5 334:13          531:10,18 533:16      203:7 224:7
  543:23              159:20 163:1        336:1 340:6,22        534:19 538:19         246:23 247:12
follows               166:22 168:13       341:14 342:14         540:4 541:16          269:12 283:19
 13:21                170:13 172:4        346:4 348:13,21       545:15 547:9          284:15 287:6
food                  173:16 175:18       351:11 352:12         550:4,15 552:13       291:9 299:3 352:6
 289:7,9 453:2        178:18 179:4        353:11 355:15         553:14 557:8          361:23 362:3
footnote              180:2,13 181:13     360:17 362:15,24      560:10 562:13         385:23 387:13
 521:14,14,17         181:20 184:3        363:20 365:1,16       564:12 565:2,12       394:14 399:12
foregoing             185:6 187:5 188:4   367:9 368:23          566:21 567:11,19      419:18 428:4
 579:18 582:6         188:19 189:7,22     369:20 370:14         568:17 569:22         433:20 449:9,15
foreign               190:24 191:13       372:18 376:18         573:8 574:5,14        497:19 498:7
 234:12 325:9,10,23   192:12 193:4        377:21 378:11,23      576:6 582:10          564:21
  327:12,17 328:16    195:2 198:6         379:15 382:10       formal                four
  499:17 509:8        200:15 206:20       387:22 388:15        490:18                115:24 206:8
  541:8 567:11        209:3,11 212:12     390:16 392:4,17     formation               396:13 498:9
  568:12,17 569:2,5   214:3 218:20        395:10 396:19        566:18                 528:4
  574:5,14            219:1,10 220:15     399:11 400:9        formed                fourth
forever               224:19 225:4        402:23 403:10        22:23 138:9 139:9     538:10
 357:21               227:7 228:1         405:24 408:23         148:15 149:7        fracture
form                  231:17 232:24       409:16 412:17         153:17               466:13
 25:15 26:6 31:18     233:3,21 234:8      413:10 415:24       former                fragmented
  31:18 32:21 46:2    238:12 239:19,24    416:22 417:16        512:12                406:21 407:10
  46:18 47:12,24      240:16 242:14       418:15 423:4        forming               fragments
  49:18 52:7 53:1     244:9,10,15,22      424:3,19 426:9       276:14 329:17         466:13
  56:9 67:3 68:8,19   245:2,6,16,22       428:22 434:17       forms                 fragrance
  70:4,21 71:11,23    246:10,19 248:24    438:13 439:19        110:17 178:16         42:1 91:2 161:24
  78:9 82:19 83:3     249:16 255:20,24    440:12 446:6          179:1 180:1,11        163:11 268:8
  85:13 87:14 89:20   257:5 258:14        447:17 449:24         181:11,18 182:17      270:23 271:21
  90:18 91:5,21       259:8 260:7         451:22 453:18         269:11 322:13         272:23 313:15,17
  92:7 94:1,15        262:10,23 263:18    458:5 460:7 462:4     325:2,3 329:6         322:23 487:17,17
  96:13,22 97:13      266:13 267:4,8      465:16 466:13         404:8,22 405:19       487:23

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 312 of 366 PageID:
                                     75667
                                   Judith Zelikoff, Ph.D.
                                                                                             Page 604

fragrances            23:15 207:10          497:12 508:17       getting                 549:15,18,23
 42:2,7 43:7,23        401:19 413:4,14      534:7 543:2,12      57:22 124:18          Glenn's
  45:20 46:15,24       430:17 523:8       generally               331:21 399:16       552:4,15
  47:10 89:3,13        576:10,14 578:7    156:17 344:22           431:7 468:20        glimpse
  91:11,18 92:3                             347:12 355:11,18      516:6 532:15        409:12
  166:6,11,13                  G            453:5 489:12        Ghassam               glutathione
  169:18 184:2,6,9    G                   generate              55:7                  381:11
  184:16,19 270:19    477:9               301:16                Ghio                  go
  274:7 313:2,7,13    G-H-I-O             generated             197:6 301:8           14:24 15:3,5,6
  313:22 322:24       197:7               17:3 260:12 366:9     give                    34:13 51:4 56:21
  421:24 422:4        G-I                 generating            25:21 32:22 35:13       57:1 61:24 80:15
  423:8 425:13        197:6               300:6                   35:14 80:15 102:3     101:17 102:10
  487:18 488:4        Gamble              generation              107:11 108:7          108:16 110:7
  524:4 527:19        10:19               365:12                  113:6,20 114:9        124:22 138:22
  529:12,20           gaps                genes                   115:2 165:23          147:19 160:24
Frank                 399:20              104:14 236:10,11        166:2 183:22          162:6 177:4
 10:16                Garfield              236:23 271:14         188:21 206:22         179:19 184:22
free                  176:10                296:11 474:19         224:5 263:21          196:9 218:5
 85:18 103:13         gases                 485:9 551:10          313:3 349:4 354:3     224:11 233:22
  335:11 496:23       185:16              Genesis                 372:23 409:8,12       234:8 239:5,7
  498:1,14 537:9      gasoline            431:5,6                 417:6 452:8           240:16 275:2
  540:21              261:11              genetic                 494:24 495:1          282:23 289:23
frequency             gather              86:13 87:1 94:12        502:17,18 504:22      290:2 299:19
 262:12 343:2         46:4,8 84:12 194:6    95:17,21 97:8         516:9 537:19          301:23 303:23
  373:13 439:24       gathered              98:15 100:10          570:7                 305:21 306:17
  440:5 472:18        117:7 136:4 247:22    123:2,9 421:20      given                   314:4,9 317:13,18
frequently            gathering           geneticist            31:14 87:8 154:13       317:19,22 318:5
 505:5                241:14              185:20,22               165:17,18 166:18      318:10,14,23
friends               gene                genetics                171:10 183:5          322:8 331:3
 34:13                11:10 86:8,15       7:8 93:11,17 99:19      195:18 313:17         336:19 338:1,5,8
front                   236:13,21 237:2     185:24 186:1          434:22 450:9          338:16 339:13
 28:4 58:14 65:16       291:1 294:3       genital                 456:17 466:14         371:4 388:11,15
  75:12 89:8 150:2      296:10 297:8      152:21 153:5,21         575:24 579:6          404:6 419:1
  161:18 571:21         305:17 310:4        154:9 155:19          582:8                 429:20 442:21
  573:14                371:11,16 375:21    401:6 431:12        gives                   443:2 446:7,11
full                    474:13,22 475:1,3   508:9 548:7 566:1   117:3 422:20            450:6,14,24 451:1
 14:6 117:22 230:4      475:12,21 478:11 genomic                giving                  452:23 454:7
  230:15,17 302:24      517:14            119:10                116:2                   459:18 463:10,15
  445:3 446:17        general             genotoxic             glanced                 463:22 468:4,12
  452:13 480:24       113:3 124:10        236:17                49:21                   482:13 496:1
  520:20                158:11,13,15,23   genotoxicity          gland                   500:23 502:24
function                158:24 159:3      237:11                153:16                  510:20 519:22
 309:10 326:14          344:23 393:24     geologist             glasses                 521:5 524:5
  327:3                 402:15 409:18     409:1,10 418:17       278:21                  528:23 529:2
funding                 458:16 461:8,11     419:13              Glenn                   537:11 555:19,22
 443:14,22 446:9        462:17 468:17,18 germ                   11:13 512:1,5,12        570:14 577:16
further                 471:3 489:8,11,13 95:1,3                  512:16 548:21       goes

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 313 of 366 PageID:
                                     75668
                                    Judith Zelikoff, Ph.D.
                                                                                           Page 605

  147:18 242:20        good                198:10 319:13        3:7                  headed
  271:12 521:5         14:2,3 74:13,16       421:7 507:8        Hamilton             403:22
  568:3                  85:20 254:22      greater              288:18 347:2 506:8   heading
going                    436:2 442:13      38:23 56:19 184:23    506:9               52:4 89:2,13 461:7
16:18 36:19 38:22        563:22              239:1 241:5        hand                 health
  40:2,8 42:12         Goodman               467:19 571:9       495:17 500:10        7:17 14:13 15:21
  54:15 60:11 61:6     437:5,22            groundbreaking        544:15 572:1         61:10,11,11 63:19
  62:24 74:10,12,16    Google              202:6                handed                63:20 120:11,13
  83:12,15 88:14       44:9 54:19          group                60:12 522:19 545:1    120:13 205:12,16
  93:1 104:15          GORDON              152:19 153:3 154:7    547:18               207:1 213:2,5,10
  106:13 115:17        3:12                  205:2,6 215:24     handful               214:16,23 219:17
  117:21 118:11        Gosen                 216:19 217:10,12   265:23                230:1 260:14
  119:22 123:13        452:12                218:2,15 219:15    handfuls              283:12 301:18
  125:11,17 133:8      government            220:5,11 222:5,5   372:22                384:4,10,13,17,19
  133:16 139:21        212:24,24             225:7 245:3,12,17  handle                384:22,22 391:8
  176:7 182:5          grade                 398:6 417:9        364:21 366:8          391:10,15,18,19
  195:20 209:16        191:18,18 192:5,5   groups               hanging               391:24 392:6,13
  211:11 214:19          409:7 451:16      108:16 217:12        261:14                392:24 395:4
  215:1 216:8,9          453:3 455:10        218:23 219:7       happen                406:18 407:7
  221:1 231:21           539:20              220:10             368:8 393:17          443:18 477:18,24
  233:11 237:16        graduate            grows                 461:10               500:11,17 501:4,6
  239:2 277:11         30:7,12 43:10       244:2,12,18          happened              502:12,14 503:4
  285:8,10 299:24        131:24 132:1      growth               92:18                 503:19 512:14
  303:23 308:9           443:13            104:15 356:23        happening             514:2 519:21
  309:19 317:17,21     graduated             470:3 475:22       337:1                 543:21,22 547:6
  318:8 319:11         132:9               guess                happens              healthcare
  334:20 336:18,19     Grand               140:19 463:13        329:4 466:17         392:24,24
  336:20 337:2,16      3:3                 guidelines           hard                 hear
  337:23 338:19        grant               227:20               357:16               66:10 102:6 254:17
  339:1,13 366:16      67:11 133:12,12     gynecologic          HARDY                heard
  367:3 383:23           443:18            556:6                3:2                  24:23 169:23
  384:3 391:8          grants              Gynecology           harm                  254:12 530:23
  398:15 418:17        15:23 133:13        563:22               385:5                 555:17
  441:19 442:19,20     granuloma                                harmful              heavy
  453:19 462:22        329:11,16 345:21             H           262:18               268:7 270:22
  467:20,24 469:11     granulomas          H                    Harper                271:20 274:6
  475:19,23 482:5      291:9 328:9,11,13   5:11 6:2 7:2 8:2 9:2 538:11                278:6,6,17 280:3
  482:21 483:6,6,22      328:15 329:8,11    10:2 11:2           hazard                281:4 284:4 292:3
  484:4 487:14           343:21 344:8      habit                404:9,23 405:20       415:21 416:9,14
  500:10 523:13          345:15            244:3,13 511:15      hazardous             491:17 517:4
  527:23 528:21        granulomatous       habits               405:20               Hegarty
  537:3 542:22         329:3               110:16               he'll                3:3 5:5 14:1,4
  549:13 572:5         graphics            half                 317:6                 16:23 21:7 26:9
Golkow                 428:6               45:17 390:2          head                  26:16 29:5 33:3
1:20 13:4              Gray                hallmark             105:22 188:8,23       35:18 36:24 39:1
GOLOMB                 1:15 579:12         577:10                286:20 342:4,7,16    40:7 41:16 43:15
2:13,14 127:3          great               HALPERIN              372:4 467:2          46:7,21 47:17

                      Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 314 of 366 PageID:
                                   75669
                                Judith Zelikoff, Ph.D.
                                                                                       Page 606

48:3 49:19 50:7     193:10 195:8,22     323:9 324:7,21       487:7 488:10,19     helped
51:3 52:17 53:10    196:7 201:10        329:19 331:7         489:2,16 490:8,24   501:12
54:2 55:11 56:23    207:12,21 208:2     334:19 335:16        491:12,19 493:8     helpful
57:10 60:10,21      209:6,15 210:7,12   336:2,17,20 337:9    494:10 498:3        85:18 387:4
61:1,5 62:23 67:5   213:6 214:12        337:13,16 338:1      500:2 501:16        Henderson
68:1,11,23 70:8     217:24 218:22       338:15,24 339:20     503:7 504:2,17      288:18 347:2
71:4,18 72:3 74:6   219:6,13 220:17     340:11 341:6,18      505:8 506:3,20        502:19
74:14,22 75:9       220:21,24 221:10    342:20 346:11        510:11 511:17       Henry
78:13,19 82:22      221:19,21 222:2     349:5 351:18         514:12 515:24       4:16 13:2
83:11,24 85:2,8     223:17 224:23       352:16 353:17        517:6 519:8         hepatitis
85:24 87:15 88:13   225:5,15 226:1,3    356:5 361:2,16       523:10,22 524:20    330:19
89:23 90:21 91:8    227:12 228:16       362:19 363:8,23      526:16 527:11,24    hexavalent
91:24 92:13,24      230:11 232:5        365:10 366:4         528:16 529:2,10     120:10,18 293:9
93:5,7,22 94:8      233:14,23 234:18    367:20 369:4         530:2 531:13          321:14,19 421:5
95:15 96:17 97:3    235:10,16 239:13    370:7 371:2          532:1 533:22          421:17
98:1,12 99:16       239:20 240:9,19     373:15 376:2         535:3,22 537:11     Hey
100:6,17 101:4,15   242:9 243:3,14      377:15,24 378:14     537:14 539:1        277:10
102:5,20 103:1      244:23 245:9        378:20 379:5,21      540:8,14 541:23     high
104:4 105:15        246:13 249:5,23     381:16 382:21        543:6,7 544:7,13    191:18 192:5
106:12 107:1,5,13   251:3,10 252:6      383:13,22 384:8      544:21,22 545:18      259:16 262:20
108:5,19 109:6,23   255:21 256:22       386:15,23 387:10     547:12,23 548:12      287:24 402:7,19
111:23 112:22       257:13 258:22       387:12,24 391:3      549:12 550:6          461:24 469:22
114:3,19 115:16     259:21 260:21       392:10,20 393:9      551:5 552:18          495:24
117:13 118:3        262:16 263:13       395:22 396:24        553:20 556:11       high-grade
119:21 121:17       264:18 266:16       398:23 399:21        557:16 559:18       192:9,19
122:3 124:13,24     267:9 268:3,21      401:1 403:4,19       560:4,13 562:15     high-powered
125:10,22 126:13    269:17 270:10       405:16 406:6         562:24 563:10,15    22:15
127:5,7 134:15,24   271:17 272:5        409:4,23 412:22      563:17 564:18       higher
136:7 138:1,23      275:5 277:13,16     413:18 416:4         565:6,18 567:1,6    258:19 284:19
139:14 140:6,14     277:23 280:23       417:1,22 419:14      568:5 570:2,12,16     331:21 349:20
142:14,19 143:16    281:13 282:9        423:20 424:7         571:10 573:7          356:21 361:24,24
144:20 145:10,20    283:18 285:7,20     425:19 426:10        576:18 577:18         362:11 373:6
146:10,14 147:4     286:15 287:13,15    429:4 430:8 435:4    578:4                 377:1,11 459:10
147:11,17 148:6     288:7 290:14        436:13,16 439:2,9   held                   460:22 462:2
149:1 152:17        291:13 293:12       439:13 440:7,20     1:14 13:8 14:17      highlighted
153:18 154:16       294:13 295:11       441:19 452:7,24      124:21 280:9        93:14 95:22
156:1 158:7 160:2   296:15 297:15       462:23 463:1,15      319:18 464:2        Hill
161:8,20,22 163:9   300:17 302:1        464:8 465:24         486:12 529:7        73:10 201:22 202:1
167:10 168:16       303:11 305:1        469:10 471:19        562:20              Hill's
170:16 172:8        306:1,11 307:2,23   473:13 474:24       Heller               158:20 201:3,16
173:23 175:13,22    311:14 312:16       476:15 477:23       336:12 502:23          202:5
178:19 180:6,18     313:1,20 315:2,9    478:16 479:5,18      507:5               hired
181:16 182:7        316:23 317:4,12     479:23 480:9        Hello                159:5,16 228:11
184:7 185:2,19      317:18,22 318:5     481:17 482:4,10     442:10,11 462:24       447:4,14
187:9 188:12        318:10,14,20,23     482:19,23 483:9      463:1               hiring
189:1,16 190:5      319:4,10,22         483:19 484:9,18     help                 228:7
191:7,21 192:16     321:10 322:15       485:15 486:10       186:20 386:10        histologist

                Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 315 of 366 PageID:
                                     75670
                                    Judith Zelikoff, Ph.D.
                                                                                               Page 607

  193:9                257:21               hypothesis              83:22 88:11 92:22    37:5
histopathology         household            472:11,15               102:18 106:10       immersed
568:11                 15:3                 hypothesized            115:14 118:1         475:9
historic               houses               505:5 506:24            119:19 121:15       immune
446:19,22              261:1                                        125:8 175:11         308:8 325:12,20,24
historical             housing                        I             393:7 398:21          326:4,7,12,17,21
37:4,5 493:15          181:5                i.e                     405:14 430:6          329:16 347:7
history                human                 116:21 427:17          454:10 457:8          351:6 356:18
472:6                  11:11 207:4 208:14      564:7                469:8 471:17          359:3,11
hold                    209:1 279:21,24     IARC                    480:7 481:15        immunity
486:7                   283:12 286:8         8:21 9:21 10:17,18     549:10 562:22        328:20
holds                   294:16 295:2,22        10:20 11:8,9         567:4               immuno
518:22                  296:17 297:6,11        44:11 77:23 78:2 identified               326:18
home                    297:17,21 298:1        153:11,19 155:15 94:12 103:6 121:21      immunological
7:8 34:14 93:11,17      309:18 351:22,24       156:12 159:2         171:23 174:17        300:7 569:3
  94:13 95:17,22        377:12 417:13          180:21 220:3,23      175:1 194:16        immunology
  97:8 98:16 99:20      457:20 517:21          223:5 245:3,12,15    309:21 312:17        391:17 392:7 536:9
  100:10                519:1,23 542:15        245:20,24 246:6      346:21 544:4        immunosenescen...
homes                   570:20 571:3           256:7 320:19         545:11 546:11,15     326:21
459:21                  572:12,17              416:2 417:20         547:1               immunosurveilla...
honest                 humans                  435:5,11 457:1,4 identifies               326:10
71:2,14                156:4,6,7 295:8         458:12,14 460:3    117:23                immunotoxicity
honesty                 339:24 372:11          462:14 511:3,4    identify                536:9
81:23                   378:19,21 379:11       548:5,6 558:6      134:7 141:4,10        impact
HONIK                   490:23 491:18       IARC's                  171:24 205:1         110:9 236:18 326:1
2:13                    518:3,11 520:15      155:18 246:15          264:21 292:21         357:11
hookah                  556:20 557:1,5,19      511:7,14             346:9 347:19        impacting
170:2                  humoral              ICP                     385:20 534:3         176:16 300:5
hope                   326:6                 292:12              II-A                   impaction
558:23                 hundreds             ICT                   155:17                 467:24
Hopkins                26:14                 465:4               II-B                   imperative
411:9,13,23 493:23     hung                 idea                  155:17,24 156:2,11     580:14
Hopkins'               532:15                74:13 85:20 110:6      156:13              implant
65:2 412:6             Hussain                 110:8 268:11      III                     174:1
host                   118:7                   314:4              207:3                 implants
326:24                 hydrogen             identical            Illinois                172:22
Hotel                  300:12                85:11 87:11 88:4     4:9                   implicate
1:14                   hydrophilic             89:13,15 100:11   illnesses               216:10
hour                   465:19                  100:16 109:9,10    404:10,24 405:4,6     implying
16:3 74:12 132:15      Hydroxyl                524:10               405:22               223:9
  132:16 195:20        119:13               identically          imagine                importance
  277:11 389:8         hygiene               110:13               517:10                 137:13
hours                  160:12               identification       Imerys                 important
17:16 26:22 28:5       hygienist             16:21 35:16 36:22    3:19 270:16 273:12     201:21 242:1
  38:7 337:20          186:22                  40:5 43:13 50:5      273:23 274:5          281:22 342:22
  481:22,24 482:3,9    hygienists              53:8 55:9 57:8       411:16 442:15         343:6,12,15
house                  186:24                  60:8 62:21 78:17 Imerys'                   426:23 475:21

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 316 of 366 PageID:
                                     75671
                                    Judith Zelikoff, Ph.D.
                                                                                             Page 608

  508:6                 202:22 220:2        independent             324:18 377:6        291:21 294:1
impossible              231:6,10 270:17      116:15 118:12          416:19              296:10 298:17
 408:15,20              272:17 277:2          131:15 132:23       induces               299:8,9,12,13
improper                305:22,23,23        INDEX                  242:5                300:19,20 301:5,9
 338:8 365:11           307:16 308:10        12:2                 inducing              301:19,20 302:7
improperly              310:24 314:14       indicate               310:14               302:15 303:5,14
 459:13                 333:13 365:3         207:6 270:16 287:4   induction             304:4,16,18,22
in-depth                381:3 408:2 410:8     304:23 310:3         153:14 192:6         306:4,10,14,20
 42:22                  415:11 447:6          348:24 368:5          194:20 234:16       307:14,18,22
in-press                491:4,5,5,6           403:6                 349:3               308:1,3,5,6,7,7,8
 58:21                  493:17 501:20       indicated             industrial            308:18,19,23,24
inaccurate              519:18 566:13        47:18 72:19 358:14    186:21,23 415:21     309:9,17,23,24
 409:22                 568:2                 358:19 569:17         416:9 419:16        310:11,14,20,21
incidence             inclusive             indicates               451:13 459:11       311:2,4,6,7 312:3
 258:19                272:18                241:4 272:16         industry              312:4,14,18,20,23
incident              income                  286:22 368:7         259:14 409:11        312:24 313:19,24
 472:21                15:10,11,17            460:19 536:22       infection             314:3,5,9,13,19
incidental            inconsistent          indicating             119:9 325:22,23      315:1,7,16 320:2
 404:2,7,21 405:18     473:2                 372:9 554:2            349:19 567:12       320:13,17,21,21
include               incorporated          indication              568:18 574:6,15     321:5,24 322:4,19
 27:15 51:16 80:16     80:17,22 96:10        360:21 363:6         infections            323:2,13,18,20
  97:8 118:6 120:19   incorrect             indications            568:13               324:10,19,22
  136:20 249:6         83:5 338:7            418:9                infectious            325:3,6,7,8
  303:19 329:21       increase              indicative             325:11               326:23 327:7,11
  350:17 410:7         283:3 348:3,6,13      207:11 311:10,12     inferred              327:14,22 328:1,8
  468:14 491:9,10       364:7,9,16,21       indicator              236:13 529:21        329:21 330:1
  506:8                 400:4,19 564:20      309:8 361:14         infiltration          343:20 344:5
included                565:16                367:17               357:19 358:3         345:19,24 346:14
 30:14 31:2 39:6      increased             indisputable          inflamagogue          347:14,21 348:18
  72:13 96:9 126:12    6:10 103:24 104:1     499:10                219:23               348:23 349:13,24
  165:22 168:10         127:12 128:6,9,17   individual            inflamed              350:3,23 351:1
  175:16 203:10,18      130:8,12,17,24       61:24 109:19 111:1    355:7                354:13,19,20
  203:23 232:11,20      131:8 173:21          111:4 189:24        inflammagogue         355:1,4,12 356:10
  350:18,20 477:20      230:6,22 231:11       238:19 255:9,11      369:23               356:13,17,24
  487:23 488:16         231:14 232:21         269:13 271:5,6      inflammation          357:5,6,8,14,15
  502:11 509:15         233:16 234:5          279:3 280:12         7:19 10:7,9 103:20   358:7,23 359:1,13
  527:18 532:3          284:22 331:9          296:22 298:7          116:12,19,22        359:18 360:24
  573:5 576:2           352:7 361:24        individually            118:23 190:2        361:14 369:15
includes                362:12 397:15        130:16,23 293:17       216:6,11 217:1,2    371:1,13,17 377:7
 27:6 139:1 179:12      401:7 472:17          314:17                217:21,22 218:7     382:14 383:7,11
  179:22 435:5          480:18 481:7        indoor                  221:8 222:13        401:24 402:4
including               508:10,18 509:10     459:20                 223:11,16 240:12    438:19 440:17,17
 17:18 30:15 31:10      512:24 558:3,11     induce                  240:18,22,24        441:1,7,13 470:9
  54:18 73:22,24        558:20 559:1,12      218:9 257:7 307:24     241:5 242:2,5       470:20 471:7
  74:1 93:19 104:14     568:2,8 577:7         313:8,24 314:18       256:12 257:8        473:3,12 475:10
  149:21 177:19       increasing              315:6 320:2,13        259:19 271:11,12    475:13 476:11,12
  185:8 194:14         472:18                 321:4,23 322:19       278:15 282:20,22    486:8,14 487:5

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 317 of 366 PageID:
                                     75672
                                     Judith Zelikoff, Ph.D.
                                                                                                Page 609

  490:2 503:24           358:10 372:10        86:8,15,24 94:17      580:1                International
  504:9,9 507:2          374:3,12 394:2,5    initial               instrumentation        1:14 123:22 555:11
  509:6,8 519:20         394:6 395:16         18:17 21:9 23:7       251:23 252:9,14      internationally
  531:6 538:5            399:9 412:24          133:6,6 196:11,24     292:5 428:5          555:10
  567:14 568:1           415:2 422:20          197:3 198:7         instruments           internet
  569:18                 431:13 434:22       initially              252:23                109:22 111:9
inflammatory             487:22 532:6         420:14               insulation              120:11 276:19
 90:8 119:8 218:10       552:15 563:19       initiate               181:5                interpret
  233:10 234:13        informative            256:9 286:24         integrity              79:24 80:4 88:5,6,7
  240:8 266:9           496:19 498:7         initiated              6:21 78:21 79:2        186:20 516:12
  280:13 281:23        informed               111:2,14 307:4         81:19               interpretation
  283:11 284:5          62:12 391:23         initiation            intend                 81:12 82:6 97:15
  290:22,24 291:4        392:13 395:5         119:11 476:14         17:10 68:24 72:9       100:2,3 101:12
  293:5 300:8,9          396:16 399:6        injury                  72:18,21,24 73:18     102:15 106:5
  301:22 309:2,5         501:10               309:13 331:20          266:23                112:2 456:18
  311:13 327:13        Ingersoll               333:23 425:9        intense               interrupt
  346:23,24 348:9       10:21                innate                 42:24                 76:11 350:14
  348:11 349:11,21     ingest                 325:19 326:4         intensity               452:19
  349:22 357:10         460:4                  328:20               39:13 353:15         interruption
  358:1 359:8,9,23     ingested              inquiry               intent                 384:7 529:1
  360:1 361:13          237:19                520:9                 69:20 70:2,16 96:6   interstitial
  362:6,12,21 363:3    ingestion             insertion             intentional            343:22 344:12
  377:7 423:9,18        331:15 458:2,9        556:24                557:24               intervals
  425:7 477:3,20         462:16              insist                intentionally          472:20
  478:19 480:20        ingredients            483:23                518:13,24 519:23     intramural
  481:8 488:6           9:22 270:14 425:12   insoluble             interest               443:22
  499:18 505:3         inhalable              322:10                18:13 22:2,7         intravaginal
  528:11 529:23         239:3                instability             198:11 229:7         288:21
  541:9 553:2          inhalation             420:24 421:20          326:24 327:1        introduce
inform                  153:12,13 197:7      instance                446:3                384:1
 56:6 62:10 394:22       224:4,5 258:9        155:15               interested            introduced
  395:8,13 396:22        264:13 286:13,17    institute              397:23                439:4,15 510:2
  501:7 547:20           300:2 309:3 310:1    15:20,22 149:22,22   interleukin           invader
  548:2                  332:22 344:24         223:5 259:14         356:22                355:3
information              425:23 458:2,9        443:17 512:13       interleukin-1         invasiveness
 31:15 46:5,9 65:22      462:15 464:10,17      553:18               298:19                192:7
  66:15 108:9          inhale                Institutes            interleukins          investigated
  109:16 138:21         460:3                 392:23                360:7                 312:1,7,9 534:4
  154:13 165:17,19     inhaled               institution           intermediates         investigating
  198:12 199:4          176:22 286:23         154:1                 256:14                241:9
  200:21 201:1           302:6,14 303:4      institutional         intermittent          investigations
  203:13 211:5           306:3 307:4 320:1    519:4                 406:19 407:8          122:21
  212:1 213:18           320:12 321:3,22     institutions          internal              investigator
  214:7,11 241:14        322:18,24 323:11     519:5                 51:17 202:12 203:5    76:1,22 109:20
  242:18 261:19          323:19 324:9        instruct                292:19 394:1,5        111:2,5,13 118:12
  264:3 274:11           467:6,15,18          20:24 482:5            418:18 428:4          443:21
  275:22,24 288:15     inherited             INSTRUCTIONS            536:18              investigator-initi...

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 318 of 366 PageID:
                                     75673
                                   Judith Zelikoff, Ph.D.
                                                                                           Page 610

  104:24 111:20        22:21 68:4,15      2:6                  journal              328:6
  116:16                444:13 520:5     Jersey                 67:10 97:6 98:9     Kemble
investigators         issued              1:2,15 3:18 13:8       114:23 213:11      3:17
 106:7 117:8 190:16    503:14            jet                     229:18 563:23,23   Ken
  301:8 408:1         issues              261:5                journals             442:14 463:19
invoice                31:11 167:18      job                    77:4 105:5 229:21   KENNETH
 18:14,16 28:2          170:18,23 175:15  292:16 337:22          229:22 230:2       3:12
  389:7                 175:20 533:1     Johnson                 444:18 533:21      kept
invoiced              issuing             1:4,5 3:10,10 18:3   judge                228:11
 389:1                 500:17              18:3 37:4,4          70:19 71:8 285:10   keratinized
invoices              Italian              179:11,11 201:8,8     317:5 318:24       334:6
 5:15 16:16,19 17:2    451:19,20           247:6,6 269:9,9       319:12 336:21      Keskin
  17:13,20 26:24      italicized           272:11,12 273:11      338:16 339:2,4     11:19 336:14 502:4
  27:4,6,17 386:4,4    469:20,21           273:12,22,22        judgment               502:5 506:9,10
  386:11,22 387:6     Italy                274:5,5 277:5,5,9    121:13 224:15,17      566:12,16 567:7
  387:13,14 389:5      187:22              277:9 280:18,18       226:19 228:15        569:10 572:10,14
involve               item                 280:20,20 286:19      315:19 322:21        572:23 573:13
 123:2 155:1,4         453:21              286:19 287:3,3        385:9 489:12         576:20 577:4
  241:9 308:9 328:1   Iturralde            423:11,11 447:21    Judith               key
  493:7,24 494:5       197:13 336:11       447:21 450:9,10      1:13 5:4,17 13:12   81:24 135:10,11
  515:15                502:22             450:12,13 488:4,8     13:19 14:8 579:8     306:23 308:4,9
involved                                   493:20,20 508:3,3     582:16               309:8,8 325:17
 164:1 198:22 383:9             J          508:20 528:13       Julie                  375:13
  486:24 488:3        J                    575:23,23            64:9,15,18 389:23   keyword
  515:6 519:19         3:12              Johnson's               411:10,15,19       462:20
involvement           J&J                 45:21 73:1 90:4        412:5              keywords
 290:5 486:6,18        14:5 536:18 559:3   187:3 188:1,14      jump                 135:11 196:22,24
involves              J&J's                189:19 190:11,17     51:1 383:24         kferguson@gord...
 325:19                187:20 190:9        190:22 242:11       June                 3:14
involving             J.M                  246:24 247:13        93:11               kidney
 24:24 416:8 487:16    2:18                248:3,12,16 275:9   jury                 294:11 308:8
  492:21              JAMES                275:15 276:9         70:19 71:9            312:10,15 467:10
ion                    4:8                 278:1,7 286:9                            kill
 466:5,7,24           james.mizgala@t...   287:18,23 288:12            K            326:1 328:5 329:6
ions                   4:10                292:2 295:22        K                    killer
 465:3,7              January              410:8,23 418:1,3    2:3 3:17             308:11,16 325:18
IRBs                   1:10 13:5 18:19     418:8,12 428:20     Kansas               kind
 520:1                  33:22 36:19 37:8   429:11,17 449:8     3:4                  126:2 325:24 385:2
iron                    37:12,14 55:19     449:14 488:4,8      Kasprzak               483:7
 182:1 271:14 324:4     57:17,19 168:22    492:22 493:7,17     7:21 121:23,24       kinds
  324:5                 500:23 522:12,14   493:24 494:6,22      122:13 123:19       374:22
irreparably             523:6 579:15       495:6 508:20        keep                 knew
 354:13,15            Jay                  520:24 528:13       74:9 105:1 254:24    513:19
irritation             437:22              536:16,21 538:17     327:20              know
 119:9 120:21 505:2   Jennifer             539:5 575:18        keeping              18:1,24 19:8 21:24
  507:2                2:3 18:23         Jorge                 337:22                 22:9 51:6,8 53:13
issue                 Jennifer.emmel...   10:16                keeps                  53:16 58:7 59:2

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 319 of 366 PageID:
                                     75674
                                Judith Zelikoff, Ph.D.
                                                                                         Page 611

 53:16 58:7 59:2    89:18 90:1 95:10     348:6 352:19        309:14               leads
 59:20 63:8 68:8    95:19 97:20          358:10 434:6       laid                   22:6 103:23 116:22
 74:8,23 84:1       101:13 104:11        440:16,18 469:24    63:14                  236:12,20 240:13
 87:18 88:17 92:18  105:2,3 106:6        473:8 510:17,22    Lancet                  565:15
 99:8 111:12 119:1  109:3,17 113:3       512:8 518:9,23      250:10,11            leaning
 119:16 135:1       114:2 117:9 121:1    554:23,24 569:7    Langer                 370:24
 140:15,18 143:9    135:20 140:2,2      knows                405:8,12 406:5       learned
 155:16 160:3       143:22 144:17       86:12                 407:17,22            340:17
 165:17 173:5,9     145:18 148:2,3      Konstantine         Langone               leave
 175:6 183:3        150:17 153:1        122:14               14:12 514:2           320:22 322:5 483:5
 187:11 202:5,5,6   154:20 155:24       Korea               large                 leaving
 205:11 211:1,20    157:14,16,17        187:23 277:6,8       58:22 98:22 99:5      222:12
 221:9 222:19       158:2,23,24                             larger                lecture
 230:13 250:21      160:17 163:3                 L           56:18 428:13 429:8    31:6 33:16
 251:20 258:23      164:22 165:11       L                   late                  lectured
 274:2 276:19       169:9,10,19          1:15 579:12         31:11 431:7 434:21    167:14
 294:24 295:7       170:15 171:9,12     lab                   503:17              lectures
 342:1,9,10,11      174:19 175:5         253:8              latest                 33:12 165:23
 348:15 350:16      180:23 184:24       label                250:14,17 255:1        166:17,17
 385:2 386:13       191:17 192:2         477:8              lattice               led
 390:6 401:15       193:21 203:22       Labeled              268:13                140:21 433:23
 407:3 409:18       210:17,24 213:15     10:11,13,14,17,19 Lawrence                 568:1
 411:1 412:10       223:14 231:3          10:21 11:6,8       132:6                left
 422:8,16 424:23    279:18,23 295:2     Labor               lawsuits               456:2,3 487:14
 425:5 434:2 435:1  314:2 323:6,7        120:9               24:23                  508:5,13
 439:20 441:17      329:15 334:16       laboratories        lawyer                legal
 447:23 451:7       340:14,24 341:9      269:1               23:5 211:23           70:24 490:11
 456:12 467:1       345:10,20 348:16    laboratory          LAWYER'S              Leigh
 474:20 482:24      352:14 359:2         43:11 111:6 116:17 583:1                  2:3 483:5 570:12
 483:4 499:1        360:5 367:11          147:24 148:4,10   lawyers               leigh.odell@beas...
 502:13 517:10      379:17 423:14         151:15 184:20      19:23 26:1 27:19      2:5
 530:16,19,21       424:24 441:18         186:19 224:8        159:6 203:20        lend
 539:7 542:5,7      474:21 486:17         251:21,24 254:11    211:3,24             391:2
 544:13 553:8,16    514:22 531:1          254:24 290:3      lead                  length
 554:6,8,11,20      538:21 542:12         292:10 310:2       55:7 60:16 104:13     440:4
 558:6 578:2        552:24 553:5          380:16 443:6,7,9    119:9 176:19,20     length-to-width
knowing             554:12                443:15 448:23,23    199:5 201:9          179:13,14
70:14 136:2 238:3 knowledgeable           455:4 533:5         259:20 261:9,10     lengthy
knowledge          157:6 514:8 552:21     556:24 557:23       261:11 271:15        263:2
18:18 19:20 21:19   554:3                 561:5 562:7         302:8,15 303:6      lesions
 23:10,12 24:19    known                lack                  306:5,9,12 316:6     119:10 345:12
 25:4 28:4 54:7,8  14:12 77:17,20        140:22               316:8 345:3 366:2     420:8
 58:18 59:4 63:11   104:3 110:20        lacking               371:12 402:9,21     let's
 64:21 65:9 70:13   122:18 123:1         431:19 433:24        431:18 441:14,15     77:22 175:19 190:3
 72:7 75:24 76:7    200:1,11 217:22     lactate               475:24                300:1 317:19,22
 76:23 77:9 80:14   241:7 245:3,17       183:18 309:14      leading                 318:5,10,14
 83:8 84:12 87:3    256:6 325:16        lactose              505:3                  331:14 338:1

                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 320 of 366 PageID:
                                     75675
                                    Judith Zelikoff, Ph.D.
                                                                                              Page 612

  456:24 457:4        LIABILITY             list                   110:22 112:5,13        445:18 470:7
  458:24 459:1         1:6                   32:9 35:7,8,8 36:5    113:2 126:22           487:21 492:8,13
  463:15 529:2        liberty                  39:6,17,17,21       127:10 129:11          502:2 514:18
letter                 118:18                  43:21 45:3 61:23    130:6 131:16,18        533:2,7 562:2
 9:13 58:19 63:21     life                     140:8,13 169:5,11   131:20 132:20,23    litigation
  63:22 197:17,21      94:20                   169:16 220:18,22    133:17,24 134:1,6    1:7,20 13:4,10
  211:4 212:1         lifted                   280:11,18 322:23    134:7,8,9,19           14:22 15:9 16:2
  429:24 430:4,9,21    98:4,15                 409:5 455:23        135:5,16,21 136:1      18:4 19:13,23
  431:16 434:13       light                    477:5               136:4,6,9,15           20:17,22 21:15
  436:4 437:11         252:1 253:4          listed                 139:13 141:2,5,7       29:8,21 34:18,24
  497:3 539:16        likelihood             36:13 43:24 45:9      141:11,15 145:9        68:6,17 72:9
  540:10               519:3                   46:16 47:16 49:9    146:22 147:8           137:19 138:4,15
letters               limit                    49:11 65:6 66:6     148:23 149:15          144:12 146:8
 51:16                 482:8                   66:13 142:15,24     150:1,3,6,9,15,23      147:16 171:24
leukemia              limitation               143:5,24 144:3      151:2,9 153:24         204:2,17 228:23
 158:14                467:13                  170:4,5,8 184:5     158:5,18 165:3         229:3 375:3
level                 limited                  201:17 220:16       172:14 174:20          390:14 424:1,17
 82:1 176:13 258:24    463:6 498:8             223:1 245:20        184:23 190:13          442:16 447:5,14
  259:11,13 262:7     limiting                 270:14 327:7        194:16 198:2,2         448:8 486:7,7,18
  264:4 283:2 316:8    108:14                  417:9 419:6         199:1 200:20           490:18 493:17
  316:10 352:4        limonene                 425:14 476:24       204:7 205:21           507:17 525:2,18
  366:12 394:9         47:4 166:12             490:14              207:5 218:5            526:11
  475:16 478:12       line                  listen                 226:18 228:6        little
  510:9 554:11         12:6,9,12,14 64:17    129:15 216:13         231:6 238:17         72:16 94:5 150:21
levels                   95:1 344:19,21        221:22 222:3        241:3 246:22           175:21 265:24
 155:14 259:4,16,17      400:2 401:3,4         284:9 329:9         247:4,12,18,21,24      267:17 373:12
  259:22 260:4,4,23      404:21 407:3,5        561:20 577:12       248:2 249:2            383:24 441:21
  261:13,17 262:3        462:15 490:16      listened               253:21 254:4,6      liver
  282:10,21 286:6,8      570:3,18 581:4      254:20                262:5 265:20         294:12 331:5,13,21
  292:21 313:7           583:2              listing                266:15 292:18,18       467:10
  351:9,20 352:5,9    lines                  5:23 6:19 44:12       293:3 301:24        LLC
  352:22,23 353:8      183:14 375:23           52:3 141:21         302:22 312:2         4:11,11
  354:2 356:21           376:7,10 461:15    lists                  313:23 315:12,14    LLP
  360:22,22 362:6        501:20 546:2        179:6                 320:5 323:7          3:2,7,12,16 4:3,7
  362:11 367:16,22       549:19 551:2       Lit                    329:15 330:2,8      local
  377:9 416:18        link                   44:10 54:18           331:8 333:1,1        287:7 299:24 312:6
  459:6 475:16         22:23 152:7,13       liter                  345:21 351:13          312:11,12 314:6
  511:1 559:7            254:12 280:3        462:1                 356:2 360:12           356:17 449:19
LEVIN                    351:20 476:10      literally              368:1 381:2            505:2
 2:8                  linked                 235:20 571:7          382:18 385:13,17    localized
Levy                   284:7 285:13         literature             388:8,10,18 389:3    327:20
 6:23 83:20 84:1         349:14 359:2        16:6 20:7 24:20       390:21 391:19       location
Levy's                   475:13 571:3          41:24 42:7 43:6     394:1,12,13,13,16    192:18 452:9
 84:4,19 85:3,11      linking                  46:23 47:20 48:7    394:17 413:4,14     locations
  87:9,12,16 88:1      330:3                   51:12,13 54:17,22   415:7,18 425:3       459:7,10 460:15
LHG                   links                    61:18 68:5,15       427:23 429:18          461:23 462:10
 1:6                   351:15                  69:11 73:11         434:6 435:2         LOCKE

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 321 of 366 PageID:
                                     75676
                                 Judith Zelikoff, Ph.D.
                                                                                          Page 613

  4:3 337:18          208:3,11 211:11     291:15,16 294:15      573:23 575:17       lymphatics
logic                 212:14 218:9        297:2,5,7 309:4       576:19               299:5
 119:17               237:13 263:20       309:13 310:3        looks
long                  282:3,3 301:14      313:22 314:2,12      268:16 309:16                M
 14:17 64:11 74:7     305:13 310:4,7,8    332:20 335:21         356:16 485:13       M
  173:12 182:18       310:9 316:1,14      340:1 357:16        lost                  2:14 39:18 381:11
  239:8 251:15        335:5,12 343:6,13   374:11 380:13        545:22               ma'am
  322:8 486:13        343:15 356:14       381:5,6 384:24      lot                   164:15 443:11
  524:22              357:9 363:9         386:20 413:15        290:8,13 304:2        448:17 497:20
long-term             366:12 368:3        415:10 420:15         373:11 433:5         571:23
 11:17 116:21         372:6 380:2,8       428:3,7 464:17      lots                  macromolecules
  329:23 438:10       406:11 411:7        465:2 469:5          289:24 575:24        470:1
longer                413:21 417:12,18    477:19 478:19       low                   macrophage
 358:17               418:19 419:20,23    494:23 520:2,4,12    191:18 192:5         308:10 309:10
longitudinal          429:22 435:12       533:19 534:22,24      282:21 293:7         310:8 328:18,24
 179:20 182:18        436:3 438:8,15      559:5 561:3 577:7     429:21 459:5         330:12
  244:5,8             444:24 446:8,11   looking                 480:17 481:5        macrophages
Longo                 446:14,14 449:2    42:23 44:6 59:9      lowest                103:20 183:19
 5:19 36:15,18 38:5   454:17 455:16       69:3 73:11 161:2     264:16                308:14 310:24
  48:20 247:7,16,17   456:24 457:4,22     162:3,21 164:23     ludicrous              325:16 327:18
  248:21 249:8,9,13   460:17 461:1        176:11,13 179:9      280:1                 329:6,17 356:20
  249:20 250:1,7,14   464:20 466:19       183:2 185:1         lumped                 402:10,22
  250:21 251:8,13     470:15 472:8        188:10 202:23        315:23 324:1         Mahwah
  277:3 428:7         475:6 484:22        206:9,24 209:13     lunch                 1:14,14 13:8
  446:23 447:3,19     494:16 501:22       210:11 211:15,18     22:17 196:3 386:19   main
  460:23 493:14,19    509:3 510:24        216:6 270:8         Lunchroom             443:19 514:17
  520:22 521:16       520:16,19 537:3     278:17 279:3         25:14                major
  526:14,17           538:22 548:11       283:20,24 286:2     lung                  167:23 327:24
Longo's               552:6 563:24        286:18 287:2,9       198:18 239:6          470:20
 48:11 73:24 247:7    566:23 574:18       305:20 309:19         258:19 291:10       majority
  521:24            looked                332:10 360:18         294:11 299:10,12    231:4
look                 41:14,19 42:17       369:24 372:4          308:7 309:6,13      making
 16:24 41:7 45:5,8    45:16,17,17 47:3    373:2,3 375:5         312:13 323:19       155:10 173:20
  45:15 49:20 50:14   47:16 52:11 61:21   376:22 378:16         402:10,22 467:24     374:4
  73:15 84:10,15,20   66:18 84:7,11,13    380:5 381:10          468:1,8,20 512:24   Man
  88:24 99:11         87:20 88:22         391:12 396:8,11     lungs                 123:23
  103:16 116:11       101:19 102:12       404:4 415:7,19       153:15 300:20        manager
  117:14 126:14,22    114:21 137:3        438:9,10 440:1        301:4,13 302:7,14   548:22
  160:18,23 161:6     138:6 139:1,3       464:10 469:2          303:5,14,16 304:4   mandate
  161:17 162:1,11     169:23 188:6        483:10 485:8,10       304:17 306:4        126:18,21 127:9,16
  163:13,23,24        189:23 190:1        502:1 525:24          307:5,14 310:14      127:22,23 128:14
  170:18,22 175:8     197:6,9,12 213:1    530:12 536:7          344:16 345:3,12      128:24 129:6,9,17
  176:7 188:9,23      213:4 251:14        537:2,5,16,23         402:2                129:22 130:3,4,11
  190:6 199:13        252:21 260:15       551:6,21 556:14     Luzenac                131:4 136:24
  203:13 204:18       264:23 266:21       556:19 557:4,18      63:23 456:1           199:17
  205:10,13,19        271:5,8 278:10,23   558:19 559:9        lymph                 manifestations
  206:23 207:17       279:9,15 283:16     560:6 568:23         11:16 299:4          470:4


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 322 of 366 PageID:
                                     75677
                                  Judith Zelikoff, Ph.D.
                                                                                          Page 614

manner                92:21 99:18         Marte                 29:14 39:3 46:20     460:14,20 465:4
22:14,19 67:17        102:17 106:9        4:16 13:3             52:21 63:5 64:8      466:21 467:3
 145:5 179:20         115:13 117:24       mass                  74:24 76:10 79:14    474:14 478:13
 426:21 480:21        119:18 121:14,19    48:20 292:12          87:2 92:9 127:22    measurement
 481:10,12 483:22     125:7,12 126:3       301:19 465:5         134:23 147:23       137:16 176:15
 484:17               175:10 207:19,23    mast                  157:15 158:12        301:10
manners               208:6 386:7 393:6   103:20                181:15 183:4,5,6    measurements
438:17                393:10 398:20       master                187:11,12 192:20    176:14,14 186:15
manufactured          405:13 406:14       132:7,8               195:16 199:23        456:15 460:9,11
520:24 521:7          418:23 430:3,5      masters               201:13 204:6         475:15
manuscript            454:9 457:6,7       166:1                 212:21 225:6        measuring
55:5,13,14,22,24      469:7,12 471:16     matched               234:22 238:7        292:5,11,12 352:17
 56:2,5,24 57:3       471:21 480:6        52:15                 252:10 255:6         354:2 517:21
 58:1,4,9,11,14,21    481:14 482:17       material              257:17 268:6        mechanism
 58:22 59:2 61:2      500:9,12 507:19     25:16 27:15,16        341:20 348:18       24:13 119:12
 117:22 395:3         522:20 549:9         77:12 181:24         350:8 351:22         151:10 199:24
 493:6 539:6          562:21 567:3         197:11 224:22        354:15 355:6,8,17    200:24 220:1
 575:10,15 576:3      575:10               408:14 427:17        361:19 368:19        271:13 306:23,24
manuscripts          marker                453:3 455:11,19      369:3 400:21         307:3 349:1,16,23
374:10               351:2,13,14 352:20    538:11 539:21        401:20 413:2,5       350:2,7,22,24
March                 353:3,14            materials             416:24 423:1         356:9 359:4
229:15               markers              26:3 31:16 50:16      448:14 475:4         361:15 371:5
Marconi              10:8 309:5,20         50:24 51:2,6,12      481:11 483:20        373:4,5,8 377:3
10:22                 311:10 359:8,23      51:19,23 52:4,19     484:16 490:7         381:18 382:5
mark                  360:2,14 361:13      53:23 54:3,9,10      492:17 561:10        383:1 400:3,15,18
3:3,17 14:4 16:18     361:23 362:6,12      58:5 59:19,21        571:22 572:3         401:5 402:1 403:6
 36:19 60:11 62:24    478:19               64:2 73:17 76:16    meaning               431:18 432:6,11
 78:13,20 83:12,15   market                93:20 141:24        235:20 329:16         432:16,22 433:17
 84:22 88:14         2:14 451:19,20        196:14,19 203:24     366:23 549:21        433:23 440:18
 106:13 118:4        marketed              213:10,11 374:23     550:19 551:9         470:10 473:3
 125:11,17 195:19    496:22 498:1,13      math                 meanings              504:1,10,15 505:4
 207:20 208:9         540:20              451:8                235:15,19             505:17 508:9,17
 277:10 318:4        MARKETING            Mattenklott          means                 509:9 512:23
 393:3 398:15        1:5                  11:6                 70:7 157:16 192:15    513:2,11 553:4
 405:11 454:8        marking              matter                341:21 400:22       mechanisms
 479:24 482:3        35:19 50:8 53:11     13:9 176:22 303:21    456:12,14,21        122:16,24 152:2
 495:16 549:13        93:2 102:22          364:14 441:2         579:20               200:24 236:16
 567:2                115:18 175:7         447:6               meant                 328:3 347:16
marked                481:18 562:17       Max                  277:6 369:7 485:14    364:21 365:3
12:13 16:20 26:24     563:1               537:21                490:10               371:11 382:16
 27:17 35:15 36:21   marks                MDL                  measure               383:8 401:22
 40:4,9 43:12,16     80:18,23 96:11,16    18:4 26:19 34:23     362:4 363:2 466:19    402:9,21 514:19
 50:4 53:7 55:4,8     96:24 97:2,10,24     40:10 48:11 49:24   measured              544:1 545:8 546:8
 57:1,7,11 60:7       101:18 102:11        250:1 525:18        235:23 269:10        media
 62:20 65:7,19        105:20 113:21        526:8,20 527:2,5     270:17 290:3,9      25:6,17 152:14
 75:14 78:16 83:21    115:1,12 116:4      mean                  309:2,5,7,14         254:21 450:4
 85:10,12 88:10       119:15 578:9        20:24 22:19 29:10     459:6,22 460:12      532:7,21

                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 323 of 366 PageID:
                                     75678
                                   Judith Zelikoff, Ph.D.
                                                                                           Page 615

median                 421:15               290:15 303:24        140:16,19 143:10     340:20 341:4,11
243:2 428:9           memorandum            316:12,13,13         199:19 214:1         356:19,20 434:20
mediated              202:12 203:5          322:6 466:22         223:19 224:10        499:7 506:24
300:6                 memory                492:2                238:4,8,16 306:2    migrated
mediator              161:11 188:9 191:5   metals                413:12 434:11       198:17
216:11                 194:2 419:1 531:3   9:20 166:11 268:8     445:8 501:20        migrates
mediators             men                   268:13 270:17,22    methods              371:8
296:13 301:23         284:20                271:20 272:17       380:20 413:16        migration
 359:9 363:3          menarche              274:6 278:6,7,18    Mhegarty@shb.c...    197:10 240:4
medical               31:10                 278:24 279:4,10     3:5                   414:15 430:18
68:4,15 112:12        menopause             279:16 280:3,12     mice                  431:11 432:4
 113:2,10,16 141:4    31:11                 280:15,19 281:5,6   264:11,22,22          433:14,18 434:4,6
 141:7,11 146:22      menthol               281:11,18 282:5      465:10               435:7 505:15
 147:8 150:6          166:12                282:11,14,15,20     Michael              millers
 152:19 153:3         mention               282:24 283:21       5:22 35:9 39:8,18    438:3
 154:7 156:18,20      272:18                284:4,12 285:3,4     40:10 422:5,13      milligrams
 156:21 157:3,7,10    mentioned             285:14,24 288:1      528:9               264:8,16
 157:19 158:16        29:11 33:7 166:18     289:1,6,8,14        Michelle             milliliter
 177:1,3,4,17          196:13 305:4         290:13,16,18,20     1:15 579:12          461:18
 227:19 246:22         325:15 328:10,14     290:21,23 291:20    micrometers          million
 247:3,12,18,20,20     389:22 395:13        292:3,13,22         242:22 467:19        288:2 462:1
 247:24 248:1          436:9                293:14,18,19,22      468:2               mind
 313:23 347:12        mentioning            294:16 295:13,19    micron               42:21 159:23 284:7
 355:10,19 385:13     398:14                296:5,23 315:20     242:23 429:7,14       302:23 347:5
 385:17 401:14        mentions              315:23,24 316:1     microns               372:20 380:14
 415:18 492:7         393:4                 316:15 320:8        239:2 242:21,22       391:14 414:7
 514:3 533:2          Merritt               322:7,9,10,14        428:12,13            497:15 498:24
medicine              10:7 469:14,15        323:23 418:21       micronutrient         502:20 520:18
14:12,15 22:16         470:16 471:11        457:11 491:17       316:2,5               536:6 537:20
 30:4 149:22           473:20               492:9 517:4 534:7   microphone            544:6
 167:19 223:6         Mesothelial           534:24 535:19       39:12 208:18 251:1   mine
meet                  11:11                 556:20 557:1         495:20              43:8 86:4 100:5
28:6 468:19           met                   559:13              microphones           277:8 284:23
meetings              19:24 28:9 554:15    meter                196:1                 380:19 459:12
555:18                 554:16              459:8,24 460:16      microscopy           mined
meets                 Meta                 method               252:2 253:5          187:20 269:22,22
99:20 467:7           207:2                286:16 380:20        microspheres         mineral
Melville              meta-analyses         410:16              197:14               182:19 408:12,21
2:19                  232:10 415:11,14     methodologies        middle               mineralogist
member                meta-analysis        252:4,22             231:2 244:24         186:4,6
435:23 444:6 555:9    6:15 60:14 205:15    methodology           473:22,23 480:24    minerals
 555:11,12             206:4,10 207:3      67:8,22 112:1,4       496:12 520:21       108:15 180:16
membership             231:19,24 232:15     126:19 128:14        549:19               243:24 406:22
444:2,9                358:14 477:22        129:1,7,17 130:3    midway                407:12 455:24
membrane               478:2                133:3,23 134:17     512:6                 490:22
420:6,7,12,18,19      metal                 135:13 136:24       migrate              miners
 420:21 421:2,8,13    224:4 282:16 288:5    137:18 138:3,13     240:5,6 298:15       438:3

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 324 of 366 PageID:
                                     75679
                                  Judith Zelikoff, Ph.D.
                                                                                         Page 616

minimal              305:12 368:6         269:1                236:11,22 237:7      392:23 443:17
264:9,10 421:5       models               motion                 551:10             444:2,3 512:13
minimum              138:8 233:5 335:15   339:18               mutation            nationwide
255:3                 346:17 372:9,14     mount                87:1 236:10,14,15   555:10
mining                542:15,16           3:17 325:12,24         236:16,16 237:3,4 natural
123:16 257:21        modified             mouse                mutations           308:11,16 325:18
 419:9,12            310:21               334:18               86:8,15 94:18,24    nature
minor                molecular            move                   95:1 365:14       112:21 228:7
166:9                6:8 186:2,3 474:10   336:18 426:20          478:12             244:17,20 246:20
minus                 544:2 545:9 546:9   movement                                  467:23
61:17                molecule             198:19                        N          NCI
minute               369:6 441:5 465:22   moving               N                   8:8 393:1,4 394:3
383:14 417:6 421:9   moment               316:11 337:23        5:2                  394:21 395:8,23
 556:7               32:23 35:7 39:15     MSDS                 NAD                  397:1
minutes               94:3 102:3 122:8    45:9                 456:8,10,12,21      NCI's
195:21 277:12         163:4 206:23        MSDSes               Nahoum              394:18
 482:14               443:19 537:9,13     45:2,5               116:10              near
miscited              539:14 570:8        msilver@coughli...   name                508:4
407:21               money                3:19                 13:2 14:4,7 19:15   necessarily
mission              229:2,12             MUC-1                  19:18 28:18 33:15 76:3,5 77:10,18
73:3 256:17          monitor              350:5,8,12,18          83:19 117:3 155:6  298:11 357:2
misspoke             360:2                 351:4,9,14,20         173:9 191:5 197:3  569:6,7
277:4                monitored             352:4,9,17,19,21      197:3 218:14      necessary
misstates            360:7                 352:23 353:1          219:8,14 220:11   72:5 135:13 201:3
115:6 300:23 557:8   monograph            mucin                  222:19,20 231:21   201:18 241:17
 563:7               8:21 9:21 435:6      350:13                 335:4 442:14       255:4 263:15
mistreat              457:5               mucociliary            507:16 530:23      265:7 266:11,19
318:18               Montgomery           467:22 468:6           572:6              282:11 292:22
mistreating          2:4                  mucous               names                298:8 580:4
318:21 319:2         month                191:19               44:8 132:4 232:12 necrosis
MITCHELL             20:19 522:13         multifactorial         236:3 514:4       298:19 360:6
2:8                  Mori                 129:14               nanometers          need
mixtures             481:2                multiple             428:14              32:24 35:12 85:14
491:4                morning              83:9 101:14 106:6    nanoparticle         103:16 122:9
MIZGALA              14:2,3 42:3,9 43:4    106:6 142:5         224:4 466:21         161:6 187:12,13
4:8                   43:18 55:4 57:13     285:18 302:17       nanoparticles        209:16,22 222:14
Mm-hmm                64:5 65:1 73:21      325:2 327:6 369:1   303:23,24 304:9,15   232:11 237:5,5,10
40:12 75:22 181:21   morph                murdering              309:4 429:6,10,16  237:11 267:17
Mm-hmm-hmm           331:23 332:1         117:3                  429:16,20          293:3 321:12
205:10 447:1 458:8   morphology           mutagenesis          NAPOLI               335:12 337:21
 468:21 471:23       244:20 268:15        237:12,20            2:18                 344:1 369:17
 552:9 563:5 569:1    305:24 324:17       mutagenic            national             371:4 380:2
MO                   morphs               236:6,8,10 551:9     15:20 77:24 149:21   454:23 483:7
3:4                  514:3                 552:2                 149:23 154:14      523:11 537:8
mode                 Morristown           mutagenicity           197:23 215:8,16   needed
502:11               3:18                 237:16 551:22,23       215:17 220:2,3    253:24 271:16
model                Mossman's            mutate                 223:4 264:6        276:13 284:24

                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 325 of 366 PageID:
                                     75680
                                   Judith Zelikoff, Ph.D.
                                                                                             Page 617

 358:16 445:22         563:8               60:20 461:15           47:2,11 48:12,22     430:4 433:22
needs                new                   NIOSH                  69:19 70:1 83:17     436:15 444:22
74:21 214:8,9        1:2,15 2:19 3:8,8     512:14 548:23          86:1,2 229:8,13      464:10 471:21
 237:19 358:12         3:18 13:8 14:11     nitrogen               249:20 388:3         476:21,23,24
 537:12                14:14 15:7 29:20    364:11,16,23           389:13 395:15        477:7 485:5,5,9
Neel                   29:24 32:4 69:4       365:14 366:7         500:20 521:18,24     489:10 497:1
342:2,4 513:16,19      80:6 173:7 227:22   node                  NSAID                 498:10 509:24
 514:15 552:22         228:18 259:23       299:5                 472:19 473:16         513:4 517:20
 553:16 554:3          260:13,24 290:2     Nodes                 NSAIDs                542:18 560:24
 555:16                342:2 482:16        11:16                 469:3 470:7,11        562:18 563:2
Neel's                 487:2               non-asbestiform        472:17 473:7         564:13 567:24
513:22 514:24        Newton                178:22 180:3           474:1                568:2,9
 553:5 555:4         502:21                  269:11              NTP                  numbered
negative             Nick                  non-fibrous           197:24 220:23        6:20 93:15
232:3,18 305:13      132:6                 515:18 516:15,21       221:1 264:6         numbers
negatively           nickel                non-peer-reviewed      402:11 435:15,22    66:4,5,13 286:18
326:1                77:22,22 122:12       446:1                  436:7,21 437:1,10    309:10 575:24
neighbors              123:15,23 124:2     nondetectable          437:24              Numeral
173:22                 124:11 159:1,1      269:15                nuances              207:3
neither                272:20 279:20       nonfibrous            399:17               numerical
58:3 398:5 466:6       280:21 282:18       189:15 269:3          nucleotide           137:11,15 503:20
neoplasm               283:3 286:1           480:17 481:5        379:24 380:6,22      numerous
234:16                 287:16 288:10       normal                 381:8,14 382:18     95:11 117:7 120:23
neoplasms              289:8,21 290:1,7    324:23 328:19          383:6                120:24 122:19
233:13 234:17          290:16 291:18         364:1 365:19,20     number                135:9 202:11
neoplastic             293:6 297:17          402:1,4 462:12,12   16:18 17:1 27:1,3     203:4 214:10
470:2 479:12,16        314:16 315:6,16     Notary                 36:6 37:23 40:9      218:7 229:24
 567:12,16,23          316:2,16 319:24     1:17 579:14 582:23     43:17,19,20 44:2     235:23 252:13
 568:19 569:5,7        515:21,23 516:15    note                   44:4 45:3,10         366:10,11 433:21
 574:6,16,22 577:5     516:16,20 517:19    573:1                  46:16 48:13 50:9     444:7 492:1 561:2
 577:23                517:22 518:3        notebooks              53:12,14 55:5       NW
neutrophil             536:1,5,9,11,12     54:6,10 108:21         57:12 60:12,18,24   4:4
308:11 325:16          536:13,14,15,17       480:3                61:1 63:1,4 64:13   NY
neutrophilic           536:20,22,24        noted                  65:13,18 75:18      69:16 81:17,21
357:18                 556:16 557:5,19     13:14 17:7 521:17      78:21 79:15,15,16    342:2
neutrophils            558:4,5,21 559:6      572:24 580:11        93:8 95:23 101:21   NYU
103:21 308:14          559:10 560:6          582:11               102:13,22 104:5,9   6:21 14:12 30:3,8
 309:7 310:8 311:1     561:3,16,23         notes                  106:14 107:16        78:22 79:2 81:11
 356:18              nickel-induced        463:20 544:17          117:15 125:21        81:19 82:16 100:3
never                122:17,24               583:1                126:15 141:22        513:16,17 514:2,3
50:2 88:22 112:16    nicotine              notice                 142:15,24 174:21
 113:10 150:16       224:3                 1:14 6:6 50:10         187:15 207:23               O
 153:19 159:7,17     NIEHS                   451:11               255:3 266:10        O'Dell
 163:17,20 164:8     15:20 443:16          notion                 332:11,12 343:19    2:3 5:7 20:23 23:11
 165:8,13 177:18     NIH                   129:2,12               344:4 359:23         26:5,11 28:9,20
 332:18,20 448:12    8:18 9:7 15:22        November               392:1 393:3          28:24 32:20 38:15
 448:15 556:3        nine                  26:19 40:19,20,23      394:14 429:5         38:20 41:12 46:1


                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 326 of 366 PageID:
                                   75681
                                Judith Zelikoff, Ph.D.
                                                                                       Page 618

46:17 47:12,23      195:13,15,19        330:4 334:12          495:14,21 496:2     96:21 100:12
49:17 50:18 52:6    200:14 206:19       335:11,24 336:4       498:16 500:6        102:3 103:11,12
52:24 53:20 56:8    208:1 209:2,10      337:4,11,15 338:3     501:21 503:12       105:11 106:1
56:11,14 60:19,23   210:4,8 212:11      339:16 340:5,21       504:6,23 505:11     107:7,9 108:1,10
61:3 67:2,19 68:7   214:2 217:16        341:14 342:13         506:6 507:7         108:24,24 109:13
68:18 70:4,20       218:19,24 219:9     346:3 348:20          510:13 511:20       110:3 113:22
71:10,22 74:11,18   220:14,20,23        351:11 352:12,15      514:14 516:4        114:14 115:5
75:1 78:8 82:19     221:7,13,24         353:10 355:14         517:16 519:10       116:6 122:6
83:2 84:22 85:5     222:24 224:18       360:16 361:6          523:7 524:1,14      126:10 134:3,20
85:13 87:13 89:19   225:3,14,18,22      362:14,23 363:19      526:13 527:6,20     135:17 137:21
90:17 91:4,20       227:6,24 230:9      364:24 365:16         528:15,19,23        138:17 139:7,23
92:6 93:3,21,24     231:16 232:23       367:8 368:22          529:15 531:9,17     140:10 143:13
94:14 96:12,21      233:2,20 234:7      369:19 370:13         533:15 534:18       144:14 145:2,16
97:12 98:5,19       235:8 238:12        372:17 375:24         535:16 537:8        146:6,24 147:14
99:22 100:12,23     239:18,23 240:15    376:17 377:20         538:18 540:4,12     152:9 153:6
101:8,22 102:2,23   241:19 242:13       378:11,17,22          541:15 543:4        154:10 155:21
103:11 105:11       243:7 244:14        379:14 380:24         544:5,10,19         157:23 159:19
106:1,23 107:3,7    245:5 246:9         382:9 386:12,17       545:14 547:8,16     166:21 170:12
108:1,10,24         248:23 249:15       387:5,21 390:15       548:8 550:3,14      172:4 173:16
109:13 110:3,7      251:7 255:20,23     392:3,16 395:9        552:12 553:13       175:18 178:18
112:14 113:22       257:4 258:13        396:18 399:10         556:7 557:7,10      179:3 180:13
114:14 115:5        259:7 260:6 262:9   400:8 402:23          559:16,21 560:9     181:12,19 184:3
116:6 117:19        262:22 263:17       403:9 405:23          562:12 563:6,12     185:5 188:3,19
120:3 122:1,6,8     266:13 267:3,12     408:22 409:15         564:11 565:1,11     189:6,21 190:23
125:20 126:4        267:18,23 268:9     412:16 413:9          566:20 567:18       191:12 192:11
127:18 134:3,20     269:6 270:4,24      415:23 416:21         569:21 570:7,14     193:3 200:14
135:17 137:21       271:22 274:8,13     417:15 418:14,22      571:13,17 573:10    206:19 212:11
138:17 139:7,23     274:17 277:10,14    423:3 424:2,18        576:9,13 577:15     214:2 232:23
140:10 142:12       281:7 282:6 283:5   426:8 428:21          578:6               233:3,20 238:12
143:13 144:14       284:13 285:15       434:16 436:11       oath                  255:20,23 257:4
145:2,16 146:6,12   286:10 287:9,20     438:12 439:6,12     13:16                 258:13 262:9
146:24 147:9,14     289:16 291:6        439:18 440:11       OB/GYN                263:17 266:13
147:19 148:19       292:24 293:20       446:5 447:16        191:15 193:9          267:3 269:6
152:9 153:6         294:18 295:24       449:23 451:21         353:24 360:9        271:22 274:8
154:10 155:21       296:19 299:15,19    453:15,17 458:4       361:10 362:18       281:7 282:6 283:5
157:23 159:19       300:22 302:23       460:6 462:3 463:2     554:10 555:19       286:10 287:20
161:5,16 162:24     304:19 305:6        463:8 465:15        OB/GYNs               293:20 294:18
166:21 168:12       306:7,15,19 307:7   473:5 474:16        167:24                296:19 300:22
170:12 172:4        310:15 311:19       476:6 477:15        obesity               305:6 306:7,15
173:16 175:18       312:21 313:10       478:8 479:1,9       301:15,15,17          313:10 314:20
178:18 179:3        314:20 315:8        481:23 482:2,7,17   object                324:12 329:13
180:13 181:12,19    316:21 317:1,9,15   483:16 484:5,11     32:24 47:12,23        330:4 334:12
184:3,17 185:5      317:20,24 318:7     485:17 486:3,15       49:17 52:6,24       340:5,21 341:14
187:4 188:3,18      318:12,16,22        487:11 488:14,21      68:7,18 70:4,20     342:13 346:3
189:6,21 190:23     319:1,6,13 321:6    489:6,22 490:20       71:10,22 82:19      348:20 351:11
191:12 192:11       322:1 323:3,15      491:7,15,22           85:13 87:13 89:19   352:12 353:10
193:3 195:1,4,10    324:12 329:13       493:13 494:13         90:17 91:20 92:6    363:19 365:16

                Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 327 of 366 PageID:
                                     75682
                                Judith Zelikoff, Ph.D.
                                                                                     Page 619

 367:8 368:22       299:15 304:19       observable          386:9 436:19       540:23 542:17,21
 369:19 370:13      307:7 310:15        264:3               472:3 495:21       542:24 543:16
 372:17 378:11,22   311:19 312:21       observation         524:18 538:8       569:24 570:14
 392:16 395:9       315:8 321:6 322:1   151:14,17           542:21 545:21      571:10,13 573:18
 396:18 399:10      323:3,15 335:24     observations        570:1 572:3        576:9,13 577:14
 402:23 416:21      337:5 355:14        223:24 224:7       okay               once
 417:15 418:14      360:16 361:6        observed           40:18 42:18 49:8   371:6,6 468:9
 423:3 424:2        362:14,23 364:24    517:15 572:23       56:13 58:24 60:23 oncologist
 428:21 434:16      376:17 377:20       Obstetrics          61:3 65:17 74:5   177:9,11 354:1
 438:12 446:5       378:17 379:14       563:22              84:17 91:9 98:18   554:23 556:2,6
 465:15 473:5       380:24 382:9        obviously           100:21 101:2,12   oncology
 476:6 477:15       387:21 390:15       339:17 479:14       113:9 114:20      177:13,15 554:10
 478:8 479:9        392:3 400:8 403:9   occasion            121:18 122:22      555:22
 524:14 526:13      405:23 408:22       149:12              130:22 146:10     one's
 527:20 533:15      409:15 412:16       occasions           161:12 162:13     79:8,20 80:11
 540:4 552:12       413:9 415:23        339:7               178:23 181:9       82:15 87:1
 566:20 567:18      424:18 426:8        occupational        195:22 205:15     one-on-one
 569:21             439:18 440:11       120:20 123:15       207:13 208:19     167:5
objection           447:16 449:23         512:13            209:19 210:18     ones
26:5 32:20 38:15    451:21 453:15,18    occur               218:1 220:8,24    54:21 140:9 171:7
 46:1,17 56:8 67:2  458:4 460:6 462:3   236:17,18 327:21    231:1 250:5 259:3  220:21 223:1
 78:8 83:2 91:4     474:16 479:1          363:17 365:15     267:10,18,23       272:19 502:16,20
 93:21,24 94:14     486:10 487:7          402:6,18 403:3,7  277:13 291:17      573:22
 96:12 97:12 98:5   488:10,19 489:2       473:4 474:14      304:14 315:21     open
 98:19 99:22        489:16 490:8,24       475:5             317:4 319:6,13    37:21 82:6 370:6
 100:23 101:8       491:12,19 493:8     occurred            332:12 347:6      openings
 112:14 117:19      494:8,10 498:3      291:5               348:2 349:8 353:5 333:23
 120:3 147:9        500:2 501:16        occurring           368:10 378:3      opining
 148:19 162:24      503:7 504:2,17      357:1 373:20 478:6  380:11 382:22     434:24
 168:12 184:17      505:8 506:3,20      occurs              384:21 386:24     opinion
 187:4 195:1 209:2  510:11 511:17       123:16 237:9        397:7 402:16      23:2 25:19 30:6
 209:10 217:16,17   514:12 515:24         260:16 327:16     404:6 426:2 427:6  31:14 54:16 57:6
 218:19 219:1,9     517:6 519:8           331:20 475:4      427:13 430:20      71:1 72:2,13,24
 220:14 224:18      528:15,19 529:15    odds                436:5 441:23       74:2,3 76:20
 225:3 227:6,24     531:9,17 534:18     564:16              442:19 443:4       80:12,13 90:11
 231:16 234:7       535:16 538:18       offer               444:8,24 447:2     92:12 101:10
 239:18,23 240:15   541:15 545:14       26:3 72:9,18,22,24  451:6 453:9 454:6  112:6 113:7 114:1
 241:19 242:13      547:8,16 548:8        150:10 151:3,7    454:17 457:18,22   115:10 118:15
 243:7 244:14       550:3,14 553:13     offered             458:24 459:18      138:9,22 139:10
 245:5 246:9        557:7 559:16,21     150:18 163:17       460:2 482:4 484:9  150:3,18 152:22
 248:23 249:15      560:9 562:12        offspring           485:15 495:2       156:15 165:18
 259:7 260:6        563:6 564:11        176:24              498:17 505:21      172:13 183:22
 262:22 268:9       565:1,11 573:7      oftentimes          506:11 508:16      189:11 193:15
 270:4,24 284:13   objections           118:16 164:2 324:1  509:23 520:2       194:9,23 195:7,9
 285:15 289:16     50:19                  377:1             522:15 523:7       198:9 199:2,3
 291:6 292:24      objects              oh                  524:22 526:4       200:9 201:21
 293:21 295:24     126:5                84:17 142:17 251:2  530:15 536:20      214:6 215:12

                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 328 of 366 PageID:
                                     75683
                                   Judith Zelikoff, Ph.D.
                                                                                          Page 620

 219:15 220:12         138:13 140:21         218:2,14 222:19     165:4,9,15 167:13   363:11 375:24
 228:4 234:4 236:5     146:21 147:7        organizations         167:20,23 169:6     376:3,6,10,15
 241:18 243:20         148:9,12 149:5      46:6                  171:2,19,20 172:3   381:15,20 382:2,7
 246:15 248:20         150:10 151:3        organize              177:23 178:4        383:2 385:14
 249:4 253:17          163:18 165:9,14     463:19                191:8 192:10        397:11,15 398:9
 255:12,16,18          176:2 189:2,9,20    organs                193:13,17 194:10    400:4,20 401:7
 256:23 257:6          198:6 212:5 226:6   300:16 311:8 513:3    194:15,17,21        415:8,15,19 431:3
 258:10 259:4          226:10 227:21,22    origin                196:23 201:9        431:19 432:5,12
 266:6,7 267:6,10      228:8,14,18         192:9,14,18 193:1     205:9 206:1,13,17   432:17 433:24
 268:4 269:4,18        230:16,18,19        original              207:9 208:15        438:18 444:14,19
 271:10 272:7,10       238:5 249:12        135:4 432:7 580:15    209:1,8 210:2       469:4 470:8,21
 276:14 278:12,16      266:20 278:2,8      OSHA                  216:3,16,22         472:6,16 473:4,17
 281:21,22 298:5,9     373:24 374:7        120:1,8               217:14 218:18       474:1 475:17
 302:2,6 306:22        391:23 392:13,22    others'               221:5 222:9,22      476:5 478:20
 309:22 311:16         394:23 395:6,8,24   79:6,18 80:9 82:13    226:21 227:5,10     479:21 499:5
 315:5 319:24          396:1,3,17 398:7    outcome               230:7 231:7,14      500:1 504:11,16
 320:3,6,7,11,15       399:3,7 422:3       31:8 104:22,24        232:22 233:17       505:19 507:1
 320:24 321:1,2,21     445:5 499:23          151:11 183:1,16     234:5 239:17        508:11,19 509:11
 330:7 349:15          501:7,15,19 502:3     183:23 446:3        240:13 250:11       511:11,16 513:13
 350:19,21 355:20      505:24 506:18       outcomes              254:5,7,13 255:5    514:11 518:5
 356:4,14 374:5        509:17,20 517:18    184:12                255:13,22 256:15    520:6,10,14 532:7
 380:21 381:13,20      540:11 547:14       outdoor               257:2,11 258:6,9    532:12 533:3,7
 382:4,12,23 383:5     548:2,4 576:5       173:3 459:4,7         258:12 259:5        543:2,12 544:3
 383:6,10 391:2      opportunity             460:15              260:5,15,15,20      545:10 546:10
 395:13,19 396:6     424:6,10 448:11,19    outline               263:16 264:20,21    552:22 558:3,11
 396:21,22,23          449:1 579:9         133:20                265:2,8 267:2       558:20 559:12
 419:9 422:24        oppose                outlined              278:14 279:7        560:7 561:8,24
 424:14 432:10       126:11 339:17         506:17                280:5 281:5,10,17   570:20 571:3
 434:1,7,8 440:8     opposed               outside               282:4,12,18 283:4   575:6
 440:23 441:11       111:8 239:3 453:14    16:10 34:5,10         283:13,16,21      ovaries
 447:23 465:12       order                 ovarian               284:7,11,17       293:15 299:8,14
 466:23 469:2        51:13 55:1 98:23      6:11,16 8:6 9:16      285:14,23 290:19    300:21 302:8,15
 486:8,13,17,19,22     118:21 126:2          21:22 22:12,24      292:23 294:16       303:6 304:18,24
 488:13,16 500:5       145:23 146:4,8,11     24:24 25:4,12       296:17 297:6,6,12   313:24 314:3,19
 501:10,12 503:11      146:16 212:19,19      29:12 31:4,7,24     297:17,21 298:1,2   315:7 320:2,14
 505:7,13 510:15       237:20 420:7          32:5,10 60:15       302:8,16 303:7      321:5,24 322:20
 513:10 519:24,24    organ                   62:17 73:2,7,12     306:5,12 307:1      323:2,13 332:21
 530:4,6,7 542:11    33:17 165:23 288:6      126:24 127:13       311:17 349:11,14    340:3,20 341:12
 547:20,22 551:18      298:22 301:12         128:6,9,18 130:8    349:17 350:2        346:1,14 358:8
 560:18                312:6,12 330:14       130:12,18 131:1,9   351:1,10,16,20      370:12 403:8,14
opinions               331:10,11 355:5       141:13 148:14       352:7,10,18,24      435:8 464:19,21
22:23 25:15,22         371:18                149:7 150:16        353:4,9,16,20,21    464:23 465:8
 26:3,17 29:24       organism                152:8,13,21 153:5   354:4 355:12        468:15,23 499:16
 30:4 34:6,8 56:6    329:5,7                 153:21 154:9        356:7,8,9 359:12    507:4 574:23
 62:10,12,13 69:2    organization            155:2,8 156:17,24   359:17 360:3,14   ovary
 71:21 72:8,18,21    152:20 153:4 154:8      157:5,13,22         360:15 361:1,5    192:20 271:16
 73:19 135:14          216:19 217:10         163:21 164:9,20     362:1,4,10,13       287:17 288:11,20

                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 329 of 366 PageID:
                                     75684
                                    Judith Zelikoff, Ph.D.
                                                                                             Page 621

  288:23 291:5,12      366:2,6 367:18         344:3 347:6           450:6,19,23        567:7 569:10,20
  291:21 294:7,10      469:24 475:10          359:19,20 363:9       457:17 502:13      573:13 576:20
  298:10 299:4,6       504:14                 363:13 368:10         538:1 582:6       papers
  308:6 312:8 313:9                           379:7,19 396:6       paid               51:12,14 66:11
  314:14 315:17                P              398:24 399:22        17:20,22 26:2       69:9,10 83:7
  324:11 345:22       P                       403:20,22 408:6,9     132:12 446:1       112:19 133:11
  346:22 354:10       2:3                     409:24 411:7          447:3 448:7        137:5 140:20
  356:14 403:18       P-E-N-N-I-N-K-I...      417:8 419:23         paints              151:6 160:18
  467:6,9 517:23      232:14                  421:22,23 425:20     181:5               204:4 250:12,13
  518:4,20            P.C                     427:9 429:22         panels              250:14 378:5
overall               2:2,13                  430:16 431:15        15:13               381:4 408:2
541:21                p.m                     433:9,16 436:3,11    Paoletti            473:11,19 531:20
overload              196:2,6 277:18,22       436:13 437:8,20      451:4,6             531:24 533:18,24
402:10,22 403:7,13      319:15,21 338:19      445:1,4 446:14       PAPANTONIO          534:11,13 537:1
overview                338:23 383:16,21      449:2,6 450:14,16    2:8                paragraph
409:8                   442:2,5 463:24        452:4,11 454:17      paper              128:12,13,23 129:3
overwhelm               464:4 485:19,23       454:18 455:16,19     25:7 52:9 63:21     129:5,12,16,22
402:8,20                523:13,18 529:5,9     457:15,19,23          74:1 99:7 103:15   130:2 131:14
overwhelmed             578:11,14             460:12 461:2          104:18,23 111:4    137:1 199:22
365:8 366:16 367:4    PA                      469:19 470:16         116:15 118:10,24   202:24 230:5,15
  367:17              2:8,15                  472:1 473:23,24       119:6 122:11,12    230:17 245:1
oxidant               page                    474:5 476:17,18       122:23 123:13      332:8 333:6,7,9
297:9 324:20          5:14 6:5 7:5 8:5 9:5    477:10 480:10,14      124:7 136:8 142:5  334:8,24 335:9,19
  371:20                10:5 11:5 12:6,9      484:24 485:8          151:12 158:4       336:10 337:7
Oxidants                12:12,14 35:22,24     487:15 496:6,12       201:17 204:23      338:11 401:4
363:11                  36:2,4 38:8,10,10     497:15 498:19         205:7,14 209:17    404:1,3,14,15,16
oxidase                 38:22 39:4,4          501:22 505:21         209:21,23 210:9    404:20 408:9
476:1                   40:23 41:6,8,10       506:12,13,18          210:11,13,15       410:2 411:8,14
oxidation               41:15 48:13,16,19     507:23,24 509:4       216:1 218:16       420:2 421:11
367:19 475:9            49:10,12 51:19,21     511:21 512:5          223:22 231:13      429:24 430:11,13
oxidative               52:16 64:12 79:4      520:18,20 524:3       249:3 287:12       430:15,22,24
297:2 307:22            79:13 84:16,20,21     527:22 528:1          340:16,19 341:1,5  431:9,14 445:4
  369:15 375:20         88:16 89:6,8,8,9      538:2,9 539:18        361:18 377:23      446:18 449:12
  421:20 470:13         91:11 116:8           540:17 541:4          378:2 379:24       452:11,14 454:19
  471:7 486:20,23       126:17 127:4,5        543:4,6,17,18         381:5 405:9,12,18  458:19,20 459:19
  487:5 504:19,21       128:24,24 199:13      544:23,24 545:3,4     406:3,4,12,13,14   460:18 461:7
oxide                   202:9,18 203:1,2      545:5,6,22,23         407:17 414:12      469:20,21 470:5
110:23 307:17           207:2 208:21          549:16,16,17,19       435:11 447:12      472:3 473:23,23
oxidized                213:9 230:3,9,12      552:6 564:1 567:8     448:6,16 450:2     474:9 476:19,22
420:22 421:16           230:14 233:5          570:3,4 572:9,18      452:6,20 456:20    481:1 496:11
oxygen                  237:21 243:15         573:20 574:11         470:16 471:8,22    497:17 498:20
103:24 119:14           248:4 250:3,7,7       575:15,20 577:2       471:24 472:9       499:2 508:15
  256:13 257:8          253:12,14 278:18      581:4 583:2           473:15 481:13,19   520:20,21 538:10
  297:10 300:11         313:4,5 332:4,13     pages                  484:24 494:16      538:14 544:23
  308:12,15 309:12      333:5 335:15         41:4 48:23 49:2,5,7    507:11,18 509:1    545:7,23,24
  363:24 364:6,15       336:8,13,13           99:8 266:17 359:6     515:3,5 537:20    paragraphs
  364:22 365:6,13       343:23 344:1,2,3      396:13 425:20,24      538:22 566:12,16 129:9 540:16

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 330 of 366 PageID:
                                     75685
                                Judith Zelikoff, Ph.D.
                                                                                       Page 622

parameter           327:19 328:22        474:4 514:9         394:21 395:8,23     percentages
239:12              332:5 334:9,24       520:10 536:23,24    397:2               188:22 309:7
parameters          402:3,10,22 403:7    576:20             peer                 perceptions
242:3 311:5         403:13 427:17       particularly        97:18 171:5,14,17    141:3
paraphrased         428:10,19 429:12    185:12 283:24        210:14,16,18,21     perfectly
81:2                429:12,13 440:9      574:23              211:2,9,13,16,21    338:14
parent              440:22 441:13       particulate          212:4,9,17,22       perforated
94:19               465:2 466:20        176:22 303:21        213:4,8,12,13,16    120:21
parents'            467:5,9              499:14 541:6        213:21 215:10       performed
95:2               particle's           particulates         445:20              131:15 198:8 253:1
part               339:22               303:13,18,20        peer-reviewed         253:7,9 375:8
15:9 31:8 33:24    particles             312:19 499:7       204:7 207:5 445:17    380:5 472:4 496:9
 43:21 44:19 66:16 185:17,18 186:14     parties             peers                 531:11
 133:3,22 137:17    198:15 238:24       442:15 463:11       554:22               perineal
 138:2,12 168:10    240:14,17,20,23     parts               pelvic               6:16 9:15 60:15
 174:6,7 202:10     254:9 266:11        260:24 288:1        10:6 11:15 349:10     127:1,13 128:18
 203:10 207:15      286:24 293:4         302:17 468:7        349:22 566:1         130:9,13,18 131:1
 213:24 238:4,7     299:3 301:4         party               pelvis                131:9 205:9
 241:8,12,13        303:22 304:3,10     446:2 447:14        507:1                 206:16 207:8
 326:19,19 327:12   304:12,15,16        pass                pen                   208:13,23 222:21
 336:22 344:22      305:3,4,9,9,12,15   462:22              404:4                 279:6,20 286:14
 350:16 384:16      305:19 307:15,16    passage             penalty               288:20 300:3
 401:24 402:4       307:17,24 324:1     81:1,5              69:20 70:3            332:22 333:14
 407:23 420:11      324:24 335:22,23    passages            pending               334:4,10,17 335:2
 427:11 489:24      346:22 402:2,8,20   98:4                173:5                 336:9 345:11
 504:14 505:16      426:4,6,12,14,16    passed              penetrate             346:15,18 370:22
 524:10,11 575:19   426:20,24 427:16    94:18               333:24 334:2          371:7 372:15
 576:3              427:22,24 428:8     pathologies         Penninkilampi         373:9,10 376:16
participate         428:17,24 429:8     311:11              9:17 231:22 398:12    394:22 396:9,12
394:11              434:7,20 464:11     pathology            398:16 502:8         397:2,14 400:3,19
particle            464:18,19 468:11    177:15 193:23        507:10,18 509:14     425:22 428:1
237:18,19,24 238:3  468:17,18 491:6     patient             Pensacola             499:14 505:18
 238:10 239:1,4,7   506:23              177:19              2:10                  510:3 518:12
 239:15,21 240:11 particular            patients            people                520:6 541:6
 240:12,21 241:5   104:19 163:3         177:6,8,23          105:4 111:12          548:16 570:19
 241:11,17,24       183:16 189:3,10     pattern              151:14 184:24       perineum
 242:7,8,11,20      191:4 197:2 201:7   244:8                251:23 252:5,9,13   233:8 278:24
 243:6 259:1 293:4  237:1 244:8         pause                269:23 380:4,7       279:11,16 287:19
 298:13,24 299:9    255:10 259:14       407:24               557:15               288:13 320:1,13
 299:13,23 305:22   275:8 280:15,19     pay                 people's              321:4,23 322:19
 306:3 307:4,12     281:10 282:15,16    15:13 132:14        82:24 83:7,7 96:19    323:1,12 324:10
 314:5,24 315:6,15  301:20 303:8        paychecks            109:22               335:23 336:16
 319:24 320:11      312:5 326:2         227:17              percent               340:2 341:11
 321:3,22 322:17    330:13,21 331:6     PCPC                248:6,7 449:10,16     345:8,16 346:2
 322:22 323:11,23   346:10 362:17       4:6                 percentage            357:24 358:6
 324:8,16,16,17     365:22 369:22       PDQ                 99:2,13 188:1,15      362:22 370:10
 325:10,24 326:2    402:14 424:11       393:1,1,4 394:19     310:7 456:5,6        371:24 373:21

                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 331 of 366 PageID:
                                     75686
                                   Judith Zelikoff, Ph.D.
                                                                                             Page 623

 379:13 439:5,17      1:20                   339:3,5              171:1 211:23          271:3 275:4
 477:14 478:7         Ph.D                 place                  212:8 213:17          276:22 278:3,9,13
 499:8 510:14         1:13 5:4,18 13:19    115:11 395:17          254:14 273:17         281:20 282:12,14
period                  177:5,16 252:16      516:16               275:13 276:2          284:6 285:1
215:1,11 251:19         579:8 582:16       placed                 385:22 393:14         290:18 292:17
 357:9 358:12,13      phagocytose          37:20 54:24            447:4,8 463:11        298:9 299:21
 386:2                309:11               places                 525:17,19 526:10      302:4,6,10 311:16
periods               pharmaceutical       107:22 258:18          532:24 540:2          311:24 320:17
357:4                 409:6 451:15           277:5              plan                    333:17 349:2
peritoneal              452:14             placing              337:21 338:7            350:6 360:19
8:7 499:9             pharmacopeia         518:11               planned                 368:4 372:7
peritoneum            451:24               plagiarism           463:18                  373:24 376:23
233:7 499:8,17        phenotype            79:5,17 80:16 81:1   platy                   377:3,13 381:19
perjury               244:19                 81:4,10 82:12      267:1,7 268:14,19       381:24 383:2
69:21 70:3            Philadelphia           88:7 99:21           268:20,22 466:1,2     398:8 400:12,13
permeability          2:15                 plagiarized            466:5,6,10,12         438:19 440:10,23
420:6,13 421:13,15    phone                82:23 98:24            519:14,16,19          441:9 469:1
peroxide              21:10 23:7,14        plaintiff            plausibility            470:10 471:6
300:12                  28:14,16 29:2      73:4 126:4 127:17    24:14 68:3,14           475:7,20 499:24
persistently          phrase                 171:8 173:15         69:15 73:6,16         504:5 506:14,17
354:16                121:10 151:21          211:3,23 274:9       126:24 128:3,16       520:5 546:5 568:4
person                phrases                390:24 393:22        129:3,13 131:5        569:15 571:1
173:19 409:10         135:11                 412:20 533:9         135:15 137:7,20     plausibility/plaus...
 439:22 460:3         phrasing             plaintiff's            138:5,16 144:13     221:4
person's              489:13               165:2 385:11           145:1,15 148:14     plausible
94:20                 physician            plaintiffs             149:6,16 150:11     127:11 128:16
personal              353:23               19:7 20:1 21:21        151:4,18,21 152:3     130:7 151:11
14:21 172:24          physicians             23:6 26:2 27:19      152:23 156:16,23      152:2 306:5 313:9
 201:21 423:16        171:19                 34:19 50:20 59:1     157:4,12,21 172:2     349:16 350:1,19
personally            picture                142:11 143:2         189:12,18 190:8       356:9 361:15
253:11 256:3          509:12                 144:10,22 148:16     190:11,20 193:12      382:6 401:22
 276:11,24 376:11     PID                    148:22 149:9         198:19 199:6,23       416:19 432:11,16
personnel             349:17,18              163:16 171:23        200:7,11,17           499:13 504:10,15
443:8                 piece                  174:4,8 228:22       201:12,14,20          505:16 512:23
perspective           314:24                 254:3 332:19         202:3,8 205:5,8       513:11 541:5
264:13 553:3,4        Pier                   339:16 375:2         205:20,24 216:2,4   play
pertinence            64:15,18 411:10,15     390:4 412:15         216:7,15,21,24      382:19,24,24
134:13                  411:19 412:5         532:11 533:12        217:13 218:17         445:21 470:20
pertinent               494:4,12           plaintiffs'            220:13 221:16         517:11
135:16,21             Pier's               2:21 16:1,11 17:3      222:7,8,21 223:20   played
pesticides            64:7,9 389:24          17:10 24:11 34:5     223:24 224:6,12     399:6
166:9                 pipes                  34:10,23 35:3        233:12 234:11       players
Peters                461:20                 40:3 49:24 53:5      238:11 239:16       325:17
9:10                  Pisano                 58:10 132:10         240:2 241:10,18     playing
Petition              285:11 317:5           139:16,19 140:15     243:5 256:11,19     328:7 517:12
9:14                    318:24 319:12        142:1 143:20         257:1 266:20        plays
ph                      336:21 338:16        159:6,17 170:19      267:1 270:2,8,21    31:13 565:5

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 332 of 366 PageID:
                                     75687
                                   Judith Zelikoff, Ph.D.
                                                                                         Page 624

please                 247:21 338:13        540:10,15 550:1   322:12 507:15         514:6 515:6,16,19
13:15 14:6,7 23:21     365:19 371:14        552:3 576:21      potentials            517:5 520:23,24
  29:18 33:6 38:14     391:22 430:12       portions           281:6                 528:14 536:16,21
  51:21 60:6 65:14     497:9               82:23 93:15 95:23 powder                 538:17,24 539:5
  68:10 69:23 75:3    pointed               98:15 100:9       1:5 6:10 10:6 13:9    549:21 550:18
  85:23 91:23 102:8   43:1,1,3 102:14       119:24 123:5       21:23 45:21 73:1     551:2,9 552:1
  107:12 130:20        191:14 359:5         549:14             90:4 127:14          559:5 561:19
  137:24 142:22        453:8               position            128:19 130:9,14      570:19 575:18,21
  147:2 159:21        pointing             14:18 62:15 392:23  130:19 131:2,10      575:23
  166:24 208:19       120:6 122:16          513:22             157:12,21 172:3     powdering
  211:10,19 225:23    points               positive            187:3,20 188:2,14   286:22
  234:2,21 235:9      76:2 96:6 116:13     140:22,23 207:7     189:4,14,19         powders
  236:3 250:3 330:9    116:18 118:22       possession          190:12,17,22        9:18 185:11 231:10
  332:16 387:1         119:3,5,7 397:23    72:14 521:23        196:23 201:7,8       248:8 493:21
  390:20 411:2        polarized            possibility         206:12,16 208:14     495:12 496:9
  421:9 430:13        252:1 253:4          194:17 237:17       208:24 209:8         497:24
  433:12 445:1        policy               possible            210:2 216:3,21      PowerPoint
  446:15 449:5        78:22,23 81:9,14     124:9 206:17        217:14 221:2        31:17
  499:3 500:15         81:16,22 82:10,16    208:14,24 391:18   222:9 223:15        PowerPoints
  510:20 524:6         99:18 100:3          400:15 406:18      240:5 242:12        167:3
  527:23 543:5,10     pollutants            407:7,20 495:24    246:24 247:14       PRACTICES
  566:24 573:19       166:2,10              505:4 518:2        248:3,12,16         1:6
  575:15 578:9        polluted              570:20,24 571:8,9  265:15 266:1        precaution
  580:3,8             290:11               possibly            270:9 271:4 275:8   542:8,14,16
pleural               pollution            156:2,6 286:23      275:9,16 276:10     precautionary
343:20 344:5          178:10,12 224:1       537:22             276:23 278:2,7,24   542:2,6,10
pleurodesis           polymorphism         post                279:10 286:9        prediagnosis
218:10 438:11,22      381:8                44:16,21 57:4       287:18,23 288:12    479:20
  439:1,6,8           polymorphisms        post-report         292:2 295:23        predilections
PLLC                  380:1,6,22 381:14    48:2                340:1,9 344:13      468:11
2:18                   382:19 383:7        potent              345:2 346:22        predisposes
PLM                   Polymorphonucl...    510:17,23           352:10 363:4        87:1
456:5                 325:15               potential           366:14 370:20       predisposition
Plunkett's            Pooley               30:14,16 44:4 90:9  377:6 382:2         116:20
49:14                 248:7,15              151:7,8,10,11      397:10 403:15,17    predominant
PM                    population            152:2 190:4 256:8  410:9,23 418:2,4    459:5
303:21,22             117:10 159:4          280:13,14 281:23   418:8,12 423:11     predominately
pocket                 401:14 458:17        282:1,4,23 283:11  428:11,20 429:11    123:16
132:13                 461:8,12 462:17      285:4 288:4 314:7  429:17 438:24       prefer
point                 populations           320:20 324:18      439:1 440:16        409:20
20:12,13,13,15        416:3 559:24          342:23 373:5       441:7 449:8,14      pregnancy
  21:11 97:22 104:3   portion               385:5 401:5 403:2  450:22 477:2        176:23
  104:5,9 111:20      83:16,18 84:18        403:2 423:10       487:24 488:5,8      prejudice
  118:18 120:7,8       88:15,16 93:9        425:10 488:7       492:22 493:7,16     339:12
  124:17 166:9         103:2 106:14         499:6 508:8,17     493:18,24 494:7     preparation
  171:11 198:24        115:19 121:20        528:12 529:24      494:22 495:7        27:7,12 44:19 63:5
  214:17 215:19        128:4 524:5         potentially         499:24 513:6,8      prepare

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 333 of 366 PageID:
                                     75688
                                   Judith Zelikoff, Ph.D.
                                                                                           Page 625

 28:7 39:21 52:23      440:13 442:21       257:10 301:15         142:18,24 143:3      406:19 407:9
 63:3,6 67:24 77:2    prevalent            probably              143:19 144:1,11      423:12 428:11
 77:3,7 97:17         31:9                 20:19 32:7 74:13      144:23 145:14,21     452:15 453:4
 133:7,15 149:13      Prevention            74:17 107:9          145:24 147:15        455:12 465:21
prepared              8:7                   231:20 342:18        166:15 261:15        477:2 479:4 488:9
16:17 42:10 52:18     previous              415:4 416:14         264:9 273:11,21      493:16,20 494:1,7
 52:18,22 53:6,21     401:12 449:17         467:21 519:2         330:10 441:7         496:21 498:10,12
 54:14 55:2 63:8       574:21 576:24       problems              480:3 493:16         499:24 512:18,22
 63:10 66:22 67:7      577:4,22            399:13               produces              513:6,8,12 514:6
 67:9,16,17 69:12     previously           process              223:11 264:14         520:23 528:14
 70:15 97:5 98:13     395:12 494:19        231:5 241:14 254:1    345:11 441:1,4       539:21 540:19
 99:6,9 387:15         500:12 507:4         256:15 257:11       producing             559:5
 389:12 412:10,15     primarily             263:12,16 265:8     242:2 256:12,13      professional
 419:4 422:2          124:1 138:10          265:11,17,18         289:23 519:20       1:16 112:6 113:7
preparing              139:12 308:13        266:4,6,9,12        product               121:13 169:6,12
26:23 27:9,13,24       447:19 448:20        285:6 296:9 300:4   37:5 191:2 200:1      169:17 200:8
 84:5 88:21 95:24      464:11,13 487:4      315:1 321:16         265:15,16,22         215:13 224:14,17
 107:18 133:3         primary               327:21 328:19        266:22 270:9,12      226:19 228:15
 393:21 394:6         8:6 168:6 192:9,13    347:18 348:9,11      270:13 271:9,10      281:21 315:18
 539:4                 192:18 193:1         366:18,23,23         272:4,10,15          320:7 321:1
preponderance          350:4 382:15,15      367:2,4 369:14       274:19 275:18        322:21 330:7
416:10                 458:2,10 532:19      370:24 371:23        278:11 298:5         385:9 393:1 419:8
presence              principal             381:21 384:12        364:1 366:14,17      445:10,15 579:13
11:15 186:8 266:19    443:20                476:13 480:20        370:18,20 377:5,6   professor
 292:3 299:2          principals            481:9 577:11         419:18 421:17       14:16 69:4,7
 324:24 357:17        489:11               processes             441:7 447:21        professors
 366:1 402:2          principle            256:9 291:1 326:16    455:11 519:18       81:20
 450:21 466:20        542:2,6,10,13         363:16 372:8        production           program
 507:3 512:9,17       principles            478:17 479:8        10:13 12:8 51:15     77:24 154:15
present               489:8,14             processing            66:19 123:17         215:17 223:5
4:14 94:19 95:2       prior                409:6 419:16          143:5 144:4          264:7
 188:16 275:23        19:12,22 30:18,19    PROCTOR               273:14 275:19       programs
 276:1 353:16          30:19,20,22 31:1    2:8                   276:14,18 280:17    555:13
 366:13 418:6,7        33:12 41:2 54:11    produce               297:9,10 388:21     progress
presented              54:13 72:13,15      183:18,20,23          388:22 409:10       331:3 499:19
493:23                 141:5,16 152:15      223:15 237:12        475:24               541:10
presenting             165:1,6 203:16       262:18 282:20,22    products             progression
79:5,18 80:8,14        254:7 290:4,4        282:23 285:5        1:5,6 21:23 73:11    353:14 476:14
 82:13                 332:18 333:1         294:1 307:14,21      90:5 127:14          505:4
presently              362:9 393:16         308:12,14,17,18      128:19 130:9,19     proinflammatory
406:23 407:12          394:6 395:14         309:12 324:20        131:2,10 156:16     296:13 298:20
president              422:11 423:21        345:11 365:23        156:24 157:5,12      475:22 476:1
251:18                 486:6,17 500:16      368:12 369:12,13     157:21 189:5        proliferation
press                  503:14 522:2         370:10 425:9         223:15 224:2,3      192:7 284:22
176:10                 532:9,10,23 533:8    440:16 441:13        271:4,6 276:23       479:13,17 577:7,8
pretty                 533:11              produced              280:21 340:10        577:10
74:7 253:22 394:8     pro-oxidant          43:17 141:21          363:5 382:3         pronounce

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 334 of 366 PageID:
                                     75689
                                  Judith Zelikoff, Ph.D.
                                                                                          Page 626

 507:16               61:12 62:5 75:24     162:6,12 163:13     414:1                 81:12 84:24 86:19
proof                 139:16 142:10        163:24 164:24       pulmonary             94:4 97:23 98:10
199:23 431:3          143:1,21 145:13      175:14 176:18       183:20 343:21         98:24 99:10 158:3
 498:23 499:5         166:16 167:12        187:15 198:14        344:11 438:16        163:22 183:19
prooxidant            168:7 198:14         204:12 216:9        purchased             205:17 215:8
297:3                 199:4 202:16         218:8 375:9         410:23                246:4 278:20
proper                203:11,20 211:8      380:10 391:13,20    pure                  373:11 433:5
82:24 135:13          273:16,20 275:11     403:5 444:18        267:1,8,11 268:4,6    454:22 552:19
 375:17,18 467:11     277:8 384:4          445:18,23 448:20     519:15               569:16
 563:14               385:16,19 388:4      489:14 492:1        purpose              putting
propounded            390:3 391:6          538:16 539:10       134:5 229:18 246:4   44:5
582:9                 394:16,17 457:14    publish               283:8 284:3
protect               457:16              101:16 102:10         326:12                       Q
325:21 326:13        provides              151:7 203:12        purposes             qualifications
 355:2               200:23 256:10        publishable          14:22 36:12 50:10    422:17 443:3
protected             349:1               224:21                64:3,23 73:18        553:22 554:18
459:14               providing            published             76:17 84:5 94:10     555:4,7
protection           400:11               76:16 77:14 78:7      95:24 101:6 120:1   qualified
351:7                proving               78:12 112:1,9        125:17 128:7        537:15
protective           68:3,13 158:19        113:12 150:5,22      130:10 133:17       quantitative
145:22 146:3 359:4   proximity             151:9,12,22 158:5    138:13 139:6        137:16
protein              408:12 459:11         165:8,13 176:6       140:16 146:21       quartz
309:18 354:7 360:6   psoriasis             202:13 203:5,17      147:6 148:8 164:4   406:22 407:11
protocol             348:8,12              204:6,6,14 223:19    176:2 189:20        question
133:8,10,16          PTI                   224:10,16 246:21     193:11 203:19       23:21 26:8 29:17
prove                4:10,11               247:3,5,11,18,24     211:8,16 214:14      32:23 33:6 38:17
201:2,4 496:20       public                248:1 300:18         226:5,10 229:20      41:9,13 46:13
 497:23 498:11       1:17 8:18 9:7         302:13,21 303:2      243:6 248:19         48:4 51:5 61:6
 540:18               260:14 503:15        303:12 374:18        249:11,11 298:8      62:19 70:6 72:16
proven                579:14 582:23        379:23 410:22        302:3 343:12         72:17 73:3,15
368:21 566:2,9       publication           415:14 441:10        353:6 373:23         77:16 86:6,22
provide              55:6 56:20 67:9,18    457:5 534:4          390:9 392:21         87:6,7 90:22,23
57:24 117:20,21       87:19 97:6,17        535:13,24 536:3      399:3 438:1,5,7      91:23 102:6,8
 139:21 140:17        105:17 106:16        563:21 577:20        469:1 479:23         107:2,4,9 112:23
 142:2 144:22         112:18 115:22       publishing            480:4 518:20         112:24 114:4,5
 166:24 169:3         116:2 117:18        101:6 112:5 113:2     520:3 537:6 539:4    122:2 129:16
 190:19 198:13        120:1 121:23         203:19 204:8,9       540:10 547:13        130:21 133:14,15
 199:5 201:18         160:21 176:8        PubMed               pursuant              134:14 135:22
 256:19 275:14        197:16 202:7        44:10 54:19          1:13                  136:14 141:8
 377:2 385:12         204:1 210:18        puff                 purview               142:8,9,21 147:21
 390:8 393:15         213:20 375:5        266:1                155:12                147:23 149:2,4
 400:16 512:22        380:18 391:11       pull                 pushback              150:1,20,21 153:1
provided              494:20 535:7        41:20 48:6 59:15     437:6                 154:5,6 155:11
16:15 17:3 18:15      536:8 577:13         61:18 62:1 65:20    pushed                161:9,21 164:15
 35:20 36:17 40:10   publications          66:12,16 413:19     437:23                164:18 174:23
 43:4 49:23 53:13    75:23 78:15 133:11    431:1 570:8         put                   175:24 183:12
 55:3 57:13 59:23     137:2,3 138:10,20   pulled               39:13 76:4,14 78:3    192:1,24 194:2,7


                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 335 of 366 PageID:
                                   75690
                               Judith Zelikoff, Ph.D.
                                                                                          Page 627

194:22 199:11      414:17,17 417:10    74:9 463:16           7:15,19 115:23        350:21 505:24
203:15,16 204:19   420:14 425:17       quickly                 116:3,10 117:2        576:5
208:20 209:22      427:12 429:15       130:21 442:22           118:5               React
211:6,19 212:2     433:11 436:18,20    quiet                 ran                   504:20
216:14,14 217:6,7  438:15 440:14,21    326:20                454:19                reaction
217:7,17 218:13    441:6 448:3         quite                 random                121:7 234:13
218:13 219:3,12    465:23 478:22       91:13 92:8 99:5       196:21                  327:12,17 329:3
219:21 220:6,9     479:19 482:6         121:9 123:10         range                   329:20 477:3
221:12,14,18,23    483:12,14,18,19      162:7 192:23         428:8,10,12 429:2       499:18 541:9
222:3,15,18 226:2  484:6,12,14          259:16 355:17          459:23                567:11 568:18
229:5 234:1,2,23   489:19 492:24        394:14 500:21        ranged                  569:3,6 574:5,15
235:3 236:5        496:5 497:11        quotation             248:6                 reactions
238:14 241:22      504:8 513:20        80:18,22 96:11,15     rank                  300:6,7 327:10
247:10,23 249:18   516:3,6,12 517:24    96:24 97:2,10,24     182:23 183:15           343:19 345:5
253:6,7 256:4,5    522:17 525:14        101:18 102:11        ranking                 568:13
256:18 261:22,23   526:6,7 535:8        103:8 105:19         182:13                reactive
261:24 263:1,2     537:16 538:7         113:21 115:1,11      rate                  119:14 256:13
264:19 265:1,3,5   540:23 546:17        116:4 119:15         16:5 258:24             257:8 297:9
267:20 268:2       550:13,17,21        quotations            rates                   300:10 308:12
273:24 278:5       551:7,13,17,17      75:21 76:4            257:15 258:5,11,16      309:12 363:24
279:2,8,13 280:24  552:7,10 557:2,10   quote                 ratio                   364:6,11,15,16,22
281:1 284:10,23    557:22 558:16,24    112:3 113:5,17        179:8,13,15 564:16      364:22 365:6,13
285:9,18 287:14    559:8 560:15         114:8                rats                    365:13 366:2,6,7
288:8 301:1        561:21,21 565:7,8   quoted                153:15 233:6            367:18 469:24
302:18,20,24       573:12 575:4        114:24 124:12           264:10,22 336:15      475:9 504:14
303:9 310:19       577:13              Quotes                raw                   read
315:21 316:18,20 questions             6:23 7:6,8,10,12,15   453:3 455:10,19       25:7,16 38:8,9,11
316:22 317:7,8    12:13 235:6,7         7:17,21 8:10,13        539:20                39:3,10,10,12
318:1,13,19 319:5  339:9,19 396:2       8:16,18,20 9:6,9     Ray                     40:13,15 41:5,10
319:7,8 320:10     401:12 412:19        9:12                 251:13                  41:17,21 42:13,15
323:8 325:5 327:3  422:21 441:21                             re-oxidized             45:2,4 47:19 48:8
329:10 330:9       442:20 462:21               R             419:21                  48:16,19 49:1,4
331:4 332:17       463:3,5,12 486:5    R                     reach                   49:10,12,13 55:21
333:22 334:21,22   489:8,10,24         581:1,1               102:23 135:14           55:23 56:1 59:7
334:22 335:18,18   490:12 492:14,19    Radical                 287:17 288:6,20       59:13 61:14,16
336:5,23 337:6     497:2,6,7 507:10    118:7                   298:10,13 300:16      81:8 84:8 104:16
338:10 349:9       509:24 510:7        radicals                332:21 369:17         104:21 105:4,7
352:21 353:18,23   513:5,15 515:3      119:13 308:15           467:6,9 468:1,1,8     118:20 129:23
354:18 362:8       517:20 518:1        radiolabeled          reached                 136:8,12 197:15
365:24 366:21,22   523:24,24 524:13    197:14                219:15 220:11           197:17,23 217:7
367:1 369:1 370:4  556:17 563:4,11     RAFFERTY                288:2,11,23 396:3     234:19 235:24
373:10,16 376:24   563:13 566:14       2:8                     397:22 435:3          236:2 238:22
378:4 379:9        571:19 573:12       Railroad                445:7 509:20          243:1 249:9,20
381:13,18 384:2    574:8 578:5 582:8   37:6                  reaches                 250:19 251:11
385:15 395:7      queues               raise                 215:19 262:19           254:4,6 263:1
396:10,15 402:15 167:4                 251:1 495:23            499:15 541:7          265:3 276:5 303:1
402:17 411:4      quick                Rakoff-Nahoum         reaching                330:8 375:9 378:5

                Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 336 of 366 PageID:
                                     75691
                                    Judith Zelikoff, Ph.D.
                                                                                               Page 628

  399:14 407:1          255:7 282:17          556:17 566:15         380:13 383:13,17      105:20 106:19
  410:13 411:22,24      314:23 372:23         569:12 574:7          383:20 442:2,5        107:15,22 111:21
  412:1,2 413:3         460:9                 575:8                 463:16,22,24          112:11 113:6,20
  415:13 422:18       realm                 recalling               464:2,4 485:17,19     114:9 115:12,22
  433:9,15 454:23     166:13                172:21 191:4 397:7      485:22 523:14,17      116:24 117:4,11
  455:8 459:1         Realtime              receipt                 529:3,5,7,9           117:12,15 118:7
  471:10,14 498:6     1:17 579:14           580:17                  537:12 562:20         118:19,21 119:2,3
  499:11 503:2        reason                receive                 563:7 578:11          119:11,14,23
  525:4,6,13,16       194:12 294:5,8        15:16 37:10 40:21       579:6                 123:20 124:6,12
  526:19 527:4,12       301:17 336:22         42:2 57:15 58:8     recorded                159:14 167:12
  527:14 542:22         368:8 386:17          60:17 61:7 144:7    167:6                   206:15 232:19
  543:10 546:7,18       426:19 467:8          144:9 393:20        recovery                350:5 379:7
  549:2,7 550:7,8       468:22 580:5        received              354:17                  388:11,12,15
  552:16 576:22         581:6,8,10,12,14    38:2 41:2 42:8 50:2   recruited               398:11 410:10
  579:9 580:3 582:5     581:16,18,20,22       55:13,14 61:10      103:22 394:10           411:8,12 412:4
reader                  581:24                139:18 144:17       recurrence              426:14 430:23
471:12                reasons                 145:18 500:21       194:17                  435:14 494:24
readily               496:14,18 518:15        577:19              redone                  505:23
502:20                reassert              recognize             257:22                referenced
reading               50:19                 220:4                 reduce                34:24 63:2 65:13
26:14 27:15 42:19     Rebecca               recognized            470:12 473:12           103:4 335:19
  42:21,23 63:9       88:17                 225:9 226:15,15,20    reduced                 413:20 427:23
  80:20 105:14        recall                  226:23 227:4,9      472:17                  468:20 548:5
  128:21 200:4,5      17:24 24:5 25:10        503:24 554:24       reduces                 566:6 578:3
  230:24 231:1,19       25:13 27:2 29:4     recognizing           366:15                references
  231:23 241:3,13       49:22 84:13 85:21   380:12                REES                  41:18,19,21 48:7
  368:16 375:11         107:20 109:5        recollection          3:12                    53:3 54:4 59:13
  390:20 397:20         161:13 163:8        21:20 24:4 450:8      refer                   59:15,16 61:17,22
  404:12 405:2,7        164:2 172:20          471:15 473:19       237:24 248:16           66:2,10 95:11
  408:17 411:18         174:16 193:7          494:15 495:8          281:16 336:9          97:7 115:24
  423:21,24 435:8       196:17,18 197:1       535:1                 344:4 359:7 369:2     118:11 120:24
  435:10 470:23         204:20 387:2        record                  378:24 403:13         125:15 139:1
  472:23 473:1          391:22 392:19       13:2,14 14:7 75:4,7     410:3 474:5 485:2     160:24 161:3
  499:1 544:8,11        398:13,14 414:11      124:21 125:1,3,6      538:1,9,16 539:24     350:17 409:2
reads                   424:5,9 435:8,10      125:11 126:6          540:24                502:11 503:2
472:10 545:8 546:8      435:12 437:12         163:23 196:2,5,9    reference             referencing
  546:17 565:23         454:2,5 477:18        207:24 220:19       7:8 48:10 51:2        122:5 430:10
  577:21                478:14,23 484:11      221:1,20 277:18       61:23 62:1 64:14    referral
real                    490:4 492:23,24       277:21 280:9          65:1 76:5,18        108:17
463:16                  495:2 497:5,7,10      317:14,17,19,19       77:18 78:3 86:21    referred
reality                 497:11 507:12,13      317:21,23 318:6,8     93:10,11,17,18      64:20 175:6 250:6
372:20                  507:20 510:6,7        318:11,15,24          94:12,13 95:17,18     313:2 389:23
really                  512:11 513:20         319:11,15,16,18       95:22 97:8,10,16      524:3 539:18
40:24 152:22            515:9 517:23,24       319:20 336:19         97:21 98:11,16        540:16 563:3,8
  163:12,23 165:16      524:12,18 525:8       337:10,12,14,17       99:10,20 100:10     referring
  167:7 182:11          530:11,14 537:7       338:2,5,9,17,20       100:10 101:19       35:23 58:12 77:13
  202:4 241:23          537:20 539:8          338:23 339:1          102:12 103:14         94:7 105:1 142:13

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 337 of 366 PageID:
                                     75692
                                    Judith Zelikoff, Ph.D.
                                                                                             Page 629

  151:19 210:5          539:19 541:24       relationship            212:6,7 213:16      39:18 40:10,14,16
  245:14 251:8          567:9 573:3         21:22 154:3 172:23      248:21 488:23       40:17,18,19,21
  276:15 340:9        regarding               200:2,13 201:5,22   remain                41:2,18 42:9,13
  343:23 344:18,20    29:21 50:20 145:24      219:24 382:1        239:9                 42:14 44:1,17,22
  359:10,16 373:19      167:14 169:12,17      397:9 532:20        remaining             45:23 46:10,12,14
  379:3,20 402:11       171:20 276:9        relationships         49:16 463:21          47:2,11,15,21
  402:13 430:21         444:13,19 486:19    342:22 343:7,13,16    remains               48:5,6,11,11,17
  431:11 455:6          487:22 496:8        relative              401:8 508:19          48:20,22,22 49:13
  470:5 473:22          497:2 499:23        472:19 564:7          remember              51:19 54:5,12
  522:11 578:1          511:7,14,15         relatively            21:17 190:15          56:3,7 57:4 62:7
refers                  512:17 540:12       564:6,6                 482:11 495:13       62:10,14 63:2,24
41:22 244:4,7           552:21 554:4        release               reminding             64:2,7 65:3,7
  248:11 268:14         555:3 575:5         104:1 301:22          493:12                66:21,22,24 67:7
  572:14              regards                 330:11 365:9        remnants              67:12,16 69:1,12
refining              47:5,5 401:12         released              357:8,17              69:18 70:1,10,12
123:17                  492:9               465:22 467:1,4        Remove                70:14,15 71:6,7
reflect               region                relevancy             196:1                 72:1,6,10,15,20
27:18 221:20          371:7                 134:13 138:7 441:3    remunerated           72:23 73:8,20,24
  324:23 387:15       Registered            relevant              26:13                 74:4 75:11,19,22
reflected             1:16 579:13           51:14 54:20,24        repair                76:17 77:3 82:18
17:12 26:23 384:23    regular                 126:10 134:19       355:2                 82:21 83:16,17,19
reflects              575:6                   135:5 136:12        repaired              84:5,6,10,15,18
43:6 72:2             regulators              203:13 231:4        354:21,22             84:19,20,21 85:3
refresh               510:21                  292:18 394:1,5      repeat                85:4,11,12,23
188:9 194:1,6         regulatory              470:6 487:21        23:21 33:5 68:9       86:1,4 87:9,10,12
  531:2               155:6 204:4,4           515:23                69:22 91:23 102:7   87:12,16,23 88:1
refuse                  215:7 316:9 398:6   reliability             142:21 164:13       88:16,16,20,21,23
34:13                   444:12              110:10 375:7            208:19 234:1,2      89:5,7,9,10 90:6
regard                reiterated            reliable                256:17 265:4        91:15,17 92:2,16
17:19 27:22 43:7      433:21                110:1 200:21 399:9      332:16 372:6        93:9,16,19 94:10
  45:19 46:24 48:5    relate                reliance                402:16 414:17       95:24 96:1,9 99:5
  59:5 65:11 66:20    137:12 149:6          541:21,21               433:11 484:14       100:8,9,19 101:7
  66:23 75:10,17        175:15 295:21       relied                repeating             101:17 102:10
  99:19 145:21          428:19 438:17       276:2 292:6 374:3     135:3 302:24          103:3 105:7,24
  170:10 172:7,11     related                 447:18 488:1,17     rephrase              106:15,19,20
  191:8 199:6         124:1 136:13,17,17      492:21 494:3        187:8 516:8           107:19 108:6,21
  273:22 274:6          165:4 286:8           503:3,5 576:4       rephrased             109:12 114:18
  278:5 291:19          347:22 349:20       rely                  81:5                  115:20 120:2
  310:13 356:12         354:10 441:8        73:18 146:20 147:5    report                121:20 125:14
  384:11 385:13,17      517:18                176:2 249:1,13      5:17,20,21 16:12      126:15,17 128:8
  386:3 391:1 398:7   relates                 374:1 399:3 409:2     16:14 26:19,23      133:4,18 136:19
  403:14,14 414:2     1:8 241:10 476:5        445:17,20,24          27:6,9,11,13 34:7   136:23 138:24
  415:15 416:6          531:5 532:6 555:5     487:19 492:12         34:11,16,18 35:1    141:20 148:13
  422:4 465:12,13     relation                505:24 511:6,13       35:6,9,12,20 36:5   149:5,14 153:11
  473:15 480:12       18:16 20:17 37:13       540:9 547:13          36:13,16,18 37:2    164:5 168:11,18
  497:8 514:5           40:22 44:22         relying                 37:7,11,24 38:6     170:19,24 171:5,8
  517:17 533:2          221:14 281:11       77:13 211:7 212:3       38:12,13 39:7,16    171:14,17 189:3,9

                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 338 of 366 PageID:
                                   75693
                                  Judith Zelikoff, Ph.D.
                                                                                            Page 630

190:12 193:11         487:20 488:1,17       49:10,16,23 51:16   researched              477:20 553:2
197:24 199:14         489:9 500:16,20       89:1,14 137:18      334:8,24              responsibility
204:10,16 205:12      500:24 501:1,3,11     138:3,6,14 139:2    researches            92:20
216:6 225:1,12,16     503:3,11 509:15       139:6,11,15,18,20   356:7                 responsible
226:6,17 229:18       511:22 512:2          140:3,4,8,17        reserve               306:21 421:19
229:20 230:4          520:19,22 521:6       204:2,11 229:6      339:4                 responsive
231:13 232:7,11       521:17,24 522:1,3     249:7,14 253:3,10   resource              339:8,19
232:20 238:5          522:11,12,23          296:17 378:9        114:21 117:16,17      responsiveness
246:4 247:7,16,17     523:5 524:3,6,10      389:15 520:23         117:23              218:11 281:24
248:4,5,21 249:10     524:11,17 526:19      526:11              resources               341:24 346:23
249:19,21,24          526:20 527:2,5,8    represent             47:20 114:24            358:18
250:1,15,19           527:13,14,16        14:5 53:21 442:15     respect               rest
253:15 266:8,18       528:7,9,18 529:13   representative        505:1                 49:8,15
271:7 272:22          529:22 530:5,9,10   411:16                respirable            restate
278:19 280:16         530:13 536:22       represented           239:4                 157:1 421:10
281:15 282:8          538:2 539:4,12      21:21                 respiratory           restroom
283:2 286:6           540:3 541:1,4,13    representing          103:23 123:24         523:11
292:20 293:14         541:18 543:19       2:21 3:10,19 4:6,10     402:7,19            result
335:6,12 338:13       547:19 550:2          20:1 23:6           respond               44:13,14 173:21
343:18 344:22         552:4,11 569:11     reproduction          334:21                  236:17,19 330:21
346:9 350:18          569:16 573:6        579:20                responded               339:10 363:3
358:4 359:7         reported              reproductive          22:3                    433:21 477:4
361:20,21,22        146:22 229:1,9,15     30:10 31:7 55:6       response              results
363:10 368:11         231:6,9 253:10        58:15 167:18,19     9:13 22:10 90:9       56:17 202:14 203:6
369:7 372:4 374:2     269:14 295:14         168:1 170:11          233:10 234:14         270:15 287:4
374:10 379:8          299:8 313:23          334:10 335:1          287:1 290:22,24       375:8 377:17
382:13 387:15         343:20 345:7,15       371:18                291:4 293:5 296:8     378:8 410:22
388:2,3,7,24          345:24 346:13       reputable               296:17 308:9          413:7,21 414:4,6
389:4,10,11,13,17     357:23 374:23       46:6 519:5 563:23       311:13 324:23         414:10,22 448:22
393:12,16,21          377:17 413:8        request                 325:4,9,12 326:1      496:19 497:23
394:3,7 395:14,20     449:7,13 464:18     12:8 128:2              326:4,7 327:13        498:8 509:11
403:21 408:6          493:5 515:22        requested               328:15 329:17,24      517:2 521:6
410:1 414:9,22        533:1 567:9         18:12,12 149:24         351:5,7 353:1         574:21 576:24
415:3 416:17        reportedly              202:17 579:7          357:11 358:1          577:22
417:3,11,20 420:1   45:21                 requests                365:6,22 366:6      retained
420:11,15 421:23    reporter              50:21                   368:6 402:1,5       25:21,23 34:19
422:3,5,18,19       1:16,16,17 13:15      require                 414:14 423:9        retainer
423:2,22 424:1,16     579:13,14,14,22     465:20                  488:6 490:5 497:2   17:22
427:11 429:23       reporting             required                499:18 505:3        retainment
431:23 432:3,9,23   109:21 284:11         229:10                  528:12 529:24       30:20,21,23
434:23 437:1,2        285:22 331:9        research                539:16 541:9        retract
444:22 449:3,4        332:20 352:9        8:11 46:23 151:13       551:20 563:3,11     390:19
451:12 452:2          417:3 478:5,5         186:16 311:22         566:13 569:4,8      retrospective
453:7 457:2         reports                 391:17 445:6,10     responses             556:21 557:17
469:18 471:10,13    34:23 35:8 36:6,10      445:16,19 446:1     300:8,10 309:3          558:10
472:1 476:17          36:12 39:7,9,17       449:18 492:16         346:24 377:8        return
480:11,12 487:13      39:22 44:11 49:9      535:21 553:19         422:22 425:8        580:15

                Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 339 of 366 PageID:
                                     75694
                                    Judith Zelikoff, Ph.D.
                                                                                               Page 631

Reuter                reviewed                206:5 216:9         rigorous              31:13 218:6 347:7
7:10 103:5            34:22 35:2,3 36:9       445:20 448:21       115:10                  363:10 368:3
reveal                  38:3,9,21 39:2,7    revisions             Rio                     382:20,24 383:12
368:5                   39:14 40:16 42:15   72:5                  455:24                  470:20 472:5
review                  44:2,9 45:6,18      Rgolomb@golo...       risk                    475:6 486:20
6:15 15:23 16:6         49:6 52:14 54:11    2:16                  6:10,16 10:9 30:12      504:13 517:12
  26:3 36:11,16         54:23 64:1,6,7,23   Rheumatoid              30:14,16 32:10        565:5 569:14
  37:22 44:24 45:9      65:2,5 90:5 93:20   347:22 348:2,5          60:15 73:9 124:9    roles
  45:15 46:23 47:10     118:14 128:5        RICHARD                 127:12 128:6,9,17   359:11
  47:21 49:16 59:3      135:15,20 136:1,3   2:14                    130:8,12,17,24      Roman
  59:16 60:13 61:19     136:6,22 138:11     ridiculous              131:9 165:14        207:3
  65:12 67:12 69:8      138:19 141:5,12     518:7                   214:16 230:6,22     room
  69:10 84:4 91:15      141:16 144:2        right                   231:7,11,14         199:2 258:1 259:10
  94:3 97:18 103:13     150:15 165:3        18:21 21:9 32:6         232:22 233:17         401:19
  104:17,23 107:18      196:14 202:11         51:5,9 52:2 59:9      234:5 280:5         ROS
  109:8,22 116:9,14     203:3,24 210:14       63:18,22 66:7         281:17 283:4,21     104:1 365:8 469:24
  118:10,16,17          210:17,19,21          85:2 95:18 155:9      284:11 285:23         504:20
  119:5 122:12          211:2,9,14,21         162:18 215:2          331:9,21 348:3,7    Rossi
  123:12,19 124:7       212:4,10,17 213:8     221:10 259:1          348:13 349:21       11:7
  127:9 129:10          213:14,16,21          273:15 287:11         351:10,21 352:7     Rossman
  130:5 131:16          214:19 232:15         318:2 321:20          352:11 360:15       537:23
  132:24 133:17,24      242:20 243:12,13      326:12 328:5          361:5,12,24         route
  134:12 137:18         250:13 262:4          332:11 338:12         362:13 397:15       333:8,12,13 335:10
  138:3,14 139:6        273:13 276:4,5        339:4 346:8 387:9     400:4,20 401:7        335:20 343:2
  143:23 150:8          333:3 374:13,23       395:18 414:7          470:9 472:16,17       428:2
  151:1 169:15          388:21 389:23         424:8 436:10          472:19 473:16       routes
  171:6,14,17           395:3,4 396:1,20      444:9 456:4 483:2     474:1 475:17        123:3,9 425:21
  184:11 196:20         399:6 412:2           487:14 497:14         476:5 508:10,18       458:3 462:16
  198:2 203:18          413:15 423:15         509:4 532:10          547:6 556:15        Royston
  205:14 206:3          435:11 438:21         545:3 558:24          558:3,11,20 559:2   4:11
  208:4 209:14,17       454:14,16 501:1       572:13 575:3          559:12 564:7,20     rule
  209:20,22 211:16      503:3 523:1 526:8   right-hand              565:16              5:17,21 83:18
  212:22 213:4,12       528:8 531:14,20     564:1                 risks                   483:7,10,23
  215:11 216:5          531:23 533:18,20    Rigler                124:1 509:11          rules
  228:5 232:12          535:6 539:3 558:6   5:19 36:18 38:6       Road                  482:8
  273:6,10 275:10     reviewer                248:22 249:8,14     2:19                  run
  275:12 333:1        98:9                    250:2,22 251:9      Robert                449:19
  356:1 375:10        reviewing               446:24 447:3        11:13 512:1,5         rural
  388:10,18 390:9     38:5 42:19,23           521:23                548:21 549:15       459:7 460:15
  392:21 413:6,11       48:11 54:21 66:17   Rigler's              Rochester
  413:13 414:4,6        109:5 145:23        493:14 520:22         176:21                         S
  415:6 417:7 438:2     146:16 169:9          521:16              Rohl                  S
  455:7 456:11          210:1 389:3         rigor                 9:19 248:7,15         3:7 5:11 6:2 7:2 8:2
  487:20 492:6        reviews               38:23 67:13,23          405:8,12 406:3,4      9:2 10:2 11:2
  511:6,13 519:4      24:21 118:22 119:2      68:21 70:16           406:16 407:17,19    S-transferase
  521:23 533:6          133:12 139:13         435:24 445:9          407:21,22           381:11
  534:6,11,13           150:1,4,13 174:21     449:22              role                  Saad


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 340 of 366 PageID:
                                     75695
                                     Judith Zelikoff, Ph.D.
                                                                                              Page 632

  10:11                  211:9 244:17          443:18              scrutinize            237:22 243:17
Saed                     317:10 331:12,19    scientific            38:10                 245:1 278:18
6:11 55:7 58:1,17        343:17 353:12       67:10 68:4,14         scrutiny              280:3 281:4 284:4
  61:2,23 297:2          369:5,13,14 370:8     86:11 105:4 112:5   67:13,23 68:21        332:3,4,7,11,12
  374:2,4,22 375:2       370:15 380:17         113:16 114:23         69:11 137:6         332:14 339:22
  376:13 379:7           435:6 460:13          115:3 117:10          214:22 436:1        344:24 346:6
  381:21 382:8           462:11 559:1          126:22 127:10       search                359:10,12,15,17
  395:3 493:4          says                    129:10 130:5        41:24 42:7 43:6       363:10,12,13,17
  538:12 561:14,15     79:5 80:24 112:1,9      140:23 141:11         48:2 54:22 131:19   396:8,11,16
  575:4,18 577:8         113:1 129:9,12        152:19 153:3          131:21 132:20       399:23,24 403:22
Saed's                   130:4 211:13          154:7 157:10,19       133:24 136:10,16    421:24 426:3
58:4 74:1 374:13         212:17 293:3          160:15 172:14         145:9 148:23        458:16 473:18,21
  377:18,23 378:2,5      300:19 302:13,22      203:8 204:15          197:4 198:2,7       502:2 506:13
  381:3 493:11           303:3,4 400:2,14      205:2,6 213:20        425:4,18 553:23     524:4 527:18
  539:6                  401:5 404:2,7         215:24 216:9,19     searches              528:7 529:12
safe                     405:3 406:17          217:10 218:2,14     133:2,5,9 134:17      530:12 546:5
316:8,10 510:9           423:2,6 432:19        225:7 226:18          135:3,3,4,6         567:8 568:23
safety                   445:4 454:19          228:5 249:2           202:15 203:7        574:9 576:21
8:13 392:14 512:14       455:18 456:8          253:20 255:1        searching           sections
SALES                    458:1 459:2,20        266:15 347:13       20:8 27:15 199:1    389:10
1:6                      461:6,11,14,21,22     385:12,16 398:6       413:5,14          see
Salnikow                 462:6 512:19          444:18 445:8,18     second              38:13 44:6,11
122:15                   564:19 567:8          447:10 448:4        79:3,13 199:22        48:14,15 50:12
salt                   scar                    449:22 450:2          208:21 267:20       51:20 60:6 64:16
536:24                 329:22                  456:16 489:14         326:18 335:9        65:14 69:6 80:19
salts                  scarf                   492:7,16 531:12       336:10 410:2,5      80:21 81:3 85:9
322:13                 124:23                  531:15 575:22         429:23 430:14,15    86:3 87:9 88:20
sample                 scarring              scientist               449:12 452:10,13    89:11,12 93:12,13
410:7                  330:13,16,20          172:1 445:7             454:18 458:19       93:23 94:6 103:5
samples                school                scientists              472:3 474:8         103:10 107:21
37:6 248:9 269:13      14:11,15 30:4         76:24 82:1 164:1        476:17 480:24       108:3 116:4
  269:13 272:24          177:4,17 227:19       167:22 172:9,11       497:17 528:6        118:21 120:2,5,17
  275:20 446:19,22       514:3                 437:16,19 446:9       529:11 544:23       122:4,5,10 126:20
  493:15 495:7         schools                 519:5                 545:6,23 564:20     128:20,20 129:19
  498:10 521:7         459:21                scope                   570:3,4             129:21 131:3,17
  539:20               science               66:24                 second-to-last        135:3 141:23
Saturday               20:10 22:4,5,6,12     scratch               64:12 333:6 411:7     199:20 200:3,5
37:19 38:2               58:15 68:16         333:23 485:7          second-to-the-last    202:19 208:16
saw                      138:11 148:24       screening             496:11                209:4 211:18
264:15 358:18            149:24 150:19       6:12 57:14,16 59:6    secondly              230:8,23 237:16
  394:24 500:22          199:12 200:22         59:22 60:22 61:10   573:11                237:23 248:13,17
  522:17                 203:14 212:6          63:20 205:19        section               275:1,6 290:6
saying                   214:7,9 215:9,16      391:24 392:14       74:7 89:12 91:2,11    311:8 317:6 332:7
31:6 78:1 97:11          220:3 444:4 446:8     500:11 542:1          91:18 92:3,3        333:9 339:14
  108:4 110:11           446:10,11,12          547:15 572:4          126:18 128:14       341:22 347:10
  147:18,20 158:2      sciences              screenings              129:6 130:3 144:1   357:7 359:9,21
  158:24 196:17        15:21 55:6 167:19     542:17                  199:17 208:12,22    363:11 368:15

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 341 of 366 PageID:
                                     75696
                                    Judith Zelikoff, Ph.D.
                                                                                              Page 633

  372:7 386:18        140:17 143:10         14:20 271:18         Shawn                   234:11 236:1
  387:17,18 396:14      390:7                 350:22,24          6:23 83:20 84:1         275:7,15,22,24
  399:23 404:11       Selikoff              September            shed                    340:2 345:10
  405:1,7 408:16      258:20                388:13,17,19 389:2   353:3                   379:11 381:3
  410:4,9,18,20       semester                454:20,20          sheet                   426:12 471:20
  411:2,11,12,14      33:21                 sequence             580:7,9,12,15           477:13 479:7
  412:8 414:8 419:2   send                  80:17,21 96:9          582:12                544:6 550:24
  431:20,21 436:6     24:16 140:5 143:11    serous               Sheraton                558:2,11 559:11
  436:21,23 445:12      186:18              191:17,18 192:9,19   1:14                  shown
  446:20 449:11       sense                 serpentine           SHKOLNIK              211:4,24 213:7
  455:18,21 456:7     413:13 518:7          110:15 178:16        2:18                    224:1 236:24
  456:18 458:20       sensitivities           179:1,6 180:11     SHOOK                   237:4 258:8,17,20
  459:1 469:22        456:16                serve                3:2                     291:20 301:5
  470:22 472:3,12     sent                  15:22 20:3,16        short                   307:20 313:8,18
  472:22,24 477:11    276:6                   21:12 23:8,18      75:5 125:4 251:19       324:19 351:3
  479:22 480:16,16    sentence                24:1,17 196:16       277:19 338:21         362:10,20 364:18
  481:10,13 485:1,3   80:8 111:18 123:5       197:5 198:3          383:18 442:3          366:19 367:5,21
  485:10 487:16         123:6,14,21         served                 485:20 523:15         371:23 377:17
  496:13,15 500:13      202:24 209:5,13     50:20 435:22 444:6     573:1                 378:8 384:18
  501:24 506:12         223:8 231:2 410:5   services             Shorthand               388:4 416:19
  507:21,21,24          411:13,15 446:20    1:20 13:4 16:1       1:16 579:13             434:21 551:3,23
  509:4 511:23          449:12 454:23         455:3              show                  shows
  518:4 521:2,20        458:7 459:19        serving              40:2,8 88:8 93:1      72:23 73:8 213:8
  525:10,24 530:10      461:7 471:1         18:9 20:11             102:21 115:17         220:19 234:10
  531:2 546:6           472:13 474:4        set                    119:22 121:18         247:8 291:4
  565:10 572:10,17      496:12 498:6        26:18 56:6 71:20       153:13 223:10         329:16 345:21
  573:15,24 574:1,7     499:12 508:2,4,15     72:10,19 73:19       233:16 234:5,15       366:5 376:12
  574:17 575:16         508:21 509:5          148:13 149:5         237:20 275:19         441:12 449:22
  577:2                 521:3 528:6,17        170:18,23            279:19 284:21         552:1 571:2
seeing                  529:11,17 530:3     Seth                   286:6 288:16        Shukla
58:19 345:24            538:14 541:13,18    116:9                  301:3 373:19        11:12 297:5 305:14
  389:14 470:24         546:17,18,21,22     sets                   388:24 441:16         310:6 474:6,11,14
  518:21                547:11 550:11,22    31:18                  450:21 453:23         480:13,15 484:20
seen                    564:19,24 565:9     setting                469:11 565:4          484:23 515:3,5,14
53:18 95:17 118:18      565:20,22,23        18:4 159:11 424:11     566:17                515:20 517:3
  171:7 283:13          566:4,9 572:16        424:13             showed                  561:13,15
  342:15 345:20,23      574:3,19 577:1,21   seven                140:24 232:3,17       sic
  351:1,5 377:12      sentences             337:20 481:21,23       234:20 381:7        127:18
  393:2,10 403:1      75:19 83:6 85:10        482:2,9              429:19 549:20       side
  477:21 479:13         85:12 87:11 89:17   SEYFARTH               550:18 551:8        89:1,1 389:15,15
  555:16 562:1          95:4 99:15 100:15   4:3                    567:15                456:2,3,4 463:11
  577:8                 103:7,19 106:16     shape                Shower                  508:13
select                  109:9,11 115:24     242:7 244:5          73:1,2 90:4,5         sign
139:5 276:3             454:24 499:2        share                  487:24,24 488:5,5   69:18,24 145:22
selected                508:24 527:17       463:6                  493:18,18 521:1,1     146:3,15 579:9
139:20 140:3,4          528:4 566:6         SHAW                 showing                 580:8
selecting             separate              4:3                  106:4 158:19          signed

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 342 of 366 PageID:
                                     75697
                                    Judith Zelikoff, Ph.D.
                                                                                             Page 634

  69:20 70:2,14         383:6 439:5,16        392:11 395:21       524:16                173:19 174:10
  146:18                440:9,21 441:4,6      424:8               Smith-Bindman         190:14 191:3,6
significance          sir                   situation             7:6 88:17 90:13,15    194:1 195:13,14
476:4                 20:2,6 24:9,15        462:12,13               90:24 524:17        197:21 204:18
significant             34:21 35:10 36:14   six                     530:9,17            207:2,22 211:18
207:7                   37:3,9 41:7,23      103:6 108:14          Smith-Bindman's       225:11 230:10,13
significantly           45:11,13 48:9,18    size                  92:16 524:11          231:20 232:9
485:10                  48:24 49:3 50:12    99:12 182:2 198:15    smokeless             233:8 234:1,8,9
signing                 51:24 56:4 57:3       238:1,3,10,22,22    170:2                 237:11 238:6
47:1 70:9 580:10        58:2 59:17 60:5       239:8,11,15,21      SNPs                  245:7,15 247:1
silence                 63:7,24 64:17         240:10,10,11,18     380:23                250:8 273:9
528:21,24               65:23 121:24          240:21,23 241:11    soap                  274:16 280:6
silicates               126:16,20 128:11      241:16 242:1,4,11   341:8                 289:19 304:13
110:19                  128:22 129:8,24       242:20,23 243:2,6   soaps                 306:9,18,19 307:9
silicone                133:1 162:16          243:11 305:7,16     341:8,10              313:3 321:14
110:23                  169:15,20 172:18      305:22 323:23       societies             328:12 332:3,14
siloed                  173:11 193:14         324:2,16 427:17     555:14                333:6 347:4
238:18                  199:10,15 203:21      427:19,22,24        society               352:15 353:22
silos                   259:2 278:4 347:8     428:7,10,17,23      225:9,13,17 226:5     361:19 367:13
55:1 238:20 239:10      393:13 407:19         466:14 467:8,12       226:9,9,10,14,16    381:19 388:13
SILVER                  408:7 410:15          468:19                226:20 227:1,2,3    392:2 401:3
3:17 494:8              445:2,12 446:16     sizes                   555:9               404:13 405:5
similar                 451:5 455:17,21     426:17 428:20         soil                  406:1 407:2 416:6
44:8 99:14,14           457:24 458:18       Sjosten               419:18                418:5,21 421:23
  152:4 289:3 296:3     474:7 479:22        336:11                solely                427:9 433:10
  296:3 305:16          545:2               SKADDEN               24:22 87:24 247:23    436:19 439:12
  426:16 437:15,18    sit                   3:7                     448:21              450:16 452:8,19
  513:2 518:15        15:13 155:9 164:22    sketch                solid                 465:6,6 466:10
similarly               169:10              251:12,13             427:16                469:15 477:9
310:13,18             site                  skin                  soluble               480:2,14,22 485:7
Simone                103:22 298:14,22      121:7 333:18,19,20    124:2 310:22 322:7    495:19 508:12,16
7:10 103:4              300:1 301:21          333:21,24 334:2,6     322:9 465:3,6       512:3 516:6 523:3
simply                  314:6,10 320:22     skip                    466:5,7,24 536:14   524:17 525:8
69:4,6 91:2 153:1       320:22 322:5        60:19 125:23          sorry                 526:15,23 527:15
  161:10 334:22         330:17 368:14       Skipped               23:19 28:18 35:10     528:21 532:15
  365:12 436:20         459:13,15           8:9                     38:7 39:11 42:4     534:2 535:10
  484:2               sites                 slow                    44:18 45:12 54:4    538:8 545:4,6,21
single                314:14 476:4          130:20                  59:6,11 60:24       545:21 550:12
52:9,15 93:18         sits                  slowly                  61:4 64:17 76:10    557:9 560:12
  144:18 231:12       111:5                 442:23                  76:12 79:9,12       561:9,18,18
  253:19 256:24       sitting               small                   83:12 86:22 89:4    568:20 570:8,10
  257:7 288:11        16:6,8 51:5 161:1     265:21 290:6 296:7      102:1 110:6 117:2   570:15 572:5
  313:6 368:12          161:10 162:20       smaller                 121:24 127:3        577:14
  369:2,3,6,8,10,17     165:11 197:1        241:4 467:23 468:2      128:11,22 132:21 sort
  370:1,9,17 379:24     227:11 258:1        smiling                 141:9 143:15      503:24
  380:5,22 381:4,8      259:10 346:12       518:22                  144:9 156:5 158:8 sought
  381:14 382:18         380:12 391:14,21    Smith                   169:3 170:21      398:7

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 343 of 366 PageID:
                                     75698
                                    Judith Zelikoff, Ph.D.
                                                                                               Page 635

sound                   190:8,11,22         spoken                33:21 253:12            394:21 432:9
200:21 446:10           209:13 216:14       23:10 29:6,19           497:18                433:14 434:12
source                  217:8 221:15          77:23 171:18        starts                  492:6 499:21
57:21 79:7,20           255:18 261:8          172:6 356:11        8:11 51:19 257:11       540:1 554:1 573:5
  80:10 82:15 88:2      264:19 265:1          530:16 555:3,6,17     421:12 457:20       states
  91:19 92:5,10,15      279:19 294:6        sporadic                458:21              1:1 119:8 120:9
  96:10 97:7 100:19     301:1 302:19,20     15:18                 state                   431:2,17 496:23
  103:9 108:8 113:4     303:9 313:14        spot                  14:6 50:22 200:18       498:14 540:20
  254:22 261:4,8,15     344:1,19,21 362:8   252:4                   206:21 244:24         543:22
  399:9 443:19          453:20,20,21        Square                  252:24 301:16       stating
  450:3 563:19          454:5 462:10        3:8                     324:20 477:1        135:24 223:9
sources                 478:23 479:20       stack                   564:4 580:5           382:13 430:17
15:10 25:3 101:14       488:16 497:11       387:8 495:15          stated                station
  261:7 450:20          510:1 544:1 545:8     569:23              76:21 83:13,14        449:7,13 450:9,11
  459:12 494:6          546:8 559:8         stages                  86:7 155:7 168:15   stations
South                 specifically          326:16                  169:2 200:17        449:19
2:9 4:8               62:2 137:6 163:5      stall                   211:22 212:18       statistically
space                   169:14 172:13       337:21                  214:8 252:8 296:4   207:7
327:20 580:6            185:23 189:17       stand                   307:11 336:8        stay
speak                   190:7,7 210:5       70:19 75:2 95:7         346:19 455:15       34:14
113:13 178:13           211:5 212:1 228:9     113:24 195:24         493:19 512:19       stays
  205:22,23 225:6       274:1 286:3           197:22 217:19         530:7 533:18        74:3
  226:4,8,13 227:13     303:24 314:1,2        294:23 527:15       statement             Steering
  229:17,21,22          394:2 451:2           578:8               86:19,20 89:22        2:21
speaking                468:16 505:2        standard                107:6,8 212:16      stem
30:10 225:13,16         522:17 566:23       68:2,13 69:14           215:5,6 222:7       194:15
  343:8               specifics               309:4                 322:17 397:2,17     stenographic
speaks                495:1                 standards               397:19 400:7        13:14 280:9 562:20
206:4 227:15 248:4    speculation           69:1 282:16 385:3       401:10,18 404:1     Step
spec                  87:20                   468:19                423:6 427:3 431:1   217:1,2
292:12 465:5          speculative           standing                431:23 432:7,14     step-by-step
speciated             151:8                 97:14 118:15            432:20 433:1,2,6    224:10
419:6                 speed                 stands                  433:8,8,15 471:3    steps
species               442:22                101:11,14               471:5,13 491:24     409:5
119:14 257:9          speeding              start                   504:22 509:13       Stipulations
  297:10 300:11       442:24                30:15 254:1 256:14      539:19 541:1,4      12:11
  308:13 309:13       spell                   263:11,15 265:7       542:19 543:9,23     stop
  363:24 364:6,11     19:15,18                265:10,18 266:4,8     544:9 545:7,13,17   442:22
  364:15,16,22,23     spend                   266:11 291:1          545:20 546:7,13     stories
  365:7,13,14 366:2   27:24 38:4 389:2        296:9 314:24          564:10 568:16       449:18
  366:7,7,8 367:18    spent                   321:15 369:14         569:10 570:18       stove
  464:11,13 469:24    17:8 26:22 27:8,13      370:24 371:10         571:5 572:11        173:2,3
  475:10 504:14         27:18 389:7           472:12 493:3        statement's           Street
specific              sperm                   501:4               573:4                 2:4,9,14 4:4
25:13 108:14 143:7    95:3                  started               statements            stress
  143:11 171:2        spoke                 33:11,12 251:17       95:9 99:14 117:17     297:3 307:22
  174:23 189:3,9      172:10                starting                121:21 224:6          364:17 367:19

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 344 of 366 PageID:
                                     75699
                                 Judith Zelikoff, Ph.D.
                                                                                           Page 636

  369:15 371:21     studies               438:3,9,21 458:21     437:11 446:4          385:6 423:24
  375:21 421:20     121:3 137:9,9,10      459:3 464:10,14       451:7 454:19          582:11
  470:13 471:7        138:9 140:24        464:16 465:2          455:1,5 456:23      substances
  486:20,23 487:6     145:7,8 189:13      466:16,18 467:2       464:23 469:12       262:8
  504:20,21           190:17,18,21        469:2,5 475:15,18     472:4 474:6,10,14   substantiate
strike                202:13,20,21        476:10 477:13         476:3,8 477:18      434:9
20:14 21:1 23:14      203:6 206:6,7,8     478:5 479:7           478:1,1 480:13,15   substantive
  32:11 36:10 43:2    207:4 225:2 230:5   492:20 503:4,21       484:20 508:7        215:20
  44:24 62:3,18,18    230:21 231:5        505:23 517:21         509:14 515:15,20    subtype
  66:22 81:15 82:8    232:2,2,17,18,21    518:11 520:12,15      515:22 517:3        193:13 194:24
  132:17 176:3        235:24 236:2        531:12,15 539:3       518:3,19 519:23     subtypes
  190:9 205:2         260:8 269:1 277:2   556:14,19,22          534:3 557:4         191:9,23 193:16
  214:14 243:15,19    278:22 279:3,6,9    557:14,15,18,21       559:20,23,23          194:10
  272:8 299:10        279:14,19,21,24     557:24 558:2,10       560:2 561:13        sufficient
  302:4 336:18        280:2,11 281:1,14   558:19 559:4,11       562:17 563:2,9      260:19 290:17
  352:22 353:6        282:3 283:1,17,19   560:6,16,20,21,23     566:17 567:15,17      440:9,22
  393:18 396:10       284:10,21 285:22    560:24 561:4,7,10   study's               suggest
  399:1 414:20        286:5,7 288:16,17   561:11,14,16,22     473:24 572:24         299:21 482:22
  417:24 426:24       291:10,15,19,23     562:3,5,9,11        style                 suggested
  439:11 474:12       292:5 293:13        564:22 565:4        167:1,2               123:24 454:7
  475:2 493:2 501:4   294:6,15 295:3,14   568:14 572:12,17    subcutaneous          suggestion
  528:5 543:17        297:1,16,20,24      574:21 575:1,5      334:6                 338:3,6
  553:10              299:2 301:2 304:8   577:1,4,6,9,22,24   subject               Suite
strong                305:12 310:2      study                 122:19 167:15         2:10,14,19 3:13 4:8
288:4 420:12          332:20 334:7,23   154:4,14,20,22,23       302:20 580:10       summary
strongly              339:24 344:4        155:1,4 197:8       subjective            63:7 564:7
514:24                345:9,13,23 346:7   214:6 233:16        225:1                 Sunday
structural            346:20 351:15,19    234:4,10,19         submission            38:3
110:23                351:22,24 352:3,8   252:22 264:20       522:3                 Sunderman
structure             361:18,22 363:7     285:12 288:18,19    submit                122:14
268:15 324:4          366:10,11 367:21    291:3 296:16        500:16                Sundre
structures            368:2,3,5,20        297:5 299:7         submitted             289:24
44:7                  372:24 373:1,18     305:14 310:6        171:4,14,16 213:2     superficial
student               374:1,6 375:22      313:6 332:24          213:3,10,11 498:9   22:14,19 199:1
43:8,9,10 98:13,15    376:5,13 377:2,11   335:3 336:14          500:19                409:12
  99:6 132:7,8        377:14,18 378:9     342:19 346:13,21    Subscribed            superoxide
students              378:12,13,15        346:21 347:1        582:19                365:4
6:21 30:8,13 31:23    379:1,2,3,6,11      351:9 360:13        subsection            supervision
  32:4,14,18 78:22    380:5,14,16         361:4 362:10,20     487:16                579:22
  79:2,18 80:7,11     381:22 382:8        371:22 372:12       subsequently          supplement
  81:9,17,19 82:16    396:3 403:11        373:17 375:11,13    362:5                 36:15 48:20 60:1
  131:24 132:1        416:2,8,12,14       375:15 376:9,20     substance               73:24 201:15
  134:11 443:13       417:3,11,19         377:16 378:8        149:17 150:9,12         247:8 249:9,21
studied               422:10 423:16,17    399:13 401:19         200:12 224:13         277:3 522:5,6,7
184:20 333:2          426:7,14,18 429:1   402:12,14 416:3       262:17 342:23       supplemental
  428:17 532:23       429:6 432:9         435:15,19,21          343:6,11 366:14     37:1 38:12 59:18
  533:4,13 543:16     433:22 437:24       436:2,7,22 437:1      368:20 369:6          59:20 374:15

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 345 of 366 PageID:
                                     75700
                                   Judith Zelikoff, Ph.D.
                                                                                             Page 637

  522:10,23             397:21 413:2         206:3 228:4           100:9 105:9          244:16 245:1,11
supplementary           414:18 440:14        232:12 356:1          109:10 121:21        245:16,21,23
57:5                    452:10 465:23      systemic                125:13,16 172:17     246:7,12,17,19,23
supplemented            469:6 482:20       205:14                  178:11 199:7         247:4,13 248:2,8
74:2                    537:24 538:23      systemically            235:20 494:5         248:20 250:9,10
supplied                551:19 560:22      303:17 304:23           526:10 546:21        256:20,24 257:2
53:2 139:19 140:20    surface                306:10 312:11       takes                  263:16,20 264:8
  143:4               181:24                 323:21               265:23,24 296:6       265:8 266:11,19
suppliers             surprising           systems               talc                   267:1,2,8,11
455:24 498:9          488:24               371:19                 3:20 6:16 8:14 9:15   268:5,6,7,12,14
supplies              surveillance                                 9:23 11:15,18        268:16,19,20,22
461:17                359:4                          T             18:3 22:12,24        269:2,3,5,10,16
supply                survey               T                       24:24 25:4,11        269:19 270:2,22
167:8 461:20 494:6    453:3 454:3 455:4     4:3 5:11 6:2 7:2 8:2   29:12 30:14,16       271:19 273:3
support                 455:9 497:18         9:2 10:2 11:2         31:4,13,23 32:5      274:7 275:21
12:2 320:6 397:13     survivability          581:1                 60:15 62:17 73:6     277:6 284:7 288:2
  432:10 443:15       375:20               T-cell                  73:11 126:24         288:19 291:15,19
  501:12 502:3        susceptibilities      326:6                  128:7,10 134:1       295:15 298:10,12
  548:3               255:9                table                   141:13 148:14        298:12,24 299:3
supported             susceptibility        31:12 287:5            149:7 150:16         302:6,13 303:4
62:15 111:22          266:3 370:2          tables                  152:8,14,21 153:5    304:3 305:3
supporting            susceptible           38:24 42:13            153:13,20 154:9      307:19 308:2
6:9 156:9 547:21      262:19 371:20        Taher                   155:7,19 156:16      309:1,23 310:1,12
supports              suspect               6:17 59:24 60:16       156:24 157:4         312:20 332:5,21
441:11                514:23                 61:8,19 62:3,5        159:7,10 163:18      333:12,17,19,24
supposed              suspected              206:4 208:4,23        164:9,18,20          334:1 336:16
70:18 71:7,19         513:1 518:23           210:8,13,15           166:19 167:13,23     339:22 340:2,3,8
  181:9 263:7         suspicion              415:12 478:1          171:20 185:4,12      340:15,19,24
supposedly            519:18                 569:20 571:22         185:13 187:19        341:7,7,8,10
413:7                 sword                Taher's                 189:14,14,15         343:19 344:5,8,11
sure                  327:5                 63:21 205:14           196:23 197:7         344:15 345:7,11
23:22 24:20 29:19     sworn                take                    198:16 205:9,24      345:16 346:1,15
  33:4,7 45:6 46:19   13:20 579:5 582:19    18:2 74:8 76:15        206:1 207:9          350:2 351:5
  59:24 68:12 69:24   symptomology           78:2 85:15 94:2       208:24 216:15,16     356:15 357:24
  70:5 86:14 92:1     331:16                 97:7 106:15           217:1,20 218:9,18    358:6 362:22
  102:9 121:9         symptoms               113:18 118:17         219:22,23 221:15     366:9 367:23,24
  123:10 138:2        353:19                 122:8 195:22          222:22 223:10,14     370:9 371:3,4,24
  142:23 165:16       synonymous             211:11 225:1          226:21 227:5,10      372:16 373:21
  192:14 234:3        353:2                  265:23,24 277:14      230:7 231:8,15       376:16 377:19
  242:15 247:19,21    system                 282:18 358:6          232:22 233:8,17      378:10,16 379:13
  249:17 251:2        33:17 165:23           386:12 421:9          234:6,20 236:1,6     380:22 381:20
  252:10 263:23         262:19 325:20        456:24 487:13         236:11,12,22,24      382:5 383:2,9
  267:12,18 272:1       326:12,17,21         518:9 523:10          237:17,22 238:1      384:11,18 385:13
  279:12 347:2          347:7 359:12         537:9,12              238:10 239:15,16     393:5 394:22
  355:17,20,22,23       366:6 402:7,19     taken                   240:20,21,23         396:9,12 397:2,10
  356:3 366:20        systematic            1:13 43:22 76:6        243:6,18,21,22,23    397:14 398:8
  387:5 388:20        6:14 60:13 136:5       79:1 87:24 93:16      244:1,2,4,6,12,12    400:3,19 401:6

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 346 of 366 PageID:
                                     75701
                                    Judith Zelikoff, Ph.D.
                                                                                               Page 638

  408:12,20 409:7,9     540:19                236:14 253:12         356:17 370:5        temporal
  409:14 414:2,23     Talc-induced            274:10 280:12       task                   358:15
  416:6 419:12         538:5                  281:9 289:6 298:4    520:4                temporality
  425:22 426:5,12     talcs                   337:2 359:22        taught                 327:14 328:4
  426:19 428:1,11      451:14,16 476:20       397:6 417:5,8        33:18 34:1,2         ten
  429:10 431:3,18     talcum                  442:23 446:18         165:20 166:5         195:20 258:3 293:4
  432:12,16 433:23     1:5 6:10 10:6 13:9     528:22              teach                   358:13,17,19
  438:3,9,10 439:3      21:23 127:14        talked                 186:2                tenfold
  439:14,16 440:9       128:19 130:9,13      24:7 34:9 63:14      teaching               459:9
  440:22 441:6          130:19 131:2,10       64:4,24 73:20        159:12,13 165:19     tenure
  444:14,19 447:5       157:12,21 172:3       166:11 196:10         167:1,2,4            14:16
  450:21 452:15         189:4,13 196:23       197:13 265:9        technical             term
  453:4,5 455:11,12     201:7,8 206:12,16     345:6 384:9 452:7    251:22                99:7 108:14
  455:20 465:12,17      208:13 209:8          462:15 502:7        technically           terms
  465:21 466:1,2,5      210:2 216:2,21        529:19 554:17        334:15                21:1 41:24 42:7
  466:6,11,12           217:14 221:2        talking               TECHNICIAN              44:3,12 134:12
  468:17 470:4          222:9 223:14         21:8,9,13 71:5        4:15                   138:7 151:17
  472:5 477:14          243:12 265:14,22      99:18 110:11        techniques              159:22 182:10,12
  478:6,23 479:3,4      265:22 270:9          142:18 174:5         375:19                 183:10 194:8,20
  479:8,20 480:17       271:3 275:8           187:15 202:21       telephone               239:5 247:16
  481:5 487:4 490:2     276:23 340:9          221:7 250:16         19:4,5                 251:15 252:5
  491:6,11 494:5        344:13 345:1          259:12 263:4        television              274:14 286:20
  496:20 498:12         346:22 352:10         265:14,15,16         449:7,13,19 450:8      288:1 301:3
  499:5,14 504:15       363:4 366:14          266:5,7 286:13        450:11                309:11 312:8,10
  505:1,18 506:23       370:20 377:5          291:11,14 293:16    tell                    326:8,9 327:11,13
  507:3 508:7,9,18      382:2 397:10          296:22,24 297:4      15:15 17:1 20:21       328:4 331:13,13
  509:10 510:3          403:15,17 423:11      297:13 298:4          21:14 24:11 43:18     336:10 353:24
  511:14,15 512:9       428:11 438:23         317:13 334:4,5        52:14 55:12 85:22     369:24 396:6
  513:12 515:18         439:1 440:16          335:7 339:21          120:7 124:8           414:14 432:3
  516:16,21 519:7       441:6 477:2 488:8     344:21,24 345:1       128:11 182:13         433:18 434:4,9
  519:13,15,16,19       493:15,21,24          354:8,9 357:6         188:7,24 191:16       438:22 485:3
  520:6 531:5,8,15      494:7 499:24          370:19 397:3,5        228:17 242:17         486:16 490:11
  532:3,6,12,17,20      513:6,8 514:6         398:18 426:23         265:20 272:13         542:14,15 548:10
  533:2,7,14 538:23     515:6,16,19 517:5     432:4 437:19,21       361:11 372:5          551:19,22
  539:21 541:6          520:23 528:13         455:2 462:9,10        379:1 380:9         Terri
  544:2 545:10          538:24 549:20         467:15 490:17         391:13 435:13        14:8
  546:9 548:7,14,18     550:18 551:2,8        526:21 539:9          460:9 475:20        terribly
  552:21 553:7          552:1 559:5           557:14                483:11 502:16        528:20
  554:4 559:2,2         561:19 575:21       talks                   542:23 543:23       test
  565:24 566:18       talcum-based           136:23 137:2           568:20               191:5 253:2 270:15
  567:10 570:19        512:21                 223:23 558:7        telling                 273:7 413:6,21
  575:5               Talcums               target                 97:4 219:21 222:11     414:10 494:21
talc-based             9:18                  263:8,11,14 265:6      299:17                521:6
 231:9 512:18         talk                    288:6 298:22        TEM                   tested
  513:12               32:9,9 122:5 166:9     300:1 301:12         252:2,15,16,18,19     264:11 273:1
talc-containing         166:10,10 175:19      312:13 320:22         252:20 446:18,21      293:23 295:19
 496:21 497:24          202:7 218:6           322:5 330:14          456:6                 360:2 410:7 495:7

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 347 of 366 PageID:
                                     75702
                                   Judith Zelikoff, Ph.D.
                                                                                            Page 639

  539:5                135:2 146:20 147:3   110:12 136:16         421:11 565:24        25:5 26:13 27:8
testified               147:6 148:11        169:24 185:11       thirty                 27:12,18,23 38:4
 13:21 187:16           253:8 274:3,4       194:14 238:19        580:16                39:13 45:23 47:1
  370:17 390:14         413:20 414:5        337:22 344:14       Thomas                 47:10 56:2 61:9
  410:21 411:17,20      561:7               451:3 569:17         2:8 4:3 49:13         71:5 74:16 75:3,7
  489:9 532:4 557:3   Texas               think                 thought                86:10 99:9 125:2
testify                3:13                24:20 42:8 43:5       54:20 86:23 101:2     125:5 132:11
 28:1 157:18 266:24   text                  65:15 66:10 69:9      107:3 138:21         181:4 196:1,5,14
  418:11 447:5         38:12,22 59:14       73:13 74:12 77:15     192:8 193:24         196:15 198:9
  512:17                546:21              82:5 84:22,23         241:13 247:15        209:20 213:22
testifying            thank                 85:5 100:21 111:3     281:20 349:8         214:18 215:19
 71:1 148:17 173:14    17:6 32:24 35:22     150:20 155:24         390:22 401:17        229:7,9 251:19
  173:18 174:1,11       36:3 59:12 75:13    156:19 164:11,12      416:13 435:13        260:13,14,19
  175:2 564:15          85:7 102:2,4        168:14 182:12         490:16,16 516:9      262:13 277:17,21
testimony               124:15 131:17       183:11 185:12         561:19               285:9 319:15,20
 5:4 16:7,9 51:15       160:1 162:19        187:10,13 192:21    thoughts               327:17 337:24
  67:1 70:18 71:8       253:16 278:21       194:5 195:21         88:3 95:13 194:6      338:18,22 339:3,5
  71:16 75:18 78:4      333:10 376:3        206:5,7 220:18      threatening            339:11 357:4,10
  87:22 90:14,23        419:3 441:23        221:19 223:12,13     317:10,16             380:11 383:15,20
  91:9,16 92:1          442:13 477:11       224:20 229:7        three                  384:2 388:9,17,22
  95:20 104:9 105:6     481:20 484:9        238:13 241:22        38:7 179:10 248:9     389:1,3 391:22
  113:20 114:8          485:15 493:11       256:1,2,3 267:6       280:18 281:11        393:11 394:10
  115:6 126:7           507:8 517:17        268:18 272:2,7        289:1 316:15         411:4 422:2 442:1
  243:19 248:10         523:8 524:7 526:4   277:4 287:4,10        326:15,16 358:12     442:4 443:22
  300:23 333:16         526:4 539:17        288:17 310:18         443:13 457:17        456:17 463:7,12
  353:5,7 389:24        544:21 546:6        312:6 337:20          482:14 528:5         463:18,21,23
  408:19 411:9,10       569:24 570:1        338:9 370:16          559:13 561:24        464:3 465:20
  429:9 534:10          571:10 572:8        381:1,10 386:15     three-quarters         480:21 481:9,12
  550:2 552:4,20,23     573:17              386:16 387:11        64:10 390:1,2         483:13,13,16,17
  557:11 579:6        Thanks                400:10 401:11       threshold              483:21 484:16
testing                495:16               435:23 436:1         238:9 239:14          485:4,18,22
 86:13 134:16,23      theory                437:6 441:3           253:23 255:7         486:13 493:20
  147:6 148:4,5,7      24:12,12             446:10 449:22         263:22 265:12        500:22 523:12,17
  151:16 186:8,12     thereto               477:19 482:12         283:2                524:22 529:4,8
  202:14 203:6         121:23               485:13 487:13       throw                  537:6 556:21
  273:11,20 275:15    thesis                489:9 490:4          337:19                571:12 578:10
  276:3,9 292:15       252:17               515:11 518:6        throwing             times
  374:22 375:7        thing                 522:9,12,20 527:6    102:24               3:8 103:6 172:19
  410:16 413:12,16     78:1 90:12 91:2      546:20 551:14,16    throws                 214:10 285:18
  414:1,23 446:19       114:17 149:13       570:12 571:11,20     187:18                328:21 444:7
  446:21 447:22         150:7,24 199:9      571:24 573:14       Thumb                  457:1 459:11
  448:1 493:4,15        310:3,10 325:20   thinking               6:7                   566:13
  495:11 496:8          326:11 357:7       56:22 57:2 367:14    time                 timing
  497:22 515:15         363:2 519:15      third                  13:6 17:9,15 20:4    327:14 328:4
  519:1 538:16          522:4 553:15       131:14 400:2 404:1     21:12 22:14 23:1   Tinto
  539:20 540:13       things                404:3,15,16,20        23:3,17,17,19,20    455:24
tests                  86:7 94:17 103:15    411:13 420:1          23:24 24:1,21      tiny

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 348 of 366 PageID:
                                     75703
                                    Judith Zelikoff, Ph.D.
                                                                                               Page 640

  316:3,4               384:24 391:21         320:18 322:11         215:17 220:2         71:3 229:11
tired                   392:12 395:21         533:13                223:4 225:10,17     transport
 336:24 516:6           418:11 443:10,12    toxicant                226:5,9,14,15,16     334:9,24 335:21
Tisi                    443:23 444:15        263:4                  226:24 227:2,4        340:1 426:5,13,23
 2:9 28:20,21,22        447:8 480:5         Toxicants               230:1 264:6           465:13,18
  207:19 481:21         530:24 533:23        9:8                    298:24 299:1        transported
  482:1,15,21 483:3     548:1               toxicities              373:3 440:2 491:3    468:10,14
  544:16              today's                181:10,17 554:4        492:2 514:18        transports
tissue                 50:10 578:10         toxicity                533:13 534:7         340:3
 239:9 263:8 311:8    toenail                8:19 90:9 166:7        554:13,19 555:5,9   transposed
  329:22 331:2         176:14,15              181:15 182:6,10       555:12,13            332:15
  354:14,20 355:5     toilet                  183:3,10,14,17,21   Trabert               travel
  366:16 367:3         340:16,19,24 341:5     183:23 184:12        9:12                  240:3 300:13 466:2
  368:14 369:16       told                    235:21,22,22        trace                   466:3,7,14,15
  370:3,5,11 417:13    19:7 20:6 29:23        262:8,15 417:12      406:22 407:11        traveled
  465:7 477:3 507:1     30:3 59:1 212:9       417:13 423:9,19     traces                 466:4,16
tissues                 228:21 442:23         423:23 424:16        404:18               traveling
 137:10 292:13        top                     425:8 488:7 514:6   tract                  240:3
  355:6 368:21         105:22 188:7,22        517:13,13 528:12     31:7 170:11 334:10   treat
  371:12,19 416:20      203:2 230:3           528:13 529:24         335:1 371:18         171:19 177:6,8
  417:4 466:21,22       359:19 368:10         532:18 534:5,12       431:12              treated
  513:3                 372:4 408:9           534:16,23,24        Trade                  177:19 516:17,18
titanium                430:15 445:1          535:14,24 536:5      185:9 224:3 260:2    treating
 304:7 305:15           451:1 452:4           537:2 553:7           260:11 460:21        177:23
  307:13                454:18 455:18       toxicological         trained               treatment
title                   457:23 467:2         202:20,21 490:22      185:23,24             233:9 575:19,21
 14:14                  477:10 506:12         491:17 514:7,19     training              treats
titled                  520:19 540:16         514:19 553:1,6       177:5,12,14,15        356:7 514:10
 60:13                  552:7 563:24        toxicologist            492:5               tremolite
tlocke@seyfarth....     575:17,20            137:8 183:13         transcript             179:24 182:9,16,22
 4:5                  topic                   184:10,21 225:8      11:13 579:9,19         183:9 248:9
tobacco                198:11 383:24          228:14 235:13         580:17,19             406:21 407:11
 170:2 224:2            384:1,1 447:15        262:6 294:22        transcription           451:17
Toby                    448:8                 295:9,10 315:19      104:13,21 310:5      trial
 537:22               topics                  320:8 334:17          475:8 480:19         16:7,9 71:16
today                  150:15                 399:18 445:6          481:7 582:7         trigger
 13:5,11 16:15        total                   514:16 532:14,17    transcripts            370:23 371:5
  27:23 28:1,8         418:10 419:6 485:5     554:7,22 555:1       390:8                triggering
  32:16 33:24 36:17   totally               toxicologists         transformation         271:13
  37:15,17 44:22       83:5 272:17 518:8     167:17                470:2 479:12,16      trivalent
  50:14,17 53:13      touch                 toxicology            translocated           293:11 321:13
  55:3 87:8,23         134:1 138:15          30:7,10,11 31:3,23    198:16               true
  90:24 113:17        tox                     32:13,17 33:17      translocation          27:14 114:20 293:9
  114:6,23 115:4       44:10 54:18 227:9      77:24 149:21         427:15                 364:10 445:13,14
  153:2 161:1,11      toxic                   153:12 154:15       transparency            473:9 516:24
  162:20 197:2         182:24 183:4,8         165:24 166:1,3       81:24 229:6            518:14,18,23
  346:12 380:12         235:22 236:1          186:2,3 197:24      transparent             519:6,12,14 554:5

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 349 of 366 PageID:
                                     75704
                                     Judith Zelikoff, Ph.D.
                                                                                              Page 641

  557:6 579:6           28:16 29:3 30:12     ultimately            50:1,3 74:22,23      upper
truthful                 44:23 57:20 81:8    25:20,23 26:18         395:2               431:12 467:20
 71:3,14                 84:24 88:24 89:14   ultra                 undertaken           upregulate
try                      103:15 107:12       429:13,19             502:12 503:19        326:5
 232:9 254:24            108:15 129:8,9      unable                unethical            upregulation
  327:19 329:1           172:20 176:18       366:8 420:19 421:1    518:8 519:2,22       296:11 475:11,23
  442:21                 249:21 264:8,16     unacceptable           559:19 560:1,3,16    476:11
trying                   325:1,2,3,17        512:10                 560:17              uptake
 84:12 212:14 346:6      327:7,9,24 330:22   unacknowledged        unfair               103:24
  424:4 431:10           413:8 456:4         81:1,5                147:20               upward
  454:22 455:14          482:13 499:2        uncertain             unfortunately        371:18,18
  463:6,9,13 485:1       534:22 540:16       400:5,21,22           328:6,21             urban
  516:10                 546:2 571:18        unclear               Union                459:10
Tube                   two-prong             146:13 401:8,20       4:11 555:12          use
 8:6                    327:5                  455:6 508:19        unique               6:10,16 9:15 60:15
tuberculosis           two-thirds            uncomfortable         104:18,24 305:3       62:17 68:20 73:1
 329:5                  49:14 472:9 498:19   124:19                 465:11               76:3 77:1,22
tubes                  type                  uncommon              unit                  96:14,15 97:1,9
 371:15 499:16          193:7 310:23         377:10                110:23                101:18 102:11
TUCKER                   324:16 328:17       underlying            United                105:19 111:17
 4:7                     376:6 417:23        194:12 201:1          1:1 120:8 496:23      113:21 115:1
tumor                    425:14 470:11         306:22,23            498:13 540:20        116:4 117:11,12
 119:11 153:14           519:20              underpinning          universally           117:21 118:19
  192:5 298:19         types                 217:23                241:6                 121:4 127:1,13
  326:20 327:1          192:3 193:6 194:21   understand            university            128:7,10,18 130:9
  360:5 365:14           325:14 326:16       66:2 70:6,17 71:6     14:11,15 15:8         130:13,18 131:1
  470:3 505:4            327:7,8,9,24          71:13,19,24 91:13    29:20,24 32:4        131:10 152:8,14
  566:17                 328:2 347:21          92:9 105:8 129:18    69:5,16 78:23        152:21 153:5,20
tumors                   354:12,13,19          130:1 145:12,12      79:17 80:6 81:17     154:9 155:7,19
 153:16 326:9 402:6      379:2 404:19          147:23 152:24        81:21 176:21         156:23 167:3
  402:18 543:2,12        472:21 573:1          183:1 192:24         227:14,16,18,19      172:2 173:22
turn                   typical                 214:13,15,20,21      227:22 228:17,18     181:4 183:7
 79:3 271:13 331:24     459:7,9                214:24 215:3         342:2,3              190:16 204:24
  332:2 386:24         typically               227:17 234:23       university's          205:9 206:16
  398:24 408:5          192:18 463:9           237:6 238:7         81:9                  208:13,23 216:3
  409:24 411:6                                 249:18 261:24       unknown               216:21 217:14
  421:22 431:15                U               279:12 291:12       265:19 369:9 370:5    221:2 222:9,22
  444:21 476:16        U.S                     335:14 375:1,4       401:21 406:23        224:14 230:7
  487:15 496:6         77:23 108:13,17         407:18 422:7         407:12               231:15 232:22
  497:15 498:18          205:13 453:1          442:16,17 447:7,7   unpublished           233:17 234:6
  506:11 507:22          498:1                 463:8 482:11        58:8 202:13 203:6     252:1,13 295:23
  511:21 520:18        U.S.A                   520:3 558:23         214:11 447:12        305:12 351:12
  549:15 572:9         461:15                understanding          448:6,15             363:4 372:20
  573:18 575:14        ubiquitous            70:23 438:23          unusual               373:1,5,14 377:10
turned                 289:15                  466:12 513:22,23    283:15                385:8 400:3,19
 450:12                ultimate                514:17 557:22       updated               406:19 407:8
two                    207:14                understood            168:20,22,23          410:17 434:11

                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 350 of 366 PageID:
                                     75705
                                    Judith Zelikoff, Ph.D.
                                                                                          Page 642

  440:3,5 445:23      variant               432:21             411:1                 235:5 249:13
  469:3 472:17,19     479:15                viewpoints         walls                 252:3 286:7
  473:16 489:13       various               400:23             258:2                 295:21 336:5
  493:19 505:18       54:17 136:21          viral              want                  426:4,6,13 427:1
  508:7 509:10          181:10,11,18        325:21             74:8 99:10 196:9      428:12,13,19
  515:6,15 518:10       276:22              virtually           205:4 217:6          441:2 472:10
  519:23 520:6        vary                  94:21               222:19 234:22        481:22 495:4
  523:11 538:23       181:10,17             virtue              235:12 322:8         496:5 498:20
  542:13,15 548:16    Venter                501:2               336:6 338:8          530:8 557:4 566:7
  560:1 564:21        197:12 336:11         visible             350:14 372:5        ways
  565:17 570:19         502:22              357:1               376:21 409:21       79:24 80:3 237:6
  575:18              verbally              vitae               418:24 427:4,4       320:18
users                 167:5                 7:22 380:9          479:24 482:19,24    we'll
352:10 478:23         verbatim              vitro               483:1 484:1 485:2   62:19 74:19,20
uses                  97:9 103:7 116:1      137:8 138:8 145:6   502:15 537:19        317:5,5,13 318:23
119:17 237:15           121:22                197:8 202:22      544:15,18            337:1 338:15,16
  351:13 441:4        verify                  295:3 297:1 368:2wanted                537:11
  548:7 559:24        276:8 375:7 412:24      373:1 377:1,11   21:16 140:9 238:22   we're
usually               Vermont                 378:13 480:17     350:16              18:2 32:6 99:18
91:7 96:15 215:18     187:22                  481:6            wants                 125:10 196:8
  349:18              versus                vivo               570:13                221:6 230:13
uterine               305:4 385:22 433:8    137:8,9 138:8      Warheit               265:14,15 266:5
167:20                  433:15 434:22         140:23 145:8     437:5,23              276:15 298:3
                      Vertel                  202:22 295:3     warrant               317:6,17 318:7
         V            218:6                   314:18 366:19    406:23 407:13         319:10,11 334:3,4
V                     viability               367:5 368:1      warranted             336:19,20 337:9
2:9                   484:23                  377:18 378:16,18 575:2                 337:11,13,16
vagina                viable                  378:19 439:4,15  Washington            338:24 339:1,13
499:8                 485:5                   440:22           4:4                   339:21 364:17
vaginal               video                 volume             wasn't                370:19 482:2
334:4 336:15          13:7                  368:19 439:3,14    47:4 197:20 225:18    483:6,6 484:3,7,7
  346:18 371:9,10     videographer          vulnerabilities     225:20,22 283:24    we've
  371:12              13:1,3 75:2,6 125:2   255:10             waste                73:20 74:11 94:11
vaginally               125:5 195:24        vulnerability      459:14                103:3,5 114:21
333:13                  196:4 250:24        266:3              wasted                195:19 277:11
vague                   277:17,20 319:14    vulnerable         339:10                290:3 337:19
159:22 188:4,20         319:19 338:18,22    330:18 331:1       water                 444:14 492:11
validating              383:15,19 442:1,4                      261:17,19 262:3      weak
503:10                  463:23 464:3                W           267:17 461:9,13     420:6 421:12,14
validation              485:18,21 495:23    W                   461:17,20,24         435:8 564:6,6,16
547:21 548:4            523:12,16 529:4,8   4:8                way                   564:17
value                   578:8               Wacker             16:12 39:20 75:22    website
137:12,15             VIDEOTAPE             4:8                 77:6 83:13 86:17    79:1 81:13 107:16
Van                   4:15                  wait                88:5 94:4 116:14     107:18
452:12                Videotaped            544:5 556:7 570:11  126:2 136:2 162:4   websites
vapors                1:13                   570:13             176:4 192:22        54:18
185:16                view                  waiting             200:19 204:7,8      weeks

                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 351 of 366 PageID:
                                     75706
                                 Judith Zelikoff, Ph.D.
                                                                                       Page 643

 44:23 57:20        witness              195:3,6,11,14,17    355:16 360:18        540:5 541:17
 249:22 576:8,12    12:5 13:17 15:1      196:16 198:4        361:8 362:16         545:16 547:10,17
Wehner               20:4,16 21:12       200:16 206:21       363:1,21 365:2,17    548:9 550:5,16
63:23                23:8,18 24:2,18     209:4,12 210:10     367:10 368:24        552:14 553:15
weigh                26:7,12 28:21       212:13 214:4        369:21 370:15        556:8 557:9,13
433:7,13             29:1 33:1 38:18     217:19 218:21       372:19 376:19        559:22 560:11
weighed              38:21 41:14 46:3    219:11 221:6        377:22 378:12,18     562:14 564:13
136:21               46:19 47:14 48:1    223:2 224:20        378:24 379:16        565:3,13 566:22
weighing             52:8 53:2 56:10     225:20,23 227:8     381:1 382:11         567:21 569:24
249:7                56:13,15 67:4,21    228:3,22 231:18     386:21 387:23        570:10 573:9
weight               68:9,20 70:5,22     233:1,4 234:9       390:17 392:5,18      576:11 577:17
249:3 397:12         71:12,24 74:21      235:9,11 238:13     395:11 396:20        579:5,6,8 580:1
 416:11,11 433:5     78:10,14 82:20      240:1,17 241:21     399:12 400:10       witnesses
weighted             83:4 85:7,20        242:15 243:9        402:24 403:11       35:4 447:4,9,13
416:14               89:21 90:19 91:6    244:16 245:7        406:1 408:24        woman
weights              91:22 92:8 94:6     246:11 249:1,17     409:17 412:18       11:16 265:23,24
503:20               94:16 96:14,23      251:2,11 256:1      413:11 416:1,23      266:2 314:17
Weiner's             97:14 98:7,21       257:6 258:15        417:17 418:16,24     352:24 353:18
197:15,16,16         99:24 100:14        259:9 260:8         423:5 424:1,4,16     358:22 360:3
welcome              101:1,10,24         262:11,24 263:19    424:20 428:23       women
161:7,18 544:19      103:18 105:13       266:14 267:5,16     434:18 436:14       284:19 295:15
welding              106:3 108:3,12      267:22 268:1,11     438:14 439:7,20      345:7,16 346:1
123:18               109:2,15 110:5,8    269:8 270:6 271:2   440:13 441:23        357:24 361:23
well-done            112:16 113:24       271:24 274:9,16     446:7 447:18         362:3,9,11,22
435:19,21            114:16 115:7        274:24 280:6,10     448:7,16 450:1       367:5,6,12,23,24
well-established     116:8 120:5 122:7   281:9 282:7 283:7   451:23 453:16,24     368:9 371:23
182:15 217:3         122:10 124:16,22    284:15 286:12       457:10 460:8         372:1,15,20
 489:21              127:6 134:5,22      287:22 289:18       462:5,24 465:17      373:21 377:18
well-known           135:19 137:23       291:8 293:2,22      473:7 474:18         378:9 381:6,9
182:14 217:3         138:14,19 139:9     294:20 296:2,21     476:8 477:17         439:10 469:3
 228:13 272:19       140:1,12 142:17     299:17,20 300:24    478:10 479:3,11      477:14 478:6,14
well-publicized      143:15 144:16       303:2 304:21        483:4 484:13         478:20 479:8,20
489:20               145:4,17 146:13     305:7 306:8,18,20   486:12 487:9         499:19 541:10
went                 147:2,22 148:21     307:9 310:17        488:12 489:4,18      556:15 558:3,12
33:8 54:16 374:4     152:11 153:8        311:21 312:23       490:10 491:2,14      558:21 559:12
 390:6               154:12 155:23       313:12 314:22       491:21 493:10       wood
white                158:1 159:24        317:10,16 318:18    494:12 495:19       173:2,2,3,22
158:4                163:2 166:23        318:21 319:2        498:5 500:4         word
withdraw             168:14 170:14       321:8 322:3 323:5   501:18 503:9        30:23 41:5,8,10
161:20 209:21        172:5 173:17        323:17 324:14       504:4,19 505:10      93:16,16 105:19
 226:1 236:4         174:2,18 175:19     329:14 330:6        506:5,22 511:19      105:19 106:18,18
 287:14 316:18       179:5 180:14        334:14 335:14       516:2 517:8          107:23,23 113:4,4
 334:20 411:3        181:14,21 184:4     336:7 337:3 340:7   524:16 526:14        113:18,18 114:7,7
withdrawn            184:18 185:7        340:23 341:15       527:9,22 528:20      152:3 153:9 183:8
319:8                187:6 188:5,21      342:15 346:5        529:17 531:11,19     187:17 222:12
withdrew             189:8,23 191:1,14   348:22 351:12       533:17 534:20        235:13 412:1
319:4                192:13 193:5        352:13 353:12       535:17 538:20        532:15

                   Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 352 of 366 PageID:
                                     75707
                                   Judith Zelikoff, Ph.D.
                                                                                         Page 644

wording               260:1,11 460:21     x-ray                7:23 13:12,19       Zelikoff-24
89:16 489:1          wouldn't             292:11               14:2,8,9 16:24      8:9
words                113:20,21 147:12     XRD                  18:1 50:8,22 51:7   Zelikoff-25
39:4 67:15 75:20      488:24 497:10,15    251:24 252:7,11      54:1 75:10 87:5     8:10 125:9
 80:17,22 87:23,24    520:18              XRF                  95:16 126:8         Zelikoff-26
 88:4 90:16 91:10    write                292:11               285:17 319:23       8:12
 91:12,17,18,19      63:6 75:23 76:13                          339:6,18,21         Zelikoff-27
 92:2,4,4,11,15,17    113:15 114:5,22              Y           383:23 442:10       8:15
 94:11 95:12,21       115:3 133:13        y'all                444:11 484:12       Zelikoff-28
 96:3,10,19 105:9     333:11 528:8        463:14               486:4 523:23        8:17
 114:9 120:15         535:4,9,10          yeah                 544:6 573:19        Zelikoff-29
 121:5 135:7,10      writing              35:5 75:1 147:17     576:19 579:8        8:20
 152:1,4 304:2       27:16 44:5 62:14       175:23 183:11      582:16              Zelikoff-3
 343:4 394:9          204:23 283:8,9        277:16 387:13     Zelikoff's           5:19 36:23
 426:11 546:24        284:4 414:13          402:18 450:24     35:20 125:14         Zelikoff-30
work                  447:15 448:9          482:15 487:18     Zelikoff-1           9:6
15:7 16:17 17:6,23   writings               504:20 507:14     5:15 16:22           Zelikoff-31
 19:13,23 22:15      448:13                 508:8 516:5 573:9 Zelikoff-10          9:9
 29:7,21 34:15       written                573:15            6:14 60:9            Zelikoff-32
 47:6 64:3,23        39:20 76:22 105:17   year                Zelikoff-11          9:11
 69:15 79:18 80:9     113:1 133:8,15,19   21:18 34:3 152:15   6:19 62:22           Zelikoff-33
 81:2,6 82:3,10,13    150:13 159:7,17       387:19 408:3      Zelikoff-12          9:13 430:7
 82:24 86:9,16        160:14 161:4,14     years               6:21 78:18           Zelikoff-34
 112:7 113:8 164:6    161:24 162:9,14     112:7 113:8 133:21 Zelikoff-13           9:15 398:22
 178:10 185:8,10      162:22 163:20         173:13 187:21     6:22 83:23           Zelikoff-35
 185:15 186:23        164:8,18,20           228:11 242:12,17 Zelikoff-14           9:18 405:15
 202:5 203:16         226:17 391:11         258:3,21 260:17   7:6 88:12            Zelikoff-36
 251:21 254:23        424:17 459:16         320:9 358:13,13   Zelikoff-15          9:20 457:9
 274:18 422:11        471:8 499:22          358:17,19 451:9   7:7 92:23            Zelikoff-37
 435:23 487:2         501:10 534:6,11       452:21 472:18     Zelikoff-16          9:22 454:11
worked                534:15 535:12,17      492:3             7:9 102:19           Zelikoff-38
169:22 252:8          535:23 536:4        yellow              Zelikoff-17          10:6 469:9
 254:10 380:4,7       537:1,18 546:23     208:9               7:12 106:11          Zelikoff-39
 384:19,21 391:15    wrong                York                Zelikoff-18          10:8 471:18
 391:16 435:21       231:21 572:6         2:19 3:8,8 14:11,15 7:14 115:15          Zelikoff-4
worker               wrote                  15:8 29:20,24     Zelikoff-19          5:21 40:6
416:3,13             91:10 163:5 249:10     32:4 69:4 80:6    7:16 119:20          Zelikoff-40
workers               249:19 537:21         173:7 227:22      Zelikoff-2           10:11 480:8
258:17               Wu                     228:18 259:23     5:17 35:17           Zelikoff-41
working              10:10 469:13           260:13,24 290:2   Zelikoff-20          10:13
34:15 251:21          471:22,24 472:3,9     342:3             7:18 118:2           Zelikoff-42
 259:18 389:4         473:15,19                               Zelikoff-21          10:14
 392:6 447:6                                       Z
                                                              7:20 121:16          Zelikoff-43
works                         X           Zambelli            Zelikoff-22          10:17
79:6 111:6 235:5     X                    10:12               7:22 175:12          Zelikoff-44
world                5:2,11 6:2 7:2 8:2   Zelikoff            Zelikoff-23          10:19
111:10 185:9 224:3     9:2 10:2 11:2      1:13 5:4,16,18 6:6  8:6 393:8            Zelikoff-45

                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 353 of 366 PageID:
                                     75708
                                 Judith Zelikoff, Ph.D.
                                                                                         Page 645

 10:21              457:20             119                  1510                  1971
Zelikoff-46         1/15/19            7:16                 3:13                  502:19
11:6                5:20               12                   15th                  1972
Zelikoff-47         1:17               40:20 78:21 79:13    37:8,18 500:20        502:22
11:8                196:6                88:16 89:9 91:11     522:13              1976
Zelikoff-48         10                   313:5 332:3,4,13   16                    10:20 406:7,8
11:10 481:16        60:12,18 208:7,8     333:5 336:8        5:15 26:19 40:19        407:15
Zelikoff-49           210:6 213:10       421:23 425:20        47:2,11 69:19       1977
11:13 549:11          239:2 260:16       487:15 524:3         70:1 83:17 86:1,2   10:17
Zelikoff-5            459:8 460:16       528:1 549:19         101:21 102:13,22    1979
5:23 43:14            461:24 467:19    12/2018                344:2 388:3         10:19 502:23
Zelikoff-50         10.5               6:13                   389:13 425:24       1980
11:15 562:23        242:24 428:9       12:22                  505:22 572:9,18     193:22
Zelikoff-51         10/18/18           196:2                16-2738               1982
11:17 567:5         11:14              120                  1:6                   14:19 160:24 162:7
Zelikoff-6          10:11              242:12,17            16th                    164:3
6:6 50:6            75:3               121                  249:20 395:15         1984
Zelikoff-7          10:26              7:20                   500:20 522:12       451:4 453:14 506:9
6:7 53:9            75:8               124                  17                      506:9
Zelikoff-8          100                116:8                106:14 107:16         1990
6:8 55:10           457:5              125                    426:1               10:22 123:21
Zelikoff-9          10036              8:10,12,15,17,20     175                   1990s
6:12 57:9           3:8                  9:6,9,11           7:22                  434:21 521:8,10,11
                    101                12th                 18                    1991
         0          94:22              40:23                115:18 501:22         410:22 452:22
0.2                 102                13                     502:13 543:6          453:14 494:20
449:10,16           7:9                83:16 233:5 335:15     544:23,24 551:7     1992
0.3                 106                  336:14 421:23      1835                  435:15
242:23 428:13       7:12                 425:21             2:14                  1993
07962               11                 130                  19                    153:11 197:24
3:18                63:1 65:18         78:12                119:23 188:15         1996
                    11.5               135                    257:22 434:1        410:24 502:23
         1          242:24 428:10      112:18                 502:13                507:6
1                   11/16/18           14                   1900s                 1997
1:14 16:18 17:1     5:18               5:5 48:12,22 88:15   188:15                502:21
  27:1 79:15,16     11:11                425:24 429:22      19103                 1A
  85:10,12 120:7    125:3                430:16 437:11      2:15                  316:16 511:5
  217:1 256:7 332:8 11:23                521:18,24 549:19   1960                    518:10
  381:11 386:16     125:6              15                   218:5
  416:7 417:9 429:7 115                36:19 37:14 93:2,8   1960s                         2
  429:14,21 558:7   7:14                 93:15 173:13       521:7                 2
  582:6             117                  277:12 425:24      1961                  35:19 75:16,18
1,000               484:24               485:6 505:21       502:21                  79:15 85:10,12
459:10              11747                523:6              1962                    118:22 126:15,17
1.3                 2:19               150                  201:17                  127:5 128:24
564:8               118                90:3 313:16 425:2    1970s                   199:13,16 202:9
1.5                 7:18 485:8           528:2              257:22                  203:1 217:2 332:8


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 354 of 366 PageID:
                                     75709
                                    Judith Zelikoff, Ph.D.
                                                                                              Page 646

  403:21 425:14         512:10              22                   3                     35
  444:22 454:17       2013                  125:24 175:8,9       36:20 37:23 118:22    5:17 133:21 228:11
  484:22 485:6,7      10:12                 224-1133               202:18 203:2          405:11 406:15
  496:6 552:7         2014                  2:20                   230:3,12,14 332:9   350
2,000                 434:1 437:11 454:4    225                    436:3,13 437:20     3:17 16:3
48:23 49:1,5            497:3,21            457:19,20,23           445:1 455:16        36
2:27                  2015                    460:12               476:19,21,22,23     5:19 451:9,10
277:18                512:10                229                    476:24 477:1          457:6
2:45                  2017                  461:2                  497:15 522:21,22    36103
277:22                18:11,15,20,21        23                     522:22 539:18       2:4
20                      33:24 93:12 247:7   393:4,11,20 474:5      540:17              37
84:16,20 117:17,23      250:18 386:2          480:10 579:15      3:21                  454:8 495:13,15
  118:4,6,9,9,21      2018                  233                  319:15                  496:4,7
  119:2 347:6 359:6   17:7 26:19 36:15      4:8                  3:23                  38
  359:19 388:17,19      40:19,20 47:2,11    234                  319:21                469:12
  389:2 502:13          48:12,19,22 69:19   2:4                  3:39                  39
  582:20                70:1 83:17 168:21   24                   338:19                471:21
20004                   176:6 206:4 229:8   17:7 125:24 363:9    30                    391.0183
4:4                     232:14 247:8          363:13 451:15      17:16 28:5 112:7      3:14
2001                    249:10 250:18       25                     112:19 113:8        393
260:18                  387:16 388:3,5,12   17:16 125:12,22        206:5,6,6 248:7     8:6
2004                    388:16,17,19          126:5 132:16         260:16 320:9        398
449:6,13                389:1,2,12,13,17      368:10 379:7,19      452:21 459:23       9:15
2006                    398:19 446:24         538:2,9              580:16
10:18                   502:8 503:17        2555                 300                            4
2007                    521:18,24 522:5     3:3                  137:1 428:14 462:1    4
11:6 502:23 562:16    2019                  26                   305                   3:8 40:9 104:5,9
  563:2,16            1:10 13:5 36:19       5:17,21 83:18        2:19                    117:15 118:22
2008                    37:8,14 168:22        206:6 469:19       30th                    237:21 321:17
469:16 471:8            523:6 579:15          480:14             33:21                   332:11 387:16
  577:13              202                   267-0058             312                     388:12,16 389:1
2009                  4:5                   3:18                 4:9                     389:12,17 403:22
11:7,8 413:24         20th                  269-2343             316                     431:15 433:9,16
  414:23 454:20       388:13                2:5                  2:9                     433:22
  469:13 472:4        21                    27                   32                    4/1/14
  502:4,5 506:9       1:10 121:19,19        93:11 248:8 454:20   38:22 39:4 125:9      9:14
  572:11,15 577:15      359:6,20 472:1        476:18               125:13,23 126:6     4:04
  577:17,19,20,22       473:23,24 506:12    28                   32502                 338:23
2010                    506:18 543:18       412:5,6 454:20       2:10                  4:48
10:11,15 245:14         545:4,5,6,22,23       493:23             33                    383:16
  435:6 453:13          551:7               2900                 430:4 497:4,16        40
  454:21              212                   2:14                   498:18 539:15       5:21 260:17 480:1
2011                  3:9 41:4              2B                   334                     562:18
10:16,21              215                   320:19,19 548:16     2:5                   400
2012                  2:15                    548:18             34                    2:19
11:9 40:20 246:16     21st                                       398:16 507:19         405
  457:6 458:14        13:5 37:16,17,19              3              570:3,18            9:18


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 355 of 366 PageID:
                                     75710
                                  Judith Zelikoff, Ph.D.
                                                                                       Page 647

43                           5             512:5             78701               92
5:23                 5                   6,000               3:13                7:7
430                  18:15 43:17,19,20   459:23                                  927
9:13                                     6:00                         8          567:8 573:21,24
                       45:3,10 46:16
435-7001               84:21 253:12,14   442:2               8                     574:12 577:2
2:11                   321:17 403:20     6:25                55:5 57:1 60:24     930
442                    498:19 541:4      442:5                 61:1 248:6 266:17 573:20
5:6                    575:15,20         6:45                  278:18 446:14     973
45                   5:08                463:24                450:19,23 520:18 3:18
399:22 507:23,24     383:21              6:46                  552:8 575:12,13   975
  509:4              50                  464:4               8:10                4:4
450                  6:6 28:5 99:7       60                  523:13              985.9177
16:9                   242:21 428:12     6:14                8:16                2:15
454                    563:2             600                 523:18
9:22                 500                 2:10                8:21
457                  104:14              60606               529:5,9
9:20                 51                  4:9                 80s
463-2400             567:2 573:15,16     60s                 257:22
4:5                  512                 216:10              816
464                  3:14                62                  3:4,13
5:5                  523                 6:19                83
469                  5:5                 624-6307            6:22
10:6                 53                  4:9                 877.370.3377
47                   6:7                 631                 1:20
412:5,5 480:2,8      549                 2:20                88
  494:4              11:13               64108               7:6
471                  55                  3:4                 888
10:8                 6:8                 6950                2:11
474-6550             562                 4:8
                                                                     9
3:4                  11:15
48                                               7           9
                     567                                     57:12 60:21 208:1
480:2 481:18         11:17               7
  515:14                                 53:12,14 409:24       392:1 419:23
                     57                                        451:15 500:12
480                  6:12                  411:7 417:8 449:2
10:11,13,14,17,19                          449:6 451:1 452:4   542:18 572:7
                     571                                     9/11
  10:21 11:6,8       5:7                   452:11 521:14
481                                        552:7             260:17,22
                     576                                     9/12
11:10                5:5                 7:07
482                                      485:19              64:15
                     583                                     9/13/2018
549:16,17            582:6               7:30
486                                      485:23              64:15
5:7                           6          735-2453            9:03
49                   6                   3:9                 578:11,14
481:18 549:14        50:9 248:4 266:17 75                    9:11
4th                    332:13,14 408:6   485:7               1:15 13:6
388:19                 450:6,14,17,18,19 78                  917.591.5672
                       450:23 511:21     6:21                1:20


                    Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 356 of 366 PageID:
                                   75711




                      Exhibit 103
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 357 of 366 PageID:
                                   75712
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 358 of 366 PageID:
                                   75713
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 359 of 366 PageID:
                                   75714
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 360 of 366 PageID:
                                   75715
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 361 of 366 PageID:
                                   75716
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 362 of 366 PageID:
                                   75717
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 363 of 366 PageID:
                                   75718
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 364 of 366 PageID:
                                   75719
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 365 of 366 PageID:
                                   75720
Case 3:16-md-02738-MAS-RLS Document 9899-3 Filed 05/30/19 Page 366 of 366 PageID:
                                   75721
